                         UNITED STATES BANKRUPTCY COURT




Case Number:

SPECIFIC NOTES REGARDING SCHEDULE G




     Case: 19-30088   Doc# 907   Filed: 03/14/19   Entered: 03/14/19 23:07:35   Page 1 of
                                             649
Pacific Gas and Electric Company                                                                                                                                 Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
1.     Does the debtor have any executory contracts or unexpired leases?
             No. Check this box and file this form with the court with the debtor’s other schedules. There is nothing else to report on this form.
             Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B).

2.     List all contracts and unexpired leases

 Nature of the Debtor's Interest                                 Expiration Date        Contract ID      Co-Debtor Name                                             Address
                                                                  or Remaining
                                                                      Term

Customer Care & Real Property

2. 1          LICENSE FOR INDIVIDUAL SITE                       6/24/2037, unless     CCNRD_00940                     NEW CINGULAR WIRELESS PCS, LLC               1255 CINGULAR WAY
              LOCATION UNDER MASTER LICENSE                     terminated earlier                                                                                 SUITE 1300
              AGREEMENT FOR STREET LIGHT AND                                                                                                                       ALPHARETTA, GA 3004
              ELECTRIC DISTRIBUTION POLE
              ATTACHMENTS WITH NEW CINGULAR
              WIRELESS PCS, LLC, DATED JUNE 25,
              2012,

2. 2          LICENSE FOR INDIVIDUAL SITE                       6/24/2037, unless     CCNRD_00941                     NEW CINGULAR WIRELESS PCS, LLC               1255 CINGULAR WAY
              LOCATION UNDER MASTER LICENSE                     terminated earlier                                                                                 SUITE 1300
              AGREEMENT FOR STREET LIGHT AND                                                                                                                       ALPHARETTA, GA 3004
              ELECTRIC DISTRIBUTION POLE
              ATTACHMENTS WITH NEW CINGULAR
              WIRELESS PCS, LLC, DATED JUNE 25,
              2012,

2. 3          LICENSE FOR INDIVIDUAL SITE                       6/24/2037, unless     CCNRD_00942                     NEW CINGULAR WIRELESS PCS, LLC               1255 CINGULAR WAY
              LOCATION UNDER MASTER LICENSE                     terminated earlier                                                                                 SUITE 1300
              AGREEMENT FOR STREET LIGHT AND                                                                                                                       ALPHARETTA, GA 3004
              ELECTRIC DISTRIBUTION POLE
              ATTACHMENTS WITH NEW CINGULAR
              WIRELESS PCS, LLC, DATED JUNE 25,
              2012,

2. 4          LICENSE FOR INDIVIDUAL SITE                       6/24/2037, unless     CCNRD_00943                     NEW CINGULAR WIRELESS PCS, LLC               1255 CINGULAR WAY
              LOCATION UNDER MASTER LICENSE                     terminated earlier                                                                                 SUITE 1300
              AGREEMENT FOR STREET LIGHT AND                                                                                                                       ALPHARETTA, GA 3004
              ELECTRIC DISTRIBUTION POLE
              ATTACHMENTS WITH NEW CINGULAR
              WIRELESS PCS, LLC, DATED JUNE 25,
              2012,




                                                                                        Page 1 of 7354 to Schedule G
                                     Case: 19-30088              Doc# 907            Filed: 03/14/19           Entered: 03/14/19 23:07:35                   Page 2 of
                                                                                                 649
Pacific Gas and Electric Company                                                                                                      Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                Address
                                                     or Remaining
                                                         Term


2. 5       LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless    CCNRD_00944                  NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 6       LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless    CCNRD_00945                  NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 7       LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless    CCNRD_00946                  NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 8       LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless    CCNRD_00947                  NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 9       LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless    CCNRD_00948                  NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,




                                                                          Page 2 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19        Entered: 03/14/19 23:07:35        Page 3 of
                                                                                    649
Pacific Gas and Electric Company                                                                                                      Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                Address
                                                     or Remaining
                                                         Term


2. 10      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless    CCNRD_00949                  NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 11      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless    CCNRD_00950                  NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 12      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless    CCNRD_00951                  NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 13      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless    CCNRD_00952                  NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 14      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless    CCNRD_00953                  NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,




                                                                          Page 3 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19        Entered: 03/14/19 23:07:35        Page 4 of
                                                                                    649
Pacific Gas and Electric Company                                                                                                      Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                Address
                                                     or Remaining
                                                         Term


2. 15      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless    CCNRD_00954                  NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 16      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless    CCNRD_00955                  NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 17      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless    CCNRD_00956                  NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 18      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless    CCNRD_00957                  NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 19      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless    CCNRD_00958                  NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,




                                                                          Page 4 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19        Entered: 03/14/19 23:07:35        Page 5 of
                                                                                    649
Pacific Gas and Electric Company                                                                                                      Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                Address
                                                     or Remaining
                                                         Term


2. 20      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless    CCNRD_00959                  NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 21      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless    CCNRD_00960                  NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 22      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless    CCNRD_00961                  NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 23      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless    CCNRD_00962                  NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 24      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless    CCNRD_00963                  NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,




                                                                          Page 5 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19        Entered: 03/14/19 23:07:35        Page 6 of
                                                                                    649
Pacific Gas and Electric Company                                                                                                      Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                Address
                                                     or Remaining
                                                         Term


2. 25      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless    CCNRD_00964                  NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 26      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless    CCNRD_00965                  NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 27      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless    CCNRD_00966                  NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 28      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless    CCNRD_00967                  NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 29      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless    CCNRD_00968                  NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,




                                                                          Page 6 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19        Entered: 03/14/19 23:07:35        Page 7 of
                                                                                    649
Pacific Gas and Electric Company                                                                                                      Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                Address
                                                     or Remaining
                                                         Term


2. 30      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless    CCNRD_00969                  NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 31      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless    CCNRD_00970                  NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 32      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless    CCNRD_00971                  NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 33      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless    CCNRD_00972                  NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 34      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless    CCNRD_00973                  NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,




                                                                          Page 7 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19        Entered: 03/14/19 23:07:35        Page 8 of
                                                                                    649
Pacific Gas and Electric Company                                                                                                      Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                Address
                                                     or Remaining
                                                         Term


2. 35      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless    CCNRD_00974                  NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 36      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless    CCNRD_00975                  NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 37      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless    CCNRD_00976                  NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 38      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless    CCNRD_00977                  NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 39      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless    CCNRD_00978                  NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,




                                                                          Page 8 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19        Entered: 03/14/19 23:07:35        Page 9 of
                                                                                    649
Pacific Gas and Electric Company                                                                                                      Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                Address
                                                     or Remaining
                                                         Term


2. 40      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_00979                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 41      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_00980                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 42      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_00981                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 43      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_00982                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 44      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_00983                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,




                                                                          Page 9 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907             Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 10 of
                                                                                    649
Pacific Gas and Electric Company                                                                                                      Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                Address
                                                     or Remaining
                                                         Term


2. 45      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_00984                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 46      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_00985                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 47      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_00986                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 48      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_00987                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 49      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_00988                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,




                                                                          Page 10 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907             Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 11 of
                                                                                    649
Pacific Gas and Electric Company                                                                                                      Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                Address
                                                     or Remaining
                                                         Term


2. 50      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_00989                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 51      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_00990                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 52      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_00991                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 53      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_00992                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 54      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_00993                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,




                                                                          Page 11 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907             Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 12 of
                                                                                    649
Pacific Gas and Electric Company                                                                                                      Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                Address
                                                     or Remaining
                                                         Term


2. 55      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_00994                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 56      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_00995                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 57      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_00996                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 58      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_00997                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 59      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_00998                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,




                                                                          Page 12 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907             Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 13 of
                                                                                    649
Pacific Gas and Electric Company                                                                                                      Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                Address
                                                     or Remaining
                                                         Term


2. 60      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_00999                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 61      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01000                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 62      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01001                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 63      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01002                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 64      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01003                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,




                                                                          Page 13 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907             Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 14 of
                                                                                    649
Pacific Gas and Electric Company                                                                                                      Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                Address
                                                     or Remaining
                                                         Term


2. 65      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01004                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 66      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01005                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 67      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01006                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 68      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01007                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 69      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01008                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,




                                                                          Page 14 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907             Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 15 of
                                                                                    649
Pacific Gas and Electric Company                                                                                                      Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                Address
                                                     or Remaining
                                                         Term


2. 70      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01009                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 71      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01010                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 72      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01011                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 73      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01012                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 74      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01013                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,




                                                                          Page 15 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907             Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 16 of
                                                                                    649
Pacific Gas and Electric Company                                                                                                      Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                Address
                                                     or Remaining
                                                         Term


2. 75      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01014                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 76      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01015                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 77      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01016                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 78      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01017                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 79      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01018                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,




                                                                          Page 16 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907             Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 17 of
                                                                                    649
Pacific Gas and Electric Company                                                                                                      Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                Address
                                                     or Remaining
                                                         Term


2. 80      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01019                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 81      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01020                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 82      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01021                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 83      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01022                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 84      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01023                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,




                                                                          Page 17 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907             Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 18 of
                                                                                    649
Pacific Gas and Electric Company                                                                                                      Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                Address
                                                     or Remaining
                                                         Term


2. 85      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01024                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 86      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01025                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 87      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01026                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 88      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01027                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 89      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01028                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,




                                                                          Page 18 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907             Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 19 of
                                                                                    649
Pacific Gas and Electric Company                                                                                                      Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                Address
                                                     or Remaining
                                                         Term


2. 90      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01029                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 91      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01030                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 92      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01031                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 93      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01032                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 94      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01033                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,




                                                                          Page 19 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907             Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 20 of
                                                                                    649
Pacific Gas and Electric Company                                                                                                      Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                Address
                                                     or Remaining
                                                         Term


2. 95      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01034                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 96      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01035                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 97      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01036                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 98      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01037                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 99      LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01038                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,




                                                                          Page 20 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907             Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 21 of
                                                                                    649
Pacific Gas and Electric Company                                                                                                      Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                Address
                                                     or Remaining
                                                         Term


2. 100     LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01039                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 101     LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01040                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 102     LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01041                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 103     LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01042                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 104     LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01043                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,




                                                                          Page 21 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907             Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 22 of
                                                                                    649
Pacific Gas and Electric Company                                                                                                      Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                Address
                                                     or Remaining
                                                         Term


2. 105     LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01044                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 106     LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01045                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 107     LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01046                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 108     LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01047                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 109     LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01048                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,




                                                                          Page 22 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907             Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 23 of
                                                                                    649
Pacific Gas and Electric Company                                                                                                      Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                Address
                                                     or Remaining
                                                         Term


2. 110     LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01049                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 111     LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01050                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 112     LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01051                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 113     LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01052                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 114     LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01053                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,




                                                                          Page 23 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907             Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 24 of
                                                                                    649
Pacific Gas and Electric Company                                                                                                      Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                Address
                                                     or Remaining
                                                         Term


2. 115     LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01054                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 116     LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01055                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 117     LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01056                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 118     LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01057                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 119     LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01058                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,




                                                                          Page 24 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907             Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 25 of
                                                                                    649
Pacific Gas and Electric Company                                                                                                      Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                Address
                                                     or Remaining
                                                         Term


2. 120     LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01059                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 121     LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01060                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 122     LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01061                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 123     LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01062                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 124     LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01063                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,




                                                                          Page 25 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907             Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 26 of
                                                                                    649
Pacific Gas and Electric Company                                                                                                      Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                Address
                                                     or Remaining
                                                         Term


2. 125     LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01064                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 126     LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01065                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 127     LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01066                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 128     LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01067                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 129     LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01068                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,




                                                                          Page 26 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907             Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 27 of
                                                                                    649
Pacific Gas and Electric Company                                                                                                      Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                Address
                                                     or Remaining
                                                         Term


2. 130     LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01069                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 131     LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01070                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 132     LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01071                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 133     LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01072                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 134     LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01073                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,




                                                                          Page 27 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907             Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 28 of
                                                                                    649
Pacific Gas and Electric Company                                                                                                      Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                Address
                                                     or Remaining
                                                         Term


2. 135     LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01074                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 136     LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01075                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 137     LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01076                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 138     LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01077                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 139     LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01078                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,




                                                                          Page 28 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907             Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 29 of
                                                                                    649
Pacific Gas and Electric Company                                                                                                      Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                Address
                                                     or Remaining
                                                         Term


2. 140     LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01079                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 141     LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01080                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 142     LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01081                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 143     LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01082                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 144     LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01083                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,




                                                                          Page 29 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907             Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 30 of
                                                                                    649
Pacific Gas and Electric Company                                                                                                      Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                Address
                                                     or Remaining
                                                         Term


2. 145     LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01084                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 146     LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01085                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 147     LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01086                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 148     LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01087                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 149     LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_01088                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,




                                                                          Page 30 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907             Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 31 of
                                                                                    649
Pacific Gas and Electric Company                                                                                                      Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                Address
                                                     or Remaining
                                                         Term


2. 150     LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_02910                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 151     LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_02911                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 152     LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_02912                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 153     LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_02913                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 154     LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_02914                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,




                                                                          Page 31 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907             Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 32 of
                                                                                    649
Pacific Gas and Electric Company                                                                                                      Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                Address
                                                     or Remaining
                                                         Term


2. 155     LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_02915                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 156     LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_02916                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 157     LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_02917                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 158     LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_02918                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 159     LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_02919                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,




                                                                          Page 32 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907             Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 33 of
                                                                                    649
Pacific Gas and Electric Company                                                                                                      Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                 Address
                                                     or Remaining
                                                         Term


2. 160     LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_02920                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 161     LICENSE FOR INDIVIDUAL SITE             6/24/2037, unless     CCNRD_02921                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                  SUITE 1300
           AGREEMENT FOR STREET LIGHT AND                                                                                              ALPHARETTA, GA 3004
           ELECTRIC DISTRIBUTION POLE
           ATTACHMENTS WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED JUNE 25,
           2012,

2. 162     MASTER AGREEMENT FOR ISSUANCE               6/24/2037         CCNRD_00939                 NEW CINGULAR WIRELESS PCS, LLC    1255 CINGULAR WAY
           OF LICENSES TO                                                                                                              SUITE 1300
           TELECOMMUNICATIONS CUSTOMER                                                                                                 ALPHARETTA, GA 3004
           FOR ATTACHMENTS OF ANTENNAS AND
           RELATED EQUIPMENT

2. 163     SAVINGS BY DESIGN (SBD) - SAVINGS          Not Stated         CCOTH_03479                (FED) NATUREBRIDGE - YOSEMITE      HENNESS RIDGE ROAD
           BY DESIGN WHOLE BUILDING                                                                 ENVIRONMENTAL EDU. CTR PH 2        YOSEMITE, CA

2. 164     SAVINGS BY DESIGN (SBD) - SAVINGS          Not Stated         CCOTH_03480                (FED) NPS, NATUREBRIDGE -          HENNESS RIDGE ROAD
           BY DESIGN WHOLE BUILDING                                                                 YOSEMITE ENVIR EDU CTR (16975)     YOSEMITE, CA

2. 165     GENERAL OFF-BILL AND ON-                   11/29/2021         CCOTH_01852                1111 COUNTRY CLUB DR LLC           PO BOX 446
           BILLFINANCING LOAN AGREEMENT                                                                                                FRESNO, CA 93709

2. 166     GENERAL OFF-BILL AND ON-                    1/22/2021         CCOTH_02897                1185 CAMPBELL AVE WAREHOUSING      PO BOX 41339
           BILLFINANCING LOAN AGREEMENT                                                             LLC - 1185 CAMPBELL                SANTA BARBARA, CA 93140

2. 167     GENERAL OFF-BILL AND ON-                   11/28/2022         CCOTH_02999                1355 ASSOCIATES INC - 1355 N       PO BOX 6518
           BILLFINANCING LOAN AGREEMENT                                                             DUTTON AVE # 1                     SANTA ROSA, CA 95406

2. 168     GENERAL OFF-BILL AND ON-                    8/29/2019         CCOTH_03146                13TH DISTRICT AGRICULTURAL         590 W LOCUST AVE, SUITE 103
           BILLFINANCING LOAN AGREEMENT                                                             ASSOCIATION - 442 FRANK            FRESNO, CA 93650




                                                                          Page 33 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907             Filed: 03/14/19 Entered: 03/14/19 23:07:35                 Page 34 of
                                                                                    649
Pacific Gas and Electric Company                                                                                                       Case Number:        19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                    Address
                                                    or Remaining
                                                        Term


2. 169     REAL PROPERTY LEASE -                     1/31/2022        CCCRSLS_000                1415 MERIDIAN PLAZA LP                 1415 MERIDIAN PLAZA LP
           GOVERNMENT RELATIONS OFFICE                                    63                                                            7700 COLLEGE TOWN DR STE 118
                                                                                                                                        SACRAMENTO, CA 95826

2. 170     GENERAL OFF-BILL AND ON-                  8/13/2020        CCOTH_01325                1475 SARATOGA AVE., LLC - 1475         1475 SARATOGA AVE STE 100
           BILLFINANCING LOAN AGREEMENT                                                          SARATOGA AVE # 10                      SAN JOSE, CA 95129

2. 171     GENERAL OFF-BILL AND ON-                   5/8/2021        CCOTH_01436                14TH DISTRICT AGRICULTURAL             877 CEDAR STREET, SUITE 240
           BILLFINANCING LOAN AGREEMENT                                                          ASSOC - HECKER PASS                    SANTA CRUZ, CA 95060

2. 172     GENERAL OFF-BILL AND ON-                  11/27/2021       CCOTH_03140                1824 24TH ST LLC - 8224 ESPRESSO DR    9530 HAGEMAN RD, B #196
           BILLFINANCING LOAN AGREEMENT                                                                                                 BAKERSFIELD, CA 93312

2. 173     COMMERCIAL CALCULATED                     Not Stated       CCOTH_00146                200 PAUL LLC                           200 PAUL AVE
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                            SAN FRANCISCO, CA 94124
           PROGRAM

2. 174     COMMERCIAL CALCULATED                     Not Stated       CCOTH_00152                200 PAUL, LLC                          200 PAUL AVE.
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                            SAN FRANCISCO, CA 94124
           PROGRAM

2. 175     COMMERCIAL CALCULATED                     Not Stated       CCOTH_00153                200 PAUL, LLC                          200 PAUL AVE
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                            SAN FRANCISCO, CA 94124
           PROGRAM

2. 176     GENERAL OFF-BILL AND ON-                  2/17/2020        CCOTH_02070                2000 AOS PARTNERS LLC - 4725           9530 HAGEMAN RD. B #196
           BILLFINANCING LOAN AGREEMENT                                                          PANAMA LN BLDG D                       BAKERSFIELD, CA 93312

2. 177     GENERAL OFF-BILL AND ON-                  12/26/2019       CCOTH_02976                2000 AOS PARTNERS LLC - 4725           9530 HAGEMAN RD B #196
           BILLFINANCING LOAN AGREEMENT                                                          PANAMA LN STE D18                      BAKERSFIELD, CA 93312

2. 178     GENERAL OFF-BILL AND ON-                  12/27/2019       CCOTH_02375                2040 FAIRFAX INC - 2040 SF DRAKE       448 IGNACIO BLVD. #242
           BILLFINANCING LOAN AGREEMENT                                                          BLVD                                   NOVATO, CA 94949

2. 179     2019 CS APPLIANCE FEDERAL                 11/30/2019       CCOTH_03690                2050 PARTNERS                          81 CORAL DRIVE
           STANDARDS                                                                                                                    ORINDA, CA 94563

2. 180     GENERAL OFF-BILL AND ON-                   5/7/2021        CCOTH_01540                20TH DISTRICT AGRICULTURE              P.O. BOX 27
           BILLFINANCING LOAN AGREEMENT                                                          ASSOCIATION                            JACKSON, CA 95642


                                                                       Page 34 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 35 of
                                                                                 649
Pacific Gas and Electric Company                                                                                                      Case Number:        19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                   Address
                                                    or Remaining
                                                        Term


2. 181     GENERAL OFF-BILL AND ON-                  7/31/2019        CCOTH_01262                21ST AMENDMENT BREWERY CAFE           877 CEDAR ST. SUITE 240
           BILLFINANCING LOAN AGREEMENT                                                          LLC - 2040 WILLIAMS ST                SANTA CRUZ, CA 95060

2. 182     GENERAL OFF-BILL AND ON-                  2/29/2020        CCOTH_01919                21ST DISTRICT AGRICULTURAL            1121 S CHANCE AVE
           BILLFINANCING LOAN AGREEMENT                                                          ASSOC - 4482 E KINGS CA               FRESNO, CA 93702

2. 183     REAL PROPERTY LEASE - NAPA                12/31/2020       CCCRSLS_000                25TH DISTRICT AGRICULTURAL ASSOC      25TH DISTRICT AGRICULTURAL
           SERVICE CENTER PARKING (20                                     53                                                           ASSOC, NAPA VALLEY EXPO,
           PARKING SPACES)                                                                                                             575 THIRD ST
                                                                                                                                       NAPA, CA 94559

2. 184     SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated       CCOTH_03467                2621 TENTH STREET, LLC                1120 NYE STREET, SUITE 400
           BY DESIGN WHOLE BUILDING                                                                                                    SAN RAFAEL, CA 94901

2. 185     GENERAL OFF-BILL AND ON-                  11/14/2019       CCOTH_01780                280 MEDICAL CONDOMINIUM               130 E. MAIN ST.
           BILLFINANCING LOAN AGREEMENT                                                          ASSOCIATION                           JEFF JOHNSON - PRESIDENT
                                                                                                                                       GRASS VALLEY, CA 95945

2. 186     GENERAL OFF-BILL AND ON-                  7/10/2019        CCOTH_01793                2929 SEVENTH ST., LLC                 14355 INDUSTRY CIRCLE
           BILLFINANCING LOAN AGREEMENT                                                                                                LA MIRADA, CA 90638

2. 187     GENERAL OFF-BILL AND ON-                  10/29/2018       CCOTH_01538                31301 ALVARADO NILES LLC              3633 NORWOOD AVE
           BILLFINANCING LOAN AGREEMENT                                                                                                SAN JOSE, CA 95148

2. 188     GENERAL OFF-BILL AND ON-                  12/7/2020        CCOTH_02952                3260 BLUME DRIVE ASSOCIATES - 3260    14355 INDUSTRY CIRCLE
           BILLFINANCING LOAN AGREEMENT                                                          BLUME DR                              LA MIRADA, CA 90638

2. 189     COMMERCIAL CALCULATED                     Not Stated       CCOTH_00130                3260 BLUME DRIVE ASSOCIATES, LLC      3825 HAPPY VALLEY RD
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                           LAFAYETTE, CA 94549
           PROGRAM

2. 190     GENERAL OFF-BILL AND ON-                  10/9/2019        CCOTH_02809                335 MCGLINCY LLC - 335 E MCGLINCY     877 CEDAR ST. STE 240
           BILLFINANCING LOAN AGREEMENT                                                          LN                                    SANTA CRUZ, CA 95060

2. 191     GENERAL OFF-BILL AND ON-                  8/31/2023        CCOTH_02818                3421 CLEVELAND OWNER LLC - 3421       6644 N. HIGHLAND
           BILLFINANCING LOAN AGREEMENT                                                          CLEVELAND AVE                         CLOVIS, CA 93619

2. 192     GENERAL OFF-BILL AND ON-                  1/27/2019        CCOTH_01807                351 CALIFORNIA STREET HOLDINGS,       201 SPEAR ST.
           BILLFINANCING LOAN AGREEMENT                                                          LLC                                   SAN FRANCISCO, CA 94105


                                                                       Page 35 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 36 of
                                                                                 649
Pacific Gas and Electric Company                                                                                                     Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                   Address
                                                    or Remaining
                                                        Term


2. 193     REAL PROPERTY LEASE - ELECTRIC            1/27/2023        CCCRSLS_000                3551 PEGASUS PARTNERS LP             3551 PEGASUS PARNTERS LP
           OPERATIONS                                                     06                                                          SAN LUIS OBISPO, CA
           OFFICE/WAREHOUSE/YARD

2. 194     REAL PROPERTY LEASE - STOCKTON               MTM           CCCRSLS_000                3900 WEST LANE BUILDING CO           3900 WEST LANE BUILDING CO
           GC YARD                                                        84                                                          3900 WEST LN
                                                                                                                                      STOCKTON, CA 95204

2. 195     GENERAL OFF-BILL AND ON-                  12/25/2019       CCOTH_02444                530 E MARKET ST, STOCKTON            7083 COMMERCE CIRCLE, #A
           BILLFINANCING LOAN AGREEMENT                                                                                               PLEASANTON, CA 94588

2. 196     GENERAL OFF-BILL AND ON-                  8/30/2019        CCOTH_02197                5820 STONERIDGE MALL ROAD II         1725 RUTAN DRIVE
           BILLFINANCING LOAN AGREEMENT                                                                                               LIVERMORE, CA 94551

2. 197     GENERAL OFF-BILL AND ON-                  6/19/2019        CCOTH_01981                6005 JARVIS AVENUE LLC               3633 NORWOOD AVE
           BILLFINANCING LOAN AGREEMENT                                                                                               JAY KAILEY, OWNER
                                                                                                                                      SAN JOSE, CA 95148

2. 198     GENERAL OFF-BILL AND ON-                  8/20/2019        CCOTH_01484                619 LLC A CALIFORNIA LIMITED         PO BOX 17000
           BILLFINANCING LOAN AGREEMENT                                                          LIABILITY COMPANY                    GREENVILLE, SC 29606

2. 199     GENERAL OFF-BILL AND ON-                  11/7/2019        CCOTH_01646                665 BUSH STREET INC                  838 FRANCISCO BLVD. WEST
           BILLFINANCING LOAN AGREEMENT                                                                                               MARC LARBY - LIGHT EXPRESS
                                                                                                                                      REPRESENTATIVE
                                                                                                                                      SAN RAFAEL, CA 94901

2. 200     GENERAL OFF-BILL AND ON-                   3/9/2019        CCOTH_01500                755 COSTA LLC-755 SASOME ST          870 MARKET ST, STE 628
           BILLFINANCING LOAN AGREEMENT                                                                                               SAN FRANCISCO, CA 94102

2. 201     GENERAL OFF-BILL AND ON-                  6/30/2024        CCOTH_02262                7TH AGRICULTURAL DISTRICT ASSOC -    877 CEDAR STREET, SUITE 240
           BILLFINANCING LOAN AGREEMENT                                                          MONTEREY COUNTY                      SANTA CRUZ, CA 95060

2. 202     REAL PROPERTY LEASE - PACIFIC             11/30/2020       CCCRSLS_000                851-853 HOWARD STREET LLC            851-853 HOWARD STREET LLC
           ENERGY CENTER                                                  69                                                          2509 PACIFIC AVE
                                                                                                                                      SAN FRANCISCO, CA 94115

2. 203     GENERAL OFF-BILL AND ON-                  10/24/2018       CCOTH_01928                A & A TARZANA PLAZA LP - 480 W       590 W LOCUST AVENUE, SUITE 103
           BILLFINANCING LOAN AGREEMENT                                                          SHAW AVE # 560                       FRESNO, CA 93650




                                                                       Page 36 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 37 of
                                                                                 649
Pacific Gas and Electric Company                                                                                                        Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                     Address
                                                    or Remaining
                                                        Term


2. 204     GENERAL OFF-BILL AND ON-                  7/18/2019        CCOTH_01147                A AND C LIUS LLC - 1777 N CALIFORNIA    10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          BLVD                                    SANTA FE SPRINGS, CA 90670

2. 205     GENERAL OFF-BILL AND ON-                   4/8/2020        CCOTH_01920                A BUSINESS ENTERPRISE                   10012 SAN PABLO AVE.
           BILLFINANCING LOAN AGREEMENT                                                                                                  BHUPINDER DHINDSA - PIC N PAC
                                                                                                                                         LIQUOR
                                                                                                                                         EL CERRITO, CA 94530

2. 206     GENERAL OFF-BILL AND ON-                   7/3/2020        CCOTH_02134                A J B RANCH                             15857 BEAR MOUNTAIN BLVD.
           BILLFINANCING LOAN AGREEMENT                                                                                                  BAKERSFIELD, CA 93311

2. 207     GENERAL OFF-BILL AND ON-                   8/5/2022        CCOTH_02770                A L LEASE CO INC - 1220 W BEACH ST      804 ESTATES DR. STE.202
           BILLFINANCING LOAN AGREEMENT                                                                                                  APTOS, CA 95003

2. 208     GENERAL OFF-BILL AND ON-                  7/12/2021        CCOTH_02767                A TEICHERT & SON INC - 4249             4637 S. EAST AVE
           BILLFINANCING LOAN AGREEMENT                                                          HAMMONTON                               FRESNO, CA 93725

2. 209     GENERAL OFF-BILL AND ON-                   6/3/2020        CCOTH_01894                A. GAVIOLA, INC                         3 ROSELL DRIVE
           BILLFINANCING LOAN AGREEMENT                                                                                                  BALLSTON LAKE, NY 12019

2. 210     GENERAL OFF-BILL AND ON-                  2/29/2020        CCOTH_01895                A. GAVIOLA, INC                         3 ROSELL DRIVE
           BILLFINANCING LOAN AGREEMENT                                                                                                  BALLSTON LAKE, NY 12019

2. 211     GENERAL OFF-BILL AND ON-                  1/21/2020        CCOTH_02026                A. GAVIOLA, INC                         3 ROSELL DRIVE
           BILLFINANCING LOAN AGREEMENT                                                                                                  BALLSTON LAKE, NY 12019

2. 212     SINGLE-FAMILY AFFORDABLE SOLAR            Not Stated       CCOTH_03573                ABBOTT,AYNDRIEA                         760 TREGASKIS AVE
           HOMES (SASH)                                                                                                                   VALLEJO, CA 94591

2. 213     GENERAL OFF-BILL AND ON-                  12/9/2018        CCOTH_01479                ABBOTT,WAYNE                            8 CALIFORNIA AVE
           BILLFINANCING LOAN AGREEMENT                                                                                                  PLEASANTON, CA 94566

2. 214     GENERAL OFF-BILL AND ON-                  3/24/2019        CCOTH_01957                ABDI FUGFUGOSH AND AHMED                27992 CAMINO CAPISTRANO
           BILLFINANCING LOAN AGREEMENT                                                          FUGUFGOSH                               LAGUNA NIGUEL, CA 92677

2. 215     GENERAL OFF-BILL AND ON-                  11/27/2017       CCOTH_01674                ABDUL HUSSEIN DBA LUCERO MARKET         328 GREENWOOD PLACE
           BILLFINANCING LOAN AGREEMENT                                                                                                  BONITA, CA 91902




                                                                       Page 37 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                 Page 38 of
                                                                                 649
Pacific Gas and Electric Company                                                                                                  Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 216     MASTER SERVICES AGREEMENT                 12/31/2020       CCNRD_02830                ABM BUILDING SOLUTIONS LLC        AMB BUILDING SOLUTIONS LLC
           PROVIDING THAT PG&E MAY ENTER                                                                                           1005 WINDWARD RIDGE PARKWAY
           INTO CONTRACT WORK                                                                                                      ALPHARETTA, GA 30005
           AUTHORIZATIONS WITH THIS VENDOR
           FOR VARIOUS ENERGY EFFICIENCY
           SERVICES

2. 217     UESC IMPLEMENTATION OF ENERGY             1/13/2019        CCNRD_02816                ABM BUILDING SOLUTIONS LLC        ABM BUILDING SOLUTIONS LLC
           EFFICIENCY MEASURE                                                                                                      1005 WINDWARD RIDGE PARKWAY
                                                                                                                                   ALPHARETTA, GA 30005

2. 218     DEPARTMENT OF CORRECTIONS AND             Not Stated       CCOTH_00486                ABM BUILDING SOLUTIONS, LLC       5725 ALDER AVE
           REHABILITATION - CUSTOMIZED                                                                                             SACRAMENTO, CA 95828
           RETROFIT

2. 219     COMMERCIAL HVAC - DEEMED                  Not Stated       CCOTH_00426                ACCELERATED GROWTH SOLUTIONS,     1791 TRIBUTE RD, STE G
           UPSTREAM / MIDSTREAM -                                                                LLC                               SACRAMENTO, CA 95815
           COMMERCIAL HVAC UPSTREAM

2. 220     COMMERCIAL HVAC - DEEMED                  Not Stated       CCOTH_00465                ACCO ENGINEERED SYSTEMS INC       1133 ALADDIN AVE
           UPSTREAM / MIDSTREAM - HVAC QM                                                                                          SAN LEANDRO, CA 94577

2. 221     COMMERCIAL HVAC - DEEMED                  Not Stated       CCOTH_00466                ACCO ENGINEERED SYSTEMS INC       1133 ALADDIN AVE
           UPSTREAM / MIDSTREAM - HVAC QM                                                                                          SAN LEANDRO, CA 94577

2. 222     COMMERCIAL HVAC - DEEMED                  Not Stated       CCOTH_00467                ACCO ENGINEERED SYSTEMS INC       1133 ALADDIN AVE
           UPSTREAM / MIDSTREAM - HVAC QM                                                                                          SAN LEANDRO, CA 94577

2. 223     ELEVATOR INSPECTION                       Not Stated       CCCRSOT_000                ACCOUNTING OFFICE - DEPT OF       ACCOUNTING OFFICE
                                                                          02                     INDUSTRIAL RELATIONS (STATE OF    OCCUPATIONAL SAFE, HEALTH
                                                                                                 CALIFORNIA)                       DEPARTMENT OF INDUSTRIAL,
                                                                                                                                   RELATIONS
                                                                                                                                   SAN FRANCISCO, CA

2. 224     PROJECT MANAGEMENT PLATFORM               13/31/2020       CCNRD_00006                ACCRUENT LLC                      10801-2 NORTH MO-PAC
           FOR NRD WIRELESS, FIBER AND POLE                                                                                        EXPRESSWAY
           TOP AND STREET LIGHT PRODUCT                                                                                            STE 400
           LINES                                                                                                                   AUSTIN, TX 78759

2. 225     GENERAL OFF-BILL AND ON-                  5/23/2023        CCOTH_02619                ACE HARDWARE - 3610 PACHECO BLVD 10 HARRIS CT STE C-2
           BILLFINANCING LOAN AGREEMENT                                                                                           MONTEREY, CA 93940

                                                                       Page 38 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 39 of
                                                                                 649
Pacific Gas and Electric Company                                                                                                  Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                               Address
                                                    or Remaining
                                                        Term


2. 226     2019 MEMBERSHIP                           1/31/2019        CCOTH_03778                ACEEE                             529 14TH ST, NW
                                                                                                                                   SUITE 600
                                                                                                                                   WASHINGTON, DC 20045

2. 227     DEBRIS BOX                                Not Stated       CCCRSOT_000                ACES WASTE SERVICES               ACES WASTE SERVICES INC
                                                                          01                                                       6500 BUENA VISTA RD
                                                                                                                                   IONE, CA 95640

2. 228     GENERAL OFF-BILL AND ON-                  4/18/2021        CCOTH_03196                ACORN PROPERTY                    12820 EARHART AVE
           BILLFINANCING LOAN AGREEMENT                                                          MANAGEMENT&DEVELOPMENT            AUBURN, CA 95602
                                                                                                 COMPANY LLC

2. 229     ELECTRIC VEHICLE CHARGE NETWORK           Not Stated       CCOTH_01086                ADAM ALBRIGHT                     1322 BORDEAUX DRIVE
                                                                                                                                   SUNNYVALE 94089

2. 230     ELECTRIC VEHICLE CHARGE NETWORK           Not Stated       CCOTH_00894                ADAM TREIBER                      3033 CLEVELAND AVE
                                                                                                                                   SANTA ROSA 95403

2. 231     GENERAL OFF-BILL AND ON-                  4/12/2020        CCOTH_02074                ADAMSON,DWIGHT - 6831 LONETREE    12122 DRY CREEK RD 103
           BILLFINANCING LOAN AGREEMENT                                                          BLVD BLDG E STE 102               AUBURN, CA 95602

2. 232     MONETIZING PG&E'S ASSET 360               12/31/2019       CCNRD_02923                ADL VENTURES LLC                  815 MASONIC AVENUE
           PLATFORM                                                                                                                SAN FRANCISCO, CA 94117

2. 233     ELECTRIC VEHICLE CHARGE NETWORK           Not Stated       CCOTH_00779                ADRIAN VALENCIA                   5090 E CLINTON WAY
                                                                                                                                   FRESNO 93727

2. 234     SELF-GENERATION INCENTIVE                 Not Stated       CCOTH_03502                ADRIENNE HIRT                     2667 37TH AVE
           PROGRAM                                                                                                                  SAN FRANCISCO, CA 94116

2. 235     INDUSTRIAL CALCULATED INCENTIVES -        Not Stated       CCOTH_03274                ADVANCED DRAINAGE SYSTEMS         1025 COMMERCE DRIVE
           CUSTOMIZED INCENTIVE PROGRAM                                                                                            MADERA, CA 93637

2. 236     MIA                                       12/31/2021       CCNRD_02824                ADVANCED LIGHTING SERVICES INC    ADVANCED LIGHTING SERVICES
                                                                                                                                   INC
                                                                                                                                   6681 SIERRA LANE, STE. A
                                                                                                                                   DUBLIN, CA




                                                                       Page 39 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 40 of
                                                                                 649
Pacific Gas and Electric Company                                                                                                     Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 237     STREET LIGHT REPLACEMENT                  6/30/2020        CCNRD_02780                ADVANCED LIGHTING SERVICES, INC.     ATTN: DAVID TAYLOR
           CONTRACTOR SERVICES                                                                                                        6681 SIERRA LANE
                                                                                                                                      SUITE A
                                                                                                                                      DUBLIN, CA 94568

2. 238     CONTRACT WORK AUTHORIZATION TO             9/1/2018        CCNRD_02802                AECOM                                AECOM TECHNICAL SERVICES,
           PROVIDE ENERGY EFFICIENCY                                                                                                  INC.
           IMPLEMENTATION SERVICES                                                                                                    440 STEVENS AVE., STE. 250
                                                                                                                                      SOLANA BEACH, CA 92705

2. 239     MASTER SERVICES AGREEMENT                 5/17/2017        CCNRD_02803                AECOM                                AECOM TECHNICAL SERVICES,
           PROVIDING THAT PG&E MAY ENTER                                                                                              INC.
           INTO CONTRACT WORK                                                                                                         440 STEVENS AVE., STE. 250
           AUTHORIZATIONS WITH THIS VENDOR                                                                                            SOLANA BEACH, CA 92705
           FOR VARIOUS ENERGY EFFICIENCY
           SERVICES

2. 240     REAL PROPERTY LEASE - AEGIS RETAIL        3/21/2024        CCCRSLS_001                AEGIS RETAIL ONE LLC (CUSTOMER #:    177 POST STREET
           LEASE (SPRIG CAFÉ)                                             23                     986186)                              SAN FRANCISCO, CA 94108

2. 241     GENERAL OFF-BILL AND ON-                  9/19/2021        CCOTH_02945                AERO 1 OWNERS ASSOCIATION - 805      3421 EMPRESA DR
           BILLFINANCING LOAN AGREEMENT                                                          AEROVISTA PL BLDG                    SAN LUIS OBISPO, CA 93401

2. 242     SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated       CCOTH_03450                AFFILIATED ENGINEERS, INC            123 MISSION STREET, 7TH FLOOR
           BY DESIGN WHOLE BUILDING                                                                                                   SAN FRANCISCO, CA 94105

2. 243     SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated       CCOTH_03451                AFFILIATED ENGINEERS, INC.           123 MISSION STREET, 7TH FLOOR
           BY DESIGN WHOLE BUILDING                                                                                                   SAN FRANCISCO, CA 94105

2. 244     MASTER SERVICES AGREEMENT                 7/31/2019        CCNRD_02858                AGGREKO, LLC                         160 W. INDUSTRIAL WAY
           PROVIDING THAT PG&E MAY ENTER                                                                                              BENICIA, CA 94510
           INTO CONTRACT WORK
           AUTHORIZATIONS WITH THIS VENDOR
           FOR VARIOUS MAINTENACE AND
           RELATED SERVICES FOR CUSTOMER-
           OWNED FACILITIES

2. 245     PG&E ENERGY MANAGER CUSTOMER              9/26/2019        CCNRD_02907                AGRO MERCHANTS                       4300 PLEASANTDALE ROAD
           SERVICES AGREEMENT                                                                                                         ATLANTA, GA 30340




                                                                       Page 40 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35               Page 41 of
                                                                                 649
Pacific Gas and Electric Company                                                                                                  Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                               Address
                                                    or Remaining
                                                        Term


2. 246     GENERAL OFF-BILL AND ON-                  3/28/2023        CCOTH_02929                AGUEDA,DANNY - 4390 FOX RD        2395 N. SIERRA SPRINGS CT.
           BILLFINANCING LOAN AGREEMENT                                                                                            ATWATER, CA 95301

2. 247     GENERAL OFF-BILL AND ON-                   1/9/2023        CCOTH_02687                AGUEDA,DANNY - NW NW SE 4 7-13    2395 N SIERRA SPRINGS CT
           BILLFINANCING LOAN AGREEMENT                                                                                            ATWATER, CA 95301

2. 248     GENERAL OFF-BILL AND ON-                  12/17/2021       CCOTH_01953                AGUEDA,LUIS                       2395 SIERRA SPRINGS CT
           BILLFINANCING LOAN AGREEMENT                                                                                            ATWATER, CA 95301

2. 249     GENERAL OFF-BILL AND ON-                   6/4/2020        CCOTH_01886                AHMED ALBASHAN DBA ONE STAR MINI 328 GREENWOOD PLACE
           BILLFINANCING LOAN AGREEMENT                                                          MART                             ADRIANA ALDANA
                                                                                                                                  BONITA, CA 91902

2. 250     GENERAL OFF-BILL AND ON-                  2/17/2019        CCOTH_02784                AHMED'S SONS INC/ DBA AHMED'S     328 GREENWOOD PLACE
           BILLFINANCING LOAN AGREEMENT                                                          CHEVRON                           BONITA, CA 91902

2. 251     DEPARTMENT OF CORRECTIONS AND             Not Stated       CCOTH_00484                AIRCON ENERGY                     830 WEST STADIUM LN
           REHABILITATION - CUSTOMIZED                                                                                             SACRAMENTO, CA 95834
           RETROFIT

2. 252     DEPARTMENT OF CORRECTIONS AND             Not Stated       CCOTH_00487                AIRCON ENERGY                     830 WEST STADIUM LANE
           REHABILITATION - CUSTOMIZED                                                                                             SACRAMENTO, CA 95834
           RETROFIT

2. 253     DEPARTMENT OF CORRECTIONS AND             Not Stated       CCOTH_00488                AIRCON ENERGY                     830 WEST STADIUM LANE
           REHABILITATION - CUSTOMIZED                                                                                             SACRAMENTO, CA 95834
           RETROFIT

2. 254     ELECTRIC VEHICLE CHARGE NETWORK           Not Stated       CCOTH_00677                AL CHANG                          7825 SAN LEANDRO STREET,
                                                                                                                                   OAKLAND, CA 94621
                                                                                                                                   OAKLAND 94555

2. 255     WATER/FIRELINE AGREEMENT                  Not Stated       CCCRSOT_000                ALAMEDA COUNTY WATER              ALAMEDA COUNTY WATER
                                                                          03                                                       DISTRICT
                                                                                                                                   43885 SO GRIMMER BLVD
                                                                                                                                   FREMONT, CA

2. 256     ELECTRIC AGREEMENT                        Not Stated       CCCRSOT_000                ALAMEDA MUNICIPAL POWER           ALAMEDA MUNICIPAL POWER
                                                                          04                                                       2000 GRAND ST
                                                                                                                                   ALAMEDA, CA

                                                                       Page 41 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35               Page 42 of
                                                                                 649
Pacific Gas and Electric Company                                                                                                  Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                               Address
                                                    or Remaining
                                                        Term


2. 257     GENERAL OFF-BILL AND ON-                  12/31/2022       CCOTH_02965                ALBERT D SEENO CONSTRUCTION CO    1800 WILL PASS CT.
           BILLFINANCING LOAN AGREEMENT                                                          INC - 1600 BUCHANAN               CONCORD, CA 94520

2. 258     SELF-GENERATION INCENTIVE                 Not Stated       CCOTH_03507                ALBERT TENBRUGGENCATE             301 GREENFIELD AVENUE
           PROGRAM                                                                                                                  SAN MATEO, CA 94403

2. 259     GENERAL OFF-BILL AND ON-                  2/16/2021        CCOTH_01622                ALBUSAISI,ALI                     3439 LANDCO DRIVE, SUITE A
           BILLFINANCING LOAN AGREEMENT                                                                                            BAKERSFIELD, CA 93308

2. 260     GENERAL OFF-BILL AND ON-                  11/7/2019        CCOTH_01139                ALEX VAZQUEZ & ARTURO FLORES -    N28W23050 ROUNDY DR SUITE 100
           BILLFINANCING LOAN AGREEMENT                                                          8331 KERN CANYON RD               PEWAUKEE, WI 53072

2. 261     ELECTRIC VEHICLE CHARGE NETWORK           Not Stated       CCOTH_00778                ALEXANDER GRANT                   50 BARBAREE WAY
                                                                                                                                   BELVEDERE TIBURON 94920

2. 262     ELECTRIC VEHICLE CHARGE NETWORK           Not Stated       CCOTH_00856                ALEXANDER GRANT                   3711 19TH AVE
                                                                                                                                   SAN FRANCISCO 94132

2. 263     REAL PROPERTY LEASE - LAKEPORT            8/31/2019        CCCRSLS_000                ALEXANDER MCGEOCH                 ALEXANDER MCGEOCH
           CSO PARKING LOT (10 PARKING                                    40                                                       1870 N HIGH ST
           SPACES)                                                                                                                 LAKEPORT, CA 95453

2. 264     ELECTRIC VEHICLE CHARGE NETWORK           Not Stated       CCOTH_00705                ALEXIS HUI                        701 CHESAPEAKE DRIVE
                                                                                                                                   REDWOOD CITY 94063

2. 265     SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated       CCOTH_03438                ALFA TECH                         1 POST STREET, STE 220
           BY DESIGN WHOLE BUILDING                                                                                                SAN FRANCISCO, CA 94104

2. 266     SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated       CCOTH_03439                ALFA TECH                         1 POST STREET, STE 220
           BY DESIGN WHOLE BUILDING                                                                                                SAN FRANCISCO, CA 95104

2. 267     SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated       CCOTH_03440                ALFA TECH                         1 POST STREET, STE 2200
           BY DESIGN WHOLE BUILDING                                                                                                SAN FRANCISCO, CA 95104

2. 268     SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated       CCOTH_03452                ALFA TECH                         ONE POST STREET, SUITE 2200
           BY DESIGN WHOLE BUILDING                                                                                                SAN FRANCISCO, CA 94104

2. 269     SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated       CCOTH_03456                ALFA TECH                         1 POST STREET, STE 220
           BY DESIGN WHOLE BUILDING                                                                                                SAN FRANCISCO, CA 94104

                                                                       Page 42 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 43 of
                                                                                 649
Pacific Gas and Electric Company                                                                                                     Case Number:       19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 270     SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated       CCOTH_03457                ALFA TECH                            1 POST STREET, STE 220
           BY DESIGN WHOLE BUILDING                                                                                                   SAN FRANCISCO, CA 94104

2. 271     SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated       CCOTH_03458                ALFA TECH                            1 POST STREET, STE 220
           BY DESIGN WHOLE BUILDING                                                                                                   SAN FRANCISCO, CA 94104

2. 272     CSI (THERMAL)                             Not Stated       CCOTH_00482                ALFRED HOLLAND                       1372 48TH ST
                                                                                                                                       SACRAMENTO, CA 95819

2. 273     GENERAL OFF-BILL AND ON-                  10/29/2018       CCOTH_01941                ALI BOZORGHADAD DBA CAPITOLA 76      27992 CAMINO CAPISTRANO #A
           BILLFINANCING LOAN AGREEMENT                                                                                               JOHN MILLER, CTO
                                                                                                                                      LAGUNA NIGUEL, CA 92677

2. 274     REAL PROPERTY LEASE - SANTA ROSA          6/30/2021        CCCRSLS_000                ALICE MARTINELLI SPECIAL TRUST       ALICE MARTINELLI SPECIAL
           SUBSTATION MAINT./ISTS SHOP                                    81                                                          TRUST NO 1, ETAL DBA
                                                                                                                                      MARTINELLI RANCH,
                                                                                                                                      4879 GROVE ST
                                                                                                                                      SONOMA, CA 95476

2. 275     GENERAL OFF-BILL AND ON-                  2/15/2023        CCOTH_01223                ALL POINTS LOGISTICS INC - 1195 N    2 HARRIS CT STE B-1
           BILLFINANCING LOAN AGREEMENT                                                          GERTRUDE AVE                         MONTEREY, CA 93940

2. 276     GENERAL OFF-BILL AND ON-                  10/13/2018       CCOTH_02255                ALL SALES MANUFACTURING INC          3017 DOUGLAS BLVD SUITE 300
           BILLFINANCING LOAN AGREEMENT                                                                                               ROOSEVILLE, CA 95661

2. 277     ELECTRIC VEHICLE CHARGE NETWORK           Not Stated       CCOTH_00837                ALLEN ANDERSON                       399 SILICON VALLEY BLVD
                                                                                                                                      SAN JOSE 95138

2. 278     ELECTRIC VEHICLE CHARGE NETWORK           Not Stated       CCOTH_01077                ALLEN ANDERSON                       1355 N. 4TH ST.
                                                                                                                                      SAN JOSE 95112

2. 279     ONGOING MAINTENANCE OF THE NEW            9/30/2019        CCOTH_03819                ALLEN INTERACTIONS, INC              1120 CENTRE POINTE DRIVE
           HIRE PORTAL, CASH MANAGEMENT AND                                                                                           STE 800
           HEAD CASHIER TRAINING                                                                                                      MENDOTA HEIGHTS, MN 55120

2. 280     GENERAL OFF-BILL AND ON-                   2/6/2019        CCOTH_01906                ALLIANCE REDWOODS                    360 TESCONI CIRCLE
           BILLFINANCING LOAN AGREEMENT                                                                                               SANTA ROSA, CA 95401

2. 281     SINGLE-FAMILY AFFORDABLE SOLAR            Not Stated       CCOTH_03583                ALLISON,LELAND                       802 DUPONT DR
           HOMES (SASH)                                                                                                                STOCKTON, CA 95210

                                                                       Page 43 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                 Page 44 of
                                                                                 649
Pacific Gas and Electric Company                                                                                                     Case Number:        19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 282     GENERAL OFF-BILL AND ON-                  7/15/2019        CCOTH_02073                ALMADEN VALLEY ATHLETIC CLUB         877 CEDAR STREET, SUITE 240
           BILLFINANCING LOAN AGREEMENT                                                                                               SANTA CRUZ, CA 95060

2. 283     GENERAL OFF-BILL AND ON-                   4/8/2021        CCOTH_03220                ALNAJJAR,MUSTAFA - 1820 MOUNT        1111 W. EL CAMINO REAL STE.135
           BILLFINANCING LOAN AGREEMENT                                                          DIABLO ST                            SUNNYVALE, CA 94087

2. 284     GENERAL OFF-BILL AND ON-                  11/25/2019       CCOTH_02541                ALNAJJAR,ZIAD - 461 BLOSSOM HILL     1111 EL CAMINO REAL STE.135
           BILLFINANCING LOAN AGREEMENT                                                          RD STE F                             SUNNYVALE, CA 94087

2. 285     ESA MATERIALS 2019                        12/31/2019       CCOTH_00015                ALOM TECHNOLOGIES CORPORATION        48105 WARM SPRINGS BLVD
                                                                                                                                      FREMONT, CA 94539

2. 286     GENERAL OFF-BILL AND ON-                  4/20/2022        CCOTH_01234                ALOMERI,WALEED - 135 E CHARTER       6644 N HIGHLAND
           BILLFINANCING LOAN AGREEMENT                                                          WAY                                  CLOVIS, CA 93619

2. 287     GENERAL OFF-BILL AND ON-                  10/27/2020       CCOTH_02973                ALPHA STAR RESTAURANTS LLC - 1300    2491 ALLUVIAL AVE. #480
           BILLFINANCING LOAN AGREEMENT                                                          BRIDGE ST                            CLOVIS, CA 93611

2. 288     GENERAL OFF-BILL AND ON-                  6/24/2021        CCOTH_02681                ALPHA STAR RESTAURANTS LLC - 429     2491 ALLUVIAL AVENUE #480
           BILLFINANCING LOAN AGREEMENT                                                          9TH ST - MARYSVIL                    CLOVIS, CA 93611

2. 289     GENERAL OFF-BILL AND ON-                  5/14/2020        CCOTH_02203                ALPINE SPIRITS INC - 2850 N          590 W LOCUST AVE, SUITE 103
           BILLFINANCING LOAN AGREEMENT                                                          CALIFORNIA ST                        FRESNO, CA 93650

2. 290     GENERAL OFF-BILL AND ON-                  11/30/2020       CCOTH_01473                ALSUMAIRI,ABDULNASSER - 3810         10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          BROADWAY                             SANTA FE, CA 90670

2. 291     ISP ON AG VFD (PO 2501278409)             6/30/2020        CCOTH_03773                ALTERNATIVE ENERGY SYSTEMS           5927 BALFOUR CT #213
                                                                                                                                      CARLSBAD , CA 92008

2. 292     ELECTRIC VEHICLE CHARGE NETWORK           Not Stated       CCOTH_01073                ALVIN CHAN                           1378 SUTTER STREET
                                                                                                                                      SAN FRANCISCO 94109

2. 293     GENERAL OFF-BILL AND ON-                  9/18/2020        CCOTH_01413                ALWAJIH,HAFED - 20952 S ELM AVE      1390 RIDGEWOOD DR., STE 10
           BILLFINANCING LOAN AGREEMENT                                                                                               CHICO, CA 95973

2. 294     GENERAL OFF-BILL AND ON-                  12/22/2022       CCOTH_03121                AM FUEL SERVICES INC - 7999          1111 W EL CAMINO REAL STE 135
           BILLFINANCING LOAN AGREEMENT                                                          WESTWOOD DR                          SUNNYVALE, CA 94087



                                                                       Page 44 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                 Page 45 of
                                                                                 649
Pacific Gas and Electric Company                                                                                                    Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                 Address
                                                    or Remaining
                                                        Term


2. 295     GENERAL OFF-BILL AND ON-                  5/11/2020        CCOTH_03003                AMADOR RESIDENTIAL CARE, INC. - 155 723 COURT ST.
           BILLFINANCING LOAN AGREEMENT                                                          PLACER DR                           JACKSON, CA 95642

2. 296     GENERAL OFF-BILL AND ON-                  6/25/2020        CCOTH_02854                AMADOR RESIDENTIAL PARTNERS INC-    723 COURT ST
           BILLFINANCING LOAN AGREEMENT                                                          15 BRYSON DR LOT47                  JACKSON, CA 95642

2. 297     GARBAGE AGREEMENT                         Not Stated       CCCRSOT_000                AMADOR VALLEY INDUSTRIES            AMADOR VALLEY INDUSTRIES LLC
                                                                          05                                                         PLEASANTON, CA

2. 298     WATER AGREEMENT                           Not Stated       CCCRSOT_000                AMADOR WATER AGENCY                 AMADOR WATER AGENCY
                                                                          06                                                         12800 RIDGE RD
                                                                                                                                     SUTTER CREEK, CA

2. 299     GENERAL OFF-BILL AND ON-                  3/10/2022        CCOTH_01355                AMCAN PLAZA LLC                     112 COMMERCIAL CT #24
           BILLFINANCING LOAN AGREEMENT                                                                                              SANTA ROSA, CA 95407

2. 300     MASTER SERVICES AGREEMENT                 12/31/2021       CCNRD_02825                AMERESCO                            AMERESCO, INC.
           PROVIDING THAT PG&E MAY ENTER                                                                                             2375 EAST CAMELBACK RD, STE
           INTO CONTRACT WORK                                                                                                        400
           AUTHORIZATIONS WITH THIS VENDOR                                                                                           PHOENIX, AZ 85016
           FOR VARIOUS ENERGY EFFICIENCY
           SERVICES

2. 301     M&V FOR CONNECTED HOME BUNDLE             12/31/2018       CCOTH_03779                AMERESCO DBA APPLIED ENERGY         1377 MOTOR PKWY. STE 401
           ET PROJECT                                                                            GROUP                               ISLANDIA, NY 11749

2. 302     GENERAL OFF-BILL AND ON-                  6/10/2021        CCOTH_01922                AMERICAN ACADEMY OF GYMNASTICS      685 COCHRAN STREET, SUITE 200
           BILLFINANCING LOAN AGREEMENT                                                          INC - BAKERFIELD                    SIMI VALLEY, CA 93065

2. 303     INDUSTRIAL CALCULATED INCENTIVES -        Not Stated       CCOTH_03300                AMERICAN CUSTOM MEATS, LLC          4276 N TRACY BLVD
           CUSTOMIZED INCENTIVE PROGRAM                                                                                              TRACY, CA 95304

2. 304     WATER AGREEMENT                           Not Stated       CCCRSOT_000                AMERICAN WATER SERVICES             AMERICAN WATER SERVICES INC
                                                                          07                                                         2415 UNIVERSITY AVE 2ND FLR
                                                                                                                                     EAST PALO ALTO, CA

2. 305     PROPANE AGREEMENT                         Not Stated       CCCRSOT_000                AMERIGAS PROPANE                    AMERIGAS PROPANE LP
                                                                          08                                                         QUINCY, CA




                                                                       Page 45 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35               Page 46 of
                                                                                 649
Pacific Gas and Electric Company                                                                                                    Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                 Address
                                                    or Remaining
                                                        Term


2. 306     GENERAL OFF-BILL AND ON-                  9/23/2019        CCOTH_01667                AMIRI,HALEH - 2329 N MAIN ST        10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                                                              SANTA FE SPRINGS, CA 90670

2. 307     GENERAL OFF-BILL AND ON-                  2/29/2020        CCOTH_01668                AMIRI,HALEH - 398 RHEEM BLVD        10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                                                              SANTA FE SPRINGS, CA 90670

2. 308     GENERAL OFF-BILL AND ON-                  1/27/2022        CCOTH_01582                AMS RESTAURANTS LLC - STORE #1055 2643 THIRD STREET
           BILLFINANCING LOAN AGREEMENT                                                                                            LIVERMORE, CA 94550

2. 309     GENERAL OFF-BILL AND ON-                  12/16/2021       CCOTH_01803                AMS RESTAURANTS LLC - STORE #11     2643 THIRD ST
           BILLFINANCING LOAN AGREEMENT                                                                                              LIVERMORE, CA 94550

2. 310     GENERAL OFF-BILL AND ON-                  6/10/2020        CCOTH_01605                AMS RESTAURANTS LLC - STORE #178    2643 THIRD ST
           BILLFINANCING LOAN AGREEMENT                                                                                              LIVERMORE, CA 94550

2. 311     GENERAL OFF-BILL AND ON-                  12/16/2021       CCOTH_02077                AMS RESTAURANTS LLC - STORE #190    2643 THIRD ST
           BILLFINANCING LOAN AGREEMENT                                                                                              LIVERMORE, CA 94550

2. 312     GENERAL OFF-BILL AND ON-                  12/16/2021       CCOTH_01877                AMS RESTAURANTS LLC - STORE #231    2643 THIRD ST
           BILLFINANCING LOAN AGREEMENT                                                                                              LIVERMORE, CA 94550

2. 313     GENERAL OFF-BILL AND ON-                  2/10/2022        CCOTH_01606                AMS RESTAURANTS LLC - STORE #286    2643 THIRD ST
           BILLFINANCING LOAN AGREEMENT                                                                                              LIVERMORE, CA 94550

2. 314     GENERAL OFF-BILL AND ON-                  4/13/2022        CCOTH_01759                AMS RESTAURANTS LLC - STORE #301    2643 THIRD STREET
           BILLFINANCING LOAN AGREEMENT
                                                                                                                                     LIVERMORE, CA 94550

2. 315     GENERAL OFF-BILL AND ON-                  4/27/2020        CCOTH_01617                AMS RESTAURANTS LLC - STORE #333    2643 THIRD STREET
           BILLFINANCING LOAN AGREEMENT                                                                                              LIVERMORE, CA 94550

2. 316     GENERAL OFF-BILL AND ON-                  1/13/2022        CCOTH_01872                AMS RESTAURANTS LLC - STORE #336    2643 THIRD ST
           BILLFINANCING LOAN AGREEMENT                                                                                              LIVERMORE, CA 94550

2. 317     GENERAL OFF-BILL AND ON-                  5/23/2020        CCOTH_01783                AMS RESTAURANTS LLC - STORE #353    2643 THIRD STREET
           BILLFINANCING LOAN AGREEMENT                                                                                              LIVERMORE, CA 94550

2. 318     GENERAL OFF-BILL AND ON-                  12/16/2021       CCOTH_01864                AMS RESTAURANTS LLC - STORE #421    2643 THIRD ST
           BILLFINANCING LOAN AGREEMENT                                                                                              LIVERMORE, CA 94550

                                                                       Page 46 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                 Page 47 of
                                                                                 649
Pacific Gas and Electric Company                                                                                                    Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                 Address
                                                    or Remaining
                                                        Term


2. 319     GENERAL OFF-BILL AND ON-                  12/16/2021       CCOTH_01863                AMS RESTAURANTS LLC - STORE #43     2643 THIRD ST
           BILLFINANCING LOAN AGREEMENT                                                                                              LIVERMORE, CA 94550

2. 320     GENERAL OFF-BILL AND ON-                  12/16/2021       CCOTH_01865                AMS RESTAURANTS LLC - STORE #446    2643 THIRD ST
           BILLFINANCING LOAN AGREEMENT                                                                                              LIVERMORE, CA 94550

2. 321     GENERAL OFF-BILL AND ON-                  1/31/2022        CCOTH_01874                AMS RESTAURANTS LLC - STORE #534    2643 THIRD ST
           BILLFINANCING LOAN AGREEMENT                                                                                              LIVERMORE, CA 94550

2. 322     GENERAL OFF-BILL AND ON-                  1/27/2022        CCOTH_01876                AMS RESTAURANTS LLC - STORE #545    2643 THIRD ST
           BILLFINANCING LOAN AGREEMENT                                                                                              LIVERMORE, CA 94550

2. 323     GENERAL OFF-BILL AND ON-                  12/16/2021       CCOTH_01866                AMS RESTAURANTS LLC - STORE #548    2643 THIRD ST
           BILLFINANCING LOAN AGREEMENT                                                                                              LIVERMORE, CA 94550

2. 324     GENERAL OFF-BILL AND ON-                  12/16/2021       CCOTH_01802                AMS RESTAURANTS LLC - STORE #553    2643 THIRD ST
           BILLFINANCING LOAN AGREEMENT                                                                                              LIVERMORE, CA 94550

2. 325     GENERAL OFF-BILL AND ON-                  1/13/2022        CCOTH_02194                AMS RESTAURANTS LLC - STORE #557    2643 THIRD STREET
           BILLFINANCING LOAN AGREEMENT                                                                                              LIVERMORE, CA 94550

2. 326     GENERAL OFF-BILL AND ON-                  2/10/2022        CCOTH_01607                AMS RESTAURANTS LLC - STORE #59     2643 THIRD ST
           BILLFINANCING LOAN AGREEMENT                                                                                              LIVERMORE, CA 94550

2. 327     GENERAL OFF-BILL AND ON-                  5/23/2020        CCOTH_02196                AMS RESTAURANTS LLC - STORE #607    2643 THIRD ST
           BILLFINANCING LOAN AGREEMENT                                                                                              LIVERMORE, CA 94550

2. 328     GENERAL OFF-BILL AND ON-                  1/13/2022        CCOTH_01616                AMS RESTAURANTS LLC - STORE #612    2643 THIRD STREET
           BILLFINANCING LOAN AGREEMENT                                                                                              LIVERMORE, CA 94550

2. 329     GENERAL OFF-BILL AND ON-                  1/27/2022        CCOTH_01875                AMS RESTAURANTS LLC - STORE #616    2643 THIRD ST
           BILLFINANCING LOAN AGREEMENT                                                                                              LIVERMORE, CA 94550

2. 330     GENERAL OFF-BILL AND ON-                  1/13/2022        CCOTH_02195                AMS RESTAURANTS LLC - STORE #655    2643 THIRD STREET
           BILLFINANCING LOAN AGREEMENT                                                                                              LIVERMORE, CA 94550

2. 331     GENERAL OFF-BILL AND ON-                   2/6/2022        CCOTH_01873                AMS RESTAURANTS LLC - STORE #699    2643 THIRD STREET
           BILLFINANCING LOAN AGREEMENT                                                                                              LIVERMORE, CA 94550



                                                                       Page 47 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 48 of
                                                                                 649
Pacific Gas and Electric Company                                                                                                 Case Number:       19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                              Address
                                                    or Remaining
                                                        Term


2. 332     ELECTRIC VEHICLE CHARGE NETWORK           Not Stated       CCOTH_01025                AMY BERGSTRAND                   1735 MONTGOMERY ST.
                                                                                                                                  OROVILLE 95965

2. 333     ELECTRIC VEHICLE CHARGE NETWORK           Not Stated       CCOTH_01044                AMY HANCE                        155 N. SUNNYSIDE AVE
                                                                                                                                  CLOVIS 93611

2. 334     AGRICULTURAL CALCULATED                   Not Stated       CCOTH_00051                AMY'S KITCHEN                    2330 NORTHPOINT PKWY
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                      SANTA ROSA, CA 95407
           PROGRAM

2. 335     ENERGY UPGRADE CALIFORNIA                 Not Stated       CCOTH_00508                AN BULKENS                       186 E 12TH ST
           ADVANCED HOME UPGRADE                                                                                                  CHICO, CA 95926
           (CUSTOM/CALCULATED)

2. 336     GENERAL OFF-BILL AND ON-                  4/20/2019        CCOTH_02512                ANANDA BOOK BUYERS INC - 7541    885 EMBARCADERO DR.
           BILLFINANCING LOAN AGREEMENT                                                          MONTEREY ST - GILROY             WEST SACRAMENTO, CA 95605

2. 337     SINGLE-FAMILY AFFORDABLE SOLAR            Not Stated       CCOTH_03584                ANAYA,GUADALUPE                  105 5TH ST
           HOMES (SASH)                                                                                                            ORLAND, CA 95963

2. 338     SINGLE-FAMILY AFFORDABLE SOLAR            Not Stated       CCOTH_03575                ANDERSON,LYDIA                   1321 CARLTON AVE
           HOMES (SASH)                                                                                                            MENLO PARK, CA 94025

2. 339     ELECTRIC VEHICLE CHARGE NETWORK           Not Stated       CCOTH_00698                ANDREA THOMPSON                  70 REED RANCH RD
                                                                                                                                  BELVEDERE TIBURON 94920

2. 340     ELECTRIC VEHICLE CHARGE NETWORK           Not Stated       CCOTH_01095                ANDREW BUSCH                     1255-1277 BABB COURT
                                                                                                                                  SAN JOSE 95125

2. 341     ELECTRIC VEHICLE CHARGE NETWORK           Not Stated       CCOTH_01096                ANDREW BUSCH                     1255-1277 BABB COURT
                                                                                                                                  SAN JOSE 95125

2. 342     ELECTRIC VEHICLE CHARGE NETWORK           Not Stated       CCOTH_00740                ANDREW KRULEWITZ                 601 DOUGLAS ST
                                                                                                                                  BAKERSFIELD 93308

2. 343     ELECTRIC VEHICLE CHARGE NETWORK           Not Stated       CCOTH_00746                ANDREW SALEH                     585 WEST BEACH STREET
                                                                                                                                  WATSONVILLE 95076




                                                                       Page 48 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 49 of
                                                                                 649
Pacific Gas and Electric Company                                                                                                  Case Number:       19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 344     ELECTRIC VEHICLE CHARGE NETWORK           Not Stated       CCOTH_01032                ANDREW TROSIEN                    1610 WEST YOSEMITE #1
                                                                                                                                   MANTECA 95336

2. 345     ELECTRIC VEHICLE CHARGE NETWORK           Not Stated       CCOTH_00660                ANDY KING                         850 MERIDIAN WAY
                                                                                                                                   SAN JOSE 95126

2. 346     ELECTRIC VEHICLE CHARGE NETWORK           Not Stated       CCOTH_00940                ANDY KING                         2515 CARLMONT DRIVE
                                                                                                                                   BELMONT 94002

2. 347     ELECTRIC VEHICLE CHARGE NETWORK           Not Stated       CCOTH_01113                ANDY SHATNEY                      1125 RIVER STREET
                                                                                                                                   SANTA CRUZ 95060

2. 348     ELECTRIC VEHICLE CHARGE NETWORK           Not Stated       CCOTH_00868                ANGEL BORJA                       350 HAWTHORNE AVE.
                                                                                                                                   OAKLAND 94609

2. 349     ELECTRIC VEHICLE CHARGE NETWORK           Not Stated       CCOTH_00888                ANGEL BORJA                       3100 SUMMIT ST.
                                                                                                                                   OAKLAND 94609

2. 350     ELECTRIC VEHICLE CHARGE NETWORK           Not Stated       CCOTH_00889                ANGEL BORJA                       3100 SUMMIT ST.
                                                                                                                                   OAKLAND 94609

2. 351     ELECTRIC VEHICLE CHARGE NETWORK           Not Stated       CCOTH_00943                ANGEL BORJA                       2500 MILVIA ST
                                                                                                                                   BERKELEY 94704

2. 352     ELECTRIC VEHICLE CHARGE NETWORK           Not Stated       CCOTH_00948                ANGEL BORJA                       2450 ASHBY AVE.
                                                                                                                                   BERKELEY 94705

2. 353     ELECTRIC VEHICLE CHARGE NETWORK           Not Stated       CCOTH_00764                ANGELA WILLIAMS                   527 LAKESIDE DRIVE, SUNNYVALE
                                                                                                                                   SAN JOSE 95126

2. 354     WATER/SPRINKLER/SEWER                     Not Stated       CCCRSOT_000                ANGELS, CITY OF                   CITY OF ANGELS
           AGREEMENT                                                      09                                                       ANGELS CAMP, CA

2. 355     GENERAL OFF-BILL AND ON-                  11/23/2022       CCOTH_02601                ANLIN INDUSTRIES INC - 1665       1665 TOLLHOUSE ROAD
           BILLFINANCING LOAN AGREEMENT                                                          TOLLHOUSE RD                      CLOVIS, CA 93611

2. 356     ENERGY UPGRADE CALIFORNIA                 Not Stated       CCOTH_00500                ANN DOBSON                        2241 SUMMER ST
           ADVANCED HOME UPGRADE                                                                                                   BERKELEY, CA 94709
           (CUSTOM/CALCULATED)

                                                                       Page 49 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 50 of
                                                                                 649
Pacific Gas and Electric Company                                                                                              Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                           Address
                                                    or Remaining
                                                        Term


2. 357     ENERGY UPGRADE CALIFORNIA                 Not Stated       CCOTH_00619                ANTARA PANDA                  652 DERBY CT
           ADVANCED HOME UPGRADE                                                                                               SUNNYVALE, CA 94087
           (CUSTOM/CALCULATED)

2. 358     SELF-GENERATION INCENTIVE                 Not Stated       CCOTH_03523                ANTHONY REMMERT               1055 WOODHALLOW
           PROGRAM                                                                                                              FAIRFIELD, CA 94533

2. 359     WATER/SEWER AGREEMENT                     Not Stated       CCCRSOT_000                ANTIOCH, CITY OF              CITY OF ANTIOCH, FINANCE DEPT,
                                                                          10                                                   % UTILITY SERVICE BILLING
                                                                                                                               ARTESIA, CA

2. 360     ENERGY UPGRADE CALIFORNIA                 Not Stated       CCOTH_00591                APPERSON ENERGY MANAGEMENT    P.O. BOX 366
           ADVANCED HOME UPGRADE                                                                                               REDWOOD VLY, CA 95470
           (CUSTOM/CALCULATED)

2. 361     SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated       CCOTH_03322                APPLE COMPUTER INC            1 INFINITE LOOP
           BY DESIGN SYSTEMS                                                                                                   CUPERTINO, CA 95014

2. 362     SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated       CCOTH_03323                APPLE COMPUTER INC            1 INFINITE LOOP
           BY DESIGN SYSTEMS                                                                                                   CUPERTINO, CA 95014

2. 363     SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated       CCOTH_03350                APPLE COMPUTER INC            1 INFINITE LOOP
           BY DESIGN WHOLE BUILDING                                                                                            CUPERTINO, CA 95014

2. 364     SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated       CCOTH_03351                APPLE COMPUTER INC            1 INFINITE LOOP
           BY DESIGN WHOLE BUILDING                                                                                            CUPERTINO, CA 95014

2. 365     SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated       CCOTH_03352                APPLE COMPUTER INC            1 INFINITE LOOP
           BY DESIGN WHOLE BUILDING                                                                                            CUPERTINO, CA 95014

2. 366     COMMERCIAL CALCULATED                     Not Stated       CCOTH_00114                APPLE INC                     1 INFINITE LOOP MS:119-REF
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                   CUPERTINO, CA 95014
           PROGRAM

2. 367     SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated       CCOTH_03324                APPLE INC                     1 INFINITE LOOP MS 119-REF
           BY DESIGN SYSTEMS                                                                                                   CUPERTINO, CA 95014

2. 368     SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated       CCOTH_03348                APPLE INC                     1 INFINITE LOOP
           BY DESIGN WHOLE BUILDING                                                                                            CUPERTINO, CA 95014


                                                                       Page 50 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35          Page 51 of
                                                                                 649
Pacific Gas and Electric Company                                                                                                       Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                    Address
                                                    or Remaining
                                                        Term


2. 369     SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated       CCOTH_03349                APPLE INC                              1 INFINITE LOOP MS 119-REF
           BY DESIGN WHOLE BUILDING                                                                                                     CUPERTINO, CA 95014

2. 370     SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated       CCOTH_03353                APPLE INC                              1 INGINITE LOOP MS 119-REF
           BY DESIGN WHOLE BUILDING                                                                                                     CUPERTINO, CA 95014

2. 371     SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated       CCOTH_03354                APPLE INC                              1 INFINITE LOOP MS 119 REF
           BY DESIGN WHOLE BUILDING                                                                                                     CUPERTINO, CA 95014

2. 372     SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated       CCOTH_03355                APPLE INC                              1 INFINITE LOOP MS 119 REF
           BY DESIGN WHOLE BUILDING                                                                                                     CUPERTINO, CA 95014

2. 373     GENERAL OFF-BILL AND ON-                  7/26/2021        CCOTH_01526                APPLE MID CAL LLC - 1105 S GREEN       27611 LA PAZ RD. SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                          VALLEY RD                              LAGUNA NIGUEL, CA 92677

2. 374     GENERAL OFF-BILL AND ON-                  3/20/2021        CCOTH_02315                APPLE MID CAL LLC - 1369 FITZGERALD    27611 LA PAZ RD., SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                          DR                                     LAGUNA NIGUEL, CA 92677

2. 375     GENERAL OFF-BILL AND ON-                  10/2/2021        CCOTH_02304                APPLE MID CAL LLC - 24041              27611 LA PAZ RD, SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                          SOUTHLAND DR                           LAGUNA NIGUEL, CA 92677

2. 376     GENERAL OFF-BILL AND ON-                   3/2/2021        CCOTH_02310                APPLE MID CAL LLC - 2737 HILLCREST     27611 LA PAZ RD., SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                          AVE                                    LAGUNA NIGUEL, CA 92677

2. 377     GENERAL OFF-BILL AND ON-                  10/20/2021       CCOTH_02317                APPLE MID CAL LLC - 2819 YGNACIO       27611 LA PAZ RD., SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                          VALLEY RD                              LAGUNA NIGUEL, CA 92677

2. 378     GENERAL OFF-BILL AND ON-                  7/18/2021        CCOTH_02316                APPLE MID CAL LLC - 30980 DYER ST      27611 LA PAZ RD., SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                                                                 LAGUNA NIGUEL, CA 92677

2. 379     GENERAL OFF-BILL AND ON-                  5/15/2019        CCOTH_01548                APPLE MID CAL LLC - 3604 W SHAW        27611 LA PAZ RD, SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                          AVE - FRESNO                           LAGUNA NIGUEL, CA 92677

2. 380     GENERAL OFF-BILL AND ON-                  10/20/2021       CCOTH_02303                APPLE MID CAL LLC - 39139 FARWELL      27611 LA PAZ RD., SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                          DR                                     LAGUNA NIGUEL, CA 92677

2. 381     GENERAL OFF-BILL AND ON-                  10/18/2021       CCOTH_02302                APPLE MID CAL LLC - 4808 DUBLIN BLVD 27611 LA PAZ RD., SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                                                               LAGUNA NIGUEL, CA 92677



                                                                       Page 51 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                 Page 52 of
                                                                                 649
Pacific Gas and Electric Company                                                                                                      Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                   Address
                                                    or Remaining
                                                        Term


2. 382     GENERAL OFF-BILL AND ON-                  1/15/2019        CCOTH_01547                APPLE MID CAL LLC - 7007 N CEDAR      27611 LA PAZ ROAD
           BILLFINANCING LOAN AGREEMENT                                                          AVE - FRESNO                          LAGUNA NIGUEL, CA 92677

2. 383     GENERAL OFF-BILL AND ON-                  1/26/2020        CCOTH_01546                APPLE MID CAL LLC - 8430 N FRIANT RD 27611 LA PAZ ROAD, SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                                                               LAGUNA NIGUEL, CA 92677

2. 384     GENERAL OFF-BILL AND ON-                  10/26/2019       CCOTH_01545                APPLE MID CAL LLC - 9000 MING AVE     27611 LA PAZ RD. SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                          BLDG M - BAKERSF                      LAGUNA NIGUEL, CA 92677

2. 385     GENERAL OFF-BILL AND ON-                  3/15/2019        CCOTH_01656                APPLE MID CAL LLC - 98 SHAW AVE #     27611 LA PAZ RD. SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                          A - CLOVIS                            LAGUNA NIGUEL, CA 92677

2. 386     GENERAL OFF-BILL AND ON-                  3/19/2019        CCOTH_01602                APPLE MIDCAL LLC                      27992 CAMINO CAPISTRANO#A
           BILLFINANCING LOAN AGREEMENT                                                                                                JOHN MILLER, CTO
                                                                                                                                       LAGUNA NIGUEL, CA 92677

2. 387     GENERAL OFF-BILL AND ON-                  10/3/2019        CCOTH_02036                APPLE MIDCAL LLC                      27992 CAMINO CAPISTRANO #A
           BILLFINANCING LOAN AGREEMENT                                                                                                LAGUNA NIGUEL, CA 92677

2. 388     GENERAL OFF-BILL AND ON-                  9/16/2019        CCOTH_01529                APPLE MIDCAL, LLC                     27992 CAMINO CAPISTRANO #A
           BILLFINANCING LOAN AGREEMENT                                                                                                JOHN MILLER, CTO
                                                                                                                                       LAGUNA NIGUEL, CA 92677

2. 389     GENERAL OFF-BILL AND ON-                  9/16/2019        CCOTH_01530                APPLE MIDCAL, LLC                     27992 CAMINO CAPISTRANO
           BILLFINANCING LOAN AGREEMENT                                                                                                LAGUNA NIGUEL, CA 92677

2. 390     GENERAL OFF-BILL AND ON-                  3/31/2021        CCOTH_02290                APPLE NORCAL LLC                      27611 LA PAZ RD., SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                                                                LAGUNA NIGUEL, CA 92677

2. 391     GENERAL OFF-BILL AND ON-                  4/30/2020        CCOTH_01762                APPLE NORCAL LLC - 1000 THARP RD -    27611 LA PAZ RD., SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                          YUBA CITY                             LAGUNA NIGUEL, CA 92677

2. 392     GENERAL OFF-BILL AND ON-                  11/21/2021       CCOTH_01763                APPLE NORCAL LLC - 1041 ADM           27611 LA PAZ RD., SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                          CALLAGHAN LN                          LAGUNA NIGUEL, CA 92677

2. 393     GENERAL OFF-BILL AND ON-                  11/21/2021       CCOTH_01773                APPLE NORCAL LLC - 1350 TRAVIS        27611 LA PAZ RD., SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                          BLVD STE 1532B                        LAGUNA NIGUEL, CA 92677




                                                                       Page 52 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 53 of
                                                                                 649
Pacific Gas and Electric Company                                                                                                      Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                   Address
                                                    or Remaining
                                                        Term


2. 394     GENERAL OFF-BILL AND ON-                  11/16/2021       CCOTH_01774                APPLE NORCAL LLC - 160 NUT TREE       27611 LA PAZ RD., SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                          PKWY - VACAVILLE                      LAGUNA NIGUEL, CA 92677

2. 395     GENERAL OFF-BILL AND ON-                  12/6/2021        CCOTH_01775                APPLE NORCAL LLC - 1753 RESEARCH      27611 LA PAZ RD., SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                          PARK DR                               LAGUNA NIGUEL, CA 92677

2. 396     GENERAL OFF-BILL AND ON-                   9/6/2021        CCOTH_01776                APPLE NORCAL LLC - 1790 E MAIN ST     27611 LA PAZ RD., SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                                                                LAGUNA NIGUEL, CA 92677

2. 397     GENERAL OFF-BILL AND ON-                  1/21/2021        CCOTH_01785                APPLE NORCAL LLC - 195 SOSCOL         27611 LA PAZ RD., SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                          AVE - NAPA                            LAGUNA NIGUEL, CA 92677

2. 398     GENERAL OFF-BILL AND ON-                  4/21/2021        CCOTH_01786                APPLE NORCAL LLC - 2250 SANTA         27611 LA PAZ RD., SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                          ROSA AVE                              LAGUNA NIGUEL, CA 92677

2. 399     GENERAL OFF-BILL AND ON-                  8/14/2021        CCOTH_01787                APPLE NORCAL LLC - 2500 BELL RD       27611 LA PAZ RD., SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                                                                LAGUNA NIGUEL, CA 92677

2. 400     GENERAL OFF-BILL AND ON-                  10/31/2021       CCOTH_01788                APPLE NORCAL LLC - 2659 W MARCH LN 27611 LA PAZ RD., SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                                                             LAGUNA NIGUEL, CA 92677

2. 401     GENERAL OFF-BILL AND ON-                  3/31/2021        CCOTH_01801                APPLE NORCAL LLC - 3281 COACH LN -    27611 LA PAZ RD., SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                          CAMERON PARK                          LAGUNA NIGUEL, CA 92677

2. 402     GENERAL OFF-BILL AND ON-                  11/16/2020       CCOTH_02297                APPLE NORCAL LLC - 501 ROHNERT        27611 LA PAZ RD., SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                          PARK EXPY W                           LAGUNA NIGUEL, CA 92677

2. 403     GENERAL OFF-BILL AND ON-                  11/21/2020       CCOTH_02298                APPLE NORCAL LLC - 5301 OLD           27611 LA PAZ RD., SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                          REDWOOD HWY N                         LAGUNA NIGUEL, CA 92677

2. 404     GENERAL OFF-BILL AND ON-                  10/6/2021        CCOTH_02299                APPLE NORCAL LLC - 8931 BROOKS RD     27611 LA PAZ RD., SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                          S                                     LAGUNA NIGUEL, CA 92677

2. 405     GENERAL OFF-BILL AND ON-                  5/18/2023        CCOTH_01295                APPLIED WEATHER TECHNOLOGY            1111 W EL CAMINO REAL
           BILLFINANCING LOAN AGREEMENT                                                          INC - 140 KIFER CT                    SUITE 135
                                                                                                                                       SUNNYVALE, CA 94087




                                                                       Page 53 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                  Page 54 of
                                                                                 649
Pacific Gas and Electric Company                                                                                                     Case Number:        19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 406     ENERGY UPGRADE CALIFORNIA                 Not Stated       CCOTH_00586                APRIL MCNICHOLAS                     2808 EASY ST
           ADVANCED HOME UPGRADE                                                                                                      PLACERVILLE, CA 95667
           (CUSTOM/CALCULATED)

2. 407     SMALL PETROCHEMICAL ENERGY                Not Stated       CCOTH_03591                APTIM                                39001 TREASURY CENTER
           EFFICIENCY PROGRAM - CUSTOMIZED                                                                                            CHICAGO, IL 60694
           RETROFIT

2. 408     GENERAL OFF-BILL AND ON-                  4/11/2020        CCOTH_02008                AQUARIUM OF THE BAY FOUNDATION -     1725 RUTAN DRIVE
           BILLFINANCING LOAN AGREEMENT                                                          PIER 39                              LIVERMORE, CA 94551

2. 409     UNIVERSITY OF                             Not Stated       CCOTH_03651                ARC ALTERNATIVES                     RD 79 .25M E .5M S/ I-80
           CALIFORNIA/CALIFORNIA STATE                                                                                                DAVIS, CA 95616
           UNIVERSITY - SBD WHOLE BUILDING

2. 410     GENERAL OFF-BILL AND ON-                  6/30/2021        CCOTH_02258                ARC SAN JOAQUIN,INC - 41 W YOKUTS    41 W YOKUTS AVE
           BILLFINANCING LOAN AGREEMENT                                                          AVE                                  STOCKTON, CA 95207

2. 411     GENERAL OFF-BILL AND ON-                  6/30/2021        CCOTH_02308                ARC SAN JOAQUIN,INC - 41 W YOKUTS    41 W YOKUTS AVE.
           BILLFINANCING LOAN AGREEMENT                                                          AVE - STOCKTON                       STOCKTON, CA 95207

2. 412     ELECTRIC VEHICLE CHARGE NETWORK           Not Stated       CCOTH_01063                ARCADIAN GROUP                       1447 BALHAN DR
                                                                                                                                      CONCORD 94521

2. 413     GENERAL OFF-BILL AND ON-                  9/15/2027        CCOTH_01725                ARCATA FIRE PROT DIST - 2125         2149 CENTRAL AVE
           BILLFINANCING LOAN AGREEMENT                                                          CENTRAL AVE                          MCKINLEYVILLE, CA 95519

2. 414     GENERAL OFF-BILL AND ON-                  8/20/2024        CCOTH_01583                ARCATA FIRE PROTECT DIST             905 6TH STREET
           BILLFINANCING LOAN AGREEMENT                                                                                               ARCATA, CA 95521

2. 415     GENERAL OFF-BILL AND ON-                  5/24/2022        CCOTH_01747                ARCATA PROFLOOR INC                  PO BOX 66
           BILLFINANCING LOAN AGREEMENT                                                                                               ARCATA, CA 95518

2. 416     STORM DRAIN AGREEMENT                     Not Stated       CCCRSOT_000                ARCATA, CITY OF                      CITY OF ARCATA, FINANCE DEPT,
                                                                          11                                                          736 F ST
                                                                                                                                      ARCATA, CA 95521

2. 417     GENERAL OFF-BILL AND ON-                  10/19/2022       CCOTH_01939                AREIAS,DENNIS - S/W HENRYMILLER      13315 BAKER RD
           BILLFINANCING LOAN AGREEMENT                                                          AVE WS                               LOS BANOS, CA 93635


                                                                       Page 54 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                 Page 55 of
                                                                                 649
Pacific Gas and Electric Company                                                                                                     Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                   Address
                                                    or Remaining
                                                        Term


2. 418     GENERAL OFF-BILL AND ON-                  6/18/2019        CCOTH_02552                ARIAS ENTERPRISES LLC - 723 MAIN ST 1641 PRINCETON AVE, #6
           BILLFINANCING LOAN AGREEMENT                                                                                              MODESTO, CA 95350

2. 419     GENERAL OFF-BILL AND ON-                  6/11/2019        CCOTH_03165                ARIAS LATINO MARKET INC - 2105       9530 HAGEMAN RD B#196
           BILLFINANCING LOAN AGREEMENT                                                          EDISON HWY                           BAKERSFIELD, CA 93312

2. 420     GENERAL OFF-BILL AND ON-                  8/25/2021        CCOTH_01177                ARIEL PROPERTY COMPANY LLC - 210     3479 NW YEON AVE
           BILLFINANCING LOAN AGREEMENT                                                          MASON CIR                            PORTLAND, OR 97210

2. 421     ENERGY UPGRADE CALIFORNIA                 Not Stated       CCOTH_00498                ARIEL ZUCKER                         2832 STANTON ST
           ADVANCED HOME UPGRADE                                                                                                      BERKELEY, CA 94702
           (CUSTOM/CALCULATED)

2. 422     GENERAL OFF-BILL AND ON-                  5/27/2020        CCOTH_02323                ARRC TECHNOLOGY - 1600 MILL ROCK     685 COCHRAN STREET, SUITE 200
           BILLFINANCING LOAN AGREEMENT                                                          WAY - BAKERSFIELD                    **USPS OVERNIGHT**
                                                                                                                                      SIMI VALLEY, CA 93065

2. 423     ELECTRIC VEHICLE CHARGE NETWORK           Not Stated       CCOTH_00801                ARTHUR JEN                           46101 FREMONT BLVD.
                                                                                                                                      FREMONT 94538

2. 424     REAL PROPERTY LEASE - MANTECA CSO         6/30/2019        CCCRSLS_000                ARTHUR N CLEMENS JR TRUST            ARTHUR N CLEMENS JR TRUST
                                                                          43                                                          401 ORANGE AVE
                                                                                                                                      RIPON, CA 95366

2. 425     GENERAL OFF-BILL AND ON-                  12/8/2018        CCOTH_01524                ART'S SHEET METAL MFG INC            877 CEDAR STREET, SUITE 240
           BILLFINANCING LOAN AGREEMENT                                                                                               SANTA CRUZ, CA 95060

2. 426     OBF ALTERNATIVE PATHWAY                   12/31/2019       CCOTH_03698                ARUP NORTH AMERICA                   12777 W JEFFERSON BLVD
                                                                                                                                      LOS ANGELES

2. 427     SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated       CCOTH_03443                ARUP NORTH AMERICA, LTD              560 MISSION STREET, SUITE 700
           BY DESIGN WHOLE BUILDING                                                                                                   SAN FRANCISCO, CA 94105

2. 428     SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated       CCOTH_03444                ARUP NORTH AMERICA, LTD              560 MISSION STREET, SUITE 700
           BY DESIGN WHOLE BUILDING                                                                                                   SAN FRANCISCO, CA 94105

2. 429     SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated       CCOTH_03441                ARUP NORTH AMERICA, LTD.             560 MISSION, SUITE 700
           BY DESIGN WHOLE BUILDING                                                                                                   SAN FRANCISCO, CA 94105



                                                                       Page 55 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 56 of
                                                                                 649
Pacific Gas and Electric Company                                                                                                     Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 430     SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated       CCOTH_03442                ARUP NORTH AMERICA, LTD.             560 MISSION, SUITE 700
           BY DESIGN WHOLE BUILDING                                                                                                   SAN FRANCISCO, CA 94105

2. 431     COMMERCIAL CALCULATED                     Not Stated       CCOTH_00162                ASB FORTUNE                          2001 FORTUNE DR. DON JENKINS
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                          SAN JOSE, CA 95131
           PROGRAM

2. 432     COMMERCIAL CALCULATED                     Not Stated       CCOTH_00160                ASB FORTUNE DATA CENTERS LLC         2001 FORTUNE DR.
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                          SAN JOSE, CA 95131
           PROGRAM

2. 433     GENERAL OFF-BILL AND ON-                  7/14/2021        CCOTH_01481                ASH STREET GREEN PARTNERS LLC        4021 BERESFORD STREET
           BILLFINANCING LOAN AGREEMENT                                                                                               SAN MATEO, CA 94403

2. 434     GENERAL OFF-BILL AND ON-                  11/26/2020       CCOTH_03009                ASHBURY MARKET INC - 179 STARLITE    3334 SWETZER RD
           BILLFINANCING LOAN AGREEMENT                                                          ST                                   LOOMIS, CA 95650

2. 435     ENERGY UPGRADE CALIFORNIA                 Not Stated       CCOTH_00592                ASHWIN MATHEW                        2812 ESMOND AVE
           ADVANCED HOME UPGRADE                                                                                                      RICHMOND, CA 94804
           (CUSTOM/CALCULATED)

2. 436     GENERAL OFF-BILL AND ON-                  1/31/2022        CCOTH_02307                ASSEMBLY OF GOD CHURCH - 207         PO BOX 1479
           BILLFINANCING LOAN AGREEMENT                                                          PILGRIM WAY                          ARROYO GRANDE, CA 93421

2. 437     SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated       CCOTH_03375                ASSEMI GROUP                         1396 W. HERNDON AVE, SUITE 110
           BY DESIGN WHOLE BUILDING                                                                                                   FRESNO, CA 93711

2. 438     COMMERCIAL CALCULATED                     Not Stated       CCOTH_00115                AT&T SERVICES INC                    308 S AKARD ST ROOM 1610.01
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                          DALLAS, TX 75202
           PROGRAM

2. 439     COMMERCIAL CALCULATED                     Not Stated       CCOTH_00175                AT&T SERVICES INC.                   5001 EXECUTIVE PARKWAY
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                          SAN RAMON, CA 94583
           PROGRAM




                                                                       Page 56 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                 Page 57 of
                                                                                 649
Pacific Gas and Electric Company                                                                                                   Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                              Address
                                                     or Remaining
                                                         Term


2. 440     LICENSE FOR INDIVIDUAL SITE             1/13/2030, unless     CCNRD_00023                AT&T WIRELESS SERVICES OF       AT&T MOBILITY
           LOCATION UNDER AMENDED AND              terminated earlier                               CALIFORNIA, INC.                3851 NORTH FREEWAY BLVD
           RESTATED MASTER LICENSE                                                                                                  SACRAMENTO, CA 95834
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH AT&T WIRELESS
           SERVICES OF CALIFORNIA, INC. DATED
           MAY JAN 14, 2000

2. 441     LICENSE FOR INDIVIDUAL SITE             1/13/2030, unless     CCNRD_00314                AT&T WIRELESS SERVICES OF       AT&T MOBILITY
           LOCATION UNDER AMENDED AND              terminated earlier                               CALIFORNIA, INC.                3851 NORTH FREEWAY BLVD
           RESTATED MASTER LICENSE                                                                                                  SACRAMENTO, CA 95834
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH AT&T WIRELESS
           SERVICES OF CALIFORNIA, INC. DATED
           MAY JAN 14, 2000

2. 442     LICENSE FOR INDIVIDUAL SITE             1/13/2030, unless     CCNRD_00315                AT&T WIRELESS SERVICES OF       AT&T MOBILITY
           LOCATION UNDER AMENDED AND              terminated earlier                               CALIFORNIA, INC.                3851 NORTH FREEWAY BLVD
           RESTATED MASTER LICENSE                                                                                                  SACRAMENTO, CA 95834
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH AT&T WIRELESS
           SERVICES OF CALIFORNIA, INC. DATED
           MAY JAN 14, 2000

2. 443     LICENSE FOR INDIVIDUAL SITE             1/13/2030, unless     CCNRD_00316                AT&T WIRELESS SERVICES OF       AT&T MOBILITY
           LOCATION UNDER AMENDED AND              terminated earlier                               CALIFORNIA, INC.                3851 NORTH FREEWAY BLVD
           RESTATED MASTER LICENSE                                                                                                  SACRAMENTO, CA 95834
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH AT&T WIRELESS
           SERVICES OF CALIFORNIA, INC. DATED
           MAY JAN 14, 2000

2. 444     LICENSE FOR INDIVIDUAL SITE             1/13/2030, unless     CCNRD_00317                AT&T WIRELESS SERVICES OF       AT&T MOBILITY
           LOCATION UNDER AMENDED AND              terminated earlier                               CALIFORNIA, INC.                3851 NORTH FREEWAY BLVD
           RESTATED MASTER LICENSE                                                                                                  SACRAMENTO, CA 95834
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH AT&T WIRELESS
           SERVICES OF CALIFORNIA, INC. DATED
           MAY JAN 14, 2000




                                                                          Page 57 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907             Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 58 of
                                                                                    649
Pacific Gas and Electric Company                                                                                                   Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                              Address
                                                     or Remaining
                                                         Term


2. 445     LICENSE FOR INDIVIDUAL SITE             1/13/2030, unless     CCNRD_00318                AT&T WIRELESS SERVICES OF       AT&T MOBILITY
           LOCATION UNDER AMENDED AND              terminated earlier                               CALIFORNIA, INC.                3851 NORTH FREEWAY BLVD
           RESTATED MASTER LICENSE                                                                                                  SACRAMENTO, CA 95834
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH AT&T WIRELESS
           SERVICES OF CALIFORNIA, INC. DATED
           MAY JAN 14, 2000

2. 446     LICENSE FOR INDIVIDUAL SITE             1/13/2030, unless     CCNRD_00319                AT&T WIRELESS SERVICES OF       AT&T MOBILITY
           LOCATION UNDER AMENDED AND              terminated earlier                               CALIFORNIA, INC.                3851 NORTH FREEWAY BLVD
           RESTATED MASTER LICENSE                                                                                                  SACRAMENTO, CA 95834
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH AT&T WIRELESS
           SERVICES OF CALIFORNIA, INC. DATED
           MAY JAN 14, 2000

2. 447     LICENSE FOR INDIVIDUAL SITE             1/13/2030, unless     CCNRD_00320                AT&T WIRELESS SERVICES OF       AT&T MOBILITY
           LOCATION UNDER AMENDED AND              terminated earlier                               CALIFORNIA, INC.                3851 NORTH FREEWAY BLVD
           RESTATED MASTER LICENSE                                                                                                  SACRAMENTO, CA 95834
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH AT&T WIRELESS
           SERVICES OF CALIFORNIA, INC. DATED
           MAY JAN 14, 2000

2. 448     LICENSE FOR INDIVIDUAL SITE             1/13/2030, unless     CCNRD_00321                AT&T WIRELESS SERVICES OF       AT&T MOBILITY
           LOCATION UNDER AMENDED AND              terminated earlier                               CALIFORNIA, INC.                3851 NORTH FREEWAY BLVD
           RESTATED MASTER LICENSE                                                                                                  SACRAMENTO, CA 95834
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH AT&T WIRELESS
           SERVICES OF CALIFORNIA, INC. DATED
           MAY JAN 14, 2000

2. 449     LICENSE FOR INDIVIDUAL SITE             1/13/2030, unless     CCNRD_00322                AT&T WIRELESS SERVICES OF       AT&T MOBILITY
           LOCATION UNDER AMENDED AND              terminated earlier                               CALIFORNIA, INC.                3851 NORTH FREEWAY BLVD
           RESTATED MASTER LICENSE                                                                                                  SACRAMENTO, CA 95834
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH AT&T WIRELESS
           SERVICES OF CALIFORNIA, INC. DATED
           MAY JAN 14, 2000




                                                                          Page 58 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907             Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 59 of
                                                                                    649
Pacific Gas and Electric Company                                                                                                   Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                              Address
                                                     or Remaining
                                                         Term


2. 450     LICENSE FOR INDIVIDUAL SITE             1/13/2030, unless     CCNRD_00323                AT&T WIRELESS SERVICES OF       AT&T MOBILITY
           LOCATION UNDER AMENDED AND              terminated earlier                               CALIFORNIA, INC.                3851 NORTH FREEWAY BLVD
           RESTATED MASTER LICENSE                                                                                                  SACRAMENTO, CA 95834
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH AT&T WIRELESS
           SERVICES OF CALIFORNIA, INC. DATED
           MAY JAN 14, 2000

2. 451     LICENSE FOR INDIVIDUAL SITE             1/13/2030, unless     CCNRD_00324                AT&T WIRELESS SERVICES OF       AT&T MOBILITY
           LOCATION UNDER AMENDED AND              terminated earlier                               CALIFORNIA, INC.                3851 NORTH FREEWAY BLVD
           RESTATED MASTER LICENSE                                                                                                  SACRAMENTO, CA 95834
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH AT&T WIRELESS
           SERVICES OF CALIFORNIA, INC. DATED
           MAY JAN 14, 2000

2. 452     LICENSE FOR INDIVIDUAL SITE             1/13/2030, unless     CCNRD_00325                AT&T WIRELESS SERVICES OF       AT&T MOBILITY
           LOCATION UNDER AMENDED AND              terminated earlier                               CALIFORNIA, INC.                3851 NORTH FREEWAY BLVD
           RESTATED MASTER LICENSE                                                                                                  SACRAMENTO, CA 95834
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH AT&T WIRELESS
           SERVICES OF CALIFORNIA, INC. DATED
           MAY JAN 14, 2000

2. 453     LICENSE FOR INDIVIDUAL SITE             1/13/2030, unless     CCNRD_00326                AT&T WIRELESS SERVICES OF       AT&T MOBILITY
           LOCATION UNDER AMENDED AND              terminated earlier                               CALIFORNIA, INC.                3851 NORTH FREEWAY BLVD
           RESTATED MASTER LICENSE                                                                                                  SACRAMENTO, CA 95834
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH AT&T WIRELESS
           SERVICES OF CALIFORNIA, INC. DATED
           MAY JAN 14, 2000

2. 454     LICENSE FOR INDIVIDUAL SITE             1/13/2030, unless     CCNRD_00327                AT&T WIRELESS SERVICES OF       AT&T MOBILITY
           LOCATION UNDER AMENDED AND              terminated earlier                               CALIFORNIA, INC.                3851 NORTH FREEWAY BLVD
           RESTATED MASTER LICENSE                                                                                                  SACRAMENTO, CA 95834
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH AT&T WIRELESS
           SERVICES OF CALIFORNIA, INC. DATED
           MAY JAN 14, 2000




                                                                          Page 59 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907             Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 60 of
                                                                                    649
Pacific Gas and Electric Company                                                                                                   Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                              Address
                                                     or Remaining
                                                         Term


2. 455     LICENSE FOR INDIVIDUAL SITE             1/13/2030, unless     CCNRD_00328                AT&T WIRELESS SERVICES OF       AT&T MOBILITY
           LOCATION UNDER AMENDED AND              terminated earlier                               CALIFORNIA, INC.                3851 NORTH FREEWAY BLVD
           RESTATED MASTER LICENSE                                                                                                  SACRAMENTO, CA 95834
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH AT&T WIRELESS
           SERVICES OF CALIFORNIA, INC. DATED
           MAY JAN 14, 2000

2. 456     LICENSE FOR INDIVIDUAL SITE             1/13/2030, unless     CCNRD_00329                AT&T WIRELESS SERVICES OF       AT&T MOBILITY
           LOCATION UNDER AMENDED AND              terminated earlier                               CALIFORNIA, INC.                3851 NORTH FREEWAY BLVD
           RESTATED MASTER LICENSE                                                                                                  SACRAMENTO, CA 95834
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH AT&T WIRELESS
           SERVICES OF CALIFORNIA, INC. DATED
           MAY JAN 14, 2000

2. 457     LICENSE FOR INDIVIDUAL SITE             1/13/2030, unless     CCNRD_00330                AT&T WIRELESS SERVICES OF       AT&T MOBILITY
           LOCATION UNDER AMENDED AND              terminated earlier                               CALIFORNIA, INC.                3851 NORTH FREEWAY BLVD
           RESTATED MASTER LICENSE                                                                                                  SACRAMENTO, CA 95834
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH AT&T WIRELESS
           SERVICES OF CALIFORNIA, INC. DATED
           MAY JAN 14, 2000

2. 458     LICENSE FOR INDIVIDUAL SITE             1/13/2030, unless     CCNRD_00331                AT&T WIRELESS SERVICES OF       AT&T MOBILITY
           LOCATION UNDER AMENDED AND              terminated earlier                               CALIFORNIA, INC.                3851 NORTH FREEWAY BLVD
           RESTATED MASTER LICENSE                                                                                                  SACRAMENTO, CA 95834
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH AT&T WIRELESS
           SERVICES OF CALIFORNIA, INC. DATED
           MAY JAN 14, 2000

2. 459     LICENSE FOR INDIVIDUAL SITE             1/13/2030, unless     CCNRD_00332                AT&T WIRELESS SERVICES OF       AT&T MOBILITY
           LOCATION UNDER AMENDED AND              terminated earlier                               CALIFORNIA, INC.                3851 NORTH FREEWAY BLVD
           RESTATED MASTER LICENSE                                                                                                  SACRAMENTO, CA 95834
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH AT&T WIRELESS
           SERVICES OF CALIFORNIA, INC. DATED
           MAY JAN 14, 2000




                                                                          Page 60 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907             Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 61 of
                                                                                    649
Pacific Gas and Electric Company                                                                                                   Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                              Address
                                                     or Remaining
                                                         Term


2. 460     LICENSE FOR INDIVIDUAL SITE             1/13/2030, unless     CCNRD_00333                AT&T WIRELESS SERVICES OF       AT&T MOBILITY
           LOCATION UNDER AMENDED AND              terminated earlier                               CALIFORNIA, INC.                3851 NORTH FREEWAY BLVD
           RESTATED MASTER LICENSE                                                                                                  SACRAMENTO, CA 95834
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH AT&T WIRELESS
           SERVICES OF CALIFORNIA, INC. DATED
           MAY JAN 14, 2000

2. 461     LICENSE FOR INDIVIDUAL SITE             1/13/2030, unless     CCNRD_00334                AT&T WIRELESS SERVICES OF       AT&T MOBILITY
           LOCATION UNDER AMENDED AND              terminated earlier                               CALIFORNIA, INC.                3851 NORTH FREEWAY BLVD
           RESTATED MASTER LICENSE                                                                                                  SACRAMENTO, CA 95834
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH AT&T WIRELESS
           SERVICES OF CALIFORNIA, INC. DATED
           MAY JAN 14, 2000

2. 462     LICENSE FOR INDIVIDUAL SITE             1/13/2030, unless     CCNRD_00335                AT&T WIRELESS SERVICES OF       AT&T MOBILITY
           LOCATION UNDER AMENDED AND              terminated earlier                               CALIFORNIA, INC.                3851 NORTH FREEWAY BLVD
           RESTATED MASTER LICENSE                                                                                                  SACRAMENTO, CA 95834
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH AT&T WIRELESS
           SERVICES OF CALIFORNIA, INC. DATED
           MAY JAN 14, 2000

2. 463     LICENSE FOR INDIVIDUAL SITE             1/13/2030, unless     CCNRD_00336                AT&T WIRELESS SERVICES OF       AT&T MOBILITY
           LOCATION UNDER AMENDED AND              terminated earlier                               CALIFORNIA, INC.                3851 NORTH FREEWAY BLVD
           RESTATED MASTER LICENSE                                                                                                  SACRAMENTO, CA 95834
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH AT&T WIRELESS
           SERVICES OF CALIFORNIA, INC. DATED
           MAY JAN 14, 2000

2. 464     LICENSE FOR INDIVIDUAL SITE             1/13/2030, unless     CCNRD_00337                AT&T WIRELESS SERVICES OF       AT&T MOBILITY
           LOCATION UNDER AMENDED AND              terminated earlier                               CALIFORNIA, INC.                3851 NORTH FREEWAY BLVD
           RESTATED MASTER LICENSE                                                                                                  SACRAMENTO, CA 95834
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH AT&T WIRELESS
           SERVICES OF CALIFORNIA, INC. DATED
           MAY JAN 14, 2000




                                                                          Page 61 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907             Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 62 of
                                                                                    649
Pacific Gas and Electric Company                                                                                                   Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                              Address
                                                     or Remaining
                                                         Term


2. 465     LICENSE FOR INDIVIDUAL SITE             1/13/2030, unless     CCNRD_00338                AT&T WIRELESS SERVICES OF       AT&T MOBILITY
           LOCATION UNDER AMENDED AND              terminated earlier                               CALIFORNIA, INC.                3851 NORTH FREEWAY BLVD
           RESTATED MASTER LICENSE                                                                                                  SACRAMENTO, CA 95834
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH AT&T WIRELESS
           SERVICES OF CALIFORNIA, INC. DATED
           MAY JAN 14, 2000

2. 466     LICENSE FOR INDIVIDUAL SITE             1/13/2030, unless     CCNRD_00339                AT&T WIRELESS SERVICES OF       AT&T MOBILITY
           LOCATION UNDER AMENDED AND              terminated earlier                               CALIFORNIA, INC.                3851 NORTH FREEWAY BLVD
           RESTATED MASTER LICENSE                                                                                                  SACRAMENTO, CA 95834
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH AT&T WIRELESS
           SERVICES OF CALIFORNIA, INC. DATED
           MAY JAN 14, 2000

2. 467     LICENSE FOR INDIVIDUAL SITE             1/13/2030, unless     CCNRD_00340                AT&T WIRELESS SERVICES OF       AT&T MOBILITY
           LOCATION UNDER AMENDED AND              terminated earlier                               CALIFORNIA, INC.                3851 NORTH FREEWAY BLVD
           RESTATED MASTER LICENSE                                                                                                  SACRAMENTO, CA 95834
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH AT&T WIRELESS
           SERVICES OF CALIFORNIA, INC. DATED
           MAY JAN 14, 2000

2. 468     LICENSE FOR INDIVIDUAL SITE             1/13/2030, unless     CCNRD_00341                AT&T WIRELESS SERVICES OF       AT&T MOBILITY
           LOCATION UNDER AMENDED AND              terminated earlier                               CALIFORNIA, INC.                3851 NORTH FREEWAY BLVD
           RESTATED MASTER LICENSE                                                                                                  SACRAMENTO, CA 95834
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH AT&T WIRELESS
           SERVICES OF CALIFORNIA, INC. DATED
           MAY JAN 14, 2000

2. 469     LICENSE FOR INDIVIDUAL SITE             1/13/2030, unless     CCNRD_00342                AT&T WIRELESS SERVICES OF       AT&T MOBILITY
           LOCATION UNDER AMENDED AND              terminated earlier                               CALIFORNIA, INC.                3851 NORTH FREEWAY BLVD
           RESTATED MASTER LICENSE                                                                                                  SACRAMENTO, CA 95834
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH AT&T WIRELESS
           SERVICES OF CALIFORNIA, INC. DATED
           MAY JAN 14, 2000




                                                                          Page 62 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907             Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 63 of
                                                                                    649
Pacific Gas and Electric Company                                                                                                   Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                              Address
                                                     or Remaining
                                                         Term


2. 470     LICENSE FOR INDIVIDUAL SITE             1/13/2030, unless     CCNRD_00343                AT&T WIRELESS SERVICES OF       AT&T MOBILITY
           LOCATION UNDER AMENDED AND              terminated earlier                               CALIFORNIA, INC.                3851 NORTH FREEWAY BLVD
           RESTATED MASTER LICENSE                                                                                                  SACRAMENTO, CA 95834
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH AT&T WIRELESS
           SERVICES OF CALIFORNIA, INC. DATED
           MAY JAN 14, 2000

2. 471     MASTER AGREEMENT FOR ISSUANCE               1/13/2030         CCNRD_00008                AT&T WIRELESS SERVICES OF       AT&T MOBILITY
           OF LICENSES TO                                                                           CALIFORNIA, INC.                3851 NORTH FREEWAY BLVD
           TELECOMMUNICATIONS CUSTOMER                                                                                              SACRAMENTO, CA 95834
           FOR ATTACHMENT OF ANTENNAS AND
           RELATED EQUIPMENT

2. 472     WATER AGREEMENT                            Not Stated         CCCRSOT_000                ATASCADERO MUTUAL WATER         ATASCADERO MUTUAL WATER CO
                                                                             12                                                     ATASCADERO, CA

2. 473     GENERAL OFF-BILL AND ON-                    7/16/2024         CCOTH_01347                ATASCADERO UNIFIED SCHOOL       27611 LA PAZ RD, SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                             DISTRICT                        LAGUNA NIGUEL, CA 92677

2. 474     GENERAL OFF-BILL AND ON-                    11/8/2024         CCOTH_01708                ATASCADERO UNIFIED SCHOOL       27611 LA PAZ RD. SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                             DISTRICT                        LAGUNA NIGUEL, CA 92677

2. 475     GENERAL OFF-BILL AND ON-                    1/17/2024         CCOTH_01709                ATASCADERO UNIFIED SCHOOL       27611 LA PAZ RD, SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                             DISTRICT                        LAGUNA NIGUEL, CA 92677

2. 476     GENERAL OFF-BILL AND ON-                    5/8/2024          CCOTH_01726                ATASCADERO UNIFIED SCHOOL       27611 LA PAZ RD. SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                             DISTRICT                        LAGUNA NIGUEL, CA 92677

2. 477     GENERAL OFF-BILL AND ON-                   12/31/2026         CCOTH_01728                ATASCADERO UNIFIED SCHOOL       27611 LA PAZ ROAD, SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                             DISTRICT                        LAGUNA NIGUEL, CA 92677

2. 478     GENERAL OFF-BILL AND ON-                   12/13/2023         CCOTH_01729                ATASCADERO UNIFIED SCHOOL       27611 LA PAZ RD, SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                             DISTRICT                        LAUGUNA NIGUEL, CA 92677

2. 479     GENERAL OFF-BILL AND ON-                    3/19/2025         CCOTH_01951                ATASCADERO UNIFIED SCHOOL       27611 LA PAZ RD. SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                             DISTRICT                        LAGUNA NIGUEL, CA 92677

2. 480     GENERAL OFF-BILL AND ON-                    3/31/2028         CCOTH_01304                ATASCADERO UNIFIED SCHOOL       27611 LA PAZ RD, SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                             DISTRICT - 6100 OLMEDA          LAGUNA NIGUEL, CA 92677

                                                                          Page 63 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907             Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 64 of
                                                                                    649
Pacific Gas and Electric Company                                                                                                 Case Number:        19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                              Address
                                                    or Remaining
                                                        Term


2. 481     GENERAL OFF-BILL AND ON-                  8/17/2024        CCOTH_01727                ATASCADERO UNIFIED SCHOOL        27611 LA PAZ RD. SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                          DISTRICT - CRESTON               LAGUNA NIGUEL, CA 92677

2. 482     GENERAL OFF-BILL AND ON-                  11/17/2022       CCOTH_01740                ATASCADERO UNIFIED SCHOOL        27611 LA PAZ RD, SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                          DISTRICT - SAN BENITO RD         LAGUNA NIGUEL, CA 92677

2. 483     GENERAL OFF-BILL AND ON-                  7/14/2024        CCOTH_02682                ATASCADERO UNIFIED SCHOOL        27611 LA PAZ RD.
           BILLFINANCING LOAN AGREEMENT                                                          DISTRICT - SW4 SW4 34            SUITE A2
                                                                                                                                  LAGUNA NIGUEL, CA 92677

2. 484     GENERAL OFF-BILL AND ON-                  11/7/2028        CCOTH_01306                ATASCADERO UNIFIED SCHOOL        27611 LA PAZ RD. SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                          DISTRICT -6500 LEWIS AVE         LAGUNA NIGUEL, CA 92677

2. 485     GENERAL OFF-BILL AND ON-                  10/31/2028       CCOTH_01301                ATASCADERO USD - 6500            27611 LA PAZ RD, SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                          ATASCADERO AVE                   LAGUNA NIGUEL, CA 92677

2. 486     GENERAL OFF-BILL AND ON-                  9/30/2028        CCOTH_01302                ATASCADERO USD - MONTEREY RD.    27611 LA PAZ RD
           BILLFINANCING LOAN AGREEMENT                                                          ELEMENTARY SCHOOL                SUITE A2
                                                                                                                                  LAGUNA NIGUEL, CA 92677

2. 487     SERVICE AGREEMENT                         Not Stated       CCCRSOT_000                ATLAS WASTE MANAGEMENT           ATLAS WASTE MANAGEMENT INC
                                                                          13                                                      DBA API WASTE SERVICES,
                                                                                                                                  1306 WHITE CT
                                                                                                                                  SANTA MARIA, CA

2. 488     GENERAL OFF-BILL AND ON-                  8/18/2019        CCOTH_01837                ATMF INC                         PO BOX 279
           BILLFINANCING LOAN AGREEMENT                                                                                           TULARE, CA 93725

2. 489     GENERAL OFF-BILL AND ON-                  9/22/2021        CCOTH_03025                ATWATER ELEMENTARY SCHOOL        1401 BROADWAY AVE
           BILLFINANCING LOAN AGREEMENT                                                          DISTRICT                         ATWATER, CA

2. 490     SINGLE-FAMILY AFFORDABLE SOLAR            Not Stated       CCOTH_03569                ATWELL,BRUCE                     114 BAY VIEW DR
           HOMES (SASH)                                                                                                            LOLETA, CA 95551

2. 491     SEWER AGREEMENT                           Not Stated       CCCRSOT_000                AUBURN, CITY OF                  CITY OF AUBURN
                                                                          14                                                      1225 LINCOLN WAY
                                                                                                                                  AUBURN, CA 95603




                                                                       Page 64 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 65 of
                                                                                 649
Pacific Gas and Electric Company                                                                                                       Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                    Address
                                                    or Remaining
                                                        Term


2. 492     ENERGY UPGRADE CALIFORNIA                 Not Stated       CCOTH_00618                AUDREY VANDENAKKER                     826 HENDERSON AVE
           ADVANCED HOME UPGRADE                                                                                                        SUNNYVALE, CA 94086
           (CUSTOM/CALCULATED)

2. 493     GENERAL OFF-BILL AND ON-                  9/12/2023        CCOTH_03127                AUTOCOM IGNITE, LLC - 1152 MARINA      10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          BLVD                                   SANTA FE SPRINGS, CA 90670

2. 494     GENERAL OFF-BILL AND ON-                  10/12/2023       CCOTH_03128                AUTOCOM IGNITE, LLC - 2085 WAYNE       10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          AVE                                    SANTA FE SPRINGS, CA 90670

2. 495     REAL PROPERTY LEASE - SAN LUIS            1/31/2022        CCCRSLS_001                AVIATION CONSULTANTS, INC.             AVIATION CONSULTANTS INC
           OBISPO HANGAR SPACE                                            11                                                            ACIJET,
                                                                                                                                        945 AIRPORT DR
                                                                                                                                        SAN LUIS OBISPO, CA 93401

2. 496     GENERAL OFF-BILL AND ON-                  2/21/2023        CCOTH_01161                AVILA BAY CLUB - 6699 BAY LAUREL DR 10011 PIONEER BLVD.
           BILLFINANCING LOAN AGREEMENT                                                                                              SANTA FE SPRINGS, CA 90670

2. 497     GENERAL OFF-BILL AND ON-                  12/4/2019        CCOTH_02132                AVILA,SALOMON                          685 COCHRAN STREET, SUITE 200
           BILLFINANCING LOAN AGREEMENT                                                                                                 SIMI VALLEY, CA 93065

2. 498     GENERAL OFF-BILL AND ON-                   8/9/2023        CCOTH_01275                AZFAL,MUHAMMAD - 561 5TH ST            820 BRIDGESTONE DR.
           BILLFINANCING LOAN AGREEMENT                                                                                                 LINCOLN, CA 95648

2. 499     GENERAL OFF-BILL AND ON-                  8/17/2021        CCOTH_02817                B & H ENGINEERING CO INC - 1735 OLD    2108 MANASSAS COURT
           BILLFINANCING LOAN AGREEMENT                                                          COUNTY RD BLDG                         SAN JOSE, CA 95116

2. 500     CONSULTING AND ENERGY                      3/8/2019        CCNRD_02893                B E GIOVANNETTI & SONS                 5272 CLARK RD
           MANAGEMENT SERVICES                                                                                                          LIVE OAK, CA 95953

2. 501     GENERAL OFF-BILL AND ON-                  1/29/2021        CCOTH_01382                BAINS-SOHAL,RAJ                        112 COMMERCIAL CT
           BILLFINANCING LOAN AGREEMENT                                                                                                 #24
                                                                                                                                        SANTA ROSA, CA 95407

2. 502     RECYCLING AGREEMENT                       Not Stated       CCCRSOT_000                BAKERSFIELD ARC                        BAKERSFIELD ARC INC
                                                                          15                                                            2240 S UNION AVE
                                                                                                                                        BAKERSFIELD, CA 93307

2. 503     SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated       CCOTH_03338                BAKERSFIELD CITY SCHOOL DISTRICT       1300 BAKER STREET
           BY DESIGN WHOLE BUILDING                                                                                                     BAKERSFIELD, CA 93305

                                                                       Page 65 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 66 of
                                                                                 649
Pacific Gas and Electric Company                                                                                                      Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                    Address
                                                    or Remaining
                                                        Term


2. 504     SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated       CCOTH_03339                BAKERSFIELD CITY SCHOOL DISTRICT      777 S. HIGHWAY 101 SUITE 203
           BY DESIGN WHOLE BUILDING                                                                                                    BAKERSFIELD, CA 92075

2. 505     GENERAL OFF-BILL AND ON-                  4/10/2022        CCOTH_02022                BAKERSFIELD CITY SCHOOL               27611 LA PAZ RD. SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                          DISTRICT - 1015 NOBLE AVE             LAGUNA NIGUEL, CA 92677

2. 506     GENERAL OFF-BILL AND ON-                  3/17/2027        CCOTH_02263                BAKERSFIELD CITY SCHOOL               27611 LA PAZ RD, SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                          DISTRICT - 601 4TH ST                 1ZW088X30145833768
                                                                                                                                       LAGUNA NIGUEL, CA 92677

2. 507     GENERAL OFF-BILL AND ON-                  12/25/2018       CCOTH_01973                BAKERSFIELD MACHINE CO                1187 N WILLOW AVE., STE #103,
           BILLFINANCING LOAN AGREEMENT                                                                                                PMB #40
                                                                                                                                       CLOVIS, CA 93611

2. 508     GARBAGE/SEWER/RENT AGREEMENT              Not Stated       CCCRSOT_000                BAKERSFIELD, CITY OF                  CITY OF BAKERSFIELD,
                                                                          16                                                           TREASURY DEPARTMENT,
                                                                                                                                       1715 CHESTER AVE
                                                                                                                                       BAKERSFIELD, CA 93303

2. 509     GENERAL OFF-BILL AND ON-                  3/10/2023        CCOTH_02805                BAL,JASWINDER DBA DUNNIGAN            27611 LA PAZ RD.
           BILLFINANCING LOAN AGREEMENT                                                          GENERAL STORE                         SUITE A2
                                                                                                                                       LAGUNA NIGUEL, CA 92677

2. 510     GENERAL OFF-BILL AND ON-                   1/7/2019        CCOTH_02800                BALJIT SINGH DBA AUBURN BEACON        13400 BOWMAN RD
           BILLFINANCING LOAN AGREEMENT                                                                                                AUBURN, CA

2. 511     GENERAL OFF-BILL AND ON-                  9/23/2020        CCOTH_01730                BANK PROPERTIES LP - 1120 NYE ST      1120 NYE STREET STE 400
           BILLFINANCING LOAN AGREEMENT                                                          STE 400                               SAN RAFAEL, CA 94901

2. 512     CONSULTING AND ENERGY                     10/5/2020        CCNRD_02884                BAR 20 DAIRY LLC                      PO BOX 1231
           MANAGEMENT SERVICES                                                                                                         FRESNO, CA 93715

2. 513     GENERAL OFF-BILL AND ON-                  10/15/2022       CCOTH_01398                BAR E DAIRY - SW SE SW 15 17 22       6970 CORONA AVE
           BILLFINANCING LOAN AGREEMENT                                                                                                KINGSBURG, CA 93631

2. 514     REAL PROPERTY LEASE - MORGAN HILL         4/30/2021        CCCRSLS_000                BARNES DESIGN INC                     BARNES DESIGN INC
           OFFICE (NEW EXPANSION)                                         50                                                           81 CORONA RD
                                                                                                                                       CARMEL, CA 93923




                                                                       Page 66 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                    Page 67 of
                                                                                 649
Pacific Gas and Electric Company                                                                                                       Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                    Address
                                                    or Remaining
                                                        Term


2. 515     ELECTRIC VEHICLE CHARGE NETWORK           Not Stated       CCOTH_01055                BARRON GREEN                           1501 TROUSDALE DRIVE
                                                                                                                                        BURLINGAME 94010

2. 516     BASE ENERGY TO PROVIDE ISP STUDY          11/15/2018       CCOTH_03772                BASE ENERGY INC                        5 THIRD STREET #630
           ON AG VFD                                                                                                                    SAN FRANCISCO, CA 94103

2. 517     ISP ON IAW (PO 2501278217 FROM SRM)       12/1/2018        CCOTH_03774                BASE ENERGY INC                        5 THIRD STREET #630
                                                                                                                                        SAN FRANCISCO, CA 94103

2. 518     GENERAL OFF-BILL AND ON-                  3/20/2021        CCOTH_01243                BASF CALIFORNIA INC. - 38403 CHERRY    10011 PIONEER BLVD.
           BILLFINANCING LOAN AGREEMENT                                                          ST                                     SANTA FE SPRINGS, CA 90670

2. 519     IRRIGATION/WATER AGREEMENT                Not Stated       CCCRSOT_000                BASIN PROPERTIES                       SR STONY POINT INVESTORS LLC,
                                                                          18                                                            C/O BASIN STREET PROPERTIES,
                                                                                                                                        316 CALIFORNIA AVE #350
                                                                                                                                        RENO, NV 89509

2. 520     GENERAL OFF-BILL AND ON-                  7/22/2019        CCOTH_02719                BASSI,PARM - 4856 OLD REDWOOD          107 JUNIOR ST.
           BILLFINANCING LOAN AGREEMENT                                                          HWY                                    SANTA ROSA, CA 95404

2. 521     GENERAL OFF-BILL AND ON-                  11/24/2020       CCOTH_01999                BATEH,LOUIS                            425 2ND STREET SUITE 100
           BILLFINANCING LOAN AGREEMENT                                                                                                 SAN FRANCISCO, CA 94107

2. 522     CONSULTING AND ENERGY                      5/9/2019        CCNRD_02896                BATTH FARMS                            5434 W KAMM
           MANAGEMENT SERVICES                                                                                                          CARUTHERS, CA 93609

2. 523     METER TESTING AND REPAIR SERVICES         12/31/2019       CCNRD_02852                BAY AREA AIR QUALITY MANAGEMENT        375 BEALE ST., STE. 600
                                                                                                 DISTRICT                               SAN FRANCISCO, CA 94105

2. 524     GENERAL OFF-BILL AND ON-                  7/23/2020        CCOTH_02182                BAY AREA AUTO CARE INC                 27611 LA PAZ SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                                                                 LAGUNA NIGUEL, CA 92677

2. 525     GENERAL OFF-BILL AND ON-                  6/21/2020        CCOTH_02010                BAY AREA AUTO CARE, INC.               27992 CAMINO CAPISTRANO #A
           BILLFINANCING LOAN AGREEMENT                                                                                                 LAGUNA NIGUEL, CA 92677




                                                                       Page 67 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 68 of
                                                                                 649
Pacific Gas and Electric Company                                                                                                     Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 526     LICENSE FOR INDIVIDUAL SITE             5/9/2020, unless      CCNRD_00344                BAY AREA CELLULAR TELEPHONE       651 GATEWAY BOULEVARD
           LOCATION UNDER AMENDED AND              terminated earlier                               COMPANY                           SUITE 1500
           RESTATED MASTER LICENSE                                                                                                    SOUTH SAN FRANCISCO, CA 94080
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH BAY AREA
           CELLULAR TELEPHONE COMPANY,
           DATED MAY 10, 2000

2. 527     LICENSE FOR INDIVIDUAL SITE             5/9/2020, unless      CCNRD_00345                BAY AREA CELLULAR TELEPHONE       651 GATEWAY BOULEVARD
           LOCATION UNDER AMENDED AND              terminated earlier                               COMPANY                           SUITE 1500
           RESTATED MASTER LICENSE                                                                                                    SOUTH SAN FRANCISCO, CA 94080
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH BAY AREA
           CELLULAR TELEPHONE COMPANY,
           DATED MAY 10, 2000

2. 528     LICENSE FOR INDIVIDUAL SITE             5/9/2020, unless      CCNRD_00346                BAY AREA CELLULAR TELEPHONE       651 GATEWAY BOULEVARD
           LOCATION UNDER AMENDED AND              terminated earlier                               COMPANY                           SUITE 1500
           RESTATED MASTER LICENSE                                                                                                    SOUTH SAN FRANCISCO, CA 94080
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH BAY AREA
           CELLULAR TELEPHONE COMPANY,
           DATED MAY 10, 2000

2. 529     LICENSE FOR INDIVIDUAL SITE             5/9/2020, unless      CCNRD_00347                BAY AREA CELLULAR TELEPHONE       651 GATEWAY BOULEVARD
           LOCATION UNDER AMENDED AND              terminated earlier                               COMPANY                           SUITE 1500
           RESTATED MASTER LICENSE                                                                                                    SOUTH SAN FRANCISCO, CA 94080
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH BAY AREA
           CELLULAR TELEPHONE COMPANY,
           DATED MAY 10, 2000

2. 530     LICENSE FOR INDIVIDUAL SITE             5/9/2020, unless      CCNRD_00348                BAY AREA CELLULAR TELEPHONE       651 GATEWAY BOULEVARD
           LOCATION UNDER AMENDED AND              terminated earlier                               COMPANY                           SUITE 1500
           RESTATED MASTER LICENSE                                                                                                    SOUTH SAN FRANCISCO, CA 94080
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH BAY AREA
           CELLULAR TELEPHONE COMPANY,
           DATED MAY 10, 2000




                                                                          Page 68 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907             Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 69 of
                                                                                    649
Pacific Gas and Electric Company                                                                                                     Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 531     LICENSE FOR INDIVIDUAL SITE             5/9/2020, unless      CCNRD_00349                BAY AREA CELLULAR TELEPHONE       651 GATEWAY BOULEVARD
           LOCATION UNDER AMENDED AND              terminated earlier                               COMPANY                           SUITE 1500
           RESTATED MASTER LICENSE                                                                                                    SOUTH SAN FRANCISCO, CA 94080
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH BAY AREA
           CELLULAR TELEPHONE COMPANY,
           DATED MAY 10, 2000

2. 532     LICENSE FOR INDIVIDUAL SITE             5/9/2020, unless      CCNRD_00350                BAY AREA CELLULAR TELEPHONE       651 GATEWAY BOULEVARD
           LOCATION UNDER AMENDED AND              terminated earlier                               COMPANY                           SUITE 1500
           RESTATED MASTER LICENSE                                                                                                    SOUTH SAN FRANCISCO, CA 94080
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH BAY AREA
           CELLULAR TELEPHONE COMPANY,
           DATED MAY 10, 2000

2. 533     LICENSE FOR INDIVIDUAL SITE             5/9/2020, unless      CCNRD_00351                BAY AREA CELLULAR TELEPHONE       651 GATEWAY BOULEVARD
           LOCATION UNDER AMENDED AND              terminated earlier                               COMPANY                           SUITE 1500
           RESTATED MASTER LICENSE                                                                                                    SOUTH SAN FRANCISCO, CA 94080
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH BAY AREA
           CELLULAR TELEPHONE COMPANY,
           DATED MAY 10, 2000

2. 534     LICENSE FOR INDIVIDUAL SITE             5/9/2020, unless      CCNRD_00352                BAY AREA CELLULAR TELEPHONE       651 GATEWAY BOULEVARD
           LOCATION UNDER AMENDED AND              terminated earlier                               COMPANY                           SUITE 1500
           RESTATED MASTER LICENSE                                                                                                    SOUTH SAN FRANCISCO, CA 94080
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH BAY AREA
           CELLULAR TELEPHONE COMPANY,
           DATED MAY 10, 2000

2. 535     LICENSE FOR INDIVIDUAL SITE             5/9/2020, unless      CCNRD_00353                BAY AREA CELLULAR TELEPHONE       651 GATEWAY BOULEVARD
           LOCATION UNDER AMENDED AND              terminated earlier                               COMPANY                           SUITE 1500
           RESTATED MASTER LICENSE                                                                                                    SOUTH SAN FRANCISCO, CA 94080
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH BAY AREA
           CELLULAR TELEPHONE COMPANY,
           DATED MAY 10, 2000




                                                                          Page 69 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907             Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 70 of
                                                                                    649
Pacific Gas and Electric Company                                                                                                     Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 536     LICENSE FOR INDIVIDUAL SITE             5/9/2020, unless      CCNRD_00354                BAY AREA CELLULAR TELEPHONE       651 GATEWAY BOULEVARD
           LOCATION UNDER AMENDED AND              terminated earlier                               COMPANY                           SUITE 1500
           RESTATED MASTER LICENSE                                                                                                    SOUTH SAN FRANCISCO, CA 94080
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH BAY AREA
           CELLULAR TELEPHONE COMPANY,
           DATED MAY 10, 2000

2. 537     LICENSE FOR INDIVIDUAL SITE             5/9/2020, unless      CCNRD_00355                BAY AREA CELLULAR TELEPHONE       651 GATEWAY BOULEVARD
           LOCATION UNDER AMENDED AND              terminated earlier                               COMPANY                           SUITE 1500
           RESTATED MASTER LICENSE                                                                                                    SOUTH SAN FRANCISCO, CA 94080
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH BAY AREA
           CELLULAR TELEPHONE COMPANY,
           DATED MAY 10, 2000

2. 538     LICENSE FOR INDIVIDUAL SITE             5/9/2020, unless      CCNRD_00356                BAY AREA CELLULAR TELEPHONE       651 GATEWAY BOULEVARD
           LOCATION UNDER AMENDED AND              terminated earlier                               COMPANY                           SUITE 1500
           RESTATED MASTER LICENSE                                                                                                    SOUTH SAN FRANCISCO, CA 94080
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH BAY AREA
           CELLULAR TELEPHONE COMPANY,
           DATED MAY 10, 2000

2. 539     LICENSE FOR INDIVIDUAL SITE             5/9/2020, unless      CCNRD_00357                BAY AREA CELLULAR TELEPHONE       651 GATEWAY BOULEVARD
           LOCATION UNDER AMENDED AND              terminated earlier                               COMPANY                           SUITE 1500
           RESTATED MASTER LICENSE                                                                                                    SOUTH SAN FRANCISCO, CA 94080
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH BAY AREA
           CELLULAR TELEPHONE COMPANY,
           DATED MAY 10, 2000

2. 540     LICENSE FOR INDIVIDUAL SITE             5/9/2020, unless      CCNRD_00358                BAY AREA CELLULAR TELEPHONE       651 GATEWAY BOULEVARD
           LOCATION UNDER AMENDED AND              terminated earlier                               COMPANY                           SUITE 1500
           RESTATED MASTER LICENSE                                                                                                    SOUTH SAN FRANCISCO, CA 94080
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH BAY AREA
           CELLULAR TELEPHONE COMPANY,
           DATED MAY 10, 2000




                                                                          Page 70 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907             Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 71 of
                                                                                    649
Pacific Gas and Electric Company                                                                                                     Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 541     LICENSE FOR INDIVIDUAL SITE             5/9/2020, unless      CCNRD_00359                BAY AREA CELLULAR TELEPHONE       651 GATEWAY BOULEVARD
           LOCATION UNDER AMENDED AND              terminated earlier                               COMPANY                           SUITE 1500
           RESTATED MASTER LICENSE                                                                                                    SOUTH SAN FRANCISCO, CA 94080
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH BAY AREA
           CELLULAR TELEPHONE COMPANY,
           DATED MAY 10, 2000

2. 542     LICENSE FOR INDIVIDUAL SITE             5/9/2020, unless      CCNRD_00360                BAY AREA CELLULAR TELEPHONE       651 GATEWAY BOULEVARD
           LOCATION UNDER AMENDED AND              terminated earlier                               COMPANY                           SUITE 1500
           RESTATED MASTER LICENSE                                                                                                    SOUTH SAN FRANCISCO, CA 94080
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH BAY AREA
           CELLULAR TELEPHONE COMPANY,
           DATED MAY 10, 2000

2. 543     LICENSE FOR INDIVIDUAL SITE             5/9/2020, unless      CCNRD_00361                BAY AREA CELLULAR TELEPHONE       651 GATEWAY BOULEVARD
           LOCATION UNDER AMENDED AND              terminated earlier                               COMPANY                           SUITE 1500
           RESTATED MASTER LICENSE                                                                                                    SOUTH SAN FRANCISCO, CA 94080
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH BAY AREA
           CELLULAR TELEPHONE COMPANY,
           DATED MAY 10, 2000

2. 544     LICENSE FOR INDIVIDUAL SITE             5/9/2020, unless      CCNRD_00362                BAY AREA CELLULAR TELEPHONE       651 GATEWAY BOULEVARD
           LOCATION UNDER AMENDED AND              terminated earlier                               COMPANY                           SUITE 1500
           RESTATED MASTER LICENSE                                                                                                    SOUTH SAN FRANCISCO, CA 94080
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH BAY AREA
           CELLULAR TELEPHONE COMPANY,
           DATED MAY 10, 2000

2. 545     LICENSE FOR INDIVIDUAL SITE             5/9/2020, unless      CCNRD_00363                BAY AREA CELLULAR TELEPHONE       651 GATEWAY BOULEVARD
           LOCATION UNDER AMENDED AND              terminated earlier                               COMPANY                           SUITE 1500
           RESTATED MASTER LICENSE                                                                                                    SOUTH SAN FRANCISCO, CA 94080
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH BAY AREA
           CELLULAR TELEPHONE COMPANY,
           DATED MAY 10, 2000




                                                                          Page 71 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907             Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 72 of
                                                                                    649
Pacific Gas and Electric Company                                                                                                     Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 546     LICENSE FOR INDIVIDUAL SITE             5/9/2020, unless      CCNRD_00364                BAY AREA CELLULAR TELEPHONE       651 GATEWAY BOULEVARD
           LOCATION UNDER AMENDED AND              terminated earlier                               COMPANY                           SUITE 1500
           RESTATED MASTER LICENSE                                                                                                    SOUTH SAN FRANCISCO, CA 94080
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH BAY AREA
           CELLULAR TELEPHONE COMPANY,
           DATED MAY 10, 2000

2. 547     LICENSE FOR INDIVIDUAL SITE             5/9/2020, unless      CCNRD_00365                BAY AREA CELLULAR TELEPHONE       651 GATEWAY BOULEVARD
           LOCATION UNDER AMENDED AND              terminated earlier                               COMPANY                           SUITE 1500
           RESTATED MASTER LICENSE                                                                                                    SOUTH SAN FRANCISCO, CA 94080
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH BAY AREA
           CELLULAR TELEPHONE COMPANY,
           DATED MAY 10, 2000

2. 548     LICENSE FOR INDIVIDUAL SITE             5/9/2020, unless      CCNRD_00366                BAY AREA CELLULAR TELEPHONE       651 GATEWAY BOULEVARD
           LOCATION UNDER AMENDED AND              terminated earlier                               COMPANY                           SUITE 1500
           RESTATED MASTER LICENSE                                                                                                    SOUTH SAN FRANCISCO, CA 94080
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH BAY AREA
           CELLULAR TELEPHONE COMPANY,
           DATED MAY 10, 2000

2. 549     LICENSE FOR INDIVIDUAL SITE             5/9/2020, unless      CCNRD_00367                BAY AREA CELLULAR TELEPHONE       651 GATEWAY BOULEVARD
           LOCATION UNDER AMENDED AND              terminated earlier                               COMPANY                           SUITE 1500
           RESTATED MASTER LICENSE                                                                                                    SOUTH SAN FRANCISCO, CA 94080
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH BAY AREA
           CELLULAR TELEPHONE COMPANY,
           DATED MAY 10, 2000

2. 550     LICENSE FOR INDIVIDUAL SITE             5/9/2020, unless      CCNRD_00368                BAY AREA CELLULAR TELEPHONE       651 GATEWAY BOULEVARD
           LOCATION UNDER AMENDED AND              terminated earlier                               COMPANY                           SUITE 1500
           RESTATED MASTER LICENSE                                                                                                    SOUTH SAN FRANCISCO, CA 94080
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH BAY AREA
           CELLULAR TELEPHONE COMPANY,
           DATED MAY 10, 2000




                                                                          Page 72 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907             Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 73 of
                                                                                    649
Pacific Gas and Electric Company                                                                                                     Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 551     LICENSE FOR INDIVIDUAL SITE             5/9/2020, unless      CCNRD_00369                BAY AREA CELLULAR TELEPHONE       651 GATEWAY BOULEVARD
           LOCATION UNDER AMENDED AND              terminated earlier                               COMPANY                           SUITE 1500
           RESTATED MASTER LICENSE                                                                                                    SOUTH SAN FRANCISCO, CA 94080
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH BAY AREA
           CELLULAR TELEPHONE COMPANY,
           DATED MAY 10, 2000

2. 552     LICENSE FOR INDIVIDUAL SITE             5/9/2020, unless      CCNRD_00370                BAY AREA CELLULAR TELEPHONE       651 GATEWAY BOULEVARD
           LOCATION UNDER AMENDED AND              terminated earlier                               COMPANY                           SUITE 1500
           RESTATED MASTER LICENSE                                                                                                    SOUTH SAN FRANCISCO, CA 94080
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH BAY AREA
           CELLULAR TELEPHONE COMPANY,
           DATED MAY 10, 2000

2. 553     LICENSE FOR INDIVIDUAL SITE             5/9/2020, unless      CCNRD_00371                BAY AREA CELLULAR TELEPHONE       651 GATEWAY BOULEVARD
           LOCATION UNDER AMENDED AND              terminated earlier                               COMPANY                           SUITE 1500
           RESTATED MASTER LICENSE                                                                                                    SOUTH SAN FRANCISCO, CA 94080
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH BAY AREA
           CELLULAR TELEPHONE COMPANY,
           DATED MAY 10, 2000

2. 554     LICENSE FOR INDIVIDUAL SITE             5/9/2020, unless      CCNRD_00372                BAY AREA CELLULAR TELEPHONE       651 GATEWAY BOULEVARD
           LOCATION UNDER AMENDED AND              terminated earlier                               COMPANY                           SUITE 1500
           RESTATED MASTER LICENSE                                                                                                    SOUTH SAN FRANCISCO, CA 94080
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH BAY AREA
           CELLULAR TELEPHONE COMPANY,
           DATED MAY 10, 2000

2. 555     LICENSE FOR INDIVIDUAL SITE             5/9/2020, unless      CCNRD_00373                BAY AREA CELLULAR TELEPHONE       651 GATEWAY BOULEVARD
           LOCATION UNDER AMENDED AND              terminated earlier                               COMPANY                           SUITE 1500
           RESTATED MASTER LICENSE                                                                                                    SOUTH SAN FRANCISCO, CA 94080
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH BAY AREA
           CELLULAR TELEPHONE COMPANY,
           DATED MAY 10, 2000




                                                                          Page 73 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907             Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 74 of
                                                                                    649
Pacific Gas and Electric Company                                                                                                     Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 556     LICENSE FOR INDIVIDUAL SITE             5/9/2020, unless      CCNRD_00374                BAY AREA CELLULAR TELEPHONE       651 GATEWAY BOULEVARD
           LOCATION UNDER AMENDED AND              terminated earlier                               COMPANY                           SUITE 1500
           RESTATED MASTER LICENSE                                                                                                    SOUTH SAN FRANCISCO, CA 94080
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH BAY AREA
           CELLULAR TELEPHONE COMPANY,
           DATED MAY 10, 2000

2. 557     LICENSE FOR INDIVIDUAL SITE             5/9/2020, unless      CCNRD_00375                BAY AREA CELLULAR TELEPHONE       651 GATEWAY BOULEVARD
           LOCATION UNDER AMENDED AND              terminated earlier                               COMPANY                           SUITE 1500
           RESTATED MASTER LICENSE                                                                                                    SOUTH SAN FRANCISCO, CA 94080
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH BAY AREA
           CELLULAR TELEPHONE COMPANY,
           DATED MAY 10, 2000

2. 558     LICENSE FOR INDIVIDUAL SITE             5/9/2020, unless      CCNRD_00376                BAY AREA CELLULAR TELEPHONE       651 GATEWAY BOULEVARD
           LOCATION UNDER AMENDED AND              terminated earlier                               COMPANY                           SUITE 1500
           RESTATED MASTER LICENSE                                                                                                    SOUTH SAN FRANCISCO, CA 94080
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH BAY AREA
           CELLULAR TELEPHONE COMPANY,
           DATED MAY 10, 2000

2. 559     LICENSE FOR INDIVIDUAL SITE             5/9/2020, unless      CCNRD_00377                BAY AREA CELLULAR TELEPHONE       651 GATEWAY BOULEVARD
           LOCATION UNDER AMENDED AND              terminated earlier                               COMPANY                           SUITE 1500
           RESTATED MASTER LICENSE                                                                                                    SOUTH SAN FRANCISCO, CA 94080
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH BAY AREA
           CELLULAR TELEPHONE COMPANY,
           DATED MAY 10, 2000

2. 560     LICENSE FOR INDIVIDUAL SITE             5/9/2020, unless      CCNRD_00378                BAY AREA CELLULAR TELEPHONE       651 GATEWAY BOULEVARD
           LOCATION UNDER AMENDED AND              terminated earlier                               COMPANY                           SUITE 1500
           RESTATED MASTER LICENSE                                                                                                    SOUTH SAN FRANCISCO, CA 94080
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH BAY AREA
           CELLULAR TELEPHONE COMPANY,
           DATED MAY 10, 2000




                                                                          Page 74 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907             Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 75 of
                                                                                    649
Pacific Gas and Electric Company                                                                                                     Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 561     LICENSE FOR INDIVIDUAL SITE             5/9/2020, unless      CCNRD_00379                BAY AREA CELLULAR TELEPHONE       651 GATEWAY BOULEVARD
           LOCATION UNDER AMENDED AND              terminated earlier                               COMPANY                           SUITE 1500
           RESTATED MASTER LICENSE                                                                                                    SOUTH SAN FRANCISCO, CA 94080
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH BAY AREA
           CELLULAR TELEPHONE COMPANY,
           DATED MAY 10, 2000

2. 562     LICENSE FOR INDIVIDUAL SITE             5/9/2020, unless      CCNRD_00380                BAY AREA CELLULAR TELEPHONE       651 GATEWAY BOULEVARD
           LOCATION UNDER AMENDED AND              terminated earlier                               COMPANY                           SUITE 1500
           RESTATED MASTER LICENSE                                                                                                    SOUTH SAN FRANCISCO, CA 94080
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH BAY AREA
           CELLULAR TELEPHONE COMPANY,
           DATED MAY 10, 2000

2. 563     LICENSE FOR INDIVIDUAL SITE             5/9/2020, unless      CCNRD_00381                BAY AREA CELLULAR TELEPHONE       651 GATEWAY BOULEVARD
           LOCATION UNDER AMENDED AND              terminated earlier                               COMPANY                           SUITE 1500
           RESTATED MASTER LICENSE                                                                                                    SOUTH SAN FRANCISCO, CA 94080
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH BAY AREA
           CELLULAR TELEPHONE COMPANY,
           DATED MAY 10, 2000

2. 564     LICENSE FOR INDIVIDUAL SITE             5/9/2020, unless      CCNRD_00382                BAY AREA CELLULAR TELEPHONE       651 GATEWAY BOULEVARD
           LOCATION UNDER AMENDED AND              terminated earlier                               COMPANY                           SUITE 1500
           RESTATED MASTER LICENSE                                                                                                    SOUTH SAN FRANCISCO, CA 94080
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH BAY AREA
           CELLULAR TELEPHONE COMPANY,
           DATED MAY 10, 2000

2. 565     LICENSE FOR INDIVIDUAL SITE             5/9/2020, unless      CCNRD_00383                BAY AREA CELLULAR TELEPHONE       651 GATEWAY BOULEVARD
           LOCATION UNDER AMENDED AND              terminated earlier                               COMPANY                           SUITE 1500
           RESTATED MASTER LICENSE                                                                                                    SOUTH SAN FRANCISCO, CA 94080
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH BAY AREA
           CELLULAR TELEPHONE COMPANY,
           DATED MAY 10, 2000




                                                                          Page 75 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907             Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 76 of
                                                                                    649
Pacific Gas and Electric Company                                                                                                      Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                   Address
                                                    or Remaining
                                                        Term


2. 566     MASTER AGREEMENT FOR ISSUANCE              5/9/2020        CCNRD_00009                BAY AREA CELLULAR TELEPHONE           651 GATEWAY BOULEVARD
           OF LICENSES TO                                                                        COMPANY                               SUITE 1500
           TELECOMMUNICATIONS CUSTOMER                                                                                                 SOUTH SAN FRANCISCO, CA 94080
           FOR ATTACHMENT OF ANTENNAS AND
           RELATED EQUIPMENT

2. 567     GENERAL OFF-BILL AND ON-                  4/23/2021        CCOTH_02524                BAY AREA CIRCUITS INC. - 44358 OLD    10011 PIONEER BLVD.
           BILLFINANCING LOAN AGREEMENT                                                          WARM SPRINGS                          SANTA FE SPRINGS, CA 90670

2. 568     GENERAL OFF-BILL AND ON-                  5/30/2019        CCOTH_02485                BAY AREA DIABLO PETROLEUM - 1107      27363 VIA INDUSTRIA
           BILLFINANCING LOAN AGREEMENT                                                          5TH ST                                TEMECULA, CA 92590

2. 569     GENERAL OFF-BILL AND ON-                  1/25/2021        CCOTH_02486                BAY AREA DIABLO PETROLEUM - 1579      27363 VIA INDUSTRIA
           BILLFINANCING LOAN AGREEMENT                                                          S MAIN ST                             TEMECULA, CA 92590

2. 570     GENERAL OFF-BILL AND ON-                  12/13/2019       CCOTH_02174                BAY AREA DIABLO PETROLEUM - 5329      27363 VIA INDUSTRIA
           BILLFINANCING LOAN AGREEMENT                                                          SAN PABLO DAM RD                      TEMECULA, CA 92590

2. 571     GENERAL OFF-BILL AND ON-                  7/15/2020        CCOTH_02483                BAY AREA DIABLO PETROLEUM - 995       27363 VIA INDUSTRIA
           BILLFINANCING LOAN AGREEMENT                                                          LOS OSOS VALLEY RD                    TEMECULA, CA 92590

2. 572     GENERAL OFF-BILL AND ON-                   3/6/2019        CCOTH_01933                BAY AREA HOLPENER PETROLEUM -         27363 VIA INDUSTRIA
           BILLFINANCING LOAN AGREEMENT                                                          1565 INDUSTRIAL PKWY                  TEMECULA, CA 92590

2. 573     GENERAL OFF-BILL AND ON-                  2/15/2023        CCOTH_02550                BAY BADMINTON CENTER, INC. - 1191     3479 NW YEON AVE
           BILLFINANCING LOAN AGREEMENT                                                          MONTAGUE EXPY                         PORTLAND, OR 97210

2. 574     GENERAL OFF-BILL AND ON-                  3/16/2020        CCOTH_02527                BAY CITY SCALE INC - 25352 CYPRESS    1011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          AVE                                   SANTA FE SPRINGS, CA 90670

2. 575     GENERAL OFF-BILL AND ON-                  6/15/2022        CCOTH_02292                BAY CO INC - 30900 HUNTWOOD AVE       1725 RUTAN DRIVE
           BILLFINANCING LOAN AGREEMENT                                                                                                LIVERMORE, CA 94551

2. 576     GENERAL OFF-BILL AND ON-                  10/5/2022        CCOTH_01264                BAY VALVE SERVICE CO - 3948 TEAL DR 27363 VIA INDUSTRIA
           BILLFINANCING LOAN AGREEMENT                                                                                              TEMECULA, CA 92590

2. 577     GENERAL OFF-BILL AND ON-                  10/17/2021       CCOTH_02725                BAZ BROTHERS INC - 2702 S MAPLE       4688 W. JENNIFER AVE. STE 107
           BILLFINANCING LOAN AGREEMENT                                                          AVE                                   FRESNO, CA 93722



                                                                       Page 76 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                 Page 77 of
                                                                                 649
Pacific Gas and Electric Company                                                                                                      Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                   Address
                                                    or Remaining
                                                        Term


2. 578     GENERAL OFF-BILL AND ON-                  10/8/2021        CCOTH_01169                BCSP CROSSROADS PROPERTY LLC -        14355 INDUSTRY CIRCLE
           BILLFINANCING LOAN AGREEMENT                                                          1825 S GRANT ST                       LA MIRADA, CA 90638

2. 579     GENERAL OFF-BILL AND ON-                  8/16/2021        CCOTH_02023                BEBE STORES, INC.                     22 MOSS AVE., SUITE 102
           BILLFINANCING LOAN AGREEMENT                                                                                                OAKLAND, CA 94610

2. 580     WATER AGREEMENT                           Not Stated       CCCRSOT_000                BED ROCK                              BED ROCK PRODUCTS INC
                                                                          19                                                           POINT ARENA, CA

2. 581     GENERAL OFF-BILL AND ON-                  1/19/2020        CCOTH_01375                BEETS CATERING INC                    316 STEALTH CT
           BILLFINANCING LOAN AGREEMENT                                                                                                LIVERMORE, CA

2. 582     GENERAL OFF-BILL AND ON-                  6/20/2023        CCOTH_02727                BEETS CATERING INC - 1184 VINEYARD    2531 9TH STREET
           BILLFINANCING LOAN AGREEMENT                                                          AVE                                   BERKELEY, CA 94710

2. 583     GENERAL OFF-BILL AND ON-                   7/7/2022        CCOTH_01815                BEETS CATERING INC - 410 VINEYARD     316 STEALTH CT
           BILLFINANCING LOAN AGREEMENT                                                          AVE                                   LIVERMORE, CA 94551

2. 584     GENERAL OFF-BILL AND ON-                  1/27/2021        CCOTH_03228                BEETS CATERING INC - 410 VINEYARD     14439 CATALINA STREET
           BILLFINANCING LOAN AGREEMENT                                                          AVE                                   SAN LEANDRO, CA 94577

2. 585     GENERAL OFF-BILL AND ON-                   7/9/2020        CCOTH_02971                BEL AIR - 1286 STABLER LN             500 W CAPITAL AVE
           BILLFINANCING LOAN AGREEMENT                                                                                                WEST SACRAMENTO, CA 95605

2. 586     GENERAL OFF-BILL AND ON-                   6/9/2020        CCOTH_02468                BEL AIR - 2222 GRASS VALLEY HWY       500 W CAPITAL AVE
           BILLFINANCING LOAN AGREEMENT                                                                                                WEST SACRAMENTO, CA 95605

2. 587     GENERAL OFF-BILL AND ON-                   8/9/2020        CCOTH_02476                BEL AIR - 3510 PALMER DR              500 W CAPITAL AVE
           BILLFINANCING LOAN AGREEMENT                                                                                                WEST SACRAMENTO, CA 95605

2. 588     GENERAL OFF-BILL AND ON-                  8/14/2023        CCOTH_01625                BEL MARIN KEYS CSD                    4 MONTEGO KEY
           BILLFINANCING LOAN AGREEMENT                                                                                                NOVATO, CA

2. 589     WATER AGREEMENT                           Not Stated       CCCRSOT_000                BELLA VISTA WATER                     BELLA VISTA WATER DISTRICT
                                                                          20                                                           11368 E. STILLWATER WAY
                                                                                                                                       REDDING, CA

2. 590     GENERAL OFF-BILL AND ON-                   6/8/2019        CCOTH_01760                BELMONT CAR WASH INC                  4688 W JENNIFER AVE #107
           BILLFINANCING LOAN AGREEMENT                                                                                                FRESNO, CA 93722

                                                                       Page 77 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35               Page 78 of
                                                                                 649
Pacific Gas and Electric Company                                                                                                  Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                 Address
                                                    or Remaining
                                                        Term


2. 591     GENERAL OFF-BILL AND ON-                  11/15/2020       CCOTH_02891                BENCHMARK THERMAL HCM - LLC -      17766 PENN VALLEY DR.
           BILLFINANCING LOAN AGREEMENT                                                          13185 NEVADA CITY AV               PENN VALLEY, CA 95946

2. 592     SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated       CCOTH_03420                BENEDICTINE FATHERS OF THE         302 PORTOLA ROAD
           BY DESIGN WHOLE BUILDING                                                              PRIORY INC. DBA WOODSID            PORTOLA VALLEY, CA 94028

2. 593     GENERAL OFF-BILL AND ON-                  2/21/2022        CCOTH_01447                BENTON PARK SHOPPING CENTER        9530 HAGEMAN RD., B#196
           BILLFINANCING LOAN AGREEMENT                                                          ASSOCIATION - 2705 S H             BAKERSFIELD, CA 93312

2. 594     GENERAL OFF-BILL AND ON-                  2/12/2024        CCOTH_02543                BERKELEY REPERTORY THEATER -       637 LINDARO ST SUITE 201
           BILLFINANCING LOAN AGREEMENT                                                          PRODUCTION FACILITY                SAN RAFAEL, CA 94901

2. 595     GENERAL OFF-BILL AND ON-                  3/30/2022        CCOTH_03022                BERKELEY TENNIS CLUB - 1 TUNNEL RD 10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                                                             SANTA FE SPRINGS, CA 90670

2. 596     SPANISH LANGUAGE ASSESSMENTS &            Evergreen        CCOTH_03820                BERLITZ CORPORATION                159 HOMER AVENUE
           TESTING SERVICES                                                                                                         PALO ALTO, CA 94301

2. 597     GENERAL OFF-BILL AND ON-                   6/4/2019        CCOTH_01719                BERRY JOE CORP                     PO BOX 7127
           BILLFINANCING LOAN AGREEMENT                                                                                             CLEARLAKE, CA 95422

2. 598     ELECTRIC VEHICLE CHARGE NETWORK           Not Stated       CCOTH_01060                BERT BALBA                         1490 GASOLINE ALLEY
                                                                                                                                    CONCORD 94520

2. 599     GARBAGE AGREEMENT                         Not Stated       CCCRSOT_000                BERTOLOTTI DISPOSAL                BERTOLOTTI DISPOSAL
                                                                          21                                                        CERES, CA

2. 600     GARBAGE AGREEMENT                         Not Stated       CCCRSOT_000                BERTOLOTTI NEWMAN DISPOSAL         BERTOLOTTI NEWMAN DISP
                                                                          22                                                        CERES, CA

2. 601     GENERAL OFF-BILL AND ON-                  9/13/2021        CCOTH_02903                BESIO,FRED - 790 S CLOVERDALE BLVD 10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                                                             SANTA FE SPRINGS, CA 90670

2. 602     ELECTRIC VEHICLE CHARGE NETWORK           Not Stated       CCOTH_00997                BETH HEATH                         1 MARINA LAKES DR
                                                                                                                                    RICHMOND 94804

2. 603     ENERGY UPGRADE CALIFORNIA                 Not Stated       CCOTH_00520                BETH SARKER                        6827 SNOWON AVE
           ADVANCED HOME UPGRADE                                                                                                    EL CERRITO, CA 94530
           (CUSTOM/CALCULATED)

                                                                       Page 78 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35               Page 79 of
                                                                                 649
Pacific Gas and Electric Company                                                                                                     Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 604     GENERAL OFF-BILL AND ON-                  8/15/2019        CCOTH_02047                BETHEL CHURCH                        1201 S. WINCHESTER BLVD
           BILLFINANCING LOAN AGREEMENT                                                                                               SAN JOSE, CA 95128

2. 605     GENERAL OFF-BILL AND ON-                  4/24/2021        CCOTH_01471                BETHLEHEM LUTHERAN CHURCH - 1279 12122 DRY CREEK ROAD SUITE 103
           BILLFINANCING LOAN AGREEMENT                                                          HIGH ST                          AUBURN, CA 95602

2. 606     INDUSTRIAL CALCULATED INCENTIVES -        Not Stated       CCOTH_03267                BETTS COMPANY                        2843 S MAPLE AVE
           CUSTOMIZED INCENTIVE PROGRAM                                                                                               FRESNO, CA 93725

2. 607     ENERGY UPGRADE CALIFORNIA                 Not Stated       CCOTH_00626                BEVERLY BRUNKA                       892 TRYSAIL CT
           ADVANCED HOME UPGRADE                                                                                                      VACAVILLE, CA 95687
           (CUSTOM/CALCULATED)

2. 608     GENERAL OFF-BILL AND ON-                  11/7/2019        CCOTH_02365                BGK INC - 1845 STORY RD              1111 W EL CAMINO REAL
           BILLFINANCING LOAN AGREEMENT                                                                                               SUITE 135
                                                                                                                                      SUNNYVALE, CA 94087

2. 609     GENERAL OFF-BILL AND ON-                  2/26/2020        CCOTH_02860                BHARAT BAZAR INC - 1165 REED AVE     PO BOX 2061
           BILLFINANCING LOAN AGREEMENT                                                                                               SAN JOSE, CA 95109

2. 610     GENERAL OFF-BILL AND ON-                  10/25/2018       CCOTH_01444                BIAGI BROS INC - 770 AIRPARK RD -    215 GATEWAY RD WEST
           BILLFINANCING LOAN AGREEMENT                                                          NAPA                                 NAPA, CA 94558

2. 611     REAL PROPERTY LEASE - CAPITOLA            10/31/2023       CCCRSLS_000                BIAGINI PROPERTIES INC               BIAGINI PROPERTIES INC
           CSO                                                            10                                                          333 W EL CAMINO REAL #240
                                                                                                                                      SUNNYVALE, CA 94087

2. 612     AGRICULTURAL CALCULATED                   Not Stated       CCOTH_00020                BIDART DAIRY II, LLC                 PO BOX 11810
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                          BAKERSFIELD, CA 93389
           PROGRAM

2. 613     SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated       CCOTH_03331                BIG DOG HOLDINGS, LLC                650 TOWNSEND STREET, SUITE
           BY DESIGN SYSTEMS                                                                                                          380
                                                                                                                                      SAN FRANCISCO, CA 94103

2. 614     GENERAL OFF-BILL AND ON-                  11/12/2018       CCOTH_01404                BIG OIL AND TIRE #195                425 2ND ST., STE 100
           BILLFINANCING LOAN AGREEMENT                                                                                               SAN FRANCISCO, SC 94607




                                                                       Page 79 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                 Page 80 of
                                                                                 649
Pacific Gas and Electric Company                                                                                                    Case Number:       19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 615     REAL PROPERTY LEASE - SACRAMENTO          6/30/2020        CCCRSLS_000                BIG PROPERTIES OF CALIFORNIA        BIG PROPERTIES OF CALIFORNIA
           GAS OPERATIONS WAREHOUSE                                       64                                                         3940-7 BROAD ST BOX 322
                                                                                                                                     SAN LUIS OBISPO, CA 93401

2. 616     GENERAL OFF-BILL AND ON-                  12/22/2018       CCOTH_01918                BIG VALLEY BAND OF POMO INDIANS     27363 VIA INDUSTRIA
           BILLFINANCING LOAN AGREEMENT                                                                                              TEMECULA, CA 92590

2. 617     GENERAL OFF-BILL AND ON-                  11/11/2020       CCOTH_03143                BIG VALLEY RANCHERIA - 2755         2755 MISSION RANCHERIA RD
           BILLFINANCING LOAN AGREEMENT                                                          MISSION RANCHERIA RD                LAKEPORT, CA 95453

2. 618     GENERAL OFF-BILL AND ON-                  6/19/2021        CCOTH_01368                BIG VALLEY RANCHERIA KONOCTI        27363 VIA INDUSTRIA
           BILLFINANCING LOAN AGREEMENT                                                          VISTA CASINO                        TEMECULA, CA 92590

2. 619     GENERAL OFF-BILL AND ON-                  11/26/2020       CCOTH_02372                BIGGE CRANE & RIGGING - 10700       3479 NW YEON AVE
           BILLFINANCING LOAN AGREEMENT                                                          BIGGE ST                            PORTLAND, OR 97210

2. 620     INSPECTING PHOTOVOLTAIC (PV)              11/29/2018       CCOTH_03764                BILL BROOKS                         3949 JOSLIN LANE
           SYSTEMS FOR CODE COMPLIANCE                                                                                               VACAVILLE, CA 95688

2. 621     ELECTRIC VEHICLE CHARGE NETWORK           Not Stated       CCOTH_00796                BILL CURRAN                         47488 KATO ROAD
                                                                                                                                     FREMONT 94538

2. 622     CONSULTING AND ENERGY                     6/28/2019        CCNRD_02899                BILL DIEDRICH                       1436 SAPIAN AVE
           MANAGEMENT SERVICES                                                                                                       FIREBAUGH, CA 93622

2. 623     SMARTAC                                   Not Stated       CCOTH_03600                BININASHVILI,TAMAR                  408 E EVERGLADE AVE
                                                                                                                                     FRESNO, CA 93720

2. 624     SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated       CCOTH_03435                BIOMED REALITY, LP                  17190 BERNARDO CENTRE DRIVE
           BY DESIGN WHOLE BUILDING                                                                                                  SAN DIEGO, CA 92128

2. 625     GENERAL OFF-BILL AND ON-                  10/23/2019       CCOTH_02207                BKD HOLDINGS, INC                   27363 VIA INDUSTRIA
           BILLFINANCING LOAN AGREEMENT                                                                                              TEMECULA, CA 92590

2. 626     GENERAL OFF-BILL AND ON-                   8/3/2019        CCOTH_03217                BLACK GOLD PARTNERS 2 INC - 301     1111 W EL CAMINO REAL
           BILLFINANCING LOAN AGREEMENT                                                          GATEWAY DR                          SUITE 135
                                                                                                                                     SUNNYVALE, CA 94087




                                                                       Page 80 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                  Page 81 of
                                                                                 649
Pacific Gas and Electric Company                                                                                                     Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                   Address
                                                    or Remaining
                                                        Term


2. 627     GENERAL OFF-BILL AND ON-                  3/23/2021        CCOTH_03199                BLACK MOUNTAIN HOLDINGS LLC -        1265 S CABERNET CIR
           BILLFINANCING LOAN AGREEMENT                                                          3583 INVESTMENT BLVD                 ANAHEIM, CA 92804

2. 628     GENERAL OFF-BILL AND ON-                  2/11/2021        CCOTH_02746                BLACK MOUNTAIN HOLDINGS LLC -        1265 S CABERNET CIR
           BILLFINANCING LOAN AGREEMENT                                                          4511 WILLOW RD                       ANAHEIM, CA 92804

2. 629     GENERAL OFF-BILL AND ON-                  8/11/2021        CCOTH_02741                BLACK MOUNTAIN HOLDINGS LLC -        1265 S CABERNET CIR
           BILLFINANCING LOAN AGREEMENT                                                          5976 W LAS POSITAS B                 ANAHEIM, CA 92804

2. 630     GENERAL OFF-BILL AND ON-                  9/11/2021        CCOTH_02743                BLACK MOUNTAIN HOLDINGS LLC -        1265 S. CABERNET CIRCLE
           BILLFINANCING LOAN AGREEMENT                                                          5994 W LAS POSITAS B                 ANAHEIM, CA 92801

2. 631     GENERAL OFF-BILL AND ON-                  11/9/2018        CCOTH_01515                BLACKHAWK COUNTRY CLUB               1725 RUTAN DRIVE
           BILLFINANCING LOAN AGREEMENT                                                                                               LIVERMORE, CA 94551

2. 632     GENERAL OFF-BILL AND ON-                  12/19/2022       CCOTH_02937                BLACKHAWK COUNTRY CLUB - 1098        10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          EAGLE NEST PL                        SANTA FE SPRINGS, CA 90670

2. 633     GENERAL OFF-BILL AND ON-                  8/21/2021        CCOTH_02776                BLACKHAWK COUNTRY CLUB - 9           10011 S PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          TENNIS CLUB DR                       SANTA FE SPRINGS, CA 90670

2. 634     ELECTRIC VEHICLE CHARGE NETWORK           Not Stated       CCOTH_00647                BLAKE PAGE                           906 BEACH PARK BLVD
                                                                                                                                      FOSTER CITY 94404

2. 635     GENERAL OFF-BILL AND ON-                  2/28/2022        CCOTH_01203                BLL ENTERIPRISES INC - 15475 LOS     2491 ALLUVIAL AVENUE #480
           BILLFINANCING LOAN AGREEMENT                                                          GATOS BLVD                           CLOVIS, CA 93611

2. 636     GENERAL OFF-BILL AND ON-                  1/28/2020        CCOTH_03018                BLUE RIVER SEAFOOD INC - 25447       10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          INDUSTRIAL BLVD                      SANTA FE SPRINGS, CA 90670

2. 637     COMMERCIAL CALCULATED                     Not Stated       CCOTH_00116                BLUE SHIED OF CALIFORNIA             4203 TOWN CENTER
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                          EL DORADO HILS, CA 95762
           PROGRAM

2. 638     SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated       CCOTH_03463                BMA MECHANICAL PLUS                  100 CROSS ST., SUITE 204
           BY DESIGN WHOLE BUILDING                                                                                                   SAN LUIS OBISPO, CA 93401

2. 639     SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated       CCOTH_03464                BMA MECHANICAL PLUS                  100 CROSS STREET, SUITE #240
           BY DESIGN WHOLE BUILDING                                                                                                   SAN LUIS OBISPO, CA 93401

                                                                       Page 81 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 82 of
                                                                                 649
Pacific Gas and Electric Company                                                                                                    Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 640     SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated       CCOTH_03465                BMA MECHANICAL PLUS                 100 CROSS ST., SUITE #204
           BY DESIGN WHOLE BUILDING                                                                                                  SAN LUIS OBISPO, CA 93401

2. 641     SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated       CCOTH_03466                BMA MECHANICAL PLUS                 100 CROSS STREET, SUITE 204
           BY DESIGN WHOLE BUILDING                                                                                                  SAN LUIS OBISPO, CA 93401

2. 642     GENERAL OFF-BILL AND ON-                  1/29/2022        CCOTH_02881                BMC SELECT - 1330 N MAPLE AVE       6120 LINCOLN BLVD, SUITE G
           BILLFINANCING LOAN AGREEMENT                                                                                              OROVILLE, CA 95966

2. 643     GENERAL OFF-BILL AND ON-                  6/22/2020        CCOTH_02624                BMC WEST CORPORATION - 1351 E       6120 LINCOLN BLVD. SUITE G
           BILLFINANCING LOAN AGREEMENT                                                          BEAMER ST                           OROVILLE, CA 95966

2. 644     GENERAL OFF-BILL AND ON-                  5/28/2021        CCOTH_03081                BMC WEST LLC - 1330 N MAPLE AVE     6120 LINCOLN BLVD. STE G
           BILLFINANCING LOAN AGREEMENT                                                                                              OROVILLE, CA 95966

2. 645     GENERAL OFF-BILL AND ON-                   7/4/2022        CCOTH_02695                BOGARD CONSTRUCTION INC - 350       804 ESTATES DR STE 202
           BILLFINANCING LOAN AGREEMENT                                                          CORAL ST # A                        APTOS, CA 95003

2. 646     GENERAL OFF-BILL AND ON-                  9/24/2021        CCOTH_02379                BOISE CASCADE BUILDING MATERIALS    12820 EARHART AVE
           BILLFINANCING LOAN AGREEMENT                                                          DISTRIBUTION LLC                    AUBURN, CA 95602

2. 647     ELECTRIC VEHICLE CHARGE NETWORK           Not Stated       CCOTH_00675                BONNIE BROSE                        790 N DELAWARE ST
                                                                                                                                     SAN MATEO 94401

2. 648     GENERAL OFF-BILL AND ON-                  12/6/2021        CCOTH_01192                BORBA INC - 585 TULLY RD            2491 ALLUVIAL AVENUE #480
           BILLFINANCING LOAN AGREEMENT                                                                                              CLOVIS, CA 93611

2. 649     GENERAL OFF-BILL AND ON-                  1/17/2024        CCOTH_02549                BORDON,JOE - 1897 LA MADRONA DR     10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                                                              SANTA FE SPRINGS, CA 90670

2. 650     GENERAL OFF-BILL AND ON-                  4/19/2022        CCOTH_02884                BORELLI INVESTMENT CO - 2051        10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          JUNCTION AVE                        SANTA FE SPRINGS, CA 90670

2. 651     GENERAL OFF-BILL AND ON-                  9/28/2019        CCOTH_01723                BORONDA SQUARE LP - 1557 N          877 CEDAR STREET, SUITE 240
           BILLFINANCING LOAN AGREEMENT                                                          SANBORN RD                          SANTA CRUZ, CA 95060

2. 652     SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated       CCOTH_03445                BOSTON PROPERTIES                   4 EMBARCADERO CENTER, LOBBY
           BY DESIGN WHOLE BUILDING                                                                                                  LEVEL, SUITE
                                                                                                                                     SAN FRANCISCO, CA 94111

                                                                       Page 82 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                  Page 83 of
                                                                                 649
Pacific Gas and Electric Company                                                                                                      Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                   Address
                                                    or Remaining
                                                        Term


2. 653     MASTER AGREEMENT PROVIDING THAT           Not Stated       CCNRD_02835                BOSTONIA PARTNERS                     BOSTONIA PARTNERS
           PG&E MAY ENTER INTO LOAN                                                                                                    699 BOYLSTON ST, 8TH FL
           AGREEMENTS WITH BOSTONIA FOR                                                                                                ONE EXETER PLAZA
           UESC ENERGY EFFICIENCY PROJECTS                                                                                             BOSTON, MA 2116

2. 654     UESC "VA 3 M'S" (VA MARTINEZ, VA           2/1/2030        CCNRD_02837                BOSTONIA PARTNERS                     BOSTONIA PARTNERS
           MATHER, VA MCCLELLAN) PROJECT                                                                                               699 BOYLSTON ST, 8TH FL
           LOAN AGREEMENT                                                                                                              ONE EXETER PLAZA
                                                                                                                                       BOSTON, MA 2116

2. 655     UESC VA FRESNO PROJECT LOAN                8/1/2020        CCNRD_02836                BOSTONIA PARTNERS                     BOSTONIA PARTNERS
           AGREEMENT                                                                                                                   699 BOYLSTON ST, 8TH FL
                                                                                                                                       ONE EXETER PLAZA
                                                                                                                                       BOSTON, MA 2116

2. 656     GENERAL OFF-BILL AND ON-                  9/16/2019        CCOTH_01781                BOTTRELL,LUCY                         589 E MAIN ST
           BILLFINANCING LOAN AGREEMENT                                                                                                GRASS VALLEY, CA 95945

2. 657     GENERAL OFF-BILL AND ON-                  8/13/2019        CCOTH_02626                BOULDER CREEK PARKS &                 804 ESTATES DR STE 202
           BILLFINANCING LOAN AGREEMENT                                                          RECREATION DEPT                       APTOS, CA 95003

2. 658     GENERAL OFF-BILL AND ON-                  5/12/2019        CCOTH_01885                BOUN CHI LY                           328 GREENWOOD PLACE
           BILLFINANCING LOAN AGREEMENT                                                                                                ADRIANA ALDANA
                                                                                                                                       BONITA, CA 91902

2. 659     GENERAL OFF-BILL AND ON-                  12/16/2021       CCOTH_01744                BOZZOS UNION 76                       27611 LA PAZ RD, STE A2
           BILLFINANCING LOAN AGREEMENT                                                                                                LAGUNA NIGUEL, CA 92677

2. 660     GENERAL OFF-BILL AND ON-                   4/7/2020        CCOTH_03180                BOZZUTO AND ASSOCIATES                3479 NW YEON AVE
           BILLFINANCING LOAN AGREEMENT                                                          INSURANCE SERVICES INC - 3            PORTLAND, OR 97210

2. 661     GENERAL OFF-BILL AND ON-                  10/11/2022       CCOTH_01363                BP2 RETAIL, INC - 8049 HIGHWAY 99E    8049 HIGHWAY 99E
           BILLFINANCING LOAN AGREEMENT                                                                                                LOS MOLINOS, CA 96055

2. 662     GENERAL OFF-BILL AND ON-                   6/4/2022        CCOTH_02409                BPO ELKS OF SOUTH S F LODGE 7         295 OLD COUNTY ROAD UNIT 7A
           BILLFINANCING LOAN AGREEMENT                                                          #2091 - 920 STONEGAT                  SAN CARLOS, CA 94070

2. 663     AGRICULTURAL CALCULATED                   Not Stated       CCOTH_00050                BRAD AND GRANT PALMER                 115 LIMEKILN ST
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                           SANTA CRUZ, CA 95060
           PROGRAM

                                                                       Page 83 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                 Page 84 of
                                                                                 649
Pacific Gas and Electric Company                                                                                     Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                   Address
                                                    or Remaining
                                                        Term


2. 664     ENERGY UPGRADE CALIFORNIA                 Not Stated       CCOTH_00548                BRAD SCHELL          8040 W HIDDEN LAKES DR
           ADVANCED HOME UPGRADE                                                                                      GRANITE BAY, CA 95746
           (CUSTOM/CALCULATED)

2. 665     ELECTRIC VEHICLE CHARGE NETWORK           Not Stated       CCOTH_00688                BRAD VANCE           7475 CAMINO ARROYO
                                                                                                                      GILROY 95020

2. 666     ELECTRIC VEHICLE CHARGE NETWORK           Not Stated       CCOTH_00703                BRAD VANCE           701 S ABEL STREET
                                                                                                                      MILPITAS 95035

2. 667     ELECTRIC VEHICLE CHARGE NETWORK           Not Stated       CCOTH_00719                BRAD VANCE           660 S FAIR OAKS AVENUE
                                                                                                                      SUNNYVALE 94086

2. 668     ELECTRIC VEHICLE CHARGE NETWORK           Not Stated       CCOTH_00750                BRAD VANCE           5710 FONTANOSO WAY
                                                                                                                      SAN JOSE 95138

2. 669     ELECTRIC VEHICLE CHARGE NETWORK           Not Stated       CCOTH_00784                BRAD VANCE           500 TULLY ROAD
                                                                                                                      SAN JOSE 95111

2. 670     ELECTRIC VEHICLE CHARGE NETWORK           Not Stated       CCOTH_00921                BRAD VANCE           2700 CAROL DRIVE
                                                                                                                      SAN JOSE 95125

2. 671     ELECTRIC VEHICLE CHARGE NETWORK           Not Stated       CCOTH_00966                BRAD VANCE           2310 NORTH FIRST STREET
                                                                                                                      SAN JOSE 95131

2. 672     ELECTRIC VEHICLE CHARGE NETWORK           Not Stated       CCOTH_01003                BRAD VANCE           1993 MCKEE ROAD
                                                                                                                      SAN JOSE 95133

2. 673     ELECTRIC VEHICLE CHARGE NETWORK           Not Stated       CCOTH_01041                BRAD VANCE           1580 BERGER DRIVE
                                                                                                                      SAN JOSE 95112

2. 674     ELECTRIC VEHICLE CHARGE NETWORK           Not Stated       CCOTH_01051                BRAD VANCE           150 WEST TASMAN DRIVE
                                                                                                                      SAN JOSE 95134

2. 675     ELECTRIC VEHICLE CHARGE NETWORK           Not Stated       CCOTH_01064                BRAD VANCE           143 N MAIN STREET
                                                                                                                      MILPITAS 95035

2. 676     ELECTRIC VEHICLE CHARGE NETWORK           Not Stated       CCOTH_01080                BRAD VANCE           13555 DIESSNER AVENUE
                                                                                                                      SAN MARTIN 95046

                                                                       Page 84 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35   Page 85 of
                                                                                 649
Pacific Gas and Electric Company                                                                                                     Case Number:       19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 677     ELECTRIC VEHICLE CHARGE NETWORK           Not Stated       CCOTH_01087                BRAD VANCE                           130 WEST TASMAN DRIVE
                                                                                                                                      SAN JOSE 95134

2. 678     GENERAL OFF-BILL AND ON-                  7/10/2019        CCOTH_02257                BRAGG INVESTMENT CO INC - 4252       9530 HAGEMAN RD., B #196
           BILLFINANCING LOAN AGREEMENT                                                          SACO RD                              BAKERSFIELD, CA 93312

2. 679     SELF-GENERATION INCENTIVE                 Not Stated       CCOTH_03540                BRANDEN SMITH                        1462 W SAN JOSE AVE
           PROGRAM                                                                                                                     FRESNO, CA 93711

2. 680     GENERAL OFF-BILL AND ON-                  1/11/2019        CCOTH_01539                BRAR & CHAHAL DBA JOHNNY QUICK       PO BOX 406
           BILLFINANCING LOAN AGREEMENT                                                          BELMONT                              ALAMO, CA 94507

2. 681     GENERAL OFF-BILL AND ON-                  7/30/2019        CCOTH_01369                BRAR & CHAHAL INC                    PO BOX 406
           BILLFINANCING LOAN AGREEMENT                                                                                               ALAMO, CA 94507

2. 682     GENERAL OFF-BILL AND ON-                  8/19/2018        CCOTH_02168                BRAR & CHAHAL INC                    3633 NORWOOD AVE.
           BILLFINANCING LOAN AGREEMENT                                                                                               JAY KAILEY
                                                                                                                                      SAN JOSE, CA 95148

2. 683     GENERAL OFF-BILL AND ON-                  2/15/2023        CCOTH_01241                BRASIL,ANTONIO C - 15373 S           15373 FLANAGAN RD
           BILLFINANCING LOAN AGREEMENT                                                          FLANAGAN RD                          DOS PALOS, CA 93620

2. 684     GENERAL OFF-BILL AND ON-                  3/15/2022        CCOTH_01242                BRASIL,ANTONIO C - NE NW 14-10-13    15373 FLANAGAN RD
           BILLFINANCING LOAN AGREEMENT                                                          PUMP 6                               DOS PALOS, CA 93620

2. 685     GENERAL OFF-BILL AND ON-                  2/28/2023        CCOTH_02756                BRAZIL,TONY - SE SW NW 15-19-22      13266 7TH AVE.
           BILLFINANCING LOAN AGREEMENT                                                                                               HANFORD, CA 93230

2. 686     GENERAL OFF-BILL AND ON-                  9/14/2020        CCOTH_01178                BREAK THE BARRIERS INC - 8555 N      8555 N CEDAR AVE
           BILLFINANCING LOAN AGREEMENT                                                          CEDAR AVE                            FRESNO, CA 93720

2. 687     ELECTRIC VEHICLE CHARGE NETWORK           Not Stated       CCOTH_00763                BRENDAN MCVETTY                      534 ECCLES AVE
                                                                                                                                      SOUTH SAN FRANCISCO 94080

2. 688     GENERAL OFF-BILL AND ON-                   9/5/2019        CCOTH_01626                BRESCIA-BRESCIA                      1725 RUTAN DRIVE
           BILLFINANCING LOAN AGREEMENT                                                                                               LIVERMORE, CA 94551

2. 689     ELECTRIC VEHICLE CHARGE NETWORK           Not Stated       CCOTH_00971                BRIAN BARR                           2223 G STREET
                                                                                                                                      FRESNO 93706

                                                                       Page 85 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 86 of
                                                                                 649
Pacific Gas and Electric Company                                                                                                   Case Number:       19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 690     SELF-GENERATION INCENTIVE                 Not Stated       CCOTH_03520                BRIAN BUI                          1831 FLICKINGER AVENUE
           PROGRAM                                                                                                                   SAN JOSE, CA 95131

2. 691     ELECTRIC VEHICLE CHARGE NETWORK           Not Stated       CCOTH_00721                BRIAN PHILLIPS                     655 12TH STREET
                                                                                                                                    OAKLAND 94607

2. 692     ELECTRIC VEHICLE CHARGE NETWORK           Not Stated       CCOTH_00747                BRIAN PHILLIPS                     585 9TH STREET
                                                                                                                                    OAKLAND 94607

2. 693     ELECTRIC VEHICLE CHARGE NETWORK           Not Stated       CCOTH_00891                BRIAN PHILLIPS                     3090 GLASCOCK STREET
                                                                                                                                    OAKLAND 94601

2. 694     ENERGY UPGRADE CALIFORNIA                 Not Stated       CCOTH_00516                BRIAN SPRANG                       4412 SUNRISE CT
           ADVANCED HOME UPGRADE                                                                                                    DAVIS, CA 95616
           (CUSTOM/CALCULATED)

2. 695     ENERGY UPGRADE CALIFORNIA                 Not Stated       CCOTH_00621                BRIAN WILSON                       513 FEATHER RIVER WAY
           ADVANCED HOME UPGRADE                                                                                                    VACAVILLE, CA 95688
           (CUSTOM/CALCULATED)

2. 696     GENERAL OFF-BILL AND ON-                   2/6/2022        CCOTH_01758                BRIDGEPOINTE HOTEL GROUP - 2000    27611 LA PAZ RD, SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                          BRIDGEPOINTE PKWY                  LAGUNA NIGUEL, CA 92677

2. 697     MOVER SERVICES PROGRAM                    7/10/2020        CCNRD_02877                BRIDGEVINE, INC                    ATTN: JOHN PUMPELLY CFO /
                                                                                                                                    SEAN BARRY CEO
                                                                                                                                    2770 INDIAN RIVER BLVD
                                                                                                                                    SUITE 400
                                                                                                                                    VERO BEACH, FL 32960

2. 698     COMMERCIAL CALCULATED                     Not Stated       CCOTH_00142                BRISTOL MYERS SQUIBB               700 BAY ROAD
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                        REDWOOD CITY, CA 94063
           PROGRAM

2. 699     PRIMARY LIGHTING - DEEMED                 Not Stated       CCOTH_03308                BRITE SWITCH                       195 NASSAU ST, STE 13
           UPSTREAM / MIDSTREAM - LED                                                                                               PRINCETON, NJ 8542
           REPLACEMENT




                                                                       Page 86 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 87 of
                                                                                 649
Pacific Gas and Electric Company                                                                                                   Case Number:        19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 700     3RD PARTY SERVICE WHICH PROVIDES          Evergreen        CCOTH_03821                BROADNET TELESERVICES LLC          1805 SHEA CENTER DRIVE
           PG&E THE ABILITY TO MANUALLY                                                                                             STE 160
           CREATE OUTBOUND CAMPAIGNS TO                                                                                             HIGHLANDS RANCH, CO 80129
           CUSTOMERS

2. 701     GENERAL OFF-BILL AND ON-                  11/10/2018       CCOTH_01998                BROCK,MATTHEW E                    685 COCHRAN STREET SUITE 200
           BILLFINANCING LOAN AGREEMENT                                                                                             SIMI VALLEY, CA 93065

2. 702     ENERGY UPGRADE CALIFORNIA                 Not Stated       CCOTH_00595                BROWER MECHANICAL INC              4060 ALVIS CT.
           ADVANCED HOME UPGRADE                                                                                                    ROCKLIN, CA 95677
           (CUSTOM/CALCULATED)

2. 703     GENERAL OFF-BILL AND ON-                  3/18/2021        CCOTH_02378                BROWN RANCH PROPERTIES - 3555      804 ESTATES DR STE 202
           BILLFINANCING LOAN AGREEMENT                                                          CLARES ST                          APTOS, CA 95003

2. 704     MODEL WATER EFFICIENT LANDSCAPE           11/28/2018       CCOTH_03763                BRUCE CHAN                         923 ARGUELLO ST., STE. 200
           ORDINANCE (MWELO) AND THE NEW                                                                                            REDWOOD CITY, CA 94063
           NORMAL FOR CALIFORNIA
           LANDSCAPING

2. 705     ELECTRIC VEHICLE CHARGE NETWORK           Not Stated       CCOTH_00844                BRUCE CHANG                        394 ILO LANE
                                                                                                                                    DANVILLE 94526

2. 706     GENERAL OFF-BILL AND ON-                  6/25/2023        CCOTH_02838                BRUCE E SKOLL - 12952 SAN PABLO    6644 N. HIGHLAND
           BILLFINANCING LOAN AGREEMENT                                                          AVE                                CLOVIS, CA 93619

2. 707     SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated       CCOTH_03473                BRUMMITT ENERGY ASSOCIATES, INC    777 S. HIGHWAY 101 SUITE 203
           BY DESIGN WHOLE BUILDING                                                                                                 SOLANA BEACH, CA 92075

2. 708     AGRICULTURAL CALCULATED                   Not Stated       CCOTH_00045                BRYAN HURST                        411 LESSER STREET
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                        OAKLAND, CA 94601
           PROGRAM

2. 709     ELECTRIC VEHICLE CHARGE NETWORK           Not Stated       CCOTH_01090                BRYAN SILVA                        1280 N MATHILDA AVE
                                                                                                                                    SUNNYVALE 94089

2. 710     GENERAL OFF-BILL AND ON-                  7/31/2019        CCOTH_02401                BRYANT HOME CENTER, INC DBA        590 W LOCUST AVE, STE 103
           BILLFINANCING LOAN AGREEMENT                                                          CUTTING EDGE EQUIPMENT             FRESNO, CA 93650




                                                                       Page 87 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 88 of
                                                                                 649
Pacific Gas and Electric Company                                                                                                    Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                 Address
                                                    or Remaining
                                                        Term


2. 711     GENERAL OFF-BILL AND ON-                   3/11/2019       CCOTH_01948                BS PETROLEUM INC DBA SAVE ON GAS    328 GREENWOOD PLACE,
           BILLFINANCING LOAN AGREEMENT                                                          AND LIQOUR                          ADRIANA ALDANA, MANAGER
                                                                                                                                     BONITA, CA 91902

2. 712     SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated       CCOTH_03325                BUCKEYE UNION SCHOOL DISTRICT       P.O. BOX 4768 1665 BLACKSTONE
           BY DESIGN SYSTEMS                                                                                                         PARKWAY
                                                                                                                                     EL DORADO HILLS, CA 95762

2. 713     WATER/SEWER AGREEMENT                     Not Stated       CCCRSOT_000                BUELLTON, CITY OF                   CITY OF BUELLTON
                                                                          23                                                         BUELLTON, CA

2. 714     GREEN MLS &LOCAL GOVERNMENT                3/31/2019       CCOTH_03674                BUILD IT GREEN                      300 FRAN H. OGAWA PLAZA SUITE
           OUTREACH                                                                                                                  OAKLAND, CA 94612

2. 715     MULTIFAMILY DATA COLLECTION                3/31/2020       CCOTH_03675                BUILD IT GREEN                      300 FRAN H. OGAWA PLAZA SUITE
           SUNNYVALE                                                                                                                 OAKLAND, CA 94612

2. 716     PRIMARY LIGHTING - DEEMED                 Not Stated       CCOTH_03318                BULBS.COM                           243 STAFFORD STREET
           UPSTREAM / MIDSTREAM - LED                                                                                                WORCESTER, MA 1603
           REPLACEMENT

2. 717     CONSULTING AND ENERGY                      5/10/2019       CCNRD_02897                BURFORD FAMILY FARMING CO.          1443 W SAMPLE AVE
           MANAGEMENT SERVICES                                                                                                       FRESNO, CA 93711

2. 718     DISPOSAL AGREEMENT                        Not Stated       CCCRSOT_000                BURNEY DISPOSAL                     BURNEY DISPOSAL
                                                                          24                                                         37484 B CORNAZ DR
                                                                                                                                     BURNEY, CA 96013

2. 719     WATER/SEWER/POOL AGREEMENT                Not Stated       CCCRSOT_000                BURNEY WATER DISTRICT               BURNEY WATER DISTRICT
                                                                          25                                                         20222 HUDSON ST
                                                                                                                                     BURNEY, CA 96013

2. 720     GENERAL OFF-BILL AND ON-                  11/16/2023       CCOTH_03086                BURRIESCI,SANDRA L-5945 ALMADEN     6469 ALMADEN EXPY STE 80-141
           BILLFINANCING LOAN AGREEMENT                                                          EXPY STE 180                        SAN JOSE, CA 95120

2. 721     ENERGENIUS CURRICULUM                   Last charge may    CCOTH_03755                BUSINESS SERVICES NETWORK           3390 ENTERPRISE AVENUE
           FULFILLMENT                              be March 2019                                                                    HAYWARD, CA 94545

2. 722     GENERAL OFF-BILL AND ON-                   11/8/2020       CCOTH_01384                BUTTERFLY EFFECT HOTELS LLC         27611 LA PAZ, SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                                                              LAUGUNA NIGEL, CA 92677

                                                                       Page 88 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 89 of
                                                                                 649
Pacific Gas and Electric Company                                                                                                   Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                 Address
                                                    or Remaining
                                                        Term


2. 723     GENERAL OFF-BILL AND ON-                  10/14/2020       CCOTH_02691                BUTTS PONTIAC CADILLAC - 4         804 ESTATES DR STE 202
           BILLFINANCING LOAN AGREEMENT                                                          HEITZINGER PLZ                     APTOS, CA 95003

2. 724     GENERAL OFF-BILL AND ON-                  7/14/2020        CCOTH_02844                BWC WESTSTEYN DAIRY LP - 1751 S    1628 CULPEPPER AVE, SUITE A
           BILLFINANCING LOAN AGREEMENT                                                          HEWITT RD                          MODESTO, CA 95351

2. 725     GENERAL OFF-BILL AND ON-                  11/2/2019        CCOTH_01683                BY THE BAY INVESTMENTS INC         360 KIELY BLVD. #270
           BILLFINANCING LOAN AGREEMENT                                                                                             SAN JOSE, CA 95129

2. 726     REAL PROPERTY LEASE - ELEXERIA            12/31/2025       CCCRSLS_001                BYBLOS ENTERPRISE LLC (CUSTOMER    181 SOUTH FRANKLIN AVENUE
                                                                          18                     #: 1253925)                        VALLEY STREAM, NY 11581

2. 727     GENERAL OFF-BILL AND ON-                  11/2/2019        CCOTH_01600                BY-THE-BAY INVESTMENTS, INC        360 KIELY BLVD. #270
           BILLFINANCING LOAN AGREEMENT                                                                                             SAN JOSE, CA 95129

2. 728     GENERAL OFF-BILL AND ON-                  11/2/2019        CCOTH_01611                BY-THE-BAY INVESTMENTS, INC        360 KIELY BLVD. #270
           BILLFINANCING LOAN AGREEMENT                                                                                             SAN JOSE, CA 95129

2. 729     GENERAL OFF-BILL AND ON-                  11/2/2019        CCOTH_01612                BY-THE-BAY INVESTMENTS, INC.       360 KIELY BLVD. #270
           BILLFINANCING LOAN AGREEMENT                                                                                             SAN JOSE, CA 95129

2. 730     GENERAL OFF-BILL AND ON-                  11/2/2019        CCOTH_01682                BY-THE-BAY INVESTMENTS, INC.       360 KIELY BLVD. #270
           BILLFINANCING LOAN AGREEMENT                                                                                             SAN JOSE, CA 95129

2. 731     GENERAL OFF-BILL AND ON-                  11/2/2019        CCOTH_02017                BY-THE-BAY INVESTMENTS, INC.       360 KIELY BLVD. #270
           BILLFINANCING LOAN AGREEMENT                                                                                             SAN JOSE, CA 95129

2. 732     REAL PROPERTY LEASE - NAPA                5/31/2019        CCCRSLS_000                C & S PROPERTIES                   C & S PROPERTIES
           SERVICE CENTER - ADDITIONAL YARD                               52                                                        780 LA SALLE WY
           AND WAREHOUSE                                                                                                            NAPA, CA 94559

2. 733     SELF-GENERATION INCENTIVE                 Not Stated       CCOTH_03522                C B COTTON                          5424 THUNDER RIDGE CIRCLE
           PROGRAM                                                                                                                   ROCKLIN, CA 95765

2. 734     GENERAL OFF-BILL AND ON-                  6/29/2019        CCOTH_01778                C.JS TRUCK STOP                    1390 RIDGEWOOD DR. STE. 10
           BILLFINANCING LOAN AGREEMENT                                                                                             CHICO, CA 95973




                                                                       Page 89 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                 Page 90 of
                                                                                 649
Pacific Gas and Electric Company                                                                                                      Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                   Address
                                                    or Remaining
                                                        Term


2. 735     GENERAL OFF-BILL AND ON-                  5/14/2023        CCOTH_02638                CA DEPART OF CORRECTIONS (SPLIT       8430 W BRYN MAWR AVENUE, 3RD
           BILLFINANCING LOAN AGREEMENT                                                          FROM OBF 2734)                        FLOOR
                                                                                                                                       LOCKBOX #2120**UPS OVERNIGHT
                                                                                                                                       DELIVERY*
                                                                                                                                       CHICAGO, IL 60631

2. 736     GENERAL OFF-BILL AND ON-                  9/28/2018        CCOTH_01455                CA DEPT OF CORRECTION AND             25821 INDUSTRIAL BLVD
           BILLFINANCING LOAN AGREEMENT                                                          REHABILITATION (CDCR)                 SUITE 300
                                                                                                                                       HAYWARD, CA 94545

2. 737     GENERAL OFF-BILL AND ON-                  5/13/2021        CCOTH_01314                CA DEPT OF FISH & WILDLIFE - SE NW    27611 LA PAZ RD. SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                          SW 7 11 21                            LAGUNA NIGUEL, CA 92677

2. 738     GENERAL OFF-BILL AND ON-                  11/5/2024        CCOTH_02342                CA DEPT OF P&R - SEACLIFF STATE       27611 LA PAZ RD, SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                          BEACH APTOS                           LAGUNA NIGUEL, CA 92677

2. 739     GENERAL OFF-BILL AND ON-                  10/5/2025        CCOTH_01180                CA DEPT OF PARKS & RECREATION -       27611 LA PAZ RD.
           BILLFINANCING LOAN AGREEMENT                                                          14881 PINE GROVE                      LAGUNA NIGUEL, CA 92677

2. 740     GENERAL OFF-BILL AND ON-                  9/30/2024        CCOTH_02407                CA DEPT OF PARKS & RECREATION -       590 W. LOCUST AVE. STE 103
           BILLFINANCING LOAN AGREEMENT                                                          OROVILLE COMPLEX                      FRESNO, CA 93650

2. 741     GENERAL OFF-BILL AND ON-                  9/28/2027        CCOTH_02404                CA DEPT OF PARKS & RECREATION -       27611 LA PAZ RD, SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                          SUNSET/MANRESA                        LAGUNA NIGUEL, CA 92677

2. 742     GENERAL OFF-BILL AND ON-                  6/30/2021        CCOTH_02413                CA DWR - 1450 RIVERBANK RD            590 W LOCUST AVE, SUITE 103
           BILLFINANCING LOAN AGREEMENT                                                                                                FRESNO, CA 93650

2. 743     SELF-GENERATION INCENTIVE                 Not Stated       CCOTH_03483                CA ENERGY STORAGE HOLDINGS, LLC       700 UNIVERSE BLVD
           PROGRAM                                                                                                                      JUNO BEACH, FL 94304

2. 744     GENERAL OFF-BILL AND ON-                  5/18/2023        CCOTH_03227                CA NATIONAL GUARD - CAMP              28312 INDUSTRIAL BLVD., SUITE F
           BILLFINANCING LOAN AGREEMENT                                                          ROBERTS 1A                            HAYWARD, CA 94545

2. 745     GENERAL OFF-BILL AND ON-                  10/10/2020       CCOTH_01631                CA NATIONAL GUARD - FRESNO            28312 F INDUSTRIAL BLVD.
           BILLFINANCING LOAN AGREEMENT                                                          HAMMER ARMORY                         HAYWARD, CA 94545

2. 746     GENERAL OFF-BILL AND ON-                  11/12/2027       CCOTH_02402                CA STATE PARKS SANTA CRUZ -           27611 LA PAZ RD., SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                          NATURAL BRIDGES                       LAGUNA NIGUEL, CA 92677


                                                                       Page 90 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 91 of
                                                                                 649
Pacific Gas and Electric Company                                                                                                    Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 747     GENERAL OFF-BILL AND ON-                   9/2/2024        CCOTH_03190                CADFW - 1660 HATCHERY RD - BLUE     27611 LA PAZ RD., SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                          LAKE                                LAGUNA NIGUEL, CA 92677

2. 748     GENERAL OFF-BILL AND ON-                  2/16/2027        CCOTH_02537                CADFW - 1760 BIDWELL ST - RED BLUFF 27611 LA PAZ RD, SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                                                              LAGUNA NIGUEL, CA 92677

2. 749     GENERAL OFF-BILL AND ON-                  3/15/2024        CCOTH_03119                CADFW - 18110 HENRY MILLER RD       27611 LA PAZ RD, SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                                                              LAGUNA NIGUEL, CA 92677

2. 750     GENERAL OFF-BILL AND ON-                  7/30/2023        CCOTH_02640                CADFW - DARRAH SPRINGS FH           27611 LA PAZ RD. STE A2
           BILLFINANCING LOAN AGREEMENT                                                                                              LAGUNA NIGUEL, CA 92677

2. 751     GENERAL OFF-BILL AND ON-                  11/18/2027       CCOTH_02639                CADFW - MERCED FISH HATCHERY        27611 LA PAZ RD STE A2
           BILLFINANCING LOAN AGREEMENT                                                                                              LAUGUNA NIGUEL, CA 92677

2. 752     GENERAL OFF-BILL AND ON-                  12/17/2028       CCOTH_03118                CADFW - NORTH GRASSLANDS            27611 LA PAZ RD. SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                                                              LAGUNA NIGUEL, CA 92677

2. 753     GENERAL OFF-BILL AND ON-                   5/7/2026        CCOTH_03034                CADFW - TEHAMA WA                   27611 LA PAZ RD, SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                                                              LAGUNA NIGUEL, CA 92677

2. 754     LOS OSOS MIDDLE SCHOOL ZERO NET           12/31/2018       CCOTH_03729                CADMUS                              100 FIFTH AVE., STE 100
           ENERGY                                                                                                                    WALTHAM, MA 2451

2. 755     SF USD ZERO NET ENERGY                    12/31/2020       CCOTH_03732                CADMUS                              100 FIFTH AVE., STE 100
                                                                                                                                     WALTHAM, MA 2451

2. 756     ZERO NET ENERGY PROGRAMS                  12/31/2019       CCOTH_03724                CADMUS                              100 FIFTH AVE., STE 100
                                                                                                                                     WALTHAM, MA 2451

2. 757     GENERAL OFF-BILL AND ON-                  1/31/2025        CCOTH_02732                CADMV - BAKERSFIELD                 27611 LA PAZ RD, SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                                                              LAGUNA NIGUEL, CA 92677

2. 758     GENERAL OFF-BILL AND ON-                  9/24/2025        CCOTH_03195                CADMV - CORTE MADERA OFFICE         27611 LA PAZ RD, SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                                                              LAGUNA NIGUEL, CA 92677

2. 759     GENERAL OFF-BILL AND ON-                   6/8/2025        CCOTH_02731                CADMV - HOLLISTER                   27611 LA PAZ RD, SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                                                              LAGUNA NIGUEL, CA 92677



                                                                       Page 91 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                  Page 92 of
                                                                                 649
Pacific Gas and Electric Company                                                                                                     Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 760     GENERAL OFF-BILL AND ON-                  9/18/2026        CCOTH_03073                CADMV - MERCED                       27611 LA PAZ RD, SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                                                               LAGUNA NIGUEL, CA 92677

2. 761     GENERAL OFF-BILL AND ON-                  3/24/2027        CCOTH_03115                CADMV - OAKLAND COLISEUM             27611 LA PAZ RD., SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                                                               LAGUNA NIGUEL, CA 92677

2. 762     GENERAL OFF-BILL AND ON-                  3/17/2026        CCOTH_03092                CADMV - SAN JOSE                     27611 LA PAZ RD., SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                                                               LAGUNA NIGUEL, CA 92677

2. 763     GENERAL OFF-BILL AND ON-                  9/19/2025        CCOTH_02733                CADMV - SEASIDE                      27611 LA PAZ RD. STE. A2
           BILLFINANCING LOAN AGREEMENT                                                                                               LAGUNA NIGUEL, CA 92677

2. 764     GENERAL OFF-BILL AND ON-                   6/7/2022        CCOTH_01135                CADPR - 2400 JACK LONDON PARK        27611 LA PAZ RD. SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                          KIOSK - DEEMED                       LAGUNA NIGUEL, CA 92677

2. 765     GENERAL OFF-BILL AND ON-                   7/7/2027        CCOTH_03116                CADPR - ANNADEL SP - 6201 CHANNEL    27611 LA PAZ RD.
           BILLFINANCING LOAN AGREEMENT                                                          DR # C                               SUITE A2
                                                                                                                                      LAGUNA NIGUEL, CA 92677

2. 766     GENERAL OFF-BILL AND ON-                  2/17/2024        CCOTH_02788                CADPR - BIDWELL MANSION SHP          27611 LA PAZ RD., SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                                                               LAGUNA NIGUEL, CA 92677

2. 767     GENERAL OFF-BILL AND ON-                  11/7/2023        CCOTH_02861                CADPR - DUNCAN MILLS STATE PARK      27611 LA PAZ RD. SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                                                               LAGUNA NIGUEL, CA 92677

2. 768     GENERAL OFF-BILL AND ON-                  10/31/2025       CCOTH_03241                CADPR - E CLIFF DR                   27611 LA PAZ RD., SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                                                               LAGUNA NIGUEL, CA 92677

2. 769     GENERAL OFF-BILL AND ON-                  6/11/2025        CCOTH_03117                CADPR - HENRY WOODS STATE PARK       27611 LA PAZ RD., SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                                                               LAGUNA NIGUEL, CA 92677

2. 770     GENERAL OFF-BILL AND ON-                   7/5/2026        CCOTH_02405                CADPR - HOLLISTER HILLS STATE PARK 27611 LA PAZ RD, SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                                                             LAGUNA NIGUEL, CA 92677

2. 771     GENERAL OFF-BILL AND ON-                  5/17/2028        CCOTH_01167                CADPR - HUMBOLDT REDWOODS            27611 LA PAZ RD, SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                          STATE PARK                           LAGUNA NIGUEL, CA 92677

2. 772     GENERAL OFF-BILL AND ON-                  6/18/2025        CCOTH_03142                CADPR - MONTEREY STATE HISTORIC      27611 LA PAZ RD, SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                          PARK                                 LAGUNA NIGUEL, CA 92677

                                                                       Page 92 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 93 of
                                                                                 649
Pacific Gas and Electric Company                                                                                                    Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                 Address
                                                    or Remaining
                                                        Term


2. 773     GENERAL OFF-BILL AND ON-                  10/7/2026        CCOTH_03122                CADPR - PFEIFFER BIG SUR STATE      27611 LA PAZ RD. STE A2
           BILLFINANCING LOAN AGREEMENT                                                          PARK - DEEMED                       LAGUNA NIGUEL, CA 92677

2. 774     GENERAL OFF-BILL AND ON-                   6/7/2026        CCOTH_03082                CADPR - PORTOLA REDWOODS            27611 LA PAZ RD., A2
           BILLFINANCING LOAN AGREEMENT                                                          STATE - LA HONDA                    LAGUNA NIGUEL, CA 92677

2. 775     GENERAL OFF-BILL AND ON-                  4/13/2022        CCOTH_01181                CADPR - RAILTOWN 1897 STATE         27611 LA PAZ RD. STE A2
           BILLFINANCING LOAN AGREEMENT                                                          HISTORIC - JAMESTOWN                LAGUNA NIGUEL, CA 92677

2. 776     GENERAL OFF-BILL AND ON-                  12/18/2025       CCOTH_03089                CADPR - SALMON CREEK RANGER         27611 LA PAZ RD, SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                          STATION                             LAGUNA NIGUEL, CA 92677

2. 777     GENERAL OFF-BILL AND ON-                   3/7/2026        CCOTH_03120                CADPR - SALT POINT                  27611 LA PAZ RD., SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                                                              LAGUNA NIGUEL, CA 92677

2. 778     GENERAL OFF-BILL AND ON-                  9/10/2026        CCOTH_03078                CADPR - SAN ANDREAS RD -            27611 LA PAZ RD., SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                          MANRESSA STATE BEACH                LAGUNA NIGUEL, CA 92677

2. 779     GENERAL OFF-BILL AND ON-                  10/2/2028        CCOTH_03153                CADPR - VISITOR SVC CENTER          27611 LA PAZ RD, SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                                                              LAGUNA NIGUEL, CA 92677

2. 780     GENERAL OFF-BILL AND ON-                  11/27/2028       CCOTH_02376                CADPR - WASSAMA ROUNDHOUSE -        27611 LA PAZ RD, SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                          AHWAHNEE                            LAGUNA NIGUEL, CA 92677

2. 781     GENERAL OFF-BILL AND ON-                  5/17/2028        CCOTH_03015                CADPR - WILLOW CREEK STATE PARK     27611 LA PAZ RD STE A2
           BILLFINANCING LOAN AGREEMENT                                                                                              LAGUNA NIGUEL, CA 92677

2. 782     GENERAL OFF-BILL AND ON-                   1/2/2023        CCOTH_02633                CADPR- ANDREW MOLERA STATE PARK 27611 LA PAZ RD. STE A2
           BILLFINANCING LOAN AGREEMENT                                                                                          LAGUNA NIGUEL, CA 92677

2. 783     GENERAL OFF-BILL AND ON-                  9/17/2025        CCOTH_01166                CADRP LA PURISIMA STATE HISTORIC    27611 LA PAZ RD. STE A2
           BILLFINANCING LOAN AGREEMENT                                                          PARK                                LAGUNA NIGUEL, CA 92677

2. 784     CONTRACT DESIGN & ESTIMATING              2/28/2019        CCNRD_00003                CAL ENGINEERING SOLUTIONS, INC      4637 CHABOT DRIVE
           MASTER SERVICE AGREEMENT                                                                                                  PLEASANTON, CA 94588
           (“CONTRACT”) TO SUPPORT PG&E IN ITS
           PERFORMANCE OF THE OPERATIONS
           AND MAINTENANCE OF ITS ELECTRIC
           DISTRIBUTION FACILITIES


                                                                       Page 93 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 94 of
                                                                                 649
Pacific Gas and Electric Company                                                                                           Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                         Address
                                                    or Remaining
                                                        Term


2. 785     AG PUMP VFD QPL/SPECIFICATIONS            12/31/2019       CCOTH_03787                CAL POLY CORPORATION       ONE GRANDE AVENUE
                                                                                                                            BLDG 38, ROOM 102
                                                                                                                            SLO, CA 93407

2. 786     COMMERCIAL DEEMED INCENTIVES -            Not Stated       CCOTH_00214                CAL STEAM HAYWARD          1595 CROCKER AVE
           DEEMED UPSTREAM / MIDSTREAM -                                                                                    HAYWARD, CA 94544
           COMMERCIAL WATER

2. 787     COMMERCIAL DEEMED INCENTIVES -            Not Stated       CCOTH_00215                CAL STEAM HAYWARD          1595 CROCKER AVE
           DEEMED UPSTREAM / MIDSTREAM -                                                                                    HAYWARD, CA 94544
           COMMERCIAL WATER

2. 788     COMMERCIAL DEEMED INCENTIVES -            Not Stated       CCOTH_00216                CAL STEAM HAYWARD          1595 CROCKER AVE
           DEEMED UPSTREAM / MIDSTREAM -                                                                                    HAYWARD, CA 94544
           COMMERCIAL WATER

2. 789     COMMERCIAL DEEMED INCENTIVES -            Not Stated       CCOTH_00217                CAL STEAM HAYWARD          1595 CROCKER AVE
           DEEMED UPSTREAM / MIDSTREAM -                                                                                    HAYWARD, CA 94544
           COMMERCIAL WATER

2. 790     COMMERCIAL DEEMED INCENTIVES -            Not Stated       CCOTH_00218                CAL STEAM HAYWARD          1595 CROCKER AVE
           DEEMED UPSTREAM / MIDSTREAM -                                                                                    HAYWARD, CA 94544
           COMMERCIAL WATER

2. 791     COMMERCIAL DEEMED INCENTIVES -            Not Stated       CCOTH_00219                CAL STEAM HAYWARD          1595 CROCKER AVE
           DEEMED UPSTREAM / MIDSTREAM -                                                                                    HAYWARD, CA 94544
           COMMERCIAL WATER

2. 792     COMMERCIAL DEEMED INCENTIVES -            Not Stated       CCOTH_00220                CAL STEAM HAYWARD          1595 CROCKER AVE
           DEEMED UPSTREAM / MIDSTREAM -                                                                                    HAYWARD, CA 94544
           COMMERCIAL WATER

2. 793     COMMERCIAL DEEMED INCENTIVES -            Not Stated       CCOTH_00221                CAL STEAM HAYWARD          1595 CROCKER AVE
           DEEMED UPSTREAM / MIDSTREAM -                                                                                    HAYWARD, CA 94544
           COMMERCIAL WATER

2. 794     COMMERCIAL DEEMED INCENTIVES -            Not Stated       CCOTH_00222                CAL STEAM HAYWARD          1595 CROCKER AVE
           DEEMED UPSTREAM / MIDSTREAM -                                                                                    HAYWARD, CA 94544
           COMMERCIAL WATER



                                                                       Page 94 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35         Page 95 of
                                                                                 649
Pacific Gas and Electric Company                                                                                                      Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                   Address
                                                    or Remaining
                                                        Term


2. 795     COMMERCIAL DEEMED INCENTIVES -            Not Stated       CCOTH_00223                CAL STEAM HAYWARD                     1595 CROCKER AVE
           DEEMED UPSTREAM / MIDSTREAM -                                                                                               HAYWARD, CA 94544
           COMMERCIAL WATER

2. 796     COMMERCIAL DEEMED INCENTIVES -            Not Stated       CCOTH_00224                CAL STEAM HAYWARD                     1595 CROCKER AVE
           DEEMED UPSTREAM / MIDSTREAM -                                                                                               HAYWARD, CA 94544
           COMMERCIAL WATER

2. 797     GENERAL OFF-BILL AND ON-                  12/14/2023       CCOTH_01318                CALA SHOPPING CENTER LP - 1111 W      1111 W EL CAMINO REAL STE 135
           BILLFINANCING LOAN AGREEMENT                                                          EL CAMINO REAL                        SUNNYVALE, CA 94087

2. 798     GENERAL OFF-BILL AND ON-                   1/5/2026        CCOTH_03149                CALIF DEPT OF PARKS & REC - END OF    27611 LA PAZ RD, SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                          EAST DUNNE #8                         LAGUNA NIGUEL, CA 92677

2. 799     COMMERCIAL CALCULATED                     Not Stated       CCOTH_00140                CALIFORNIA AMERICAN WATER             511 FOREST LODGE ROAD
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                           PACIFIC GROVE, CA 93950
           PROGRAM

2. 800     WATER AGREEMENT                           Not Stated       CCCRSOT_000                CALIFORNIA AMERICAN WATER             CALIFORNIA - AMERICAN WATER
                                                                          26                                                           COMPANY
                                                                                                                                       PASADENA, CA

2. 801     CSI (THERMAL)                             Not Stated       CCOTH_00473                CALIFORNIA BANK OF COMMERCE           3595 MT DIABLO BLVD 2ND FLOOR
                                                                                                                                        LAFAYETTE, CA 94549

2. 802     CSI (THERMAL)                             Not Stated       CCOTH_00474                CALIFORNIA BANK OF COMMERCE           3595 MT. DIABLO BLVD 1ST FLOOR
                                                                                                                                        LAFAYETTE, CA 94549

2. 803     GENERAL OFF-BILL AND ON-                  6/14/2022        CCOTH_01290                CALIFORNIA COLLISION,LLC - 57         P.O. BOX 41339
           BILLFINANCING LOAN AGREEMENT                                                          CALIFORNIA AVE STE C                  SANTA BARBARA, CA 93140

2. 804     GENERAL OFF-BILL AND ON-                   2/4/2023        CCOTH_01454                CALIFORNIA DEPARTMENT OF              8430 W. BRYN MAWR AVE, 3RD
           BILLFINANCING LOAN AGREEMENT                                                          CORRECTIONS                           FLR.
                                                                                                                                       CHICAGO, IL 90631

2. 805     GENERAL OFF-BILL AND ON-                  5/18/2020        CCOTH_01954                CALIFORNIA DEPARTMENT OF              2455 MERCANTILE DRIVE, SUITE
           BILLFINANCING LOAN AGREEMENT                                                          CORRECTIONS                           150
                                                                                                                                       KEVIN KEANE
                                                                                                                                       RANCHO CORDOVA, CA 95742



                                                                       Page 95 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                  Page 96 of
                                                                                 649
Pacific Gas and Electric Company                                                                                                   Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 806     GENERAL OFF-BILL AND ON-                  11/10/2021       CCOTH_01955                CALIFORNIA DEPARTMENT OF           830 WEST STADIUM LANE
           BILLFINANCING LOAN AGREEMENT                                                          CORRECTIONS                        SACRAMENTO, CA 95834

2. 807     GENERAL OFF-BILL AND ON-                  1/25/2025        CCOTH_01974                CALIFORNIA DEPARTMENT OF           830 WEST STADIUM LANE
           BILLFINANCING LOAN AGREEMENT                                                          CORRECTIONS                        SACRAMENTO, CA 95834

2. 808     GENERAL OFF-BILL AND ON-                   8/4/2022        CCOTH_02035                CALIFORNIA DEPARTMENT OF           2455 MERCANTILE DRIVE, SUITE
           BILLFINANCING LOAN AGREEMENT                                                          CORRECTIONS                        150
                                                                                                                                    KEVIN KEANE
                                                                                                                                    RANCHO CORDOVA, CA 95742

2. 809     GENERAL OFF-BILL AND ON-                   6/5/2025        CCOTH_02092                CALIFORNIA DEPARTMENT OF           5927 BALFOUR COURT, SUITE 213
           BILLFINANCING LOAN AGREEMENT                                                          CORRECTIONS                        **UPS OVERNIGHT DELIVERY**
                                                                                                                                    CARLSBAD, CA 92008

2. 810     GENERAL OFF-BILL AND ON-                  9/11/2019        CCOTH_02265                CALIFORNIA DEPARTMENT OF           2455 MERCANTILE DRIVE, SUITE
           BILLFINANCING LOAN AGREEMENT                                                          CORRECTIONS                        150
                                                                                                                                    SYLVANIA LIGHTING SERVICES
                                                                                                                                    RANCHO CORDOVA, CA 95742

2. 811     GENERAL OFF-BILL AND ON-                  8/18/2021        CCOTH_01930                CALIFORNIA DEPARTMENT OF FISH &    590 W LOCUST AVE, SUITE 103
           BILLFINANCING LOAN AGREEMENT                                                          WILDLIFE - DAVIS                   FRESNO, CA 93650

2. 812     LICENSE AGREEMENT                         Not Stated       CCCRSOT_000                CALIFORNIA DEPARTMENT OF           STATE OF CALIFORNIA, DEPT OF
                                                                          27                     FORESTRY & FIRE PROTECTION         FORESTRY & FIRE PROTECTION,
                                                                                                                                    SACRAMENTO, CA

2. 813     GENERAL OFF-BILL AND ON-                  11/13/2023       CCOTH_02432                CALIFORNIA DEPARTMENT OF           590 WEST LOCUST AVENUE,
           BILLFINANCING LOAN AGREEMENT                                                          GENERAL SERVICES - 1501 C          SUITE 103
                                                                                                                                    FRESNO, CA 93650

2. 814     GENERAL OFF-BILL AND ON-                  5/14/2025        CCOTH_01830                CALIFORNIA DEPARTMENT OF PARKS     27611 LA PAZ ROAD, SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                          & REC - FELTON                     LAGUNA NIGUEL, CA 92677

2. 815     GENERAL OFF-BILL AND ON-                  3/31/2019        CCOTH_01893                CALIFORNIA DEPARTMENT OF WATER     3439 LANDCO DR. SUITE A
           BILLFINANCING LOAN AGREEMENT                                                          RESOURCES                          BAKERSFIELD, CA 93308

2. 816     GENERAL OFF-BILL AND ON-                   1/7/2027        CCOTH_03150                CALIFORNIA DEPT OF PARKS &         27611 LA PAZ RD, SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                          RECREATION - 235 2ND ST            LAGUNA NIGUEL, CA 92677



                                                                       Page 96 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35               Page 97 of
                                                                                 649
Pacific Gas and Electric Company                                                                                                 Case Number:       19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                               Address
                                                    or Remaining
                                                        Term


2. 817     GENERAL OFF-BILL AND ON-                   2/7/2024        CCOTH_03105                CALIFORNIA DEPT OF PARKS &       27611 LA PAZ RD., SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                          RECREATION - HWY 1 BOX           LAGUNA NIGUEL, CA 92677

2. 818     GENERAL OFF-BILL AND ON-                  3/17/2021        CCOTH_02330                CALIFORNIA DEPT OF WATER         6120 LINOCLN BLVD, STE G
           BILLFINANCING LOAN AGREEMENT                                                          RESOURCES                        OROVILLE, CA 95966

2. 819     OPERATION AND MAINTENANCE OF              3/10/2018        CCNRD_02847                CALIFORNIA DEPT OF WATER         DIVISION OF OPERATIONS AND
           CUSTOMER-OWNED FACILITIES                                                             RESOURCES                        MAINTENANCE
                                                                                                                                  P.O. BOX 942836
                                                                                                                                  ATTN: ARMANDO ORTIZ
                                                                                                                                  SACRAMENTO, CA

2. 820     GENERAL OFF-BILL AND ON-                  11/22/2019       CCOTH_01332                CALIFORNIA FUEL SUPPLY INC       P.O. BOX 406
           BILLFINANCING LOAN AGREEMENT                                                                                           ALAMO, CA 94507

2. 821     GENERAL OFF-BILL AND ON-                  1/31/2022        CCOTH_02772                CALIFORNIA HEALTH SCIENCES       10610 HUMBOLT ST
           BILLFINANCING LOAN AGREEMENT                                                          UNIVERSITY, LLC                  LOS ALAMITOS, CA 90720

2. 822     STATE OF CALIFORNIA - SAVINGS BY          Not Stated       CCOTH_03624                CALIFORNIA HIGHWAY PATROL        601 NORTH 7TH STREET
           DESIGN WHOLE BUILDING                                                                                                  SACRAMENTO, CA 95811

2. 823     STATE OF CALIFORNIA - SAVINGS BY          Not Stated       CCOTH_03625                CALIFORNIA HIGHWAY PATROL        601 NORTH 7TH STREET
           DESIGN WHOLE BUILDING                                                                                                  SACRAMENTO, CA 95811

2. 824     COMMERCIAL DEEMED INCENTIVES -            Not Stated       CCOTH_00228                CALIFORNIA HYDRONICS CORP        P.O. BOX 5049
           DEEMED UPSTREAM / MIDSTREAM -                                                         HAYWARD                          HAYWARD, CA 94540
           COMMERCIAL WATER

2. 825     COMMERCIAL DEEMED INCENTIVES -            Not Stated       CCOTH_00229                CALIFORNIA HYDRONICS CORP        P.O. BOX 5049
           DEEMED UPSTREAM / MIDSTREAM -                                                         HAYWARD                          HAYWARD, CA 94540
           COMMERCIAL WATER

2. 826     COMMERCIAL DEEMED INCENTIVES -            Not Stated       CCOTH_00230                CALIFORNIA HYDRONICS CORP        P.O. BOX 5049
           DEEMED UPSTREAM / MIDSTREAM -                                                         HAYWARD                          HAYWARD, CA 94540
           COMMERCIAL WATER

2. 827     COMMERCIAL DEEMED INCENTIVES -            Not Stated       CCOTH_00231                CALIFORNIA HYDRONICS CORP        P.O. BOX 5049
           DEEMED UPSTREAM / MIDSTREAM -                                                         HAYWARD                          HAYWARD, CA 94540
           COMMERCIAL WATER



                                                                       Page 97 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35               Page 98 of
                                                                                 649
Pacific Gas and Electric Company                                                                                                    Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                 Address
                                                    or Remaining
                                                        Term


2. 828     GENERAL OFF-BILL AND ON-                  3/25/2019        CCOTH_02030                CALIFORNIA INCOME PROPERTIES 11     27611 LA PAZ, SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                          LLC                                 LAGUNA NIGUEL, CA 92677

2. 829     ROCKET FUND MEMBERSHIP                    12/31/2019       CCOTH_03806                CALIFORNIA INSTITUTE OF             1200 E. CALIFORNIA BLVD
                                                                                                 TECHNOLOGY                          PASADENA, CA 91125

2. 830     GENERAL OFF-BILL AND ON-                  1/29/2021        CCOTH_03189                CALIFORNIA NATIONAL GUARD - 1431    28312 - F INDUSTRIAL BLVD.
           BILLFINANCING LOAN AGREEMENT                                                          HOYT AVE - LAKEPO                   HAYWARD, CA 94545

2. 831     GENERAL OFF-BILL AND ON-                  6/13/2023        CCOTH_01210                CALIFORNIA NATIONAL GUARD - 1525    28312 INDUSTRIAL BLVD
           BILLFINANCING LOAN AGREEMENT                                                          W WINTON AVE                        HAYWARD, CA 94545

2. 832     GENERAL OFF-BILL AND ON-                  3/13/2023        CCOTH_01712                CALIFORNIA NATIONAL GUARD - 2000    28312 - F INDUSTRIAL BLVD.
           BILLFINANCING LOAN AGREEMENT                                                          PARK AVE - RED BL
                                                                                                                                     HAYWARD, CA 94545

2. 833     GENERAL OFF-BILL AND ON-                  9/26/2022        CCOTH_02856                CALIFORNIA NATIONAL GUARD - 3517    28312-F INDUSTRIAL BLVD
           BILLFINANCING LOAN AGREEMENT                                                          W ST                                HAYWARD, CA 94545

2. 834     GENERAL OFF-BILL AND ON-                  10/24/2026       CCOTH_02991                CALIFORNIA NATIONAL GUARD - 624     28312 INDUSTRIAL BLVD. STE F
           BILLFINANCING LOAN AGREEMENT                                                          CARLSON BLVD                        HAYWARD, CA 94545

2. 835     GENERAL OFF-BILL AND ON-                  11/15/2020       CCOTH_03187                CALIFORNIA NATIONAL GUARD - 920     28312 F INDUSTRIAL BLVD
           BILLFINANCING LOAN AGREEMENT                                                          KEPPLER AVE - DUB                   HAYWARD, CA 94545

2. 836     GENERAL OFF-BILL AND ON-                  11/6/2023        CCOTH_03194                CALIFORNIA NATIONAL GUARD - ADJ     28312 INDUSTRIAL BLVD
           BILLFINANCING LOAN AGREEMENT                                                          GEN FT FUNSTON-S F                  SUITE F
                                                                                                                                     HAYWARD, CA 94545

2. 837     GENERAL OFF-BILL AND ON-                  2/28/2022        CCOTH_01636                CALIFORNIA NATIONAL GUARD -         28312-F INDUSTRIAL BLVD.
           BILLFINANCING LOAN AGREEMENT                                                          BAKERSFIELD GATEWAY                 HAYWARD, CA 94545

2. 838     GENERAL OFF-BILL AND ON-                  7/28/2023        CCOTH_01633                CALIFORNIA NATIONAL GUARD -         28312 - F INDUSTRIAL BLVD.
           BILLFINANCING LOAN AGREEMENT                                                          BAKERSFIELD P ARMORY
                                                                                                                                     HAYWARD, CA 94545

2. 839     GENERAL OFF-BILL AND ON-                  10/12/2023       CCOTH_01888                CALIFORNIA NATIONAL GUARD -         28312 - F INDUSTRIAL BLVD.
           BILLFINANCING LOAN AGREEMENT                                                          BENICIA ARMORY                      HAYWARD, CA 94545



                                                                       Page 98 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 99 of
                                                                                 649
Pacific Gas and Electric Company                                                                                                    Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID   Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 840     GENERAL OFF-BILL AND ON-                  12/31/2028      CCOTH_02842                CALIFORNIA NATIONAL GUARD - CAMP     28312 - F INDUSTRIAL BLVD.
           BILLFINANCING LOAN AGREEMENT                                                         ROBERTS 1B                           HAYWARD, CA 94545

2. 841     GENERAL OFF-BILL AND ON-                  2/13/2022       CCOTH_01699                CALIFORNIA NATIONAL GUARD - CHICO    28312 F INDUSTRIAL BLVD
           BILLFINANCING LOAN AGREEMENT                                                         ARMORY
                                                                                                                                     HAYWARD, CA 94545

2. 842     GENERAL OFF-BILL AND ON-                   9/7/2020       CCOTH_02109                CALIFORNIA NATIONAL GUARD -          28312 F INDUSTRIAL BLVD
           BILLFINANCING LOAN AGREEMENT                                                         CONCORD                              ***OVERNIGHT DELIVERY - UPS***
                                                                                                                                     HAYWARD, CA 94545

2. 843     GENERAL OFF-BILL AND ON-                  10/4/2021       CCOTH_02479                CALIFORNIA NATIONAL GUARD -          28312 - F INDUSTRIAL BLVD.
           BILLFINANCING LOAN AGREEMENT                                                         DAKOTA AVCRAD NATIONAL               HAYWARD, CA 94545

2. 844     GENERAL OFF-BILL AND ON-                  9/28/2018       CCOTH_02467                CALIFORNIA NATIONAL GUARD -          28312 F INDUSTRIAL BLVD
           BILLFINANCING LOAN AGREEMENT                                                         FAIRFIELD PHASE 2 EXTE               ***OVERNIGHT DELIVERY***
                                                                                                                                     HAYWARD, CA 94545

2. 845     GENERAL OFF-BILL AND ON-                  7/10/2020       CCOTH_01632                CALIFORNIA NATIONAL GUARD -          28312 - F INDUSTRIAL BLVD.
           BILLFINANCING LOAN AGREEMENT                                                         FRESNO DAKOTA ARMORY                 HAYWARD, CA 94545

2. 846     GENERAL OFF-BILL AND ON-                   3/2/2020       CCOTH_01403                CALIFORNIA NATIONAL GUARD -          28312 - F INDUSTRIAL BLVD.
           BILLFINANCING LOAN AGREEMENT                                                         FRESNO DAKOTA PAINT                  HAYWARD, CA 94545

2. 847     GENERAL OFF-BILL AND ON-                  6/28/2027       CCOTH_01639                CALIFORNIA NATIONAL GUARD -          28312 - F INDUSTRIAL BLVD.
           BILLFINANCING LOAN AGREEMENT                                                         GILROY
                                                                                                                                     HAYWARD, CA 94545

2. 848     GENERAL OFF-BILL AND ON-                   8/4/2020       CCOTH_02480                CALIFORNIA NATIONAL GUARD -          28312 INDUSTRIAL BLVD
           BILLFINANCING LOAN AGREEMENT                                                         HAMMER FMS                           SUITE F
                                                                                                                                     HAYWARD, CA 94545

2. 849     GENERAL OFF-BILL AND ON-                  11/13/2020      CCOTH_01644                CALIFORNIA NATIONAL GUARD -          28312 F INDUSTRIAL BLVD
           BILLFINANCING LOAN AGREEMENT                                                         HOLLISTER ARMORY
                                                                                                                                     HAYWARD, CA 94545

2. 850     GENERAL OFF-BILL AND ON-                  6/22/2022       CCOTH_01637                CALIFORNIA NATIONAL GUARD -          28312-F INDUSTRIAL BLVD.
           BILLFINANCING LOAN AGREEMENT                                                         MADERA ARMORY
                                                                                                                                     HAYWARD, CA 94545



                                                                      Page 99 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35               Page 100
                                                                                of 649
Pacific Gas and Electric Company                                                                                                   Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                 Address
                                                    or Remaining
                                                        Term


2. 851     GENERAL OFF-BILL AND ON-                  2/28/2020       CCOTH_02649                 CALIFORNIA NATIONAL GUARD -        28312 F INDUSTRIAL BLVD
           BILLFINANCING LOAN AGREEMENT                                                          OAKDALE                            HAYWARD, CA 94545

2. 852     GENERAL OFF-BILL AND ON-                  6/26/2022       CCOTH_01700                 CALIFORNIA NATIONAL GUARD -        28312 INDUSTRIAL BLVD. SUITE F
           BILLFINANCING LOAN AGREEMENT                                                          OROVILLE ARMORY                    HAYWARD, CA 94545

2. 853     GENERAL OFF-BILL AND ON-                  2/29/2024       CCOTH_01912                 CALIFORNIA NATIONAL GUARD -        28312 -F INDUSTRIAL BLVD.
           BILLFINANCING LOAN AGREEMENT                                                          PETALUMA ARMORY                    HAYWARD, CA 94545

2. 854     GENERAL OFF-BILL AND ON-                  6/30/2025       CCOTH_02399                 CALIFORNIA NATIONAL GUARD -        28312 F INDUSTRIAL BLVD
           BILLFINANCING LOAN AGREEMENT                                                          PITTSBURG                          HAYWARD, CA 94545

2. 855     GENERAL OFF-BILL AND ON-                  7/29/2019       CCOTH_01638                 CALIFORNIA NATIONAL GUARD - SAN    28312 -F INDUSTRIAL BLVD.
           BILLFINANCING LOAN AGREEMENT                                                          MATEO ARMORY
                                                                                                                                    HAYWARD, CA 94545

2. 856     GENERAL OFF-BILL AND ON-                   5/8/2026       CCOTH_01698                 CALIFORNIA NATIONAL GUARD - SAN    28312 - F INDUSTRIAL BLVD.
           BILLFINANCING LOAN AGREEMENT                                                          RAFAEL ARMORY                      HAYWARD, CA 94545

2. 857     GENERAL OFF-BILL AND ON-                  9/30/2022       CCOTH_01911                 CALIFORNIA NATIONAL GUARD - SANTA 28312 -F INDUSTRIAL BLVD.
           BILLFINANCING LOAN AGREEMENT                                                          ROSA ARMORY                       HAYWARD, CA 94545

2. 858     GENERAL OFF-BILL AND ON-                  10/3/2022       CCOTH_01715                 CALIFORNIA NATIONAL GUARD -        28312 F INDUSTRIAL BLVD
           BILLFINANCING LOAN AGREEMENT                                                          STOCKTON AASF ARMORY
                                                                                                                                    HAYWARD, CA 94545

2. 859     GENERAL OFF-BILL AND ON-                  1/28/2021       CCOTH_01714                 CALIFORNIA NATIONAL GUARD -        28312 -F INDUSTRIAL BLVD.
           BILLFINANCING LOAN AGREEMENT                                                          STOCKTON ARMORY
                                                                                                                                    HAYWARD, CA 94545

2. 860     GENERAL OFF-BILL AND ON-                  12/3/2020       CCOTH_01716                 CALIFORNIA NATIONAL GUARD -        28312 INDUSTRIAL BLVD. SUITE F
           BILLFINANCING LOAN AGREEMENT                                                          STOCKTON CSMS ARMORY
                                                                                                                                    HAYWARD, CA 94545

2. 861     GENERAL OFF-BILL AND ON-                  10/10/2021      CCOTH_01889                 CALIFORNIA NATIONAL GUARD -        28312 -F INDUSTRIAL BLVD.
           BILLFINANCING LOAN AGREEMENT                                                          VALLEJO ARMORY                     HAYWARD, CA 94545

2. 862     GENERAL OFF-BILL AND ON-                  5/30/2021       CCOTH_02392                 CALIFORNIA NATIONAL GUARD -        28312 F INDUSTRIAL BLVD
           BILLFINANCING LOAN AGREEMENT                                                          WALNUT CREEK                       ***OVERNIGHT DELIVERY***
                                                                                                                                    HAYWARD, CA 94545

                                                                      Page 100 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 101
                                                                                of 649
Pacific Gas and Electric Company                                                                                                    Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                 Address
                                                    or Remaining
                                                        Term


2. 863     GENERAL OFF-BILL AND ON-                  9/29/2021       CCOTH_01701                 CALIFORNIA NATIONAL GUARD - YUBA    28312 INDUSTRIAL BLVD., SUITE F
           BILLFINANCING LOAN AGREEMENT                                                          CITY
                                                                                                                                     HAYWARD, CA 94545

2. 864     GENERAL OFF-BILL AND ON-                  12/27/2026      CCOTH_02403                 CALIFORNIA STATE PARKS SANTA        27611 LA PAZ RD, SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                          CRUZ DISTRICT                       LAGUNA NIGUEL, CA 92677

2. 865     DEEP ROOT IRRIGATION ASSESSMENT           12/31/2018      CCOTH_03784                 CALIFORNIA STATE UNIVERSITY         4910 NORTH CHESTNUT AVENUE
           ET PROJECT                                                                            (FRESNO)                            FRESNO, CA 93726

2. 866     GENERAL OFF-BILL AND ON-                  1/27/2026       CCOTH_02261                 CALIFORNIA STATE UNIVERSITY         1918 H STREET, 2ND FLOOR
           BILLFINANCING LOAN AGREEMENT                                                          BAKERSFIELD                         BAKERSFIELD, CA

2. 867     UNIVERSITY OF                             Not Stated      CCOTH_03641                 CALIFORNIA STATE UNIVERSITY         200 MARITIME ACADEMY
           CALIFORNIA/CALIFORNIA STATE                                                           MARITIME                            VALLEJO, CA 94595
           UNIVERSITY - CUSTOMIZED RETROFIT

2. 868     STATE OF CALIFORNIA - SAVINGS BY          Not Stated      CCOTH_03627                 CALIFORNIA STATE UNIVERSITY         100 CAMPUS CENTER
           DESIGN WHOLE BUILDING                                                                 MONTEREY BAY                        SEASIDE, CA 93955

2. 869     UNIVERSITY OF                             Not Stated      CCOTH_03672                 CALIFORNIA STATE UNIVERSITY         100 CAMPUS CENTER
           CALIFORNIA/CALIFORNIA STATE                                                           MONTEREY BAY                        SEASIDE, CA 93955
           UNIVERSITY - SBD WHOLE BUILDING

2. 870     UNIVERSITY OF                             Not Stated      CCOTH_03633                 CALIFORNIA STATE UNIVERSITY OF      2351 E BARSTOW AVE
           CALIFORNIA/CALIFORNIA STATE                                                           FRESNO                              FRESNO, CA 93740
           UNIVERSITY - CUSTOMIZED RETROFIT

2. 871     AGRICULTURAL PUMPING EFFICIENCY           12/31/2019      CCOTH_03771                 CALIFORNIA STATE UNIVERSITY,        4910 NORTH CHESTNUT AVENUE
           (APEP) PROGRAM- EXPENSES                                                              FRESNO FOUNDAATION                  FRESNO, CA 93726

2. 872     IRRIGATION TECHNOLOGY AND                 12/31/2019      CCOTH_03770                 CALIFORNIA STATE UNIVERSITY,        5370 NORTH CHESTNUT AVENUE
           AGRICULTURAL PUMPING EFFICIENCY                                                       FRESNO FOUNDAATION                  FRESNO, CA 93726
           (APEP) PROGRAM

2. 873     SERVICE AGREEMENT                         Not Stated      CCCRSOT_000                 CALIFORNIA WASTE RECOVERY           CALIFORNIA WASTE RECOVERY
                                                                         28                                                          SYSTEMS
                                                                                                                                     175 ENTERPRISE COURT STE A
                                                                                                                                     GALT, CA 95632



                                                                      Page 101 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                 Page 102
                                                                                of 649
Pacific Gas and Electric Company                                                                                              Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                            Address
                                                    or Remaining
                                                        Term


2. 874     FIRE SERVICE                              Not Stated      CCCRSOT_000                 CALIFORNIA WATER SERVICE      CALIFORNIA WATER SERVICE CO
                                                                         17                                                    3725 SOUTH H ST
                                                                                                                               BAKERSFIELD, CA

2. 875     WATER AGREEMENT                           Not Stated      CCCRSOT_000                 CALIFORNIA WATER SERVICE      CALIFORNIA WATER SERVICE CO
                                                                         32                                                    2222 DR ML KING JR PKY
                                                                                                                               CHICO, CA 95928

2. 876     WATER AGREEMENT                           Not Stated      CCCRSOT_000                 CALIFORNIA WATER SERVICE      CALIFORNIA WATER SERVICE CO
                                                                         59                                                    201 S 1ST ST
                                                                                                                               DIXON, CA 95620

2. 877     WATER AGREEMENT                           Not Stated      CCCRSOT_001                 CALIFORNIA WATER SERVICE      CALIFORNIA WATER SERVICE CO
                                                                         07                                                    195 SOUTH N ST
                                                                                                                               LIVERMORE, CA

2. 878     WATER AGREEMENT                           Not Stated      CCCRSOT_001                 CALIFORNIA WATER SERVICE      CALIFORNIA WATER SERVICE
                                                                         18                                                    COMPANY
                                                                                                                               131 D ST
                                                                                                                               MARYSVILLE, CA 95901

2. 879     WATER AGREEMENT                           Not Stated      CCCRSOT_001                 CALIFORNIA WATER SERVICE      CALIFORNIA WATER SERVICE
                                                                         49                                                    COMPANY
                                                                                                                               1905 HIGH ST
                                                                                                                               OROVILLE, CA

2. 880     WATER AGREEMENT                           Not Stated      CCCRSOT_001                 CALIFORNIA WATER SERVICE      CALIFORNIA WATER SERVICE CO.
                                                                         97                                                    254 COMMISSION ST.
                                                                                                                               SALINAS, CA

2. 881     WATER AGREEMENT                           Not Stated      CCCRSOT_002                 CALIFORNIA WATER SERVICE      CALIFORNIA WATER SERVICE CO
                                                                         01                                                    341 NORTH DELAWARE
                                                                                                                               SAN MATEO, CA 94401

2. 882     WATER AGREEMENT                           Not Stated      CCCRSOT_002                 CALIFORNIA WATER SERVICE      CALIFORNIA WATER SERVICE
                                                                         18                                                    COMPANY
                                                                                                                               2042 2ND ST
                                                                                                                               SELMA, CA




                                                                      Page 102 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35             Page 103
                                                                                of 649
Pacific Gas and Electric Company                                                                                                  Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 883     WATER/FIRE AGREEMENT                      Not Stated      CCCRSOT_000                 CALIFORNIA WATER SERVICE          CALIFORNIA WATER SERVICE CO
                                                                         50                                                        949 "B" ST
                                                                                                                                   LOS ALTOS, CA

2. 884     WATER/SEWER AGREEMENT                     Not Stated      CCCRSOT_000                 CALIFORNIA WATER SERVICE          CALIFORNIA WATER SERVICE
                                                                         98                                                        COMPANY
                                                                                                                                   620-H BROADWAY ST
                                                                                                                                   KING CITY, CA

2. 885     WATER/SEWER AGREEMENT                     Not Stated      CCCRSOT_002                 CALIFORNIA WATER SERVICE          CALIFORNIA WATER SERVICE CO
                                                                         28                                                        1550 W FREMONT ST
                                                                                                                                   STOCKTON, CA

2. 886     WATER/SEWER AGREEMENT                     Not Stated      CCCRSOT_002                 CALIFORNIA WATER SERVICE          CALIFORNIA WATER SERVICE CO
                                                                         69                                                        1070 W WOOD STREET STE A1
                                                                                                                                   WILLOWS, CA 95988

2. 887     GENERAL OFF-BILL AND ON-                   5/6/2021       CCOTH_02385                 CALLOWAY PARTNERS LLC - 9801      9530 HAGEMAN RD B#196
           BILLFINANCING LOAN AGREEMENT                                                          HAGEMAN RD BLDG A                 BAKERSFIELD, CA 93312

2. 888     GENERAL OFF-BILL AND ON-                  1/13/2019       CCOTH_01383                 CALMAT CO                         PO BOX 848905
           BILLFINANCING LOAN AGREEMENT                                                                                            LOS ANGELES, CA 90084

2. 889     OPERATION AND MAINTENANCE OF              3/20/2019       CCNRD_02842                 CALPINE CORP                      1200 R C LANE
           CUSTOMER-OWNED FACILITIES                                                                                               PITTSBURG, CA 94565

2. 890     PG&E PRODUCTS & SERVICES                  11/3/2023       CCNRD_02853                 CALPINE CORP                      1200 R C LANE
           AGREEMENT, PERMITTING CUSTOMER                                                                                          PITTSBURG, CA 94565
           TO ENTER INTO CONTRACTS WITH
           PG&E FOR VARIOUS CUSTOMER-
           OWNED FACILITY SERVICES

2. 891     PG&E PRODUCTS & SERVICES                  11/3/2023       CCNRD_02854                 CALPINE OPERATING SERVICES CO.    1200 R C LANE
           AGREEMENT, PERMITTING CUSTOMER                                                                                          PITTSBURG, CA 94565
           TO ENTER INTO CONTRACTS WITH
           PG&E FOR VARIOUS CUSTOMER-
           OWNED FACILITY SERVICES

2. 892     GENERAL OFF-BILL AND ON-                  7/11/2022       CCOTH_02694                 CALVARY CHAPEL SOLANO - 1180      10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          WESTERN ST                        SANTA FE SPRINGS, CA 90670


                                                                      Page 103 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                 Page 104
                                                                                of 649
Pacific Gas and Electric Company                                                                                                        Case Number:       19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                     Address
                                                    or Remaining
                                                        Term


2. 893     GENERAL OFF-BILL AND ON-                  12/14/2022      CCOTH_01278                 CAMARENA HEALTH - 201 S B ST            685 COCHRAN STREET, SUITE 200
           BILLFINANCING LOAN AGREEMENT                                                                                                  SIMI VALLEY, CA 93065

2. 894     GENERAL OFF-BILL AND ON-                   3/2/2023       CCOTH_01279                 CAMARENA HEALTH - 344 E 6TH ST          685 COCHRAN STREET, SUITE 200
           BILLFINANCING LOAN AGREEMENT                                                                                                  SIMI VALLEY, CA 93065

2. 895     GENERAL OFF-BILL AND ON-                  2/14/2023       CCOTH_01277                 CAMARENA HEALTH - 720 E ALMOND          685 COCHRAN STREET, SUITE 200
           BILLFINANCING LOAN AGREEMENT                                                          AVE STE 102                             SIMI VALLEY, CA 93065

2. 896     GENERAL OFF-BILL AND ON-                  2/23/2019       CCOTH_02653                 CAMARILLO BERRY FARMS, LP -             21935 ROSEHART WAY
           BILLFINANCING LOAN AGREEMENT                                                          ESPINOSA RD, LOT 5                      SALINAS, CA 93908

2. 897     GENERAL OFF-BILL AND ON-                  5/15/2020       CCOTH_01361                 CAM-BAS, INC. - 1854 N MILPITAS BLVD    877 CEDAR STREET, SUITE 240
           BILLFINANCING LOAN AGREEMENT                                                                                                  SANTA CRUZ, CA 95060

2. 898     GENERAL OFF-BILL AND ON-                  2/28/2021       CCOTH_01362                 CAM-BAS, INC. - 4101 CUSHING PKWY       877 CEDAR STREET, SUITE 240
           BILLFINANCING LOAN AGREEMENT                                                                                                  SANTA CRUZ, CA 95060

2. 899     GENERAL OFF-BILL AND ON-                  2/29/2020       CCOTH_01351                 CAM-BAS, INC. - 5122 STEVENS CREEK      877 CEDAR ST. SUITE 240
           BILLFINANCING LOAN AGREEMENT                                                          BLVD                                    SANTA CRUZ, CA 95060

2. 900     AGRICULTURAL CALCULATED                   Not Stated      CCOTH_00053                 CAMPBELL SOUP SUPPLY CO., LLC           PO BOX 31390
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                             STOCKTON, CA 95213
           PROGRAM

2. 901     AGRICULTURAL CALCULATED                   Not Stated      CCOTH_00027                 CAMPBELL SOUP SUPPLY COMPANY,           PO BOX 340
           INCENTIVES - CUSTOMIZED INCENTIVE                                                     LLC                                     DIXON, CA 95620
           PROGRAM

2. 902     SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03371                 CAMPUS POINTE COMMERCIAL, LP            265 E. RIVER PARK CIRCLE, STE
           BY DESIGN WHOLE BUILDING                                                                                                      150
                                                                                                                                         FRESNO, CA 93720

2. 903     CALIFORNIA COMMUNITY COLLEGES -           Not Stated      CCOTH_00088                 CANNON DESIGN                           225 N. MICHIGAN SUITE 1100
           SAVINGS BY DESIGN WHOLE BUILDING                                                                                              CHICAGO, IL 60657

2. 904     CONTRACT (LONG FORM)                      5/31/2021       CCNRD_01659                 CANUS CORPORATION                       20532 EL TORO ROAD
                                                                                                                                         SUITE 102
                                                                                                                                         MISSION VIEJO, CA 92692


                                                                      Page 104 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 105
                                                                                of 649
Pacific Gas and Electric Company                                                                                                    Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                 Address
                                                    or Remaining
                                                        Term


2. 905     GENERAL OFF-BILL AND ON-                  2/10/2020       CCOTH_02191                 CANYON CORNERS, LLC - 120 W         112 COMMERCIAL CT. #24
           BILLFINANCING LOAN AGREEMENT                                                          AMERICAN CANYON RD ST               SANTA ROSA, CA 95407

2. 906     GENERAL OFF-BILL AND ON-                  5/25/2021       CCOTH_02728                 CANYON CREEK PLAZA, A CALIFORNIA    1688 POMONA DRIVE
           BILLFINANCING LOAN AGREEMENT                                                          LP - 5601 SILVER                    SAN JOSE, CA 95110

2. 907     GENERAL OFF-BILL AND ON-                   2/8/2021       CCOTH_02535                 CANYON CREEK PLAZA, A CALIFORNIA    1688 POMONA DRIVE
           BILLFINANCING LOAN AGREEMENT                                                          LP - 5665 SILVER                    SAN JSOE, CA 95110

2. 908     GENERAL OFF-BILL AND ON-                  10/11/2022      CCOTH_02729                 CANYON CREEK PLAZA, A CALIFORNIA    1688 POMONA AVENUE
           BILLFINANCING LOAN AGREEMENT                                                          LP - 5665 SILVER                    SAN JOSE, CA 95110

2. 909     SERVICE AGREEMENT                         Not Stated      CCCRSOT_000                 CAPITAL COLLECTIONS LLC             CAPITAL COLLECTIONS LLC,
                                                                         29                                                          CAPITAL BILLING SERVICES,
                                                                                                                                     1221 VAN NESS 2ND FL
                                                                                                                                     FRESNO, CA 93721

2. 910     SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03421                 CAPITAL ENGINEERING                 11020 SUN CENTER DR. #100
           BY DESIGN WHOLE BUILDING                                                                                                  RANCHO CORDOVA, CA 95670

2. 911     SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03422                 CAPITAL ENGINEERING                 11020 SUN CENTER RD #100
           BY DESIGN WHOLE BUILDING                                                                                                  RANCHO CORDOVA, CA 95670

2. 912     GENERAL OFF-BILL AND ON-                  12/19/2020      CCOTH_01328                 CAPITAL SUBARU INC - 920 CAPITOL    2701 COTTAGE WAY SUITE 35
           BILLFINANCING LOAN AGREEMENT                                                          EXPRESSWAY AUTO M                   SACRMENTO, CA 95825

2. 913     GENERAL OFF-BILL AND ON-                   6/6/2020       CCOTH_01322                 CAPITOL DEL GRANDE INC - 755        2701 COTTAGE WAY SUITE 35
           BILLFINANCING LOAN AGREEMENT                                                          CAPITOL EXPRESSWAY AU               SACRAMENTO, CA 95825

2. 914     GENERAL OFF-BILL AND ON-                  9/15/2019       CCOTH_01323                 CAPITOL DEL GRANDE INC - 919        2701 COTTAGE WAY
           BILLFINANCING LOAN AGREEMENT                                                          CAPITOL EXPRESSWAY                  SACRARMENTO, CA 95825

2. 915     GENERAL OFF-BILL AND ON-                  1/13/2019       CCOTH_01513                 CAPITOL DEL GRANDE INC - 919        877 CEDAR STREET, SUITE 240
           BILLFINANCING LOAN AGREEMENT                                                          CAPITOL EXPRESSWAY AU               SANTA CRUZ, CA 95060

2. 916     GENERAL OFF-BILL AND ON-                  12/28/2020      CCOTH_01321                 CAPITOL DEL GRANDE INC - 980        2701 COTTAGE WAY
           BILLFINANCING LOAN AGREEMENT                                                          CAPITOL EXPRESSWAY                  SACRAMENTO, CA 95825




                                                                      Page 105 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                 Page 106
                                                                                of 649
Pacific Gas and Electric Company                                                                                                     Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 917     GENERAL OFF-BILL AND ON-                  1/15/2021       CCOTH_02636                 CAPITOL PREMIER INC - 735 CAPITOL    500 WEST HAMILTON AVE #112287
           BILLFINANCING LOAN AGREEMENT                                                          EXPRESSWAY AUTO                      CAMPBELL, CA 95008

2. 918     GENERAL OFF-BILL AND ON-                  8/26/2023       CCOTH_02368                 CAPPO MANAGEMENT XII INC - 1801      PO BOX 2109
           BILLFINANCING LOAN AGREEMENT                                                          GRASS VALLEY HWY                     TRAVERSE CITY, MI 49685

2. 919     ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00852                 CARA BAUTISTA-RAO                    3800 VALLEY VISTA ROAD
                                                                                                                                      WALNUT CREEK 94598

2. 920     ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00897                 CARA BAUTISTA-RAO                    301 NORTH SAN CARLOS DRIVE
                                                                                                                                      WALNUT CREEK 94598

2. 921     ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00983                 CARA BAUTISTA-RAO                    2055 TICE VALLEY BLVD.
                                                                                                                                      WALNUT CREEK 94595

2. 922     ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01031                 CARA BAUTISTA-RAO                    1625 LOCUST STREET
                                                                                                                                      WALNUT CREEK 94596

2. 923     ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01072                 CARA BAUTISTA-RAO                    1390 NORTH BROADWAY
                                                                                                                                      WALNUT CREEK 94596

2. 924     ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01114                 CARA BAUTISTA-RAO                    111 NORTH WIGET LANE
                                                                                                                                      WALNUT CREEK 94598

2. 925     GENERAL OFF-BILL AND ON-                  10/31/2021      CCOTH_01794                 CARLO ROCCA                          P.O. BOX 27
           BILLFINANCING LOAN AGREEMENT                                                                                               PT. REYES STATION, CA 94956

2. 926     ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00690                 CARLOS AGUILAR                       7390 BULLDOG WAY
                                                                                                                                      PALERMO 95968

2. 927     REAL PROPERTY LEASE - BURNEY              7/31/2019       CCCRSLS_000                 CARLTON FAMILY PARTNERSHIP           CARLTON FAMILY PARTNERSHIP,
           PROJECT OFFICE (LAND LEASE)                                   98                                                           CARLTON REAL ESTATE,
                                                                                                                                      37764 HWY 299
                                                                                                                                      BURNEY, CA 96013

2. 928     INDUSTRIAL CALCULATED INCENTIVES -        Not Stated      CCOTH_03265                 CARMEL AREA WASTEWATER DISTRICT 29600 HWY 1
           CUSTOMIZED INCENTIVE PROGRAM                                                                                          CARMEL, CA 93923




                                                                      Page 106 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                 Page 107
                                                                                of 649
Pacific Gas and Electric Company                                                                                                  Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                               Address
                                                    or Remaining
                                                        Term


2. 929     SERVICE AGREEMENT                         Not Stated      CCCRSOT_000                 CARMEL MARINA CORPORATION         CARMEL MARINA CORPORATION
                                                                         30                                                        11240 COMMERCIAL PKY
                                                                                                                                   CASTROVILLE, CA 95012

2. 930     ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00654                 CAROL TEABO                       890 EMBARCADERO DRIVE
                                                                                                                                   WEST SACRAMENTO 95605

2. 931     ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00521                 CAROL VOSSLER                     4929 SUMMIT VIEW CT
           ADVANCED HOME UPGRADE                                                                                                   EL DORADO, CA 95623
           (CUSTOM/CALCULATED)

2. 932     ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01130                 CAROLINE BEGG                     100 CENTURY CENTER COURT
                                                                                                                                   SAN JOSE 95112

2. 933     GENERAL OFF-BILL AND ON-                  3/31/2022       CCOTH_01789                 CARSON CREEK AT ELDORADO HILLS    12820 EARHART AVE.
           BILLFINANCING LOAN AGREEMENT                                                                                            AUBURN, CA 95602

2. 934     GENERAL OFF-BILL AND ON-                  10/18/2022      CCOTH_01790                 CARSON CREEK AT ELDORADO HILLS    12820 EARHART AVE
           BILLFINANCING LOAN AGREEMENT                                                                                            AUBURN, CA 95602

2. 935     GENERAL OFF-BILL AND ON-                  8/30/2022       CCOTH_01791                 CARSON CREEK AT ELDORADO HILLS    12820 EARHART AVE
           BILLFINANCING LOAN AGREEMENT                                                                                            AUBURN, CA 95603

2. 936     GENERAL OFF-BILL AND ON-                  8/31/2022       CCOTH_01805                 CARSON CREEK AT ELDORADO HILLS    12820 EARHART AVE
           BILLFINANCING LOAN AGREEMENT                                                                                            AUBURN, CA 95602

2. 937     GENERAL OFF-BILL AND ON-                  5/12/2018       CCOTH_01643                 CARSON INN INC.                   9530 HAGEMAN ROAD B#196
           BILLFINANCING LOAN AGREEMENT                                                                                            JASON SERON -PRESIDENT
                                                                                                                                   BAKERSFIELD, CA 93312

2. 938     REAL PROPERTY LEASE - RANCHO              6/30/2024       CCCRSLS_001                 CARTER VALIDUS OPERATING          CARTER VALIDUS OPERATING,
           CORDOVA DATA CENTER                                           07                                                        PARTNERSHIP II LLP, DCPII-SAC-
                                                                                                                                   3065 GOLD CAMP DRIVE LLC
                                                                                                                                   4890 W KENNEDY BLVD STE 650
                                                                                                                                   TAMPA, FL 33609

2. 939     ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00651                 CASEY PROHASKA                    900 OLD RIVER RD
                                                                                                                                   BAKERSFIELD 93311




                                                                      Page 107 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 108
                                                                                of 649
Pacific Gas and Electric Company                                                                                                Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                             Address
                                                    or Remaining
                                                        Term


2. 940     ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00667                 CASINO FAJARDO                  80 WEST CENTRAL AVE. MORGAN
                                                                                                                                 HILL, CA 95037
                                                                                                                                 MORGAN HILL 95037

2. 941     COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00307                 CASTINO RESTAURANT EQUIPMENT    50 UTILITY COURT
           DEEMED UPSTREAM / MIDSTREAM -                                                                                         ROHNERT PARK, CA 94928
           POINT-OF-SALE FOOD

2. 942     COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00308                 CASTINO RESTAURANT EQUIPMENT    50 UTILITY COURT
           DEEMED UPSTREAM / MIDSTREAM -                                                                                         ROHNERT PARK, CA 94928
           POINT-OF-SALE FOOD

2. 943     COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00309                 CASTINO RESTAURANT EQUIPMENT    50 UTILITY COURT
           DEEMED UPSTREAM / MIDSTREAM -                                                                                         ROHNERT PARK, CA 94928
           POINT-OF-SALE FOOD

2. 944     COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00310                 CASTINO RESTAURANT EQUIPMENT    50 UTILITY COURT
           DEEMED UPSTREAM / MIDSTREAM -                                                                                         ROHNERT PARK, CA 94928
           POINT-OF-SALE FOOD

2. 945     COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00311                 CASTINO RESTAURANT EQUIPMENT    50 UTILITY COURT
           DEEMED UPSTREAM / MIDSTREAM -                                                                                         ROHNERT PARK, CA 94928
           POINT-OF-SALE FOOD

2. 946     COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00312                 CASTINO RESTAURANT EQUIPMENT    50 UTILITY COURT
           DEEMED UPSTREAM / MIDSTREAM -                                                                                         ROHNERT PARK, CA 94928
           POINT-OF-SALE FOOD

2. 947     COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00313                 CASTINO RESTAURANT EQUIPMENT    50 UTILITY COURT
           DEEMED UPSTREAM / MIDSTREAM -                                                                                         ROHNERT PARK, CA 94928
           POINT-OF-SALE FOOD

2. 948     COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00314                 CASTINO RESTAURANT EQUIPMENT    50 UTILITY COURT
           DEEMED UPSTREAM / MIDSTREAM -                                                                                         ROHNERT PARK, CA 94928
           POINT-OF-SALE FOOD

2. 949     COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00315                 CASTINO RESTAURANT EQUIPMENT    50 UTILITY COURT
           DEEMED UPSTREAM / MIDSTREAM -                                                                                         ROHNERT PARK, CA 94928
           POINT-OF-SALE FOOD



                                                                      Page 108 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35             Page 109
                                                                                of 649
Pacific Gas and Electric Company                                                                                                       Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                    Address
                                                    or Remaining
                                                        Term


2. 950     COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00316                 CASTINO RESTAURANT EQUIPMENT           50 UTILITY COURT
           DEEMED UPSTREAM / MIDSTREAM -                                                                                                ROHNERT PARK, CA 94928
           POINT-OF-SALE FOOD

2. 951     GENERAL OFF-BILL AND ON-                  12/28/2018      CCOTH_02055                 CASTRO VILLAGE - 20211 PATIO DR        1725 RUTAN DRIVE
           BILLFINANCING LOAN AGREEMENT                                                                                                 LIVERMORE, CA 94551

2. 952     ENERGY UPGRADE CALIFORNIA -               Not Stated      CCOTH_00489                 CATALONIA TWO,L.P.                     22645 GRAND ST
           DEEMED - MULTIFAMILY UPGRADE                                                                                                 HAYWARD, CA 94541

2. 953     ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00757                 CATHERINE CHAN                         555 COUNTY CENTER
                                                                                                                                        REDWOOD CITY 94063

2. 954     GENERAL OFF-BILL AND ON-                  8/31/2022       CCOTH_01288                 CAVALIERI,KEVIN - 494 ROUSSEAU ST      4021 BERESFORD STREET
           BILLFINANCING LOAN AGREEMENT                                                                                                 SAN MATEO, CA 94403

2. 955     COMMERCIAL CALCULATED                     Not Stated      CCOTH_00155                 CBS BROADCASTING SF DBA KPIX-TV        855 BATTERY ST.
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                            SAN FRANCISOC, CA 94111
           PROGRAM

2. 956     INDUSTRIAL CALCULATED INCENTIVES -        Not Stated      CCOTH_03264                 CCM                                    1275 RITNER HWY
           CUSTOMIZED INCENTIVE PROGRAM                                                                                                 CARLISLE, PA 17013

2. 957     DEPARTMENT OF CORRECTIONS AND             Not Stated      CCOTH_00485                 CDCR                                   9838 OLD PLACERVILLE RD, SUITE
           REHABILITATION - CUSTOMIZED                                                                                                  B
           RETROFIT                                                                                                                     SACRAMENTO, CA 95827

2. 958     GENERAL OFF-BILL AND ON-                  5/14/2023       CCOTH_01846                 CDCR AVENAL STATE PRISON               8430 W BRYN MAWR AVENUE, 3RD
           BILLFINANCING LOAN AGREEMENT                                                                                                 FLOOR
                                                                                                                                        LOCKBOX # 2120 *UPS OVERNIGHT
                                                                                                                                        DELIVERY***
                                                                                                                                        CHICAGO, IL 60631

2. 959     GENERAL OFF-BILL AND ON-                  8/28/2021       CCOTH_02893                 CDI LIMITED LIABILITY COMPANY - 490    490 CHADBOURNE RD. STE C
           BILLFINANCING LOAN AGREEMENT                                                          CHADBOURNE RD                          FAIRFIELD, CA 94534

2. 960     GENERAL OFF-BILL AND ON-                  8/15/2023       CCOTH_03080                 CDI LIMITED LIABILITY COMPANY - 500    490 CHADBOURNE RD. STE. C
           BILLFINANCING LOAN AGREEMENT                                                          CHADBOURNE RD                          FAIRFIELD, CA 94534




                                                                      Page 109 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                  Page 110
                                                                                of 649
Pacific Gas and Electric Company                                                                                                    Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 961     GENERAL OFF-BILL AND ON-                  6/25/2019       CCOTH_02234                 CEDAR FIR PROPERTIES LLC            5312 N. CORNELIA AVE
           BILLFINANCING LOAN AGREEMENT                                                                                              FRESNO, CA 93722

2. 962     STATE OF CALIFORNIA - CUSTOMIZED          Not Stated      CCOTH_03616                 CEG SOLUTIONS LLC                   1005 N. GLEBE ROAD, SUITE 620
           RETROFIT                                                                                                                  ARLINGTON, VA 22201

2. 963     GENERAL OFF-BILL AND ON-                  11/24/2021      CCOTH_02532                 CELL CRETE CORP - 995 ZEPHYR AVE    1111 W EL CAMINO REAL SUITE 135
           BILLFINANCING LOAN AGREEMENT                                                                                              SUNNYVALE, CA 94087

2. 964     ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00562                 CEN-CAL AIR INC.                    821 4TH STREET
           ADVANCED HOME UPGRADE                                                                                                     LOS BANOS, CA 93635
           (CUSTOM/CALCULATED)

2. 965     GENERAL OFF-BILL AND ON-                  8/21/2019       CCOTH_02086                 CENTRAL CALIFORNIA NIKKEI           5312 N. CORELIA
           BILLFINANCING LOAN AGREEMENT                                                          FOUNDATION                          ANGELA HERNANDEZ
                                                                                                                                     FRESNO, CA 93722

2. 966     GENERAL OFF-BILL AND ON-                  1/18/2022       CCOTH_02140                 CENTRAL COAST STAR LLC - 1355 S     PO BOX 20430
           BILLFINANCING LOAN AGREEMENT                                                          BRADLEY                             SAN JOSE, CA 95160

2. 967     GENERAL OFF-BILL AND ON-                  1/13/2022       CCOTH_02141                 CENTRAL COAST STAR LLC - 1590 W     PO BOX 20430
           BILLFINANCING LOAN AGREEMENT                                                          BRANCH                              SAN JOSE, CA 95160

2. 968     GENERAL OFF-BILL AND ON-                  1/30/2022       CCOTH_01831                 CENTRAL COAST STAR LLC - 195 N      PO BOX 20430
           BILLFINANCING LOAN AGREEMENT                                                          SANTA ROSA                          SAN JOSE, CA 95160

2. 969     GENERAL OFF-BILL AND ON-                  1/13/2022       CCOTH_01832                 CENTRAL COAST STAR LLC - 208 E      PO BOX 20430
           BILLFINANCING LOAN AGREEMENT                                                          HIGHWAY 246                         SAN JOSE, CA 95160

2. 970     GENERAL OFF-BILL AND ON-                  1/13/2022       CCOTH_01833                 CENTRAL COAST STAR LLC - 2185 S     PO BOX 20430
           BILLFINANCING LOAN AGREEMENT                                                          BROADWAY                            SAN JOSE, CA 95160

2. 971     GENERAL OFF-BILL AND ON-                  1/18/2022       CCOTH_01834                 CENTRAL COAST STAR LLC - 2201       PO BOX 20430
           BILLFINANCING LOAN AGREEMENT                                                          THEATER DR                          SAN JOSE, CA 95160

2. 972     GENERAL OFF-BILL AND ON-                  1/30/2022       CCOTH_01817                 CENTRAL COAST STAR LLC - 2725       PO BOX 20430
           BILLFINANCING LOAN AGREEMENT                                                          BLACK OAK DR                        SAN JOSE, CA 95160




                                                                      Page 110 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 111
                                                                                of 649
Pacific Gas and Electric Company                                                                                                       Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                 Address
                                                     or Remaining
                                                         Term


2. 973     GENERAL OFF-BILL AND ON-                    1/18/2022        CCOTH_01818                 CENTRAL COAST STAR LLC - 3980       PO BOX 20430
           BILLFINANCING LOAN AGREEMENT                                                             BROAD ST                            SAN JOSE, CA 95160

2. 974     GENERAL OFF-BILL AND ON-                    2/10/2022        CCOTH_01819                 CENTRAL COAST STAR LLC - 510 W      PO BOX 20430
           BILLFINANCING LOAN AGREEMENT                                                             TEFFT ST                            SAN JOSE, CA 95160

2. 975     GENERAL OFF-BILL AND ON-                    1/30/2022        CCOTH_01824                 CENTRAL COAST STAR LLC - 7085 EL    PO BOX 20430
           BILLFINANCING LOAN AGREEMENT                                                             CAMINO REAL                         SAN JOSE, CA 95160

2. 976     REAL PROPERTY LEASE - MODESTO               3/31/2027        CCCRSLS_000                 CENTRAL VALLEY ASSOCIATES           CENTRAL VALLEY ASSOCIATES
           CSO                                                              49                                                          2222 E SEVENTEETH ST
                                                                                                                                        SANTA ANA, CA 92705

2. 977     SERVICE AGREEMENT                          Not Stated        CCCRSOT_000                 CENTRAL VALLEY WASTE                USA WASTE OF CALIFORNIA,
                                                                            31                                                          CENTRAL VALLEY WASTE
                                                                                                                                        SERVICE INC
                                                                                                                                        LOS ANGELES, CA

2. 978     LICENSE FOR INDIVIDUAL SITE             7/13/2024, unless    CCNRD_00384                 CENTRAL WIRELESS PARTNERSHIP        ATTN: GENERAL MANAGER
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   3781 N. PALM
           RESTATED MASTER LICENSE                                                                                                      FRESNO, CA 93704
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH CENTRAL
           WIRELESS PARTNERSHIP, DATED JULY
           14, 1999

2. 979     LICENSE FOR INDIVIDUAL SITE             7/13/2024, unless    CCNRD_00385                 CENTRAL WIRELESS PARTNERSHIP        ATTN: GENERAL MANAGER
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   3781 N. PALM
           RESTATED MASTER LICENSE                                                                                                      FRESNO, CA 93704
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH CENTRAL
           WIRELESS PARTNERSHIP, DATED JULY
           14, 1999

2. 980     MASTER AGREEMENT FOR ISSUANCE               7/13/2024        CCNRD_00011                 CENTRAL WIRELESS PARTNERSHIP        ATTN: GENERAL MANAGER
           OF LICENSES TO                                                                                                               3781 N. PALM
           TELECOMMUNICATIONS CUSTOMER                                                                                                  FRESNO, CA 93704
           FOR ATTACHMENT OF ANTENNAS AND
           RELATED EQUIPMENT

2. 981     AGREEMENT                                   5/31/2053        CCNRD_01666                 CENTURY LINK                        1025 EL DORADO BLVD
                                                                                                                                        BROOMFIELD, CO 80021
                                                                         Page 111 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35                  Page 112
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                   Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 982     CONDUIT ROUTE LICENSE AGREEMENT            8/5/2023       CCNRD_01661                 CENTURY LINK                       1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 983     CONDUIT ROUTE LICENSE AGREEMENT            9/5/2026       CCNRD_01663                 CENTURY LINK                       1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 984     INTERCITY AND METRO IRU AGREEMENT         2/19/2034       CCNRD_01664                 CENTURY LINK                       1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 985     MASTER LICENSE AGREEMENT FOR              9/24/2023       CCNRD_01660                 CENTURY LINK                       1025 EL DORADO BLVD
           OPTICAL FIBER USE                                                                                                        BROOMFIELD, CO 80021

2. 986     OPTICAL FIBER INSTALLATION AND IRU        5/31/2053       CCNRD_01662                 CENTURY LINK                       1025 EL DORADO BLVD
           AGREEMENT                                                                                                                BROOMFIELD, CO 80021

2. 987     OPTICAL FIBER INSTALLATION AND IRU        3/21/2044       CCNRD_01665                 CENTURY LINK                       1025 EL DORADO BLVD
           AGREEMENT                                                                                                                BROOMFIELD, CO 80021

2. 988     GENERAL OFF-BILL AND ON-                   6/9/2021       CCOTH_02495                 CENTURY PLAZA CORP - 4405          1800 WILLOW PASS CT
           BILLFINANCING LOAN AGREEMENT                                                          CENTURY BLVD                       CONCORD, CA 94520

2. 989     GENERAL OFF-BILL AND ON-                   2/7/2021       CCOTH_01254                 CENTURY PLAZA DEVELOPMENT          1800 WILLOW PASS CT
           BILLFINANCING LOAN AGREEMENT                                                          CORP - 4302 DELTA GATEWA           CONCORD, CA 94520

2. 990     GENERAL OFF-BILL AND ON-                   4/7/2021       CCOTH_01250                 CENTURY PLAZA DEVELOPMENT          1800 WILLOW PASS CT
           BILLFINANCING LOAN AGREEMENT                                                          CORP - 4505 CENTURY BLVD           CONCORD, CA 94520

2. 991     GENERAL OFF-BILL AND ON-                  5/12/2022       CCOTH_01555                 CENTURY VISION DEVELOPERS INC -    6750 FOLSOM BLVD, SUITE 224
           BILLFINANCING LOAN AGREEMENT                                                          4051 ALVIS CT HSE                  SACRAMENTO, CA 95819

2. 992     ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01675                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 993     ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01676                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 994     ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01677                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021



                                                                      Page 112 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 113
                                                                                of 649
Pacific Gas and Electric Company                                                                                                   Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 995     ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01678                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 996     ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01679                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 997     ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01680                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 998     ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01681                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 999     ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01682                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1000    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01683                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1001    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01684                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1002    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01685                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1003    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01686                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1004    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01687                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1005    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01688                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1006    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01689                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1007    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01690                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021



                                                                      Page 113 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 114
                                                                                of 649
Pacific Gas and Electric Company                                                                                                   Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 1008    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01691                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1009    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01692                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1010    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01693                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1011    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01694                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1012    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01695                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1013    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01696                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1014    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01697                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1015    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01698                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1016    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01699                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1017    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01700                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1018    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01701                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1019    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01702                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1020    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01703                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021



                                                                      Page 114 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 115
                                                                                of 649
Pacific Gas and Electric Company                                                                                                   Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 1021    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01704                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1022    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01705                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1023    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01706                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1024    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01707                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1025    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01708                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1026    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01709                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1027    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01710                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1028    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01711                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1029    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01712                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1030    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01713                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1031    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01714                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1032    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01715                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1033    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01716                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021



                                                                      Page 115 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 116
                                                                                of 649
Pacific Gas and Electric Company                                                                                                   Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 1034    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01717                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1035    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01718                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1036    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01719                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1037    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01720                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1038    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01721                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1039    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01722                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1040    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01723                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1041    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01724                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1042    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01725                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1043    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01726                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1044    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01727                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1045    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01728                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1046    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01729                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021



                                                                      Page 116 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 117
                                                                                of 649
Pacific Gas and Electric Company                                                                                                   Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 1047    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01730                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1048    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01731                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1049    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01732                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1050    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01733                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1051    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01734                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1052    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01735                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1053    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01736                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1054    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01737                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1055    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01738                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1056    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01739                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1057    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01740                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1058    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01741                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1059    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01742                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021



                                                                      Page 117 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 118
                                                                                of 649
Pacific Gas and Electric Company                                                                                                   Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 1060    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01743                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1061    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01744                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1062    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01745                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1063    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01746                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1064    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01747                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1065    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01748                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1066    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01749                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1067    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01750                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1068    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01751                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1069    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01752                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1070    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01753                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1071    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01754                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1072    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01755                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021



                                                                      Page 118 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 119
                                                                                of 649
Pacific Gas and Electric Company                                                                                                   Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 1073    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01756                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1074    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01757                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1075    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01758                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1076    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01759                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1077    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01760                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1078    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01761                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1079    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01762                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1080    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01763                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1081    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01764                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1082    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01765                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1083    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01766                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1084    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01767                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1085    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01768                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021



                                                                      Page 119 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 120
                                                                                of 649
Pacific Gas and Electric Company                                                                                                   Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 1086    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01769                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1087    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01770                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1088    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01771                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1089    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01772                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1090    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01773                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1091    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01774                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1092    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01775                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1093    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01776                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1094    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01777                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1095    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01778                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1096    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01779                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1097    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01780                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1098    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01781                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021



                                                                      Page 120 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 121
                                                                                of 649
Pacific Gas and Electric Company                                                                                                   Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 1099    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01782                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1100    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01783                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1101    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01784                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1102    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01785                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1103    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01786                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1104    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01787                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1105    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01788                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1106    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01789                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1107    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01790                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1108    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01791                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1109    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01792                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1110    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01793                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1111    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01794                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021



                                                                      Page 121 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 122
                                                                                of 649
Pacific Gas and Electric Company                                                                                                   Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 1112    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01795                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1113    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01796                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1114    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01797                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1115    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01798                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1116    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01799                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1117    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01800                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1118    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01801                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1119    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01802                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1120    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01803                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1121    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01804                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1122    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01805                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1123    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01806                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1124    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01807                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021



                                                                      Page 122 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 123
                                                                                of 649
Pacific Gas and Electric Company                                                                                                   Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 1125    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01808                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1126    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01809                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1127    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01810                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1128    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01811                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1129    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01812                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1130    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01813                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1131    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01814                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1132    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01815                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1133    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01816                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1134    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01817                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1135    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01818                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1136    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01819                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1137    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01820                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021



                                                                      Page 123 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 124
                                                                                of 649
Pacific Gas and Electric Company                                                                                                   Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 1138    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01821                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1139    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01822                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1140    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01823                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1141    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01824                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1142    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01825                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1143    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01826                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1144    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01827                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1145    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01828                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1146    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01829                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1147    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01830                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1148    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01831                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1149    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01832                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1150    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01833                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021



                                                                      Page 124 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 125
                                                                                of 649
Pacific Gas and Electric Company                                                                                                   Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 1151    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01834                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1152    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01835                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1153    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01836                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1154    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01837                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1155    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01838                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1156    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01839                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1157    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01840                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1158    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01841                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1159    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01842                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1160    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01843                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1161    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01844                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1162    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01845                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1163    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01846                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021



                                                                      Page 125 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 126
                                                                                of 649
Pacific Gas and Electric Company                                                                                                   Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 1164    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01847                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1165    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01848                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1166    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01849                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1167    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01850                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1168    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01851                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1169    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01852                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1170    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01853                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1171    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01854                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1172    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01855                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1173    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01856                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1174    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01857                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1175    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01858                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1176    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01859                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021



                                                                      Page 126 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 127
                                                                                of 649
Pacific Gas and Electric Company                                                                                                   Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 1177    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01860                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1178    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01861                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1179    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01862                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1180    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01863                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1181    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01864                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1182    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01865                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1183    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01866                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1184    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01867                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1185    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01868                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1186    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01869                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1187    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01870                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1188    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01871                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1189    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01872                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021



                                                                      Page 127 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 128
                                                                                of 649
Pacific Gas and Electric Company                                                                                                   Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 1190    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01873                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1191    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01874                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1192    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01875                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1193    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01876                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1194    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01877                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1195    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01878                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1196    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01879                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1197    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01880                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1198    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01881                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1199    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01882                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1200    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01883                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1201    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01884                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1202    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01885                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021



                                                                      Page 128 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 129
                                                                                of 649
Pacific Gas and Electric Company                                                                                                   Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 1203    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01886                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1204    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01887                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1205    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01888                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1206    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01889                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1207    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01890                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1208    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01891                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1209    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01892                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1210    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01893                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1211    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01894                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1212    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01895                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1213    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01896                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1214    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01897                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1215    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01898                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021



                                                                      Page 129 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 130
                                                                                of 649
Pacific Gas and Electric Company                                                                                                   Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 1216    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01899                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1217    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01900                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1218    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01901                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1219    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01902                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1220    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01903                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1221    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01904                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1222    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01905                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1223    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01906                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1224    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01907                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1225    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01908                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1226    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01909                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1227    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01910                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1228    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01911                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021



                                                                      Page 130 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 131
                                                                                of 649
Pacific Gas and Electric Company                                                                                                   Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 1229    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01912                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1230    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01913                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1231    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01914                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1232    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01915                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1233    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01916                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1234    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01917                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1235    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01918                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1236    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01919                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1237    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01920                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1238    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01921                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1239    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01922                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1240    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01923                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1241    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01924                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021



                                                                      Page 131 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 132
                                                                                of 649
Pacific Gas and Electric Company                                                                                                   Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 1242    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01925                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1243    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01926                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1244    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01927                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1245    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01928                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1246    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01929                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1247    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01930                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1248    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01931                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1249    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01932                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1250    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01933                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1251    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01934                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1252    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01935                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1253    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01936                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1254    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01937                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021



                                                                      Page 132 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 133
                                                                                of 649
Pacific Gas and Electric Company                                                                                                   Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 1255    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01938                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1256    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01939                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1257    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01940                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1258    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01941                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1259    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01942                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1260    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01943                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1261    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01944                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1262    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01945                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1263    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01946                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1264    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01947                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1265    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01948                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1266    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01949                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1267    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01950                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021



                                                                      Page 133 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 134
                                                                                of 649
Pacific Gas and Electric Company                                                                                                   Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 1268    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01951                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1269    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01952                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1270    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01953                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1271    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01954                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1272    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01955                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1273    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01956                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1274    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01957                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1275    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01958                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1276    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01959                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1277    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01960                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1278    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01961                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1279    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01962                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1280    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01963                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021



                                                                      Page 134 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 135
                                                                                of 649
Pacific Gas and Electric Company                                                                                                   Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 1281    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01964                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1282    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01965                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1283    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01966                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1284    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01967                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1285    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01968                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1286    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01969                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1287    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01970                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1288    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01971                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1289    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01972                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1290    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01973                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1291    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01974                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1292    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01975                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1293    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01976                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021



                                                                      Page 135 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 136
                                                                                of 649
Pacific Gas and Electric Company                                                                                                   Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 1294    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01977                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1295    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01978                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1296    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01979                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1297    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01980                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1298    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01981                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1299    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01982                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1300    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01983                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1301    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01984                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1302    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01985                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1303    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01986                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1304    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01987                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1305    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01988                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1306    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01989                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021



                                                                      Page 136 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 137
                                                                                of 649
Pacific Gas and Electric Company                                                                                                   Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 1307    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01990                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1308    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01991                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1309    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01992                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1310    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01993                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1311    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01994                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1312    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01995                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1313    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01996                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1314    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01997                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1315    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01998                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1316    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_01999                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1317    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_02000                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1318    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_02001                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1319    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_02002                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021



                                                                      Page 137 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 138
                                                                                of 649
Pacific Gas and Electric Company                                                                                                   Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 1320    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_02003                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1321    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_02004                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1322    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_02005                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1323    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_02006                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1324    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_02007                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1325    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_02008                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1326    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_02009                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1327    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_02010                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1328    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_02011                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1329    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_02012                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1330    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_02013                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1331    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_02014                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1332    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_02015                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021



                                                                      Page 138 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 139
                                                                                of 649
Pacific Gas and Electric Company                                                                                                   Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 1333    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_02016                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1334    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_02017                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1335    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_02018                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1336    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_02019                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1337    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_02020                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1338    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_02021                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1339    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_02022                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1340    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_02023                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1341    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_02024                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1342    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_02025                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1343    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_02026                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1344    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_02027                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021

2. 1345    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_02028                 CENTURYLINK (IP NETWORKS, INC.)    1025 EL DORADO BLVD
                                                                                                                                    BROOMFIELD, CO 80021



                                                                      Page 139 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 140
                                                                                of 649
Pacific Gas and Electric Company                                                                                                     Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 1346    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_02029                 CENTURYLINK (IP NETWORKS, INC.)      1025 EL DORADO BLVD
                                                                                                                                      BROOMFIELD, CO 80021

2. 1347    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_02030                 CENTURYLINK (IP NETWORKS, INC.)      1025 EL DORADO BLVD
                                                                                                                                      BROOMFIELD, CO 80021

2. 1348    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_02031                 CENTURYLINK (IP NETWORKS, INC.)      1025 EL DORADO BLVD
                                                                                                                                      BROOMFIELD, CO 80021

2. 1349    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_02032                 CENTURYLINK (IP NETWORKS, INC.)      1025 EL DORADO BLVD
                                                                                                                                      BROOMFIELD, CO 80021

2. 1350    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_02033                 CENTURYLINK (IP NETWORKS, INC.)      1025 EL DORADO BLVD
                                                                                                                                      BROOMFIELD, CO 80021

2. 1351    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_02034                 CENTURYLINK (IP NETWORKS, INC.)      1025 EL DORADO BLVD
                                                                                                                                      BROOMFIELD, CO 80021

2. 1352    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_02035                 CENTURYLINK (IP NETWORKS, INC.)      1025 EL DORADO BLVD
                                                                                                                                      BROOMFIELD, CO 80021

2. 1353    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_02036                 CENTURYLINK (IP NETWORKS, INC.)      1025 EL DORADO BLVD
                                                                                                                                      BROOMFIELD, CO 80021

2. 1354    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_02037                 CENTURYLINK (IP NETWORKS, INC.)      1025 EL DORADO BLVD
                                                                                                                                      BROOMFIELD, CO 80021

2. 1355    ROUTE LICENSE AGREEMENT                   5/31/2053       CCNRD_02038                 CENTURYLINK (IP NETWORKS, INC.)      1025 EL DORADO BLVD
                                                                                                                                      BROOMFIELD, CO 80021

2. 1356    ROUTE LICENSE AGREEMENT                   3/21/2044       CCNRD_02039                 CENTURYLINK (WILTEL)                 1025 EL DORADO BLVD
                                                                                                                                      BROOMFIELD, CO 80021

2. 1357    ROUTE LICENSE AGREEMENT                   3/21/2044       CCNRD_02040                 CENTURYLINK (WILTEL/LEVEL 3)         1025 EL DORADO BLVD
                                                                                                                                      BROOMFIELD, CO 80021

2. 1358    GENERAL OFF-BILL AND ON-                  10/23/2019      CCOTH_02801                 CFR RINKENS, LLC - 2875 PRUNE AVE    10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                                                               SANTA FE SPRINGS, CA 90670



                                                                      Page 140 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                 Page 141
                                                                                of 649
Pacific Gas and Electric Company                                                                                                    Case Number:       19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                 Address
                                                    or Remaining
                                                        Term


2. 1359    GENERAL OFF-BILL AND ON-                  1/10/2023       CCOTH_02482                 CHABOT CANYON CLUB - 7040 CHABOT    10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          RD                                  SANTA FE SPRINGS, CA 90670

2. 1360    GENERAL OFF-BILL AND ON-                  7/25/2020       CCOTH_03218                 CHAHAL,GURBACHAN S - 1331           1111 W. EL CAMINO REAL, STE. 135
           BILLFINANCING LOAN AGREEMENT                                                          REDMOND AVE                         SUNNYVALVE, CA 94087

2. 1361    GENERAL OFF-BILL AND ON-                  11/22/2019      CCOTH_01816                 CHALLBERG,KEN                       1725 RUTAN DRIVE
           BILLFINANCING LOAN AGREEMENT                                                                                              LIVERMORE, CA 94551

2. 1362    GENERAL OFF-BILL AND ON-                   5/5/2019       CCOTH_02408                 CHALLBERG,KEN - 621 ALHAMBRA AVE    1725 RUTAN DRIVE
           BILLFINANCING LOAN AGREEMENT                                                                                              LIVERMORE, CA 94551

2. 1363    GENERAL OFF-BILL AND ON-                   4/8/2022       CCOTH_03049                 CHAND,ASHOK - 3128 WILLIAMS RD      10 HARRIS CT STE C-2
           BILLFINANCING LOAN AGREEMENT                                                                                              MONTEREY, CA 93940

2. 1364    GENERAL OFF-BILL AND ON-                  12/24/2018      CCOTH_01809                 CHANG K CHONG                       9530 HAGEMAN RD. B# 196
           BILLFINANCING LOAN AGREEMENT                                                                                              BAKERSFIELD, CA 93312

2. 1365    GENERAL OFF-BILL AND ON-                  10/18/2018      CCOTH_01860                 CHARANJIT JUTLA DBA TRACY BLVD      590 W LOCUST AVE, SUITE 103
           BILLFINANCING LOAN AGREEMENT                                                          CHEVRON                             RAYMOND COSEY, CFO
                                                                                                                                     FRESNO, CA 93650

2. 1366    TESTING SERVICES AGREEMENT TO             7/31/2019       CCNRD_02860                 CHARGEPOINT, INC.                   254 E HACIENDA AVENUE
           PROVIDE TESTING FACILITIES AND                                                                                            CAMPBELL, CA 95008
           POTENTIALLY HELP PERFORM TESTS
           ON NEWLY DEVELOPED HARDWARE.

2. 1367    ADR-RES                                   Not Stated      CCOTH_00017                 CHARIS CHAPMAN                      1132 S PARK CIRCLE DR
                                                                                                                                     FRESNO, CA 93727

2. 1368    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01131                 CHARLENE LARSON                     100 CALLIPPE CT
                                                                                                                                     BRISBANE 94005

2. 1369    GENERAL OFF-BILL AND ON-                  5/14/2020       CCOTH_01423                 CHARLES & ANN BAUM TRUST - 100      20451 GLASGOW DR
           BILLFINANCING LOAN AGREEMENT                                                          PROFESSIONAL CENTER                 SARATOGA, CA 95070

2. 1370    REAL PROPERTY LEASE - GAS M&C                MTM          CCCRSLS_000                 CHARLES D. REYNOLDS                 CHARLES D REYNOLDS
           WAREHOUSE                                                     47                                                          MODESTO, CA



                                                                      Page 141 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35               Page 142
                                                                                of 649
Pacific Gas and Electric Company                                                                                                    Case Number:       19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 1371    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00819                 CHARLIE OTT                         4210 TECHNOLOGY DRIVE
                                                                                                                                     FREMONT 94537

2. 1372    CHATWELL MEMBERSHIP                       12/31/2019      CCOTH_03815                 CHARTWELL                           CHARTWELL INC THE UTILITY
                                                                                                                                     INFORMATION SOURCE,
                                                                                                                                     2970 PEACHTREE RD NW STE 250
                                                                                                                                     ATLANTA, GA 30305

2. 1373    GENERAL OFF-BILL AND ON-                  12/22/2018      CCOTH_03053                 CHENG,DANIEL - 783 RIO DEL MAR      804 ESTATES DR STE 202
           BILLFINANCING LOAN AGREEMENT                                                          BLVD APT 2 BLDG HSE                 APTOS, CA 95003

2. 1374    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00979                 CHERYL GARCIA                       2121 S. EL CAMINO REAL
                                                                                                                                     SAN MATEO 94403

2. 1375    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00543                 CHERYL LETSON                       1370 N LUCERNE LN
           ADVANCED HOME UPGRADE                                                                                                     FRESNO, CA 93728
           (CUSTOM/CALCULATED)

2. 1376    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00617                 CHETAN KITARI                       846 TAMARACK LN
           ADVANCED HOME UPGRADE                                                                                                     SUNNYVALE, CA 94086
           (CUSTOM/CALCULATED)

2. 1377    GENERAL OFF-BILL AND ON-                   7/7/2021       CCOTH_02281                 CHIANG,PETER DBA NOVATOS DAYS       10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          INN                                 SANTA FE SPRINGS, CA 90670

2. 1378    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03345                 CHICO UNIFIED SCHOOL DISTRICT       2455 CARMICHAEL DRIVE
           BY DESIGN WHOLE BUILDING                                                                                                  CHICO, CA 95928

2. 1379    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03346                 CHICO UNIFIED SCHOOL DISTRICT       1163 E 7TH ST.
           BY DESIGN WHOLE BUILDING                                                                                                  CHICO, CA 95928

2. 1380    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03347                 CHICO UNIFIED SCHOOL DISTRICT       2455 CARMICHAEL DRIVE
           BY DESIGN WHOLE BUILDING                                                                                                  CHICO, CA 95928

2. 1381    GENERAL OFF-BILL AND ON-                   5/9/2021       CCOTH_02775                 CHING,LILY - 46831 WARM SPRINGS     1011 S PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          BLVD                                SANTA FE SPRINGS, CA 90670

2. 1382    REAL PROPERTY LEASE - REDDING GAS         6/30/2021       CCCRSLS_000                 CHIRSTOPHER CORRIGAN FAMILY         CHRISTOPHER CORRIGAN FAMILY
           OPS PROJECT OFFICE                                            58                      TRUST                               TRUST
                                                                                                                                     REDDING, CA

                                                                      Page 142 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 143
                                                                                of 649
Pacific Gas and Electric Company                                                                                                Case Number:        19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                              Address
                                                    or Remaining
                                                        Term


2. 1383    GENERAL OFF-BILL AND ON-                  9/13/2018       CCOTH_02218                 CHOICE FOODSERVICES             7770 PARDEE LANE, SUITE 150
           BILLFINANCING LOAN AGREEMENT                                                                                          OAKLAND, CA 94621

2. 1384    GENERAL OFF-BILL AND ON-                   5/7/2019       CCOTH_02763                 CHOICE FOODSERVICES - 1615      P.O. BOX 2061
           BILLFINANCING LOAN AGREEMENT                                                          REMUDA LN                       SAN JOSE, CA 95109

2. 1385    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00759                 CHRIS CANDY                     555 10TH STREET
                                                                                                                                 OAKLAND 94607

2. 1386    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01105                 CHRIS CANDY                     1201 PINE STREET
                                                                                                                                 OAKLAND 94607

2. 1387    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00762                 CHRIS FALK                      53 HERNDON AVENUE
                                                                                                                                 CLOVIS 93612

2. 1388    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00641                 CHRIS MCCONNICO                 980 RIVERSIDE PARKWAY
                                                                                                                                 WEST SACRAMENTO 95605

2. 1389    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00551                 CHRIS OTTO                      3505 N BIOLA AVE
           ADVANCED HOME UPGRADE                                                                                                 KERMAN, CA 93630
           (CUSTOM/CALCULATED)

2. 1390    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01048                 CHRIS PADUA                     1515 PACIFIC ST.
                                                                                                                                 UNION CITY 94587

2. 1391    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00974                 CHRIS SCHUMACHER                21 EXECUTIVE WAY
                                                                                                                                 NAPA 94558

2. 1392    GENERAL OFF-BILL AND ON-                  3/31/2020       CCOTH_01694                 CHRIS WILKINS                   PO BOX 5667
           BILLFINANCING LOAN AGREEMENT                                                                                          EUREKA, CA 95502

2. 1393    GENERAL OFF-BILL AND ON-                  12/30/2019      CCOTH_01655                 CHRISTIAN CHUN JEONG            27992 CAMINO CAPISTRANO,
           BILLFINANCING LOAN AGREEMENT                                                                                          SUITE A
                                                                                                                                 KURT WEAVER, COO
                                                                                                                                 LAGUNA NIGUEL, CA 92677

2. 1394    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00838                 CHRISTINA JAWORSKI              3990 ZANKER ROAD
                                                                                                                                 SAN JOSE 95143



                                                                      Page 143 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35               Page 144
                                                                                of 649
Pacific Gas and Electric Company                                                                                                     Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date       Contract ID    Co-Debtor Name                                 Address
                                                    or Remaining
                                                        Term


2. 1395    ENERGY UPGRADE CALIFORNIA                  Not Stated       CCOTH_00620                 CHRISTOPHER COOPER                 140 MENDOCINO DR
           ADVANCED HOME UPGRADE                                                                                                      UKIAH, CA 95482
           (CUSTOM/CALCULATED)

2. 1396    ELECTRIC VEHICLE CHARGE NETWORK            Not Stated       CCOTH_00989                 CHRISTOPHER MEEHAN                 2001 37TH AVE
                                                                                                                                      SAN FRANCISCO 94116

2. 1397    GENERAL OFF-BILL AND ON-                   6/24/2022        CCOTH_02044                 CHUN & LEE INC DBA R N MARKET      10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                                                               SANTA FE SPRINGS, CA 90670

2. 1398    LICENSE AGREEMENT FOR                      8/11/2019*       CCNRD_02873                 CIMCON LIGHTING                    600 TECHNOLOGY PARK DRIVE
           TRANSFORMER-RATED SMARTMETER              Automatically                                                                    SUITE 100
           SOCKET DESIGN DEVELOPED FOR A           renews until one                                                                   BILLERICA, MA 1821
           SMARTMETER TO PLUG INTO A               party requests to
           SMARTPOLE                                   terminate

2. 1399    GENERAL OFF-BILL AND ON-                   3/25/2019        CCOTH_01468                 CIRE MANAGEMENT COMPANY            382 TESCONI COURT
           BILLFINANCING LOAN AGREEMENT                                                                                               SANTA ROSA, CA 95401

2. 1400    COMMERCIAL CALCULATED                      Not Stated       CCOTH_00157                 CISCO SYSTEMS                      285 W. TASMAN DR. (SJC I/1)
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                          SAN JOSE, CA 95134
           PROGRAM

2. 1401    COMMERCIAL CALCULATED                      Not Stated       CCOTH_00158                 CISCO SYSTEMS                      285 W. TASMAN DR. (M/S SJC I/1)
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                          SAN JOSE, CA 95134
           PROGRAM

2. 1402    COMMERCIAL CALCULATED                      Not Stated       CCOTH_00167                 CISCO SYSTEMS                      285 W. TASMAN DR
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                          SAN JOSE, CA 95134
           PROGRAM

2. 1403    COMMERCIAL CALCULATED                      Not Stated       CCOTH_00132                 CISCO SYSTEMS INC.                 560 N MCCARTHY BLVD
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                          MILPITAS, CA 95035
           PROGRAM

2. 1404    COMMERCIAL CALCULATED                      Not Stated       CCOTH_00164                 CISCO SYSTEMS INC.                 285 W. TASMAN DR. (M/S SJC I/1)
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                          SAN JOSE, CA 95134
           PROGRAM




                                                                        Page 144 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907           Filed: 03/14/19 Entered: 03/14/19 23:07:35                  Page 145
                                                                                  of 649
Pacific Gas and Electric Company                                                                                                   Case Number:       19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                 Address
                                                    or Remaining
                                                        Term


2. 1405    COMMERCIAL CALCULATED                     Not Stated      CCOTH_00195                 CISCO SYSTEMS, INC                 10 W. TASMAN DR.
           INCENTIVES - CUSTOMIZED NEW                                                                                              SAN JOSE, CA 95134
           CONSTRUCTION

2. 1406    COMMERCIAL CALCULATED                     Not Stated      CCOTH_00156                 CISCO SYSTEMS, INC.                10 W. TASMAN DR.
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                        SAN JOSE, CA 95134
           PROGRAM

2. 1407    REAL PROPERTY LEASE - CITBANK             12/31/2025      CCCRSLS_001                 CITBANK (CUSTOMER #: 124148)       245 MARKET STREET
                                                                         21                                                         SAN FRANCISCO, CA 94105

2. 1408    ANNUAL FEES                               Not Stated      CCCRSOT_000                 CITY & COUNTY OF SAN FRANCISCO     CITY AND COUNTY OF SAN
                                                                         33                                                         FRANCISCO, DEPARTMENT OF
                                                                                                                                    PUBLIC WORKS, BUREAU OF
                                                                                                                                    STREET-USE AND MAPPING
                                                                                                                                    1155 MARKET ST 3RD FL
                                                                                                                                    SAN FRANCISCO, CA 94103

2. 1409    GENERAL OFF-BILL AND ON-                  2/16/2024       CCOTH_01512                 CITY OF AMERICAN CANYON - LA       245 MARKET STREET, MAIL CODE
           BILLFINANCING LOAN AGREEMENT                                                          VIGNE SUBDIVISION                  N10D
                                                                                                                                    SAN FRANCISCO, CA 94105

2. 1410    GENERAL OFF-BILL AND ON-                  5/26/2022       CCOTH_01896                 CITY OF ARCATA                     736 F ST
           BILLFINANCING LOAN AGREEMENT                                                                                             KAREN DIEMER, CITY MANAGER
                                                                                                                                    ARCATA, CA 95540

2. 1411    GENERAL OFF-BILL AND ON-                  9/25/2019       CCOTH_02517                 CITY OF ARVIN - 200 CAMPUS DR      200 CAMPUS DR.
           BILLFINANCING LOAN AGREEMENT                                                                                             ARVIN, CA 93203

2. 1412    INDUSTRIAL CALCULATED INCENTIVES -        Not Stated      CCOTH_03248                 CITY OF ATWATER                    470 AVIATOR DRIVE
           CUSTOMIZED INCENTIVE PROGRAM                                                                                             ATWATER, CA 95301

2. 1413    GENERAL OFF-BILL AND ON-                  2/29/2024       CCOTH_02400                 CITY OF ATWATER - STREETLIGHT      245 MARKET ST
           BILLFINANCING LOAN AGREEMENT                                                                                             MAIL CODE N1OD
                                                                                                                                    SAN FRANCISCO, CA 94105

2. 1414    REAL PROPERTY LEASE - AUBURN              7/31/1952       CCCRSLS_000                 CITY OF AUBURN                     CITY OF AUBURN
           REGIONAL OFFICE - 12789 EARHART                               02                                                         1225 LINCOLN WAY
           (PARCEL 2)                                                                                                               AUBURN, CA 95603



                                                                      Page 145 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                  Page 146
                                                                                of 649
Pacific Gas and Electric Company                                                                                                      Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                   Address
                                                    or Remaining
                                                        Term


2. 1415    REAL PROPERTY LEASE - AUBURN              7/31/1952       CCCRSLS_000                 CITY OF AUBURN                        CITY OF AUBURN
           REGIONAL OFFICE - 12840 BILL CLARK                            03                                                            1225 LINCOLN WAY
           (PARCEL 4)                                                                                                                  AUBURN, CA 95603

2. 1416    REAL PROPERTY LEASE - AUBURN              7/31/1952       CCCRSLS_000                 CITY OF AUBURN                        CITY OF AUBURN
           REGIONAL OFFICE - 2301 LINDBERGH                              04                                                            1225 LINCOLN WAY
           (PARCEL 1)                                                                                                                  AUBURN, CA 95603

2. 1417    REAL PROPERTY LEASE - AUBURN              7/31/1952       CCCRSLS_000                 CITY OF AUBURN                        CITY OF AUBURN
           REGIONAL OFFICE - WILBUR/EARHART                              05                                                            1225 LINCOLN WAY
           (PARCEL 5)                                                                                                                  AUBURN, CA 95603

2. 1418    GENERAL OFF-BILL AND ON-                  8/23/2022       CCOTH_01624                 CITY OF BAKERSFIELD                   1600 TRUXTUN AVE.
           BILLFINANCING LOAN AGREEMENT                                                                                                BAKERSFIELD, CA 93301

2. 1419    GENERAL OFF-BILL AND ON-                  4/10/2020       CCOTH_02084                 CITY OF BAKERSFIELD                   1600 TRUXTUN AVE.
           BILLFINANCING LOAN AGREEMENT                                                                                                BAKERSFIELD, CA 93301

2. 1420    LED STREET LIGHT REPLACEMENT              Not Stated      CCNRD_02785                 CITY OF BAKERSFIELD                   ATTN: SEAN CACAL
                                                                                                                                       4101 TRUXTUN AVENUE
                                                                                                                                       BAKERSFIELD, CA 93311

2. 1421    TUNRKEY SERVICES                          3/21/2021       CCNRD_02784                 CITY OF BAKERSFIELD                   ATTN: SEAN CACAL
                                                                                                                                       4101 TRUXTUN AVENUE
                                                                                                                                       BAKERSFIELD, CA 93311

2. 1422    GENERAL OFF-BILL AND ON-                  1/31/2020       CCOTH_02078                 CITY OF BAKERSFIELD - 1601 TRUXTUN    3439 LANDCO DR., STE A
           BILLFINANCING LOAN AGREEMENT                                                          AVE                                   BAKERSFIELD, CA 93308

2. 1423    GENERAL OFF-BILL AND ON-                  6/30/2024       CCOTH_02009                 CITY OF BELMONT - CITY HALL           ONE TWIN PINES LANE, SUITE 320
           BILLFINANCING LOAN AGREEMENT                                                                                                BELMONT, CA 94002

2. 1424    GENERAL OFF-BILL AND ON-                  12/29/2022      CCOTH_01379                 CITY OF BELMONT - LIBRARY             1 TWIN PINES LANE, SUITE 320
           BILLFINANCING LOAN AGREEMENT                                                                                                BELMONT, CA 94002

2. 1425    GENERAL OFF-BILL AND ON-                   6/2/2022       CCOTH_01836                 CITY OF BELMONT - STREETLIGHTS        ONE TWIN PINES LANE #320
           BILLFINANCING LOAN AGREEMENT                                                                                                BELMONT, CA 94002

2. 1426    GENERAL OFF-BILL AND ON-                  7/26/2024       CCOTH_01769                 CITY OF BRISBANE                      50 PARK LANE
           BILLFINANCING LOAN AGREEMENT                                                                                                BRISBANE, CA 94005

                                                                      Page 146 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 147
                                                                                of 649
Pacific Gas and Electric Company                                                                                                    Case Number:        19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                 Address
                                                    or Remaining
                                                        Term


2. 1427    GENERAL OFF-BILL AND ON-                  8/14/2021       CCOTH_02979                 CITY OF BRISBANE                    50 PARK PLACE
           BILLFINANCING LOAN AGREEMENT                                                                                              BRISBANE, CA 94005

2. 1428    GENERAL OFF-BILL AND ON-                  9/11/2020       CCOTH_02164                 CITY OF CAMPBELL                    245 MARKET ST MCN 10D
           BILLFINANCING LOAN AGREEMENT                                                                                              SAN FRANCISCO, CA 94105

2. 1429    GENERAL OFF-BILL AND ON-                   3/7/2020       CCOTH_02246                 CITY OF CAMPBELL                    2051 COMMERCE AVENUE
           BILLFINANCING LOAN AGREEMENT                                                                                              CONCORD, CA 94520

2. 1430    GENERAL OFF-BILL AND ON-                   8/9/2021       CCOTH_02795                 CITY OF CAMPBELL - STREET LIGHTS    70 N. FIRST STREET
           BILLFINANCING LOAN AGREEMENT                                                          PROJECT                             **UPS OVERNIGHT DELIVERY**
                                                                                                                                     CAMPBELL, CA 95008

2. 1431    GENERAL OFF-BILL AND ON-                  1/30/2020       CCOTH_01392                 CITY OF CAPITOLA                    420 CAPITOLA AVE
           BILLFINANCING LOAN AGREEMENT                                                                                              CAPITOLA, CA

2. 1432    GENERAL OFF-BILL AND ON-                  7/10/2022       CCOTH_01594                 CITY OF CHOWCHILLA                  130 S. SECOND STREET
           BILLFINANCING LOAN AGREEMENT                                                                                              CHOWCHILLA, CA 93610

2. 1433    GENERAL OFF-BILL AND ON-                   7/7/2020       CCOTH_01743                 CITY OF CLOVIS                      1033 FIFTH STREET
           BILLFINANCING LOAN AGREEMENT                                                                                              CLOVIS, CA 93612

2. 1434    GENERAL OFF-BILL AND ON-                  2/27/2025       CCOTH_02272                 CITY OF CLOVIS                      1033 FIFTH ST
           BILLFINANCING LOAN AGREEMENT                                                                                              CLOVIS, CA 93612

2. 1435    GENERAL OFF-BILL AND ON-                  1/10/2022       CCOTH_02961                 CITY OF CLOVIS                      155 N SUNNYSIDE AVE
           BILLFINANCING LOAN AGREEMENT                                                                                              CLOVIS, CA

2. 1436    REAL PROPERTY LEASE - CLOVIS              7/24/2026       CCCRSLS_000                 CITY OF CLOVIS                      CITY OF CLOVIS
           TRAINING YARD AND CLASSROOM                                   20                                                          1033 FIFTH ST
           (ELECTRIC OPS)                                                                                                            CLOVIS, CA 93612

2. 1437    COMMERCIAL CALCULATED                     Not Stated      CCOTH_00108                 CITY OF CLOVIS - FINANCE            1033 FIFTH ST.
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                         CLOVIS, CA 93612
           PROGRAM

2. 1438    COMMERCIAL CALCULATED                     Not Stated      CCOTH_00109                 CITY OF CLOVIS - FINANCE            1033 FIFTH STREET
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                         CLOVIS, CA 93612
           PROGRAM


                                                                      Page 147 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 148
                                                                                of 649
Pacific Gas and Electric Company                                                                                                      Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                   Address
                                                    or Remaining
                                                        Term


2. 1439    GENERAL OFF-BILL AND ON-                   7/6/2019       CCOTH_02953                 CITY OF CLOVIS, POLICE AND FIRE       1033 FIFTH STREET
           BILLFINANCING LOAN AGREEMENT                                                          DEPT                                  CLOVIS, CA 93612

2. 1440    GENERAL OFF-BILL AND ON-                  12/27/2019      CCOTH_02159                 CITY OF COALINGA - (30500 JAYNE AVE) 155 W DURIAN AVE
           BILLFINANCING LOAN AGREEMENT                                                                                               COALINGA, CA 93210

2. 1441    COMMERCIAL CALCULATED                     Not Stated      CCOTH_00113                 CITY OF CUPERTINO                     10300 TORRE AVE
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                           CUPERTINO, CA 95014
           PROGRAM

2. 1442    LED STREET LIGHT REPLACEMENT              11/13/2022      CCNRD_02786                 CITY OF DALY CITY                     ATTN: JEFFREY FORNESI
                                                                                                                                       333 90TH STREET
                                                                                                                                       DALY CITY, CA 94015

2. 1443    GENERAL OFF-BILL AND ON-                  12/6/2020       CCOTH_01535                 CITY OF DALY CITY - STREET LIGHTS     245 MARKET ST
           BILLFINANCING LOAN AGREEMENT                                                                                                SAN FRANCISCO, CA 94105

2. 1444    GENERAL OFF-BILL AND ON-                  12/31/2021      CCOTH_01862                 CITY OF DINUBA                        245 MARKET STREET, MC N10D
           BILLFINANCING LOAN AGREEMENT                                                                                                DIANA MEJIA-CHARTRAND,
                                                                                                                                       PROJECT MANAGER
                                                                                                                                       SAN FRANCISCO, CA 94105

2. 1445    GENERAL OFF-BILL AND ON-                  7/18/2028       CCOTH_01268                 CITY OF DINUBA - 1088 E KAMM AVE      27611 LA PAZ RD, SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                                                                LAGUNA NIGUEL, CA 92677

2. 1446    GENERAL OFF-BILL AND ON-                  7/18/2028       CCOTH_01171                 CITY OF DINUBA - 1851 E KAMM AVE      27611 LA PAZ RD.
           BILLFINANCING LOAN AGREEMENT                                                                                                SUITE A2
                                                                                                                                       LAGUNA NIGUEL, CA 92677

2. 1447    GENERAL OFF-BILL AND ON-                  7/22/2027       CCOTH_03191                 CITY OF DINUBA - 201 N URUAPAN WAY    27611 LA PAZ RD, SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                                                                LAGUNA NIGUEL, CA 92677

2. 1448    GENERAL OFF-BILL AND ON-                  10/11/2023      CCOTH_02285                 CITY OF DINUBA - 496 E TULARE ST      27611 LA PAZ RD. SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                                                                LAGUNA NIGUEL, CA 92677

2. 1449    GENERAL OFF-BILL AND ON-                  2/23/2028       CCOTH_03164                 CITY OF DINUBA - 680 S ALTA AVE       27611 LA PAZ RD, SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                                                                LAGUNA NIGUEL, CA 92677

2. 1450    GENERAL OFF-BILL AND ON-                  1/16/2028       CCOTH_02275                 CITY OF DINUBA - ROOSEVELT PARK       27611 LA PAZ RD. SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                                                                LAGUNA NIGUEL, CA 92677

                                                                      Page 148 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                    Page 149
                                                                                of 649
Pacific Gas and Electric Company                                                                                                       Case Number:        19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                    Address
                                                    or Remaining
                                                        Term


2. 1451    GENERAL OFF-BILL AND ON-                  10/16/2027      CCOTH_02274                 CITY OF DINUBA - SENIOR CENTER         27611 LA PAZ RD. SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                                                                 LAGUNA NIGUEL, CA 92677

2. 1452    GENERAL OFF-BILL AND ON-                   3/8/2024       CCOTH_02966                 CITY OF DIXON - STREETLIGHT            245 MARKET ST
           BILLFINANCING LOAN AGREEMENT                                                                                                 MC N10D
                                                                                                                                        SAN FRANCISCO, CA 94105

2. 1453    GENERAL OFF-BILL AND ON-                   7/9/2021       CCOTH_01880                 CITY OF DOS PALOS - STREETLIGHTS       245 MARKET ST
           BILLFINANCING LOAN AGREEMENT                                                                                                 MAIL CODE: N10D
                                                                                                                                        SAN FRANCISCO, CA 94105

2. 1454    GENERAL OFF-BILL AND ON-                   8/9/2019       CCOTH_01695                 CITY OF EMERYVILLE                     28312 INDUSTRIAL BLVD STE F
           BILLFINANCING LOAN AGREEMENT                                                                                                 HAYWARD, CA 94545

2. 1455    GENERAL OFF-BILL AND ON-                   2/7/2026       CCOTH_02718                 CITY OF EMERYVILLE - 4321 SALEM ST     28312 INDUSTRIAL BLVD STE F
           BILLFINANCING LOAN AGREEMENT                                                                                                 HAYWARD, CA 94545

2. 1456    GENERAL OFF-BILL AND ON-                  5/16/2028       CCOTH_02519                 CITY OF EMERYVILLE - 6466 HOLLIS ST    28312 INDUSTRIAL BLVD STE F
           BILLFINANCING LOAN AGREEMENT                                                          UNIT PP                                HAYWARD, CA 94545

2. 1457    GENERAL OFF-BILL AND ON-                   6/6/2025       CCOTH_01892                 CITY OF FAIRFAX - STREETLIGHTS         245 MARKET ST, MAIL CODE N10D
           BILLFINANCING LOAN AGREEMENT                                                                                                 SAN FRANCISCO, CA 94105

2. 1458    GENERAL OFF-BILL AND ON-                   1/3/2023       CCOTH_01645                 CITY OF FORTUNA                        245 MARKET STREET, MCN10D
           BILLFINANCING LOAN AGREEMENT                                                                                                 SAN FRANCISCO, CA 94105

2. 1459    GENERAL OFF-BILL AND ON-                  11/3/2021       CCOTH_02106                 CITY OF FOSTER CITY                    610 FOSTER CITY BOULEVARD
           BILLFINANCING LOAN AGREEMENT                                                                                                 FOSTER CITY, CA

2. 1460    GENERAL OFF-BILL AND ON-                   6/4/2025       CCOTH_02160                 CITY OF FOSTER CITY                    610 FOSTER CITY BLVD.
           BILLFINANCING LOAN AGREEMENT                                                                                                 FOSTER CITY, CA 94404

2. 1461    GENERAL OFF-BILL AND ON-                   4/3/2021       CCOTH_01871                 CITY OF FOWLER                         128 S. 5TH ST.
           BILLFINANCING LOAN AGREEMENT                                                                                                 FOWLER, CA 93625

2. 1462    GENERAL OFF-BILL AND ON-                   6/9/2021       CCOTH_01797                 CITY OF FREMONT - STREETLIGHTS         3300 CAPITOL AVE
           BILLFINANCING LOAN AGREEMENT
                                                                                                                                        FREMONT, CA 94538



                                                                      Page 149 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 150
                                                                                of 649
Pacific Gas and Electric Company                                                                                                      Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                   Address
                                                    or Remaining
                                                        Term


2. 1463    LED STREET LIGHT REPLACEMENT              Not Stated      CCNRD_02782                 CITY OF FRESNO                        ATTN: ROBERT ANDERSEN
                                                                                                                                       2101 G STREET
                                                                                                                                       BUILDING C
                                                                                                                                       FRESNO, CA 93706

2. 1464    TURNKEY SERVICES                          11/14/2023      CCNRD_02781                 CITY OF FRESNO                        ATTN: SCOTT MOZIER
                                                                                                                                       2600 FRESNO STREET
                                                                                                                                       FRESNO, CA 93721

2. 1465    GENERAL OFF-BILL AND ON-                  9/18/2027       CCOTH_01771                 CITY OF FRESNO - 1077 VAN NESS AVE    10610 HUMBOLT ST
           BILLFINANCING LOAN AGREEMENT                                                          GARAGE #7                             LOS ALAMITOS, CA 90720

2. 1466    GENERAL OFF-BILL AND ON-                  1/18/2024       CCOTH_01770                 CITY OF FRESNO - PARKING GARAGE 8     10610 HUMBOLT ST
           BILLFINANCING LOAN AGREEMENT                                                                                                LOS ALAMITOS, CA 90720

2. 1467    GENERAL OFF-BILL AND ON-                  7/16/2024       CCOTH_01772                 CITY OF FRESNO - PARKING GARAGE 9     10610 HUMBOLT ST
           BILLFINANCING LOAN AGREEMENT                                                                                                LOS ALAMITOS, CA 90720

2. 1468    COMMERCIAL CALCULATED                     Not Stated      CCOTH_00126                 CITY OF FRESNO, AIRPORTS              4995 E CLINTON WAY
           INCENTIVES - CUSTOMIZED INCENTIVE                                                     DEPARTMENT                            FRESNO, CA 93727
           PROGRAM

2. 1469    GENERAL OFF-BILL AND ON-                   5/4/2027       CCOTH_01796                 CITY OF GILROY                        27611 LA PAZ ROAD, SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                                                                LAGUNA NIGUEL, CA 92677

2. 1470    GENERAL OFF-BILL AND ON-                   5/5/2023       CCOTH_03058                 CITY OF GILROY - 1851 CLUB DR         27611 LA PAZ RD, SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                                                                LAGUNA NIGUEL, CA 92677

2. 1471    GENERAL OFF-BILL AND ON-                  3/30/2028       CCOTH_02540                 CITY OF GILROY - 7370 ROSANNA ST      27611 LA PAZ RD. SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                                                                LAGUNA NIGUEL, CA 92677

2. 1472    GENERAL OFF-BILL AND ON-                   8/3/2022       CCOTH_01969                 CITY OF GILROY - CHRISTMAS HILL       27611 LA PAZ RD. SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                          PARK                                  LAGUNA NIGUEL, CA 92677

2. 1473    GENERAL OFF-BILL AND ON-                  12/10/2023      CCOTH_01838                 CITY OF GILROY - POLICE               27611 LA PAZ RD. SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                          DEPARTMENT                            LAGUNA NIGUEL, CA 92677

2. 1474    GENERAL OFF-BILL AND ON-                  7/15/2024       CCOTH_02267                 CITY OF GILROY- 5 PARKS               27611 LA PAZ RD, STE A2
           BILLFINANCING LOAN AGREEMENT                                                                                                LAGUNA NIGUEL, CA 92677


                                                                      Page 150 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                    Page 151
                                                                                of 649
Pacific Gas and Electric Company                                                                                                     Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 1475    GENERAL OFF-BILL AND ON-                   5/4/2027       CCOTH_02268                 CITY OF GILROY- LAS ANIMAS           27611 LA PAZ RD. SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                          VETERANS PARK                        LAGUNA NIGUEL, CA 92677

2. 1476    GENERAL OFF-BILL AND ON-                  11/17/2024      CCOTH_02252                 CITY OF GILROY- SAN YSIDRO PARK      27611 LA PAZ RD, SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                                                               LAGUNA NIGUEL, CA 92677

2. 1477    GENERAL OFF-BILL AND ON-                  10/4/2027       CCOTH_02243                 CITY OF GILROY- SENIOR CENTER        27611 LA PAZ RD, STE A2
           BILLFINANCING LOAN AGREEMENT                                                                                               LAGUNA NIGUEL, CA 92677

2. 1478    GENERAL OFF-BILL AND ON-                  2/28/2025       CCOTH_02253                 CITY OF GILROY- SPORTS PARK          27611 LA PAZ RD
           BILLFINANCING LOAN AGREEMENT                                                                                               SUITE A2
                                                                                                                                      LAGUNA NIGUEL, CA 92677

2. 1479    GENERAL OFF-BILL AND ON-                  10/4/2027       CCOTH_02251                 CITY OF GILROY- SUNRISE FIRE         27611 LA PAZ RD.
           BILLFINANCING LOAN AGREEMENT                                                          STATION                              SUITE A2
                                                                                                                                      LAGUNA NIGUEL, CA 92677

2. 1480    GENERAL OFF-BILL AND ON-                  10/4/2027       CCOTH_02270                 CITY OF GILROY- WHEELER              27611 LA PAZ RD, SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                          COMMUNITY CENTER                     LAGUNA NIGUEL, CA 92677

2. 1481    GENERAL OFF-BILL AND ON-                  9/17/2028       CCOTH_01235                 CITY OF GONZALES - 107 CENTENNIAL    27611 LA PAZ RD, SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                          DR                                   LAGUNA NIGUEL, CA 92677

2. 1482    GENERAL OFF-BILL AND ON-                  8/24/2028       CCOTH_03185                 CITY OF GONZALES - 109 4TH ST        27611 LA PAZ RD. SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                                                               LAGUNA NIGUEL, CA 92677

2. 1483    GENERAL OFF-BILL AND ON-                  8/13/2028       CCOTH_02625                 CITY OF GONZALES - 147 4TH ST        27611 LA PAZ RD. SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                                                               LAGUNA NIGUEL, CA 92677

2. 1484    GENERAL OFF-BILL AND ON-                   1/7/2029       CCOTH_01280                 CITY OF GONZALES - PUBLIC WORKS      27611 LA PAZ RD, SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                          DEPT                                 LAGUNA NIGUEL, CA 92677

2. 1485    MASTER SERVICES AGREEMENT                  5/8/2023       CCNRD_02797                 CITY OF GREENFIELD                   CITY OF GREENFIELD
           PERMITTING CUSTOMER TO ENTER                                                                                               599 EL CAMINO REAL
           INTO ENERGY EFFICIENCY CONTRACTS                                                                                           GREENFIELD, CA 93927
           (WORK ORDERS) WITH PG&E

2. 1486    GENERAL OFF-BILL AND ON-                  11/11/2021      CCOTH_01534                 CITY OF GUSTINE                      245 MARKET STREET ST. MAIL
           BILLFINANCING LOAN AGREEMENT                                                                                               CODE N10D
                                                                                                                                      SAN FRANCISCO, CA 94015

                                                                      Page 151 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                  Page 152
                                                                                of 649
Pacific Gas and Electric Company                                                                                                         Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                      Address
                                                    or Remaining
                                                        Term


2. 1487    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03383                 CITY OF HALF MOON BAY                    501 MAIN STREET
           BY DESIGN WHOLE BUILDING                                                                                                       HALF MOON BAY, CA 94019

2. 1488    GENERAL OFF-BILL AND ON-                   4/9/2019       CCOTH_01502                 CITY OF HAYWARD                          777 B ST.
           BILLFINANCING LOAN AGREEMENT                                                                                                   HAYWARD, CA 94541

2. 1489    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03384                 CITY OF HAYWARD                          777 B STREET
           BY DESIGN WHOLE BUILDING                                                                                                       HAYWARD, CA 94541

2. 1490    GENERAL OFF-BILL AND ON-                  5/13/2026       CCOTH_02226                 CITY OF HERCULES                         111 CIVIC DRIVE
           BILLFINANCING LOAN AGREEMENT                                                                                                   HERCULES, CA 94547

2. 1491    REAL PROPERTY LEASE - HOLLISTER           2/28/2020       CCCRSLS_000                 CITY OF HOLLISTER                        CITY OF HOLLISTER
           SERVICE CENTER ALLEY LEASE                                    36                                                               375 FIFTH ST
                                                                                                                                          HOLLISTER, CA 95023

2. 1492    GENERAL OFF-BILL AND ON-                  1/18/2019       CCOTH_02963                 CITY OF KERMAN                           850 S. MADERA AVE
           BILLFINANCING LOAN AGREEMENT                                                                                                   KERMAN, CA 93630

2. 1493    GENERAL OFF-BILL AND ON-                  12/19/2021      CCOTH_03023                 CITY OF KING CITY - 401 DIVISION ST #    325 AIRPORT RD.
           BILLFINANCING LOAN AGREEMENT                                                          1                                        KING CITY, CA 93930

2. 1494    GENERAL OFF-BILL AND ON-                  12/19/2019      CCOTH_02643                 CITY OF KING CITY - AIRPORT              325 AIRPORT RD
           BILLFINANCING LOAN AGREEMENT                                                                                                   KING CITY, CA 93930

2. 1495    GENERAL OFF-BILL AND ON-                  9/21/2021       CCOTH_02982                 CITY OF KING CITY - BEDFORD & SAN        325 AIRPORT RD
           BILLFINANCING LOAN AGREEMENT                                                          ANTONIO                                  KING CITY, CA 93930

2. 1496    GENERAL OFF-BILL AND ON-                  3/17/2027       CCOTH_01813                 CITY OF LINCOLN - STREETLIGHTS           245 MARKET STREET, MCN10D
           BILLFINANCING LOAN AGREEMENT                                                                                                   SAN FRANCISO, CA 94105

2. 1497    GENERAL OFF-BILL AND ON-                  10/8/2023       CCOTH_03177                 CITY OF LIVINGSTON - STREETLIGHTS        245 MARKET ST.
           BILLFINANCING LOAN AGREEMENT                                                                                                   MAIL CODE: N10D
                                                                                                                                          SAN FRANCISCO, CA 94105

2. 1498    GENERAL OFF-BILL AND ON-                  6/25/2021       CCOTH_02155                 CITY OF LOS BANOS                        245 MARKET ST, MC N10D
           BILLFINANCING LOAN AGREEMENT                                                                                                   SAN FRANCISCO, CA 94105




                                                                      Page 152 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 153
                                                                                of 649
Pacific Gas and Electric Company                                                                                                     Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                   Address
                                                    or Remaining
                                                        Term


2. 1499    GENERAL OFF-BILL AND ON-                  1/28/2019       CCOTH_01595                 CITY OF MADERA                       1030 S. GATEWAY BLVD.
           BILLFINANCING LOAN AGREEMENT                                                                                               MADERA, CA 93637

2. 1500    GENERAL OFF-BILL AND ON-                  4/11/2026       CCOTH_01868                 CITY OF MENDOTA - STREETLIGHTS       3289 W SUSSEX WAY
           BILLFINANCING LOAN AGREEMENT                                                                                               FRESNO, CA 97323

2. 1501    GENERAL OFF-BILL AND ON-                   3/7/2019       CCOTH_01994                 CITY OF MILL VALLEY                  26 CORTE MADERA AVENUE
           BILLFINANCING LOAN AGREEMENT                                                                                               MILL VALLEY, CA 94941

2. 1502    GENERAL OFF-BILL AND ON-                  12/14/2027      CCOTH_01902                 CITY OF MONTEREY                     580 PACIFIC STREET
           BILLFINANCING LOAN AGREEMENT                                                                                               MONTEREY, CA 93940

2. 1503    GENERAL OFF-BILL AND ON-                  1/10/2024       CCOTH_02227                 CITY OF MORGAN HILL                  870 MARKET ST., SUITE 628
           BILLFINANCING LOAN AGREEMENT                                                                                               SAN FRANCISCO, CA 94102

2. 1504    GENERAL OFF-BILL AND ON-                  12/10/2019      CCOTH_01764                 CITY OF NEWMAN                       245 MARKET ST, MAIL CODE 10D
           BILLFINANCING LOAN AGREEMENT                                                                                               SAN FRANCISCO, CA 94105

2. 1505    GENERAL OFF-BILL AND ON-                   7/7/2021       CCOTH_03005                 CITY OF NOVATO - 909 MACHIN AVE      637 LINDARO ST #201
           BILLFINANCING LOAN AGREEMENT                                                                                               SAN RAFAEL, CA 94901

2. 1506    GENERAL OFF-BILL AND ON-                   2/9/2022       CCOTH_01496                 CITY OF OAKDALE - 248 N 3RD AVE      1628 CULPEPPER AVE STE A
           BILLFINANCING LOAN AGREEMENT                                                                                               MODESTO, CA 95351

2. 1507    GENERAL OFF-BILL AND ON-                   5/7/2025       CCOTH_01495                 CITY OF OAKDALE - 450 E A ST         1628 CULPEPPER AVE., SUITE A
           BILLFINANCING LOAN AGREEMENT                                                                                               MODESTO, CA 95351

2. 1508    GENERAL OFF-BILL AND ON-                   3/9/2024       CCOTH_02406                 CITY OF OAKDALE - STREETLIGHT        245 MARKET ST
           BILLFINANCING LOAN AGREEMENT                                                          RETROFIT                             MAIL CODE N10D
                                                                                                                                      SAN FRANCISCO, CA 94105

2. 1509    GENERAL OFF-BILL AND ON-                  8/18/2022       CCOTH_01853                 CITY OF OAKLAND                      7101 EDGEWATER DRIVE
           BILLFINANCING LOAN AGREEMENT                                                                                               OAKLAND, CA 94621

2. 1510    GENERAL OFF-BILL AND ON-                  11/30/2020      CCOTH_01456                 CITY OF OAKLEY                       245 MARKET ST. MCN 10D
           BILLFINANCING LOAN AGREEMENT                                                                                               SAN FRANCISCO, CA 94105




                                                                      Page 153 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                    Page 154
                                                                                of 649
Pacific Gas and Electric Company                                                                                                       Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                     Address
                                                    or Remaining
                                                        Term


2. 1511    GENERAL OFF-BILL AND ON-                  12/4/2024       CCOTH_01567                 CITY OF ORANGE COVE                    245 MARKET ST., MC N10D
           BILLFINANCING LOAN AGREEMENT                                                                                                 DIANA MEJIA-CHARTRAND,
                                                                                                                                        PROJECT MANAGER
                                                                                                                                        SAN FRANCISCO, CA 94105

2. 1512    MASTER SERVICES AGREEMENT                 11/9/2019       CCNRD_02796                 CITY OF ORANGE COVE                    633 6TH ST
           PERMITTING CUSTOMER TO ENTER                                                                                                 ORANGE COVE, CA 93646
           INTO ENERGY EFFICIENCY CONTRACTS
           (WORK ORDERS) WITH PG&E

2. 1513    GENERAL OFF-BILL AND ON-                  9/12/2024       CCOTH_02135                 CITY OF OROVILLE                       245 MARKET ST. MAIL CODE N10D
           BILLFINANCING LOAN AGREEMENT                                                                                                 SAN FRANCISCO, CA 94105

2. 1514    GENERAL OFF-BILL AND ON-                  2/17/2022       CCOTH_01390                 CITY OF PETALUMA                       245 MARKET STREET MCN 10D
           BILLFINANCING LOAN AGREEMENT                                                                                                 SAN FRANCISCO, CA 94105

2. 1515    GENERAL OFF-BILL AND ON-                  1/21/2022       CCOTH_02183                 CITY OF PETALUMA                       11 ENGLISH ST
           BILLFINANCING LOAN AGREEMENT                                                                                                 PETALUMA, CA 94952

2. 1516    GENERAL OFF-BILL AND ON-                   4/8/2023       CCOTH_01462                 CITY OF PIEDMONT                       245 MARKET STREET
           BILLFINANCING LOAN AGREEMENT                                                                                                 SAN FRANCISCO, CA 94105

2. 1517    GENERAL OFF-BILL AND ON-                   3/9/2022       CCOTH_01696                 CITY OF PINOLE - STREETLIGHTS          245 MARKET STREET
           BILLFINANCING LOAN AGREEMENT                                                                                                 MAIL CODE: N10D
                                                                                                                                        SAN FRANCISCO, CA 94105

2. 1518    GENERAL OFF-BILL AND ON-                   5/2/2028       CCOTH_01463                 CITY OF PITTSBURG                      65 CIVIC AVE.
           BILLFINANCING LOAN AGREEMENT                                                                                                 PITTSBURG, CA 94565

2. 1519    GENERAL OFF-BILL AND ON-                  12/17/2021      CCOTH_01552                 CITY OF PLEASANT HILL -                100 GREGORY LANE
           BILLFINANCING LOAN AGREEMENT                                                          STREETLIGHTS                           PLEASANT HILL, CA 94523

2. 1520    GENERAL OFF-BILL AND ON-                   2/6/2024       CCOTH_01422                 CITY OF RIO VISTA                      1 MAIN ST
           BILLFINANCING LOAN AGREEMENT                                                                                                 RIO VISTA, CA

2. 1521    GENERAL OFF-BILL AND ON-                  4/18/2019       CCOTH_02126                 CITY OF ROCKLIN - 4081 ALVIS CT /      4081 ALVIS COURT
           BILLFINANCING LOAN AGREEMENT                                                          CITY CORP YARD                         ROCKLIN, CA 95677

2. 1522    GENERAL OFF-BILL AND ON-                  2/28/2019       CCOTH_01501                 CITY OF ROCKLIN - FIRE STATION NO. 1 4081 ALVIS CT
           BILLFINANCING LOAN AGREEMENT                                                                                               ROCKLIN, CA 95677

                                                                      Page 154 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                      Page 155
                                                                                of 649
Pacific Gas and Electric Company                                                                                                     Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 1523    GENERAL OFF-BILL AND ON-                   9/5/2023       CCOTH_01670                 CITY OF ROHNERT PARK                 P.O. BOX 448
           BILLFINANCING LOAN AGREEMENT                                                                                               FOLSOM, CA 95439

2. 1524    GENERAL OFF-BILL AND ON-                  8/23/2021       CCOTH_02095                 CITY OF ROHNERT PARK                 245 MARKET ST, MCN10D
           BILLFINANCING LOAN AGREEMENT                                                                                               SAN FRANCISCO, CA 94105

2. 1525    GENERAL OFF-BILL AND ON-                  11/21/2026      CCOTH_02144                 CITY OF ROHNERT PARK                 130 AVRAM AVENUE
           BILLFINANCING LOAN AGREEMENT                                                                                               RHONERT PARK, CA 94928

2. 1526    GENERAL OFF-BILL AND ON-                   1/2/2027       CCOTH_02599                 CITY OF ROHNERT PARK -               245 MARKET ST
           BILLFINANCING LOAN AGREEMENT                                                          STREETLIGHT                          MC N10D
                                                                                                                                      SAN FRANCISCO, CA 94105

2. 1527    SERVICE AGREEMENT                         Not Stated      CCCRSOT_001                 CITY OF SACRAMENTO POLICE DEPT       CITY OF SACRAMENTO,
                                                                         96                                                           SACRAMENTO POLICE DEPT BLDG
                                                                                                                                      ALARM,
                                                                                                                                      5770 FREEPORT BLVD #100
                                                                                                                                      SACRAMENTO, CA

2. 1528    GENERAL OFF-BILL AND ON-                  10/18/2019      CCOTH_02112                 CITY OF SAN CARLOS - STREETILIGHT    600 ELM STREET
           BILLFINANCING LOAN AGREEMENT                                                                                               JEFF MALTBIE, CITY MANAGER
                                                                                                                                      SAN CARLOS, CA 94070

2. 1529    2019 LGP SCOPE OF WORK                    12/31/2019      CCOTH_03706                 CITY OF SAN JOSE                     200 E SANTA CLARA ST
                                                                                                                                      10TH FLOOR
                                                                                                                                      SAN JOSE, CA

2. 1530    MASTER SERVICES AGREEMENT                  8/9/2021       CCNRD_02788                 CITY OF SAN LUIS OBISPO              CITY OF SAN LUIS OBISPO
           PERMITTING CUSTOMER TO ENTER                                                                                               PUBLIC UTILITIES
           INTO ENERGY EFFICIENCY CONTRACTS                                                                                           869 MORRO ST
           (WORK ORDERS) WITH PG&E                                                                                                    SAN LUIS OBISPO, CA 93401

2. 1531    SST AUDIT OF ENERGY EFFICIENCY            3/31/2019       CCNRD_02787                 CITY OF SAN LUIS OBISPO              CITY OF SAN LUIS OBISPO
           MEASURES                                                                                                                   PUBLIC UTILITIES
                                                                                                                                      869 MORRO ST
                                                                                                                                      SAN LUIS OBISPO, CA 93401

2. 1532    MASTER SERVICES AGREEMENT                  2/6/2022       CCNRD_02792                 CITY OF SAN MATEO                    CITY OF SAN MATEO
           PERMITTING CUSTOMER TO ENTER                                                                                               330 W. 20TH AVE.
           INTO ENERGY EFFICIENCY CONTRACTS                                                                                           SAN MATEO, CA 94403
           (WORK ORDERS) WITH PG&E

                                                                      Page 155 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 156
                                                                                of 649
Pacific Gas and Electric Company                                                                                                      Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                   Address
                                                    or Remaining
                                                        Term


2. 1533    SST IMPLEMENTATION OF ENERGY              12/30/2020      CCNRD_02791                 CITY OF SAN MATEO                     CITY OF SAN MATEO
           EFFICIENCY MEASURES                                                                                                         330 W. 20TH AVE.
                                                                                                                                       SAN MATEO, CA 94403

2. 1534    GENERAL OFF-BILL AND ON-                  11/5/2023       CCOTH_02178                 CITY OF SAN RAFAEL                    1400 5TH AVE.
           BILLFINANCING LOAN AGREEMENT                                                                                                NADER MANSOURIAN
                                                                                                                                       SAN RAFAEL, CA 94901

2. 1535    GENERAL OFF-BILL AND ON-                  8/29/2019       CCOTH_02260                 CITY OF SAN RAFAEL                    111 MORPHEW ST.
           BILLFINANCING LOAN AGREEMENT                                                                                                NADER MANSOURIAN, PUBLIC
                                                                                                                                       WORKS DIRECTOR
                                                                                                                                       SAN RAFAEL, CA 94915

2. 1536    MASTER SERVICES AGREEMENT                  8/4/2020       CCNRD_02795                 CITY OF SAN RAFAEL                    CITY OF SAN RAFAEL
           PERMITTING CUSTOMER TO ENTER                                                                                                1400 FIFTH AVE
           INTO ENERGY EFFICIENCY CONTRACTS                                                                                            SAN RAFAEL, CA 94901
           (WORK ORDERS) WITH PG&E

2. 1537    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03468                 CITY OF SAN RAFAEL                    PO BOX 151560
           BY DESIGN WHOLE BUILDING                                                                                                    SAN RAFAEL, CA 94915

2. 1538    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03469                 CITY OF SAN RAFAEL                    PO BOX 151560
           BY DESIGN WHOLE BUILDING                                                                                                    SAN RAFAEL, CA 94915

2. 1539    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03470                 CITY OF SAN RAFAEL - FIRE/POLICE -    210 3RD ST
           BY DESIGN WHOLE BUILDING                                                              SBD FOR FS 52 & 57                    SAN RAFAEL, CA

2. 1540    GENERAL OFF-BILL AND ON-                   1/7/2028       CCOTH_01828                 CITY OF SAN RAMON - 2401 CROW         ONE METROTECH CENTER
           BILLFINANCING LOAN AGREEMENT                                                          CANYON RD                             NORTH 3RD FLOOR *OVERNIGHT
                                                                                                                                       DELIVERY*
                                                                                                                                       BROOKLYN, NY 11201

2. 1541    GENERAL OFF-BILL AND ON-                  3/30/2026       CCOTH_01795                 CITY OF SAN RAMON - LIGHTING          ONE METROTECH CENTER -
           BILLFINANCING LOAN AGREEMENT                                                          PROJECT                               NORTH 3RD FLOOR

                                                                                                                                       BROOKLYN, NY 11201

2. 1542    GENERAL OFF-BILL AND ON-                  12/13/2022      CCOTH_01907                 CITY OF SANTA CRUZ                    1125 RIVER ST.
           BILLFINANCING LOAN AGREEMENT                                                                                                SANTA CRUZ, CA 95062



                                                                      Page 156 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                  Page 157
                                                                                of 649
Pacific Gas and Electric Company                                                                                                       Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                    Address
                                                    or Remaining
                                                        Term


2. 1543    MASTER SERVICES AGREEMENT                 12/20/2021      CCNRD_02799                 CITY OF SANTA MARIA                    CITY OF SANTA MARIA
           PERMITTING CUSTOMER TO ENTER                                                                                                 810 WEST CHURCH
           INTO ENERGY EFFICIENCY CONTRACTS                                                                                             SANTA MARIA, CA 93458
           (WORK ORDERS) WITH PG&E

2. 1544    GENERAL OFF-BILL AND ON-                   8/7/2024       CCOTH_01498                 CITY OF SANTA MARIA - 120 E MAIN ST    245 MARKET ST., MC N10D
           BILLFINANCING LOAN AGREEMENT                                                                                                 SAN FRANCISCO, CA 94105

2. 1545    REAL PROPERTY LEASE - STONY               3/31/2026       CCCRSLS_000                 CITY OF SANTA ROSA                     CITY OF SANTA ROSA, %
           CIRCLE PARKING LOT (60 PARKING                                79                                                             REVENUE & COLLECTIONS,
           SPACES)                                                                                                                      SANTA ROSA, CA

2. 1546    GENERAL OFF-BILL AND ON-                  12/23/2022      CCOTH_02931                 CITY OF SARATOGA - 13777 FRUITVALE     245 MARKET STREET MC N10D
           BILLFINANCING LOAN AGREEMENT                                                          AVE                                    SAN FRANCISCO, CA 94105

2. 1547    GENERAL OFF-BILL AND ON-                  10/21/2020      CCOTH_01843                 CITY OF SCOTTS VALLEY                  1 CIVIC CENTER DR
           BILLFINANCING LOAN AGREEMENT                                                                                                 SCOTTS VALLEY, CA 95066

2. 1548    GENERAL OFF-BILL AND ON-                  12/28/2025      CCOTH_01897                 CITY OF SCOTTS VALLEY                  1 CIVIC CENTER DRIVE
           BILLFINANCING LOAN AGREEMENT                                                                                                 SCOTTS VALLEY, CA 95066

2. 1549    GENERAL OFF-BILL AND ON-                   7/5/2025       CCOTH_02344                 CITY OF SCOTTS VALLEY - 1 CIVIC        877 CEDAR ST. STE 240
           BILLFINANCING LOAN AGREEMENT                                                          CENTER DR                              SANTA CRUZ, CA 95060

2. 1550    GENERAL OFF-BILL AND ON-                  1/12/2020       CCOTH_02346                 CITY OF SCOTTS VALLEY - 151 VINE       804 ESTATES DR. STE 202
           BILLFINANCING LOAN AGREEMENT                                                          HILL SCHOOL RD                         APTOS, CA 95003

2. 1551    GENERAL OFF-BILL AND ON-                   6/3/2022       CCOTH_03186                 CITY OF SCOTTS VALLEY - 268 KINGS      804 ESTATES DR. STE 202
           BILLFINANCING LOAN AGREEMENT                                                          VILLAGE RD                             APTOS, CA 95003

2. 1552    GENERAL OFF-BILL AND ON-                  4/11/2023       CCOTH_02348                 CITY OF SCOTTS VALLEY - 361 KINGS      804 ESTATES DR. STE 202
           BILLFINANCING LOAN AGREEMENT                                                          VILLAGE RD                             APTOS, CA 95003

2. 1553    GENERAL OFF-BILL AND ON-                  7/11/2024       CCOTH_03188                 CITY OF SCOTTS VALLEY - 370 KINGS      804 ESTATES DR. STE 202
           BILLFINANCING LOAN AGREEMENT                                                          VILLAGE RD                             APTOS, CA 95003

2. 1554    GENERAL OFF-BILL AND ON-                  2/13/2027       CCOTH_02347                 CITY OF SCOTTS VALLEY - 700 LUNDY      877 CEDAR ST. STE 240
           BILLFINANCING LOAN AGREEMENT                                                          LN                                     SANTA CRUZ, CA 95060



                                                                      Page 157 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                    Page 158
                                                                                of 649
Pacific Gas and Electric Company                                                                                                   Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                 Address
                                                    or Remaining
                                                        Term


2. 1555    GENERAL OFF-BILL AND ON-                   9/3/2020       CCOTH_02341                 CITY OF SCOTTS VALLEY - COR        804 ESTATES DR. STE 202
           BILLFINANCING LOAN AGREEMENT                                                          SKYPARK DR &                       APTOS, CA 95003

2. 1556    GENERAL OFF-BILL AND ON-                  9/10/2020       CCOTH_01692                 CITY OF SHAFTER                    245 MARKET STREET MC N10D
           BILLFINANCING LOAN AGREEMENT                                                                                             SAN FRANCISCO, CA 94105

2. 1557    GENERAL OFF-BILL AND ON-                  2/28/2021       CCOTH_02016                 CITY OF SONOMA - STREETLIGHTS      NO 1 THE PLAZA
           BILLFINANCING LOAN AGREEMENT                                                                                             SONOMA, CA 95476

2. 1558    GENERAL OFF-BILL AND ON-                  9/30/2025       CCOTH_01913                 CITY OF SOUTH SAN FRANCISCO        315 MAPLE AVENUE
           BILLFINANCING LOAN AGREEMENT                                                                                             SOUTH SAN FRANCISCO, CA 94080

2. 1559    GENERAL OFF-BILL AND ON-                  10/30/2019      CCOTH_02237                 CITY OF SOUTH SAN FRANCISCO        33 ARROYO DR #S
           BILLFINANCING LOAN AGREEMENT                                                                                             SOUTH SAN FRANCISCO, CA 94080

2. 1560    SERVICE AGREEMENT                         Not Stated      CCCRSOT_002                 CITY OF STOCKTON POLICE DEPT       CITY OF STOCKTON, POLICE
                                                                         30                                                         DEPT,
                                                                                                                                    22 E MARKET ST
                                                                                                                                    STOCKTON, CA 95202

2. 1561    COMMERCIAL CALCULATED                     Not Stated      CCOTH_00190                 CITY OF TRACY                      333 CIVIC CENTER PLAZA
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                        TRACY, CA 95376
           PROGRAM

2. 1562    GENERAL OFF-BILL AND ON-                  11/10/2020      CCOTH_02048                 CITY OF VALLEJO                    2954 HWY 32 STE. 1300
           BILLFINANCING LOAN AGREEMENT                                                                                             CHICO, CA 95973

2. 1563    GENERAL OFF-BILL AND ON-                  11/30/2022      CCOTH_02787                 CITY OF WALNUT CREEK               1666 N. MAIN ST
           BILLFINANCING LOAN AGREEMENT                                                                                             WALNUT CREEK, CA 94596

2. 1564    GENERAL OFF-BILL AND ON-                  1/15/2022       CCOTH_02962                 CITY OF WALNUT CREEK               1666 N. MAIN ST
           BILLFINANCING LOAN AGREEMENT                                                                                             WALNUT CREEK, CA 94596

2. 1565    GENERAL OFF-BILL AND ON-                  2/11/2029       CCOTH_02771                 CITY OF WALNUT CREEK - CITY        1666 N MAIN ST, 2ND FLOOR
           BILLFINANCING LOAN AGREEMENT                                                          HALL/POLICE STATION                WALNUT CREEK, CA 94596

2. 1566    GENERAL OFF-BILL AND ON-                  2/11/2029       CCOTH_02773                 CITY OF WALNUT CREEK -             1666 N MAIN ST, 2ND FLOOR
           BILLFINANCING LOAN AGREEMENT                                                          SHADELANDS + PGS                   WALNUT CREEK, CA 94596



                                                                      Page 158 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                  Page 159
                                                                                of 649
Pacific Gas and Electric Company                                                                                                     Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 1567    GENERAL OFF-BILL AND ON-                   7/3/2020       CCOTH_01703                 CITY OF WALNUT CREEK -STREETLIGHT 245 MARKET ST
           BILLFINANCING LOAN AGREEMENT                                                                                            MAIL CODE N10D
                                                                                                                                   SAN FRANCISCO, CA 94105

2. 1568    GENERAL OFF-BILL AND ON-                  2/28/2023       CCOTH_01568                 CITY OF WATSONVILLE                  275 MAIN ST., SUITE 400, 4TH
           BILLFINANCING LOAN AGREEMENT                                                                                               FLOOR
                                                                                                                                      WATSONVILLE, CA 95076

2. 1569    GENERAL OFF-BILL AND ON-                  11/30/2020      CCOTH_01908                 CITY OF WATSONVILLE                  250 MAIN STREET
           BILLFINANCING LOAN AGREEMENT                                                                                               WATSONVILLE, CA 95077

2. 1570    GENERAL OFF-BILL AND ON-                  4/21/2020       CCOTH_01333                 CITY OF WATSONVILLE-W BEACH ST       804 ESTATES DRIVE, STE #202
           BILLFINANCING LOAN AGREEMENT                                                                                               APTOS, CA 95003

2. 1571    GENERAL OFF-BILL AND ON-                  10/11/2028      CCOTH_02828                 CITY OF WILLIAMS - CITY HALL         27611 LA PAZ RD, SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                                                               LAGUNA NIGUEL, CA 90670

2. 1572    GENERAL OFF-BILL AND ON-                  11/30/2026      CCOTH_02823                 CITY OF WILLIAMS - NORTHVIEW PARK    27611 LA PAZ RD, SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                                                               LAGUNA NIGUEL,, CA 92677

2. 1573    GENERAL OFF-BILL AND ON-                  9/17/2027       CCOTH_02830                 CITY OF WILLIAMS - OLD GYM           27611 LA PAZ RD, SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                                                               LAGUNA NIGUEL, CA 92677

2. 1574    GENERAL OFF-BILL AND ON-                  12/25/2026      CCOTH_02826                 CITY OF WILLIAMS - POLICE STATION    27611 LA PAZ RD, SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                                                               LAGUNA NIGUEL, CA 92677

2. 1575    GENERAL OFF-BILL AND ON-                  10/25/2024      CCOTH_02821                 CITY OF WILLIAMS - PUBLIC WORKS      27611 LA PAZ RD, SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                                                               LAGUNA NIGUEL, CA 92677

2. 1576    GENERAL OFF-BILL AND ON-                  10/31/2028      CCOTH_02827                 CITY OF WILLIAMS - WATER DEPT.       27611 LA PAZ RD, SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                                                               LAGUNA NIGUEL, CA 92677

2. 1577    GENERAL OFF-BILL AND ON-                  9/25/2028       CCOTH_02824                 CITY OF WILLIAMS - WATER             27611 LA PAZ RD. SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                          TREATMENT PLANT                      LAGUNA NIGUEL, CA 92677

2. 1578    GENERAL OFF-BILL AND ON-                   3/2/2026       CCOTH_02269                 CITYOF GILROY- SUNRISE PARK          27611 LA PAZ RD, STE A2
           BILLFINANCING LOAN AGREEMENT                                                                                               LAGUNA NIGUEL, CA 92677




                                                                      Page 159 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 160
                                                                                of 649
Pacific Gas and Electric Company                                                                                                        Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                     Address
                                                    or Remaining
                                                        Term


2. 1579    ELECTRIC/GAS AGREEMENT                    Not Stated      CCCRSOT_000                 CIVIC CENTER SQUARE                     CIVIC CENTER SQUARE INC
                                                                         34                                                              906 N ST STE 200
                                                                                                                                         FRESNO, CA 93721

2. 1580    REAL PROPERTY LEASE - FRESNO GOV.         5/31/2020       CCCRSLS_000                 CIVIC CENTER SQUARE INC                 CIVIC CENTER SQUARE INC
           REL. LEASE                                                    31                                                              906 N ST STE 200
                                                                                                                                         FRESNO, CA 93721

2. 1581    GENERAL OFF-BILL AND ON-                  7/29/2021       CCOTH_02460                 CIVIC CENTER SQUARE INC - 2310          906 N STREET, SUITE 200
           BILLFINANCING LOAN AGREEMENT                                                          TULARE ST                               FRESNO, CA 93721

2. 1582    GENERAL OFF-BILL AND ON-                  11/29/2021      CCOTH_02464                 CIVIC CENTER SQUARE INC - 2444          906 N STREET, SUITE 200
           BILLFINANCING LOAN AGREEMENT                                                          MAIN ST                                 FRESNO, CA 93721

2. 1583    GENERAL OFF-BILL AND ON-                  7/29/2021       CCOTH_02461                 CIVIC CENTER SQUARE INC - 2445          906 N STREET, SUITE 200
           BILLFINANCING LOAN AGREEMENT                                                          CAPITOL ST - FRESNO                     FRESNO, CA 93721

2. 1584    GENERAL OFF-BILL AND ON-                  12/29/2022      CCOTH_02465                 CIVIC CENTER SQUARE INC - 906 N ST -    906 N STREET, SUITE 200
           BILLFINANCING LOAN AGREEMENT                                                          FRESNO                                  FRESNO, CA 93721

2. 1585    REAL PROPERTY LEASE - FRESNO GOV.         5/31/2020       CCCRSLS_001                 CIVIC CENTER SQUARE INC.                CIVIC CENTER SQUARE INC
           REL. PARKING (9 PARKING SPACES)                               03                                                              906 N ST STE 200
                                                                                                                                         FRESNO, CA 93721

2. 1586    GENERAL OFF-BILL AND ON-                  11/13/2019      CCOTH_01553                 CJ PEOPLES                              877 CEDAR STREET, SUITE 240
           BILLFINANCING LOAN AGREEMENT                                                                                                  SANTA CRUZ, CA 95060

2. 1587    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00600                 CLARKE & RUSH MECHANICAL INC            4411 AUBURN BLVD
           ADVANCED HOME UPGRADE                                                                                                         SACRAMENTO, CA 95841
           (CUSTOM/CALCULATED)

2. 1588    REAL PROPERTY LEASE - CHINATOWN           12/31/2019      CCCRSLS_000                 CLAY LLC                                CLAY LLC
           CSO                                                           70                                                              1600 LOMBARD ST
                                                                                                                                         SAN FRANCISCO, CA 94123

2. 1589    GENERAL OFF-BILL AND ON-                  2/18/2019       CCOTH_02326                 CLEAN HARBORS OF SAN JOSE LLC           1800 ORION ST. #101
           BILLFINANCING LOAN AGREEMENT                                                                                                  ALAMEDA, CA 94501




                                                                      Page 160 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 161
                                                                                of 649
Pacific Gas and Electric Company                                                                                                   Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                              Address
                                                    or Remaining
                                                        Term


2. 1590    COMMERCIAL CALCULATED                      Not Stated        CCOTH_00107                 CLEAN LIGHT ENERGY              1064 SANDBAR CIRCLE
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                        CARMICHAEL, CA 95608
           PROGRAM

2. 1591    SELF-GENERATION INCENTIVE                  Not Stated        CCOTH_03505                 CLEAN SOLAR INC                 1445 KOLL CIRCLE
           PROGRAM                                                                                                                   SAN JOSE, CA 95112

2. 1592    2018 MEMBERSHIP - CLEANTECH GROUP          12/31/2018        CCOTH_03804                 CLEANTECH GROUP (CTG ILLC)      1714 FRANKLIN ST
                                                                                                                                    OAKLAND, CA 94612

2. 1593    ALCS ET PROJECT IMPLEMENTATION             12/31/2018        CCOTH_03789                 CLEARESULT                      4301 WESTBAK DR.
                                                                                                                                    BUILDING A, SUITE 250
                                                                                                                                    AUSTIN, TX 78746

2. 1594    SEE CONTRACT WORK                          Not Stated        CCOTH_03702                 CLEARESULT CONSULTING INC       4301 WESTBANK DRIVE
           AUTHORIZATION - CHANGE ORDER #4                                                                                          SUITE 300A
           (2700046058)                                                                                                             AUSTIN, TX 78746

2. 1595    SEE CONTRACT WORK                          12/31/2019        CCOTH_03703                 CLEARESULT CONSULTING INC       4301 WESTBANK DRIVE
           AUTHORIZATION - CHANGE ORDER #5                                                                                          SUITE 300A
           (2700046058)                                                                                                             AUSTIN, TX 78746

2. 1596    SERVICE AGREEMENT                          Not Stated        CCCRSOT_000                 CLEARLAKE WASTE SOLUTIONS       CLEARLAKE WASTE SOLUTIONS
                                                                            35                                                      INC
                                                                                                                                    UKIAH, CA

2. 1597    LICENSE FOR INDIVIDUAL SITE             2/9/2025, unless     CCNRD_00386                 CLEARWIRE, LLC                  SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                               6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                                  MAIL STOP KSOPHT0101-Z2550
           AGREEMENT FOR ANTENNA                                                                                                    OVERLAND PARK, KS
           ATTACHMENT WITH CLEARWIRE, LLC,
           DATED FEB. 10, 2005

2. 1598    LICENSE FOR INDIVIDUAL SITE             2/9/2025, unless     CCNRD_00387                 CLEARWIRE, LLC                  SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                               6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                                  MAIL STOP KSOPHT0101-Z2550
           AGREEMENT FOR ANTENNA                                                                                                    OVERLAND PARK, KS
           ATTACHMENT WITH CLEARWIRE, LLC,
           DATED FEB. 10, 2005




                                                                         Page 161 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35               Page 162
                                                                                   of 649
Pacific Gas and Electric Company                                                                                       Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                  Address
                                                    or Remaining
                                                        Term


2. 1599    LICENSE FOR INDIVIDUAL SITE             2/9/2025, unless     CCNRD_00388                 CLEARWIRE, LLC      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                   6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                      MAIL STOP KSOPHT0101-Z2550
           AGREEMENT FOR ANTENNA                                                                                        OVERLAND PARK, KS
           ATTACHMENT WITH CLEARWIRE, LLC,
           DATED FEB. 10, 2005

2. 1600    LICENSE FOR INDIVIDUAL SITE             2/9/2025, unless     CCNRD_00389                 CLEARWIRE, LLC      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                   6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                      MAIL STOP KSOPHT0101-Z2550
           AGREEMENT FOR ANTENNA                                                                                        OVERLAND PARK, KS
           ATTACHMENT WITH CLEARWIRE, LLC,
           DATED FEB. 10, 2005

2. 1601    LICENSE FOR INDIVIDUAL SITE             2/9/2025, unless     CCNRD_00390                 CLEARWIRE, LLC      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                   6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                      MAIL STOP KSOPHT0101-Z2550
           AGREEMENT FOR ANTENNA                                                                                        OVERLAND PARK, KS
           ATTACHMENT WITH CLEARWIRE, LLC,
           DATED FEB. 10, 2005

2. 1602    LICENSE FOR INDIVIDUAL SITE             2/9/2025, unless     CCNRD_00391                 CLEARWIRE, LLC      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                   6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                      MAIL STOP KSOPHT0101-Z2550
           AGREEMENT FOR ANTENNA                                                                                        OVERLAND PARK, KS
           ATTACHMENT WITH CLEARWIRE, LLC,
           DATED FEB. 10, 2005

2. 1603    LICENSE FOR INDIVIDUAL SITE             2/9/2025, unless     CCNRD_00392                 CLEARWIRE, LLC      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                   6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                      MAIL STOP KSOPHT0101-Z2550
           AGREEMENT FOR ANTENNA                                                                                        OVERLAND PARK, KS
           ATTACHMENT WITH CLEARWIRE, LLC,
           DATED FEB. 10, 2005

2. 1604    LICENSE FOR INDIVIDUAL SITE             2/9/2025, unless     CCNRD_00393                 CLEARWIRE, LLC      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                   6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                      MAIL STOP KSOPHT0101-Z2550
           AGREEMENT FOR ANTENNA                                                                                        OVERLAND PARK, KS
           ATTACHMENT WITH CLEARWIRE, LLC,
           DATED FEB. 10, 2005



                                                                         Page 162 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35   Page 163
                                                                                   of 649
Pacific Gas and Electric Company                                                                                       Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                  Address
                                                    or Remaining
                                                        Term


2. 1605    LICENSE FOR INDIVIDUAL SITE             2/9/2025, unless     CCNRD_00394                 CLEARWIRE, LLC      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                   6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                      MAIL STOP KSOPHT0101-Z2550
           AGREEMENT FOR ANTENNA                                                                                        OVERLAND PARK, KS
           ATTACHMENT WITH CLEARWIRE, LLC,
           DATED FEB. 10, 2005

2. 1606    LICENSE FOR INDIVIDUAL SITE             2/9/2025, unless     CCNRD_00395                 CLEARWIRE, LLC      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                   6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                      MAIL STOP KSOPHT0101-Z2550
           AGREEMENT FOR ANTENNA                                                                                        OVERLAND PARK, KS
           ATTACHMENT WITH CLEARWIRE, LLC,
           DATED FEB. 10, 2005

2. 1607    LICENSE FOR INDIVIDUAL SITE             2/9/2025, unless     CCNRD_00396                 CLEARWIRE, LLC      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                   6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                      MAIL STOP KSOPHT0101-Z2550
           AGREEMENT FOR ANTENNA                                                                                        OVERLAND PARK, KS
           ATTACHMENT WITH CLEARWIRE, LLC,
           DATED FEB. 10, 2005

2. 1608    LICENSE FOR INDIVIDUAL SITE             2/9/2025, unless     CCNRD_00397                 CLEARWIRE, LLC      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                   6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                      MAIL STOP KSOPHT0101-Z2550
           AGREEMENT FOR ANTENNA                                                                                        OVERLAND PARK, KS
           ATTACHMENT WITH CLEARWIRE, LLC,
           DATED FEB. 10, 2005

2. 1609    LICENSE FOR INDIVIDUAL SITE             2/9/2025, unless     CCNRD_00398                 CLEARWIRE, LLC      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                   6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                      MAIL STOP KSOPHT0101-Z2550
           AGREEMENT FOR ANTENNA                                                                                        OVERLAND PARK, KS
           ATTACHMENT WITH CLEARWIRE, LLC,
           DATED FEB. 10, 2005

2. 1610    LICENSE FOR INDIVIDUAL SITE             2/9/2025, unless     CCNRD_00399                 CLEARWIRE, LLC      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                   6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                      MAIL STOP KSOPHT0101-Z2550
           AGREEMENT FOR ANTENNA                                                                                        OVERLAND PARK, KS
           ATTACHMENT WITH CLEARWIRE, LLC,
           DATED FEB. 10, 2005



                                                                         Page 163 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35   Page 164
                                                                                   of 649
Pacific Gas and Electric Company                                                                                       Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                  Address
                                                    or Remaining
                                                        Term


2. 1611    LICENSE FOR INDIVIDUAL SITE             2/9/2025, unless     CCNRD_00400                 CLEARWIRE, LLC      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                   6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                      MAIL STOP KSOPHT0101-Z2550
           AGREEMENT FOR ANTENNA                                                                                        OVERLAND PARK, KS
           ATTACHMENT WITH CLEARWIRE, LLC,
           DATED FEB. 10, 2005

2. 1612    LICENSE FOR INDIVIDUAL SITE             2/9/2025, unless     CCNRD_00401                 CLEARWIRE, LLC      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                   6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                      MAIL STOP KSOPHT0101-Z2550
           AGREEMENT FOR ANTENNA                                                                                        OVERLAND PARK, KS
           ATTACHMENT WITH CLEARWIRE, LLC,
           DATED FEB. 10, 2005

2. 1613    LICENSE FOR INDIVIDUAL SITE             2/9/2025, unless     CCNRD_00402                 CLEARWIRE, LLC      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                   6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                      MAIL STOP KSOPHT0101-Z2550
           AGREEMENT FOR ANTENNA                                                                                        OVERLAND PARK, KS
           ATTACHMENT WITH CLEARWIRE, LLC,
           DATED FEB. 10, 2005

2. 1614    LICENSE FOR INDIVIDUAL SITE             2/9/2025, unless     CCNRD_00403                 CLEARWIRE, LLC      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                   6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                      MAIL STOP KSOPHT0101-Z2550
           AGREEMENT FOR ANTENNA                                                                                        OVERLAND PARK, KS
           ATTACHMENT WITH CLEARWIRE, LLC,
           DATED FEB. 10, 2005

2. 1615    LICENSE FOR INDIVIDUAL SITE             2/9/2025, unless     CCNRD_00404                 CLEARWIRE, LLC      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                   6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                      MAIL STOP KSOPHT0101-Z2550
           AGREEMENT FOR ANTENNA                                                                                        OVERLAND PARK, KS
           ATTACHMENT WITH CLEARWIRE, LLC,
           DATED FEB. 10, 2005

2. 1616    LICENSE FOR INDIVIDUAL SITE             2/9/2025, unless     CCNRD_00405                 CLEARWIRE, LLC      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                   6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                      MAIL STOP KSOPHT0101-Z2550
           AGREEMENT FOR ANTENNA                                                                                        OVERLAND PARK, KS
           ATTACHMENT WITH CLEARWIRE, LLC,
           DATED FEB. 10, 2005



                                                                         Page 164 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35   Page 165
                                                                                   of 649
Pacific Gas and Electric Company                                                                                       Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                  Address
                                                    or Remaining
                                                        Term


2. 1617    LICENSE FOR INDIVIDUAL SITE             2/9/2025, unless     CCNRD_00406                 CLEARWIRE, LLC      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                   6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                      MAIL STOP KSOPHT0101-Z2550
           AGREEMENT FOR ANTENNA                                                                                        OVERLAND PARK, KS
           ATTACHMENT WITH CLEARWIRE, LLC,
           DATED FEB. 10, 2005

2. 1618    LICENSE FOR INDIVIDUAL SITE             2/9/2025, unless     CCNRD_00407                 CLEARWIRE, LLC      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                   6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                      MAIL STOP KSOPHT0101-Z2550
           AGREEMENT FOR ANTENNA                                                                                        OVERLAND PARK, KS
           ATTACHMENT WITH CLEARWIRE, LLC,
           DATED FEB. 10, 2005

2. 1619    LICENSE FOR INDIVIDUAL SITE             2/9/2025, unless     CCNRD_00408                 CLEARWIRE, LLC      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                   6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                      MAIL STOP KSOPHT0101-Z2550
           AGREEMENT FOR ANTENNA                                                                                        OVERLAND PARK, KS
           ATTACHMENT WITH CLEARWIRE, LLC,
           DATED FEB. 10, 2005

2. 1620    LICENSE FOR INDIVIDUAL SITE             2/9/2025, unless     CCNRD_00409                 CLEARWIRE, LLC      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                   6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                      MAIL STOP KSOPHT0101-Z2550
           AGREEMENT FOR ANTENNA                                                                                        OVERLAND PARK, KS
           ATTACHMENT WITH CLEARWIRE, LLC,
           DATED FEB. 10, 2005

2. 1621    LICENSE FOR INDIVIDUAL SITE             2/9/2025, unless     CCNRD_00410                 CLEARWIRE, LLC      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                   6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                      MAIL STOP KSOPHT0101-Z2550
           AGREEMENT FOR ANTENNA                                                                                        OVERLAND PARK, KS
           ATTACHMENT WITH CLEARWIRE, LLC,
           DATED FEB. 10, 2005

2. 1622    LICENSE FOR INDIVIDUAL SITE             2/9/2025, unless     CCNRD_00411                 CLEARWIRE, LLC      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                   6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                      MAIL STOP KSOPHT0101-Z2550
           AGREEMENT FOR ANTENNA                                                                                        OVERLAND PARK, KS
           ATTACHMENT WITH CLEARWIRE, LLC,
           DATED FEB. 10, 2005



                                                                         Page 165 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35   Page 166
                                                                                   of 649
Pacific Gas and Electric Company                                                                                       Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                  Address
                                                    or Remaining
                                                        Term


2. 1623    LICENSE FOR INDIVIDUAL SITE             2/9/2025, unless     CCNRD_00412                 CLEARWIRE, LLC      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                   6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                      MAIL STOP KSOPHT0101-Z2550
           AGREEMENT FOR ANTENNA                                                                                        OVERLAND PARK, KS
           ATTACHMENT WITH CLEARWIRE, LLC,
           DATED FEB. 10, 2005

2. 1624    LICENSE FOR INDIVIDUAL SITE             2/9/2025, unless     CCNRD_00413                 CLEARWIRE, LLC      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                   6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                      MAIL STOP KSOPHT0101-Z2550
           AGREEMENT FOR ANTENNA                                                                                        OVERLAND PARK, KS
           ATTACHMENT WITH CLEARWIRE, LLC,
           DATED FEB. 10, 2005

2. 1625    LICENSE FOR INDIVIDUAL SITE             2/9/2025, unless     CCNRD_00414                 CLEARWIRE, LLC      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                   6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                      MAIL STOP KSOPHT0101-Z2550
           AGREEMENT FOR ANTENNA                                                                                        OVERLAND PARK, KS
           ATTACHMENT WITH CLEARWIRE, LLC,
           DATED FEB. 10, 2005

2. 1626    LICENSE FOR INDIVIDUAL SITE             2/9/2025, unless     CCNRD_00415                 CLEARWIRE, LLC      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                   6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                      MAIL STOP KSOPHT0101-Z2550
           AGREEMENT FOR ANTENNA                                                                                        OVERLAND PARK, KS
           ATTACHMENT WITH CLEARWIRE, LLC,
           DATED FEB. 10, 2005

2. 1627    LICENSE FOR INDIVIDUAL SITE             2/9/2025, unless     CCNRD_00416                 CLEARWIRE, LLC      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                   6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                      MAIL STOP KSOPHT0101-Z2550
           AGREEMENT FOR ANTENNA                                                                                        OVERLAND PARK, KS
           ATTACHMENT WITH CLEARWIRE, LLC,
           DATED FEB. 10, 2005

2. 1628    LICENSE FOR INDIVIDUAL SITE             2/9/2025, unless     CCNRD_00417                 CLEARWIRE, LLC      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                   6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                      MAIL STOP KSOPHT0101-Z2550
           AGREEMENT FOR ANTENNA                                                                                        OVERLAND PARK, KS
           ATTACHMENT WITH CLEARWIRE, LLC,
           DATED FEB. 10, 2005



                                                                         Page 166 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35   Page 167
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                   Case Number:       19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                              Address
                                                    or Remaining
                                                        Term


2. 1629    LICENSE FOR INDIVIDUAL SITE             2/9/2025, unless     CCNRD_00418                 CLEARWIRE, LLC                  SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                               6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                                  MAIL STOP KSOPHT0101-Z2550
           AGREEMENT FOR ANTENNA                                                                                                    OVERLAND PARK, KS
           ATTACHMENT WITH CLEARWIRE, LLC,
           DATED FEB. 10, 2005

2. 1630    LICENSE FOR INDIVIDUAL SITE             2/9/2025, unless     CCNRD_00419                 CLEARWIRE, LLC                  SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                               6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                                  MAIL STOP KSOPHT0101-Z2550
           AGREEMENT FOR ANTENNA                                                                                                    OVERLAND PARK, KS
           ATTACHMENT WITH CLEARWIRE, LLC,
           DATED FEB. 10, 2005

2. 1631    LICENSE FOR INDIVIDUAL SITE             2/9/2025, unless     CCNRD_00420                 CLEARWIRE, LLC                  SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                               6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                                  MAIL STOP KSOPHT0101-Z2550
           AGREEMENT FOR ANTENNA                                                                                                    OVERLAND PARK, KS
           ATTACHMENT WITH CLEARWIRE, LLC,
           DATED FEB. 10, 2005

2. 1632    LICENSE FOR INDIVIDUAL SITE             2/9/2025, unless     CCNRD_00421                 CLEARWIRE, LLC                  SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                               6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                                  MAIL STOP KSOPHT0101-Z2550
           AGREEMENT FOR ANTENNA                                                                                                    OVERLAND PARK, KS
           ATTACHMENT WITH CLEARWIRE, LLC,
           DATED FEB. 10, 2005

2. 1633    MASTER AGREEMENT FOR ISSUANCE               2/9/2025         CCNRD_00012                 CLEARWIRE, LLC                  SPRINT PROPERTY SERVICES
           OF LICENSES TO                                                                                                           6391 SPRINT PARKWAY
           TELECOMMUNICATIONS CUSTOMER                                                                                              MAIL STOP KSOPHT0101-Z2550
           FOR ATTACHMENT OF ANTENNAS AND                                                                                           OVERLAND PARK, KS
           RELATED EQUIPMENT

2. 1634    GENERAL OFF-BILL AND ON-                   8/22/2020         CCOTH_02474                 CLEMENT LEUNG DBA BROADWAY      10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                             UNION 76                        SANTA FE SPRINGS, CA 90670

2. 1635    ENERGY UPGRADE CALIFORNIA                  Not Stated        CCOTH_00507                 CLIMATE AND ENERGY SOLUTIONS    185 EAST AVENUE
           ADVANCED HOME UPGRADE                                                                                                    CHICO, CA 95926
           (CUSTOM/CALCULATED)




                                                                         Page 167 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35               Page 168
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                      Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                   Address
                                                    or Remaining
                                                        Term


2. 1636    GENERAL OFF-BILL AND ON-                  6/25/2020       CCOTH_02050                 CLINICA SIERRA VISTA                  685 COCHRAN STREET, SUITE 200
           BILLFINANCING LOAN AGREEMENT                                                                                                SIMI VALLEY, CA 93065

2. 1637    GENERAL OFF-BILL AND ON-                  5/21/2019       CCOTH_02068                 CLINICA SIERRA VISTA                  685 COCHRAN STREET, SUITE 200
           BILLFINANCING LOAN AGREEMENT                                                                                                SIMI VALLEY, CA 93065

2. 1638    GENERAL OFF-BILL AND ON-                  5/13/2020       CCOTH_02069                 CLINICA SIERRA VISTA                  685 COCHRAN STREET, SUITE 200
           BILLFINANCING LOAN AGREEMENT                                                                                                SIMI VALLEY, CA 93065

2. 1639    GENERAL OFF-BILL AND ON-                  2/26/2021       CCOTH_02286                 CLINICA SIERRA VISTA - 10727          685 COCHRAN STREET SUITE 200
           BILLFINANCING LOAN AGREEMENT                                                          ROSEDALE HWY                          SIMI VALLEY, CA 93065

2. 1640    GENERAL OFF-BILL AND ON-                   3/4/2021       CCOTH_02327                 CLINICA SIERRA VISTA - 1125 E         685 COCHRAN STREET, SUITE 200
           BILLFINANCING LOAN AGREEMENT                                                          CALIFORNIA ST                         SIMI VALLEY, CA 93065

2. 1641    GENERAL OFF-BILL AND ON-                  6/25/2020       CCOTH_02283                 CLINICA SIERRA VISTA - 1305 BEAR      685 COCHRAN STREET, SUITE 200
           BILLFINANCING LOAN AGREEMENT                                                          MOUNTAIN BLVD                         SIMI VALLEY, CA 93065

2. 1642    GENERAL OFF-BILL AND ON-                   7/5/2021       CCOTH_02097                 CLINICA SIERRA VISTA - 1350 S         685 COCHRAN ST. SUITE 200
           BILLFINANCING LOAN AGREEMENT                                                          ORANGE AVE - FRESNO                   SIMI VALLEY, CA 93065

2. 1643    GENERAL OFF-BILL AND ON-                  5/29/2020       CCOTH_01337                 CLINICA SIERRA VISTA - 1945 N FINE    685 COCHRAN STREET SUITE 200
           BILLFINANCING LOAN AGREEMENT                                                          AVE STE 101 - F                       SIMI VALLEY, CA 93065

2. 1644    GENERAL OFF-BILL AND ON-                   6/4/2020       CCOTH_01910                 CLINICA SIERRA VISTA - 217 KERN       685 COCHRON STREET SUITE 200
           BILLFINANCING LOAN AGREEMENT                                                          AVE - MC FARLAND                      SIMI VALLEY, CA 93065

2. 1645    GENERAL OFF-BILL AND ON-                  2/13/2021       CCOTH_02219                 CLINICA SIERRA VISTA - 2505           685 COCHRAN STREET, SUITE 200
           BILLFINANCING LOAN AGREEMENT                                                          DIVISADERO ST # D                     SIMI VALLEY, CA 93065

2. 1646    GENERAL OFF-BILL AND ON-                  2/18/2021       CCOTH_02333                 CLINICA SIERRA VISTA - 2707 F ST -    685 COCHRAN STREET, SUITE 200
           BILLFINANCING LOAN AGREEMENT                                                          BAKERSFIELD                           SIMI VALLEY, CA 93065

2. 1647    GENERAL OFF-BILL AND ON-                  6/29/2021       CCOTH_01386                 CLINICA SIERRA VISTA - 2740 S ELM     685 COCHRAN ST, STE 200
           BILLFINANCING LOAN AGREEMENT                                                          AVE - FRESNO                          SIMI VALLEY, CA 93065

2. 1648    GENERAL OFF-BILL AND ON-                  6/13/2021       CCOTH_01395                 CLINICA SIERRA VISTA - 2756 S ELM     685 COCHRAN STREET, SUITE 200
           BILLFINANCING LOAN AGREEMENT                                                          AVE - FRESNO                          SIMI VALLEY, CA 93065



                                                                      Page 168 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                    Page 169
                                                                                of 649
Pacific Gas and Electric Company                                                                                                        Case Number:        19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                     Address
                                                    or Remaining
                                                        Term


2. 1649    GENERAL OFF-BILL AND ON-                  6/30/2021       CCOTH_02091                 CLINICA SIERRA VISTA - 2760 S ELM       685 COCHRAN STREET, STE 200
           BILLFINANCING LOAN AGREEMENT                                                          AVE - FRESNO                            SIMI VALLEY, CA 93065

2. 1650    GENERAL OFF-BILL AND ON-                  11/25/2020      CCOTH_02049                 CLINICA SIERRA VISTA - 301              685 COCHRAN STREET SUITE 200
           BILLFINANCING LOAN AGREEMENT                                                          BRUNDAGE LN                             SIMI VALLEY, CA 93065

2. 1651    GENERAL OFF-BILL AND ON-                  5/29/2019       CCOTH_01406                 CLINICA SIERRA VISTA - 302 FRESNO       685 COCHRAN STREET, SUITE 200
           BILLFINANCING LOAN AGREEMENT                                                          ST # 101                                SIMI VALLEY, CA 93065

2. 1652    GENERAL OFF-BILL AND ON-                   7/5/2021       CCOTH_01420                 CLINICA SIERRA VISTA - 3727 N 1ST ST    685 COCHRAN ST. SUITE 200
           BILLFINANCING LOAN AGREEMENT                                                          STE 106                                 SIMI VALLEY, CA 93065

2. 1653    GENERAL OFF-BILL AND ON-                  1/18/2021       CCOTH_02320                 CLINICA SIERRA VISTA - 4621             685 COCHRAN STREET SUITE 200
           BILLFINANCING LOAN AGREEMENT                                                          AMERICAN AVE STE B                      SIMI VALLEY, CA 93065

2. 1654    GENERAL OFF-BILL AND ON-                  11/5/2018       CCOTH_01407                 CLINICA SIERRA VISTA - 5784 S ELM       685 COCHRAN ST. SUITE 200
           BILLFINANCING LOAN AGREEMENT                                                          AVE - FRESNO                            SIMI VALLEY, CA 93065

2. 1655    GENERAL OFF-BILL AND ON-                   3/4/2021       CCOTH_01909                 CLINICA SIERRA VISTA - 815 DR           685 COCHRAN STREET SUITE 200
           BILLFINANCING LOAN AGREEMENT                                                          MARTIN LUTHER KING J                    SIMI VALLEY, CA 93065

2. 1656    GENERAL OFF-BILL AND ON-                   4/5/2021       CCOTH_01396                 CLINICA SIERRA VISTA - 8787 HALL RD - 685 COCHRAN STREET, SUITE 200
           BILLFINANCING LOAN AGREEMENT                                                          LAMONT
                                                                                                                                       SIMI VALLEY, CA 93065

2. 1657    GENERAL OFF-BILL AND ON-                  4/27/2021       CCOTH_02221                 CLINICA SIERRA VISTA - 9001 S H ST -    685 COCHRAN STREET, SUITE 200
           BILLFINANCING LOAN AGREEMENT                                                          BAKERSFIELD                             USPS OVER NIGHT
                                                                                                                                         SIMI VALLEY, CA 93065

2. 1658    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00655                 CLIVE LAING                             88 KING STREET
                                                                                                                                         SAN FRANCISCO 94107

2. 1659    GENERAL OFF-BILL AND ON-                  4/13/2023       CCOTH_02689                 CLOS DU VAL WINERY - 5330               6644 N HIGHLAND
           BILLFINANCING LOAN AGREEMENT                                                          SILVERADO TRL                           CLOVIS, CA 93619

2. 1660    SEWER/WATER AGREEMENT                     Not Stated      CCCRSOT_000                 CLOVIS, CITY OF                         CITY OF CLOVIS
                                                                         36                                                              1033 FIFTH ST
                                                                                                                                         CLOVIS, CA 93612



                                                                      Page 169 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 170
                                                                                of 649
Pacific Gas and Electric Company                                                                                                    Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 1661    GENERAL OFF-BILL AND ON-                  10/24/2023      CCOTH_01329                 CLUB SPORT INC - 350 BOLLINGER      7 EL PARAISO COURT
           BILLFINANCING LOAN AGREEMENT                                                          CANYON LN                           MORAGA, CA 94556

2. 1662    GENERAL OFF-BILL AND ON-                  5/12/2026       CCOTH_02293                 COALINGA HURON PARKS & REC-17094    27611 LA PAZ RD A2
           BILLFINANCING LOAN AGREEMENT                                                          MYRTLE ST                           LAGUNA NIGUEL, CA 92677

2. 1663    GENERAL OFF-BILL AND ON-                  8/28/2026       CCOTH_02096                 COALINGA HURON PARKS &              27611 LA PAZ RD, SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                          RECREATION DISTRICT                 LAGUNA NIGUEL, CA 92677

2. 1664    WATER/GAS/SEW/GARBAGE                     Not Stated      CCCRSOT_000                 COALINGA, CITY OF                   CITY OF COALINGA
           AGREEMENT                                                     37                                                          155 W DURIAN AVE
                                                                                                                                     COALINGA, CA 93210

2. 1665    GENERAL OFF-BILL AND ON-                  5/28/2027       CCOTH_02295                 COALINGA-HURON P&R - GEORGE         27611 LA PAZ RD, SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                          OLSEN PARK                          LAGUNA NIGUEL, CA 92677

2. 1666    GENERAL OFF-BILL AND ON-                  12/15/2027      CCOTH_02294                 COALINGA-HURON P&R - KECK PARK      27611 LA PAZ RD, STE A2
           BILLFINANCING LOAN AGREEMENT                                                          AND COMMUNITY CNTR                  LAGUNA NIGUEL, CA 92677

2. 1667    GENERAL OFF-BILL AND ON-                  3/31/2020       CCOTH_02646                 COAST PAPER & SUPPLY - 151          877 CEDAR STREET, SUITE 240
           BILLFINANCING LOAN AGREEMENT                                                          JOSEPHINE ST                        SANTA CRUZ, CA 95060

2. 1668    GENERAL OFF-BILL AND ON-                  2/26/2020       CCOTH_02866                 COASTAL CHRISTIAN SCHOOL - 1005     147 W. ROUTE 66 #706
           BILLFINANCING LOAN AGREEMENT                                                          OAK PARK BLVD                       GLENDORA, CA 91740

2. 1669    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03390                 COASTHILLS CREDIT UNION             3880 CONSTELLATION ROAD
           BY DESIGN WHOLE BUILDING                                                                                                  LOMPOC, CA 93436

2. 1670    WATER AGREEMENT                           Not Stated      CCCRSOT_000                 COASTSIDE COUNTY WATER DIST         COASTSIDE COUNTY WATER
                                                                         38                                                          DISTRICT
                                                                                                                                     766 MAIN ST
                                                                                                                                     HALF MOON BAY, CA 94019

2. 1671    GENERAL OFF-BILL AND ON-                  10/19/2018      CCOTH_01997                 COBBLESTONE COURT                   1390 RIDGEWOOD DRIVE STE.10
           BILLFINANCING LOAN AGREEMENT                                                                                              CHICO, CA 95973

2. 1672    GENERAL OFF-BILL AND ON-                  4/30/2020       CCOTH_02730                 COCHRANE CO-BRANDS INC - 851        877 CEDAR STREET, SUITE 240
           BILLFINANCING LOAN AGREEMENT                                                          COCHRANE RD - MORGAN                SANTA CRUZ, CA 95060



                                                                      Page 170 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 171
                                                                                of 649
Pacific Gas and Electric Company                                                                                                    Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                 Address
                                                    or Remaining
                                                        Term


2. 1673    COHEN ENERGY VENTURES - LED               1/31/2019       CCOTH_03695                 COHEN ENERGY VENTURES - LED         449 15TH ST STE 400
           ACELERATOR                                                                            ACELERATOR                          OAKLAND, CA 94612

2. 1674    2019 ELECTRIC TITLE 20 CS                 12/30/2019      CCOTH_03686                 COHEN VENTURE,INC. DBA ENERGY       449 15TH STREET SUITE 400
                                                                                                 SOLUTIONS                           OAKLAND, CA 94612

2. 1675    2019 FEDERAL APPLIANCE STANDARD           12/31/2019      CCOTH_03685                 COHEN VENTURE,INC. DBA ENERGY       449 15TH STREET SUITE 400
                                                                                                 SOLUTIONS                           OAKLAND, CA 94612

2. 1676    2019 GAS_TITLE 20                         12/31/2019      CCOTH_03687                 COHEN VENTURE,INC. DBA ENERGY       449 15TH STREET SUITE 400
                                                                                                 SOLUTIONS                           OAKLAND, CA 94612

2. 1677    2019 TITLE 24 BUILDING CODE               3/31/2019       CCOTH_03676                 COHEN VENTURE,INC. DBA ENERGY       449 15TH STREET SUITE 400
           ADVOCACY SUPPORT FOR                                                                  SOLUTIONS                           OAKLAND, CA 94612
           NONRESIDENTIAL CROSS-CUTTING
           LIGHTING – PHASE 3

2. 1678    CCTRS                                     12/31/2019      CCOTH_03689                 COHEN VENTURE,INC. DBA ENERGY       449 15TH STREET SUITE 400
                                                                                                 SOLUTIONS                           OAKLAND, CA 94612

2. 1679    CR FOR NON-RES LIGHTING T24 P6            12/31/2019      CCOTH_03679                 COHEN VENTURE,INC. DBA ENERGY       449 15TH STREET SUITE 400
                                                                                                 SOLUTIONS                           OAKLAND, CA 94612

2. 1680    ENERGY SOLUTIONS DATA GATHERING           11/30/2018      CCOTH_03786                 COHEN VENTURES DBA ENERGY           449 15TH ST STE 400
           FOR ALCS ET PROJECT                                                                   SOLUTIONS                           OAKLAND, CA 94612

2. 1681    HVAC PRODUCT DEVELOPMENT                  6/30/2019       CCOTH_03788                 COHEN VENTURES DBA ENERGY           449 15TH ST STE 400
           SUPPORT                                                                               SOLUTIONS                           OAKLAND, CA 94612

2. 1682    AGRICULTURAL CALCULATED                   Not Stated      CCOTH_00032                 COLEMAN FARMING CO LLC              285 W SHAW AVE STE 202
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                         FRESNO, CA 93704
           PROGRAM

2. 1683    GENERAL OFF-BILL AND ON-                  12/15/2020      CCOTH_01820                 COLFAX CARWASH LLC                  12122 DRY CREEK DR. #103
           BILLFINANCING LOAN AGREEMENT                                                                                              AUBURN, CA 95602

2. 1684    GENERAL OFF-BILL AND ON-                  1/29/2023       CCOTH_03038                 COLLEDGEWOOD INC - 1951 AVIATION    11812 KEMPER ROAD
           BILLFINANCING LOAN AGREEMENT                                                          BLVD                                AUBURN, CA 95603



                                                                      Page 171 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 172
                                                                                of 649
Pacific Gas and Electric Company                                                                                                   Case Number:        19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 1685    GENERAL OFF-BILL AND ON-                   5/7/2019       CCOTH_02054                 COLLEGE CENTER LLC - 1705          9530 HAGEMAN RD. B #196
           BILLFINANCING LOAN AGREEMENT                                                          COLUMBUS ST                        BAKERSFIELD, CA 93312

2. 1686    REAL PROPERTY LEASE - HBPP OFFICE         6/14/2023       CCCRSLS_000                 COLLEGE OF THE REDWOODS            COLLEGE OF THE REDWOODS,
                                                                         27                                                         REDWOODS COMMUNITY
                                                                                                                                    COLLEGE DISTRICT,
                                                                                                                                    7351 TOMPKINS HILLS RD
                                                                                                                                    EUREKA, CA

2. 1687    SEWER/WATER AGREEMENT                     Not Stated      CCCRSOT_000                 COLUSA, CITY OF                    CITY OF COLUSA, FINANCE DEPT -
                                                                         39                                                         BUSINESS OFFICE,
                                                                                                                                    425 WEBSTER ST
                                                                                                                                    COLUSA, CA 95932

2. 1688    CONTRACT WORK AUTHORIZATION TO            12/30/2020      CCNRD_02801                 COMFORT INTERNATIONAL              COMFORT INTERNATIONAL, INC.
           PROVIDE ENERGY EFFICIENCY                                                                                                25700 NORTH FIRST STREET
           IMPLEMENTATION SERVICES                                                                                                  2ND FLOOR, PMB#104
                                                                                                                                    SAN JOSE, CA 95131

2. 1689    MASTER SERVICES AGREEMENT                 12/31/2019      CCNRD_02804                 COMFORT INTERNATIONAL              COMFORT INTERNATIONAL, INC.
           PROVIDING THAT PG&E MAY ENTER                                                                                            25700 NORTH FIRST STREET
           INTO CONTRACT WORK                                                                                                       2ND FLOOR, PMB#104
           AUTHORIZATIONS WITH THIS VENDOR                                                                                          SAN JOSE, CA 95131
           FOR VARIOUS ENERGY EFFICIENCY
           SERVICES

2. 1690    GENERAL OFF-BILL AND ON-                  1/18/2020       CCOTH_03027                 COMMUNITY BANK OF SANTA MARIA -    P.O. BOX 41339
           BILLFINANCING LOAN AGREEMENT                                                          1421 S BROADWAY                    SANTA BARBARA, CA 93140

2. 1691    GENERAL OFF-BILL AND ON-                  2/28/2019       CCOTH_02969                 COMMUNITY BANK OF SANTA MARIA -    PO BOX 41339
           BILLFINANCING LOAN AGREEMENT                                                          2739 SANTA MARIA W                 SANTA MARIA, CA 93140

2. 1692    GENERAL OFF-BILL AND ON-                  7/17/2022       CCOTH_02841                 COMMUNITY BRIDGES - 521 MAIN ST    2 HARRIS CT STE B-1
           BILLFINANCING LOAN AGREEMENT                                                          STE Y                              MONTEREY, CA 93940

2. 1693    COMMERCIAL CALCULATED                     Not Stated      CCOTH_00110                 COMMUNITY MEDICAL CENTER           2755 HERNDON AVE
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                        CLOVIS, CA 93611
           PROGRAM

2. 1694    GENERAL OFF-BILL AND ON-                  11/8/2020       CCOTH_03124                 COMMUNITY MEDICAL CENTER INC -     6644 N. HIGHLAND
           BILLFINANCING LOAN AGREEMENT                                                          131 W A ST STE 1                   CLOVIS, CA 93619

                                                                      Page 172 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35               Page 173
                                                                                of 649
Pacific Gas and Electric Company                                                                                                     Case Number:        19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 1695    GENERAL OFF-BILL AND ON-                  12/8/2022       CCOTH_03125                 COMMUNITY MEDICAL CENTER INC -       6644 N. HIGHLAND
           BILLFINANCING LOAN AGREEMENT                                                          131 W A ST STE 2                     CLOVIS, CA 93619

2. 1696    GENERAL OFF-BILL AND ON-                   4/9/2021       CCOTH_03091                 COMMUNITY MEDICAL CENTER INC -       6644 N. HIGHLAND
           BILLFINANCING LOAN AGREEMENT                                                          131 W A ST STE 3                     CLOVIS, CA 93619

2. 1697    GENERAL OFF-BILL AND ON-                   9/7/2023       CCOTH_03090                 COMMUNITY MEDICAL CENTER INC -       6644 N. HIGHLAND
           BILLFINANCING LOAN AGREEMENT                                                          2019 E MARIPOSA RD                   CLOVIS, CA 93619

2. 1698    GENERAL OFF-BILL AND ON-                  9/30/2023       CCOTH_01227                 COMMUNITY MEDICAL CENTER INC -       6644 N HIGHLAND
           BILLFINANCING LOAN AGREEMENT                                                          2151 W GRANT LINE                    CLOVIS, CA 93619

2. 1699    GENERAL OFF-BILL AND ON-                   4/7/2021       CCOTH_03008                 COMMUNITY MEDICAL CENTER INC -       6644 N. HIGHLAND
           BILLFINANCING LOAN AGREEMENT                                                          701-03 E CHANNEL ST                  CLOVIS, CA 93619

2. 1700    GENERAL OFF-BILL AND ON-                   9/4/2023       CCOTH_01226                 COMMUNITY MEDICAL CENTER INC -       6644 N. HIGHLAND
           BILLFINANCING LOAN AGREEMENT                                                          732 CENTRAL AVE                      CLOVIS, CA 93619

2. 1701    GENERAL OFF-BILL AND ON-                  11/4/2023       CCOTH_01282                 COMMUNITY MEDICAL CENTER INC-        6644 N. HIGHLAND
           BILLFINANCING LOAN AGREEMENT                                                          1801 E MARCH LN BLDG                 CLOVIS, CA 93619

2. 1702    GENERAL OFF-BILL AND ON-                  12/19/2021      CCOTH_03114                 COMMUNITY MEDICAL CENTER INC-600     6644 N. HIGHLAND
           BILLFINANCING LOAN AGREEMENT                                                          NUT TREE RD                          CLOVIS, CA 93619

2. 1703    GENERAL OFF-BILL AND ON-                   7/7/2021       CCOTH_03087                 COMMUNITY MEDICAL CENTER INC-83      6644 N HIGHLAND
           BILLFINANCING LOAN AGREEMENT                                                          W MARCH LN STE 11                    CLOVIS, CA 93619

2. 1704    GENERAL OFF-BILL AND ON-                  7/19/2021       CCOTH_03131                 COMMUNITY MEDICAL CTR INC-600        6644 N. HIGHLAND
           BILLFINANCING LOAN AGREEMENT                                                          NUT TREE RD STE 340                  CLOVIS, CA 93619

2. 1705    GENERAL OFF-BILL AND ON-                  9/19/2021       CCOTH_03130                 COMMUNITY MEDICAL CTR INC-600        6644 N. HIGHLAND
           BILLFINANCING LOAN AGREEMENT                                                          NUT TREE RD STE 350                  CLOVIS, CA 93619

2. 1706    GENERAL OFF-BILL AND ON-                  3/19/2021       CCOTH_03129                 COMMUNITY MEDICAL CTR INC-600        6644 N. HIGHLAND
           BILLFINANCING LOAN AGREEMENT                                                          NUT TREE RD STE 360                  CLOVIS, CA 93619

2. 1707    GENERAL OFF-BILL AND ON-                  7/30/2022       CCOTH_01292                 COMPUGRAPHICS U.S.A. INC. - 43455    10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          OSGOOD RD                            SANTA FE SPRINGS, CA 90670



                                                                      Page 173 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                  Page 174
                                                                                of 649
Pacific Gas and Electric Company                                                                                                     Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 1708    GENERAL OFF-BILL AND ON-                  5/31/2023       CCOTH_02676                 CON LEE (C&A) RESTAURANTS (380)-     8959 TYLER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          522 EL CAMINO REAL                   MENTOR, OH 44060

2. 1709    GENERAL OFF-BILL AND ON-                  3/31/2022       CCOTH_02990                 CON LEE (C&A) RESTAURANTS            8959 TYLER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          INC(25945),576 LINDA MAR             MENTOR, OH 44060

2. 1710    GENERAL OFF-BILL AND ON-                  6/24/2021       CCOTH_02989                 CON LEE (CON&CON) RESTAURANTS        877 CEDAR STREET, SUITE 240
           BILLFINANCING LOAN AGREEMENT                                                          (1528) -952 EL MONTE                 SANTA CRUZ, CA 95060

2. 1711    GENERAL OFF-BILL AND ON-                  7/31/2023       CCOTH_02988                 CON LEE (CON&CON) RESTAURANTS        8959 TYLER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          (2512),1100 EL CAMIN                 MENTOR, OH 44060

2. 1712    GENERAL OFF-BILL AND ON-                   4/9/2021       CCOTH_02677                 CON LEE (CON&CON) RESTAURANTS        8959 TYLER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          (6793) - 536 WHIPPLE                 MENTOR, OH 44060

2. 1713    GENERAL OFF-BILL AND ON-                  2/29/2020       CCOTH_02223                 CON LEE RESTAURANTS INC - 185        2491 ALLUVIAL AVENUE #480
           BILLFINANCING LOAN AGREEMENT                                                          CHESTNUT ST                          CLOVIS, CA 93611

2. 1714    GENERAL OFF-BILL AND ON-                  7/18/2021       CCOTH_02224                 CON LEE RESTAURANTS INC -            2491 ALLUVIAL AVENUE #480
           BILLFINANCING LOAN AGREEMENT                                                          MCDONALD'S #1660                     CLOVIS, CA 93611

2. 1715    GENERAL OFF-BILL AND ON-                  9/23/2020       CCOTH_03098                 CON LEE RESTAURANTS INC (16328)-     8959 TYLER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          1060 N RENGSTORFF                    MENTOR, OH 44060

2. 1716    GENERAL OFF-BILL AND ON-                  12/24/2021      CCOTH_03097                 CON LEE RESTAURANTS INC (32554) -    8959 TYLER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          18578 PROSPECT RD                    MENTOR, OH 44060

2. 1717    GENERAL OFF-BILL AND ON-                  12/19/2023      CCOTH_03096                 CON LEE RESTAURANTS INC (3769) -     8959 TYLER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          10990 N STELLING                     MENTOR, OH 44060

2. 1718    GARBAGE AGREEMENT                         Not Stated      CCCRSOT_000                 CONCORD DISPOSAL SERVICE             CONCORD DISPOSAL SERVICE
                                                                         41                                                           CONCORD, CA

2. 1719    REAL PROPERTY LEASE - CONCORD             9/30/2023       CCCRSLS_001                 CONCORD JET SERVICE, INC.            CONCORD JET SERVICE INC
           BUCHANAN FIELD AIRPORT HANGAR                                 02                                                           CONCORD, CA




                                                                      Page 174 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                  Page 175
                                                                                of 649
Pacific Gas and Electric Company                                                                                                 Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                               Address
                                                    or Remaining
                                                        Term


2. 1720    SEWER AGREEMENT                           Not Stated      CCCRSOT_000                 CONCORD, CITY OF                 CITY OF CONCORD, FINANCE
                                                                         40                                                       DEPT,
                                                                                                                                  1950 PARKSIDE DR MS/09
                                                                                                                                  CONCORD, CA 94519

2. 1721    GENERAL OFF-BILL AND ON-                  2/16/2022       CCOTH_01707                 CONNOLLY,PETER                   633 THIRD ST.
           BILLFINANCING LOAN AGREEMENT                                                                                           EUREKA, CA 95501

2. 1722    SEWER AGREEMENT                           Not Stated      CCCRSOT_000                 CONSOLIDATED UTILITIES           SACRAMENTO COUNTY UTILITIES
                                                                         42                                                       SACRAMENTO, CA

2. 1723    MASTER AGREEMENT FOR ISSUANCE             10/12/2028      CCNRD_00022                 CONTERRA WIRELESS BROADBAND,     ATTN: GENERAL COUNSEL
           OF LICENSES TO                                                                        LLC                              2101 REXFORD RD.
           TELECOMMUNICATIONS CUSTOMER                                                                                            SUITE 200 EAST
           FOR MICROWAVE DISH ATTACHEMNT                                                                                          CHARLOTTE, NORTH CAROLINA
                                                                                                                                  28211

2. 1724    CALIFORNIA COMMUNITY COLLEGES -           Not Stated      CCOTH_00064                 CONTRA COSTA COMMUNITY COLLEGE 500 COURT ST.
           CUSTOMIZED RETROFIT                                                                                                  MARTINEZ, CA 94553

2. 1725    CALIFORNIA COMMUNITY COLLEGES -           Not Stated      CCOTH_00065                 CONTRA COSTA COMMUNITY COLLEGE 500 COURT ST.
           CUSTOMIZED RETROFIT                                                                                                  MARTINEZ, CA 94553

2. 1726    CALIFORNIA COMMUNITY COLLEGES -           Not Stated      CCOTH_00066                 CONTRA COSTA COMMUNITY COLLEGE 500 COURT ST.
           CUSTOMIZED RETROFIT                                                                                                  MARTINEZ, CA 94553

2. 1727    CALIFORNIA COMMUNITY COLLEGES -           Not Stated      CCOTH_00067                 CONTRA COSTA COMMUNITY COLLEGE 500 COURT ST.
           CUSTOMIZED RETROFIT                                                                                                  MARTINEZ, CA 94553

2. 1728    CALIFORNIA COMMUNITY COLLEGES -           Not Stated      CCOTH_00068                 CONTRA COSTA COMMUNITY COLLEGE 500 COURT ST.
           CUSTOMIZED RETROFIT                                                                                                  MARTINEZ, CA 94553

2. 1729    CALIFORNIA COMMUNITY COLLEGES -           Not Stated      CCOTH_00093                 CONTRA COSTA COMMUNITY COLLEGE 500 COURT ST.
           SAVINGS BY DESIGN WHOLE BUILDING                                                      DISTRICT                       MARTINEZ, CA 94553

2. 1730    WATER AGREEMENT                           Not Stated      CCCRSOT_000                 CONTRA COSTA WATER DISTRICT      CONTRA COSTA WATER DISTRICT
                                                                         43                                                       CONCORD, CA

2. 1731    GENERAL OFF-BILL AND ON-                   1/7/2021       CCOTH_02345                 COPPERKNOLL BUSINESS &           13170 LINCOLN WAY
           BILLFINANCING LOAN AGREEMENT                                                          PROFESSIONAL CO - 2085 DRIV      AUBURN, CA 95603

                                                                      Page 175 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 176
                                                                                of 649
Pacific Gas and Electric Company                                                                                                     Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 1732    GENERAL OFF-BILL AND ON-                  1/22/2019       CCOTH_01544                 CORBETT VINEYARDS LLC                2195 CORBETT CANYON ROAD
           BILLFINANCING LOAN AGREEMENT                                                                                               ARROYO GRANDE, CA 93420

2. 1733    CONSULTING AND ENERGY                     2/13/2019       CCNRD_02891                 CORCORAN IRRIGATION DISTRICT         PO BOX 566 CORCORAN CA 93212
           MANAGEMENT SERVICES                                                                                                        CORCORAN, CA 93212

2. 1734    GENERAL OFF-BILL AND ON-                  9/30/2019       CCOTH_03057                 CORCORAN MOTORS TRANS - 4TH AVE      PO BOX 338
           BILLFINANCING LOAN AGREEMENT                                                          & REDDING                            CORCORAN, CA 93212

2. 1735    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00605                 CORINNE FOO-ATKINS                   539 16TH AVE
           ADVANCED HOME UPGRADE                                                                                                      SAN FRANCISCO, CA 94118
           (CUSTOM/CALCULATED)

2. 1736    GENERAL OFF-BILL AND ON-                  10/4/2018       CCOTH_02085                 CORINTHIAN EVENT CENTER LLC          2221 STANDARD AVENUE
           BILLFINANCING LOAN AGREEMENT                                                                                               SANTA ANA, CA 92707

2. 1737    WATER/SEWER AGREEMENT                     Not Stated      CCCRSOT_000                 CORNING, CITY OF                     CITY OF CORNING
                                                                         44                                                           794 THIRD ST
                                                                                                                                      CORNING, CA 96021

2. 1738    GENERAL OFF-BILL AND ON-                  8/28/2022       CCOTH_02825                 CORRAL DE TIERRA COUNTRY CLUB -      10 HARRIS CT STE C-2
           BILLFINANCING LOAN AGREEMENT                                                          81 CORRAL DE TIERR                   MONTEREY, CA 93940

2. 1739    GENERAL OFF-BILL AND ON-                   2/8/2021       CCOTH_01201                 CORTESE INVESTMENT CO - 2411 OLD     21 LAFAYETTE CIRCLE, STE 200
           BILLFINANCING LOAN AGREEMENT                                                          CROW CANYON RD ST                    LAFAYETTE, CA 94549

2. 1740    GENERAL OFF-BILL AND ON-                   8/6/2019       CCOTH_01942                 COSMO FAGUNDO - 3221 S WHITE RD -    12820 EARHEART
           BILLFINANCING LOAN AGREEMENT                                                                                               AUBURN, CA 95602

2. 1741    COMMERCIAL CALCULATED                     Not Stated      CCOTH_00127                 COSTCO WHOLESALE, INC.               999 LAKE DRIVE
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                          ISSAQUAH, WA 98027
           PROGRAM

2. 1742    GENERAL OFF-BILL AND ON-                  8/27/2028       CCOTH_03159                 COTATI USD - MARGUERITE HAHN         27611 LA PAZ RD, SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                                                               LAGUNA NIGUEL, CA 92677

2. 1743    GENERAL OFF-BILL AND ON-                  5/19/2019       CCOTH_01979                 COUNTRY MARKET INVESTMENTS INC       5235 HAPPY VALLEY RD
           BILLFINANCING LOAN AGREEMENT                                                                                               ANDERSON, CA 96007



                                                                      Page 176 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                 Page 177
                                                                                of 649
Pacific Gas and Electric Company                                                                                                   Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                 Address
                                                    or Remaining
                                                        Term


2. 1744    GENERAL OFF-BILL AND ON-                  7/26/2022       CCOTH_02205                 COUNTY OF CONTRA COSTA             2467 WATERBIRD WAY
           BILLFINANCING LOAN AGREEMENT                                                                                             MARTINEZ, CA 94553

2. 1745    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03363                 COUNTY OF FRESNO                   4590 EAST KING CANYON ROAD
           BY DESIGN WHOLE BUILDING                                                                                                 FRESNO, CA 93702

2. 1746    GENERAL OFF-BILL AND ON-                  2/26/2028       CCOTH_02424                 COUNTY OF GLENN - LEARNING         27611 LA PAZ RD, STE A2
           BILLFINANCING LOAN AGREEMENT                                                          CENTER                             LAGUNA NIGUEL, CA 92677

2. 1747    GENERAL OFF-BILL AND ON-                  2/26/2028       CCOTH_02423                 COUNTY OF GLENN - OFFICE OF        27611 LA PAZ RD, SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                          EDUCATION 311 ADMIN BL             LAGUNA NIGUEL, CA 92677

2. 1748    2019 LGP SCOPE OF WORK                    12/31/2019      CCOTH_03718                 COUNTY OF MARIN                    3501 CIVIC CENTER DR. RM 308
                                                                                                                                    SAN RAFAEL, CA 94903

2. 1749    MIGRATED TO 2700176428 FROM               6/30/2019       CCOTH_03704                 COUNTY OF MARIN                    3501 CIVIC CENTER
           2501344160                                                                                                               ROOM 308
                                                                                                                                    SAN RAFAEL, CA 94903

2. 1750    GENERAL OFF-BILL AND ON-                  6/20/2024       CCOTH_01814                 COUNTY OF MARIN - CIVIC CENTER     PO BOX 4186
           BILLFINANCING LOAN AGREEMENT                                                                                             SAN RAFAEL, CA 94913

2. 1751    GENERAL OFF-BILL AND ON-                  9/14/2022       CCOTH_02332                 COUNTY OF MARIN (ETAP GARAGE       3501 CIVIC CENTER DRIVE, RM 308
           BILLFINANCING LOAN AGREEMENT                                                          LIGHTING)                          SAN RAFAEL, CA 94903

2. 1752    GENERAL OFF-BILL AND ON-                   5/1/2023       CCOTH_01441                 COUNTY OF MARIN (LED               P.O. BOX 4186
           BILLFINANCING LOAN AGREEMENT                                                          STREETLIGHTS)                      SAN RAFAEL, CA

2. 1753    GENERAL OFF-BILL AND ON-                  8/18/2022       CCOTH_01497                 COUNTY OF MERCED - STREETLIGHTS    715 MLK JR WAY
           BILLFINANCING LOAN AGREEMENT                                                                                             MERCED, CA 95341

2. 1754    GENERAL OFF-BILL AND ON-                   1/5/2021       CCOTH_02039                 COUNTY OF NEVADA                   10973 ROUGH AND READY HWY
           BILLFINANCING LOAN AGREEMENT                                                                                             GRASS VALLEY, CA 95945

2. 1755    GENERAL OFF-BILL AND ON-                  10/18/2027      CCOTH_02060                 COUNTY OF NEVADA - 13083 JOHN      2851 W, KATHLEEN RD.
           BILLFINANCING LOAN AGREEMENT                                                          BAUER AVE                          PHOENIX, AZ 85053




                                                                      Page 177 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                  Page 178
                                                                                of 649
Pacific Gas and Electric Company                                                                                                    Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                 Address
                                                    or Remaining
                                                        Term


2. 1756    GARBAGE AGREEMENT                         Not Stated      CCCRSOT_000                 COUNTY OF NEVADA DEPT OF            COUNTY OF NEVADA, COMMUNITY
                                                                         45                      SANITATION                          DEVELOPMENT AGENCY,
                                                                                                                                     DEPARTMENT OF PUBLIC WORKS
                                                                                                                                     950 MAIDU AVE STE 290
                                                                                                                                     NEVADA CITY, CA

2. 1757    COMMERCIAL CALCULATED                     Not Stated      CCOTH_00173                 COUNTY OF SAN LUIS OBISPO           1050 MONTEREY ST.
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                         SAN LUIS OBISPO, CA 93408
           PROGRAM

2. 1758    SST IMPLEMENTATION OF ENERGY               5/1/2018       CCNRD_02793                 COUNTY OF SAN LUIS OBISPO           COUNTY OF SAN LUIS OBISPO
           EFFICIENCY MEASURES                                                                                                       1087 SANTA ROSA ST
                                                                                                                                     SAN LUIS OBISPO, CA 93401

2. 1759    COMMERCIAL CALCULATED                     Not Stated      CCOTH_00141                 COUNTY OF SAN MATEO                 555 COUNTY CENTER 5TH FLR
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                         REDWOOD CITY, CA 94063
           PROGRAM

2. 1760    COMMERCIAL CALCULATED                     Not Stated      CCOTH_00197                 COUNTY OF SAN MATEO                 555 COUNTY CENTER, 5TH FLOOR
           INCENTIVES - RETRO COMMISSIONING                                                                                          ATTN. ANDY
           (RCX)                                                                                                                     REDWOOD CITY, CA 94063

2. 1761    GENERAL OFF-BILL AND ON-                  4/30/2022       CCOTH_02075                 COUNTY OF SAN MATEO                 5600 A SUNOL BLVD
           BILLFINANCING LOAN AGREEMENT                                                                                              PLEASANTON, CA 94566

2. 1762    GENERAL OFF-BILL AND ON-                  2/11/2025       CCOTH_03011                 COUNTY OF SANTA CLARA - 160 N       2108 MANASSAS COURT
           BILLFINANCING LOAN AGREEMENT                                                          MAIN ST                             SAN JOSE, CA 95116

2. 1763    GENERAL OFF-BILL AND ON-                  12/5/2022       CCOTH_02364                 COUNTY OF SANTA CRUZ - 1400         877 CEDAR ST. STE 240
           BILLFINANCING LOAN AGREEMENT                                                          EMELINE AVE                         SANTA CRUZ, CA 95060

2. 1764    GENERAL OFF-BILL AND ON-                  12/6/2023       CCOTH_02079                 COUNTY OF SANTA CRUZ - 701 OCEAN    877 CEDAR STREET, SUITE 240
           BILLFINANCING LOAN AGREEMENT                                                          ST                                  **OVERNIGHT UPS DELIVERY**
                                                                                                                                     PCC 15434
                                                                                                                                     SANTA CRUZ, CA 95060

2. 1765    GENERAL OFF-BILL AND ON-                  6/30/2022       CCOTH_02384                 COUNTY OF SANTA CRUZ - 701 OCEAN    804 ESTATES DR. STE 202
           BILLFINANCING LOAN AGREEMENT                                                          ST                                  APTOS, CA 95003




                                                                      Page 178 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                  Page 179
                                                                                of 649
Pacific Gas and Electric Company                                                                                                 Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                               Address
                                                    or Remaining
                                                        Term


2. 1766    WATER/SEWER AGREEMENT                     Not Stated      CCCRSOT_000                 COUNTY OF SHASTA                 COUNTY OF SHASTA,
                                                                         46                                                       DEPARTMENT OF PUBLIC WORKS,
                                                                                                                                  1855 PLACER ST
                                                                                                                                  REDDING, CA 96001

2. 1767    2019 LGP SCOPE OF WORK                    12/31/2019      CCOTH_03707                 COUNTY OF SONOMA                 2300 COUNTY CTR DR STE A200
                                                                                                                                  SANTA ROSA, CA 95403

2. 1768    GENERAL OFF-BILL AND ON-                  9/12/2024       CCOTH_01338                 COUNTY OF SONOMA                 2300 COUNTY CENTER DR., SUITE
           BILLFINANCING LOAN AGREEMENT                                                                                           120A
                                                                                                                                  SANTA ROSA, CA 95403

2. 1769    GENERAL OFF-BILL AND ON-                   6/9/2020       CCOTH_01339                 COUNTY OF SONOMA                 2300 COUNTY CENTERY DR.,
           BILLFINANCING LOAN AGREEMENT                                                                                           SUITE 120A
                                                                                                                                  SANTA ROSA, CA 95403

2. 1770    SEWER AGREEMENT                           Not Stated      CCCRSOT_000                 COUNTY OF SONOMA                 COUNTY OF SONOMA, PERMIT &
                                                                         47                                                       RESOURCE MANAGEMENT DEPT,
                                                                                                                                  2550 VENTURA AVE
                                                                                                                                  SANTA ROSA, CA

2. 1771    GENERAL OFF-BILL AND ON-                  2/12/2019       CCOTH_02957                 COUNTY OF SONOMA (CHANATE        2300 COUNTY CENTER DRIVE, A200
           BILLFINANCING LOAN AGREEMENT                                                          BUILDINGS)                       SANTA ROSA, CA 95404

2. 1772    WELL PERMIT                               Not Stated      CCCRSOT_000                 COUNTY OF YUBA (YUBA COUNTY      COUNTY OF YUBA,
                                                                         48                      COMMUNITY)                       ENVIRONMENTAL HEALTH DEPT,
                                                                                                                                  915 8TH ST #123
                                                                                                                                  MARYSVILLE, CA 95901

2. 1773    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00317                 COUNTY RESTAURANT SUPPLY         711 OLD COUNTY ROAD
           DEEMED UPSTREAM / MIDSTREAM -                                                         COMPANY                          SAN CARLOS, CA 94070
           POINT-OF-SALE FOOD

2. 1774    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00318                 COUNTY RESTAURANT SUPPLY         711 OLD COUNTY ROAD
           DEEMED UPSTREAM / MIDSTREAM -                                                         COMPANY                          SAN CARLOS, CA 94070
           POINT-OF-SALE FOOD

2. 1775    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00319                 COUNTY RESTAURANT SUPPLY         711 OLD COUNTY ROAD
           DEEMED UPSTREAM / MIDSTREAM -                                                         COMPANY                          SAN CARLOS, CA 94070
           POINT-OF-SALE FOOD


                                                                      Page 179 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 180
                                                                                of 649
Pacific Gas and Electric Company                                                                                                      Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                   Address
                                                    or Remaining
                                                        Term


2. 1776    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00320                 COUNTY RESTAURANT SUPPLY              711 OLD COUNTY ROAD
           DEEMED UPSTREAM / MIDSTREAM -                                                         COMPANY                               SAN CARLOS, CA 94070
           POINT-OF-SALE FOOD

2. 1777    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00535                 CRAIG DESHIELDS                       2675 W TENAYA WAY
           ADVANCED HOME UPGRADE                                                                                                       FRESNO, CA 93711
           (CUSTOM/CALCULATED)

2. 1778    GENERAL OFF-BILL AND ON-                  12/13/2022      CCOTH_03052                 CRAIG J STAGNARO - 4520 MISSION ST    4021 BERESFORD STREET
           BILLFINANCING LOAN AGREEMENT                                                                                                SAN MATEO, CA 94403

2. 1779    CONSULTING AND ENERGY                     7/20/2019       CCNRD_02900                 CRAIN ORCHARDS, INC.                  10695 DECKER AVE
           MANAGEMENT SERVICES                                                                                                         MOLINOS, CA 96055

2. 1780    GENERAL OFF-BILL AND ON-                  3/18/2021       CCOTH_03061                 CREDI BAKERSFIELD, LP - 3839 MING     9530 HAGEMAN RD. B#196
           BILLFINANCING LOAN AGREEMENT                                                          AVE                                   BAKERSFIELD, CA 93312

2. 1781    GENERAL OFF-BILL AND ON-                  7/26/2020       CCOTH_02180                 CREEKBRIDGE OFFICE CENTER II,LLC      804 ESTATES DR. STE 202
           BILLFINANCING LOAN AGREEMENT                                                                                                APTOS, CA 95003

2. 1782    GENERAL OFF-BILL AND ON-                   9/2/2019       CCOTH_01537                 CREEKBRIDGE VILLAGE LLC               1540 CONSTITUTION BLVD.
           BILLFINANCING LOAN AGREEMENT                                                                                                SALINAS, CA 93905

2. 1783    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00305                 CRESCO                                2018 S. VAN NESS
           DEEMED UPSTREAM / MIDSTREAM -                                                                                               FRESNO, CA 93721
           POINT-OF-SALE FOOD

2. 1784    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00306                 CRESCO                                2018 S. VAN NESS
           DEEMED UPSTREAM / MIDSTREAM -                                                                                               FRESNO, CA 93721
           POINT-OF-SALE FOOD

2. 1785    AGRICULTURAL CALCULATED                   Not Stated      CCOTH_00024                 CRISTIANO MARTINS                     SE SE SW 1 23 23
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                           CORCORAN, CA 93212
           PROGRAM

2. 1786    SEWER AGREEMENT                           Not Stated      CCCRSOT_000                 CROCKETT SANITARY DEPARTMENT          CROCKETT COMM SERVICES
                                                                         49                                                            DISTRICT, CROCKETT SANITARY
                                                                                                                                       DEPARTMENT,
                                                                                                                                       CROCKETT, CA



                                                                      Page 180 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                 Page 181
                                                                                of 649
Pacific Gas and Electric Company                                                                                                   Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 1787    SMARTAC                                   Not Stated      CCOTH_03593                 CROWHURST,HENRY                    13 GOLDENEYE CT
                                                                                                                                    CHICO, CA 95928

2. 1788    SINGLE-FAMILY AFFORDABLE SOLAR            Not Stated      CCOTH_03577                 CRUM,BARBARA                       49 BUENA VISTA DR
           HOMES (SASH)                                                                                                              FREEDOM, CA 95019

2. 1789    UNIVERSITY OF                             Not Stated      CCOTH_03640                 CSU STANISLAUS                     1 UNIVERSITY CIRCLE
           CALIFORNIA/CALIFORNIA STATE                                                                                              TURLOCK, CA 95382
           UNIVERSITY - CUSTOMIZED RETROFIT

2. 1790    GENERAL OFF-BILL AND ON-                  1/21/2020       CCOTH_01676                 CUESTA INVESTMENTS                 P.O. BOX 4960
           BILLFINANCING LOAN AGREEMENT                                                                                             MIKE SELL - PRESIDENT
                                                                                                                                    SAN LUIS OBISPO, CA 93403

2. 1791    GENERAL OFF-BILL AND ON-                  6/15/2022       CCOTH_02430                 CUNHA GROCERY INC - 448 MAIN ST    448 MAIN ST
           BILLFINANCING LOAN AGREEMENT                                                                                             HALF MOON BAY, CA 94019

2. 1792    MASTER SERVICES AGREEMENT                 12/31/2020      CCNRD_02859                 CUPERTINO                          1132 N. 7TH ST
           PROVIDING THAT PG&E MAY ENTER                                                                                            SAN JOSE, CA 95112
           INTO CONTRACT WORK
           AUTHORIZATIONS WITH THIS VENDOR
           FOR VARIOUS MAINTENACE AND
           RELATED SERVICES FOR CUSTOMER-
           OWNED FACILITIES

2. 1793    GENERAL OFF-BILL AND ON-                  2/28/2021       CCOTH_02099                 CUPERTINO CITY CENTER              14355 INDUSTRY CIRCLE
           BILLFINANCING LOAN AGREEMENT                                                                                             LA MIRANDA, CA 90638

2. 1794    STREET LIGHT REPLACEMENT                  12/31/2020      CCNRD_02779                 CUPERTINO ELECTRIC, INC            CUPERTINO ELECTRIC INC
           CONTRACTOR SERVICES                                                                                                      1132 NORTH SEVENTH ST
                                                                                                                                    SAN JOSE, CA 95112

2. 1795    SEWER AGREEMENT                           Not Stated      CCCRSOT_000                 CUPERTINO SANITARY DISTRICT        CUPERTINO SANITARY DISTRICT,
                                                                         51                                                         SANTA CLARA COUNTY,
                                                                                                                                    20833 STEVENS CREEK BLVD #104
                                                                                                                                    CUPERTINO, CA 95014

2. 1796    GENERAL OFF-BILL AND ON-                  12/30/2021      CCOTH_01168                 CURTIS DURAN - 10165 COMMERCIAL    12122 DRY CREEK RD. STE 103
           BILLFINANCING LOAN AGREEMENT                                                          AVE BLDG A                         AUBURN, CA 95602



                                                                      Page 181 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 182
                                                                                of 649
Pacific Gas and Electric Company                                                                                                     Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 1797    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00615                 CURTIS HILL                          401 PINTAIL DR
           ADVANCED HOME UPGRADE                                                                                                      SUISUN CITY, CA 94585
           (CUSTOM/CALCULATED)

2. 1798    GENERAL OFF-BILL AND ON-                  2/12/2020       CCOTH_02967                 CUSTOM MICRO MACH INC - 707          10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          BROWN RD                             SANTA FE SPRINGS, CA 90670

2. 1799    GENERAL OFF-BILL AND ON-                  12/13/2020      CCOTH_01859                 CYPRESS MANDELA TRAINING CENTER PO BOX 41339
           BILLFINANCING LOAN AGREEMENT                                                          INC                             SANTA BARBARA, CA 93140

2. 1800    GENERAL OFF-BILL AND ON-                  3/24/2019       CCOTH_01445                 D B HILL STORES INC                  1390 RIDGEWOOD DR. STE 10
           BILLFINANCING LOAN AGREEMENT                                                                                               CHICO, CA 95973

2. 1801    GENERAL OFF-BILL AND ON-                   2/5/2021       CCOTH_02709                 D DOSHACK - 7565 MONTEREY ST         885 EMBARCADERO DRIVE
           BILLFINANCING LOAN AGREEMENT                                                                                               ATTN: MICHAEL BANDUCCI
                                                                                                                                      WEST SACRAMENTO, CA 95605

2. 1802    GENERAL OFF-BILL AND ON-                  7/28/2019       CCOTH_02484                 DAIRY AVENUE, LLC - 36569 6TH AVE    P.O. BOX 98
           BILLFINANCING LOAN AGREEMENT                                                                                               CORCORAN, CA 93212

2. 1803    SELF-GENERATION INCENTIVE                 Not Stated      CCOTH_03524                 DALTON SHORT                         2655 BARBERA WAY
           PROGRAM                                                                                                                     RANCHO CORDOVA, CA 95670

2. 1804    FIRE SERVICE                              Not Stated      CCCRSOT_000                 DALY CITY, CITY OF                   CITY OF DALY CITY
                                                                         53                                                           333-90TH ST 1ST FL
                                                                                                                                      DALY CITY, CA 94015

2. 1805    WATER AGREEMENT                           Not Stated      CCCRSOT_000                 DALY CITY, CITY OF                   CITY OF DALY CITY, UTILITY
                                                                         52                                                           BILLING DIVISION,
                                                                                                                                      333-90TH STREET
                                                                                                                                      DALY CITY, CA 94015

2. 1806    GENERAL OFF-BILL AND ON-                  6/21/2020       CCOTH_01585                 DAN & CATHY JENKS                    6120 LINCOLN BLVD. SUITE G
           BILLFINANCING LOAN AGREEMENT                                                                                               OROVILLE, CA 95966

2. 1807    REAL PROPERTY LEASE - TRACY CSO           12/31/2020      CCCRSLS_000                 DAN AND JEANNIE BORDEN               DAN AND JEANNIE BORDEN
                                                                         88                                                           CARMEL, CA




                                                                      Page 182 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                 Page 183
                                                                                of 649
Pacific Gas and Electric Company                                                                                                Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                              Address
                                                    or Remaining
                                                        Term


2. 1808    GENERAL OFF-BILL AND ON-                  12/4/2019       CCOTH_01867                 DAN CARLINO ENTERPRISE INC      27363 VIA INDUSTRIA
           BILLFINANCING LOAN AGREEMENT                                                                                          ALAYNA LESICKO
                                                                                                                                 TEMECULA, CA 92590

2. 1809    ELECTRIC HEAT PUMPS FOR DOMESTIC          12/31/2018      CCOTH_03767                 DAN PERUNKO                     111 MILL ST.
           SPACE AND WATER HEATING:                                                                                              NEVADA CITY, CA 95945
           APPLICATIONS AND CONSIDERATIONS,
           OPTIMIZING RESIDENTIAL HVAC
           SYSTEM PERFORMANCE, BALANCED
           VENTILATION FOR HIGH PERFORMANCE
           HOMES

2. 1810    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01059                 DAN RUBENSTEIN                  1491 DETROIT AVE
                                                                                                                                 CONCORD 94520

2. 1811    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00926                 DAN SUNSERI                     2635 ABORN RD
                                                                                                                                 SAN JOSE 95121

2. 1812    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01054                 DAN ZAICH                       150 3RD ST
                                                                                                                                 SAN RAFAEL 94901

2. 1813    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01039                 DANA ARMANINO                   1600 LOS GAMOS DR.
                                                                                                                                 SAN RAFAEL 94903

2. 1814    REAL PROPERTY LEASE - KERMAN CSO          6/30/2019       CCCRSLS_000                 DANA BUTCHER, RECEIVER          DANA BUTCHER RECEIVER
                                                                         37                                                      1690 W SHAW #220
                                                                                                                                 FRESNO, CA 93711

2. 1815    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00770                 DANA HAMILTON                   5200 DISTRICT BLVD
                                                                                                                                 BAKERSFIELD 93313

2. 1816    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00505                 DANIEL KOO                      4320 LAWRENCE DR
           ADVANCED HOME UPGRADE                                                                                                 CASTRO VALLEY, CA 94546
           (CUSTOM/CALCULATED)

2. 1817    AGRICULTURAL CALCULATED                   Not Stated      CCOTH_00056                 DANIEL RIDLEY                   1547 PALOS VERDES #264
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                     WALNUT CREEK, CA 94597
           PROGRAM




                                                                      Page 183 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35               Page 184
                                                                                of 649
Pacific Gas and Electric Company                                                                                                    Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 1818    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00967                 DANIELLE MELLO                      225 WESTRIDGE DRIVE
                                                                                                                                     WATSONVILLE 95076

2. 1819    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03369                 DARDEN ARCHITECTS INC.              6790 N. WEST AVE
           BY DESIGN WHOLE BUILDING                                                                                                  FRESNO, CA 93711

2. 1820    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03360                 DARDEN ARCHITECTS, INC.             6790 NORTH WEST AVENUE
           BY DESIGN WHOLE BUILDING                                                                                                  FRESNO, CA 93711

2. 1821    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03361                 DARDEN ARCHITECTS, INC.             6790 NORTH WEST AVENUE
           BY DESIGN WHOLE BUILDING                                                                                                  FRESNO, CA 93711

2. 1822    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03368                 DARDEN ARCHITECTS, INC.             6790 N. WEST AVE
           BY DESIGN WHOLE BUILDING                                                                                                  FRESNO, CA 93711

2. 1823    SELF-GENERATION INCENTIVE                 Not Stated      CCOTH_03549                 DARRELL & DEANDA GRANT              9452 WILLOW OAK RD.
           PROGRAM                                                                                                                    SALINAS, CA 93907

2. 1824    GENERAL OFF-BILL AND ON-                  12/11/2022      CCOTH_02019                 DARRELL R OSBORN                    24197 SUMMIT ROAD
           BILLFINANCING LOAN AGREEMENT                                                                                              **UPS OVERNIGHT DELIVERY**
                                                                                                                                     LOS GATOS, CA 95033

2. 1825    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01006                 DARRELL SISLER                      195 S MILPITAS BLVD
                                                                                                                                     MILPITAS 95035

2. 1826    GENERAL OFF-BILL AND ON-                  11/25/2018      CCOTH_02928                 DARRELL WILLIAMS CHEVRON, INC.      3960 GRASS VALLEY HIGHWAY
           BILLFINANCING LOAN AGREEMENT                                                          DBA DRY CREEK 76                    DARRELL WILLIAMS
                                                                                                                                     AUBURN, CA 95602

2. 1827    GENERAL OFF-BILL AND ON-                  2/25/2020       CCOTH_02240                 DATELINE PROPERTIES INC             222 SUTTER ST., SUITE 700
           BILLFINANCING LOAN AGREEMENT                                                                                              EMMA BASSEIN, VICE PRESIDENT
                                                                                                                                     SAN FRANCISCO, CA 94108

2. 1828    GENERAL OFF-BILL AND ON-                  3/17/2023       CCOTH_02894                 DAVID & WILLIAM BOCKHOLT - 370      1725 RUTAN DRIVE
           BILLFINANCING LOAN AGREEMENT                                                          HATCH DR # A                        LIVERMORE, CA 94551

2. 1829    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00723                 DAVID BENNETT                       650 KING STREET
                                                                                                                                     SAN FRANCISCO 94107



                                                                      Page 184 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 185
                                                                                of 649
Pacific Gas and Electric Company                                                                                    Case Number:       19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                  Address
                                                    or Remaining
                                                        Term


2. 1830    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01047                 DAVID BENNETT       151 ALMADEN BOULEVARD
                                                                                                                     SAN JOSE 95113

2. 1831    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00519                 DAVID BERGERON      810 ELM DR
           ADVANCED HOME UPGRADE                                                                                     DIXON, CA 95620
           (CUSTOM/CALCULATED)

2. 1832    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00993                 DAVID GALLEGO       1 VISTA MONTANA
                                                                                                                     SAN JOSE 95134

2. 1833    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00781                 DAVID HARBOUR       501 PICO BLVD.
                                                                                                                     SAN CARLOS 94070

2. 1834    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00898                 DAVID HARBOUR       301 NORTH ACCESS ROAD
                                                                                                                     SOUTH SAN FRANCISCO 94080

2. 1835    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00613                 DAVID KEITH         4880 CAMERON RD
           ADVANCED HOME UPGRADE                                                                                     SHINGLE SPRINGS, CA 95682
           (CUSTOM/CALCULATED)

2. 1836    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00962                 DAVID KNIGHT        2350 QUME DRIVE
                                                                                                                     SAN JOSE 95131

2. 1837    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00715                 DAVID LIEBMAN       680 SONOMA MOUNTAIN PKWY
                                                                                                                     PETALUMA 94954

2. 1838    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01056                 DAVID LIEBMAN       1501 MENDOCINO AVE
                                                                                                                     SANTA ROSA 95401

2. 1839    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00669                 DAVID MESA          801 N. 1ST STREET
                                                                                                                     SAN JOSE 95110

2. 1840    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00686                 DAVID MESA          749 STORY ROAD
                                                                                                                     SAN JOSE 95112

2. 1841    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00687                 DAVID MESA          748 STORY ROAD
                                                                                                                     SAN JOSE 95112




                                                                      Page 185 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35   Page 186
                                                                                of 649
Pacific Gas and Electric Company                                                                                    Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                  Address
                                                    or Remaining
                                                        Term


2. 1842    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00707                 DAVID MESA          700 LOS ESTEROS ROAD
                                                                                                                     SAN JOSE 95134

2. 1843    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00726                 DAVID MESA          6445 CAMDEN AVE
                                                                                                                     SAN JOSE 95120

2. 1844    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00739                 DAVID MESA          6089 GREAT OAKS PKWY
                                                                                                                     SAN JOSE 95119

2. 1845    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00776                 DAVID MESA          50 N FOURTH STREET
                                                                                                                     SAN JOSE 95112

2. 1846    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00812                 DAVID MESA          4420 MONTEREY ROAD
                                                                                                                     SAN JOSE 95111

2. 1847    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00861                 DAVID MESA          3590 CAS DRIVE
                                                                                                                     SAN JOSE 95111

2. 1848    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00874                 DAVID MESA          3369 UNION AVE
                                                                                                                     SAN JOSE 95124

2. 1849    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00875                 DAVID MESA          3355 NOBLE AVE
                                                                                                                     SAN JOSE 95132

2. 1850    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01024                 DAVID MESA          174 ASBURY ST. PARKING
                                                                                                                     SAN JOSE 95110

2. 1851    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01029                 DAVID MESA          1661 SENTER ROAD
                                                                                                                     SAN JOSE 95112

2. 1852    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01068                 DAVID MESA          1404 MABURY ROAD
                                                                                                                     SAN JOSE 95133

2. 1853    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00783                 DAVID MYERS         500 W. HOSPITAL ROAD
                                                                                                                     FRENCH CAMP 95231

2. 1854    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00787                 DAVID MYERS         5000 S. AIRPORT WAY
                                                                                                                     STOCKTON 95206



                                                                      Page 186 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35   Page 187
                                                                                of 649
Pacific Gas and Electric Company                                                                                                     Case Number:       19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 1855    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00810                 DAVID MYERS                          444 S. WILSON WAY
                                                                                                                                      STOCKTON 95205

2. 1856    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01017                 DAVID MYERS                          1810 EAST HAZELTON AVENUE
                                                                                                                                      STOCKTON 95205

2. 1857    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01102                 DAVID MYERS                          121 S. SAN JOAQUIN STREET
                                                                                                                                      STOCKTON 95202

2. 1858    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00696                 DAVID OLSEN                          718 LONG BRIDGE STREET
                                                                                                                                      SAN FRANCISCO 94158

2. 1859    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00502                 DAVID PRATHER                        3179 BOEING RD
           ADVANCED HOME UPGRADE                                                                                                      CAMERON PARK, CA 95682
           (CUSTOM/CALCULATED)

2. 1860    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01035                 DAVID RIGGLE                         160 HINDS AVE
                                                                                                                                      PISMO BEACH 93449

2. 1861    REAL PROPERTY LEASE - STOCKTON            12/31/2020      CCCRSLS_000                 DAVID THEOBALD                       DAVID THEOBALD
           GAS M&C SHOP                                                  85                                                           3307 EVERGREEN WAY STE 707
                                                                                                                                      WASHOUGAL, WA 98671

2. 1862    SELF-GENERATION INCENTIVE                 Not Stated      CCOTH_03525                 DAVID THOMPSON                       29557 YOSEMITE SPRINGS PKWY
           PROGRAM                                                                                                                     COARSEGOLD, CA 93614

2. 1863    GENERAL OFF-BILL AND ON-                   5/6/2023       CCOTH_02604                 DAVID VORALIK - 598 E SANTA CLARA    1111, W. EL CAMINO REAL. STE 135
           BILLFINANCING LOAN AGREEMENT                                                          ST # 3                               SUNNYVALE, CA 94087

2. 1864    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00748                 DAVID WOOD                           582 ECCLES AVE
                                                                                                                                      SOUTH SAN FRANCISCO 94080

2. 1865    GENERAL OFF-BILL AND ON-                  1/30/2017       CCOTH_01491                 DAVINDER S GREWAL/ DBA ASHLAN        328 GREENWOOD PLACE
           BILLFINANCING LOAN AGREEMENT                                                          SHELL                                BONITA, CA 91902

2. 1866    SERVICES AGREEMENT                        4/30/2019       CCOTH_03730                 DAVIS ENERGY GROUP                   123 C STREET
                                                                                                                                      DAVIS, CA 95616




                                                                      Page 187 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 188
                                                                                of 649
Pacific Gas and Electric Company                                                                                                       Case Number:       19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                    Address
                                                    or Remaining
                                                        Term


2. 1867    SERVICES AGREEMENT                        4/30/2019       CCOTH_03731                 DAVIS ENERGY GROUP                     123 C STREET
                                                                                                                                        DAVIS, CA 95616

2. 1868    ZERO NET ENERGY PROGRAMS                  12/31/2019      CCOTH_03723                 DAVIS ENERGY GROUP                     123 C STREET
                                                                                                                                        DAVIS, CA 95616

2. 1869    GENERAL OFF-BILL AND ON-                  5/11/2019       CCOTH_01980                 DAVIS FLIGHT SUPPORT LLC               25170 AVIATION AVE
           BILLFINANCING LOAN AGREEMENT                                                                                                 DAVIS, CA 95616

2. 1870    GENERAL OFF-BILL AND ON-                   6/6/2019       CCOTH_01753                 DAVIS FOOD COOPERATIVE, INC/ DBA       620 G ST
           BILLFINANCING LOAN AGREEMENT                                                          DAVIS FOOD CO-OP                       DAVIS, CA 95616

2. 1871    GARBAGE AGREEMENT                         Not Stated      CCCRSOT_000                 DAVIS WASTE REMOVAL                    DAVIS WASTE REMOVAL CO INC
                                                                         56                                                             DAVIS, CA

2. 1872    FIRE SERVICE                              Not Stated      CCCRSOT_000                 DAVIS, CITY OF                         CITY OF DAVIS, FINANCE
                                                                         55                                                             DEPARTMENT,
                                                                                                                                        23 RUSSELL BLVD
                                                                                                                                        DAVIS, CA 95616

2. 1873    SEWER/WATER AGREEMENT                     Not Stated      CCCRSOT_000                 DAVIS, CITY OF                         CITY OF DAVIS
                                                                         54                                                             23 RUSSELL BOULEVARD
                                                                                                                                        DAVIS, CA 95616

2. 1874    GENERAL OFF-BILL AND ON-                  9/23/2021       CCOTH_01956                 DC MANAGEMENT LLC                      520 CAPITOL MALL, 5TH FLOOR
           BILLFINANCING LOAN AGREEMENT                                                                                                 SACRAMENTO, CA 95814

2. 1875    GENERAL OFF-BILL AND ON-                  12/4/2021       CCOTH_02602                 DDM LLC - 5400 CALIFORNIA AVE # B -    9530 HAGEMAN RD B #196
           BILLFINANCING LOAN AGREEMENT                                                          BAKERSFIELD                            BAKERSFIELD, CA 93312

2. 1876    GENERAL OFF-BILL AND ON-                  11/2/2021       CCOTH_01808                 DE JAGER,ARTHUR L                      8911 S BLISS RD
           BILLFINANCING LOAN AGREEMENT                                                                                                 CHOWCHILLA, CA 93610

2. 1877    GENERAL OFF-BILL AND ON-                  11/12/2020      CCOTH_02198                 DE LUXE FOODS OF APTOS INC             26120 EDEN LANDING ROAD, #2
           BILLFINANCING LOAN AGREEMENT                                                                                                 HAYWARD, CA 94545

2. 1878    SELF-GENERATION INCENTIVE                 Not Stated      CCOTH_03494                 DEAN HARRIS                            17074 BOHLMAN RD
           PROGRAM                                                                                                                       SARATOGA, CA 95070



                                                                      Page 188 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                  Page 189
                                                                                of 649
Pacific Gas and Electric Company                                                                                                    Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 1879    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00589                 DEANNA WILSON                       3860 SUNSHINE LN
           ADVANCED HOME UPGRADE                                                                                                     PLACERVILLE, CA 95667
           (CUSTOM/CALCULATED)

2. 1880    GENERAL OFF-BILL AND ON-                  10/9/2018       CCOTH_01493                 DEANZA FAMILY LP                    27363 VIA INDUSTRIA
           BILLFINANCING LOAN AGREEMENT                                                                                              TEMECULA, CA 92590

2. 1881    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01071                 DEBBIE ANDRES                       1393 S 7TH STREET
                                                                                                                                     SAN JOSE 95112

2. 1882    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00918                 DEBORAH ELLIOTT                     2731 NAPA VALLEY CORPORATE
                                                                                                                                     DRIVE
                                                                                                                                     NAPA 94558

2. 1883    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00495                 DEE GARHAM                          159 E HILLCREST DR
           ADVANCED HOME UPGRADE                                                                                                     AUBURN, CA 95603
           (CUSTOM/CALCULATED)

2. 1884    AGRICULTURAL CALCULATED                   Not Stated      CCOTH_00033                 DEGROOT DAIRY LIGHTING              6105 W LINCOLN AVE (BARN)
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                         FRESNO, CA 93721
           PROGRAM

2. 1885    GENERAL OFF-BILL AND ON-                  1/12/2023       CCOTH_02876                 DEL LA TORRE,JUAN R - 460 TRES      3479 NW YEON AVE
           BILLFINANCING LOAN AGREEMENT                                                          PINOS RD                            PORTLAND, OR 97210

2. 1886    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03397                 DELICATO VINEYARDS                  12001 CA-99
           BY DESIGN WHOLE BUILDING                                                                                                  MANTECA, CA 95336

2. 1887    INDUSTRIAL CALCULATED INCENTIVES -        Not Stated      CCOTH_03245                 DELTA DIABLO                        2500 PITTSBURG ANTIOCH HWY
           CUSTOMIZED INCENTIVE PROGRAM                                                                                              ANTIOCH, CA 94565

2. 1888    INDUSTRIAL CALCULATED INCENTIVES -        Not Stated      CCOTH_03246                 DELTA DIABLO                        2500 PITTSBURG ANTIOCH HWY
           CUSTOMIZED INCENTIVE PROGRAM                                                                                              ANTIOCH, CA 94565

2. 1889    INDUSTRIAL CALCULATED INCENTIVES -        Not Stated      CCOTH_03247                 DELTA DIABLO                        2500 ANTIOCH PITTSBURG HWY
           CUSTOMIZED INCENTIVE PROGRAM                                                                                              ANTIOCH, CA 94565




                                                                      Page 189 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 190
                                                                                of 649
Pacific Gas and Electric Company                                                                                                  Case Number:       19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 1890    SERVICE AGREEMENT                         Not Stated      CCCRSOT_000                 DELTA VECTOR CONTROL DISRICT      DELTA VECTOR CONTROL
                                                                         57                                                        DISTRICT
                                                                                                                                   1737 HOUSTON AVE
                                                                                                                                   VASALIA, CA 93291

2. 1891    GENERAL OFF-BILL AND ON-                   5/2/2021       CCOTH_01364                 DELUCCHI'S MARKET LP - 3640       250 WILLOWBROOK DR
           BILLFINANCING LOAN AGREEMENT                                                          FLORENCE ST                       PORTOLA VALLEY, CA 94028

2. 1892    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00741                 DENIS MELNICHENKO                 600 SHARON PARK DRIVE (BLDG
                                                                                                                                   C/D)
                                                                                                                                   MENLO PARK 94025

2. 1893    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00742                 DENIS MELNICHENKO                 600 SHARON PARK DRIVE
                                                                                                                                   MENLO PARK 94025

2. 1894    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01125                 DENIS MELNICHENKO                 10210 NORTH FOOTHILL BLVD.
                                                                                                                                   CUPERTINO 95014

2. 1895    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00530                 DENNIS DIX                        2935 CASHEW CT
           ADVANCED HOME UPGRADE                                                                                                   FAIRFIELD, CA 94533
           (CUSTOM/CALCULATED)

2. 1896    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00767                 DENNIS TANI                       525 RACE STREET
                                                                                                                                   SAN JOSE 95126

2. 1897    GENERAL OFF-BILL AND ON-                  3/18/2020       CCOTH_01641                 DEOL,SATPAL                       450 EAST 11TH ST.
           BILLFINANCING LOAN AGREEMENT                                                                                            TRACY, CA 95376

2. 1898    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03356                 DEPARTMENT OF THE ARMY            FORT HUNTER LIGGETT, BUILDING
           BY DESIGN WHOLE BUILDING                                                                                                238 CA AVE
                                                                                                                                   FORT HUNTER LIGGETT, CA 93928

2. 1899    EMERGENCY RENTAL OF GENERATORS            12/31/2018      CCNRD_02850                 DEPT OF THE INTERIOR              NPS, YOSEMITE NP
                                                                                                                                   PO BOX 700-W
                                                                                                                                   5083 FORESTA RD
                                                                                                                                   EL PORTAL, CA 95318




                                                                      Page 190 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                 Page 191
                                                                                of 649
Pacific Gas and Electric Company                                                                                                    Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                 Address
                                                    or Remaining
                                                        Term


2. 1900    EMERGENCY REPAIR OF CUSTOMER-              8/9/2019       CCNRD_02849                 DEPT OF THE INTERIOR                NPS, YOSEMITE NP
           OWNED FACILITIES                                                                                                          PO BOX 700-W
                                                                                                                                     5083 FORESTA RD
                                                                                                                                     EL PORTAL, CA 95318

2. 1901    UESC IMPLEMENTATION OF ENERGY             1/10/2019       CCNRD_02812                 DEPT OF VETERANS AFFAIRS            VA PROGRAM CONTRACTING
           EFFICIENCY MEASURE                                                                                                        ACTIVITY CENTRAL
                                                                                                                                     6150 OAK TREE BLVD., STE. 300
                                                                                                                                     INDEPENDENCE, OH 44131

2. 1902    UESC IMPLEMENTATION OF ENERGY             2/28/2019       CCNRD_02813                 DEPT OF VETERANS AFFAIRS            VA PROGRAM CONTRACTING
           EFFICIENCY MEASURE                                                                                                        ACTIVITY CENTRAL
                                                                                                                                     6150 OAK TREE BLVD., STE. 300
                                                                                                                                     INDEPENDENCE, OH 44131

2. 1903    UESC IMPLEMENTATION OF ENERGY              4/2/2019       CCNRD_02814                 DEPT OF VETERANS AFFAIRS            VA PROGRAM CONTRACTING
           EFFICIENCY MEASURE                                                                                                        ACTIVITY CENTRAL
                                                                                                                                     6150 OAK TREE BLVD., STE. 300
                                                                                                                                     INDEPENDENCE, OH 44131

2. 1904    UESC IMPLEMENTATION OF ENERGY             3/29/2020       CCNRD_02815                 DEPT OF VETERANS AFFAIRS            VA PROGRAM CONTRACTING
           EFFICIENCY MEASURE                                                                                                        ACTIVITY CENTRAL
                                                                                                                                     6150 OAK TREE BLVD., STE. 300
                                                                                                                                     INDEPENDENCE, OH 44131

2. 1905    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00528                 DEREK MACK                          9583 CASTLEBRIDGE CT
           ADVANCED HOME UPGRADE                                                                                                     ELK GROVE, CA 95758
           (CUSTOM/CALCULATED)

2. 1906    SMARTAC                                   Not Stated      CCOTH_03612                 DERGE,EDWARD H                      660 TRACEY JEAN CT
                                                                                                                                     TRACY, CA 95377

2. 1907    CALIFORNIA COMMUNITY COLLEGES -           Not Stated      CCOTH_00096                 DES ARCHITECTS + ENGINEERS, INC.    399 BRADFORD STREET
           SAVINGS BY DESIGN WHOLE BUILDING                                                                                          REDWOOD CITY, CA 94063

2. 1908    CONSULTING AND ENERGY                     4/12/2019       CCNRD_02894                 DESERET FARMS                       6100 WILSON LANDING RD
           MANAGEMENT SERVICES                                                                                                       CHICO, CA 95973

2. 1909    ADVANCED FRAMING                          12/31/2018      CCOTH_03733                 DESIGN AVENUES                      115 ANGELITA AVENUE
                                                                                                                                     PACIFICA, CA 94044


                                                                      Page 191 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 192
                                                                                of 649
Pacific Gas and Electric Company                                                                                                       Case Number:        19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                     Address
                                                    or Remaining
                                                        Term


2. 1910    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00720                 DEVANG SHAH                            656 AMERICA CENTER COURT
                                                                                                                                        ALVISO 95002

2. 1911    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00583                 DEVON GUNDRY                           143 CALVERT CT
           ADVANCED HOME UPGRADE                                                                                                        OAKLAND, CA 94611
           (CUSTOM/CALCULATED)

2. 1912    GENERAL OFF-BILL AND ON-                  7/28/2019       CCOTH_03062                 DEVONSHIRE,ERNEST - 6281 MT            PO BOX 1616
           BILLFINANCING LOAN AGREEMENT                                                          HERMON RD                              FELTON, CA 95018

2. 1913    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03372                 DEWAYNE ZINKIN FAMILY                  5 E. RIVER PARK PL. WEST #203
           BY DESIGN WHOLE BUILDING                                                              PARTNERSHIP, LP                        FRESNO, CA 93720

2. 1914    GENERAL OFF-BILL AND ON-                  2/14/2019       CCOTH_02276                 DHALIWAL SONS LLC                      13405 LINCOLN WAY
           BILLFINANCING LOAN AGREEMENT                                                                                                 AUBURN, CA 95603

2. 1915    GENERAL OFF-BILL AND ON-                  8/12/2020       CCOTH_02380                 DHILLON,RANVIR-2816 W CAPITOL AVE      590 W LOCUST AVE, SUITE 103
           BILLFINANCING LOAN AGREEMENT                                                                                                 FRESNO, CA 93650

2. 1916    GENERAL OFF-BILL AND ON-                  2/28/2022       CCOTH_02843                 DI GIULIO,DINO - 50 MAIN ST STE A      PO BOX 41339
           BILLFINANCING LOAN AGREEMENT                                                                                                 SANTA BARBARA, CA 93140

2. 1917    GENERAL OFF-BILL AND ON-                   1/2/2020       CCOTH_01485                 DIAMOND DOABA ENTERPRISES LLC          126 W. OLIVE AVE SUITE 101
           BILLFINANCING LOAN AGREEMENT                                                                                                 MARDERA, CA 93637

2. 1918    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00996                 DIANA BYRNE                            1 SCHOONER COURT
                                                                                                                                        RICHMOND 94804

2. 1919    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00506                 DIANE LARSON                           5 LYNNWOOD CIR
           ADVANCED HOME UPGRADE                                                                                                        CHICO, CA 95973
           (CUSTOM/CALCULATED)

2. 1920    AGRICULTURAL CALCULATED                   Not Stated      CCOTH_00034                 DIAS & SONS                            39325 HOLLY OAKS LANE
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                            KINGSBURG, CA 93631
           PROGRAM

2. 1921    GENERAL OFF-BILL AND ON-                  10/16/2018      CCOTH_02958                 DIETER DUBBERKE INC ETAL DBA           253 POLARIS AVE
           BILLFINANCING LOAN AGREEMENT                                                          PIONEER BAKERY                         MOUNTAIN VIEW, CA 94043



                                                                      Page 192 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                      Page 193
                                                                                of 649
Pacific Gas and Electric Company                                                                                                       Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                    Address
                                                    or Remaining
                                                        Term


2. 1922    COMMERCIAL CALCULATED                     Not Stated      CCOTH_00154                 DIGITAL REALTY (200 PAUL) - EC PLUG    200 PAUL AVE
           INCENTIVES - CUSTOMIZED INCENTIVE                                                     FAN SUITE 102                          SAN FRANCISCO, CA 94105
           PROGRAM

2. 1923    WATER/SEWER/DISPOSAL AGREEMENT            Not Stated      CCCRSOT_000                 DINUBA, CITY OF                        CITY OF DINUBA, FINANCE
                                                                         58                                                             DIRECTOR,
                                                                                                                                        405 E EL MONTE
                                                                                                                                        DINUBA, CA 93618

2. 1924    GENERAL OFF-BILL AND ON-                  2/15/2023       CCOTH_01150                 DIOCESE OF FRESNO                      1550 S. FRESNO ST.
           BILLFINANCING LOAN AGREEMENT                                                          EDUCATION,CORPORATION                  FRESNO, CA 93703

2. 1925    GENERAL OFF-BILL AND ON-                  5/21/2022       CCOTH_02715                 DISCOPY LABS INC - 48641 MILMONT DR 10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                                                              SANTA FE SPRINGS, CA 90670

2. 1926    GENERAL OFF-BILL AND ON-                  10/31/2021      CCOTH_02696                 DISCOPY LABS INC - 48819 KATO RD       10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                                                                 SANTA FE SPRINGS, CA 90670

2. 1927    GENERAL OFF-BILL AND ON-                  7/31/2020       CCOTH_01779                 DL GAUDINO AND RL RODGERS              P.O. BOX 175
           BILLFINANCING LOAN AGREEMENT                                                                                                 SONOMA, CA 95476

2. 1928    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03429                 DLR GROUP                              1050 20TH ST. SUITE 250
           BY DESIGN WHOLE BUILDING                                                                                                     SACRAMENTO, CA 95811

2. 1929    DNV GL REGIONAL SMB PROGRAM               12/31/2019      CCOTH_03722                 DNV GL ENERGY SERVICES USA INC         1400 RAVELLO DRIVE
           (C13217)                                                                                                                     KATY, TX 77449

2. 1930    GENERAL OFF-BILL AND ON-                  11/29/2020      CCOTH_03244                 DOHAN INC - 4989 CHILES RD             11812 KEMPER ROAD
           BILLFINANCING LOAN AGREEMENT                                                                                                 AUBURN, CA 95603

2. 1931    LICENSE AGREEMENT FOR DESIGN TO            6/5/2024       CCNRD_02871                 DO-IT-AMERICAN                         137 VANDER STREET
           NATURAL GAS HOT TANKING KIT                                                                                                  SUITE 1500
                                                                                                                                        CORONA, CA 92880

2. 1932    UESC VA LIVERMORE PROJECT LOAN             2/1/2025       CCNRD_02841                 DOMINION FEDERAL                       DOMINION FEDERAL CORP
           AGREEMENT                                                                                                                    6718 WHITTIER AVE, STE. 220
                                                                                                                                        MCLEAN, VA




                                                                      Page 193 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                 Page 194
                                                                                of 649
Pacific Gas and Electric Company                                                                                                    Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                 Address
                                                    or Remaining
                                                        Term


2. 1933    UESC VA SAN FRANCISCO PROJECT              4/1/2028       CCNRD_02840                 DOMINION FEDERAL                    DOMINION FEDERAL CORP
           LOAN AGREEMENT                                                                                                            6718 WHITTIER AVE, STE. 220
                                                                                                                                     MCLEAN, VA

2. 1934    SELF-GENERATION INCENTIVE                 Not Stated      CCOTH_03533                 DON BECKMAN                         4180 KILT CIRCLE
           PROGRAM                                                                                                                    EL DORADO, CA 95762

2. 1935    GENERAL OFF-BILL AND ON-                  12/4/2020       CCOTH_01945                 DON J STROUZAS                      112 COMMERCIAL COURT
           BILLFINANCING LOAN AGREEMENT                                                                                              SUITE #24
                                                                                                                                     SANTA ROSA, CA 95407

2. 1936    GENERAL OFF-BILL AND ON-                  3/24/2020       CCOTH_02122                 DONALD J YOUNG DBA PELICAN PLAZA    1400 N HIGHWAY 1 #A
           BILLFINANCING LOAN AGREEMENT                                                          GROCERY                             BODEGA BAY, CA 94923

2. 1937    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01107                 DONNA REED                          115 CENTER AVE
                                                                                                                                     PACHECO 94553

2. 1938    GENERAL OFF-BILL AND ON-                   4/4/2020       CCOTH_03093                 DORES DAIRY - 22846 2ND AVE         6189 HULTBERG RD.
           BILLFINANCING LOAN AGREEMENT                                                                                              HILMAR, CA 95324

2. 1939    GENERAL OFF-BILL AND ON-                  2/24/2021       CCOTH_03028                 DOUBLE V INDUSTRIES DBA BLUE        1725 RUTAN DRIVE
           BILLFINANCING LOAN AGREEMENT                                                          FROG                                LIVERMORE, CA 94551

2. 1940    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01119                 DOUG KNIVETON                       1100 PARK PLACE, SUITE 60
                                                                                                                                     SAN MATEO 94403

2. 1941    GENERAL OFF-BILL AND ON-                  10/22/2022      CCOTH_02892                 DOUG M WELLS - 11260 PLEASANT       17766 PENN VALLEY DRIVE
           BILLFINANCING LOAN AGREEMENT                                                          VALLEY RD                           PENN VALLEY, CA 95946

2. 1942    GENERAL OFF-BILL AND ON-                  8/30/2021       CCOTH_02185                 DOUGHERTY & GUENTHER APC - 601 S    877 CEDAR ST. SUITE 240
           BILLFINANCING LOAN AGREEMENT                                                          MAIN ST                             SANTA CRUZ, CA 95060

2. 1943    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00814                 DOUGLAS LETTERMAN                   438 W GRAND AVE
                                                                                                                                     OAKLAND 94612

2. 1944    REAL PROPERTY LEASE - OAKLAND                MTM          CCCRSLS_001                 DOUGLAS PARKING                     DOUGLAS PARKING CO
           GOV. RELATIONS PARKING (3 PARKING                             04                                                          1721 WEBSTER ST
           SPACES)                                                                                                                   OAKLAND, CA 94612



                                                                      Page 194 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                  Page 195
                                                                                of 649
Pacific Gas and Electric Company                                                                                                     Case Number:        19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                   Address
                                                    or Remaining
                                                        Term


2. 1945    WATER AGREEMENT                           Not Stated      CCCRSOT_000                 DOWNIEVILLE PUBLIC UTILITY DIST      DOWNIEVILLE PUBLIC UTILITY
                                                                         60                                                           DISTRICT
                                                                                                                                      DOWNIEVILLE, CA

2. 1946    REAL PROPERTY LEASE - DR. VETA EYE        Not Stated      CCCRSLS_001                 DR. VETA SZETO (CUSTOMER #: 441912) NOT AVAILABLE
                                                                         20

2. 1947    GENERAL OFF-BILL AND ON-                  5/21/2021       CCOTH_02199                 DRAEGER'S SUPER MARKETS INC - 222    291 UTAH AVE
           BILLFINANCING LOAN AGREEMENT                                                          E 4TH AVE                            SOUTH SAN FRANCISCO, CA 94080

2. 1948    GENERAL OFF-BILL AND ON-                  8/10/2020       CCOTH_02143                 DRAEGER'S SUPER MARKETS INC -        291 UTAH AVE
           BILLFINANCING LOAN AGREEMENT                                                          4100 BLACKHAWK PLAZA                 SOUTH SAN FRANCISCO, CA 94080

2. 1949    AGRICULTURAL CALCULATED                   Not Stated      CCOTH_00057                 DRISCOLL'S, INC. DBA DRISCOLL        300 WESTRIDGE DR
           INCENTIVES - CUSTOMIZED INCENTIVE                                                     STRAWBERRY ASSOCIATE                 WATSONVILLE, CA 95076
           PROGRAM

2. 1950    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01043                 DRU WALKER                           1560 E. SHAW AVE
                                                                                                                                      FRESNO 93710

2. 1951    GENERAL OFF-BILL AND ON-                   3/6/2023       CCOTH_03010                 DRYCLEAN CITY INC - 653 N SANTA      6469 ALMADEN EXPY
           BILLFINANCING LOAN AGREEMENT                                                          CRUZ AVE                             SAN JOSE, CA 95120

2. 1952    GENERAL OFF-BILL AND ON-                  1/26/2023       CCOTH_01194                 DT- MAC INC - 2434 ALMADEN RD        2491 ALLUVIAL AVE. #480
           BILLFINANCING LOAN AGREEMENT                                                                                               CLOVIS, CA 93611

2. 1953    GENERAL OFF-BILL AND ON-                  12/10/2020      CCOTH_02570                 DURANTE RATTO BLOCK,MARTIN - 825     1725 RUTAN DRIVE
           BILLFINANCING LOAN AGREEMENT                                                          WASHINGTON ST FL                     LIVERMORE, CA 94551

2. 1954    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00689                 DWAYNE JACKSON                       747 52ND STREET
                                                                                                                                      OAKLAND 94609

2. 1955    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00955                 DWAYNE JACKSON                       2401 SHADLANDS DRIVE
                                                                                                                                      WALNUT CREEK 94598

2. 1956    PG&E PRODUCTS & SERVICES                  4/13/2019       CCNRD_02855                 DYNERGY ADMINISTRATIVE SERVICES      P.O. BOX 690
           AGREEMENT, PERMITTING CUSTOMER                                                        CO                                   MOSS LANDING, CA
           TO ENTER INTO CONTRACTS WITH
           PG&E FOR VARIOUS CUSTOMER-
           OWNED FACILITY SERVICES

                                                                      Page 195 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                    Page 196
                                                                                of 649
Pacific Gas and Electric Company                                                                                                    Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 1957    INDUSTRIAL CALCULATED INCENTIVES -        Not Stated      CCOTH_03249                 E & B NATURAL RESOURCES             1600 NORRIS RD
           CUSTOMIZED INCENTIVE PROGRAM                                                          MANAGEMENT CORP                     BAKERSFIELD, CA 93308

2. 1958    INDUSTRIAL CALCULATED INCENTIVES -        Not Stated      CCOTH_03250                 E & B NATURAL RESOURCES             1600 NORRIS RD
           CUSTOMIZED INCENTIVE PROGRAM                                                          MANAGEMENT CORP                     BAKERSFIELD, CA 93308

2. 1959    INDUSTRIAL CALCULATED INCENTIVES -        Not Stated      CCOTH_03251                 E & B NATURAL RESOURCES             1600 NORRIS RD
           CUSTOMIZED INCENTIVE PROGRAM                                                          MANAGEMENT CORP                     BAKERSFIELD, CA 93308

2. 1960    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00517                 E BRADLEY & SANDY STRONG            2742 CUMBERLAND PL
           ADVANCED HOME UPGRADE                                                                                                     DAVIS, CA 95616
           (CUSTOM/CALCULATED)

2. 1961    AGRICULTURAL CALCULATED                   Not Stated      CCOTH_00039                 E&J GALLO WINERY                    18000 RIVER ROAD
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                         LIVINGSTON, CA 95334
           PROGRAM

2. 1962    GENERAL OFF-BILL AND ON-                  8/22/2019       CCOTH_01914                 EAGLE ENERGY INC                    PO BOX 825
           BILLFINANCING LOAN AGREEMENT                                                                                              SANTA MARGARITA, CA 93453

2. 1963    WATER AGREEMENT                           Not Stated      CCCRSOT_000                 EAST BAY MUNICIPAL UTILITY DIST     EAST BAY MUNICIPAL UTILITY
                                                                         61                                                          DISTRICT, EBMUD PAYMENT CTR,
                                                                                                                                     375 ELEVENTH ST
                                                                                                                                     OAKLAND, CA 94623

2. 1964    WATER ENERGY NEXUS ADVANCED               12/31/2019      CCOTH_03793                 EAST BAY MUNICIPAL UTILITY DISTRICT 375 ELEVENTH ST
           METERING INFRASTRUCTURE STUDY                                                                                             OAKLAND, CA 94623

2. 1965    GENERAL OFF-BILL AND ON-                  3/10/2023       CCOTH_01197                 EAST BAY TIRE COMPANY - 2200        1411 N HIGHLAND AVENUE #203
           BILLFINANCING LOAN AGREEMENT                                                          HUNTINGTON DR # B                   LOS ANGELES, CA 90028

2. 1966    GENERAL OFF-BILL AND ON-                  5/14/2023       CCOTH_01199                 EAST BAY TIRE COMPANY - 2807 S      1411 N HIGHLAND AVENUE #203
           BILLFINANCING LOAN AGREEMENT                                                          HIGHWAY 99                          LOS ANGELES, CA 90028

2. 1967    GENERAL OFF-BILL AND ON-                  8/28/2021       CCOTH_02981                 EAST BAY TIRE COMPANY - 2999 S      685 COCHRAN STREET
           BILLFINANCING LOAN AGREEMENT                                                          ORANGE AVE                          SUITE 200
                                                                                                                                     SIMI VALLEY, CA 93065

2. 1968    GENERAL OFF-BILL AND ON-                   6/6/2023       CCOTH_02879                 EAST BAY TIRE COMPANY - 585         1411 N HIGHLAND AVENUE #203
           BILLFINANCING LOAN AGREEMENT                                                          CHARCOT AVE                         LOS ANGELES, CA 90028

                                                                      Page 196 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 197
                                                                                of 649
Pacific Gas and Electric Company                                                                                                    Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                               Address
                                                     or Remaining
                                                         Term


2. 1969    SAVINGS BY DESIGN (SBD) - SAVINGS          Not Stated        CCOTH_03462                 EAST SIDE UNION HIGH SCHOOL      830 N CAPITOL AVE.
           BY DESIGN WHOLE BUILDING                                                                 DISTRICT                         SAN JOSE, CA 95133

2. 1970    ENERGY UPGRADE CALIFORNIA                  Not Stated        CCOTH_00513                 ECO PERFORMANCE BUILDERS INC     5063 COMMERCIAL CIRCLE UNIT C
           ADVANCED HOME UPGRADE                                                                                                     CONCORD, CA 94520
           (CUSTOM/CALCULATED)

2. 1971    ENERGY UPGRADE CALIFORNIA                  Not Stated        CCOTH_00514                 ECO PERFORMANCE BUILDERS INC     5063 COMMERCIAL CIRCLE UNIT C
           ADVANCED HOME UPGRADE                                                                                                     CONCORD, CA 94520
           (CUSTOM/CALCULATED)

2. 1972    STATE OF CALIFORNIA - CUSTOMIZED           Not Stated        CCOTH_03618                 ECOGREEN                         27611 LA PAZ RD, SUITE A2
           RETROFIT                                                                                                                  LAGUNA NIGUEL, CA 92677

2. 1973    STATE OF CALIFORNIA - CUSTOMIZED           Not Stated        CCOTH_03617                 ECOGREEN SOLUTIONS               27611 LA PAZ RD, SUITE A2
           RETROFIT                                                                                                                  LAGUNA NIGUEL, CA 92677

2. 1974    STATE OF CALIFORNIA - CUSTOMIZED           Not Stated        CCOTH_03619                 ECOGREEN SOLUTIONS               27611 LA PAZ RD, SUITE A2
           RETROFIT                                                                                                                  LAGUNA NIGUEL, CA 92677

2. 1975    GENERAL OFF-BILL AND ON-                   10/13/2021        CCOTH_03184                 EDC-BIOSYSTEMS, INC - 49090      10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                             MILMONT DR                       SANTA FE SPRINGS, CA 90670

2. 1976    ELECTRIC VEHICLE CHARGE NETWORK            Not Stated        CCOTH_00699                 EDDIE TANTOCO                    7062 PACIFIC AVE
                                                                                                                                     PLEASANT GROVE 95668

2. 1977    ELECTRIC VEHICLE CHARGE NETWORK            Not Stated        CCOTH_00789                 EDGAR RODRIGUEZ                  4900 JOHNSON DRIVE
                                                                                                                                     PLEASANTON 94588

2. 1978    GENERAL OFF-BILL AND ON-                    7/4/2021         CCOTH_01428                 EDGE MOTORWORKS INC - 6351       1725 RUTAN DRIVE
           BILLFINANCING LOAN AGREEMENT                                                             DUBLIN BLVD - DUBLIN             LIVERMORE, CA 94551

2. 1979    LICENSE FOR INDIVIDUAL SITE             2/13/2021, unless    CCNRD_00422                 EDGE WIRELESS, LLC               ATTN: SR. REAL ESTATE MANAGER
           LOCATION UNDER AMENDED AND              terminated earlier                                                                600 SW COLORADO ST.
           RESTATED MASTER LICENSE                                                                                                   #7200
           AGREEMENT FOR ANTENNA                                                                                                     BEND, OR 97702
           ATTACHMENT WITH EDGE WIRELESS,
           LLC, DATED FEB. 14, 2001




                                                                         Page 197 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 198
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                      Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                 Address
                                                     or Remaining
                                                         Term


2. 1980    LICENSE FOR INDIVIDUAL SITE             2/13/2021, unless    CCNRD_00423                 EDGE WIRELESS, LLC                 ATTN: SR. REAL ESTATE MANAGER
           LOCATION UNDER AMENDED AND              terminated earlier                                                                  600 SW COLORADO ST.
           RESTATED MASTER LICENSE                                                                                                     #7200
           AGREEMENT FOR ANTENNA                                                                                                       BEND, OR 97702
           ATTACHMENT WITH EDGE WIRELESS,
           LLC, DATED FEB. 14, 2001

2. 1981    LICENSE FOR INDIVIDUAL SITE             2/13/2021, unless    CCNRD_00424                 EDGE WIRELESS, LLC                 ATTN: SR. REAL ESTATE MANAGER
           LOCATION UNDER AMENDED AND              terminated earlier                                                                  600 SW COLORADO ST.
           RESTATED MASTER LICENSE                                                                                                     #7200
           AGREEMENT FOR ANTENNA                                                                                                       BEND, OR 97702
           ATTACHMENT WITH EDGE WIRELESS,
           LLC, DATED FEB. 14, 2001

2. 1982    MASTER AGREEMENT FOR ISSUANCE               2/13/2021        CCNRD_00010                 EDGE WIRELESS, LLC                 ATTN: SR. REAL ESTATE MANAGER
           OF LICENSES TO                                                                                                              600 SW COLORADO ST.
           TELECOMMUNICATIONS CUSTOMER                                                                                                 #7200
           FOR ATTACHMENT OF ANTENNAS AND                                                                                              BEND, OR 97702
           RELATED EQUIPMENT

2. 1983    GENERAL OFF-BILL AND ON-                    8/20/2019        CCOTH_02471                 EDGEWATER HOLDINGS LLC - 8000      10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                             EDGEWATER DR                       SANTA FE SPRINGS,, CA 90670

2. 1984    GENERAL OFF-BILL AND ON-                    5/20/2019        CCOTH_01577                 EDUCATION & WELFARE DIOCESE OF     590 W LOCUST AVE SUITE 103
           BILLFINANCING LOAN AGREEMENT                                                             FRESNO                             FRESNO, CA 93650

2. 1985    GENERAL OFF-BILL AND ON-                    12/2/2019        CCOTH_02003                 EDWARD R MARSZAL ENTERPRISES       27611 LA PAZ SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                             INC                                LAGUNAS NIGUEL, CA 92677

2. 1986    GENERAL OFF-BILL AND ON-                   10/14/2019        CCOTH_02154                 EDWARD R MARSZAL ENTERPRISES       27611 LA PAZ SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                             INC                                LAGUNA NIGUEL, CA 92677

2. 1987    GENERAL OFF-BILL AND ON-                    9/11/2019        CCOTH_01878                 EDWARD R. MARSZAL ENTERPRISES,     27611 LA PAZ ROAD SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                             INC                                LAGUNA NIGUEL, CA 92677

2. 1988    GENERAL OFF-BILL AND ON-                    8/19/2022        CCOTH_02041                 EDWIN A JENSEN DBA JENSEN          27611 LA PAZ RD
           BILLFINANCING LOAN AGREEMENT                                                             CHEVRON                            LAGUNA NIGUEL, CA 92677

2. 1989    SELF-GENERATION INCENTIVE                  Not Stated        CCOTH_03492                 EDWIN DE JESUS                     3745 CARLY DR.
           PROGRAM                                                                                                                      STOCKTON, CA 95205


                                                                         Page 198 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35                  Page 199
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                  Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                               Address
                                                    or Remaining
                                                        Term


2. 1990    RECYCLING AGREEMENT                       Not Stated      CCCRSOT_000                 EEL RIVER DISPOSAL                EEL RIVER DISPOSAL &
                                                                         62                                                        RESOURCE, RECOVERY,
                                                                                                                                   965 RIVERWALK DRIVE
                                                                                                                                   FORTUNA, CA 95540

2. 1991    2018 MEMBERSHIP - DESIGNLIGHTS            12/31/2018      CCOTH_03802                 EFFICIENCY FORWARD, INC.          10 HIGH ST., SUITE #10
           CONSORTIUM (DLC)                                                                      DESIGNLIGHTS CONSORTIUM           MEDFORD, MA 2155

2. 1992    GENERAL OFF-BILL AND ON-                  9/30/2020       CCOTH_01412                 EL CAMINO MACHINE & WELDING       877 CEDAR STREET, SUITE 240
           BILLFINANCING LOAN AGREEMENT                                                                                            SANTA CRUZ, CA 95060

2. 1993    GENERAL OFF-BILL AND ON-                  8/23/2021       CCOTH_03168                 EL CAMINO YMCA - MOUNTAIN VIEW    80 SARATOGA AVE
           BILLFINANCING LOAN AGREEMENT                                                                                            SANTA CLARA, CA 95051

2. 1994    SERVICE AGREEMENT                         Not Stated      CCCRSOT_000                 EL DORADO DISPOSAL                WASTE CONNECTIONS OF CA, EL
                                                                         63                                                        DORADO DISPOSAL,
                                                                                                                                   580 TRUCK ST
                                                                                                                                   PLACERVILLE, CA 95667

2. 1995    GENERAL OFF-BILL AND ON-                  7/28/2019       CCOTH_02012                 EL DORADO HILLS COMMUNITY         P.O. BOX 1206
           BILLFINANCING LOAN AGREEMENT                                                          SERVICES DISTRICT                 PLACERVILLE, CA 95667

2. 1996    WATER/SEWER AGREEMENT                     Not Stated      CCCRSOT_000                 EL DORADO IRRIGATION DIST         EL DORADO IRRIGATION DIST, EID
                                                                         64                                                        ACCOUNTING DEPARTMENT,
                                                                                                                                   2890 MOSQUITO RD
                                                                                                                                   PLACERVILLE, CA 95667

2. 1997    GENERAL OFF-BILL AND ON-                  3/22/2027       CCOTH_01987                 EL TEJON UNION ELEMENTARY         27611 LA PAZ RD. SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                          SCHOOL DISTRICT                   **UPS OVERNIGHT DELIVERY**
                                                                                                                                   LAGUNA NIGUEL, CA 92677

2. 1998    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00761                 ELAINE MARSHALL                   550 EAST REMINGTON DRIVE
                                                                                                                                   SUNNYVALE 94087

2. 1999    2018 MEMBERSHIP - PROGRAM 170             12/31/2018      CCOTH_03805                 ELECTRIC POWER RESEARCH           3420 HILLVIEW AVE
                                                                                                 INSTITUTE (EPRI)                  PALO ALTO, CA 94304

2. 2000    INTEGRATED CONTROLS FOR SMB               12/31/2016      CCOTH_03781                 ELECTRIC POWER RESEARCH           3420 HILLVIEW AVENUE
           ASSESSMENT ET PROJECT                                                                 INSTITUTE (EPRI)                  PALO ALTO, CA 94303



                                                                      Page 199 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 200
                                                                                of 649
Pacific Gas and Electric Company                                                                                                   Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 2001    SOURCING AGREEMENT FOR                    3/29/2019       CCNRD_02863                 ELECTRIC POWER RESEARCH            3420 HILLVIEW AVE
           ASSESSING THE ABILITY OF SMART                                                        INSTITUTE, INC.                    PALO ALTO, CA 94304
           INVERTERS AND SMART CONSUMER
           DEVICES TO ENABLE MORE
           RESIDENTIAL SOLAR ENERGY

2. 2002    SOURCING AGREEMENT FOR                    12/31/2018      CCNRD_02862                 ELECTRIC POWER RESEARCH            3420 HILLVIEW AVE
           DEVELOPMENT AND TESTING OF HVAC                                                       INSTITUTE, INC.                    PALO ALTO, CA 94304
           SYSTEM THAT COMBINES VARIABLE
           REFRIGERANT FLOW SYSTEMS WITH
           INDIRECT EVAPORATIVE COOLING

2. 2003    SOURCING AGREEMENT FOR                    12/31/2018      CCNRD_02864                 ELECTRIC POWER RESEARCH            3420 HILLVIEW AVE
           DEVELOPMENT AND VALIDATION OF                                                         INSTITUTE, INC.                    PALO ALTO, CA 94304
           COMMON AND ADAPTED ENERGY
           STORAGE TEST PROTOCOLS: PHASE II

2. 2004    SOURCING AGREEMENT FOR PHASE 1 -          11/1/2018       CCNRD_02865                 ELECTRIC POWER RESEARCH            3420 HILLVIEW AVE
           DEVELOP CAPABILITIES OF TEST BED                                                      INSTITUTE, INC.                    PALO ALTO, CA 94304
           AND DEVELOP A VENDOR SETUP THAT
           WILL BE USED TO TEST MICROGRID
           CONTROLLERS

2. 2005    SOURCING AGREEMENT FOR PHASE 2 -          12/31/2019      CCNRD_02866                 ELECTRIC POWER RESEARCH            3420 HILLVIEW AVE
           WHITEPAPER UTILIZED TO DEVELOP                                                        INSTITUTE, INC.                    PALO ALTO, CA 94304
           POWER SYSTEM MODEL AND CONTROL
           ALGORYTHMS. PHASE 3 - WHITEPAPER
           UTILIZED IN THE SPECIFICATION AND
           PROCUREMENT OF TEST BED
           COMPONENTS, ETC.

2. 2006    GENERAL OFF-BILL AND ON-                  1/28/2020       CCOTH_01549                 ELECTRONIC ARTS INC                14355 INDUSTRY CIRCLE
           BILLFINANCING LOAN AGREEMENT                                                                                             LA MIRADA, CA 90638

2. 2007    GENERAL OFF-BILL AND ON-                   8/9/2023       CCOTH_01196                 ELEMENTS MANUFACTURING, INC. -     804 ESTATES DR STE 202
           BILLFINANCING LOAN AGREEMENT                                                          115 HARVEY WEST BLV                APTOS, CA 95003

2. 2008    REAL PROPERTY LEASE - ELEMENTS            12/31/2025      CCCRSLS_001                 ELEMENTS PLUS INC. (CUSTOMER #:    245 MARKET STREET
           PLUS ("PORTICO")                                              19                      123613)                            SAN FRANCISCO, CA 94105

2. 2009    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00941                 ELIDA MENA                         250 KING STREET
                                                                                                                                    SAN FRANCISCO 94107
                                                                      Page 200 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35               Page 201
                                                                                of 649
Pacific Gas and Electric Company                                                                                                      Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                   Address
                                                    or Remaining
                                                        Term


2. 2010    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00808                 ELISSA RIEDY                          450 SOUTH STREET
                                                                                                                                       SAN FRANCISCO 94105

2. 2011    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00731                 ELIZABETH MURPHY                      6160 STONERIDGE MALL ROAD,
                                                                                                                                       SUITE 105
                                                                                                                                       PLEASANTON 94588

2. 2012    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00732                 ELIZABETH MURPHY                      6150 STONERIDGE MALL ROAD
                                                                                                                                       PLEASANTON 94588

2. 2013    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00733                 ELIZABETH MURPHY                      6140 STONERIDGE MALL ROAD,
                                                                                                                                       SUITE 105
                                                                                                                                       PLEASANTON 94588

2. 2014    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00734                 ELIZABETH MURPHY                      6130 STONERIDGE MALL ROAD,
                                                                                                                                       SUITE 105
                                                                                                                                       PLEASANTON 94588

2. 2015    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00735                 ELIZABETH MURPHY                      6120 STONERIDGE MALL ROAD,
                                                                                                                                       SUITE 105
                                                                                                                                       PLEASANTON 94588

2. 2016    GENERAL OFF-BILL AND ON-                  5/14/2019       CCOTH_02210                 ELKS B P O LODGE322                   480 NEPONSET ST, BUILDING 2
           BILLFINANCING LOAN AGREEMENT                                                                                                CANTON, MA 2021

2. 2017    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00930                 ELLEN ROY                             260-498 HARBOR BOULEVARD
                                                                                                                                       BELMONT 94002

2. 2018    SERVICE AGREEMENT                         Not Stated      CCCRSOT_000                 EMADCO DISPOSAL SERVICE               EMADCO DISPOSAL SERVICE
                                                                         65                                                            40287 OAK PARK WAY
                                                                                                                                       OAKHURST, CA 93644

2. 2019    GENERAL OFF-BILL AND ON-                  9/21/2018       CCOTH_02236                 EMBASSY INVESTMENTS LLC - 1350        545 JEFFERSON BLVD. STE. 1
           BILLFINANCING LOAN AGREEMENT                                                          HOLIDAY LN                            WEST SACRAMENTO, CA 95605

2. 2020    GENERAL OFF-BILL AND ON-                  5/17/2020       CCOTH_02415                 EMOTION INTERNATIONAL, INC. - 4415    46560 FREMONT BLVD. STE. 105
           BILLFINANCING LOAN AGREEMENT                                                          TECHNOLOGY DR                         FREMONT, CA 94538

2. 2021    GENERAL OFF-BILL AND ON-                  4/11/2022       CCOTH_02622                 EMPRESAS, MENDEZ, MERAZ, INC. -       877 CEDAR STREET, SUITE 240
           BILLFINANCING LOAN AGREEMENT                                                          225 W MAIN AVE                        SANTA CRUZ, CA 95060

                                                                      Page 201 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                 Page 202
                                                                                of 649
Pacific Gas and Electric Company                                                                                                  Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                               Address
                                                    or Remaining
                                                        Term


2. 2022    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00532                 ENEDINA VERA                      739 GLACIER WAY
           ADVANCED HOME UPGRADE                                                                                                   FAIRFIELD, CA 94534
           (CUSTOM/CALCULATED)

2. 2023    TEAA REGIONAL DIRECT INSTALL              Not Stated      CCOTH_03701                 ENERGY ALLIANCE ASSOCIATION       1400 NORTH DUTTON AVE.
           PROGRAM (2700043808)                                                                  (TEAA)                            #17
                                                                                                                                   SANTA ROSA, CA 95401

2. 2024    TEAA REGIONAL DIRECT INSTALL              10/31/2019      CCOTH_03700                 ENERGY ALLIANCE ASSOCIATION       1400 NORTH DUTTON AVE.
           PROGRAM (2700205958)                                                                  (TEAA)                            #17
                                                                                                                                   SANTA ROSA, CA 95401

2. 2025    2019 LGP SCOPE OF WORK                    12/31/2019      CCOTH_03717                 ENERGY COUNCIL/STOP WASTE         1537 WEBSTER ST.
                                                                                                                                   OAKLAND, CA 94612

2. 2026    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03374                 ENERGY INCENTIVE CONSULTANTS      9563 N. LARKSPUR AVE.
           BY DESIGN WHOLE BUILDING                                                                                                FRESNO, CA 93720

2. 2027    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03379                 ENERGY INCENTIVE CONSULTANTS      9563 N LARKSPUR AVE
           BY DESIGN WHOLE BUILDING                                                                                                FRESNO, CA 93720

2. 2028    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03380                 ENERGY INCENTIVE CONSULTANTS      9563 N. LARKSPUR AVE.
           BY DESIGN WHOLE BUILDING                                                                                                FRESNO, CA 93720

2. 2029    WHISKER LABS CONNECTED SAVINGS            6/30/2018       CCOTH_03807                 ENERGY MARKET INNOVATIONS INC.    83 COLUMBIA STREET
           ET PROJECT                                                                                                              STE 400
                                                                                                                                   SEATTLE, WA 98104

2. 2030    MASTER SERVICES AGREEMENT                 12/31/2021      CCNRD_02828                 ENERGY SYSTEMS GROUP LLC          ENERGY SYSTEMS GROUP LLC
           PROVIDING THAT PG&E MAY ENTER                                                                                           9877 EASTGATE COURT
           INTO CONTRACT WORK                                                                                                      NEWBURGH, IN 47630
           AUTHORIZATIONS WITH THIS VENDOR
           FOR VARIOUS ENERGY EFFICIENCY
           SERVICES

2. 2031    UESC IMPLEMENTATION OF ENERGY             1/10/2019       CCNRD_02817                 ENERGY SYSTEMS GROUP LLC          ENERGY SYSTEMS GROUP LLC
           EFFICIENCY MEASURE                                                                                                      9877 EASTGATE COURT
                                                                                                                                   NEWBURGH, IN 47630




                                                                      Page 202 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 203
                                                                                of 649
Pacific Gas and Electric Company                                                                                                      Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                   Address
                                                    or Remaining
                                                        Term


2. 2032    UESC IMPLEMENTATION OF ENERGY             2/28/2019       CCNRD_02818                 ENERGY SYSTEMS GROUP LLC              ENERGY SYSTEMS GROUP LLC
           EFFICIENCY MEASURE                                                                                                          9877 EASTGATE COURT
                                                                                                                                       NEWBURGH, IN 47630

2. 2033    UESC IMPLEMENTATION OF ENERGY              4/2/2019       CCNRD_02819                 ENERGY SYSTEMS GROUP LLC              ENERGY SYSTEMS GROUP LLC
           EFFICIENCY MEASURE                                                                                                          9877 EASTGATE COURT
                                                                                                                                       NEWBURGH, IN 47630

2. 2034    UESC IMPLEMENTATION OF ENERGY             3/29/2020       CCNRD_02820                 ENERGY SYSTEMS GROUP LLC              ENERGY SYSTEMS GROUP LLC
           EFFICIENCY MEASURE                                                                                                          9877 EASTGATE COURT
                                                                                                                                       NEWBURGH, IN 47630

2. 2035    MASTER SERVICES AGREEMENT                 12/31/2018      CCNRD_02805                 ENLIGHT EFFICIENCY (LIGHTING ONLY)    5600A SUNOL BLVD
           PROVIDING THAT PG&E MAY ENTER                                                                                               PLEASANTON, CA 94566
           INTO CONTRACT WORK
           AUTHORIZATIONS WITH THIS VENDOR
           FOR VARIOUS ENERGY EFFICIENCY
           SERVICES

2. 2036    STATE OF CALIFORNIA - CUSTOMIZED          Not Stated      CCOTH_03620                 ENOVITY INC.                          100 MONTGOMERY ST., SUITE 600
           RETROFIT                                                                                                                    SAN FRANCISCO, CA 94104

2. 2037    STATE OF CALIFORNIA - CUSTOMIZED          Not Stated      CCOTH_03621                 ENOVITY, INC.                         100 MONTGOMERY ST., SUITE 600
           RETROFIT                                                                                                                    SAN FRANCISCO, CA 94104

2. 2038    STATE OF CALIFORNIA - CUSTOMIZED          Not Stated      CCOTH_03622                 ENOVITY, INC.                         100 MONTGOMERY ST, SUITE 600
           RETROFIT                                                                                                                    SAN FRANCISCO, CA 94104

2. 2039    CONTRACT WORK AUTHORIZATION TO            3/31/2019       CCNRD_02794                 ENVISE                                ENVISE
           PROVIDE ENERGY EFFICIENCY AUDIT                                                                                             7390 LINCOLN WAY
           SERVICES                                                                                                                    GARDEN GROVE, CA 92841

2. 2040    MASTER SERVICES AGREEMENT                 12/31/2020      CCNRD_02806                 ENVISE                                ENVISE
           PROVIDING THAT PG&E MAY ENTER                                                                                               7390 LINCOLN WAY
           INTO CONTRACT WORK                                                                                                          GARDEN GROVE, CA 92841
           AUTHORIZATIONS WITH THIS VENDOR
           FOR VARIOUS ENERGY EFFICIENCY
           SERVICES




                                                                      Page 203 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 204
                                                                                of 649
Pacific Gas and Electric Company                                                                                                   Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 2041    TESTING SERVICES AGREEMENT TO             6/15/2020       CCNRD_02861                 EOS ENERGY, LLC                    3 EAST 80TH STREET
           DEVELOP ENERGY STORAGE                                                                                                   NEW YORK, NY 10075
           TECHNOLOGY SOLUTIONS TO LOWER
           COSTS

2. 2042    COMMERCIAL CALCULATED                     Not Stated      CCOTH_00193                 EQUINIX INC.                       GLOBAL ONE LAGOON DRIVE4TH
           INCENTIVES - CUSTOMIZED NEW                                                                                              FLOOR
           CONSTRUCTION                                                                                                             REDWOOD CITY, CA 94065

2. 2043    REAL PROPERTY LEASE - MANTECA             9/30/2024       CCCRSLS_000                 ERGONIS LAND CO LP                 ERGONIS LAND CO LP
           CNG/LNG GC                                                    44                                                         19991 FAIRWAY CT
                                                                                                                                    WOODBRIDGE, CA 95258

2. 2044    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00908                 ERIC LEBEL                         28 MARINERO CIRCLE APT. 17
                                                                                                                                    TIBURON 94920

2. 2045    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00800                 ERIC WANG                          46335 LANDING PARKWAY
                                                                                                                                    FREMONT 94538

2. 2046    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01111                 ERIC WILLS                         114 FLYNN AVE
                                                                                                                                    MOUNTAIN VIEW 94043

2. 2047    EXISTING BUILDING COMMISSIONING           6/28/2018       CCOTH_03760                 ERIK CARLSON                       235 PINE ST., STE. 600
           WORKSHOP SERIES XIV CLASS #1                                                                                             SAN FRANCISCO, CA 94104

2. 2048    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00646                 ERIKA BEAR                         910 E. HAMILTON AVE., SUITE 180
                                                                                                                                    CAMPBELL 95008

2. 2049    HEALTH AND SAFETY CONSULTING               8/1/2019       CCNRD_00004                 ERM-WEST INC                       1277 TREAT BOULEVARD
           SUPPORT TO VARIOUS ORGANIZATIONS                                                                                         SUITE 500
           WITHIN PG&E                                                                                                              WALNUT CREEK, CA 94597

2. 2050    COMMERCIAL CALCULATED                     Not Stated      CCOTH_00118                 ESCALON UNIFIED SCHOOL DISTRICT    1520 YOSEMITE AVE
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                        ESCALON, CA 95320
           PROGRAM

2. 2051    SMARTAC                                   Not Stated      CCOTH_03611                 ESPINOSA,ENRIQUE                   2942 FISHER CT
                                                                                                                                    STOCKTON, CA 95207




                                                                      Page 204 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 205
                                                                                of 649
Pacific Gas and Electric Company                                                                                                     Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 2052    COMMERCIAL HVAC - DEEMED                  Not Stated      CCOTH_00456                 ESS TECHNOLOGY                       237 S HILLVIEW DRIVE
           UPSTREAM / MIDSTREAM - HVAC QM                                                                                             MILPITAS, CA 95035

2. 2053    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00542                 EUDELIA RIOS                         3935 E TYLER AVE
           ADVANCED HOME UPGRADE                                                                                                      FRESNO, CA 93702
           (CUSTOM/CALCULATED)

2. 2054    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00972                 EUGEN DUNLAP                         2222 MUIR WOODS PL
                                                                                                                                      DAVIS 95616

2. 2055    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00607                 EUN LEE                              1155 LANSDALE CT
           ADVANCED HOME UPGRADE                                                                                                      SAN JOSE, CA 95120
           (CUSTOM/CALCULATED)

2. 2056    GENERAL OFF-BILL AND ON-                   5/2/2022       CCOTH_01380                 EUREKA UNION SCHOOL DISTRICT         5455 EUREKA RD
           BILLFINANCING LOAN AGREEMENT                                                                                               GRANITE BAY, CA 95746

2. 2057    GENERAL OFF-BILL AND ON-                  1/18/2020       CCOTH_01532                 EUREKA UNION SCHOOL DISTRICT         5455 EUREKA RD
           BILLFINANCING LOAN AGREEMENT                                                                                               GRANITE BAY, CA 95746

2. 2058    WATER/SEWER AGREEMENT                     Not Stated      CCCRSOT_000                 EUREKA, CITY OF                      CITY OF EUREKA, FINANCE DEPT,
                                                                         66                                                           531 K ST
                                                                                                                                      EUREKA, CA 95501

2. 2059    GENERAL OFF-BILL AND ON-                  12/15/2021      CCOTH_01163                 EUROSTAR INC - 1619 PANAMA LN STE    10606 SHOEMAKER AVE, #B
           BILLFINANCING LOAN AGREEMENT                                                          C104                                 SANTA FE SPRINGS, CA 90670

2. 2060    GENERAL OFF-BILL AND ON-                  4/19/2022       CCOTH_02614                 EUROSTAR INC - 1638 E FREMONT ST     10606 SHOEMAKER AVE #B
           BILLFINANCING LOAN AGREEMENT                                                                                               SANTA FE SPRINGS, CA 90670

2. 2061    GENERAL OFF-BILL AND ON-                  7/13/2022       CCOTH_01164                 EUROSTAR INC - 3000 NILES ST         10606 SHOEMAKER AVE.
           BILLFINANCING LOAN AGREEMENT                                                                                               #B
                                                                                                                                      SANTA FE SPRINGS, CA 90670

2. 2062    GENERAL OFF-BILL AND ON-                   9/3/2021       CCOTH_01162                 EUROSTAR INC - 4789 E KINGS          10606 SHOEMAKER AVE, #B
           BILLFINANCING LOAN AGREEMENT                                                          CANYON RD                            SANTA FE SPRINGS, CA 90670

2. 2063    GENERAL OFF-BILL AND ON-                  1/29/2022       CCOTH_01286                 EUROSTAR INC - 60 CHESTER AVE        10606 SHOEMAKER AVE, #B
           BILLFINANCING LOAN AGREEMENT                                                                                               SANTA FE SPRINGS, CA 90670


                                                                      Page 205 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                  Page 206
                                                                                of 649
Pacific Gas and Electric Company                                                                                                     Case Number:       19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                   Address
                                                    or Remaining
                                                        Term


2. 2064    GENERAL OFF-BILL AND ON-                  3/20/2020       CCOTH_02242                 EVERETT GRAPHICS INC                 P.O. BOX 842808
           BILLFINANCING LOAN AGREEMENT                                                                                               KANSAS CITY, MO

2. 2065    BOTTOM-UP STATEWIDE ENERGY                7/31/2019       CCOTH_00004                 EVERGREEN ECONOMICS                  333 SW TAYLOR STE 200
           EFFICIENCY PROGRAM COMPOSITION                                                                                             PORTLAND, OR 97204
           REVIEW

2. 2066    CS COMMERCIAL FIELD STUDY- PHASE 1        12/31/2018      CCOTH_03688                 EVERGREEN ECONOMICS                  2525 NE MASON STREET
                                                                                                                                      PORTLAND, OREGON 97211

2. 2067    GENERAL OFF-BILL AND ON-                  2/19/2019       CCOTH_01358                 EVERGREEN MARKET A CALIF CORP        P.O. BOX 298
           BILLFINANCING LOAN AGREEMENT                                                          DBA EVERGREEN MARKET                 CENTELLA D. TUCKER,
                                                                                                                                      SECRETARY TREASURER
                                                                                                                                      GREENVILLE, CA 95947

2. 2068    COMMERCIAL CALCULATED                     Not Stated      CCOTH_00117                 EVODC LLC                            1400 65TH STREET
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                          EMERYVILLE, CA 94608
           PROGRAM

2. 2069    COMMERCIAL CALCULATED                     Not Stated      CCOTH_00174                 EVOLUTION HOSPITALITY                1770 S. AMPHLETT BLVD
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                          SAN MATEO, CA 94402
           PROGRAM

2. 2070    GENERAL OFF-BILL AND ON-                   7/3/2022       CCOTH_02603                 EWIG,ERIC D - 935 TRANCAS ST STE 4C 6644 N. HIGHLAND
           BILLFINANCING LOAN AGREEMENT                                                                                              CLOVIS, CA 93619

2. 2071    GENERAL OFF-BILL AND ON-                   5/7/2023       CCOTH_02551                 EWING FOLEY INC - 10061 BUBB RD      PO BOX 2061
           BILLFINANCING LOAN AGREEMENT                                                          STE 100 - CUPERTI                    SAN JOSE, CA 95109

2. 2072    GENERAL OFF-BILL AND ON-                  10/15/2020      CCOTH_02564                 EXCEL BUSINESS PARK, LLC - 2309 E    9530 HAGEMAN RD. B #196
           BILLFINANCING LOAN AGREEMENT                                                          BRUNDAGE LN STE                      BAKERSFIELD, CA 93312

2. 2073    GENERAL OFF-BILL AND ON-                  11/7/2020       CCOTH_02565                 EXCEL BUSINESS PARK, LLC - 6901      9530 HAGEMAN RD. B #196
           BILLFINANCING LOAN AGREEMENT                                                          DISTRICT BLVD STE                    BAKERSFIELD, CA 93312

2. 2074    GENERAL OFF-BILL AND ON-                  3/11/2023       CCOTH_02546                 EXOGAN - 3106 KERNER BLVD - SAN      1001 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          RAFAEL                               SANTA FE SPRINGS, CA 90670

2. 2075    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03396                 EXP U.S. SERVICES INC                2601 WESTHALL LANE
           BY DESIGN WHOLE BUILDING                                                                                                   MAITLAND, FL 32751

                                                                      Page 206 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                    Page 207
                                                                                of 649
Pacific Gas and Electric Company                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                   Address
                                                    or Remaining
                                                        Term


2. 2076    MASTER IRU AGREEMENT FOR OPTICAL          9/29/2031       CCNRD_01668                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
           FIBER INSTALLATIONS                                                                                        SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2077    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02041                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2078    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02042                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2079    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02043                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2080    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02044                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2081    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02045                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2082    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02046                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2083    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02047                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2084    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02048                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2085    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02049                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532



                                                                      Page 207 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35    Page 208
                                                                                of 649
Pacific Gas and Electric Company                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                   Address
                                                    or Remaining
                                                        Term


2. 2086    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02050                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2087    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02051                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2088    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02052                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2089    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02053                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2090    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02054                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2091    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02055                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2092    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02056                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2093    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02057                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2094    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02058                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2095    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02059                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532



                                                                      Page 208 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35    Page 209
                                                                                of 649
Pacific Gas and Electric Company                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                   Address
                                                    or Remaining
                                                        Term


2. 2096    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02060                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2097    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02061                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2098    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02062                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2099    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02063                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2100    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02064                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2101    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02065                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2102    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02066                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2103    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02067                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2104    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02068                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2105    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02069                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532



                                                                      Page 209 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35    Page 210
                                                                                of 649
Pacific Gas and Electric Company                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                   Address
                                                    or Remaining
                                                        Term


2. 2106    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02070                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2107    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02071                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2108    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02072                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2109    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02073                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2110    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02074                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2111    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02075                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2112    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02076                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2113    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02077                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2114    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02078                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2115    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02079                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532



                                                                      Page 210 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35    Page 211
                                                                                of 649
Pacific Gas and Electric Company                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                   Address
                                                    or Remaining
                                                        Term


2. 2116    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02080                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2117    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02081                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2118    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02082                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2119    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02083                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2120    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02084                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2121    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02085                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2122    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02086                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2123    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02087                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2124    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02088                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2125    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02089                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532



                                                                      Page 211 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35    Page 212
                                                                                of 649
Pacific Gas and Electric Company                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                   Address
                                                    or Remaining
                                                        Term


2. 2126    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02090                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2127    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02091                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2128    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02092                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2129    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02093                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2130    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02094                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2131    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02095                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2132    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02096                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2133    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02097                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2134    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02098                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2135    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02099                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532



                                                                      Page 212 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35    Page 213
                                                                                of 649
Pacific Gas and Electric Company                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                   Address
                                                    or Remaining
                                                        Term


2. 2136    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02100                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2137    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02101                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2138    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02102                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2139    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02103                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2140    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02104                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2141    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02105                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2142    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02106                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2143    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02107                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2144    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02108                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2145    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02109                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532



                                                                      Page 213 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35    Page 214
                                                                                of 649
Pacific Gas and Electric Company                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                   Address
                                                    or Remaining
                                                        Term


2. 2146    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02110                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2147    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02111                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2148    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02112                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2149    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02113                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2150    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02114                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2151    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02115                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2152    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02116                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2153    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02117                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2154    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02118                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2155    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02119                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532



                                                                      Page 214 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35    Page 215
                                                                                of 649
Pacific Gas and Electric Company                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                   Address
                                                    or Remaining
                                                        Term


2. 2156    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02120                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2157    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02121                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2158    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02122                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2159    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02123                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2160    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02124                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2161    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02125                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2162    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02126                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2163    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02127                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2164    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02128                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2165    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02129                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532



                                                                      Page 215 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35    Page 216
                                                                                of 649
Pacific Gas and Electric Company                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                   Address
                                                    or Remaining
                                                        Term


2. 2166    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02130                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2167    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02131                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2168    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02132                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2169    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02133                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2170    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02134                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2171    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02135                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2172    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02136                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2173    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02137                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2174    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02138                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2175    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02139                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532



                                                                      Page 216 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35    Page 217
                                                                                of 649
Pacific Gas and Electric Company                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                   Address
                                                    or Remaining
                                                        Term


2. 2176    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02140                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2177    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02141                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2178    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02142                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2179    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02143                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2180    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02144                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2181    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02145                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2182    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02146                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2183    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02147                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2184    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02148                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2185    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02149                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532



                                                                      Page 217 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35    Page 218
                                                                                of 649
Pacific Gas and Electric Company                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                   Address
                                                    or Remaining
                                                        Term


2. 2186    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02150                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2187    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02151                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2188    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02152                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2189    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02153                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2190    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02154                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2191    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02155                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2192    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02156                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2193    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02157                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2194    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02158                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2195    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02159                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532



                                                                      Page 218 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35    Page 219
                                                                                of 649
Pacific Gas and Electric Company                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                   Address
                                                    or Remaining
                                                        Term


2. 2196    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02160                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2197    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02161                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2198    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02162                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2199    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02163                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2200    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02164                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2201    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02165                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2202    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02166                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2203    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02167                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2204    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02168                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2205    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02169                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532



                                                                      Page 219 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35    Page 220
                                                                                of 649
Pacific Gas and Electric Company                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                   Address
                                                    or Remaining
                                                        Term


2. 2206    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02170                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2207    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02171                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2208    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02172                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2209    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02173                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2210    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02174                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2211    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02175                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2212    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02176                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2213    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02177                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2214    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02178                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2215    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02179                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532



                                                                      Page 220 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35    Page 221
                                                                                of 649
Pacific Gas and Electric Company                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                   Address
                                                    or Remaining
                                                        Term


2. 2216    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02180                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2217    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02181                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2218    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02182                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2219    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02183                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2220    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02184                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2221    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02185                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2222    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02186                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2223    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02187                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2224    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02188                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2225    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02189                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532



                                                                      Page 221 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35    Page 222
                                                                                of 649
Pacific Gas and Electric Company                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                   Address
                                                    or Remaining
                                                        Term


2. 2226    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02190                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2227    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02191                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2228    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02192                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2229    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02193                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2230    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02194                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2231    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02195                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2232    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02196                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2233    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02197                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2234    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02198                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2235    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02199                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532



                                                                      Page 222 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35    Page 223
                                                                                of 649
Pacific Gas and Electric Company                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                   Address
                                                    or Remaining
                                                        Term


2. 2236    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02200                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2237    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02201                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2238    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02202                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2239    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02203                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2240    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02204                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2241    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02205                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2242    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02206                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2243    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02207                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2244    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02208                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2245    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02209                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532



                                                                      Page 223 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35    Page 224
                                                                                of 649
Pacific Gas and Electric Company                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                   Address
                                                    or Remaining
                                                        Term


2. 2246    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02210                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2247    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02211                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2248    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02212                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2249    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02213                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2250    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02214                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2251    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02215                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2252    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02216                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2253    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02217                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2254    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02218                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2255    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02219                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532



                                                                      Page 224 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35    Page 225
                                                                                of 649
Pacific Gas and Electric Company                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                   Address
                                                    or Remaining
                                                        Term


2. 2256    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02220                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2257    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02221                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2258    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02222                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2259    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02223                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2260    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02224                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2261    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02225                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2262    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02226                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2263    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02227                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2264    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02228                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2265    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02229                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532



                                                                      Page 225 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35    Page 226
                                                                                of 649
Pacific Gas and Electric Company                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                   Address
                                                    or Remaining
                                                        Term


2. 2266    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02230                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2267    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02231                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2268    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02232                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2269    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02233                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2270    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02234                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2271    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02235                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2272    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02236                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2273    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02237                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2274    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02238                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2275    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02239                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532



                                                                      Page 226 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35    Page 227
                                                                                of 649
Pacific Gas and Electric Company                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                   Address
                                                    or Remaining
                                                        Term


2. 2276    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02240                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2277    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02241                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2278    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02242                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2279    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02243                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2280    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02244                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2281    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02245                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2282    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02246                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2283    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02247                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2284    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02248                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2285    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02249                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532



                                                                      Page 227 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35    Page 228
                                                                                of 649
Pacific Gas and Electric Company                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                   Address
                                                    or Remaining
                                                        Term


2. 2286    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02250                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2287    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02251                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2288    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02252                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2289    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02253                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2290    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02254                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2291    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02255                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2292    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02256                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2293    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02257                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2294    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02258                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2295    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02259                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532



                                                                      Page 228 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35    Page 229
                                                                                of 649
Pacific Gas and Electric Company                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                   Address
                                                    or Remaining
                                                        Term


2. 2296    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02260                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2297    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02261                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2298    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02262                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2299    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02263                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2300    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02264                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2301    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02265                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2302    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02266                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2303    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02267                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2304    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02268                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2305    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02269                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532



                                                                      Page 229 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35    Page 230
                                                                                of 649
Pacific Gas and Electric Company                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                   Address
                                                    or Remaining
                                                        Term


2. 2306    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02270                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2307    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02271                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2308    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02272                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2309    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02273                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2310    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02274                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2311    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02275                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2312    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02276                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2313    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02277                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2314    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02278                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2315    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02279                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532



                                                                      Page 230 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35    Page 231
                                                                                of 649
Pacific Gas and Electric Company                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                   Address
                                                    or Remaining
                                                        Term


2. 2316    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02280                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2317    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02281                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2318    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02282                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2319    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02283                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2320    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02284                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2321    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02285                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2322    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02286                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2323    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02287                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2324    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02288                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2325    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02289                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532



                                                                      Page 231 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35    Page 232
                                                                                of 649
Pacific Gas and Electric Company                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                   Address
                                                    or Remaining
                                                        Term


2. 2326    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02290                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2327    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02291                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2328    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02292                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2329    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02293                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2330    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02294                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2331    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02295                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2332    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02296                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2333    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02297                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2334    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02298                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2335    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02299                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532



                                                                      Page 232 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35    Page 233
                                                                                of 649
Pacific Gas and Electric Company                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                   Address
                                                    or Remaining
                                                        Term


2. 2336    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02300                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2337    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02301                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2338    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02302                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2339    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02303                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2340    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02304                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2341    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02305                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2342    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02306                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2343    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02307                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2344    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02308                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2345    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02309                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532



                                                                      Page 233 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35    Page 234
                                                                                of 649
Pacific Gas and Electric Company                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                   Address
                                                    or Remaining
                                                        Term


2. 2346    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02310                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2347    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02311                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2348    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02312                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2349    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02313                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2350    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02314                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2351    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02315                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2352    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02316                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2353    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02317                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2354    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02318                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2355    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02319                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532



                                                                      Page 234 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35    Page 235
                                                                                of 649
Pacific Gas and Electric Company                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                   Address
                                                    or Remaining
                                                        Term


2. 2356    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02320                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2357    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02321                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2358    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02322                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2359    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02323                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2360    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02324                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2361    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02325                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2362    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02326                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2363    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02327                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2364    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02328                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2365    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02329                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532



                                                                      Page 235 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35    Page 236
                                                                                of 649
Pacific Gas and Electric Company                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                   Address
                                                    or Remaining
                                                        Term


2. 2366    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02330                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2367    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02331                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2368    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02332                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2369    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02333                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2370    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02334                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2371    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02335                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2372    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02336                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2373    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02337                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2374    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02338                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2375    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02339                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532



                                                                      Page 236 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35    Page 237
                                                                                of 649
Pacific Gas and Electric Company                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                   Address
                                                    or Remaining
                                                        Term


2. 2376    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02340                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2377    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02341                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2378    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02342                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2379    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02343                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2380    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02344                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2381    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02345                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2382    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02346                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2383    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02347                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2384    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02348                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2385    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02349                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532



                                                                      Page 237 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35    Page 238
                                                                                of 649
Pacific Gas and Electric Company                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                   Address
                                                    or Remaining
                                                        Term


2. 2386    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02350                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2387    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02351                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2388    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02352                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2389    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02353                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2390    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02354                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2391    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02355                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2392    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02356                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2393    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02357                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2394    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02358                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2395    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02359                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532



                                                                      Page 238 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35    Page 239
                                                                                of 649
Pacific Gas and Electric Company                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                   Address
                                                    or Remaining
                                                        Term


2. 2396    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02360                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2397    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02361                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2398    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02362                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2399    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02363                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2400    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02364                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2401    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02365                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2402    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02366                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2403    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02367                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2404    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02368                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2405    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02369                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532



                                                                      Page 239 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35    Page 240
                                                                                of 649
Pacific Gas and Electric Company                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                   Address
                                                    or Remaining
                                                        Term


2. 2406    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02370                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2407    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02371                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2408    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02372                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2409    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02373                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2410    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02374                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2411    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02375                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2412    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02376                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2413    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02377                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2414    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02378                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2415    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02379                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532



                                                                      Page 240 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35    Page 241
                                                                                of 649
Pacific Gas and Electric Company                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                   Address
                                                    or Remaining
                                                        Term


2. 2416    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02380                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2417    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02381                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2418    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02382                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2419    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02383                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2420    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02384                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2421    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02385                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2422    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02386                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2423    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02387                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2424    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02388                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2425    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02389                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532



                                                                      Page 241 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35    Page 242
                                                                                of 649
Pacific Gas and Electric Company                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                   Address
                                                    or Remaining
                                                        Term


2. 2426    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02390                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2427    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02391                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2428    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02392                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2429    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02393                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2430    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02394                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2431    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02395                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2432    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02396                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2433    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02397                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2434    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02398                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2435    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02399                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532



                                                                      Page 242 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35    Page 243
                                                                                of 649
Pacific Gas and Electric Company                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                   Address
                                                    or Remaining
                                                        Term


2. 2436    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02400                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2437    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02401                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2438    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02402                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2439    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02403                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2440    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02404                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2441    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02405                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2442    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02406                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2443    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02407                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2444    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02408                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2445    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02409                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532



                                                                      Page 243 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35    Page 244
                                                                                of 649
Pacific Gas and Electric Company                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                   Address
                                                    or Remaining
                                                        Term


2. 2446    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02410                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2447    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02411                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2448    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02412                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2449    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02413                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2450    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02414                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2451    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02415                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2452    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02416                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2453    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02417                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2454    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02418                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2455    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02419                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532



                                                                      Page 244 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35    Page 245
                                                                                of 649
Pacific Gas and Electric Company                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                   Address
                                                    or Remaining
                                                        Term


2. 2456    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02420                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2457    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02421                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2458    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02422                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2459    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02423                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2460    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02424                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2461    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02425                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2462    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02426                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2463    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02427                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2464    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02428                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2465    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02429                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532



                                                                      Page 245 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35    Page 246
                                                                                of 649
Pacific Gas and Electric Company                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                   Address
                                                    or Remaining
                                                        Term


2. 2466    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02430                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2467    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02431                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2468    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02432                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2469    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02433                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2470    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02434                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2471    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02435                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2472    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02436                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2473    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02437                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2474    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02438                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2475    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02439                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532



                                                                      Page 246 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35    Page 247
                                                                                of 649
Pacific Gas and Electric Company                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                   Address
                                                    or Remaining
                                                        Term


2. 2476    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02440                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2477    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02441                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2478    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02442                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2479    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02443                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2480    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02444                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2481    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02445                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2482    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02446                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2483    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02447                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2484    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02448                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2485    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02449                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532



                                                                      Page 247 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35    Page 248
                                                                                of 649
Pacific Gas and Electric Company                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                   Address
                                                    or Remaining
                                                        Term


2. 2486    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02450                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2487    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02451                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2488    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02452                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2489    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02453                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2490    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02454                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2491    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02455                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2492    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02456                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2493    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02457                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2494    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02458                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2495    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02459                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532



                                                                      Page 248 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35    Page 249
                                                                                of 649
Pacific Gas and Electric Company                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                   Address
                                                    or Remaining
                                                        Term


2. 2496    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02460                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2497    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02461                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2498    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02462                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2499    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02463                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2500    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02464                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2501    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02465                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2502    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02466                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2503    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02467                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2504    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02468                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2505    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02469                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532



                                                                      Page 249 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35    Page 250
                                                                                of 649
Pacific Gas and Electric Company                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                   Address
                                                    or Remaining
                                                        Term


2. 2506    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02470                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2507    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02471                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2508    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02472                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2509    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02473                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2510    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02474                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2511    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02475                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2512    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02476                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2513    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02477                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2514    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02478                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2515    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02479                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532



                                                                      Page 250 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35    Page 251
                                                                                of 649
Pacific Gas and Electric Company                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                   Address
                                                    or Remaining
                                                        Term


2. 2516    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02480                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2517    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02481                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2518    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02482                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2519    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02483                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2520    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02484                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2521    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02485                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2522    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02486                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2523    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02487                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2524    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02488                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2525    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02489                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532



                                                                      Page 251 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35    Page 252
                                                                                of 649
Pacific Gas and Electric Company                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                   Address
                                                    or Remaining
                                                        Term


2. 2526    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02490                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2527    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02491                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2528    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02492                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2529    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02493                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2530    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02494                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2531    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02495                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2532    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02496                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2533    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02497                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2534    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02498                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2535    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02499                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532



                                                                      Page 252 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35    Page 253
                                                                                of 649
Pacific Gas and Electric Company                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                   Address
                                                    or Remaining
                                                        Term


2. 2536    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02500                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2537    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02501                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2538    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02502                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2539    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02503                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2540    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02504                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2541    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02505                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2542    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02506                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2543    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02507                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2544    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02508                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2545    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02509                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532



                                                                      Page 253 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35    Page 254
                                                                                of 649
Pacific Gas and Electric Company                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                   Address
                                                    or Remaining
                                                        Term


2. 2546    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02510                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2547    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02511                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2548    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02512                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2549    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02513                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2550    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02514                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2551    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02515                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2552    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02516                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2553    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02517                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2554    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02518                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2555    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02519                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532



                                                                      Page 254 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35    Page 255
                                                                                of 649
Pacific Gas and Electric Company                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                   Address
                                                    or Remaining
                                                        Term


2. 2556    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02520                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2557    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02521                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2558    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02522                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2559    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02523                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2560    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02524                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2561    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02525                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2562    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02526                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2563    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02527                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2564    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02528                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2565    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02529                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532



                                                                      Page 255 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35    Page 256
                                                                                of 649
Pacific Gas and Electric Company                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                   Address
                                                    or Remaining
                                                        Term


2. 2566    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02530                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2567    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02531                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2568    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02532                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2569    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02533                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2570    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02534                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2571    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02535                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2572    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02536                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2573    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02537                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2574    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02538                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2575    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02539                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532



                                                                      Page 256 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35    Page 257
                                                                                of 649
Pacific Gas and Electric Company                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                   Address
                                                    or Remaining
                                                        Term


2. 2576    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02540                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2577    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02541                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2578    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02542                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2579    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02543                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2580    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02544                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2581    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02545                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2582    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02546                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2583    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02547                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2584    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02548                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2585    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02549                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532



                                                                      Page 257 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35    Page 258
                                                                                of 649
Pacific Gas and Electric Company                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                   Address
                                                    or Remaining
                                                        Term


2. 2586    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02550                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2587    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02551                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2588    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02552                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2589    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02553                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2590    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02554                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2591    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02555                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2592    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02556                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2593    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02557                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2594    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02558                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2595    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02559                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532



                                                                      Page 258 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35    Page 259
                                                                                of 649
Pacific Gas and Electric Company                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                   Address
                                                    or Remaining
                                                        Term


2. 2596    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02560                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2597    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02561                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2598    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02562                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2599    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02563                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2600    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02564                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2601    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02565                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2602    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02566                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2603    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02567                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2604    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02568                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2605    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02569                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532



                                                                      Page 259 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35    Page 260
                                                                                of 649
Pacific Gas and Electric Company                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                   Address
                                                    or Remaining
                                                        Term


2. 2606    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02570                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2607    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02571                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2608    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02572                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2609    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02573                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2610    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02574                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2611    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02575                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2612    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02576                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2613    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02577                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2614    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02578                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532

2. 2615    ROUTE LICENSE AGREEMENT                   9/29/2031       CCNRD_02579                 EXTENET SYSTEMS      3030 WARRENVILLE ROAD
                                                                                                                      SUITE 340
                                                                                                                      LISLE, IL 60532



                                                                      Page 260 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35    Page 261
                                                                                of 649
Pacific Gas and Electric Company                                                                                                       Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                                 Address
                                                    or Remaining
                                                        Term


2. 2616    ROUTE LICENSE AGREEMENT                    9/29/2031         CCNRD_02580                 EXTENET SYSTEMS                     3030 WARRENVILLE ROAD
                                                                                                                                        SUITE 340
                                                                                                                                        LISLE, IL 60532

2. 2617    LICENSE FOR INDIVIDUAL SITE             9/29/2021,unless     CCNRD_00425                 EXTENET SYSTEMS (CALIFORNIA) LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   3030 WARRENVILLE RD
           RESTATED MASTER LICENSE                                                                                                      SUITE 340
           AGREEMENT FOR ANTENNA                                                                                                        LISLE, ILLINOIS 60532
           ATTACHMENT WITH EXTENET SYSTEMS
           (CALIFORNIA) LLC , DATED SEPT. 30,
           2011

2. 2618    LICENSE FOR INDIVIDUAL SITE             9/29/2021,unless     CCNRD_00426                 EXTENET SYSTEMS (CALIFORNIA) LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   3030 WARRENVILLE RD
           RESTATED MASTER LICENSE                                                                                                      SUITE 340
           AGREEMENT FOR ANTENNA                                                                                                        LISLE, ILLINOIS 60532
           ATTACHMENT WITH EXTENET SYSTEMS
           (CALIFORNIA) LLC , DATED SEPT. 30,
           2011

2. 2619    LICENSE FOR INDIVIDUAL SITE             9/29/2021,unless     CCNRD_00427                 EXTENET SYSTEMS (CALIFORNIA) LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   3030 WARRENVILLE RD
           RESTATED MASTER LICENSE                                                                                                      SUITE 340
           AGREEMENT FOR ANTENNA                                                                                                        LISLE, ILLINOIS 60532
           ATTACHMENT WITH EXTENET SYSTEMS
           (CALIFORNIA) LLC , DATED SEPT. 30,
           2011

2. 2620    LICENSE FOR INDIVIDUAL SITE             9/29/2021,unless     CCNRD_00428                 EXTENET SYSTEMS (CALIFORNIA) LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   3030 WARRENVILLE RD
           RESTATED MASTER LICENSE                                                                                                      SUITE 340
           AGREEMENT FOR ANTENNA                                                                                                        LISLE, ILLINOIS 60532
           ATTACHMENT WITH EXTENET SYSTEMS
           (CALIFORNIA) LLC , DATED SEPT. 30,
           2011

2. 2621    LICENSE FOR INDIVIDUAL SITE             9/29/2021,unless     CCNRD_00429                 EXTENET SYSTEMS (CALIFORNIA) LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   3030 WARRENVILLE RD
           RESTATED MASTER LICENSE                                                                                                      SUITE 340
           AGREEMENT FOR ANTENNA                                                                                                        LISLE, ILLINOIS 60532
           ATTACHMENT WITH EXTENET SYSTEMS
           (CALIFORNIA) LLC , DATED SEPT. 30,
           2011

                                                                         Page 261 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35               Page 262
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                        Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                  Address
                                                     or Remaining
                                                         Term


2. 2622    MASTER AGREEMENT FOR ISSUANCE               9/29/2021        CCNRD_00018                 EXTENET SYSTEMS (CALIFORNIA) LLC     ATTN: CHIEF FINANCIAL OFFICER
           OF LICENSES TO                                                                                                                3030 WARRENVILLE RD
           TELECOMMUNICATIONS CUSTOMER                                                                                                   SUITE 340
           FOR ATTACHMENT OF ANTENNAS AND                                                                                                LISLE, ILLINOIS 60532
           RELATED EQUIPMENT

2. 2623    LICENSE FOR INDIVIDUAL SITE             9/20/2030, unless    CCNRD_01166                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR ELECTRIC                                                                                                        SUITE 340
           DISTRIBUTION POLE ATTACHMENTS                                                                                                 LISLE, ILLINOIS 60532
           WITH EXTENET SYSTEMS (CALIFORNIA),
           INC. DATED SEPT.21, 2010

2. 2624    LICENSE FOR INDIVIDUAL SITE             9/20/2030, unless    CCNRD_01167                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR ELECTRIC                                                                                                        SUITE 340
           DISTRIBUTION POLE ATTACHMENTS                                                                                                 LISLE, ILLINOIS 60532
           WITH EXTENET SYSTEMS (CALIFORNIA),
           INC. DATED SEPT.21, 2010

2. 2625    LICENSE FOR INDIVIDUAL SITE             9/20/2030, unless    CCNRD_01168                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR ELECTRIC                                                                                                        SUITE 340
           DISTRIBUTION POLE ATTACHMENTS                                                                                                 LISLE, ILLINOIS 60532
           WITH EXTENET SYSTEMS (CALIFORNIA),
           INC. DATED SEPT.21, 2010

2. 2626    LICENSE FOR INDIVIDUAL SITE             9/20/2030, unless    CCNRD_01169                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR ELECTRIC                                                                                                        SUITE 340
           DISTRIBUTION POLE ATTACHMENTS                                                                                                 LISLE, ILLINOIS 60532
           WITH EXTENET SYSTEMS (CALIFORNIA),
           INC. DATED SEPT.21, 2010

2. 2627    LICENSE FOR INDIVIDUAL SITE             9/20/2030, unless    CCNRD_01170                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR ELECTRIC                                                                                                        SUITE 340
           DISTRIBUTION POLE ATTACHMENTS                                                                                                 LISLE, ILLINOIS 60532
           WITH EXTENET SYSTEMS (CALIFORNIA),
           INC. DATED SEPT.21, 2010




                                                                         Page 262 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35               Page 263
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                        Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                  Address
                                                     or Remaining
                                                         Term


2. 2628    LICENSE FOR INDIVIDUAL SITE             9/20/2030, unless    CCNRD_01171                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR ELECTRIC                                                                                                        SUITE 340
           DISTRIBUTION POLE ATTACHMENTS                                                                                                 LISLE, ILLINOIS 60532
           WITH EXTENET SYSTEMS (CALIFORNIA),
           INC. DATED SEPT.21, 2010

2. 2629    LICENSE FOR INDIVIDUAL SITE             9/20/2030, unless    CCNRD_01172                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR ELECTRIC                                                                                                        SUITE 340
           DISTRIBUTION POLE ATTACHMENTS                                                                                                 LISLE, ILLINOIS 60532
           WITH EXTENET SYSTEMS (CALIFORNIA),
           INC. DATED SEPT.21, 2010

2. 2630    LICENSE FOR INDIVIDUAL SITE             9/20/2030, unless    CCNRD_01173                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR ELECTRIC                                                                                                        SUITE 340
           DISTRIBUTION POLE ATTACHMENTS                                                                                                 LISLE, ILLINOIS 60532
           WITH EXTENET SYSTEMS (CALIFORNIA),
           INC. DATED SEPT.21, 2010

2. 2631    LICENSE FOR INDIVIDUAL SITE             9/20/2030, unless    CCNRD_01174                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR ELECTRIC                                                                                                        SUITE 340
           DISTRIBUTION POLE ATTACHMENTS                                                                                                 LISLE, ILLINOIS 60532
           WITH EXTENET SYSTEMS (CALIFORNIA),
           INC. DATED SEPT.21, 2010

2. 2632    LICENSE FOR INDIVIDUAL SITE             9/20/2030, unless    CCNRD_01175                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR ELECTRIC                                                                                                        SUITE 340
           DISTRIBUTION POLE ATTACHMENTS                                                                                                 LISLE, ILLINOIS 60532
           WITH EXTENET SYSTEMS (CALIFORNIA),
           INC. DATED SEPT.21, 2010

2. 2633    LICENSE FOR INDIVIDUAL SITE             9/20/2030, unless    CCNRD_01176                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR ELECTRIC                                                                                                        SUITE 340
           DISTRIBUTION POLE ATTACHMENTS                                                                                                 LISLE, ILLINOIS 60532
           WITH EXTENET SYSTEMS (CALIFORNIA),
           INC. DATED SEPT.21, 2010



                                                                         Page 263 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35               Page 264
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                        Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                  Address
                                                     or Remaining
                                                         Term


2. 2634    LICENSE FOR INDIVIDUAL SITE             9/20/2030, unless    CCNRD_01177                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR ELECTRIC                                                                                                        SUITE 340
           DISTRIBUTION POLE ATTACHMENTS                                                                                                 LISLE, ILLINOIS 60532
           WITH EXTENET SYSTEMS (CALIFORNIA),
           INC. DATED SEPT.21, 2010

2. 2635    LICENSE FOR INDIVIDUAL SITE             9/20/2030, unless    CCNRD_01178                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR ELECTRIC                                                                                                        SUITE 340
           DISTRIBUTION POLE ATTACHMENTS                                                                                                 LISLE, ILLINOIS 60532
           WITH EXTENET SYSTEMS (CALIFORNIA),
           INC. DATED SEPT.21, 2010

2. 2636    LICENSE FOR INDIVIDUAL SITE             9/20/2030, unless    CCNRD_01179                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR ELECTRIC                                                                                                        SUITE 340
           DISTRIBUTION POLE ATTACHMENTS                                                                                                 LISLE, ILLINOIS 60532
           WITH EXTENET SYSTEMS (CALIFORNIA),
           INC. DATED SEPT.21, 2010

2. 2637    LICENSE FOR INDIVIDUAL SITE             9/20/2030, unless    CCNRD_01180                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR ELECTRIC                                                                                                        SUITE 340
           DISTRIBUTION POLE ATTACHMENTS                                                                                                 LISLE, ILLINOIS 60532
           WITH EXTENET SYSTEMS (CALIFORNIA),
           INC. DATED SEPT.21, 2010

2. 2638    LICENSE FOR INDIVIDUAL SITE             9/20/2030, unless    CCNRD_01181                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR ELECTRIC                                                                                                        SUITE 340
           DISTRIBUTION POLE ATTACHMENTS                                                                                                 LISLE, ILLINOIS 60532
           WITH EXTENET SYSTEMS (CALIFORNIA),
           INC. DATED SEPT.21, 2010

2. 2639    LICENSE FOR INDIVIDUAL SITE             9/20/2030, unless    CCNRD_01182                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR ELECTRIC                                                                                                        SUITE 340
           DISTRIBUTION POLE ATTACHMENTS                                                                                                 LISLE, ILLINOIS 60532
           WITH EXTENET SYSTEMS (CALIFORNIA),
           INC. DATED SEPT.21, 2010



                                                                         Page 264 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35               Page 265
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                        Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                  Address
                                                     or Remaining
                                                         Term


2. 2640    LICENSE FOR INDIVIDUAL SITE             9/20/2030, unless    CCNRD_01183                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR ELECTRIC                                                                                                        SUITE 340
           DISTRIBUTION POLE ATTACHMENTS                                                                                                 LISLE, ILLINOIS 60532
           WITH EXTENET SYSTEMS (CALIFORNIA),
           INC. DATED SEPT.21, 2010

2. 2641    LICENSE FOR INDIVIDUAL SITE             9/20/2030, unless    CCNRD_01184                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR ELECTRIC                                                                                                        SUITE 340
           DISTRIBUTION POLE ATTACHMENTS                                                                                                 LISLE, ILLINOIS 60532
           WITH EXTENET SYSTEMS (CALIFORNIA),
           INC. DATED SEPT.21, 2010

2. 2642    LICENSE FOR INDIVIDUAL SITE             9/20/2030, unless    CCNRD_01185                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR ELECTRIC                                                                                                        SUITE 340
           DISTRIBUTION POLE ATTACHMENTS                                                                                                 LISLE, ILLINOIS 60532
           WITH EXTENET SYSTEMS (CALIFORNIA),
           INC. DATED SEPT.21, 2010

2. 2643    LICENSE FOR INDIVIDUAL SITE             9/20/2030, unless    CCNRD_01186                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR ELECTRIC                                                                                                        SUITE 340
           DISTRIBUTION POLE ATTACHMENTS                                                                                                 LISLE, ILLINOIS 60532
           WITH EXTENET SYSTEMS (CALIFORNIA),
           INC. DATED SEPT.21, 2010

2. 2644    LICENSE FOR INDIVIDUAL SITE             9/20/2030, unless    CCNRD_01187                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR ELECTRIC                                                                                                        SUITE 340
           DISTRIBUTION POLE ATTACHMENTS                                                                                                 LISLE, ILLINOIS 60532
           WITH EXTENET SYSTEMS (CALIFORNIA),
           INC. DATED SEPT.21, 2010

2. 2645    LICENSE FOR INDIVIDUAL SITE             9/20/2030, unless    CCNRD_01188                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR ELECTRIC                                                                                                        SUITE 340
           DISTRIBUTION POLE ATTACHMENTS                                                                                                 LISLE, ILLINOIS 60532
           WITH EXTENET SYSTEMS (CALIFORNIA),
           INC. DATED SEPT.21, 2010



                                                                         Page 265 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35               Page 266
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                        Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                  Address
                                                     or Remaining
                                                         Term


2. 2646    LICENSE FOR INDIVIDUAL SITE             9/20/2030, unless    CCNRD_01189                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR ELECTRIC                                                                                                        SUITE 340
           DISTRIBUTION POLE ATTACHMENTS                                                                                                 LISLE, ILLINOIS 60532
           WITH EXTENET SYSTEMS (CALIFORNIA),
           INC. DATED SEPT.21, 2010

2. 2647    LICENSE FOR INDIVIDUAL SITE             9/20/2030, unless    CCNRD_01190                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR ELECTRIC                                                                                                        SUITE 340
           DISTRIBUTION POLE ATTACHMENTS                                                                                                 LISLE, ILLINOIS 60532
           WITH EXTENET SYSTEMS (CALIFORNIA),
           INC. DATED SEPT.21, 2010

2. 2648    LICENSE FOR INDIVIDUAL SITE             9/20/2030, unless    CCNRD_01191                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR ELECTRIC                                                                                                        SUITE 340
           DISTRIBUTION POLE ATTACHMENTS                                                                                                 LISLE, ILLINOIS 60532
           WITH EXTENET SYSTEMS (CALIFORNIA),
           INC. DATED SEPT.21, 2010

2. 2649    LICENSE FOR INDIVIDUAL SITE             9/20/2030, unless    CCNRD_01192                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR ELECTRIC                                                                                                        SUITE 340
           DISTRIBUTION POLE ATTACHMENTS                                                                                                 LISLE, ILLINOIS 60532
           WITH EXTENET SYSTEMS (CALIFORNIA),
           INC. DATED SEPT.21, 2010

2. 2650    LICENSE FOR INDIVIDUAL SITE             9/20/2030, unless    CCNRD_01193                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR ELECTRIC                                                                                                        SUITE 340
           DISTRIBUTION POLE ATTACHMENTS                                                                                                 LISLE, ILLINOIS 60532
           WITH EXTENET SYSTEMS (CALIFORNIA),
           INC. DATED SEPT.21, 2010

2. 2651    LICENSE FOR INDIVIDUAL SITE             9/20/2030, unless    CCNRD_01194                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR ELECTRIC                                                                                                        SUITE 340
           DISTRIBUTION POLE ATTACHMENTS                                                                                                 LISLE, ILLINOIS 60532
           WITH EXTENET SYSTEMS (CALIFORNIA),
           INC. DATED SEPT.21, 2010



                                                                         Page 266 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35               Page 267
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                        Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                  Address
                                                     or Remaining
                                                         Term


2. 2652    LICENSE FOR INDIVIDUAL SITE             9/20/2030, unless    CCNRD_01195                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR ELECTRIC                                                                                                        SUITE 340
           DISTRIBUTION POLE ATTACHMENTS                                                                                                 LISLE, ILLINOIS 60532
           WITH EXTENET SYSTEMS (CALIFORNIA),
           INC. DATED SEPT.21, 2010

2. 2653    LICENSE FOR INDIVIDUAL SITE             9/20/2030, unless    CCNRD_01196                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR ELECTRIC                                                                                                        SUITE 340
           DISTRIBUTION POLE ATTACHMENTS                                                                                                 LISLE, ILLINOIS 60532
           WITH EXTENET SYSTEMS (CALIFORNIA),
           INC. DATED SEPT.21, 2010

2. 2654    LICENSE FOR INDIVIDUAL SITE             9/20/2030, unless    CCNRD_01197                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR ELECTRIC                                                                                                        SUITE 340
           DISTRIBUTION POLE ATTACHMENTS                                                                                                 LISLE, ILLINOIS 60532
           WITH EXTENET SYSTEMS (CALIFORNIA),
           INC. DATED SEPT.21, 2010

2. 2655    LICENSE FOR INDIVIDUAL SITE             9/20/2030, unless    CCNRD_01198                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR ELECTRIC                                                                                                        SUITE 340
           DISTRIBUTION POLE ATTACHMENTS                                                                                                 LISLE, ILLINOIS 60532
           WITH EXTENET SYSTEMS (CALIFORNIA),
           INC. DATED SEPT.21, 2010

2. 2656    LICENSE FOR INDIVIDUAL SITE             9/20/2030, unless    CCNRD_01199                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR ELECTRIC                                                                                                        SUITE 340
           DISTRIBUTION POLE ATTACHMENTS                                                                                                 LISLE, ILLINOIS 60532
           WITH EXTENET SYSTEMS (CALIFORNIA),
           INC. DATED SEPT.21, 2010

2. 2657    LICENSE FOR INDIVIDUAL SITE             9/20/2030, unless    CCNRD_01200                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR ELECTRIC                                                                                                        SUITE 340
           DISTRIBUTION POLE ATTACHMENTS                                                                                                 LISLE, ILLINOIS 60532
           WITH EXTENET SYSTEMS (CALIFORNIA),
           INC. DATED SEPT.21, 2010



                                                                         Page 267 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35               Page 268
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                        Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                  Address
                                                     or Remaining
                                                         Term


2. 2658    LICENSE FOR INDIVIDUAL SITE             9/20/2030, unless    CCNRD_01201                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR ELECTRIC                                                                                                        SUITE 340
           DISTRIBUTION POLE ATTACHMENTS                                                                                                 LISLE, ILLINOIS 60532
           WITH EXTENET SYSTEMS (CALIFORNIA),
           INC. DATED SEPT.21, 2010

2. 2659    LICENSE FOR INDIVIDUAL SITE             9/20/2030, unless    CCNRD_01202                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR ELECTRIC                                                                                                        SUITE 340
           DISTRIBUTION POLE ATTACHMENTS                                                                                                 LISLE, ILLINOIS 60532
           WITH EXTENET SYSTEMS (CALIFORNIA),
           INC. DATED SEPT.21, 2010

2. 2660    LICENSE FOR INDIVIDUAL SITE             9/20/2030, unless    CCNRD_01203                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR ELECTRIC                                                                                                        SUITE 340
           DISTRIBUTION POLE ATTACHMENTS                                                                                                 LISLE, ILLINOIS 60532
           WITH EXTENET SYSTEMS (CALIFORNIA),
           INC. DATED SEPT.21, 2010

2. 2661    LICENSE FOR INDIVIDUAL SITE             9/20/2030, unless    CCNRD_01204                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR ELECTRIC                                                                                                        SUITE 340
           DISTRIBUTION POLE ATTACHMENTS                                                                                                 LISLE, ILLINOIS 60532
           WITH EXTENET SYSTEMS (CALIFORNIA),
           INC. DATED SEPT.21, 2010

2. 2662    LICENSE FOR INDIVIDUAL SITE             9/20/2030, unless    CCNRD_01205                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR ELECTRIC                                                                                                        SUITE 340
           DISTRIBUTION POLE ATTACHMENTS                                                                                                 LISLE, ILLINOIS 60532
           WITH EXTENET SYSTEMS (CALIFORNIA),
           INC. DATED SEPT.21, 2010

2. 2663    LICENSE FOR INDIVIDUAL SITE             9/20/2030, unless    CCNRD_01206                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR ELECTRIC                                                                                                        SUITE 340
           DISTRIBUTION POLE ATTACHMENTS                                                                                                 LISLE, ILLINOIS 60532
           WITH EXTENET SYSTEMS (CALIFORNIA),
           INC. DATED SEPT.21, 2010



                                                                         Page 268 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35               Page 269
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                        Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                  Address
                                                     or Remaining
                                                         Term


2. 2664    LICENSE FOR INDIVIDUAL SITE             9/20/2030, unless    CCNRD_01207                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR ELECTRIC                                                                                                        SUITE 340
           DISTRIBUTION POLE ATTACHMENTS                                                                                                 LISLE, ILLINOIS 60532
           WITH EXTENET SYSTEMS (CALIFORNIA),
           INC. DATED SEPT.21, 2010

2. 2665    LICENSE FOR INDIVIDUAL SITE             9/20/2030, unless    CCNRD_01208                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR ELECTRIC                                                                                                        SUITE 340
           DISTRIBUTION POLE ATTACHMENTS                                                                                                 LISLE, ILLINOIS 60532
           WITH EXTENET SYSTEMS (CALIFORNIA),
           INC. DATED SEPT.21, 2010

2. 2666    LICENSE FOR INDIVIDUAL SITE             9/20/2030, unless    CCNRD_01209                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR ELECTRIC                                                                                                        SUITE 340
           DISTRIBUTION POLE ATTACHMENTS                                                                                                 LISLE, ILLINOIS 60532
           WITH EXTENET SYSTEMS (CALIFORNIA),
           INC. DATED SEPT.21, 2010

2. 2667    LICENSE FOR INDIVIDUAL SITE             9/20/2030, unless    CCNRD_01210                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR ELECTRIC                                                                                                        SUITE 340
           DISTRIBUTION POLE ATTACHMENTS                                                                                                 LISLE, ILLINOIS 60532
           WITH EXTENET SYSTEMS (CALIFORNIA),
           INC. DATED SEPT.21, 2010

2. 2668    LICENSE FOR INDIVIDUAL SITE             9/20/2030, unless    CCNRD_01211                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR ELECTRIC                                                                                                        SUITE 340
           DISTRIBUTION POLE ATTACHMENTS                                                                                                 LISLE, ILLINOIS 60532
           WITH EXTENET SYSTEMS (CALIFORNIA),
           INC. DATED SEPT.21, 2010

2. 2669    LICENSE FOR INDIVIDUAL SITE             9/20/2030, unless    CCNRD_01212                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR ELECTRIC                                                                                                        SUITE 340
           DISTRIBUTION POLE ATTACHMENTS                                                                                                 LISLE, ILLINOIS 60532
           WITH EXTENET SYSTEMS (CALIFORNIA),
           INC. DATED SEPT.21, 2010



                                                                         Page 269 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35               Page 270
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                        Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                  Address
                                                     or Remaining
                                                         Term


2. 2670    LICENSE FOR INDIVIDUAL SITE             9/20/2030, unless    CCNRD_01213                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR ELECTRIC                                                                                                        SUITE 340
           DISTRIBUTION POLE ATTACHMENTS                                                                                                 LISLE, ILLINOIS 60532
           WITH EXTENET SYSTEMS (CALIFORNIA),
           INC. DATED SEPT.21, 2010

2. 2671    LICENSE FOR INDIVIDUAL SITE             9/20/2030, unless    CCNRD_01214                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR ELECTRIC                                                                                                        SUITE 340
           DISTRIBUTION POLE ATTACHMENTS                                                                                                 LISLE, ILLINOIS 60532
           WITH EXTENET SYSTEMS (CALIFORNIA),
           INC. DATED SEPT.21, 2010

2. 2672    LICENSE FOR INDIVIDUAL SITE             9/20/2030, unless    CCNRD_01215                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR ELECTRIC                                                                                                        SUITE 340
           DISTRIBUTION POLE ATTACHMENTS                                                                                                 LISLE, ILLINOIS 60532
           WITH EXTENET SYSTEMS (CALIFORNIA),
           INC. DATED SEPT.21, 2010

2. 2673    LICENSE FOR INDIVIDUAL SITE             9/20/2030, unless    CCNRD_01216                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR ELECTRIC                                                                                                        SUITE 340
           DISTRIBUTION POLE ATTACHMENTS                                                                                                 LISLE, ILLINOIS 60532
           WITH EXTENET SYSTEMS (CALIFORNIA),
           INC. DATED SEPT.21, 2010

2. 2674    LICENSE FOR INDIVIDUAL SITE             9/20/2030, unless    CCNRD_01217                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR ELECTRIC                                                                                                        SUITE 340
           DISTRIBUTION POLE ATTACHMENTS                                                                                                 LISLE, ILLINOIS 60532
           WITH EXTENET SYSTEMS (CALIFORNIA),
           INC. DATED SEPT.21, 2010

2. 2675    LICENSE FOR INDIVIDUAL SITE             9/20/2030, unless    CCNRD_01218                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR ELECTRIC                                                                                                        SUITE 340
           DISTRIBUTION POLE ATTACHMENTS                                                                                                 LISLE, ILLINOIS 60532
           WITH EXTENET SYSTEMS (CALIFORNIA),
           INC. DATED SEPT.21, 2010



                                                                         Page 270 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35               Page 271
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                        Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                  Address
                                                     or Remaining
                                                         Term


2. 2676    LICENSE FOR INDIVIDUAL SITE             9/20/2030, unless    CCNRD_01219                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR ELECTRIC                                                                                                        SUITE 340
           DISTRIBUTION POLE ATTACHMENTS                                                                                                 LISLE, ILLINOIS 60532
           WITH EXTENET SYSTEMS (CALIFORNIA),
           INC. DATED SEPT.21, 2010

2. 2677    LICENSE FOR INDIVIDUAL SITE             9/20/2030, unless    CCNRD_01220                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR ELECTRIC                                                                                                        SUITE 340
           DISTRIBUTION POLE ATTACHMENTS                                                                                                 LISLE, ILLINOIS 60532
           WITH EXTENET SYSTEMS (CALIFORNIA),
           INC. DATED SEPT.21, 2010

2. 2678    LICENSE FOR INDIVIDUAL SITE             9/20/2030, unless    CCNRD_01221                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR ELECTRIC                                                                                                        SUITE 340
           DISTRIBUTION POLE ATTACHMENTS                                                                                                 LISLE, ILLINOIS 60532
           WITH EXTENET SYSTEMS (CALIFORNIA),
           INC. DATED SEPT.21, 2010

2. 2679    LICENSE FOR INDIVIDUAL SITE             9/20/2030, unless    CCNRD_01222                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR ELECTRIC                                                                                                        SUITE 340
           DISTRIBUTION POLE ATTACHMENTS                                                                                                 LISLE, ILLINOIS 60532
           WITH EXTENET SYSTEMS (CALIFORNIA),
           INC. DATED SEPT.21, 2010

2. 2680    LICENSE FOR INDIVIDUAL SITE             9/20/2030, unless    CCNRD_01223                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR ELECTRIC                                                                                                        SUITE 340
           DISTRIBUTION POLE ATTACHMENTS                                                                                                 LISLE, ILLINOIS 60532
           WITH EXTENET SYSTEMS (CALIFORNIA),
           INC. DATED SEPT.21, 2010

2. 2681    LICENSE FOR INDIVIDUAL SITE             9/20/2030, unless    CCNRD_01224                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR ELECTRIC                                                                                                        SUITE 340
           DISTRIBUTION POLE ATTACHMENTS                                                                                                 LISLE, ILLINOIS 60532
           WITH EXTENET SYSTEMS (CALIFORNIA),
           INC. DATED SEPT.21, 2010



                                                                         Page 271 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35               Page 272
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                        Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                  Address
                                                     or Remaining
                                                         Term


2. 2682    LICENSE FOR INDIVIDUAL SITE             9/20/2030, unless    CCNRD_01225                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR ELECTRIC                                                                                                        SUITE 340
           DISTRIBUTION POLE ATTACHMENTS                                                                                                 LISLE, ILLINOIS 60532
           WITH EXTENET SYSTEMS (CALIFORNIA),
           INC. DATED SEPT.21, 2010

2. 2683    LICENSE FOR INDIVIDUAL SITE             9/20/2030, unless    CCNRD_01226                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR ELECTRIC                                                                                                        SUITE 340
           DISTRIBUTION POLE ATTACHMENTS                                                                                                 LISLE, ILLINOIS 60532
           WITH EXTENET SYSTEMS (CALIFORNIA),
           INC. DATED SEPT.21, 2010

2. 2684    LICENSE FOR INDIVIDUAL SITE             9/20/2030, unless    CCNRD_01227                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR ELECTRIC                                                                                                        SUITE 340
           DISTRIBUTION POLE ATTACHMENTS                                                                                                 LISLE, ILLINOIS 60532
           WITH EXTENET SYSTEMS (CALIFORNIA),
           INC. DATED SEPT.21, 2010

2. 2685    LICENSE FOR INDIVIDUAL SITE             9/20/2030, unless    CCNRD_01228                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR ELECTRIC                                                                                                        SUITE 340
           DISTRIBUTION POLE ATTACHMENTS                                                                                                 LISLE, ILLINOIS 60532
           WITH EXTENET SYSTEMS (CALIFORNIA),
           INC. DATED SEPT.21, 2010

2. 2686    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01091                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008

2. 2687    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01092                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008



                                                                         Page 272 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35               Page 273
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                        Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 2688    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01093                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008

2. 2689    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01094                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008

2. 2690    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01095                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008

2. 2691    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01096                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008

2. 2692    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01097                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008

2. 2693    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01098                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008



                                                                         Page 273 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35               Page 274
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                        Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 2694    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01099                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008

2. 2695    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01100                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008

2. 2696    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01101                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008

2. 2697    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01102                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008

2. 2698    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01103                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008

2. 2699    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01104                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008



                                                                         Page 274 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35               Page 275
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                        Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 2700    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01105                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008

2. 2701    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01106                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008

2. 2702    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01107                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008

2. 2703    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01108                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008

2. 2704    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01109                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008

2. 2705    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01110                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008



                                                                         Page 275 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35               Page 276
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                        Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 2706    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01111                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008

2. 2707    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01112                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008

2. 2708    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01113                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008

2. 2709    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01114                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008

2. 2710    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01115                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008

2. 2711    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01116                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008



                                                                         Page 276 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35               Page 277
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                        Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 2712    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01117                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008

2. 2713    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01118                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008

2. 2714    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01119                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008

2. 2715    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01120                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008

2. 2716    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01121                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008

2. 2717    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01122                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008



                                                                         Page 277 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35               Page 278
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                        Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 2718    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01123                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008

2. 2719    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01124                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008

2. 2720    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01125                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008

2. 2721    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01126                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008

2. 2722    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01127                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008

2. 2723    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01128                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008



                                                                         Page 278 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35               Page 279
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                        Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 2724    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01129                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008

2. 2725    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01130                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008

2. 2726    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01131                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008

2. 2727    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01132                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008

2. 2728    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01133                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008

2. 2729    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01134                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008



                                                                         Page 279 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35               Page 280
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                        Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 2730    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01135                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008

2. 2731    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01136                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008

2. 2732    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01137                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008

2. 2733    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01138                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008

2. 2734    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01139                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008

2. 2735    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01140                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008



                                                                         Page 280 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35               Page 281
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                        Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 2736    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01141                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008

2. 2737    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01142                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008

2. 2738    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01143                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008

2. 2739    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01144                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008

2. 2740    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01145                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008

2. 2741    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01146                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008



                                                                         Page 281 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35               Page 282
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                        Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 2742    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01147                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008

2. 2743    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01148                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008

2. 2744    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01149                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008

2. 2745    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01150                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008

2. 2746    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01151                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008

2. 2747    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01152                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008



                                                                         Page 282 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35               Page 283
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                        Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 2748    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01153                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008

2. 2749    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01154                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008

2. 2750    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01155                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008

2. 2751    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01156                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008

2. 2752    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01157                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008

2. 2753    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01158                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008



                                                                         Page 283 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35               Page 284
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                        Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 2754    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01159                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008

2. 2755    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01160                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008

2. 2756    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01161                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008

2. 2757    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01162                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008

2. 2758    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01163                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008

2. 2759    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01164                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008



                                                                         Page 284 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35               Page 285
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                        Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 2760    LICENSE FOR INDIVIDUAL SITE             3/2/2028, unless     CCNRD_01165                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                    3030 WARRENVILLE RD
           AGREEMENT FOR STREET LIGHT                                                                                                    SUITE 340
           ATTACHMENTS WITH EXTENET                                                                                                      LISLE, ILLINOIS 60532
           SYSTEMS (CALIFORNIA), INC. DATED
           MARCH 3RD, 2008

2. 2761    MASTER AGREEMENT FOR ISSUANCE               3/2/2028         CCNRD_01089                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           OF LICENSES TO                                                                                                                3030 WARRENVILLE RD
           TELECOMMUNICATIONS CUSTOMER                                                                                                   SUITE 340
           FOR ATTACHMENTS OF ANTENNAS AND                                                                                               LISLE, ILLINOIS 60532
           RELATED EQUIPMENT

2. 2762    MASTER AGREEMENT FOR ISSUANCE              3/20/2030         CCNRD_01090                 EXTENET SYSTEMS (CALIFORNIA), LLC    ATTN: CHIEF FINANCIAL OFFICER
           OF LICENSES TO                                                                                                                3030 WARRENVILLE RD
           TELECOMMUNICATIONS CUSTOMER                                                                                                   SUITE 340
           FOR ATTACHMENTS OF ANTENNAS AND                                                                                               LISLE, ILLINOIS 60532
           RELATED EQUIPMENT

2. 2763    GENERAL OFF-BILL AND ON-                   5/25/2021         CCOTH_01457                 EYE ASSOCIATES OF SEBASTOPOL         382 TESCONI CT.
           BILLFINANCING LOAN AGREEMENT                                                                                                  SANTA ROSA, CA 95401

2. 2764    GENERAL OFF-BILL AND ON-                   2/25/2020         CCOTH_02133                 F CANEPA & A POLACCHI                12 CORTE MADERA AVE.
           BILLFINANCING LOAN AGREEMENT                                                                                                  MILL VALLEY, CA 94941

2. 2765    GENERAL OFF-BILL AND ON-                   9/28/2022         CCOTH_02987                 F J SIMONE ETAL - 718 BANCROFT RD    4637 S. EAST AVE
           BILLFINANCING LOAN AGREEMENT                                                                                                  FRESNO, CA 93725

2. 2766    SAVINGS BY DESIGN (SBD) - SAVINGS          Not Stated        CCOTH_03326                 FACEBOOK INC.                        1350 WILLOW RD.
           BY DESIGN SYSTEMS                                                                                                             MENLO PARK, CA 94025

2. 2767    SAVINGS BY DESIGN (SBD) - SAVINGS          Not Stated        CCOTH_03400                 FACEBOOK INC.                        1350 WILLOW RD.
           BY DESIGN WHOLE BUILDING                                                                                                      MENLO PARK, CA 94025

2. 2768    GENERAL OFF-BILL AND ON-                   9/22/2022         CCOTH_02606                 FAGUNDES,FRANK - 10540 15TH AVE      10522 15TH AVE.
           BILLFINANCING LOAN AGREEMENT                                                                                                  HANFORD, CA 93230

2. 2769    WATER/SEWER AGREEMENT                      Not Stated        CCCRSOT_000                 FAIRFIELD MUNICIPAL UTILITIES        FAIRFIELD MUNICIPAL UTILITS
                                                                            67                                                           1000 WEBSTER ST
                                                                                                                                         FAIRFIELD, CA 94533


                                                                         Page 285 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35                  Page 286
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                     Case Number:        19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 2770    COMMERCIAL CALCULATED                     Not Stated      CCOTH_00120                 FAIRFIELD-SUISUN SEWER DISTRICT      1010 CHADBOURNE ROAD
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                          FAIRFIELD, CA 94534
           PROGRAM

2. 2771    COMMERCIAL CALCULATED                     Not Stated      CCOTH_00121                 FAIRFIELD-SUISUN SEWER DISTRICT      1010 CHADBOURNE ROAD
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                          FAIRFIELD, CA 94534
           PROGRAM

2. 2772    GENERAL OFF-BILL AND ON-                  12/28/2022      CCOTH_02608                 FAIRFIELD-SUISUN SEWER DISTRICT -    6644 N. HIGHLAND
           BILLFINANCING LOAN AGREEMENT                                                          1010 CHADBOURNE                      CLOVIS, CA 93619

2. 2773    GENERAL OFF-BILL AND ON-                  10/19/2020      CCOTH_02802                 FAIRMONT HOTEL - 900 MASON ST        2611 ROLLINGWOOD DR.
           BILLFINANCING LOAN AGREEMENT                                                                                               SAN BRUNO, CA 94066

2. 2774    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00539                 FAITH AVINA                          3239 E VARTIKIAN AVE
           ADVANCED HOME UPGRADE                                                                                                      FRESNO, CA 93710
           (CUSTOM/CALCULATED)

2. 2775    SMARTAC                                   Not Stated      CCOTH_03604                 FARIAS,JOSE                          220 N K ST APT A
                                                                                                                                      MADERA, CA 93637

2. 2776    GENERAL OFF-BILL AND ON-                  12/15/2020      CCOTH_03042                 FARMERS RICE COOPERATIVE - .2MI      4225 SOLANO AVE #693
           BILLFINANCING LOAN AGREEMENT                                                          E/TERMINAL ST                        NAPA, CA 94558

2. 2777    GENERAL OFF-BILL AND ON-                  9/21/2019       CCOTH_03039                 FARMERS RICE COOPERATIVE -           4225 SOLANO AVE #693
           BILLFINANCING LOAN AGREEMENT                                                          INDUSTRIAL BLVD                      NAPA, CA 94558

2. 2778    MASTER SERVICE AGREEMENT,                  4/4/2023       CCNRD_02822                 FEDERAL BUREAU OF PRISONS            CENTRAL OFFICE -
           PERMITTING THE PARTIES TO ENTER                                                                                            PROCUREMENT MANAGEMENT
           INTO ENERGY EFFICIENCY CONTRACTS                                                                                           500 FIRST ST, NW
           WITH EACH OTHER                                                                                                            WASHINGTON, DC 20534

2. 2779    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00272                 FERGUSON ENTERPRISES                 8200 FERGUSON AVE
           DEEMED UPSTREAM / MIDSTREAM -                                                         SACRAMENTO                           SACRAMENTO, CA 95828
           COMMERCIAL WATER

2. 2780    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00273                 FERGUSON ENTERPRISES                 8200 FERGUSON AVE
           DEEMED UPSTREAM / MIDSTREAM -                                                         SACRAMENTO                           SACRAMENTO, CA 95828
           COMMERCIAL WATER



                                                                      Page 286 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                  Page 287
                                                                                of 649
Pacific Gas and Electric Company                                                                                          Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                        Address
                                                    or Remaining
                                                        Term


2. 2781    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00274                 FERGUSON ENTERPRISES      8200 FERGUSON AVE
           DEEMED UPSTREAM / MIDSTREAM -                                                         SACRAMENTO                SACRAMENTO, CA 95828
           COMMERCIAL WATER

2. 2782    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00275                 FERGUSON ENTERPRISES      8200 FERGUSON AVE
           DEEMED UPSTREAM / MIDSTREAM -                                                         SACRAMENTO                SACRAMENTO, CA 95828
           COMMERCIAL WATER

2. 2783    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00276                 FERGUSON ENTERPRISES      8200 FERGUSON AVE
           DEEMED UPSTREAM / MIDSTREAM -                                                         SACRAMENTO                SACRAMENTO, CA 95828
           COMMERCIAL WATER

2. 2784    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00277                 FERGUSON ENTERPRISES      8200 FERGUSON AVE
           DEEMED UPSTREAM / MIDSTREAM -                                                         SACRAMENTO                SACRAMENTO, CA 95828
           COMMERCIAL WATER

2. 2785    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00278                 FERGUSON ENTERPRISES      8200 FERGUSON AVE
           DEEMED UPSTREAM / MIDSTREAM -                                                         SACRAMENTO                SACRAMENTO, CA 95828
           COMMERCIAL WATER

2. 2786    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00279                 FERGUSON ENTERPRISES      8200 FERGUSON AVE
           DEEMED UPSTREAM / MIDSTREAM -                                                         SACRAMENTO                SACRAMENTO, CA 95828
           COMMERCIAL WATER

2. 2787    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00280                 FERGUSON ENTERPRISES      8200 FERGUSON AVE
           DEEMED UPSTREAM / MIDSTREAM -                                                         SACRAMENTO                SACRAMENTO, CA 95828
           COMMERCIAL WATER

2. 2788    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00281                 FERGUSON ENTERPRISES      8200 FERGUSON AVE
           DEEMED UPSTREAM / MIDSTREAM -                                                         SACRAMENTO                SACRAMENTO, CA 95828
           COMMERCIAL WATER

2. 2789    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00282                 FERGUSON ENTERPRISES      8200 FERGUSON AVE
           DEEMED UPSTREAM / MIDSTREAM -                                                         SACRAMENTO                SACRAMENTO, CA 95828
           COMMERCIAL WATER

2. 2790    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00283                 FERGUSON ENTERPRISES      8200 FERGUSON AVE
           DEEMED UPSTREAM / MIDSTREAM -                                                         SACRAMENTO                SACRAMENTO, CA 95828
           COMMERCIAL WATER



                                                                      Page 287 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35         Page 288
                                                                                of 649
Pacific Gas and Electric Company                                                                                          Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                        Address
                                                    or Remaining
                                                        Term


2. 2791    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00284                 FERGUSON ENTERPRISES      8200 FERGUSON AVE
           DEEMED UPSTREAM / MIDSTREAM -                                                         SACRAMENTO                SACRAMENTO, CA 95828
           COMMERCIAL WATER

2. 2792    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00285                 FERGUSON ENTERPRISES      8200 FERGUSON AVE
           DEEMED UPSTREAM / MIDSTREAM -                                                         SACRAMENTO                SACRAMENTO, CA 95828
           COMMERCIAL WATER

2. 2793    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00286                 FERGUSON ENTERPRISES      8200 FERGUSON AVE
           DEEMED UPSTREAM / MIDSTREAM -                                                         SACRAMENTO                SACRAMENTO, CA 95828
           COMMERCIAL WATER

2. 2794    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00287                 FERGUSON ENTERPRISES      8200 FERGUSON AVE
           DEEMED UPSTREAM / MIDSTREAM -                                                         SACRAMENTO                SACRAMENTO, CA 95828
           COMMERCIAL WATER

2. 2795    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00288                 FERGUSON ENTERPRISES      8200 FERGUSON AVE
           DEEMED UPSTREAM / MIDSTREAM -                                                         SACRAMENTO                SACRAMENTO, CA 95828
           COMMERCIAL WATER

2. 2796    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00289                 FERGUSON ENTERPRISES      8200 FERGUSON AVE
           DEEMED UPSTREAM / MIDSTREAM -                                                         SACRAMENTO                SACRAMENTO, CA 95828
           COMMERCIAL WATER

2. 2797    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00290                 FERGUSON ENTERPRISES      8200 FERGUSON AVE
           DEEMED UPSTREAM / MIDSTREAM -                                                         SACRAMENTO                SACRAMENTO, CA 95828
           COMMERCIAL WATER

2. 2798    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00291                 FERGUSON ENTERPRISES      8200 FERGUSON AVE
           DEEMED UPSTREAM / MIDSTREAM -                                                         SACRAMENTO                SACRAMENTO, CA 95828
           COMMERCIAL WATER

2. 2799    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00292                 FERGUSON ENTERPRISES      8200 FERGUSON AVE
           DEEMED UPSTREAM / MIDSTREAM -                                                         SACRAMENTO                SACRAMENTO, CA 95828
           COMMERCIAL WATER

2. 2800    GAS AGREEMENT                             Not Stated      CCCRSOT_000                 FERRELLGAS                FERRELLGAS LP
                                                                         68                                                136 N MAIN ST
                                                                                                                           FORT BRAGG, CA 95437



                                                                      Page 288 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35         Page 289
                                                                                of 649
Pacific Gas and Electric Company                                                                                                     Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                   Address
                                                    or Remaining
                                                        Term


2. 2801    GENERAL OFF-BILL AND ON-                  10/31/2023      CCOTH_02757                 FH ONE INC - 1212 BROADWAY           1505 BRIDGEWAY, STE.125
           BILLFINANCING LOAN AGREEMENT                                                                                               SAUSALITO, CA 94965

2. 2802    GENERAL OFF-BILL AND ON-                  6/12/2019       CCOTH_02502                 FIG GARDEN SWIM & RACQUET CLUB -     4688 W JENNIFER AVE. SUITE 107
           BILLFINANCING LOAN AGREEMENT                                                          4722 N MAROA AVE                     FRESNO, CA 93722

2. 2803    GENERAL OFF-BILL AND ON-                  3/10/2020       CCOTH_02215                 FIG LEAF PLAZA II, LLC               6032 N.FIGARDEN DR.
           BILLFINANCING LOAN AGREEMENT                                                                                               FRESNO, CA 93722

2. 2804    GENERAL OFF-BILL AND ON-                  3/22/2020       CCOTH_01419                 FINE SQUARE OWNERS ASSOCIATION       685 COCHRAN STREET, SUITE 200
           BILLFINANCING LOAN AGREEMENT                                                                                               SIMI VALLEY, CA 93065

2. 2805    COMMERCIAL HVAC - DEEMED                  Not Stated      CCOTH_00454                 FINISAR OSA                          48800 MILMONT DRIVE
           UPSTREAM / MIDSTREAM - HVAC QM                                                                                             FREMONT, CA 94538

2. 2806    GENERAL OFF-BILL AND ON-                   3/9/2021       CCOTH_01138                 FIRST BAPTIST CHURCH - 2970 SANTA    147 W. ROUTE 66 #706
           BILLFINANCING LOAN AGREEMENT                                                          MARIA WAY                            GLENDORA, CA 91740

2. 2807    GENERAL OFF-BILL AND ON-                   9/7/2020       CCOTH_02004                 FIRST BAPTIST CHURCH OF SAN JOSE     500 SANDS DR
           BILLFINANCING LOAN AGREEMENT                                                          INC                                  SAN JOSE, CA 95125

2. 2808    GENERAL OFF-BILL AND ON-                  3/11/2019       CCOTH_01960                 FIRST CHINESE UNITED METHODIST       2531 9TH STREET
           BILLFINANCING LOAN AGREEMENT                                                          CHURCH                               BERKELEY, CA 94710

2. 2809    GENERAL OFF-BILL AND ON-                  12/15/2022      CCOTH_01324                 FIRST CHRISTIAN CHURCH - 1550 S      3439 LANDCO DRIVE, STE A
           BILLFINANCING LOAN AGREEMENT                                                          COLLEGE DR                           BAKERSFIELD, CA 93308

2. 2810    GENERAL OFF-BILL AND ON-                  4/30/2020       CCOTH_03014                 FIRST METHODIST CHURCH - 1761        1761 11TH STREET
           BILLFINANCING LOAN AGREEMENT                                                          11TH ST                              ARCATA, CA 95521

2. 2811    GENERAL OFF-BILL AND ON-                  10/3/2019       CCOTH_01690                 FIRST PRESBYTERIAN CHURCH            1187 N WILLOW AVE
           BILLFINANCING LOAN AGREEMENT                                                                                               SHANNON MACFARLAND -
                                                                                                                                      MANAGER
                                                                                                                                      CLOVIS, CA 93611

2. 2812    GENERAL OFF-BILL AND ON-                  10/9/2018       CCOTH_01499                 FIRST UNITED METHODIST CHURCH        1187 N. WILLOW AVENUE #103
           BILLFINANCING LOAN AGREEMENT                                                                                               PMB # 40
                                                                                                                                      CLOVIS, CA 98611



                                                                      Page 289 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                    Page 290
                                                                                of 649
Pacific Gas and Electric Company                                                                                                     Case Number:        19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 2813    GENERAL OFF-BILL AND ON-                  1/24/2022       CCOTH_02855                 FIVE BROTHERS INVESTMENTS,INC.-      9530 HAGEMAN RD, B #196
           BILLFINANCING LOAN AGREEMENT                                                          10000 STOCKDALE HWY                  BAKERSFIELD, CA 93312

2. 2814    GENERAL OFF-BILL AND ON-                   8/8/2020       CCOTH_02006                 FIVE CITIES CO-BRAND LLC             630 SOUTH FRONTAGE ROAD
           BILLFINANCING LOAN AGREEMENT                                                                                               NIPOMO, CA 93444

2. 2815    GENERAL OFF-BILL AND ON-                  5/24/2019       CCOTH_01391                 FLEMMING BUSINESS PARK LLC           2044 E. MUSCAT AVE.
           BILLFINANCING LOAN AGREEMENT
                                                                                                                                      FRESNO, CA 93725

2. 2816    SINGLE-FAMILY AFFORDABLE SOLAR            Not Stated      CCOTH_03581                 FLORES-ALVAREZ,GUADALUPE             28822 OWEN AVE
           HOMES (SASH)                                                                                                                MADERA, CA 93638

2. 2817    GENERAL OFF-BILL AND ON-                  6/22/2021       CCOTH_01761                 FLOYDS STORES INC                    685 COCHRAN STREET, SUITE 200
           BILLFINANCING LOAN AGREEMENT
                                                                                                                                      SIMI VALLEY, CA 93066

2. 2818    CUSTOMER AGREEMENT FOR BUILDING           8/14/2019       CCOTH_03795                 FLYNN RESTAURANT GROUP LP            225 BUSH STREET
           ENERGY MANAGEMENT SYSTEMS ET                                                                                               STE 1800
           PROJECT                                                                                                                    SAN FRANCISCO, CA 94104

2. 2819    GENERAL OFF-BILL AND ON-                  11/7/2023       CCOTH_02901                 FOGARTY,MATTHEW - 15792 HWY 89       134 ARDITH DRIVE
           BILLFINANCING LOAN AGREEMENT                                                                                               ORINDA, CA 94563

2. 2820    SMARTAC                                   Not Stated      CCOTH_03608                 FOLEY,NICHOLAS                       3053 ROCKLIN DR
                                                                                                                                      SANTA ROSA, CA 95405

2. 2821    GENERAL OFF-BILL AND ON-                  3/15/2021       CCOTH_03163                 FOLGERGRAPHICS INC - 21093 FORBES 1725 RUTAN DR
           BILLFINANCING LOAN AGREEMENT                                                          AVE                               LIVERMORE, CA 94551

2. 2822    GENERAL OFF-BILL AND ON-                  7/27/2021       CCOTH_03162                 FOLGERGRAPHICS INC - 2339 DAVIS      1725 RUTAN DR.
           BILLFINANCING LOAN AGREEMENT                                                          AVE                                  LIVERMORE, CA 94551

2. 2823    GENERAL OFF-BILL AND ON-                  7/23/2023       CCOTH_02905                 FOLKTALE WINERY LLC - 8940 CARMEL    2 HARRIS CT STE B-1
           BILLFINANCING LOAN AGREEMENT                                                          VALLEY RD                            MONTEREY, CA 93940

2. 2824    WATER AGREEMENT                           Not Stated      CCCRSOT_000                 FOLSOM, CITY OF                      CITY OF FOLSOM
                                                                         69                                                           FOLSOM, CA



                                                                      Page 290 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 291
                                                                                of 649
Pacific Gas and Electric Company                                                                                                   Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                 Address
                                                    or Remaining
                                                        Term


2. 2825    GENERAL OFF-BILL AND ON-                  10/24/2019      CCOTH_01650                 FOOD VILLE MEATS OF SAN CARLOS,    3480 ARDEN ROAD
           BILLFINANCING LOAN AGREEMENT                                                          INC                                HAYWARD, CA 94545

2. 2826    GENERAL OFF-BILL AND ON-                  7/15/2023       CCOTH_02910                 FOOD VILLE MEATS OF SAN CARLOS,    18525 COLLINS ST. SUITE A5
           BILLFINANCING LOAN AGREEMENT                                                          INC - 3130 ALPINE                  LOS ANGELES, CA 91356

2. 2827    GENERAL OFF-BILL AND ON-                  1/27/2021       CCOTH_02101                 FOODS NORTH LLC                    7013 DANYER ROAD
           BILLFINANCING LOAN AGREEMENT                                                                                             REDDING, CA 96001

2. 2828    GENERAL OFF-BILL AND ON-                  1/28/2021       CCOTH_02113                 FOODS NORTH LLC                    7013 DANYEUR ROAD
           BILLFINANCING LOAN AGREEMENT                                                                                             REDDING, CA 96001

2. 2829    GENERAL OFF-BILL AND ON-                  1/28/2021       CCOTH_02173                 FOODS NORTH LLC                    7013 DANYEUR ROAD
           BILLFINANCING LOAN AGREEMENT                                                                                             REDDING, CA 96001

2. 2830    GENERAL OFF-BILL AND ON-                   7/4/2021       CCOTH_01927                 FOODS NORTH LLC - 1631 W IMOLA     7013 DANYEUR RD
           BILLFINANCING LOAN AGREEMENT                                                          AVE - NAPA                         REDDING, CA 96001

2. 2831    GENERAL OFF-BILL AND ON-                  10/4/2022       CCOTH_01488                 FOODS NORTH LLC - 1800 EUREKA      7013 DANYEUR RD
           BILLFINANCING LOAN AGREEMENT                                                          WAY - REDDING                      REDDING, CA 96001

2. 2832    GENERAL OFF-BILL AND ON-                  7/27/2019       CCOTH_02114                 FOODS NORTH LLC - 300 VANN ST -    7013 DANYEUR ROAD
           BILLFINANCING LOAN AGREEMENT                                                          WILLIAMS                           REDDING, CA 96001

2. 2833    GENERAL OFF-BILL AND ON-                   8/4/2021       CCOTH_01486                 FOODS NORTH LLC - 3160 BROADWAY - 7013 DANYEUR RD
           BILLFINANCING LOAN AGREEMENT                                                          EUREKA                            REDDING, CA 96001

2. 2834    GENERAL OFF-BILL AND ON-                  7/11/2021       CCOTH_01487                 FOODS NORTH LLC - 4900 VALLEY      7013 DANYEUR INC
           BILLFINANCING LOAN AGREEMENT                                                          WEST BLVD                          REDDING, CA 96001

2. 2835    GENERAL OFF-BILL AND ON-                  10/4/2022       CCOTH_01921                 FOODS NORTH LLC - 6360 WESTSIDE    7013 DANYEUR RD
           BILLFINANCING LOAN AGREEMENT                                                          RD - REDDING                       REDDING, CA 96001

2. 2836    CALIFORNIA COMMUNITY COLLEGES -           Not Stated      CCOTH_00082                 FOOTHILL DEANZA COMMUNITY          12345 EL MONTE RD
           MONITORING-BASED COMMISSIONING                                                        COLLEGE                            LOS ALTOS HILLS, CA 94022
           (MBCX)




                                                                      Page 291 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                  Page 292
                                                                                of 649
Pacific Gas and Electric Company                                                                                                      Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                   Address
                                                    or Remaining
                                                        Term


2. 2837    CALIFORNIA COMMUNITY COLLEGES -           Not Stated      CCOTH_00083                 FOOTHILL DEANZA COMMUNITY             12345 EL MONTE RD
           MONITORING-BASED COMMISSIONING                                                        COLLEGE                               LOS ALTOS HILLS, CA 94022
           (MBCX)

2. 2838    CALIFORNIA COMMUNITY COLLEGES -           Not Stated      CCOTH_00084                 FOOTHILL DEANZA COMMUNITY             12345 EL MONTE RD
           MONITORING-BASED COMMISSIONING                                                        COLLEGE                               LOS ALTOS HILLS, CA 94022
           (MBCX)

2. 2839    AGRICULTURAL CALCULATED                   Not Stated      CCOTH_00035                 FOREVER GREEN INDOORS                 733 LAKE STREET SOUTH 1A
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                           KIRKLAND, WA 98033
           PROGRAM

2. 2840    AGRICULTURAL CALCULATED                   Not Stated      CCOTH_00036                 FOREVER GREEN INDOORS, INC            733 LAKE STREET SOUTH, SUITE
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                           1A
           PROGRAM                                                                                                                     KIRKLAND, WA 98033

2. 2841    WATER/SEWER AGREEMENT                     Not Stated      CCCRSOT_000                 FORT BRAGG, CITY OF                   CITY OF FORT BRAGG
                                                                         70                                                            416 N FRANKLIN ST
                                                                                                                                       FORT BRAGG, CA 95437

2. 2842    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03386                 FORT HUNTER LIGGETT                   FORT HUNTER LIGGETT, BLDG
           BY DESIGN WHOLE BUILDING                                                                                                    232, CALIFORNI
                                                                                                                                       JOLON, CA 93928

2. 2843    WATER/SEWER AGREEMENT                     Not Stated      CCCRSOT_000                 FORTUNA, CITY OF                      CITY OF FORTUNA
                                                                         71                                                            621 11TH ST
                                                                                                                                       FORTUNA, CA 95540

2. 2844    GENERAL OFF-BILL AND ON-                  6/15/2020       CCOTH_01233                 FOSTER CITY MARINA GREEN - 139-149    P.O.BOX 1153
           BILLFINANCING LOAN AGREEMENT                                                          ALBACORE LN                           SOULSBYVILLE, CA 95372

2. 2845    AGRICULTURAL CALCULATED                   Not Stated      CCOTH_00028                 FOSTER DAIRY FARMS DBA HUMBOLDT 572 HWY 1
           INCENTIVES - CUSTOMIZED INCENTIVE                                                     CREAMERY                        FORTUNA, CA 95540
           PROGRAM

2. 2846    GENERAL OFF-BILL AND ON-                  2/16/2028       CCOTH_03170                 FOWLER UNIFIED SCHOOL DISTRICT -      10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          142 N ARMSTRONG                       SANTA FE SPRINGS, CA 90670

2. 2847    GENERAL OFF-BILL AND ON-                  6/14/2025       CCOTH_03173                 FOWLER UNIFIED SCHOOL DISTRICT -      10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          306 E TUOLUMNE S                      SANTA FE SPRINGS, CA 90670

                                                                      Page 292 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 293
                                                                                of 649
Pacific Gas and Electric Company                                                                                                    Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                 Address
                                                    or Remaining
                                                        Term


2. 2848    GENERAL OFF-BILL AND ON-                  5/19/2027       CCOTH_03171                 FOWLER UNIFIED SCHOOL DISTRICT -    10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          3910 S WARD AVE                     SANTA FE SPRINGS, CA 90670

2. 2849    GENERAL OFF-BILL AND ON-                  12/15/2027      CCOTH_03172                 FOWLER UNIFIED SCHOOL DISTRICT -    10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          658 E ADAMS AVE                     SANTA FE SPRINGS, CA 90670

2. 2850    GENERAL OFF-BILL AND ON-                  10/21/2025      CCOTH_03174                 FOWLER UNIFIED SCHOOL DISTRICT -    10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          701 E MAIN ST                       SANTA FE SPRINGS, CA 90670

2. 2851    GENERAL OFF-BILL AND ON-                  5/19/2024       CCOTH_02478                 FOWLER UNIFIED SCHOOL DISTRICT -    10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          701 E WALTER AVE                    SANTA FE SPRINGS, CA 90670

2. 2852    GENERAL OFF-BILL AND ON-                  11/17/2020      CCOTH_03175                 FOWLER UNIFIED SCHOOL DISTRICT -    10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          975 E ADAMS AVE                     SANTA FE SPRINGS, CA 90670

2. 2853    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00777                 FRANK DI MASSA                      50 DOUGLAS DR
                                                                                                                                     MARTINEZ 94553

2. 2854    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00807                 FRANK DI MASSA                      4549 DELTA FAIR BLVD
                                                                                                                                     ANTIOCH 94509

2. 2855    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00890                 FRANK DI MASSA                      30 MUIR ROAD
                                                                                                                                     MARTINEZ 94553

2. 2856    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00945                 FRANK DI MASSA                      2500 ALHAMBRA AVE
                                                                                                                                     MARTINEZ 94553

2. 2857    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01005                 FRANK DI MASSA                      1960 MUIR ROAD
                                                                                                                                     MARTINEZ 94553

2. 2858    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01046                 FRANK DI MASSA                      151 LINUS PAULING DR
                                                                                                                                     HERCULES 94547

2. 2859    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00534                 FRANK KORKMAZIAN                    289 S ARMSTRONG AVE
           ADVANCED HOME UPGRADE                                                                                                     FRESNO, CA 93650
           (CUSTOM/CALCULATED)

2. 2860    SELF-GENERATION INCENTIVE                 Not Stated      CCOTH_03528                 FRANK MORENO                        10581 VALLEY DR
           PROGRAM                                                                                                                    PLYMOUTH, CA 95669

                                                                      Page 293 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35               Page 294
                                                                                of 649
Pacific Gas and Electric Company                                                                                                    Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                 Address
                                                    or Remaining
                                                        Term


2. 2861    REAL PROPERTY LEASE - KING CITY           12/31/2019      CCCRSLS_000                 FRANKIE APPLING                     FRANKIE APPLING, CAL
           CSO                                                           38                                                          PROPERTY MANAGEMENT INC
                                                                                                                                     11 HARVEST ST
                                                                                                                                     SALINAS, CA 93901

2. 2862    COMMERCIAL HVAC - DEEMED                  Not Stated      CCOTH_00468                 FRANKLIN TEMPLETON INVESTMENTS      ONE FRANKLIN PARKWAY
           UPSTREAM / MIDSTREAM - HVAC QM                                                                                            SAN MATEO, CA 94403

2. 2863    COMMERCIAL HVAC - DEEMED                  Not Stated      CCOTH_00469                 FRANKLIN TEMPLETON INVESTMENTS      ONE FRANKLIN PARKWAY
           UPSTREAM / MIDSTREAM - HVAC QM                                                                                            SAN MATEO, CA 94403

2. 2864    COMMERCIAL HVAC - DEEMED                  Not Stated      CCOTH_00470                 FRANKLIN TEMPLETON INVESTMENTS      ONE FRANKLIN PARKWAY
           UPSTREAM / MIDSTREAM - HVAC QM                                                                                            SAN MATEO, CA 94403

2. 2865    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00982                 FRED NAVARRETTE                     205 RAVENDALE DR
                                                                                                                                     MOUNTAIN VIEW 94043

2. 2866    GENERAL OFF-BILL AND ON-                   1/7/2019       CCOTH_02325                 FRED RAU DAIRY INC                  P.O. BOX 430
           BILLFINANCING LOAN AGREEMENT                                                                                              CARUTHERS, CA 93609

2. 2867    GENERAL OFF-BILL AND ON-                  1/27/2020       CCOTH_02277                 FREEMAN TOYOTA                      2875 CORBY AVENUE
           BILLFINANCING LOAN AGREEMENT                                                                                              DIANA FREEMAN
                                                                                                                                     SANTA ROSA, CA 94507

2. 2868    GENERAL OFF-BILL AND ON-                   2/8/2021       CCOTH_03026                 FREEMAN,CONRAD J - 100 CABRILLO     8959 TYLER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          HWY -HALF MOON BAY                  MENTOR, OH 44060

2. 2869    GENERAL OFF-BILL AND ON-                  7/19/2020       CCOTH_02222                 FREEMAN,CONRAD J - 180 EL CAMINO    2491 ALLUVIAL AVENUE #480
           BILLFINANCING LOAN AGREEMENT                                                          REAL                                CLOVIS, CA 93611

2. 2870    GENERAL OFF-BILL AND ON-                  2/15/2019       CCOTH_02722                 FREMONT AUTOMOTIVE RETAILING        3479 NW YEON AVE
           BILLFINANCING LOAN AGREEMENT                                                          GROUP INC                           PORTLAND, OR 97210

2. 2871    GENERAL OFF-BILL AND ON-                   5/3/2028       CCOTH_02764                 FREMONT PEAK SP 230-613 ST PKS &    27611 LA PAZ RD. SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                          REC - 2390 FREMON                   LAGUNA NIGUEL, CA 92677

2. 2872    GENERAL OFF-BILL AND ON-                   1/8/2020       CCOTH_01742                 FREMONT RIDEOUT HEALTH GROUP        P.O. BOX 2128
           BILLFINANCING LOAN AGREEMENT                                                                                              THERESA HAMILTON, CEO
                                                                                                                                     MARYSVILLE, CA 95901


                                                                      Page 294 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 295
                                                                                of 649
Pacific Gas and Electric Company                                                                                                    Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                 Address
                                                    or Remaining
                                                        Term


2. 2873    GENERAL OFF-BILL AND ON-                  12/16/2019      CCOTH_01755                 FREMONT RIDEOUT HEALTH GROUP        P.O. BOX 2128
           BILLFINANCING LOAN AGREEMENT                                                                                              MIKE PIECE, EXECUTIVE
                                                                                                                                     DIRECTOR OF FACILITIES
                                                                                                                                     MARYSVILLE, CA 95901

2. 2874    GENERAL OFF-BILL AND ON-                  9/16/2019       CCOTH_01342                 FREMONT RIDEOUT HEALTH GROUP -      P.O. BOX 2128
           BILLFINANCING LOAN AGREEMENT                                                          1240 WILLIAMS WAY                   MARYSVILLE, CA 95901

2. 2875    GENERAL OFF-BILL AND ON-                  5/17/2019       CCOTH_01357                 FREMONT RIDEOUT HEALTH GROUP -      P.O. BOX 2128
           BILLFINANCING LOAN AGREEMENT                                                          1531 PLUMAS CT STE                  MARYSVILLE, CA 95901

2. 2876    GENERAL OFF-BILL AND ON-                  9/10/2019       CCOTH_01356                 FREMONT RIDEOUT HEALTH GROUP -      P.O. BOX 2128
           BILLFINANCING LOAN AGREEMENT                                                          414 G ST                            MARYSVILLE, CA 95901

2. 2877    GENERAL OFF-BILL AND ON-                  9/10/2019       CCOTH_01345                 FREMONT RIDEOUT HEALTH GROUP -      P.O. BOX 2128
           BILLFINANCING LOAN AGREEMENT                                                          618 5TH ST                          MARYSVILLE, CA 95901

2. 2878    GENERAL OFF-BILL AND ON-                  9/16/2019       CCOTH_01343                 FREMONT RIDEOUT HEALTH GROUP -      P.O. BOX 2128
           BILLFINANCING LOAN AGREEMENT                                                          840 WASHINGTON AVE                  MARYSVILLE, CA 95901

2. 2879    GENERAL OFF-BILL AND ON-                  9/17/2019       CCOTH_01344                 FREMONT RIDEOUT HEALTH GROUP -      P.O. BOX 2128
           BILLFINANCING LOAN AGREEMENT                                                          989 PLUMAS ST                       MARYSVILLE, CA 95901

2. 2880    GENERAL OFF-BILL AND ON-                  6/21/2022       CCOTH_02362                 FREMONT SPORTS INC - 40645          1725 RUTAN DRIVE
           BILLFINANCING LOAN AGREEMENT                                                          FREMONT BLVD STE 3                  LIVERMORE, CA 94551

2. 2881    ALARM PERMIT                              Not Stated      CCCRSOT_000                 FREMONT, CITY OF                    CITY OF FREMONT, PARKS AND
                                                                         72                                                          RECREATION,
                                                                                                                                     3300 CAPITOL AVE BLDG B
                                                                                                                                     FREMONT, CA 94538

2. 2882    GENERAL OFF-BILL AND ON-                  7/16/2019       CCOTH_02083                 FRESNO CHRISTIAN SCHOOL - 7382 N    7280 N CEDAR AVE
           BILLFINANCING LOAN AGREEMENT                                                          CEDAR AVE                           FRESNO, CA 93720

2. 2883    GENERAL OFF-BILL AND ON-                  3/31/2022       CCOTH_01848                 FRESNO DISTRIBUTING CO - 2055 E     685 COCHRAN STREET
           BILLFINANCING LOAN AGREEMENT                                                          MCKINLEY AVE - FRE                  SUITE 200
                                                                                                                                     SIMI VALLEY, CA 93065




                                                                      Page 295 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 296
                                                                                of 649
Pacific Gas and Electric Company                                                                                                     Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 2884    FIRE SERVICE                              Not Stated      CCCRSOT_000                 FRESNO FIRE DEPARTMENT               CITY OF FRESNO FIRE
                                                                         74                                                           DEPARTMENT
                                                                                                                                      911 H ST
                                                                                                                                      FRESNO, CA 93721

2. 2885    GENERAL OFF-BILL AND ON-                  10/19/2019      CCOTH_01720                 FRESNO PACIFIC UNIVERSITY INC        5278 N. CORNELIA AVE
           BILLFINANCING LOAN AGREEMENT                                                                                               FRESNO, CA 93722

2. 2886    COMMERCIAL CALCULATED                     Not Stated      CCOTH_00125                 FRESNO UNIFIED SCHOOL DISTRICT       4600 N. BRAWLEY AVE.
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                          FRESNO, CA 93722
           PROGRAM

2. 2887    GENERAL OFF-BILL AND ON-                  3/18/2021       CCOTH_01678                 FRESNO UNIFIED SCHOOL DISTRICT       4600 N. BRAWLEY
           BILLFINANCING LOAN AGREEMENT                                                                                               FRESNO, CA 93722

2. 2888    GENERAL OFF-BILL AND ON-                  10/18/2020      CCOTH_01710                 FRESNO UNIFIED SCHOOL DISTRICT       4600 N. BRAWLEY
           BILLFINANCING LOAN AGREEMENT                                                                                               FRESNO, CA 93722

2. 2889    GENERAL OFF-BILL AND ON-                  12/18/2021      CCOTH_02581                 FRESNO UNIFIED SCHOOL DISTRICT       2044 E. MUSCAT AVE
           BILLFINANCING LOAN AGREEMENT                                                                                               FRESNO, CA 93725

2. 2890    GENERAL OFF-BILL AND ON-                  7/18/2021       CCOTH_03024                 FRESNO UNIFIED SCHOOL DISTRICT       2044 E. MUSCAT AVE
           BILLFINANCING LOAN AGREEMENT                                                                                               FRESNO, CA 93725

2. 2891    GENERAL OFF-BILL AND ON-                  10/29/2021      CCOTH_01221                 FRESNO WHOLESALE INC - 2961 S        1558 WEST CHIA WAY
           BILLFINANCING LOAN AGREEMENT                                                          ANGUS AVE                            LOS ANGELES, CA 90041

2. 2892    IRRIGATION/WATER AGREEMENT                Not Stated      CCCRSOT_000                 FRESNO, CITY OF                      CITY OF FRESNO, MUNICIPAL
                                                                         73                                                           UTILITY BILL,
                                                                                                                                      FRESNO, CA

2. 2893    GENERAL OFF-BILL AND ON-                  4/28/2022       CCOTH_02840                 FRIEDMANS HOME IMPROVEMENT -         10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          4055 SANTA ROSA AVE                  SANTA FE SPRINGS, CA 90670

2. 2894    GENERAL OFF-BILL AND ON-                  11/15/2022      CCOTH_01225                 FRIENDS SALON HAIR AND NAILS INC-    1111, W. EL CAMINO REAL, STE 135
           BILLFINANCING LOAN AGREEMENT                                                          2590 S BASCOM AVE                    SUNNYVALE, CA 94087

2. 2895    GENERAL OFF-BILL AND ON-                  1/23/2023       CCOTH_01184                 FRIES PROPERTIES INC - 201 HARDER    1265 S CABERNET CIR
           BILLFINANCING LOAN AGREEMENT                                                          RD                                   ANAHEIM, CA 92804


                                                                      Page 296 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                  Page 297
                                                                                of 649
Pacific Gas and Electric Company                                                                                                  Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 2896    GENERAL OFF-BILL AND ON-                  7/17/2021       CCOTH_02533                 FRIES PROPERTIES INC - 20980      1265 S CABERNET CIR
           BILLFINANCING LOAN AGREEMENT                                                          REDWOOD RD                        ANAHEIM, CA 92804

2. 2897    GENERAL OFF-BILL AND ON-                  9/16/2020       CCOTH_02534                 FRIES PROPERTIES INC - 21060      1265 S CABERNET CIR
           BILLFINANCING LOAN AGREEMENT                                                          REDWOOD RD #A                     ANAHEIM, CA 92804

2. 2898    GENERAL OFF-BILL AND ON-                  9/15/2020       CCOTH_01186                 FRIES PROPERTIES INC - 26250      1265 S CABERNET CIR
           BILLFINANCING LOAN AGREEMENT                                                          INDUSTRIAL BLVD                   ANAHEIM, CA 92804

2. 2899    GENERAL OFF-BILL AND ON-                   6/2/2021       CCOTH_01182                 FRIES PROPERTIES INC - 3662       1265 S CABERNET CIR
           BILLFINANCING LOAN AGREEMENT                                                          THORNTON AVE                      ANAHEIM, CA 92804

2. 2900    GENERAL OFF-BILL AND ON-                   5/8/2021       CCOTH_03065                 FRIES PROPERTIES INC - 39604      1265 S CABERNET CIRCLE
           BILLFINANCING LOAN AGREEMENT                                                          MISSION BLVD                      ANAHEIM, CA 92804

2. 2901    GENERAL OFF-BILL AND ON-                  8/23/2021       CCOTH_01183                 FRIES PROPERTIES INC - 39604      1265 S CABERNET CIR
           BILLFINANCING LOAN AGREEMENT                                                          MISSION BLVD # C                  ANAHEIM, CA 92804

2. 2902    COMMERCIAL FOOD SERVICE                   12/31/2018      CCOTH_03735                 FRONTIER ENERGY                   1000 BROADWAY, SUITE 410
                                                                                                                                   OAKLAND, CA 94607

2. 2903    COMMERCIAL FOOD SERVICE                   12/31/2018      CCOTH_03740                 FRONTIER ENERGY                   1000 BROADWAY, SUITE 410
                                                                                                                                   OAKLAND, CA 94607

2. 2904    CREEKSIDE MULTIFAMILY HEAT PUMP           12/31/2021      CCOTH_03683                 FRONTIER ENERGY, INC.             1000 BROADWAY SUITE 410
           WATER HEATER - LABOR                                                                                                    OAKLAND, CA 94607

2. 2905    DEG _2019 T24 SINGLE FAMILY HOMES         5/31/2019       CCOTH_03682                 FRONTIER ENERGY, INC.             1000 BROADWAY SUITE 410
           EXP.                                                                                                                    OAKLAND, CA 94607

2. 2906    DEG _2019 T24 SINGLE FAMILY HOMES          1/1/2021       CCOTH_03684                 FRONTIER ENERGY, INC.             1000 BROADWAY SUITE 410
           EXP.                                                                                                                    OAKLAND, CA 94607

2. 2907    SUBCONTRACT FOR RESEARCH TO                2/5/2018       CCNRD_02867                 FRONTIER ENERGY, INC.             12949 ALCOSTA BLVD
           CONSTRUCT AND PERFORM TESTING                                                                                           SUITE 101
           OF COMMERCIAL WATER HEATER                                                                                              SAN RAMON, CA 94583
           SYSTEMS.




                                                                      Page 297 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                 Page 298
                                                                                of 649
Pacific Gas and Electric Company                                                                                                      Case Number:        19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                   Address
                                                    or Remaining
                                                        Term


2. 2908    GENERAL OFF-BILL AND ON-                  7/19/2020       CCOTH_02025                 FRUIT FILLING - 2875 S ELM AVE STE    1616 LASSEN WAY
           BILLFINANCING LOAN AGREEMENT                                                          108                                   BURLINGAME, CA 94010

2. 2909    GENERAL OFF-BILL AND ON-                  1/21/2021       CCOTH_02758                 G & C AUTO BODY - 10661 OLD           4637 S. EAST AVE
           BILLFINANCING LOAN AGREEMENT                                                          REDWOOD HWY                           FRESNO, CA 93725

2. 2910    GENERAL OFF-BILL AND ON-                  8/20/2021       CCOTH_02575                 G & C AUTO BODY - 15 LARK CENTER      6644 N. HIGHLAND
           BILLFINANCING LOAN AGREEMENT                                                          DR                                    CLOVIS, CA 93619

2. 2911    GENERAL OFF-BILL AND ON-                  7/15/2021       CCOTH_03047                 G & C AUTO BODY - 1833 SOLANO AVE     4637 S. EAST AVE
           BILLFINANCING LOAN AGREEMENT                                                                                                FRESNO, CA 93725

2. 2912    GENERAL OFF-BILL AND ON-                  10/13/2021      CCOTH_03056                 G & C AUTO BODY INC - 102 MILL ST     4225 SOLANO AVE
           BILLFINANCING LOAN AGREEMENT                                                                                                NAPA, CA 94558

2. 2913    GENERAL OFF-BILL AND ON-                  7/16/2020       CCOTH_02762                 G & C AUTO BODY INC - 1275 CALLEN     4637 S. EAST AVE
           BILLFINANCING LOAN AGREEMENT                                                          ST                                    FRESNO, CA 93725

2. 2914    GENERAL OFF-BILL AND ON-                  10/5/2022       CCOTH_03021                 G & C AUTO BODY INC - 14 GALLI DR     4225 SOLANO AVE
           BILLFINANCING LOAN AGREEMENT                                                          STE 11                                NAPA, CA 94558

2. 2915    GENERAL OFF-BILL AND ON-                  12/17/2018      CCOTH_03050                 G & C AUTO BODY INC - 191 MILL ST     4637 S. EAST AVE
           BILLFINANCING LOAN AGREEMENT                                                                                                FRESNO, CA 93725

2. 2916    GENERAL OFF-BILL AND ON-                  3/12/2022       CCOTH_03048                 G & C AUTO BODY INC - 19285           4637 S. EAST AVE
           BILLFINANCING LOAN AGREEMENT                                                          HIGHWAY 12                            FRESNO, CA 93725

2. 2917    GENERAL OFF-BILL AND ON-                  1/23/2023       CCOTH_02760                 G & C AUTO BODY INC - 2011 N TEXAS    4637 S. EAST AVE
           BILLFINANCING LOAN AGREEMENT                                                          ST                                    FRESNO, CA 93725

2. 2918    GENERAL OFF-BILL AND ON-                  9/21/2021       CCOTH_02759                 G & C AUTO BODY INC - 251 BELLEVUE    4637 S. EAST AVE
           BILLFINANCING LOAN AGREEMENT                                                          AVE                                   FRESNO, CA 93725

2. 2919    GENERAL OFF-BILL AND ON-                   8/6/2022       CCOTH_03046                 G & C AUTO BODY INC - 51 KUNZLER      4637 S. EAST AVE
           BILLFINANCING LOAN AGREEMENT                                                          RANCH RD                              FRESNO, CA 93725

2. 2920    GENERAL OFF-BILL AND ON-                  12/7/2021       CCOTH_02975                 G & C AUTO BODY INC - 5180            4637 S. EAST AVE
           BILLFINANCING LOAN AGREEMENT                                                          COMMERCE BLVD - ROHNERT               FRESNO, CA 93725



                                                                      Page 298 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                  Page 299
                                                                                of 649
Pacific Gas and Electric Company                                                                                                        Case Number:        19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                     Address
                                                    or Remaining
                                                        Term


2. 2921    GENERAL OFF-BILL AND ON-                  11/5/2021       CCOTH_03020                 G & C AUTO BODY INC - 896 LAKEVILLE     4637 S. EAST AVE
           BILLFINANCING LOAN AGREEMENT                                                          HWY                                     FRESNO, CA 93725

2. 2922    GENERAL OFF-BILL AND ON-                  9/18/2021       CCOTH_02427                 G S I TECHNOLOGY INC - 1213 ELKO        46560 FREMONT BLVD #105
           BILLFINANCING LOAN AGREEMENT                                                          DR - SUNNYVALE                          FREMONT, CA 94538

2. 2923    GENERAL OFF-BILL AND ON-                  12/28/2022      CCOTH_02744                 G. PUCCI & SONS INC. - 460 VALLEY DR    525 29TH AVE
           BILLFINANCING LOAN AGREEMENT                                                                                                  SAN FRANCISCO, CA 94121

2. 2924    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00645                 GABRIEL KRAM                            919 LEA DRIVE
                                                                                                                                         SAN RAFAEL 94903

2. 2925    GENERAL OFF-BILL AND ON-                  3/23/2019       CCOTH_01425                 GAHUNIA,HARDEEP - 2576 N HUGHES         4688 W. JENNIFER AVE. SUITE 107
           BILLFINANCING LOAN AGREEMENT                                                          AVE - FRESNO                            FRESNO, CA 93722

2. 2926    GENERAL OFF-BILL AND ON-                   7/6/2020       CCOTH_03060                 GALANT,ZOYA - 735 FREMONT AVE           735 FREMONT AVE.
           BILLFINANCING LOAN AGREEMENT                                                                                                  SAN LEANDRO, CA 94577

2. 2927    GENERAL OFF-BILL AND ON-                   4/7/2019       CCOTH_02062                 GALEY'S MARINE SUPPLY INC               1187 N WILLOW #103 PMB 40
           BILLFINANCING LOAN AGREEMENT                                                                                                  SHANNON MACFARLAND -
                                                                                                                                         MANAGER
                                                                                                                                         CLOVIS, CA 93611

2. 2928    GENERAL OFF-BILL AND ON-                  5/20/2021       CCOTH_02142                 GALEY'S MARINE SUPPLY INC               685 COCHRAN STREET, SUITE 200
           BILLFINANCING LOAN AGREEMENT                                                                                                  SIMI VALLEY, CA 93065

2. 2929    SINGLE-FAMILY AFFORDABLE SOLAR            Not Stated      CCOTH_03579                 GAMA,SONIA                              634 CARRIAGE CT
           HOMES (SASH)                                                                                                                   SALINAS, CA 93905

2. 2930    WATER/DISPOSAL/SANITATION                 Not Stated      CCCRSOT_000                 GARBERVILLE SANITARY DISTRICT           GARBERVILLE SANITARY DISTRICT
           AGREEMENT                                                     75                                                              GARBERVILLE, CA

2. 2931    GENERAL OFF-BILL AND ON-                  11/30/2021      CCOTH_01283                 GARCIA,HERIBERTO - 6450 3RD ST          6644 N. HIGHLAND
           BILLFINANCING LOAN AGREEMENT                                                                                                  CLOVIS, CA 93619

2. 2932    WATER AGREEMENT                           Not Stated      CCCRSOT_000                 GARFIELD WATER DISTRICT                 GARFIELD WATER DISTRICT
                                                                         76                                                              CLOVIS, CA




                                                                      Page 299 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 300
                                                                                of 649
Pacific Gas and Electric Company                                                                                                       Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                    Address
                                                    or Remaining
                                                        Term


2. 2933    GENERAL OFF-BILL AND ON-                  10/11/2021      CCOTH_02233                 GARY & BECKY VICK, INC. - 1000         40 WINHAM ST.
           BILLFINANCING LOAN AGREEMENT                                                          FRONT ST                               SALINAS, CA 93901

2. 2934    GENERAL OFF-BILL AND ON-                  10/8/2021       CCOTH_02238                 GARY & BECKY VICK, INC. - 1061 N       40 WINHAM ST.
           BILLFINANCING LOAN AGREEMENT                                                          DAVIS RD                               SALINAS, CA 93901

2. 2935    GENERAL OFF-BILL AND ON-                  10/11/2021      CCOTH_02231                 GARY & BECKY VICK, INC. - 1130         40 WINHAM ST
           BILLFINANCING LOAN AGREEMENT                                                          FREMONT BLVD # C                       SALINAS, CA 93901

2. 2936    GENERAL OFF-BILL AND ON-                  10/8/2021       CCOTH_02244                 GARY & BECKY VICK, INC. - 400 E        40 WINHAM ST.
           BILLFINANCING LOAN AGREEMENT                                                          MARKET ST                              SALINAS, CA 93901

2. 2937    GENERAL OFF-BILL AND ON-                  10/8/2021       CCOTH_02245                 GARY & BECKY VICK, INC. - 570 CANAL    40 WINHAM ST.
           BILLFINANCING LOAN AGREEMENT                                                          ST                                     SALINAS, CA 93901

2. 2938    GENERAL OFF-BILL AND ON-                  10/8/2021       CCOTH_02239                 GARY & BECKY VICK, INC. - 902          40 WINHAM ST.
           BILLFINANCING LOAN AGREEMENT                                                          LIGHTHOUSE AVE                         SALINAS, CA 93901

2. 2939    GENERAL OFF-BILL AND ON-                  10/8/2021       CCOTH_02232                 GARY & BECKY VICK, INC. - 950          40 WINHAM ST.
           BILLFINANCING LOAN AGREEMENT                                                          ABBOTT ST                              SALINAS, CA 93901

2. 2940    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00790                 GARY DRIEDGER                          4899 CAMPBELL AVE
                                                                                                                                        SAN JOSE 95130

2. 2941    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01109                 GARY DRIEDGER                          1150 PEDRO STREET
                                                                                                                                        SAN JOSE 95126

2. 2942    GENERAL OFF-BILL AND ON-                  10/19/2022      CCOTH_02090                 GARY WOLFE                             27363 VIA INDUSTRIA
           BILLFINANCING LOAN AGREEMENT                                                                                                 TEMECULA, CA 92590

2. 2943    2018 MEMBERSHIP - GAS TECHNOLOGY          12/31/2018      CCOTH_03803                 GAS TECHNOLOGY INSTITUTE               1700 S MOUNT PROSPECT RD
           INSTITUTE (GTI)                                                                                                              DES PLAINES , IL 60018

2. 2944    SMARTAC                                   Not Stated      CCOTH_03598                 GASPAR,FRANCIS                         607 CALISTOGA CIR
                                                                                                                                        FREMONT, CA 94536

2. 2945    GENERAL OFF-BILL AND ON-                   4/2/2020       CCOTH_02216                 GATEWAY COURTYARD LLC - 1580           1725 RUTAN DR.
           BILLFINANCING LOAN AGREEMENT                                                          GATEWAY BLVD                           **UPS OVERNIGHT DELIVERY**
                                                                                                                                        LIVERMORE, CA 94551

                                                                      Page 300 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                     Page 301
                                                                                of 649
Pacific Gas and Electric Company                                                                                                     Case Number:       19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 2946    REAL PROPERTY LEASE - SACRAMENTO          6/30/2023       CCCRSLS_000                 GATEWAY OAKS CENTER LLC              GATEWAY OAKS CENTER LLC, %
           CROWN PLAZA OFFICE                                            65                                                           BTV MANAGEMENT INC
                                                                                                                                      2870 GATEWAY OAKS DR #110
                                                                                                                                      SACRAMENTO, CA 95833

2. 2947    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00638                 GATEWAY PROPERTY OWNER LLC           1 WATERS PARK DR STE 104
                                                                                                                                      SAN MATEO, CA 944031156

2. 2948    GENERAL OFF-BILL AND ON-                  12/15/2018      CCOTH_01330                 GAWFCO ENTERPRISES INC               PO BOX 406
           BILLFINANCING LOAN AGREEMENT                                                                                               ALAMO, CA 94507

2. 2949    GENERAL OFF-BILL AND ON-                  11/29/2018      CCOTH_01372                 GAWFCO ENTERPRISES INC               PO BOX 406
           BILLFINANCING LOAN AGREEMENT                                                                                               ALAMO, CA 94507

2. 2950    GENERAL OFF-BILL AND ON-                  5/24/2019       CCOTH_01373                 GAWFCO ENTERPRISES INC               PO BOX 406
           BILLFINANCING LOAN AGREEMENT                                                                                               ALAMO, CA 94507

2. 2951    GENERAL OFF-BILL AND ON-                  4/14/2019       CCOTH_01433                 GAWFCO ENTERPRISES INC               PO BOX 406
           BILLFINANCING LOAN AGREEMENT                                                                                               STEVE WEDGE, VP
                                                                                                                                      ALAMO, CA 94507

2. 2952    GENERAL OFF-BILL AND ON-                  4/25/2019       CCOTH_01438                 GAWFCO ENTERPRISES INC               PO BOX 406
           BILLFINANCING LOAN AGREEMENT                                                                                               ALAMO, CA 94507

2. 2953    GENERAL OFF-BILL AND ON-                  12/13/2018      CCOTH_01378                 GAWFCO ENTERPRISES INC - 1740        4470 YANKEE HILL ROAD, STE 120
           BILLFINANCING LOAN AGREEMENT                                                          TEXAS ST                             ROCKLIN, CA 95677

2. 2954    GENERAL OFF-BILL AND ON-                  12/22/2019      CCOTH_01439                 GAWFCO ENTERPRISES INC - 2000 NUT    PO BOX 406
           BILLFINANCING LOAN AGREEMENT                                                          TREE RD                              STEVE WELGE, CFO
                                                                                                                                      ALAMO, CA 94507

2. 2955    GENERAL OFF-BILL AND ON-                  1/29/2019       CCOTH_01440                 GAWFCO ENTERPRISES INC - 3603        P.O. BOX 406
           BILLFINANCING LOAN AGREEMENT                                                          SONOMA BLVD                          C/O LENDERS COMMERCIAL
                                                                                                                                      FINANCE
                                                                                                                                      ALAMO, CA 94507

2. 2956    GENERAL OFF-BILL AND ON-                  5/12/2019       CCOTH_01371                 GAWFCO ENTERPRISES INC DBA ALUM      PO BOX 406
           BILLFINANCING LOAN AGREEMENT                                                          ROCK VALERO                          ALAMO, CA 94507




                                                                      Page 301 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                  Page 302
                                                                                of 649
Pacific Gas and Electric Company                                                                                                   Case Number:        19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 2957    CALIFORNIA COMMUNITY COLLEGES -           Not Stated      CCOTH_00099                 GAYNER ENGINEERS                   1133 POST ST.
           SAVINGS BY DESIGN WHOLE BUILDING                                                                                         SAN FRANCISCO, CA 94109

2. 2958    GENERAL OFF-BILL AND ON-                   3/2/2022       CCOTH_02217                 GEMTEL FAIRFIELD C/O MMI REALTY    1725 RUTAN DRIVE
           BILLFINANCING LOAN AGREEMENT                                                          SERV IN                            **UPS OVERNIGHT DELIVERY**
                                                                                                                                    LIVERMORE, CA 94551

2. 2959    GENERAL OFF-BILL AND ON-                  5/19/2021       CCOTH_02417                 GENE FONG - 4625 N DUNCAN RD       4625 N DUNCAN RD.
           BILLFINANCING LOAN AGREEMENT                                                                                             LINDEN, CA 95236

2. 2960    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00785                 GENE LAWSON                        500 CLIPPER DRIVE
                                                                                                                                    BELMONT 94002

2. 2961    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00578                 GENE MURTEY                        790 STONEWOOD RD
           ADVANCED HOME UPGRADE                                                                                                    NEWCASTLE, CA 95658
           (CUSTOM/CALCULATED)

2. 2962    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03475                 GENENTECH INC                      1 DNA WAY
           BY DESIGN WHOLE BUILDING                                                                                                 SOUTH SAN FRANCISCO, CA 94080

2. 2963    GENERAL OFF-BILL AND ON-                  7/27/2020       CCOTH_03000                 GENERAL FOUNDRY SERVICE CORP -     1725 RUTAN DRIVE
           BILLFINANCING LOAN AGREEMENT                                                          1360 BUSINESS CENTE                LIVERMORE, CA 94551

2. 2964    2018 SENDING OF EMAILS, TEXT            Work performed    CCOTH_03825                 GENESYS TELECOMMUNICATIONS         2001 JUNIPERO SERRA BLVD
           MESSAGES, PHONE MESSAGES FOR               for 2018                                   LABS                               DALY CITY, CA 94014
           ENERGY ALERTS

2. 2965    EXISTING BUILDING COMMISSIONING           6/28/2018       CCOTH_03761                 GEOFF HANCOCK                      6439 BENVENUE AVE.
           WORKSHOP SERIES XIV CLASS #1                                                                                             OAKLAND, CA 94618

2. 2966    EXISTING BUILDING COMMISSIONING           12/13/2018      CCOTH_03768                 GEOFF HANCOCK                      478 25TH ST., STE. D
           WORKSHOP SERIES XIV CLASS #5                                                                                             OAKLAND, CA 94612

2. 2967    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00584                 GEOFFREY ELERS                     2544 MORAGA DR
           ADVANCED HOME UPGRADE                                                                                                    PINOLE, CA 94564
           (CUSTOM/CALCULATED)

2. 2968    GENERAL OFF-BILL AND ON-                  4/12/2020       CCOTH_01189                 GEORG FISCHER HARVEL LLC - 7001    9530 HAGEMAN RD. B#196
           BILLFINANCING LOAN AGREEMENT                                                          SCHIRRA CT                         BAKERSFIELD, CA 93312


                                                                      Page 302 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                 Page 303
                                                                                of 649
Pacific Gas and Electric Company                                                                                                  Case Number:       19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 2969    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00992                 GEORGE CROW                       1 W EDITH AVE
                                                                                                                                   LOS ALTOS 94022

2. 2970    GENERAL OFF-BILL AND ON-                   8/7/2019       CCOTH_02938                 GEORGE E MASKER INC - 7699        10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          EDGEWATER DR                      SANTA FE SPRINGS, CA 90670

2. 2971    SELF-GENERATION INCENTIVE                 Not Stated      CCOTH_03503                 GEORGE KOSTER                     25 AMETHYST WAY
           PROGRAM                                                                                                                  SAN FRANCISCO, CA 94131

2. 2972    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00780                 GEORGE MARKLE                     505 CYPRESS POINT DRIVE
                                                                                                                                   MOUNTAIN VIEW 94043

2. 2973    GENERAL OFF-BILL AND ON-                  10/31/2020      CCOTH_01857                 GERLINGER STEEL AND SUPPLY        1527 SACRAMENTO ST
           BILLFINANCING LOAN AGREEMENT                                                                                            REDDING, CA 96001

2. 2974    GETFEEDBACK SUBSCRIPTION                  12/31/2019      CCOTH_03816                 GETFEEDBACK                       GETFEEDBACK INC
                                                                                                                                   123 MISSION ST 26TH FL
                                                                                                                                   SAN FRANCISCO, CA 94105

2. 2975    REAL PROPERTY LEASE - LODI CSO            10/31/2024      CCCRSLS_000                 GEWEKE FAMILIY PARTNERSHIP        GEWEKE FAMILY PARTNERSHIP
                                                                         41                                                        1139 E KETTLEMAN LN STE 200
                                                                                                                                   LODI, CA 95240

2. 2976    WATER AGREEMENT                           Not Stated      CCCRSOT_000                 GEYERSVILLE WATER WORKS/HARRY     HARRY K BOSWORTH,
                                                                         77                      K. BOSWORTH                       GEYSERVILLE WATER WORKS,
                                                                                                                                   GEYSERVILLE, CA

2. 2977    GENERAL OFF-BILL AND ON-                   7/2/2020       CCOTH_03113                 GHAG,GURINDER - 6644 HAPPY VALLEY 590 W LOCUST AVE STE 103
           BILLFINANCING LOAN AGREEMENT                                                          RD                                FRESNO, CA 93650

2. 2978    GENERAL OFF-BILL AND ON-                  5/22/2023       CCOTH_02915                 GHAI MANAGEMENT SERVICES INC -    PO BOX 572
           BILLFINANCING LOAN AGREEMENT                                                          1090 FREMONT BLVD                 BLUE SPRINGS, MO 64013

2. 2979    GENERAL OFF-BILL AND ON-                   8/4/2019       CCOTH_02707                 GHAI MANAGEMENT SERVICES INC -    877 CEDAR STREET
           BILLFINANCING LOAN AGREEMENT                                                          1260 ANDERSON DR                  SUITE 240
                                                                                                                                   SANTA CRUZ, CA 95060

2. 2980    GENERAL OFF-BILL AND ON-                   3/6/2019       CCOTH_01143                 GHAI MANAGEMENT SERVICES INC -    25 E AIRWAY BLVD
           BILLFINANCING LOAN AGREEMENT                                                          1260 ANDERSON DR -                LIVERMORE, CA 94551


                                                                      Page 303 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35               Page 304
                                                                                of 649
Pacific Gas and Electric Company                                                                                                  Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                               Address
                                                    or Remaining
                                                        Term


2. 2981    GENERAL OFF-BILL AND ON-                  2/17/2021       CCOTH_02913                 GHAI MANAGEMENT SERVICES INC -    PO BOX 572
           BILLFINANCING LOAN AGREEMENT                                                          1302 SOQUEL AVE                   BLUE SPRINGS, MO 64013

2. 2982    GENERAL OFF-BILL AND ON-                  11/15/2019      CCOTH_03209                 GHAI MANAGEMENT SERVICES INC -    25 E AIRWAY BLVD
           BILLFINANCING LOAN AGREEMENT                                                          1302 SOQUEL AVE                   LIVERMORE, CA 94551

2. 2983    GENERAL OFF-BILL AND ON-                  3/26/2020       CCOTH_02916                 GHAI MANAGEMENT SERVICES INC -    PO BOX 572
           BILLFINANCING LOAN AGREEMENT                                                          13609 E MANNING AVE               BLUE SPRINGS, MO 64013

2. 2984    GENERAL OFF-BILL AND ON-                  1/17/2021       CCOTH_02874                 GHAI MANAGEMENT SERVICES INC -    PO BOX 572
           BILLFINANCING LOAN AGREEMENT                                                          1375 N MAIN ST                    BLUE SPRINGS, MO 94013

2. 2985    GENERAL OFF-BILL AND ON-                  8/23/2022       CCOTH_02873                 GHAI MANAGEMENT SERVICES INC -    P.O. BOX 572
           BILLFINANCING LOAN AGREEMENT                                                          1399 FREEDOM BLVD                 BLUE SPRINGS, MO 64013

2. 2986    GENERAL OFF-BILL AND ON-                   8/4/2020       CCOTH_02703                 GHAI MANAGEMENT SERVICES INC -    877 CEDAR STREET, SUITE 240
           BILLFINANCING LOAN AGREEMENT                                                          1571 FITZGERALD DR                SANTA CRUZ, CA 95060

2. 2987    GENERAL OFF-BILL AND ON-                  9/16/2023       CCOTH_02875                 GHAI MANAGEMENT SERVICES INC -    PO BOX 572
           BILLFINANCING LOAN AGREEMENT                                                          1589 N SANBORN RD                 BLUE SPRINGS, MO 64013

2. 2988    GENERAL OFF-BILL AND ON-                  6/25/2019       CCOTH_02705                 GHAI MANAGEMENT SERVICES INC -    877 CEDAR STREET
           BILLFINANCING LOAN AGREEMENT                                                          1830 E MAIN ST - WO               SUITE 240
                                                                                                                                   SANTA CRUZ, CA 95060

2. 2989    GENERAL OFF-BILL AND ON-                  2/28/2019       CCOTH_01146                 GHAI MANAGEMENT SERVICES INC -    25 E AIRWAY BLVD
           BILLFINANCING LOAN AGREEMENT                                                          1857 E MAIN ST                    LIVERMORE, CA 94551

2. 2990    GENERAL OFF-BILL AND ON-                  10/13/2019      CCOTH_02699                 GHAI MANAGEMENT SERVICES INC -    877 CEDAR STREET, SUITE 240
           BILLFINANCING LOAN AGREEMENT                                                          1857 E MAIN ST - GR               SANTA CRUZ, CA 95060

2. 2991    GENERAL OFF-BILL AND ON-                  2/16/2026       CCOTH_02819                 GHAI MANAGEMENT SERVICES INC -    25 E AIRWAY BLVD.
           BILLFINANCING LOAN AGREEMENT                                                          18980 N HIGHWAY 88                LIVERMORE, CA 94551

2. 2992    GENERAL OFF-BILL AND ON-                  10/29/2019      CCOTH_02509                 GHAI MANAGEMENT SERVICES INC -    877 CEDAR ST. SUITE 240
           BILLFINANCING LOAN AGREEMENT                                                          190 PITTMAN RD                    SANTA CRUZ, CA 95060

2. 2993    GENERAL OFF-BILL AND ON-                  7/22/2019       CCOTH_02505                 GHAI MANAGEMENT SERVICES INC -    877 CEDAR ST. SUITE 240
           BILLFINANCING LOAN AGREEMENT                                                          1949 COLUMBUS ST                  SANTA CRUZ, CA 95060

                                                                      Page 304 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 305
                                                                                of 649
Pacific Gas and Electric Company                                                                                                  Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                               Address
                                                    or Remaining
                                                        Term


2. 2994    GENERAL OFF-BILL AND ON-                  4/14/2020       CCOTH_02508                 GHAI MANAGEMENT SERVICES INC -    877 CEDAR STREET, SUITE 240
           BILLFINANCING LOAN AGREEMENT                                                          1949 COLUMBUS ST                  SANTA CRUZ, CA 95060

2. 2995    GENERAL OFF-BILL AND ON-                  12/23/2022      CCOTH_02503                 GHAI MANAGEMENT SERVICES INC -    877 CEDAR STREET, SUITE 240
           BILLFINANCING LOAN AGREEMENT                                                          1955 N ST - NEWMAN                SANTA CRUZ, CA 95060

2. 2996    GENERAL OFF-BILL AND ON-                  8/11/2022       CCOTH_02907                 GHAI MANAGEMENT SERVICES INC -    PO BOX 572
           BILLFINANCING LOAN AGREEMENT                                                          2015 MISSION ST                   BLUE SPRINGS, MO 64013

2. 2997    GENERAL OFF-BILL AND ON-                  7/28/2019       CCOTH_02698                 GHAI MANAGEMENT SERVICES INC -    877 CEDAR ST. SUITE 240
           BILLFINANCING LOAN AGREEMENT                                                          2026 LYNDELL TER                  SANTA CRUZ, CA 95060

2. 2998    GENERAL OFF-BILL AND ON-                  11/28/2021      CCOTH_02870                 GHAI MANAGEMENT SERVICES INC -    PO BOX 572
           BILLFINANCING LOAN AGREEMENT                                                          2107 H DELA ROSA SR               BLUE SPRINGS, MO 64013

2. 2999    GENERAL OFF-BILL AND ON-                  11/30/2021      CCOTH_01148                 GHAI MANAGEMENT SERVICES INC -    25 E AIRWAY BLVD
           BILLFINANCING LOAN AGREEMENT                                                          2200 OTIS DR                      LIVERMORE, CA 94551

2. 3000    GENERAL OFF-BILL AND ON-                  12/23/2021      CCOTH_02918                 GHAI MANAGEMENT SERVICES INC -    PO BOX 572
           BILLFINANCING LOAN AGREEMENT                                                          227 MOUNT HERMON                  BLUE SPRINGS, MO 64013

2. 3001    GENERAL OFF-BILL AND ON-                  11/15/2019      CCOTH_03226                 GHAI MANAGEMENT SERVICES INC -    25 E AIRWAY BLVD
           BILLFINANCING LOAN AGREEMENT                                                          227 MOUNT HERMON RD               LIVERMORE, CA 94551

2. 3002    GENERAL OFF-BILL AND ON-                  9/19/2020       CCOTH_02507                 GHAI MANAGEMENT SERVICES INC -    877 CEDAR ST. STE 240
           BILLFINANCING LOAN AGREEMENT                                                          2508 WHITE LN                     SANTA CRUZ, CA 95060

2. 3003    GENERAL OFF-BILL AND ON-                  2/28/2019       CCOTH_01159                 GHAI MANAGEMENT SERVICES INC -    25 E AIRWAY BLVD
           BILLFINANCING LOAN AGREEMENT                                                          251 W MAIN ST                     LIVERMORE, CA 94551

2. 3004    GENERAL OFF-BILL AND ON-                  2/13/2019       CCOTH_02701                 GHAI MANAGEMENT SERVICES INC -    877 CEDAR STREET, SUITE 240
           BILLFINANCING LOAN AGREEMENT                                                          251 W MAIN ST                     SANTA CRUZ, CA 95060

2. 3005    GENERAL OFF-BILL AND ON-                   5/4/2020       CCOTH_02710                 GHAI MANAGEMENT SERVICES INC -    PO BOX 572
           BILLFINANCING LOAN AGREEMENT                                                          2890 W GRANT LINE R               BLUE SPRINGS,, MO 64013

2. 3006    GENERAL OFF-BILL AND ON-                  3/25/2020       CCOTH_02702                 GHAI MANAGEMENT SERVICES INC -    877 CEDAR ST, SUITE 240
           BILLFINANCING LOAN AGREEMENT                                                          3405 UNION AVE - BA               SANTA CRUZ, CA 95060



                                                                      Page 305 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 306
                                                                                of 649
Pacific Gas and Electric Company                                                                                                     Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 3007    GENERAL OFF-BILL AND ON-                  11/13/2019      CCOTH_02494                 GHAI MANAGEMENT SERVICES INC -       877 CEDAR STREET, SUITE 240
           BILLFINANCING LOAN AGREEMENT                                                          3482 W SHAW AVE - F                  SANTA CRUZ, CA 95060

2. 3008    GENERAL OFF-BILL AND ON-                  9/22/2020       CCOTH_02868                 GHAI MANAGEMENT SERVICES INC - 41    PO BOX 572
           BILLFINANCING LOAN AGREEMENT                                                          S SANBORN RD                         BLUE SPRINGS, MO 64013

2. 3009    GENERAL OFF-BILL AND ON-                  12/11/2022      CCOTH_02712                 GHAI MANAGEMENT SERVICES INC -       877 CEDAR ST, STE 240
           BILLFINANCING LOAN AGREEMENT                                                          4571 N PERSHING AVE                  SANTA CRUZ, CA 95060

2. 3010    GENERAL OFF-BILL AND ON-                  9/24/2021       CCOTH_02511                 GHAI MANAGEMENT SERVICES INC -       877 CEDAR STREET, SUITE 240
           BILLFINANCING LOAN AGREEMENT                                                          4610 E KINGS CANYON                  SANTA CRUZ, CA 95060

2. 3011    GENERAL OFF-BILL AND ON-                  7/24/2020       CCOTH_02513                 GHAI MANAGEMENT SERVICES INC - 49    877 CEDAR STREET, SUITE 240
           BILLFINANCING LOAN AGREEMENT                                                          W HAMILTON AVE -                     SANTA CRUZ, CA 95060

2. 3012    GENERAL OFF-BILL AND ON-                  9/15/2020       CCOTH_02911                 GHAI MANAGEMENT SERVICES INC -       PO BOX 572
           BILLFINANCING LOAN AGREEMENT                                                          520 WALNUT AVE                       BLUE SPRINGS, MO 64013

2. 3013    GENERAL OFF-BILL AND ON-                   3/7/2023       CCOTH_02769                 GHAI MANAGEMENT SERVICES INC -       25 E AIRWAY BLVD
           BILLFINANCING LOAN AGREEMENT                                                          520 WALNUT AVE - GR                  LIVERMORE, CA 94551

2. 3014    GENERAL OFF-BILL AND ON-                  2/28/2019       CCOTH_01158                 GHAI MANAGEMENT SERVICES INC -       25 E AIRWAY BLVD
           BILLFINANCING LOAN AGREEMENT                                                          601 COLUSA AVE                       LIVERMORE, CA 94551

2. 3015    GENERAL OFF-BILL AND ON-                  8/21/2019       CCOTH_02706                 GHAI MANAGEMENT SERVICES INC -       877 CEDAR STREET, SUITE 240
           BILLFINANCING LOAN AGREEMENT                                                          601 COLUSA AVE - YU                  SANTA CRUZ, CA 95060

2. 3016    GENERAL OFF-BILL AND ON-                   2/4/2022       CCOTH_02914                 GHAI MANAGEMENT SERVICES INC -       PO BOX 572
           BILLFINANCING LOAN AGREEMENT                                                          6075 HORSESHOE BAR                   BLUE SPRINGS, MO 64013

2. 3017    GENERAL OFF-BILL AND ON-                  3/31/2020       CCOTH_02704                 GHAI MANAGEMENT SERVICES INC -       877 CEDAR STREET
           BILLFINANCING LOAN AGREEMENT                                                          619 W CHARTER WAY                    SUITE 240
                                                                                                                                      SANTA CRUZ, CA 95060

2. 3018    GENERAL OFF-BILL AND ON-                  9/10/2020       CCOTH_02909                 GHAI MANAGEMENT SERVICES INC -       PO BOX 572
           BILLFINANCING LOAN AGREEMENT                                                          680 W EL MONTE WAY                   BLUE SPRINGS, MO 64013

2. 3019    GENERAL OFF-BILL AND ON-                  12/17/2020      CCOTH_02912                 GHAI MANAGEMENT SERVICES INC -       PO BOX 572
           BILLFINANCING LOAN AGREEMENT                                                          6921 REGIONAL ST                     BLUE SPRINGS, MO 64013

                                                                      Page 306 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35               Page 307
                                                                                of 649
Pacific Gas and Electric Company                                                                                                      Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                   Address
                                                    or Remaining
                                                        Term


2. 3020    GENERAL OFF-BILL AND ON-                  5/13/2020       CCOTH_02573                 GHAI MANAGEMENT SERVICES INC -        877 CEDAR STREET, SUITE 240
           BILLFINANCING LOAN AGREEMENT                                                          7990 WHITE LN - BAK                   SANTA CRUZ, CA 95060

2. 3021    GENERAL OFF-BILL AND ON-                  9/11/2023       CCOTH_02917                 GHAI MANAGEMENT SERVICES INC -        PO BOX 572
           BILLFINANCING LOAN AGREEMENT                                                          909 S MAIN ST                         BLUE SPRINGS, MO 64013

2. 3022    GENERAL OFF-BILL AND ON-                  4/28/2019       CCOTH_02510                 GHAI MANAGEMENT SERVICES INC -        877 CEDAR ST. SUITE 240
           BILLFINANCING LOAN AGREEMENT                                                          936 BLOSSOM HILL RD                   SANTA CRUZ, CA 95060

2. 3023    GENERAL OFF-BILL AND ON-                  8/14/2019       CCOTH_02211                 GIEG CARWASH                          804 ESTATES DRIVE, SUITE 202
           BILLFINANCING LOAN AGREEMENT                                                                                                APTOS, CA 95003

2. 3024    GENERAL OFF-BILL AND ON-                  10/29/2018      CCOTH_02204                 GILL,KAMAL JIT SINGH - 620 ORANGE     360 TESCONI CIR
           BILLFINANCING LOAN AGREEMENT                                                          DR                                    SANTA ROSA, CA 95401

2. 3025    GENERAL OFF-BILL AND ON-                  2/12/2019       CCOTH_01354                 GILL,NIRMAL DBA 7700 DISTRICT, LLC    1187 N WILLOW AVE #103 PMB #40
           BILLFINANCING LOAN AGREEMENT                                                                                                CLOVIS, CA 93611

2. 3026    GENERAL OFF-BILL AND ON-                  9/23/2022       CCOTH_01341                 GILROY GARDENS FAMILY THEME PARK 27611 LA PAZ ROAD - SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                                                           LAGUNA NIGUEL, CA 92677

2. 3027    GENERAL OFF-BILL AND ON-                  9/19/2024       CCOTH_03069                 GILROY GARDENS FAMILY THEME           877 CEDAR STREET, SUITE 240
           BILLFINANCING LOAN AGREEMENT                                                          PARK - 3050 HECKER                    SANTA CRUZ, CA 95060

2. 3028    GENERAL OFF-BILL AND ON-                  3/20/2022       CCOTH_02373                 GILROY HYUNDAI INC - 6700 AUTO        3479 NW YEON AVE
           BILLFINANCING LOAN AGREEMENT                                                          MALL PKWY                             PORTLAND, OR 97210

2. 3029    WATER/SEWER AGREEMENT                     Not Stated      CCCRSOT_000                 GILROY, CITY OF                       CITY OF GILROY, % UTILITY
                                                                         78                                                            PAYMENTS,
                                                                                                                                       7351 ROSANNA ST
                                                                                                                                       GILROY, CA 95020

2. 3030    GARBAGE AGREEMENT                         Not Stated      CCCRSOT_000                 GILTON SOLID WASTE MANAGEMENT         GILTON SOLID WASTE
                                                                         79                                                            MANAGEMENT INC
                                                                                                                                       755 S YOSEMITE AVE
                                                                                                                                       OAKDALE, CA 95361

2. 3031    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00793                 GINA GORMAN                           480 MISSION BAY BLVD NORTH
                                                                                                                                       SAN FRANCISCO 94158


                                                                      Page 307 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 308
                                                                                of 649
Pacific Gas and Electric Company                                                                                                    Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                 Address
                                                    or Remaining
                                                        Term


2. 3032    GENERAL OFF-BILL AND ON-                  1/13/2021       CCOTH_01665                 GIRL SCOUTS CENTRAL CALIFORNIA      1831 BRUNDAGE LN
           BILLFINANCING LOAN AGREEMENT                                                          SOUTH                               BAKERSFIELD, CA 93304

2. 3033    GENERAL OFF-BILL AND ON-                  11/12/2020      CCOTH_01664                 GIRL SCOUTS OF CENTRAL              1377 W SHAW AVE
           BILLFINANCING LOAN AGREEMENT                                                          CALIFORNIA SOUTH                    FRESNO, CA 93711

2. 3034    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01016                 GIVAN BZNUNI                        1825 E GETTYSBURG AVE
                                                                                                                                     FRESNO 93726

2. 3035    GENERAL OFF-BILL AND ON-                  4/25/2023       CCOTH_01596                 GLAD ENTERTAINMENT INC - 4055 N     10610 HUMBOLT ST.
           BILLFINANCING LOAN AGREEMENT                                                          CHESTNUT                            LOS ALAMITOS, CA 90720

2. 3036    GENERAL OFF-BILL AND ON-                  5/27/2021       CCOTH_02458                 GLADDING RIDGE INC - 1660 3RD ST    3334 SWETZER RD
           BILLFINANCING LOAN AGREEMENT                                                                                              LOOMIS, CA 95650

2. 3037    GENERAL OFF-BILL AND ON-                  5/14/2028       CCOTH_02425                 GLENN COUNTY OFFICE OF              27611 LA PAZ RD, SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                          EDUCATION - MAIN OFFICE             LAGUNA NIGUEL, CA 92677

2. 3038    GENERAL OFF-BILL AND ON-                  5/14/2028       CCOTH_02426                 GLENN COUNTY OFFICE OF              27611 LA PAZ RD, SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                          EDUCATION - WILLIAM FINCH           LAGUNA NIGUEL, CA 92677

2. 3039    AGRICULTURAL CALCULATED                   Not Stated      CCOTH_00042                 GOING NUTS CORPORATION              3375 YEAGER RD STE 104
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                         MADERA, CA 93637
           PROGRAM

2. 3040    GENERAL OFF-BILL AND ON-                  8/16/2020       CCOTH_01564                 GOLD COUNTRY BAPTIST CHURCH -       3330 SWETZER RD
           BILLFINANCING LOAN AGREEMENT                                                          3800 N SHINGLE RD                   LOOMIS, CA 95650

2. 3041    GENERAL OFF-BILL AND ON-                  4/26/2022       CCOTH_01934                 GOLD STAR MOTORS INC - 1980 N       1980 N DAVIS RD
           BILLFINANCING LOAN AGREEMENT                                                          DAVIS RD                            SALINAS, CA 93907

2. 3042    GENERAL OFF-BILL AND ON-                  2/16/2020       CCOTH_02175                 GOLDEN CALIFORNIA MEAT PACKERS      685 COCHRAN STREET SUITE 200
           BILLFINANCING LOAN AGREEMENT                                                          INC                                 SIMI VALLEY, CA 93065

2. 3043    GENERAL OFF-BILL AND ON-                  8/19/2022       CCOTH_02871                 GOLDEN CANYON PARTNERS, LLC -       10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          7180 KOLL CENTER PKW                SANTA FE SPRINGS, CA 90670

2. 3044    GENERAL OFF-BILL AND ON-                   9/9/2020       CCOTH_03152                 GOLDEN CENTER HEALTH CARE           12820 EARHART AVE.
           BILLFINANCING LOAN AGREEMENT                                                          GROUP LLC - 4300 GOLDEN             AUBURN, CA 95602

                                                                      Page 308 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                  Page 309
                                                                                of 649
Pacific Gas and Electric Company                                                                                                    Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                 Address
                                                    or Remaining
                                                        Term


2. 3045    GENERAL OFF-BILL AND ON-                   4/3/2019       CCOTH_02111                 GOLDEN DOABO ENTERPRISES LLC        328 GREENWOOD PLACE
           BILLFINANCING LOAN AGREEMENT                                                                                              BONITA, CA 91902

2. 3046    GENERAL OFF-BILL AND ON-                   2/3/2019       CCOTH_02110                 GOLDEN DOABO ENTERPRISES LLC/       328 GREENWOOD PLACE
           BILLFINANCING LOAN AGREEMENT                                                          DBA ARCO AM PM                      BONITA, CA 91902

2. 3047    GENERAL OFF-BILL AND ON-                  7/14/2024       CCOTH_01320                 GOLDEN GATE RESTAURANT GROUP        1910 OLYMPIC BLVD #315
           BILLFINANCING LOAN AGREEMENT                                                          INC - 12999 SAN PAB                 WALNUT CREEK, CA 94596

2. 3048    GENERAL OFF-BILL AND ON-                  12/15/2022      CCOTH_02859                 GOLDEN GATE RESTAURANT GRP INC-     PO BOX 572
           BILLFINANCING LOAN AGREEMENT                                                          12999 SAN PABLO AVE                 BLUE SPRINGS, MO 64013

2. 3049    GENERAL OFF-BILL AND ON-                  7/20/2021       CCOTH_01190                 GOLDEN LAND DEVELOPMENT INC -       46560 FREMONT BLVD. STE #105
           BILLFINANCING LOAN AGREEMENT                                                          945-975 MCLAUGHLIN A                FREMONT, CA 94538

2. 3050    AGRICULTURAL CALCULATED                   Not Stated      CCOTH_00040                 GOLDEN VALLEY GRAPE JUICE & WINE    11767 ROAD 27 1/2
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                         MADERA, CA 93637
           PROGRAM

2. 3051    AGRICULTURAL CALCULATED                   Not Stated      CCOTH_00041                 GOLDEN VALLEY GRAPE JUICE & WINE    11767 ROAD 27 1/2
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                         MADERA, CA 93637
           PROGRAM

2. 3052    GENERAL OFF-BILL AND ON-                  9/17/2019       CCOTH_02363                 GOLDFIRE CORPORATION DBA METRO      1111 WEST EL CAMINO REAL,
           BILLFINANCING LOAN AGREEMENT                                                          CASEWORKS                           SUITE 135
                                                                                                                                     SUNNYVALE, CA 94087

2. 3053    GENERAL OFF-BILL AND ON-                  10/11/2019      CCOTH_01531                 GONG & GONG INC                     2121 N. DINUBA BLVD. SUITE J
           BILLFINANCING LOAN AGREEMENT                                                                                              VISALIA, CA 93291

2. 3054    GENERAL OFF-BILL AND ON-                   2/7/2021       CCOTH_03151                 GONG OW & KONG TRADING CO - 1275    877 CEDAR STREET, SUITE 240
           BILLFINANCING LOAN AGREEMENT                                                          S MAIN ST                           SANTA CRUZ, CA 95060

2. 3055    GENERAL OFF-BILL AND ON-                  10/21/2018      CCOTH_01654                 GONGCO PROPERTIES                   2121 DINUBA BLVD., SUITE J
           BILLFINANCING LOAN AGREEMENT                                                                                              VISALIA, CA 93291

2. 3056    GENERAL OFF-BILL AND ON-                  2/28/2019       CCOTH_01884                 GONGS MARKET                        1825 ACADEMY AVENUE
           BILLFINANCING LOAN AGREEMENT                                                                                              SANGER, CA 93657



                                                                      Page 309 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35               Page 310
                                                                                of 649
Pacific Gas and Electric Company                                                                                                     Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 3057    GENERAL OFF-BILL AND ON-                   7/7/2020       CCOTH_03239                 GONSALVES & SANTUCCI INC - 2500      2430 AMERICA AVE
           BILLFINANCING LOAN AGREEMENT                                                          DEAN LESHER DR                       HAYWARD, CA 94545

2. 3058    GENERAL OFF-BILL AND ON-                  2/11/2021       CCOTH_03240                 GONSALVES & SANTUCCI INC - 4701      2430 AMERICA AVE
           BILLFINANCING LOAN AGREEMENT                                                          INDUSTRIAL WAY                       HAYWARD, CA 94545

2. 3059    GENERAL OFF-BILL AND ON-                   6/7/2020       CCOTH_03231                 GONSALVES & SANTUCCI, INC. - 5060    2430 AMERICA AVE
           BILLFINANCING LOAN AGREEMENT                                                          FORNI DR                             HAYWARD, CA 94545

2. 3060    GENERAL OFF-BILL AND ON-                   6/7/2020       CCOTH_03238                 GONSALVES & SANTUCCI, INC. - 5099    2430 AMERICA AVE
           BILLFINANCING LOAN AGREEMENT                                                          COMMERCIAL CIR                       HAYWARD, CA 94545

2. 3061    GENERAL OFF-BILL AND ON-                  10/9/2028       CCOTH_02906                 GONZALES USD - FAIRVIEW MIDDLE       27611 LA PAZ RD., SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                          SCHOOL                               LAGUNA NIGUEL, CA 92677

2. 3062    GENERAL OFF-BILL AND ON-                  10/9/2028       CCOTH_02997                 GONZALES USD - LA GLORIA             27611 LA PAZ RD., SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                          ELEMENTARY                           LAGUNA NIGUEL, CA 92677

2. 3063    GENERAL OFF-BILL AND ON-                  6/28/2020       CCOTH_02591                 GOOD BROTHERS FLOORING - 2217        3330 SWETZER RD
           BILLFINANCING LOAN AGREEMENT                                                          SUNSET BLVD STE 705                  LOOMIS, CA 95650

2. 3064    GENERAL OFF-BILL AND ON-                  11/9/2022       CCOTH_02816                 GOOD SAMARITAN COMMUNITY             PO BOX 23803
           BILLFINANCING LOAN AGREEMENT                                                          CHURCH - 4684 BALDWIN ST             SAN JOSE, CA 95153

2. 3065    SINGLE-FAMILY AFFORDABLE SOLAR            Not Stated      CCOTH_03585                 GOODMAN,LUCAS                        1126 4TH ST
           HOMES (SASH)                                                                                                                RODEO, CA 94572

2. 3066    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03327                 GOOGLE INC.                          1600 AMPHITHEATRE PARKWAY
           BY DESIGN SYSTEMS                                                                                                          MOUNTAIN VIEW,, CA 94043

2. 3067    AGRICULTURAL CALCULATED                   Not Stated      CCOTH_00049                 GORDON BIERSCH BREWING COMPANY 357 E TAYLOR ST
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                    SAN JOSE, CA 95112
           PROGRAM

2. 3068    UNIVERSITY OF                             Not Stated      CCOTH_03673                 GORDON PRILL, INC.                   301 E CARIBBEAN DR
           CALIFORNIA/CALIFORNIA STATE                                                                                                SUNNYVALE, CA 94089
           UNIVERSITY - SBD WHOLE BUILDING




                                                                      Page 310 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                 Page 311
                                                                                of 649
Pacific Gas and Electric Company                                                                                                     Case Number:        19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 3069    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03336                 GOULD EVANS                          95 BRADY STREET
           BY DESIGN WHOLE BUILDING                                                                                                   BERKELEY, CA 94103

2. 3070    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03437                 GOULD EVANS                          95 BRADY STREET
           BY DESIGN WHOLE BUILDING                                                                                                   SAN FRANCISCO, CA 94103

2. 3071    GENERAL OFF-BILL AND ON-                  6/23/2020       CCOTH_01984                 GOYENETCHE,ALBERT                    5829 PANAMA LANE
           BILLFINANCING LOAN AGREEMENT                                                                                               BAKERSFIELD, CA 93307

2. 3072    GENERAL OFF-BILL AND ON-                  1/15/2020       CCOTH_02100                 GRACE LUTHERAN CHURCH - 2650         877 CEDAR STREET, SUITE 240
           BILLFINANCING LOAN AGREEMENT                                                          ABORN RD                             SANTA CRUZ, CA 95060

2. 3073    GENERAL OFF-BILL AND ON-                  12/27/2020      CCOTH_02353                 GRANADA FUEL & FOOD INC - 12754 S    4470 YANKEE HILL ROAD, SUITE
           BILLFINANCING LOAN AGREEMENT                                                          HIGHWAY 33 #B                        120
                                                                                                                                      ROCKLIN, CA 95677

2. 3074    GENERAL OFF-BILL AND ON-                  8/11/2020       CCOTH_03182                 GRANITE CONSTRUCTION COMPANY -       PO BOX 505
           BILLFINANCING LOAN AGREEMENT                                                          10500 S HARLAN RD                    JACKSON, CA 95642

2. 3075    GENERAL OFF-BILL AND ON-                  11/19/2020      CCOTH_02605                 GRANITE CONSTRUCTION COMPANY -       6644 N HIGHLAND
           BILLFINANCING LOAN AGREEMENT                                                          1544 STANLEY BLVD                    CLOVIS, CA 93619

2. 3076    GENERAL OFF-BILL AND ON-                  11/8/2020       CCOTH_03126                 GRANITE CONSTRUCTION COMPANY -       6644 N HIGHLAND
           BILLFINANCING LOAN AGREEMENT                                                          25485 IVERSON ROAD                   CLOVIS, CA 93619

2. 3077    GENERAL OFF-BILL AND ON-                  11/30/2018      CCOTH_02152                 GRANITE CONSTRUCTION COMPANY -       PO BOX 446
           BILLFINANCING LOAN AGREEMENT                                                          2716 GRANITE CT                      FRESNO, CA 93709

2. 3078    GENERAL OFF-BILL AND ON-                   5/9/2021       CCOTH_02820                 GRANITE CONSTRUCTION COMPANY -       6644 N. HIGHLAND
           BILLFINANCING LOAN AGREEMENT                                                          37400 S BIRD RD                      CLOVIS, CA 93619

2. 3079    GENERAL OFF-BILL AND ON-                  4/17/2023       CCOTH_02863                 GRANITE CONSTRUCTION COMPANY -       6644 N. HIGHLAND
           BILLFINANCING LOAN AGREEMENT                                                          4201 N STATE ST                      CLOVIS, CA 93619

2. 3080    GENERAL OFF-BILL AND ON-                  12/9/2020       CCOTH_02864                 GRANITE CONSTRUCTION COMPANY -       6644 N. HIGHLAND
           BILLFINANCING LOAN AGREEMENT                                                          4220 HIGHWAY 175                     CLOVIS, CA 93619

2. 3081    GENERAL OFF-BILL AND ON-                   2/7/2021       CCOTH_01218                 GRANITE CONSTRUCTION COMPANY -       6644 N. HIGHLAND
           BILLFINANCING LOAN AGREEMENT                                                          721 WORK ST                          CLOVIS, CA 93619

                                                                      Page 311 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                 Page 312
                                                                                of 649
Pacific Gas and Electric Company                                                                                                      Case Number:        19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                   Address
                                                    or Remaining
                                                        Term


2. 3082    GENERAL OFF-BILL AND ON-                  12/4/2022       CCOTH_01142                 GRANITE CONSTRUCTION COMPANY-         6644 N. HIGHLAND
           BILLFINANCING LOAN AGREEMENT                                                          15491 COUNTY ROAD 85                  CLOVIS, CA 93619

2. 3083    GENERAL OFF-BILL AND ON-                   2/4/2022       CCOTH_01141                 GRANITE CONSTRUCTION COMPANY-         6644 N. HIGHLAND
           BILLFINANCING LOAN AGREEMENT                                                          15560 COUNTY ROAD 87                  CLOVIS, CA 93619

2. 3084    REAL PROPERTY LEASE - NAPA                4/30/2023       CCCRSLS_000                 GRANITE CREEK APARTMENTS INC.         GRANITE CREEK APARTMENTS
           CUSTOMER SERVICE OFFICE                                       51                                                            INC.
                                                                                                                                       1850 SOSCOL AVENUE STE 207
                                                                                                                                       NAPA, CA 94559

2. 3085    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00906                 GRANT SHIMABUKURO                     29 W JULIAN STREET
                                                                                                                                       SAN JOSE 95110

2. 3086    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01129                 GRANT SHIMABUKURO                     100 N WHISMAN ROAD
                                                                                                                                       MOUNTAIN VIEW 94043

2. 3087    GENERAL OFF-BILL AND ON-                  11/30/2021      CCOTH_01209                 GRANVILLE HOMES - 1306 W HERNDON      4637 S. EAST AVE
           BILLFINANCING LOAN AGREEMENT                                                          AVE STE 108                           FRESNO, CA 93725

2. 3088    GENERAL OFF-BILL AND ON-                  10/28/2020      CCOTH_01274                 GRANVILLE HOMES INC - 1396 W          4637 S. EAST AVE.
           BILLFINANCING LOAN AGREEMENT                                                          HERNDON AVE                           FRESNO, CA 93725

2. 3089    GENERAL OFF-BILL AND ON-                  5/23/2021       CCOTH_02013                 GRASS VALLEY CONNECTION INC - 729     2280 GRASS VALLEY HWY #302
           BILLFINANCING LOAN AGREEMENT                                                          TAYLORVILLE RD                        AUBURN, CA 95603

2. 3090    GENERAL OFF-BILL AND ON-                  12/29/2019      CCOTH_02351                 GRASS VALLEY CONNECTION INC DBA       877 CEDAR ST. STE 240
           BILLFINANCING LOAN AGREEMENT                                                          CARL'S JR 729                         SANTA CRUZ, CA 95060

2. 3091    GENERAL OFF-BILL AND ON-                  3/15/2020       CCOTH_02889                 GRASS VALLEY TRAINING ZONE, INC. -    722 FREEMAN LN, STE A
           BILLFINANCING LOAN AGREEMENT                                                          722 FREEMAN LN                        GRASS VALLEY, CA 95949

2. 3092    WATER/SEWER AGREEMENT                     Not Stated      CCCRSOT_000                 GRASS VALLEY, CITY OF                 CITY OF GRASS VALLEY
                                                                         80                                                            125 E MAIN ST
                                                                                                                                       GRASS VALLEY, CA 95945

2. 3093    GENERAL OFF-BILL AND ON-                   2/6/2020       CCOTH_01890                 GREALISH CONSTRUCTION INC - 6045      685 COCHRAN STREET, SUITE 200
           BILLFINANCING LOAN AGREEMENT                                                          ROSEDALE HWY                          SIMI VALLEY, CA 93065



                                                                      Page 312 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                 Page 313
                                                                                of 649
Pacific Gas and Electric Company                                                                                                   Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 3094    GENERAL OFF-BILL AND ON-                  1/25/2021       CCOTH_02422                 GREAT AMERICAN MERCANTILE CO       2125 WOODBINE AVE
           BILLFINANCING LOAN AGREEMENT                                                          INC - 2364-66 MISSION              OAKLAND, CA 94602

2. 3095    WATER AGREEMENT                           Not Stated      CCCRSOT_000                 GREAT OAKS WATER CO                GREAT OAKS WATER CO
                                                                         81                                                         20 GREAT OAKS BLVD STE 120
                                                                                                                                    SAN JOSE, CA 95119

2. 3096    SELF-GENERATION INCENTIVE                 Not Stated      CCOTH_03499                 GREEN AIR HEATING AND AIR          4065 STONE VALLEY OAKS DR.
           PROGRAM                                                                               CONDITIONING                        ALAMO, CA 94507

2. 3097    SPONSORSHIP OF THE GREEN BUTTON           2/28/2019       CCOTH_00006                 GREEN BUTTON ALLIANCE              GREEN BUTTON ALLIANCE
           ALLIANCE                                                                                                                 PO BOX 268
                                                                                                                                    JAMISON, PA

2. 3098    GENERAL OFF-BILL AND ON-                  9/16/2022       CCOTH_03211                 GREEN VALLEY ENTERPRISES, INC -    P.O. BOX 1153
           BILLFINANCING LOAN AGREEMENT                                                          701 MILLER ST                      SOULSBYVILLE, CA 95372

2. 3099    GENERAL OFF-BILL AND ON-                  8/13/2022       CCOTH_02919                 GREENES CLEANERS INC - 1660        1660 SILVERADO TRAIL
           BILLFINANCING LOAN AGREEMENT                                                          SILVERADO TRL                      NAPA, CA 94559

2. 3100    GENERAL OFF-BILL AND ON-                  11/13/2023      CCOTH_02920                 GREENES CLEANERS INC - 2842        1660 SILVERADO TRAIL
           BILLFINANCING LOAN AGREEMENT                                                          JEFFERSON ST                       NAPA, CA 94559

2. 3101    GARBAGE/RECYCLING AGREEMENT               Not Stated      CCCRSOT_000                 GREENWASTE OF TEHAMA               WASTE CONNECTIONS OF CA
                                                                         82                                                         INCORPORATE, GREEN WASTE OF
                                                                                                                                    TEHAMA,
                                                                                                                                    1805 AIRPORT BLVD
                                                                                                                                    RED BLUFF, CA 96080

2. 3102    GARBAGE/RECYCLING/COMPOST                 Not Stated      CCCRSOT_000                 GREENWASTE RECOVERY                GREENWASTE RECOVERY INC
           AGREEMENT                                                     83                                                         1500 BERGER DR
                                                                                                                                    SAN JOSE, CA

2. 3103    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00845                 GREG KLEIN                         3945 HARRISON STREET
                                                                                                                                    OAKLAND 94611

2. 3104    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00704                 GREG MILLS                         701 E. EL CAMINO REAL
                                                                                                                                    MOUNTAIN VIEW 94040




                                                                      Page 313 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 314
                                                                                of 649
Pacific Gas and Electric Company                                                                                                      Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                   Address
                                                    or Remaining
                                                        Term


2. 3105    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00900                 GREG MILLS                            301 INDUSTRIAL ROAD
                                                                                                                                       SAN CARLOS 94070

2. 3106    COMMERCIAL CALCULATED                     Not Stated      CCOTH_00106                 GREG OVERSTREET                       2233 GRANT ST. #13
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                           BERKELEY, CA 94703
           PROGRAM

2. 3107    GENERAL OFF-BILL AND ON-                  8/29/2019       CCOTH_01451                 GREG TCHERKOYAN                       12820 EARHART AVE.
           BILLFINANCING LOAN AGREEMENT                                                                                                AUBURN, CA 95602

2. 3108    GENERAL OFF-BILL AND ON-                  3/29/2020       CCOTH_01452                 GREG TCHERKOYAN                       12820 EARHART AVE.
           BILLFINANCING LOAN AGREEMENT                                                                                                AUBURN, CA 95602

2. 3109    GENERAL OFF-BILL AND ON-                  1/24/2022       CCOTH_01399                 GREWAL,PARMINDER DBA TERRA            10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          LINDA 76 & PRO                        SANTA FE SPRINGS, CA 90670

2. 3110    GENERAL OFF-BILL AND ON-                   2/2/2023       CCOTH_01271                 GRIFFIN HALL ST JOACHIM'S CHURCH -    1550 S. FRESNO ST
           BILLFINANCING LOAN AGREEMENT                                                          201 N C ST                            FRESNO, CA 93703

2. 3111    GENERAL OFF-BILL AND ON-                  3/19/2021       CCOTH_01627                 GRIFFIN MOTORWERKE                    637 LINDARO ST, STE 201
           BILLFINANCING LOAN AGREEMENT                                                                                                SAN RAFAEL, CA 94901

2. 3112    GENERAL OFF-BILL AND ON-                  8/11/2019       CCOTH_01185                 GRIFFON VENTURES INC - 640            3479 NW YEON AVE
           BILLFINANCING LOAN AGREEMENT                                                          BROADWAY ST                           PORTLAND, OR 97210

2. 3113    GENERAL OFF-BILL AND ON-                  11/7/2022       CCOTH_02397                 GROCERY ONE INC - 2150 HERITAGE       120 MAIN AVE, SUITE 1A
           BILLFINANCING LOAN AGREEMENT                                                          LOOP RD                               SACRAMENTO, CA 95838

2. 3114    GENERAL OFF-BILL AND ON-                  1/12/2021       CCOTH_02473                 GRUNDFOS CBS INC - 25568              10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          SEABOARD LN                           SANTA FE SPRINGS, CA 90670

2. 3115    GENERAL OFF-BILL AND ON-                  12/12/2021      CCOTH_01317                 GRUNSKY EBEY FARRAR & HOWELL -        804 ESTATES DR STE 202
           BILLFINANCING LOAN AGREEMENT                                                          240 WESTGATE DR                       APTOS, CA 95003

2. 3116    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03416                 GSW ARENA LLC                         1011 BROADWAY
           BY DESIGN WHOLE BUILDING                                                                                                    OAKLAND, CA 94607




                                                                      Page 314 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 315
                                                                                of 649
Pacific Gas and Electric Company                                                                                                   Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                              Address
                                                     or Remaining
                                                         Term


2. 3117    LICENSE FOR INDIVIDUAL SITE             5/19/2034, unless    CCNRD_01230                 GTE MOBILNET OF CALIFORNIA      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER MASTER                   terminated earlier                               LIMITED PARTNERSHIP             ATTN: NETWORK REAL ESTATE
           AGREEMENT FOR STREET LIGHT AND                                                                                           180 WASHINGTON VALLEY ROAD
           ELECTRIC DISTRIBUTION POLE                                                                                               BEDMINSTER, NJ 7921
           ATTACHMENTS WITH GTE MOBILNET OF
           CALIFORNIA LIMITED PARTNERSHIP
           DATED JULY 14, 2009

2. 3118    LICENSE FOR INDIVIDUAL SITE             5/19/2034, unless    CCNRD_01231                 GTE MOBILNET OF CALIFORNIA      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER MASTER                   terminated earlier                               LIMITED PARTNERSHIP             ATTN: NETWORK REAL ESTATE
           AGREEMENT FOR STREET LIGHT AND                                                                                           180 WASHINGTON VALLEY ROAD
           ELECTRIC DISTRIBUTION POLE                                                                                               BEDMINSTER, NJ 7921
           ATTACHMENTS WITH GTE MOBILNET OF
           CALIFORNIA LIMITED PARTNERSHIP
           DATED JULY 14, 2009

2. 3119    LICENSE FOR INDIVIDUAL SITE             5/19/2034, unless    CCNRD_01232                 GTE MOBILNET OF CALIFORNIA      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER MASTER                   terminated earlier                               LIMITED PARTNERSHIP             ATTN: NETWORK REAL ESTATE
           AGREEMENT FOR STREET LIGHT AND                                                                                           180 WASHINGTON VALLEY ROAD
           ELECTRIC DISTRIBUTION POLE                                                                                               BEDMINSTER, NJ 7921
           ATTACHMENTS WITH GTE MOBILNET OF
           CALIFORNIA LIMITED PARTNERSHIP
           DATED JULY 14, 2009

2. 3120    LICENSE FOR INDIVIDUAL SITE             5/19/2034, unless    CCNRD_01233                 GTE MOBILNET OF CALIFORNIA      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER MASTER                   terminated earlier                               LIMITED PARTNERSHIP             ATTN: NETWORK REAL ESTATE
           AGREEMENT FOR STREET LIGHT AND                                                                                           180 WASHINGTON VALLEY ROAD
           ELECTRIC DISTRIBUTION POLE                                                                                               BEDMINSTER, NJ 7921
           ATTACHMENTS WITH GTE MOBILNET OF
           CALIFORNIA LIMITED PARTNERSHIP
           DATED JULY 14, 2009

2. 3121    LICENSE FOR INDIVIDUAL SITE             5/19/2034, unless    CCNRD_01234                 GTE MOBILNET OF CALIFORNIA      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER MASTER                   terminated earlier                               LIMITED PARTNERSHIP             ATTN: NETWORK REAL ESTATE
           AGREEMENT FOR STREET LIGHT AND                                                                                           180 WASHINGTON VALLEY ROAD
           ELECTRIC DISTRIBUTION POLE                                                                                               BEDMINSTER, NJ 7921
           ATTACHMENTS WITH GTE MOBILNET OF
           CALIFORNIA LIMITED PARTNERSHIP
           DATED JULY 14, 2009




                                                                         Page 315 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35               Page 316
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                   Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                              Address
                                                     or Remaining
                                                         Term


2. 3122    LICENSE FOR INDIVIDUAL SITE             5/19/2034, unless    CCNRD_01235                 GTE MOBILNET OF CALIFORNIA      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER MASTER                   terminated earlier                               LIMITED PARTNERSHIP             ATTN: NETWORK REAL ESTATE
           AGREEMENT FOR STREET LIGHT AND                                                                                           180 WASHINGTON VALLEY ROAD
           ELECTRIC DISTRIBUTION POLE                                                                                               BEDMINSTER, NJ 7921
           ATTACHMENTS WITH GTE MOBILNET OF
           CALIFORNIA LIMITED PARTNERSHIP
           DATED JULY 14, 2009

2. 3123    LICENSE FOR INDIVIDUAL SITE             5/19/2034, unless    CCNRD_01236                 GTE MOBILNET OF CALIFORNIA      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER MASTER                   terminated earlier                               LIMITED PARTNERSHIP             ATTN: NETWORK REAL ESTATE
           AGREEMENT FOR STREET LIGHT AND                                                                                           180 WASHINGTON VALLEY ROAD
           ELECTRIC DISTRIBUTION POLE                                                                                               BEDMINSTER, NJ 7921
           ATTACHMENTS WITH GTE MOBILNET OF
           CALIFORNIA LIMITED PARTNERSHIP
           DATED JULY 14, 2009

2. 3124    LICENSE FOR INDIVIDUAL SITE             5/19/2034, unless    CCNRD_01237                 GTE MOBILNET OF CALIFORNIA      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER MASTER                   terminated earlier                               LIMITED PARTNERSHIP             ATTN: NETWORK REAL ESTATE
           AGREEMENT FOR STREET LIGHT AND                                                                                           180 WASHINGTON VALLEY ROAD
           ELECTRIC DISTRIBUTION POLE                                                                                               BEDMINSTER, NJ 7921
           ATTACHMENTS WITH GTE MOBILNET OF
           CALIFORNIA LIMITED PARTNERSHIP
           DATED JULY 14, 2009

2. 3125    LICENSE FOR INDIVIDUAL SITE             5/19/2034, unless    CCNRD_01238                 GTE MOBILNET OF CALIFORNIA      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER MASTER                   terminated earlier                               LIMITED PARTNERSHIP             ATTN: NETWORK REAL ESTATE
           AGREEMENT FOR STREET LIGHT AND                                                                                           180 WASHINGTON VALLEY ROAD
           ELECTRIC DISTRIBUTION POLE                                                                                               BEDMINSTER, NJ 7921
           ATTACHMENTS WITH GTE MOBILNET OF
           CALIFORNIA LIMITED PARTNERSHIP
           DATED JULY 14, 2009

2. 3126    LICENSE FOR INDIVIDUAL SITE             5/19/2034, unless    CCNRD_01239                 GTE MOBILNET OF CALIFORNIA      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER MASTER                   terminated earlier                               LIMITED PARTNERSHIP             ATTN: NETWORK REAL ESTATE
           AGREEMENT FOR STREET LIGHT AND                                                                                           180 WASHINGTON VALLEY ROAD
           ELECTRIC DISTRIBUTION POLE                                                                                               BEDMINSTER, NJ 7921
           ATTACHMENTS WITH GTE MOBILNET OF
           CALIFORNIA LIMITED PARTNERSHIP
           DATED JULY 14, 2009




                                                                         Page 316 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35               Page 317
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                   Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                              Address
                                                     or Remaining
                                                         Term


2. 3127    LICENSE FOR INDIVIDUAL SITE             5/19/2034, unless    CCNRD_01240                 GTE MOBILNET OF CALIFORNIA      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER MASTER                   terminated earlier                               LIMITED PARTNERSHIP             ATTN: NETWORK REAL ESTATE
           AGREEMENT FOR STREET LIGHT AND                                                                                           180 WASHINGTON VALLEY ROAD
           ELECTRIC DISTRIBUTION POLE                                                                                               BEDMINSTER, NJ 7921
           ATTACHMENTS WITH GTE MOBILNET OF
           CALIFORNIA LIMITED PARTNERSHIP
           DATED JULY 14, 2009

2. 3128    LICENSE FOR INDIVIDUAL SITE             5/19/2034, unless    CCNRD_01241                 GTE MOBILNET OF CALIFORNIA      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER MASTER                   terminated earlier                               LIMITED PARTNERSHIP             ATTN: NETWORK REAL ESTATE
           AGREEMENT FOR STREET LIGHT AND                                                                                           180 WASHINGTON VALLEY ROAD
           ELECTRIC DISTRIBUTION POLE                                                                                               BEDMINSTER, NJ 7921
           ATTACHMENTS WITH GTE MOBILNET OF
           CALIFORNIA LIMITED PARTNERSHIP
           DATED JULY 14, 2009

2. 3129    LICENSE FOR INDIVIDUAL SITE             5/19/2034, unless    CCNRD_01242                 GTE MOBILNET OF CALIFORNIA      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER MASTER                   terminated earlier                               LIMITED PARTNERSHIP             ATTN: NETWORK REAL ESTATE
           AGREEMENT FOR STREET LIGHT AND                                                                                           180 WASHINGTON VALLEY ROAD
           ELECTRIC DISTRIBUTION POLE                                                                                               BEDMINSTER, NJ 7921
           ATTACHMENTS WITH GTE MOBILNET OF
           CALIFORNIA LIMITED PARTNERSHIP
           DATED JULY 14, 2009

2. 3130    LICENSE FOR INDIVIDUAL SITE             5/19/2034, unless    CCNRD_01243                 GTE MOBILNET OF CALIFORNIA      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER MASTER                   terminated earlier                               LIMITED PARTNERSHIP             ATTN: NETWORK REAL ESTATE
           AGREEMENT FOR STREET LIGHT AND                                                                                           180 WASHINGTON VALLEY ROAD
           ELECTRIC DISTRIBUTION POLE                                                                                               BEDMINSTER, NJ 7921
           ATTACHMENTS WITH GTE MOBILNET OF
           CALIFORNIA LIMITED PARTNERSHIP
           DATED JULY 14, 2009

2. 3131    LICENSE FOR INDIVIDUAL SITE             5/19/2034, unless    CCNRD_01244                 GTE MOBILNET OF CALIFORNIA      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER MASTER                   terminated earlier                               LIMITED PARTNERSHIP             ATTN: NETWORK REAL ESTATE
           AGREEMENT FOR STREET LIGHT AND                                                                                           180 WASHINGTON VALLEY ROAD
           ELECTRIC DISTRIBUTION POLE                                                                                               BEDMINSTER, NJ 7921
           ATTACHMENTS WITH GTE MOBILNET OF
           CALIFORNIA LIMITED PARTNERSHIP
           DATED JULY 14, 2009




                                                                         Page 317 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35               Page 318
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                   Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                              Address
                                                     or Remaining
                                                         Term


2. 3132    LICENSE FOR INDIVIDUAL SITE             5/19/2034, unless    CCNRD_01245                 GTE MOBILNET OF CALIFORNIA      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER MASTER                   terminated earlier                               LIMITED PARTNERSHIP             ATTN: NETWORK REAL ESTATE
           AGREEMENT FOR STREET LIGHT AND                                                                                           180 WASHINGTON VALLEY ROAD
           ELECTRIC DISTRIBUTION POLE                                                                                               BEDMINSTER, NJ 7921
           ATTACHMENTS WITH GTE MOBILNET OF
           CALIFORNIA LIMITED PARTNERSHIP
           DATED JULY 14, 2009

2. 3133    LICENSE FOR INDIVIDUAL SITE             5/19/2034, unless    CCNRD_01246                 GTE MOBILNET OF CALIFORNIA      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER MASTER                   terminated earlier                               LIMITED PARTNERSHIP             ATTN: NETWORK REAL ESTATE
           AGREEMENT FOR STREET LIGHT AND                                                                                           180 WASHINGTON VALLEY ROAD
           ELECTRIC DISTRIBUTION POLE                                                                                               BEDMINSTER, NJ 7921
           ATTACHMENTS WITH GTE MOBILNET OF
           CALIFORNIA LIMITED PARTNERSHIP
           DATED JULY 14, 2009

2. 3134    LICENSE FOR INDIVIDUAL SITE             5/19/2034, unless    CCNRD_01247                 GTE MOBILNET OF CALIFORNIA      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER MASTER                   terminated earlier                               LIMITED PARTNERSHIP             ATTN: NETWORK REAL ESTATE
           AGREEMENT FOR STREET LIGHT AND                                                                                           180 WASHINGTON VALLEY ROAD
           ELECTRIC DISTRIBUTION POLE                                                                                               BEDMINSTER, NJ 7921
           ATTACHMENTS WITH GTE MOBILNET OF
           CALIFORNIA LIMITED PARTNERSHIP
           DATED JULY 14, 2009

2. 3135    LICENSE FOR INDIVIDUAL SITE             5/19/2034, unless    CCNRD_01248                 GTE MOBILNET OF CALIFORNIA      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER MASTER                   terminated earlier                               LIMITED PARTNERSHIP             ATTN: NETWORK REAL ESTATE
           AGREEMENT FOR STREET LIGHT AND                                                                                           180 WASHINGTON VALLEY ROAD
           ELECTRIC DISTRIBUTION POLE                                                                                               BEDMINSTER, NJ 7921
           ATTACHMENTS WITH GTE MOBILNET OF
           CALIFORNIA LIMITED PARTNERSHIP
           DATED JULY 14, 2009

2. 3136    LICENSE FOR INDIVIDUAL SITE             5/19/2034, unless    CCNRD_01249                 GTE MOBILNET OF CALIFORNIA      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER MASTER                   terminated earlier                               LIMITED PARTNERSHIP             ATTN: NETWORK REAL ESTATE
           AGREEMENT FOR STREET LIGHT AND                                                                                           180 WASHINGTON VALLEY ROAD
           ELECTRIC DISTRIBUTION POLE                                                                                               BEDMINSTER, NJ 7921
           ATTACHMENTS WITH GTE MOBILNET OF
           CALIFORNIA LIMITED PARTNERSHIP
           DATED JULY 14, 2009




                                                                         Page 318 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35               Page 319
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                   Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                              Address
                                                     or Remaining
                                                         Term


2. 3137    LICENSE FOR INDIVIDUAL SITE             5/19/2034, unless    CCNRD_01250                 GTE MOBILNET OF CALIFORNIA      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER MASTER                   terminated earlier                               LIMITED PARTNERSHIP             ATTN: NETWORK REAL ESTATE
           AGREEMENT FOR STREET LIGHT AND                                                                                           180 WASHINGTON VALLEY ROAD
           ELECTRIC DISTRIBUTION POLE                                                                                               BEDMINSTER, NJ 7921
           ATTACHMENTS WITH GTE MOBILNET OF
           CALIFORNIA LIMITED PARTNERSHIP
           DATED JULY 14, 2009

2. 3138    LICENSE FOR INDIVIDUAL SITE             5/19/2034, unless    CCNRD_01251                 GTE MOBILNET OF CALIFORNIA      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER MASTER                   terminated earlier                               LIMITED PARTNERSHIP             ATTN: NETWORK REAL ESTATE
           AGREEMENT FOR STREET LIGHT AND                                                                                           180 WASHINGTON VALLEY ROAD
           ELECTRIC DISTRIBUTION POLE                                                                                               BEDMINSTER, NJ 7921
           ATTACHMENTS WITH GTE MOBILNET OF
           CALIFORNIA LIMITED PARTNERSHIP
           DATED JULY 14, 2009

2. 3139    LICENSE FOR INDIVIDUAL SITE             5/19/2034, unless    CCNRD_01252                 GTE MOBILNET OF CALIFORNIA      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER MASTER                   terminated earlier                               LIMITED PARTNERSHIP             ATTN: NETWORK REAL ESTATE
           AGREEMENT FOR STREET LIGHT AND                                                                                           180 WASHINGTON VALLEY ROAD
           ELECTRIC DISTRIBUTION POLE                                                                                               BEDMINSTER, NJ 7921
           ATTACHMENTS WITH GTE MOBILNET OF
           CALIFORNIA LIMITED PARTNERSHIP
           DATED JULY 14, 2009

2. 3140    LICENSE FOR INDIVIDUAL SITE             5/19/2034, unless    CCNRD_01253                 GTE MOBILNET OF CALIFORNIA      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER MASTER                   terminated earlier                               LIMITED PARTNERSHIP             ATTN: NETWORK REAL ESTATE
           AGREEMENT FOR STREET LIGHT AND                                                                                           180 WASHINGTON VALLEY ROAD
           ELECTRIC DISTRIBUTION POLE                                                                                               BEDMINSTER, NJ 7921
           ATTACHMENTS WITH GTE MOBILNET OF
           CALIFORNIA LIMITED PARTNERSHIP
           DATED JULY 14, 2009

2. 3141    LICENSE FOR INDIVIDUAL SITE             5/19/2034, unless    CCNRD_01254                 GTE MOBILNET OF CALIFORNIA      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER MASTER                   terminated earlier                               LIMITED PARTNERSHIP             ATTN: NETWORK REAL ESTATE
           AGREEMENT FOR STREET LIGHT AND                                                                                           180 WASHINGTON VALLEY ROAD
           ELECTRIC DISTRIBUTION POLE                                                                                               BEDMINSTER, NJ 7921
           ATTACHMENTS WITH GTE MOBILNET OF
           CALIFORNIA LIMITED PARTNERSHIP
           DATED JULY 14, 2009




                                                                         Page 319 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35               Page 320
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                   Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                              Address
                                                     or Remaining
                                                         Term


2. 3142    LICENSE FOR INDIVIDUAL SITE             5/19/2034, unless    CCNRD_01255                 GTE MOBILNET OF CALIFORNIA      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER MASTER                   terminated earlier                               LIMITED PARTNERSHIP             ATTN: NETWORK REAL ESTATE
           AGREEMENT FOR STREET LIGHT AND                                                                                           180 WASHINGTON VALLEY ROAD
           ELECTRIC DISTRIBUTION POLE                                                                                               BEDMINSTER, NJ 7921
           ATTACHMENTS WITH GTE MOBILNET OF
           CALIFORNIA LIMITED PARTNERSHIP
           DATED JULY 14, 2009

2. 3143    LICENSE FOR INDIVIDUAL SITE             5/19/2034, unless    CCNRD_01256                 GTE MOBILNET OF CALIFORNIA      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER MASTER                   terminated earlier                               LIMITED PARTNERSHIP             ATTN: NETWORK REAL ESTATE
           AGREEMENT FOR STREET LIGHT AND                                                                                           180 WASHINGTON VALLEY ROAD
           ELECTRIC DISTRIBUTION POLE                                                                                               BEDMINSTER, NJ 7921
           ATTACHMENTS WITH GTE MOBILNET OF
           CALIFORNIA LIMITED PARTNERSHIP
           DATED JULY 14, 2009

2. 3144    LICENSE FOR INDIVIDUAL SITE             5/19/2034, unless    CCNRD_01257                 GTE MOBILNET OF CALIFORNIA      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER MASTER                   terminated earlier                               LIMITED PARTNERSHIP             ATTN: NETWORK REAL ESTATE
           AGREEMENT FOR STREET LIGHT AND                                                                                           180 WASHINGTON VALLEY ROAD
           ELECTRIC DISTRIBUTION POLE                                                                                               BEDMINSTER, NJ 7921
           ATTACHMENTS WITH GTE MOBILNET OF
           CALIFORNIA LIMITED PARTNERSHIP
           DATED JULY 14, 2009

2. 3145    LICENSE FOR INDIVIDUAL SITE             5/19/2034, unless    CCNRD_01258                 GTE MOBILNET OF CALIFORNIA      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER MASTER                   terminated earlier                               LIMITED PARTNERSHIP             ATTN: NETWORK REAL ESTATE
           AGREEMENT FOR STREET LIGHT AND                                                                                           180 WASHINGTON VALLEY ROAD
           ELECTRIC DISTRIBUTION POLE                                                                                               BEDMINSTER, NJ 7921
           ATTACHMENTS WITH GTE MOBILNET OF
           CALIFORNIA LIMITED PARTNERSHIP
           DATED JULY 14, 2009

2. 3146    LICENSE FOR INDIVIDUAL SITE             5/19/2034, unless    CCNRD_01259                 GTE MOBILNET OF CALIFORNIA      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER MASTER                   terminated earlier                               LIMITED PARTNERSHIP             ATTN: NETWORK REAL ESTATE
           AGREEMENT FOR STREET LIGHT AND                                                                                           180 WASHINGTON VALLEY ROAD
           ELECTRIC DISTRIBUTION POLE                                                                                               BEDMINSTER, NJ 7921
           ATTACHMENTS WITH GTE MOBILNET OF
           CALIFORNIA LIMITED PARTNERSHIP
           DATED JULY 14, 2009




                                                                         Page 320 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35               Page 321
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                   Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                              Address
                                                     or Remaining
                                                         Term


2. 3147    LICENSE FOR INDIVIDUAL SITE                 7/31/2017        CCNRD_01260                 GTE MOBILNET OF CALIFORNIA      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER MASTER                                                                    LIMITED PARTNERSHIP             ATTN: NETWORK REAL ESTATE
           AGREEMENT FOR STREET LIGHT AND                                                                                           180 WASHINGTON VALLEY ROAD
           ELECTRIC DISTRIBUTION POLE                                                                                               BEDMINSTER, NJ 7921
           ATTACHMENTS WITH GTE MOBILNET OF
           CALIFORNIA LIMITED PARTNERSHIP
           DATED JULY 14, 2009

2. 3148    LICENSE FOR INDIVIDUAL SITE             5/19/2034, unless    CCNRD_01261                 GTE MOBILNET OF CALIFORNIA      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER MASTER                   terminated earlier                               LIMITED PARTNERSHIP             ATTN: NETWORK REAL ESTATE
           AGREEMENT FOR STREET LIGHT AND                                                                                           180 WASHINGTON VALLEY ROAD
           ELECTRIC DISTRIBUTION POLE                                                                                               BEDMINSTER, NJ 7921
           ATTACHMENTS WITH GTE MOBILNET OF
           CALIFORNIA LIMITED PARTNERSHIP
           DATED JULY 14, 2009

2. 3149    LICENSE FOR INDIVIDUAL SITE             5/19/2034, unless    CCNRD_01262                 GTE MOBILNET OF CALIFORNIA      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER MASTER                   terminated earlier                               LIMITED PARTNERSHIP             ATTN: NETWORK REAL ESTATE
           AGREEMENT FOR STREET LIGHT AND                                                                                           180 WASHINGTON VALLEY ROAD
           ELECTRIC DISTRIBUTION POLE                                                                                               BEDMINSTER, NJ 7921
           ATTACHMENTS WITH GTE MOBILNET OF
           CALIFORNIA LIMITED PARTNERSHIP
           DATED JULY 14, 2009

2. 3150    LICENSE FOR INDIVIDUAL SITE             5/19/2034, unless    CCNRD_01263                 GTE MOBILNET OF CALIFORNIA      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER MASTER                   terminated earlier                               LIMITED PARTNERSHIP             ATTN: NETWORK REAL ESTATE
           AGREEMENT FOR STREET LIGHT AND                                                                                           180 WASHINGTON VALLEY ROAD
           ELECTRIC DISTRIBUTION POLE                                                                                               BEDMINSTER, NJ 7921
           ATTACHMENTS WITH GTE MOBILNET OF
           CALIFORNIA LIMITED PARTNERSHIP
           DATED JULY 14, 2009

2. 3151    LICENSE FOR INDIVIDUAL SITE             5/19/2034, unless    CCNRD_01264                 GTE MOBILNET OF CALIFORNIA      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER MASTER                   terminated earlier                               LIMITED PARTNERSHIP             ATTN: NETWORK REAL ESTATE
           AGREEMENT FOR STREET LIGHT AND                                                                                           180 WASHINGTON VALLEY ROAD
           ELECTRIC DISTRIBUTION POLE                                                                                               BEDMINSTER, NJ 7921
           ATTACHMENTS WITH GTE MOBILNET OF
           CALIFORNIA LIMITED PARTNERSHIP
           DATED JULY 14, 2009




                                                                         Page 321 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35               Page 322
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                       Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                  Address
                                                     or Remaining
                                                         Term


2. 3152    LICENSE FOR INDIVIDUAL SITE             5/19/2034, unless    CCNRD_01265                 GTE MOBILNET OF CALIFORNIA          GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER MASTER                   terminated earlier                               LIMITED PARTNERSHIP                 ATTN: NETWORK REAL ESTATE
           AGREEMENT FOR STREET LIGHT AND                                                                                               180 WASHINGTON VALLEY ROAD
           ELECTRIC DISTRIBUTION POLE                                                                                                   BEDMINSTER, NJ 7921
           ATTACHMENTS WITH GTE MOBILNET OF
           CALIFORNIA LIMITED PARTNERSHIP
           DATED JULY 14, 2009

2. 3153    LICENSE FOR INDIVIDUAL SITE             5/19/2034, unless    CCNRD_01266                 GTE MOBILNET OF CALIFORNIA          GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER MASTER                   terminated earlier                               LIMITED PARTNERSHIP                 ATTN: NETWORK REAL ESTATE
           AGREEMENT FOR STREET LIGHT AND                                                                                               180 WASHINGTON VALLEY ROAD
           ELECTRIC DISTRIBUTION POLE                                                                                                   BEDMINSTER, NJ 7921
           ATTACHMENTS WITH GTE MOBILNET OF
           CALIFORNIA LIMITED PARTNERSHIP
           DATED JULY 14, 2009

2. 3154    MASTER AGREEMENT FOR ISSUANCE               5/19/2034        CCNRD_01229                 GTE MOBILNET OF CALIFORNIA          GTE MOBILNET OF CALIFORNIA,
           OF LICENSES TO                                                                           LIMITED PARTNERSHIP                 ATTN: NETWORK REAL ESTATE
           TELECOMMUNICATIONS CUSTOMER                                                                                                  180 WASHINGTON VALLEY ROAD
           FOR ATTACHMENTS OF ANTENNAS AND                                                                                              BEDMINSTER, NJ 7921
           RELATED EQUIPMENT

2. 3155    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00430                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3156    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00431                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3157    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00432                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997


                                                                         Page 322 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 323
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                       Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                  Address
                                                     or Remaining
                                                         Term


2. 3158    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00433                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3159    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00434                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3160    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00435                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3161    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00436                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3162    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00437                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3163    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00438                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997



                                                                         Page 323 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 324
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                       Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                  Address
                                                     or Remaining
                                                         Term


2. 3164    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00439                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3165    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00440                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3166    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00441                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3167    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00442                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3168    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00443                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3169    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00444                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997



                                                                         Page 324 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 325
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                       Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                  Address
                                                     or Remaining
                                                         Term


2. 3170    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00445                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3171    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00446                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3172    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00447                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3173    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00448                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3174    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00449                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3175    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00450                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997



                                                                         Page 325 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 326
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                       Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                  Address
                                                     or Remaining
                                                         Term


2. 3176    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00451                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3177    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00452                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3178    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00453                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3179    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00454                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3180    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00455                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3181    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00456                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997



                                                                         Page 326 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 327
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                       Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                  Address
                                                     or Remaining
                                                         Term


2. 3182    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00457                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3183    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00458                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3184    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00459                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3185    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00460                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3186    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00461                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3187    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00462                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997



                                                                         Page 327 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 328
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                       Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                  Address
                                                     or Remaining
                                                         Term


2. 3188    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00463                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3189    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00464                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3190    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00465                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3191    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00466                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3192    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00467                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3193    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00468                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997



                                                                         Page 328 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 329
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                       Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                  Address
                                                     or Remaining
                                                         Term


2. 3194    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00469                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3195    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00470                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3196    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00471                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3197    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00472                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3198    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00473                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3199    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00474                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997



                                                                         Page 329 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 330
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                       Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                  Address
                                                     or Remaining
                                                         Term


2. 3200    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00475                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3201    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00476                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3202    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00477                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3203    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00478                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3204    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00479                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3205    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00480                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997



                                                                         Page 330 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 331
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                       Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                  Address
                                                     or Remaining
                                                         Term


2. 3206    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00481                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3207    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00482                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3208    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00483                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3209    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00484                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3210    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00485                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3211    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00486                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997



                                                                         Page 331 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 332
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                       Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                  Address
                                                     or Remaining
                                                         Term


2. 3212    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00487                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3213    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00488                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3214    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00489                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3215    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00490                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3216    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00491                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3217    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00492                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997



                                                                         Page 332 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 333
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                       Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                  Address
                                                     or Remaining
                                                         Term


2. 3218    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00493                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3219    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00494                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3220    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00495                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3221    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00496                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3222    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00497                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3223    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00498                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997



                                                                         Page 333 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 334
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                       Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                  Address
                                                     or Remaining
                                                         Term


2. 3224    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00499                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3225    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00500                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3226    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00501                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3227    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00502                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3228    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00503                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3229    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00504                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997



                                                                         Page 334 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 335
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                       Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                  Address
                                                     or Remaining
                                                         Term


2. 3230    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00505                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3231    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00506                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3232    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00507                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3233    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00508                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3234    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00509                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3235    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00510                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997



                                                                         Page 335 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 336
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                       Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                  Address
                                                     or Remaining
                                                         Term


2. 3236    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00511                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3237    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00512                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3238    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00513                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3239    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00514                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3240    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00515                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3241    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00516                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997



                                                                         Page 336 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 337
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                       Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                  Address
                                                     or Remaining
                                                         Term


2. 3242    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00517                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3243    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00518                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3244    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00519                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3245    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00520                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3246    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00521                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3247    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00522                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997



                                                                         Page 337 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 338
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                       Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                  Address
                                                     or Remaining
                                                         Term


2. 3248    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00523                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3249    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00524                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3250    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00525                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3251    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00526                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3252    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00527                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3253    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00528                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997



                                                                         Page 338 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 339
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                       Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                  Address
                                                     or Remaining
                                                         Term


2. 3254    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00529                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3255    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00530                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3256    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00531                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3257    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00532                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3258    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00533                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3259    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00534                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997



                                                                         Page 339 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 340
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                       Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                  Address
                                                     or Remaining
                                                         Term


2. 3260    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00535                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3261    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00536                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3262    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00537                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3263    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00538                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3264    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00539                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3265    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00540                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997



                                                                         Page 340 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 341
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                       Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                  Address
                                                     or Remaining
                                                         Term


2. 3266    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00541                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3267    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00542                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3268    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00543                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3269    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00544                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3270    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00545                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3271    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00546                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997



                                                                         Page 341 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 342
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                       Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                  Address
                                                     or Remaining
                                                         Term


2. 3272    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00547                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3273    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00548                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3274    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00549                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3275    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00550                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3276    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00551                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3277    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00552                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997



                                                                         Page 342 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 343
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                       Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                  Address
                                                     or Remaining
                                                         Term


2. 3278    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00553                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3279    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00554                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3280    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00555                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3281    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00556                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3282    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00557                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3283    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00558                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997



                                                                         Page 343 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 344
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                       Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                  Address
                                                     or Remaining
                                                         Term


2. 3284    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00559                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3285    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00560                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3286    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00561                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3287    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00562                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3288    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00563                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3289    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00564                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997



                                                                         Page 344 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 345
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                       Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                  Address
                                                     or Remaining
                                                         Term


2. 3290    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00565                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3291    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00566                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3292    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00567                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3293    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00568                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3294    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00569                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3295    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00570                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997



                                                                         Page 345 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 346
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                       Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                  Address
                                                     or Remaining
                                                         Term


2. 3296    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00571                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3297    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00572                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3298    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00573                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3299    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00574                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3300    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00575                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3301    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00576                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997



                                                                         Page 346 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 347
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                       Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                  Address
                                                     or Remaining
                                                         Term


2. 3302    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00577                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3303    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00578                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3304    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00579                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3305    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00580                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3306    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00581                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3307    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00582                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997



                                                                         Page 347 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 348
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                       Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                  Address
                                                     or Remaining
                                                         Term


2. 3308    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00583                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3309    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00584                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3310    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00585                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3311    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00586                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3312    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00587                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3313    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00588                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997



                                                                         Page 348 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 349
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                       Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                  Address
                                                     or Remaining
                                                         Term


2. 3314    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00589                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3315    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00590                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3316    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00591                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3317    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00592                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3318    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00593                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3319    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00594                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997



                                                                         Page 349 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 350
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                       Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                  Address
                                                     or Remaining
                                                         Term


2. 3320    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00595                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3321    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00596                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3322    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00597                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3323    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00598                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3324    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00599                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3325    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00600                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997



                                                                         Page 350 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 351
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                       Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                  Address
                                                     or Remaining
                                                         Term


2. 3326    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00601                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3327    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00602                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3328    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00603                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3329    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00604                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3330    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00605                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3331    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00606                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997



                                                                         Page 351 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 352
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                       Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                  Address
                                                     or Remaining
                                                         Term


2. 3332    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00607                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3333    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00608                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3334    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00609                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3335    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00610                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3336    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00611                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3337    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00612                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997



                                                                         Page 352 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 353
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                       Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                  Address
                                                     or Remaining
                                                         Term


2. 3338    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00613                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3339    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00614                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3340    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00615                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3341    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00616                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3342    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00617                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3343    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00618                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997



                                                                         Page 353 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 354
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                       Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                  Address
                                                     or Remaining
                                                         Term


2. 3344    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00619                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3345    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00620                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3346    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00621                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3347    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00622                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3348    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00623                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3349    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00624                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997



                                                                         Page 354 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 355
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                       Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                  Address
                                                     or Remaining
                                                         Term


2. 3350    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00625                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3351    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00626                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3352    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00627                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3353    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00628                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3354    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00629                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3355    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00630                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997



                                                                         Page 355 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 356
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                       Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                  Address
                                                     or Remaining
                                                         Term


2. 3356    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00631                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3357    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00632                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3358    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00633                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3359    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00634                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3360    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00635                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3361    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00636                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997



                                                                         Page 356 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 357
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                       Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                  Address
                                                     or Remaining
                                                         Term


2. 3362    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00637                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3363    LICENSE FOR INDIVIDUAL SITE             7/22/2022, unless    CCNRD_00638                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           LOCATION UNDER AMENDED AND              terminated earlier                                                                   ATTN: NETWORK REAL ESTATE
           RESTATED MASTER LICENSE                                                                                                      180 WASHINGTON VALLEY ROAD
           AGREEMENT FOR ANTENNA                                                                                                        BEDMINSTER, NJ 7921
           ATTACHMENT WITH GTE MOBILNET OF
           CALIFORNIA, LP , DATED JULY 23, 1997

2. 3364    MASTER AGREEMENT FOR ISSUANCE               7/22/2022        CCNRD_00017                 GTE MOBILNET OF CALIFORNIA, LP      GTE MOBILNET OF CALIFORNIA,
           OF LICENSES TO                                                                                                               ATTN: NETWORK REAL ESTATE
           TELECOMMUNICATIONS CUSTOMER                                                                                                  180 WASHINGTON VALLEY ROAD
           FOR ATTACHMENT OF ANTENNAS AND                                                                                               BEDMINSTER, NJ 7921
           RELATED EQUIPMENT

2. 3365    SELF-GENERATION INCENTIVE                  Not Stated        CCOTH_03529                 GUADALUPE MONTOYA                   1372 EL CAMINO WAT
           PROGRAM                                                                                                                       LOS BANOS, CA 93635

2. 3366    GENERAL OFF-BILL AND ON-                    8/28/2019        CCOTH_01883                 GUITTARD CHOCOLATE CO               6861 NANCY RIDGE DRIVE
           BILLFINANCING LOAN AGREEMENT                                                                                                 SAN DIEGO, CA 92121

2. 3367    GENERAL OFF-BILL AND ON-                    4/25/2019        CCOTH_02309                 GUITTARD CHOCOLATE CO - 10          6861 NANCY RIDGE DRIVE
           BILLFINANCING LOAN AGREEMENT                                                             GUITTARD RD                         SAN DIEGO, CA 92121

2. 3368    GENERAL OFF-BILL AND ON-                   10/12/2022        CCOTH_02700                 GURBACHAN SINGH CHAHAL - 1533 W     1111 W. EL CAMINO REAL STE. 135
           BILLFINANCING LOAN AGREEMENT                                                             CAMPBELL AVE                        SUNNYVALE, CA 94087

2. 3369    GENERAL OFF-BILL AND ON-                   12/11/2018        CCOTH_01905                 GURDAIL SINGH DBA GNB LIQUOR        328 GREENWOOD PLACE
           BILLFINANCING LOAN AGREEMENT                                                                                                 BONITA, CA 91902

2. 3370    GENERAL OFF-BILL AND ON-                    2/10/2023        CCOTH_03237                 GURPREET SINGH ET AL - 3391         1111, W.EL CAMINO REAL
           BILLFINANCING LOAN AGREEMENT                                                             WINCHESTER BLVD                     STE 135
                                                                                                                                        SUNNYVALE, CA 94087

2. 3371    SMARTAC                                    Not Stated        CCOTH_03594                 GUTHRIE,RICHARD                     46041 ROAD 415 SPC 92
                                                                                                                                        COARSEGOLD, CA 93614

                                                                         Page 357 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 358
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                      Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                   Address
                                                    or Remaining
                                                        Term


2. 3372    UNIVERSITY OF                             Not Stated      CCOTH_03662                 GUTTMAN & BLAEVOET CONSULTING         2351 POWELL ST.
           CALIFORNIA/CALIFORNIA STATE                                                           ENGINEERS                             SAN FRANCISCO, CA 94133
           UNIVERSITY - SBD WHOLE BUILDING

2. 3373    TITLE 24, PART 6 TRAINING                 12/31/2018      CCOTH_03692                 GUTTMAN BLAVOET                       2351 POWELL STREET
           DEVELOPMENT & DELIVERY                                                                                                      SAN FRANCISCO, CA 94133

2. 3374    UNIVERSITY OF                             Not Stated      CCOTH_03667                 GUTTMANN & BALAEVOET                  2351 POWELL STREET
           CALIFORNIA/CALIFORNIA STATE                                                           CONSULTING ENGINEERS                  SAN FRANCISCO, CA 94133
           UNIVERSITY - SBD WHOLE BUILDING

2. 3375    UNIVERSITY OF                             Not Stated      CCOTH_03668                 GUTTMANN & BLAEVOET CONSULTING        2351 POWELL STREET
           CALIFORNIA/CALIFORNIA STATE                                                           ENGINEERS                             SAN FRANCISCO, CA 94133
           UNIVERSITY - SBD WHOLE BUILDING

2. 3376    GENERAL OFF-BILL AND ON-                  11/4/2020       CCOTH_01400                 GVSC LP - 123 W MCKNIGHT WAY          1451 QUAIL STREET SUITE 201
           BILLFINANCING LOAN AGREEMENT                                                                                                NEWPORT BEACH, CA 92660

2. 3377    GENERAL OFF-BILL AND ON-                  6/21/2019       CCOTH_02984                 HACIENDA MD LLC - 4637 CHABOT DR -    10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          PLEASANTON                            SANTA FE SPRINGS, CA 90670

2. 3378    GENERAL OFF-BILL AND ON-                  11/28/2020      CCOTH_02985                 HACIENDA MD LLC - 5050 HOPYARD RD     10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                                                                SANTA FE SPRINGS, CA 90670

2. 3379    UNIVERSITY OF                             Not Stated      CCOTH_03660                 HACKER ARCHITECTS                     733 SW OAK STREET
           CALIFORNIA/CALIFORNIA STATE                                                                                                 PORTLAND, OR 97205
           UNIVERSITY - SBD WHOLE BUILDING

2. 3380    UNIVERSITY OF                             Not Stated      CCOTH_03658                 HACKER ARCHITECTS INC.                733 SW OAK STREET
           CALIFORNIA/CALIFORNIA STATE                                                                                                 PORTLAND, OR 97205
           UNIVERSITY - SBD WHOLE BUILDING

2. 3381    UNIVERSITY OF                             Not Stated      CCOTH_03659                 HACKER ARCHITECTS INC.                733 SW OAK STREET
           CALIFORNIA/CALIFORNIA STATE                                                                                                 PORTLAND, OR 95618
           UNIVERSITY - SBD WHOLE BUILDING

2. 3382    SINGLE-FAMILY AFFORDABLE SOLAR            Not Stated      CCOTH_03590                 HAEHN,NICOLE                          34 MARILYN AVE
           HOMES (SASH)                                                                                                                 STOCKTON, CA 95207




                                                                      Page 358 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                 Page 359
                                                                                of 649
Pacific Gas and Electric Company                                                                                                  Case Number:        19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 3383    SEWER AGREEMENT                           Not Stated      CCCRSOT_000                 HALF MOON BAY, CITY OF            CITY OF HALF MOON BAY
                                                                         84                                                        501 MAIN ST
                                                                                                                                   HALF MOON BAY, CA 94019

2. 3384    GENERAL OFF-BILL AND ON-                  5/13/2019       CCOTH_01855                 HALLOWELL CHEVROLET COMPANY       961 W SHAW AVE.
           BILLFINANCING LOAN AGREEMENT                                                          INC                               CLOVIS, CA 93612

2. 3385    CALIFORNIA COMMUNITY COLLEGES -           Not Stated      CCOTH_00098                 HAMEL, GREEN AND ABRAHAMSON, INC 1200 R STREET, SUITE 100
           SAVINGS BY DESIGN WHOLE BUILDING                                                                                       SACRAMENTO, CA 95811

2. 3386    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00643                 HAMID KAHELI                      941 LUNDY AVE
                                                                                                                                   SAN JOSE 95133

2. 3387    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00681                 HAMID KAHELI                      76 DUANE ST
                                                                                                                                   SAN JOSE 95110

2. 3388    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00697                 HAMID KAHELI                      714 S. ALMADEN AVE
                                                                                                                                   SAN JOSE 95115

2. 3389    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00766                 HAMID KAHELI                      525 S 9TH ST
                                                                                                                                   SAN JOSE 95112

2. 3390    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00935                 HAMID KAHELI                      25 LINCOLN AVE
                                                                                                                                   SALINAS 93901

2. 3391    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01061                 HAMID KAHELI                      1460 N 4TH STREET
                                                                                                                                   SAN JOSE 95115

2. 3392    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01112                 HAMID KAHELI                      1144 S SECOND STREET
                                                                                                                                   SAN JOSE 95112

2. 3393    GENERAL OFF-BILL AND ON-                  9/12/2020       CCOTH_02388                 HAMZEH,MEHRZAD DBA TEXOIL         10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                                                            SANTA FE SPRINGS, CA 90670

2. 3394    CONSULTING AND ENERGY                      2/5/2019       CCNRD_02888                 HANCOCK FARMLAND SERVICES         301 E. MAIN ST
           MANAGEMENT SERVICES                                                                                                     TURLOCK, CA 95380

2. 3395    GENERAL OFF-BILL AND ON-                  3/26/2022       CCOTH_02992                 HANCOR INC - 140 VINELAND RD      9530 HAGEMAN RD. B#196
           BILLFINANCING LOAN AGREEMENT                                                                                            BAKERSFIELD, CA 93312

                                                                      Page 359 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                 Page 360
                                                                                of 649
Pacific Gas and Electric Company                                                                                                      Case Number:         19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                   Address
                                                    or Remaining
                                                        Term


2. 3396    GENERAL OFF-BILL AND ON-                  9/29/2021       CCOTH_03243                 HANLEES DAVIS INC - 5009 CHILES RD    11812 KEMPER ROAD
           BILLFINANCING LOAN AGREEMENT                                                          (NISSAN) -DAVIS                       AUBURN, CA 95603

2. 3397    COMMERCIAL HVAC - DEEMED                  Not Stated      CCOTH_00464                 HAN'S O'TOOLE LLC                     2220 OTOOLE AVE BLDG C
           UPSTREAM / MIDSTREAM - HVAC QM                                                                                              SAN JOSE,CA, CA 95131

2. 3398    GENERAL OFF-BILL AND ON-                  9/11/2021       CCOTH_02592                 HAN'S O'TOOLE LLC - 2220 OTOOLE       P.O. BOX 23803
           BILLFINANCING LOAN AGREEMENT                                                          AVE BLDG C                            ***UPS OVERNIGHT***
                                                                                                                                       SAN JOSE, CA 95153

2. 3399    AGRICULTURAL CALCULATED                   Not Stated      CCOTH_00054                 HANSEN INDUSTRIES                     29978 RD 56
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                           VISALIA, CA 93291
           PROGRAM

2. 3400    CONSULTING AND ENERGY                     2/12/2019       CCNRD_02890                 HANSEN RANCHES                        PO BOX 398
           MANAGEMENT SERVICES                                                                                                         CORCORAN, CA 93212

2. 3401    GENERAL OFF-BILL AND ON-                  11/22/2018      CCOTH_02300                 HARBAKSH KAUR & HARPREET SINGH        328 GREENWOOD PLACE
           BILLFINANCING LOAN AGREEMENT                                                          DBA WEEDPATCH SUPER                   BONITA, CA 91902

2. 3402    GENERAL OFF-BILL AND ON-                  1/16/2021       CCOTH_01427                 HARDESTER W R INC - 21088             P.O. BOX 308
           BILLFINANCING LOAN AGREEMENT                                                          CALISTOGA RD                          MIDDLETOWN, CA 95461

2. 3403    GENERAL OFF-BILL AND ON-                  5/27/2020       CCOTH_01238                 HARDY PENZER,MORRIS - 1820 SHAW       4637 S. EAST AVE.
           BILLFINANCING LOAN AGREEMENT                                                          AVE                                   FRESNO, CA 93725

2. 3404    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01045                 HARLAND VOGT                          1550 BUCKEYE DRIVE
                                                                                                                                       MILPITAS 95035

2. 3405    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00627                 HAROLD BUSH                           325 NILE CT
           ADVANCED HOME UPGRADE                                                                                                       VACAVILLE, CA 95687
           (CUSTOM/CALCULATED)

2. 3406    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03366                 HARON MOTOR SALES                     2222 VENTURA ST
           BY DESIGN WHOLE BUILDING                                                                                                    FRESNO, CA 93721

2. 3407    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03381                 HARON MOTOR SALES -                   2222 VENTURA STREET
           BY DESIGN WHOLE BUILDING                                                              MODERNIZATION AND ADDITION            FRESNO, CA 93721
                                                                                                 PROJECT


                                                                      Page 360 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                 Page 361
                                                                                of 649
Pacific Gas and Electric Company                                                                                                  Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 3408    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01066                 HARRY LEWIS                       1420 F STREET
                                                                                                                                   DAVIS 95616

2. 3409    REAL PROPERTY LEASE - WEST                12/31/2024      CCCRSLS_000                 HARSCH INVESTMENT CORPORATOIN     HARSCH INVESTMENT
           SACRAMENTO RMC                                                94                                                        CORPORATION LLC, LOCK BOX
                                                                                                                                   UNIT 96,
                                                                                                                                   PORTLAND, OR

2. 3410    GENERAL OFF-BILL AND ON-                   2/8/2021       CCOTH_01749                 HARTENBERGER,ROBERT DBA           27363 VIA INDUSTRIA
           BILLFINANCING LOAN AGREEMENT                                                          MIDNIGHT CELLERS                  TEMECULA, CA 92590

2. 3411    SMARTAC                                   Not Stated      CCOTH_03614                 HARTWIG,ROSEMARY                  25 PENDEGAST ST
                                                                                                                                   WOODLAND, CA 95695

2. 3412    GENERAL OFF-BILL AND ON-                  1/14/2020       CCOTH_01263                 HARYASH RAI ETAL GEN              1641 PRINCETON AVE. #6
           BILLFINANCING LOAN AGREEMENT                                                          PARTNERSHIP - 780 SOUTH AVE       MODESTO, CA 95350

2. 3413    GENERAL OFF-BILL AND ON-                   6/6/2019       CCOTH_02121                 HASMUKHBHAI C AMIN DBA SUPER      2695 N. FOWLER #106
           BILLFINANCING LOAN AGREEMENT                                                          EIGHT MOTEL                       FRESNO, CA 93727

2. 3414    GENERAL OFF-BILL AND ON-                  10/16/2018      CCOTH_01840                 HASSAN KHAZIRI DBA EL MONTE       330 LOUISBURG ST.
           BILLFINANCING LOAN AGREEMENT                                                          UNION SERVICE                     SAN FRANCISCO, CA 94124

2. 3415    GENERAL OFF-BILL AND ON-                  11/13/2021      CCOTH_02697                 HAYWARD AREA REC AND PARK         1725 RUTAN DR.
           BILLFINANCING LOAN AGREEMENT                                                          DISTRICT - MISSION HILLS          **USPS OVERNIGHT DELIVERY**
                                                                                                                                   LIVERMORE, CA 94551

2. 3416    GENERAL OFF-BILL AND ON-                  6/28/2027       CCOTH_02414                 HAYWARD AREA RECREATION & PARK    1725 RUTAN DRIVE
           BILLFINANCING LOAN AGREEMENT                                                          DIST - ALDEN OLIVER               LIVERMORE, CA 94551

2. 3417    GENERAL OFF-BILL AND ON-                  12/17/2019      CCOTH_03071                 HAYWARD QUARTZ TECHNOLOGY INC - 10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          1500 CORPORATE WA               SANTA FE SPRINGS, CA 90670

2. 3418    GENERAL OFF-BILL AND ON-                  6/23/2020       CCOTH_03110                 HAYWARD QUARTZ TECHNOLOGY INC - 10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          1700 CORPORATE WAY              SANTA FE SPRINGS, CA 90670

2. 3419    GENERAL OFF-BILL AND ON-                  10/17/2022      CCOTH_03072                 HAYWARD QUARTZ TECHNOLOGY INC - 10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          4190 TECHNOLOGY DR              SANTA FE SPRINGS, CA 90670



                                                                      Page 361 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                 Page 362
                                                                                of 649
Pacific Gas and Electric Company                                                                                                Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                              Address
                                                    or Remaining
                                                        Term


2. 3420    WATER/SEWER AGREEMENT                     Not Stated      CCCRSOT_000                 HAYWARD WATER SYSTEM            HAYWARD WATER SYSTEM
                                                                         86                                                      HAYWARD, CA

2. 3421    SERVICE AGREEMENT                         Not Stated      CCCRSOT_000                 HAYWARD, CITY OF                CITY OF HAYWARD, ATTN
                                                                         85                                                      ACCOUNTS RECEIVABLE,
                                                                                                                                 777 B STREET
                                                                                                                                 HAYWARD, CA

2. 3422    GENERAL OFF-BILL AND ON-                  9/17/2019       CCOTH_01662                 HAZIN,MOHAMMED                  PO BOX 8867
           BILLFINANCING LOAN AGREEMENT                                                                                          STOCKTON, CA 95208

2. 3423    GENERAL OFF-BILL AND ON-                  12/12/2019      CCOTH_02161                 HBS INC                         PO BOX 406
           BILLFINANCING LOAN AGREEMENT                                                                                          STEVE WELGE, OWNER
                                                                                                                                 ALAMO, CA 94507

2. 3424    SERVICE AGREEMENT                         Not Stated      CCCRSOT_000                 HEALTH SANITATION SERVICE       HEALTH SANITATION SERVICE
                                                                         87                                                      1850 W BETTERAVIA RD
                                                                                                                                 SANTA MARIA, CA 93455

2. 3425    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00206                 HEAT TRANSFER EQUIPMENT CO      175 HARVARD AVE
           DEEMED UPSTREAM / MIDSTREAM -                                                                                         HALF MOON BAY, CA 94019
           COMMERCIAL WATER

2. 3426    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00207                 HEAT TRANSFER EQUIPMENT CO      175 HARVARD AVE
           DEEMED UPSTREAM / MIDSTREAM -                                                                                         HALF MOON BAY, CA 94019
           COMMERCIAL WATER

2. 3427    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00208                 HEAT TRANSFER EQUIPMENT CO      175 HARVARD AVE
           DEEMED UPSTREAM / MIDSTREAM -                                                                                         HALF MOON BAY, CA 94019
           COMMERCIAL WATER

2. 3428    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00209                 HEAT TRANSFER EQUIPMENT CO      175 HARVARD AVE
           DEEMED UPSTREAM / MIDSTREAM -                                                                                         HALF MOON BAY, CA 94019
           COMMERCIAL WATER

2. 3429    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00210                 HEAT TRANSFER EQUIPMENT CO      175 HARVARD AVE
           DEEMED UPSTREAM / MIDSTREAM -                                                                                         HALF MOON BAY, CA 94019
           COMMERCIAL WATER




                                                                      Page 362 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35               Page 363
                                                                                of 649
Pacific Gas and Electric Company                                                                                                    Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                 Address
                                                    or Remaining
                                                        Term


2. 3430    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00211                 HEAT TRANSFER EQUIPMENT CO          175 HARVARD AVE
           DEEMED UPSTREAM / MIDSTREAM -                                                                                             HALF MOON BAY, CA 94019
           COMMERCIAL WATER

2. 3431    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00212                 HEAT TRANSFER EQUIPMENT CO          175 HARVARD AVE
           DEEMED UPSTREAM / MIDSTREAM -                                                                                             HALF MOON BAY, CA 94019
           COMMERCIAL WATER

2. 3432    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00213                 HEAT TRANSFER EQUIPMENT CO          175 HARVARD AVE
           DEEMED UPSTREAM / MIDSTREAM -                                                                                             HALF MOON BAY, CA 94019
           COMMERCIAL WATER

2. 3433    LICENSE AGREEMENT FOR DESIGN TO           Evergreen       CCNRD_02872                 HEATH CONSULTANTS                   9030 MONROE ROAD
           VIRTUAL GAS LEAK DETECTION                                                                                                HOUSTON, TX 77061
           TRAINING SYSTEM

2. 3434    GENERAL OFF-BILL AND ON-                   2/4/2029       CCOTH_02774                 HEATHER FARM GARDEN CENTER          1666 N MAIN ST, 2ND FLOOR
           BILLFINANCING LOAN AGREEMENT                                                          ASSOC                               WALNUT CREEK, CA 94596

2. 3435    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00526                 HEATHER UNSINGER                    9098 ORCHID SHADE DR
           ADVANCED HOME UPGRADE                                                                                                     EL DORADO HILLS, CA 95762
           (CUSTOM/CALCULATED)

2. 3436    GENERAL OFF-BILL AND ON-                  11/9/2021       CCOTH_02355                 HECTOR CHAVEZ - 1003 LINCOLN AVE    5653 STONERIDGE DR. #108
           BILLFINANCING LOAN AGREEMENT                                                                                              PLEASANTON, CA 994588

2. 3437    GENERAL OFF-BILL AND ON-                  8/28/2020       CCOTH_01649                 HEDIA PETROLEUM INC                 27611 LA PAZ SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                                                              LAGUNA NIGUEL, CA 92677

2. 3438    GENERAL OFF-BILL AND ON-                   2/4/2020       CCOTH_01844                 HEDIA PETROLEUM INC                 27611 LA PAZ SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                                                              LAGUNA NIGUEL, CA 92677

2. 3439    GENERAL OFF-BILL AND ON-                  7/10/2021       CCOTH_02058                 HEDIA PETROLEUM INC - 4995          27611 LA PAZ RD., SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                          ALMADEN EXPY - SAN JOSE             LAGUNA NIGUEL, CA 92677

2. 3440    GENERAL OFF-BILL AND ON-                   3/7/2019       CCOTH_01926                 HEER,BALJIT                         1390 RIDGEWOOD DR. STE. 10
           BILLFINANCING LOAN AGREEMENT                                                                                              CHICO, CA 95973

2. 3441    GENERAL OFF-BILL AND ON-                  12/17/2021      CCOTH_01465                 HEITMAN AMERICA REAL ESTATE         2425 E CAMELBACK RD. #750
           BILLFINANCING LOAN AGREEMENT                                                          HOLDING LP - 43301 CH               PHOENIX, AZ 85016

                                                                      Page 363 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 364
                                                                                of 649
Pacific Gas and Electric Company                                                                                                    Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                 Address
                                                    or Remaining
                                                        Term


2. 3442    GENERAL OFF-BILL AND ON-                   6/2/2021       CCOTH_01466                 HEITMAN AMERICA REAL ESTATE         2425 E CAMELBACK ROAD, #750
           BILLFINANCING LOAN AGREEMENT                                                          HOLDING LP - 43422 BOS              PHOENIX, AZ 85016

2. 3443    GENERAL OFF-BILL AND ON-                  12/17/2021      CCOTH_01245                 HEITMAN AMERICA REAL ESTATE         2425 E CAMELBACK ROAD #750
           BILLFINANCING LOAN AGREEMENT                                                          HOLDING LP - 43499 BOS              PHOENIX, AZ 85016

2. 3444    GENERAL OFF-BILL AND ON-                  10/17/2021      CCOTH_01467                 HEITMAN AMERICA REAL ESTATE         2425 E CAMELBACK RD., #750
           BILLFINANCING LOAN AGREEMENT                                                          HOLDING LP - 43499 BOS              PHOENIX, AZ 85016

2. 3445    GENERAL OFF-BILL AND ON-                  5/17/2021       CCOTH_02149                 HEITMAN AMERICA REAL ESTATE         2425 E CAMELBACK RD., #750
           BILLFINANCING LOAN AGREEMENT                                                          HOLDING LP - 43594 CHR              PHOENIX, AZ 85016

2. 3446    GENERAL OFF-BILL AND ON-                  4/17/2022       CCOTH_02165                 HEITMAN AMERICA REAL ESTATE         2425 E CAMELBACK ROAD #750
           BILLFINANCING LOAN AGREEMENT                                                          HOLDING LP - 43736 CHR              PHOENIX, AZ 85016

2. 3447    GENERAL OFF-BILL AND ON-                   1/6/2022       CCOTH_02129                 HEITMAN AMERICA REAL ESTATE         2425 E CAMELBACK ROAD, #750
           BILLFINANCING LOAN AGREEMENT                                                          HOLDING LP - 43828 PAC              PHOENIX, AZ 85016

2. 3448    GENERAL OFF-BILL AND ON-                  5/17/2022       CCOTH_02088                 HEITMAN AMERICA REAL ESTATE         2425 E CAMELBACK RD. #750
           BILLFINANCING LOAN AGREEMENT                                                          HOLDING LP - 43841                  PHOENIX, AZ 85016

2. 3449    GENERAL OFF-BILL AND ON-                  5/29/2021       CCOTH_02804                 HELEN M SIMVOULAKIS FOOTHILL        620 HEDBURG WAY STE. 17
           BILLFINANCING LOAN AGREEMENT                                                          OAKS CTR - 1449 E F S               OAKDALE, CA 95361

2. 3450    GENERAL OFF-BILL AND ON-                   6/8/2021       CCOTH_03032                 HELPING OTHERS PURSUE               590 W LOCUST AVE, SUITE 103
           BILLFINANCING LOAN AGREEMENT                                                          EXCELLENCE, LLC - 4974 E CL         FRESNO, CA 93650

2. 3451    GENERAL OFF-BILL AND ON-                  5/27/2021       CCOTH_02029                 HERCULES VOURAKIS                   27363 VIA INDUSTRIA
           BILLFINANCING LOAN AGREEMENT                                                                                              TEMECULA, CA 92590

2. 3452    SMARTAC                                   Not Stated      CCOTH_03607                 HERFURTH,DELBERT J                  8415 CHENIN BLANC LN
                                                                                                                                     SAN JOSE, CA 95135

2. 3453    GENERAL OFF-BILL AND ON-                   3/7/2020       CCOTH_01272                 HERITAGE SQUARE PROPERTIES LLC -    4637 S EAST AVE
           BILLFINANCING LOAN AGREEMENT                                                          3174 E TULARE ST                    FRESNO, CA 93725

2. 3454    COMMERCIAL CALCULATED                     Not Stated      CCOTH_00166                 HGST                                5601 GREAT OAKS PARKWAY
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                         SAN JOSE, CA 95113
           PROGRAM

                                                                      Page 364 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                 Page 365
                                                                                of 649
Pacific Gas and Electric Company                                                                                                      Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                   Address
                                                    or Remaining
                                                        Term


2. 3455    COMMERCIAL CALCULATED                     Not Stated      CCOTH_00161                 HGST INC, A WESTERN DIGITAL CO.       5601 GREAT OAKS PARKWAY
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                           SAN JOSE, CA 94536
           PROGRAM

2. 3456    MASTER SERVICES AGREEMENT                 12/31/2021      CCNRD_02809                 HIGHLANDS ENERGY SVCS                 HIGHLANDS DIVERSIFIED
           PROVIDING THAT PG&E MAY ENTER                                                                                               5114 E. CLINTON WAY #111
           INTO CONTRACT WORK                                                                                                          FRESNO, CA 93727
           AUTHORIZATIONS WITH THIS VENDOR
           FOR VARIOUS ENERGY EFFICIENCY
           SERVICES

2. 3457    WATER AGREEMENT                           Not Stated      CCCRSOT_000                 HIGHLANDS WATER COMPANY               HIGHLANDS WATER CO
                                                                         88                                                            14580 LAKESHORE DR
                                                                                                                                       CLEARLAKE, CA 95422

2. 3458    GENERAL OFF-BILL AND ON-                  10/22/2019      CCOTH_01464                 HIGHWAY 20 LLC - 6 E 12TH ST          12122 DRY CREEK RD., STE 104
           BILLFINANCING LOAN AGREEMENT                                                                                                AUBURN, CA 95602

2. 3459    GENERAL OFF-BILL AND ON-                   9/4/2020       CCOTH_02416                 HILLCREST PROFESSIONAL                12820 EARHART AVE.
           BILLFINANCING LOAN AGREEMENT                                                          ASSOCIATION                           AUBURN, CA 95603

2. 3460    GENERAL OFF-BILL AND ON-                   3/3/2021       CCOTH_02042                 HILLCREST TRAVEL PLAZA LLC - 44779    27611 LA PAZ RD
           BILLFINANCING LOAN AGREEMENT                                                          S LASSEN AVE                          SUITE A2
                                                                                                                                       LAGUNA NIGUEL, CA 92677

2. 3461    GENERAL OFF-BILL AND ON-                  5/17/2020       CCOTH_02679                 HILLER AVIATION MUSEUM - 601          877 CEDAR STREET, SUITE 240
           BILLFINANCING LOAN AGREEMENT                                                          SKYWAY                                SANTA CRUZ, CA 95060

2. 3462    GENERAL OFF-BILL AND ON-                  10/19/2019      CCOTH_02279                 HILLS FLAT LUMBER CO INC              2629 P.O. BOX CARE OF JEFF
           BILLFINANCING LOAN AGREEMENT                                                                                                PARDINI
                                                                                                                                       GRASS VALLEY, CA 95945

2. 3463    GENERAL OFF-BILL AND ON-                  11/26/2023      CCOTH_03109                 HISTORIC HIGHWAY 40 AUTO CARE -       17766 PENN VALLEY DR
           BILLFINANCING LOAN AGREEMENT                                                          130 BORLAND AVE #                     PENN VALLEY, CA 95946

2. 3464    GENERAL OFF-BILL AND ON-                   8/7/2023       CCOTH_01219                 HOEKSTRA,WILLIAM - 10836 HWY 120      736 MARIPOSA RD BLDG F
           BILLFINANCING LOAN AGREEMENT                                                                                                MODESTO, CA 95354

2. 3465    GENERAL OFF-BILL AND ON-                   3/2/2021       CCOTH_01923                 HOLLISTER SUPER INC                   307 W MARKET STREET
           BILLFINANCING LOAN AGREEMENT                                                                                                SALINAS, CA 93901

                                                                      Page 365 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                 Page 366
                                                                                of 649
Pacific Gas and Electric Company                                                                                                     Case Number:        19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                   Address
                                                    or Remaining
                                                        Term


2. 3466    GENERAL OFF-BILL AND ON-                  8/25/2020       CCOTH_01525                 HOLLISTER SUPER, INCORPORATED        307 W MARKET STREET
           BILLFINANCING LOAN AGREEMENT                                                                                               SALINAS, CA 93901

2. 3467    GENERAL OFF-BILL AND ON-                   2/3/2021       CCOTH_01925                 HOLLISTER SUPER, INCORPORATED        P.O. BOX 877
           BILLFINANCING LOAN AGREEMENT                                                                                               SAN JUAN BAUTISTA, CA 95045

2. 3468    GENERAL OFF-BILL AND ON-                   5/4/2022       CCOTH_02584                 HOLLISTER SUPER, INCORPORATED -      1025 WATER STREET SUITE A
           BILLFINANCING LOAN AGREEMENT                                                          1280 SAN JUAN RD                     SANTA CRUZ, CA 95062

2. 3469    GENERAL OFF-BILL AND ON-                  10/4/2020       CCOTH_02651                 HOLLISTER SUPER, INCORPORATED -      1025 WATER STREET SUITE A
           BILLFINANCING LOAN AGREEMENT                                                          211 3RD ST                           SANTA CRUZ, CA 95062

2. 3470    WATER/SEWER AGREEMENT                     Not Stated      CCCRSOT_000                 HOLLISTER, CITY OF                   CITY OF HOLLISTER
                                                                         89                                                           375 FIFTH ST
                                                                                                                                      HOLLISTER, CA 95023

2. 3471    REAL PROPERTY LEASE - GAS                 12/31/2019      CCCRSLS_000                 HOLLY COMMERCE CENTER LLC            HOLLY COMMERCE CENTER LLC,
           OPERATION STORAGE WAREHOUSE                                   87                                                           C/O STEVE CORTESE,
           AND YARD                                                                                                                   21 LAFAYETTE CIRCLE STE 200
                                                                                                                                      LAFAYETTE, CA 94549

2. 3472    GENERAL OFF-BILL AND ON-                  9/16/2018       CCOTH_01550                 HOLLY YASHI INC - 1300 9TH ST -      1300 9TH STREET
           BILLFINANCING LOAN AGREEMENT                                                          ARCATA                               ARCATA, CA 95521

2. 3473    GENERAL OFF-BILL AND ON-                   2/6/2020       CCOTH_01841                 HOLZHEUS EL RANCHO MARKET INC        9530 HAGEMAN RD. B #196
           BILLFINANCING LOAN AGREEMENT                                                                                               BAKERSFIELD, CA 93312

2. 3474    GENERAL OFF-BILL AND ON-                  6/26/2022       CCOTH_01308                 HOME HEALTH CARE MANAGEMENT          590 W LOCUST AVE STE 103
           BILLFINANCING LOAN AGREEMENT                                                          INC - 1398 RIDGEWOOD                 FRESNO, CA 93650

2. 3475    COMMERCIAL HVAC - DEEMED                  Not Stated      CCOTH_00453                 HOMELEGANCE                          48200 FREMONT BLVD
           UPSTREAM / MIDSTREAM - HVAC QM                                                                                             FREMONT, CA 94538

2. 3476    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00710                 HONG LEAHEY                          7000 SHORELINE COURT
                                                                                                                                      SOUTH SAN FRANCISCO 94080

2. 3477    REAL PROPERTY LEASE - COLMA               12/31/2019      CCCRSLS_000                 HOPE LUTHERAN CHURCH                 HOPE LUTHERAN CHURCH
           SERVICE CENTER PARKING (50                                    24                                                           55 SAN FERNANDO WAY
           PARKING SPACES)                                                                                                            DALY CITY, CA


                                                                      Page 366 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                    Page 367
                                                                                of 649
Pacific Gas and Electric Company                                                                                                     Case Number:        19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 3478    GENERAL OFF-BILL AND ON-                  5/14/2021       CCOTH_01247                 HOPLAND POMO INDIANS - 13101         10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          NOKOMIS RD                           SANTA FE SPRINGS, CA 90670

2. 3479    GENERAL OFF-BILL AND ON-                   2/2/2021       CCOTH_01931                 HOSPICE OF THE FOOTHILLS             10973 ROUGH AND READY HGWY
           BILLFINANCING LOAN AGREEMENT                                                                                               GRASS VALLEY, CA 95945

2. 3480    GENERAL OFF-BILL AND ON-                  12/11/2021      CCOTH_03083                 HOSPICE OF THE FOOTHILLS - 11270     17766 PENN VALLEY DR.
           BILLFINANCING LOAN AGREEMENT                                                          ROUGH & READY HWY                    PENN VALLEY, CA 95946

2. 3481    GENERAL OFF-BILL AND ON-                  10/8/2023       CCOTH_03084                 HOSPICE OF THE FOOTHILLS - 762       17766 PENN VALLEY DRIVE
           BILLFINANCING LOAN AGREEMENT                                                          FREEMAN LN STE G                     PENN VALLEY, CA 95946

2. 3482    GENERAL OFF-BILL AND ON-                  8/21/2020       CCOTH_01543                 HOUTAN PETROLUEM INC                 27611 LA PAZ, SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                                                               LAGUNA NIGUEL, CA 92677

2. 3483    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00925                 HOWARD KING                          2637 SHADELANDS DRIVE
                                                                                                                                      WALNUT CREEK 94598

2. 3484    GENERAL OFF-BILL AND ON-                  6/19/2020       CCOTH_01849                 HR INTERNATIONAL FOODS INC - 2711    2763 VIA INDUSTRIA
           BILLFINANCING LOAN AGREEMENT                                                          HILLCREST AVE                        TEMECULA, CA 92590

2. 3485    GENERAL OFF-BILL AND ON-                   9/9/2023       CCOTH_01312                 HUERTA FAMILY FARMS INC - 19528 E    P.O BOX 1078
           BILLFINANCING LOAN AGREEMENT                                                          LINCOLN AVE                          CLOVIS, CA 93613

2. 3486    SINGLE-FAMILY AFFORDABLE SOLAR            Not Stated      CCOTH_03572                 HUGAIS,IBRAHIM                       2500 OHIO AVE
           HOMES (SASH)                                                                                                                RICHMOND, CA 94804

2. 3487    SINGLE-FAMILY AFFORDABLE SOLAR            Not Stated      CCOTH_03571                 HUINAC,JOHNY                         1638 1ST ST
           HOMES (SASH)                                                                                                                RICHMOND, CA 94801

2. 3488    GENERAL OFF-BILL AND ON-                  10/13/2022      CCOTH_01293                 HUMANE SOCIETY OF SONOMA             6644 N. HIGHLAND
           BILLFINANCING LOAN AGREEMENT                                                          COUNTY - 5345 SEBASTOPOL             CLOVIS, CA 93619

2. 3489    WATER/SEWER AGREEMENT                     Not Stated      CCCRSOT_000                 HUMBOLDT COMMUNITY SERVICE           HUMBOLDT COMMUNITY SERVICE
                                                                         90                                                           DISTRICT
                                                                                                                                      CUTTEN, CA




                                                                      Page 367 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 368
                                                                                of 649
Pacific Gas and Electric Company                                                                                                      Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                   Address
                                                    or Remaining
                                                        Term


2. 3490    SERVICE AGREEMENT                         Not Stated      CCCRSOT_000                 HUMBOLDT SANITATION                   HUMBOLDT SANITATION &
                                                                         91                                                            RECYCLING
                                                                                                                                       2585 CENTRAL AVE
                                                                                                                                       MCKINLEYVILLE, CA 95519

2. 3491    GENERAL OFF-BILL AND ON-                  8/12/2021       CCOTH_01188                 HUNTMONT MEDICAL BLDG                 1265 S CABERNET CIR
           BILLFINANCING LOAN AGREEMENT                                                          PARTNERSHIP - 2999 REGENT ST          ANAHEIM, CA 92804

2. 3492    GENERAL OFF-BILL AND ON-                  10/29/2019      CCOTH_01766                 HUSARY,GEORGE                         PO BOX 17000
           BILLFINANCING LOAN AGREEMENT                                                                                                GREENVILLE, SC 29606

2. 3493    GENERAL OFF-BILL AND ON-                   1/8/2022       CCOTH_03094                 HUSSAIN AKBER - 600 MONTEREY BLVD 10 HARRIS COURT, SUITE C-Z
           BILLFINANCING LOAN AGREEMENT                                                                                            MONTEREY, CA 93940

2. 3494    GENERAL OFF-BILL AND ON-                  11/11/2018      CCOTH_02181                 HUST BROTHERS INC                     6120 LINCOLN BLVD. STE G
           BILLFINANCING LOAN AGREEMENT                                                                                                OROVILLE, CA 95966

2. 3495    GENERAL OFF-BILL AND ON-                  10/3/2021       CCOTH_03106                 HUSTEAD'S INC - 1348 7TH ST           PO BOX 41339
           BILLFINANCING LOAN AGREEMENT                                                                                                SANTA BARBARA, CA 93140

2. 3496    GENERAL OFF-BILL AND ON-                  9/24/2019       CCOTH_02433                 HUYNH,DAI TAN - 505 TENNESSEE ST -    10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          VALLEJO                               SANTA FE SPRINGS, CA 90670

2. 3497    GENERAL OFF-BILL AND ON-                  1/21/2021       CCOTH_03145                 HUYNH,THUY - 1795 HILLSDALE AVE       P.O. BOX 1153
           BILLFINANCING LOAN AGREEMENT                                                          STE 50 - SAN JOSE                     SOULSBYVILLE, CA 95372

2. 3498    GENERAL OFF-BILL AND ON-                  1/15/2019       CCOTH_02105                 HYSTER COMPANY INC - 3732 S           1390 RIDGEWOOD DR., SUITE 10
           BILLFINANCING LOAN AGREEMENT                                                          BAGLEY AVE                            CHICO, CA 95973

2. 3499    GENERAL OFF-BILL AND ON-                   6/2/2019       CCOTH_01950                 I 80 PROPERTIES LLC - 555 MASON ST    5036 GREGORY CT
           BILLFINANCING LOAN AGREEMENT                                                                                                SANTA ROSA, CA 95409

2. 3500    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00913                 IAN HAMILTON                          2775 SAND HILL ROAD
                                                                                                                                       MENLO PARK 94025

2. 3501    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00917                 IAN HAMILTON                          2755 SAND HILL ROAD
                                                                                                                                       MENLO PARK 94025




                                                                      Page 368 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                 Page 369
                                                                                of 649
Pacific Gas and Electric Company                                                                                                  Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                               Address
                                                    or Remaining
                                                        Term


2. 3502    SEEC - 2019 SCOPE OF WORK FOR             12/31/2019      CCOTH_03711                 ICLEI                             1536 WYNKOOP ST. #901
           CLEARPATH (CO-FUND)                                                                                                     DENVER, CO 80202

2. 3503    GENERAL OFF-BILL AND ON-                  10/28/2018      CCOTH_01663                 ICON OWNER POOL 1 SF NON-         6120 LINCOLN BLVD. SUITE G
           BILLFINANCING LOAN AGREEMENT                                                          BUSINESS PARKS, LLC               OROVILLE, CA 95966

2. 3504    MASTER SERVICES AGREEMENT                 12/30/2022      CCNRD_02833                 IEC                               IEC CORPORATION
           PROVIDING THAT PG&E MAY ENTER                                                                                           8796 FOLSOM BLVD, STE 205
           INTO CONTRACT WORK                                                                                                      SACRAMENTO, CA 95826
           AUTHORIZATIONS WITH THIS VENDOR
           FOR VARIOUS ENERGY EFFICIENCY
           SERVICES

2. 3505    SMARTAC SUPPORT                           12/31/2019      CCOTH_00010                 IFTTT                             IFTTT, INC.
                                                                                                                                   923 MARKET ST. SUITE 400
                                                                                                                                   SAN FRANCISCO, CA 94103

2. 3506    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03436                 ILLUMINA, INC                     5200 ILLUMINA WAY
           BY DESIGN WHOLE BUILDING                                                                                                SAN DIEGO, CA 92122

2. 3507    INDUSTRIAL CALCULATED INCENTIVES -        Not Stated      CCOTH_03272                 IMERYS MINERALS CALIFORNIA INC    P.O BOX 519
           CUSTOMIZED INCENTIVE PROGRAM                                                                                            LOMPOC, CA 93438

2. 3508    GENERAL OFF-BILL AND ON-                  3/10/2019       CCOTH_01541                 INDIA BASIN BUSINESS CENTER       6120 LINCOLN BLVD., STE G
           BILLFINANCING LOAN AGREEMENT                                                                                            OROVILLE, CA 95966

2. 3509    WATER AGREEMENT                           Not Stated      CCCRSOT_000                 INDIAN WELLS VALLEY WATER DIST    INDIAN WELLS VALLEY WATER
                                                                         92                                                        DISTRICT
                                                                                                                                   500 W RIDGECREST BLVD
                                                                                                                                   RIDGECREST, CA 93556

2. 3510    GARBAGE AGREEMENT                         Not Stated      CCCRSOT_000                 INDUSTRIAL WASTE & SALVAGE        ORANGE AVENUE DISPOSAL,
                                                                         93                                                        INDUSTRIAL WASTE & SALVAGE
                                                                                                                                   INC
                                                                                                                                   FRESNO, CA

2. 3511    GENERAL OFF-BILL AND ON-                  10/26/2020      CCOTH_02001                 INDUSTRY WEST COMMERCE CENTER     1960 LOS ALAMOS ROAD
           BILLFINANCING LOAN AGREEMENT                                                          LLC                               SANTA ROSA, CA 95409




                                                                      Page 369 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 370
                                                                                of 649
Pacific Gas and Electric Company                                                                                                     Case Number:        19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 3512    COMMERCIAL CALCULATED                     Not Stated      CCOTH_00165                 INFOMART DATA CENTERS LLC            2001 FORTUNE DR.
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                          SAN JOSE, CA 95131
           PROGRAM

2. 3513    COMMERCIAL CALCULATED                     Not Stated      CCOTH_00163                 INFOMART DC                          2001 FORTUNE DR
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                          SAN JOSE, CA 95131
           PROGRAM

2. 3514    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03434                 INIS BRAE, LLC                       1401 OLD COUNTY RD
           BY DESIGN WHOLE BUILDING                                                                                                   SAN CARLOS, CA 94070

2. 3515    GENERAL OFF-BILL AND ON-                  5/14/2023       CCOTH_01319                 INNER ATHLETE FITNESS INC - 685 E    6644 N. HIGHLAND
           BILLFINANCING LOAN AGREEMENT                                                          14TH ST                              CLOVIS, CA 93619

2. 3516    GENERAL OFF-BILL AND ON-                  11/30/2022      CCOTH_01806                 INNOVA LLC - 4661 GOLDEN FOOTHILL    12820 EARHART AVE
           BILLFINANCING LOAN AGREEMENT                                                          PKWY                                 AUBURN, CA 95602

2. 3517    COMMERCIAL CALCULATED                     Not Stated      CCOTH_00171                 INNOVATIVE CRCUITS                   2310 LUNDY AVE.
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                          SAN JOSE, CA 95313
           PROGRAM

2. 3518    GENERAL OFF-BILL AND ON-                  7/19/2019       CCOTH_01494                 INNOVION INC - 2121 ZANKER RD        27363 VIA INDUSTRIA
           BILLFINANCING LOAN AGREEMENT                                                                                               TEMECULA, CA 92590

2. 3519    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03405                 INTEGRAL GROUP                       427 - 13TH ST.
           BY DESIGN WHOLE BUILDING                                                                                                   OAKLAND, CA 94612

2. 3520    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03407                 INTEGRAL GROUP                       427 13TH ST
           BY DESIGN WHOLE BUILDING                                                                                                   OAKLAND, CA 94612

2. 3521    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03409                 INTEGRAL GROUP                       427 13TH ST.
           BY DESIGN WHOLE BUILDING                                                                                                   OAKLAND, CA 94612

2. 3522    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03410                 INTEGRAL GROUP                       417 - 13TH STREET
           BY DESIGN WHOLE BUILDING                                                                                                   OAKLAND, CA

2. 3523    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03411                 INTEGRAL GROUP                       427 - 13TH STREET
           BY DESIGN WHOLE BUILDING                                                                                                   OAKLAND, CA 94612



                                                                      Page 370 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                  Page 371
                                                                                of 649
Pacific Gas and Electric Company                                                                                                 Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                               Address
                                                    or Remaining
                                                        Term


2. 3524    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03413                 INTEGRAL GROUP                   427 - 13TH ST.
           BY DESIGN WHOLE BUILDING                                                                                               OAKLAND, CA 94612

2. 3525    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03414                 INTEGRAL GROUP                   427 13TH ST.
           BY DESIGN WHOLE BUILDING                                                                                               OAKLAND, CA 94612

2. 3526    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03415                 INTEGRAL GROUP                   427 13TH ST.
           BY DESIGN WHOLE BUILDING                                                                                               OAKLAND, CA 94612

2. 3527    ZERO NET ENERGY (ZNE) PRODUCTION          5/31/2019       CCOTH_03754                 INTEGRAL GROUP                   427 13TH ST.
           BUILDER DEMONSTRATION                                                                                                  OAKLAND, CA 94612

2. 3528    INTEGRAL GROUP INC                        3/31/2019       CCOTH_03696                 INTEGRAL GROUP INC               75 E SANTA CLARA ST 6TH FLOOR
                                                                                                                                  SAN JOSE, CA 95113

2. 3529    2019 TITLE 24 CASE STUDIES-HVAC           3/31/2019       CCOTH_03677                 INTEGRAL GROUP INC.              427 13TH STREET
                                                                                                                                  OAKLAND, CA 94612

2. 3530    2019 TITLE 24 CASE STUDIES-HVAC_EXP.      3/31/2019       CCOTH_03678                 INTEGRAL GROUP INC.              427 13TH STREET
                                                                                                                                  OAKLAND, CA 94612

2. 3531    2019 TITLE 24 CASE STUDIES-               3/31/2019       CCOTH_03680                 INTEGRAL GROUP INC.              427 13TH STREET
           HVAC_EXP. FOR EQUIPMENT                                                                                                OAKLAND, CA 94612

2. 3532    2019 TITLE 24 CASE STUDIES-               5/31/2019       CCOTH_03681                 INTEGRAL GROUP INC.              427 13TH STREET
           HVAC_EXP. FOR EQUIPMENT                                                                                                OAKLAND, CA 94612

2. 3533    GENERAL OFF-BILL AND ON-                  10/4/2023       CCOTH_02993                 INTEGRATED MANUFACTURING GROUP 11812 KEMPER ROAD
           BILLFINANCING LOAN AGREEMENT                                                          LLC                            AUBURN, CA 95603

2. 3534    CSI (THERMAL)                             Not Stated      CCOTH_00475                 INTELLIGENT GREEN SOLUTIONS      3947 E. BRUNDAGE LANE
                                                                                                                                   SUITE A
                                                                                                                                   BAKERSFIELD, CA 93307

2. 3535    CSI (THERMAL)                             Not Stated      CCOTH_00476                 INTELLIGENT GREEN SOLUTIONS      3947 E. BRUNDAGE LANE
                                                                                                                                   SUITE A
                                                                                                                                   BAKERSFIELD, CA 93307




                                                                      Page 371 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 372
                                                                                of 649
Pacific Gas and Electric Company                                                                                                     Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 3536    CSI (THERMAL)                             Not Stated      CCOTH_00477                 INTELLIGENT GREEN SOLUTIONS          3947 E. BRUNDAGE LANE
                                                                                                                                       SUITE A
                                                                                                                                       BAKERSFIELD, CA 93307

2. 3537    CSI (THERMAL)                             Not Stated      CCOTH_00478                 INTELLIGENT GREEN SOLUTIONS          3947 E. BRUNDAGE LANE
                                                                                                                                       SUITE A
                                                                                                                                       BAKERSFIELD, CA 93307

2. 3538    CSI (THERMAL)                             Not Stated      CCOTH_00479                 INTELLIGENT GREEN SOLUTIONS          3947 E. BRUNDAGE LANE
                                                                                                                                       SUITE A
                                                                                                                                       BAKERSFIELD, CA 93307

2. 3539    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03454                 INTERFACE ENGINEERING                135 MAIN STREET, SUITE 400
           BY DESIGN WHOLE BUILDING                                                                                                   SAN FRANCISCO, CA 94105

2. 3540    UNIVERSITY OF                             Not Stated      CCOTH_03664                 INTERFACE ENGINEERING                135 MAIN STREET, SUITE 400
           CALIFORNIA/CALIFORNIA STATE                                                                                                SAN FRANCISCO, CA 94105
           UNIVERSITY - SBD WHOLE BUILDING

2. 3541    COMMERCIAL CALCULATED                     Not Stated      CCOTH_00201                 INTERLAND JALSON                     155 GREENWICH ST
           INCENTIVES - RETRO COMMISSIONING                                                                                           SAN FRANCISCO, CA 94111
           (RCX)

2. 3542    GARBAGE AGREEMENT                         Not Stated      CCCRSOT_000                 INTERMOUNTAIN DISPOSAL               INTERMOUNTAIN DISPOSAL
                                                                         94                                                           INCORPORATED, DBA SIERRA
                                                                                                                                      DISPOSAL,
                                                                                                                                      PORTOLA, CA

2. 3543    GENERAL OFF-BILL AND ON-                  2/28/2020       CCOTH_03167                 INTERVINE CAPITAL CIENEGA VALLEY     10 HARRIS CT STE C-2
           BILLFINANCING LOAN AGREEMENT                                                          LLC - 10034 CIENE                    *OVERNIGHT CHECK DELIVERY**
                                                                                                                                      MONTEREY, CA 93940

2. 3544    GENERAL OFF-BILL AND ON-                  7/24/2022       CCOTH_02590                 INT'L GLOBAL LOGISTICS INC - 1930    5729 SONOMA DR. #G
           BILLFINANCING LOAN AGREEMENT                                                          FAIRWAY DR                           PLEASANTON, CA 94566

2. 3545    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03476                 INTUITIVE SURGICAL INC.              1020 KIFER RC.
           BY DESIGN WHOLE BUILDING                                                                                                   SUNNYVALE, CA 94508




                                                                      Page 372 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                  Page 373
                                                                                of 649
Pacific Gas and Electric Company                                                                                           Case Number:       19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                         Address
                                                    or Remaining
                                                        Term


2. 3546    MASTER LICENSE AGREEMENT FOR              8/15/2032       CCNRD_01667                 INYO                       10630 TOWN CENTER DRIVE
           OPTICAL FIBER USE                                                                                                SUITE 117
                                                                                                                            RANCHO CUCAMONGA, CA 91730

2. 3547    GENERAL OFF-BILL AND ON-                  1/20/2022       CCOTH_01492                 IONE PLAZA MARKET INC      313 PRESTON AVE
           BILLFINANCING LOAN AGREEMENT                                                                                     IONE, CA 95640

2. 3548    INDUSTRIAL CALCULATED INCENTIVES -        Not Stated      CCOTH_03252                 IRON MOUNTAIN              148 COOK ST
           CUSTOMIZED INCENTIVE PROGRAM                                                                                     BILLERICA, MA 1821

2. 3549    INDUSTRIAL CALCULATED INCENTIVES -        Not Stated      CCOTH_03253                 IRON MOUNTAIN              148 COOK ST
           CUSTOMIZED INCENTIVE PROGRAM                                                                                     BILLERICA, MA 1821

2. 3550    INDUSTRIAL CALCULATED INCENTIVES -        Not Stated      CCOTH_03254                 IRON MOUNTAIN              148 COOK ST
           CUSTOMIZED INCENTIVE PROGRAM                                                                                     BILLERICA, MA 1821

2. 3551    INDUSTRIAL CALCULATED INCENTIVES -        Not Stated      CCOTH_03255                 IRON MOUNTAIN              148 COOK ST
           CUSTOMIZED INCENTIVE PROGRAM                                                                                     BILLERICA, MA 1821

2. 3552    INDUSTRIAL CALCULATED INCENTIVES -        Not Stated      CCOTH_03256                 IRON MOUNTAIN              148 COOK ST
           CUSTOMIZED INCENTIVE PROGRAM                                                                                     BILLERICA, MA 1821

2. 3553    INDUSTRIAL CALCULATED INCENTIVES -        Not Stated      CCOTH_03257                 IRON MOUNTAIN              148 COOK ST
           CUSTOMIZED INCENTIVE PROGRAM                                                                                     BILLERICA, MA 1821

2. 3554    INDUSTRIAL CALCULATED INCENTIVES -        Not Stated      CCOTH_03258                 IRON MOUNTAIN              148 COOK ST
           CUSTOMIZED INCENTIVE PROGRAM                                                                                     BILLERICA, MA 1821

2. 3555    INDUSTRIAL CALCULATED INCENTIVES -        Not Stated      CCOTH_03259                 IRON MOUNTAIN              148 COOK ST
           CUSTOMIZED INCENTIVE PROGRAM                                                                                     BILLERICA, MA 1821

2. 3556    INDUSTRIAL CALCULATED INCENTIVES -        Not Stated      CCOTH_03260                 IRON MOUNTAIN              148 COOK ST
           CUSTOMIZED INCENTIVE PROGRAM                                                                                     BILLERICA, MA 1821

2. 3557    INDUSTRIAL CALCULATED INCENTIVES -        Not Stated      CCOTH_03261                 IRON MOUNTAIN              148 COOK ST
           CUSTOMIZED INCENTIVE PROGRAM                                                                                     BILLERICA, MA 1821

2. 3558    INDUSTRIAL CALCULATED INCENTIVES -        Not Stated      CCOTH_03262                 IRON MOUNTAIN              148 COOK ST
           CUSTOMIZED INCENTIVE PROGRAM                                                                                     BILLERICA, MA 1821

                                                                      Page 373 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35          Page 374
                                                                                of 649
Pacific Gas and Electric Company                                                                                                        Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                     Address
                                                    or Remaining
                                                        Term


2. 3559    INDUSTRIAL CALCULATED INCENTIVES -        Not Stated      CCOTH_03263                 IRON MOUNTAIN                           148 COOK ST
           CUSTOMIZED INCENTIVE PROGRAM                                                                                                  BILLERICA, MA 1821

2. 3560    GENERAL OFF-BILL AND ON-                  1/30/2019       CCOTH_01961                 IRON WORKS OWNERS ASSOCIATION           1221 HARRISON ST
           BILLFINANCING LOAN AGREEMENT                                                                                                  SAN FRANCISCO, CA 94103

2. 3561    OPERATION AND MAINTENANCE OF              10/30/2018      CCNRD_02851                 IRRITEC USA                             1420 N IRRITEC WAY
           CUSTOMER-OWNED FACILITIES                                                                                                     FRESNO, CA 93703
           (SWITCHGEAR TESTING SERVICES)

2. 3562    GENERAL OFF-BILL AND ON-                  3/21/2020       CCOTH_01685                 IRRITEC USA INC - 1420 N MAPLE AVE #    1420 N. IRRITEC WAY
           BILLFINANCING LOAN AGREEMENT                                                          MILL                                    FRESNO, CA 93703

2. 3563    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03388                 ISLAND UNIFIED SCHOOL DISTRICT          7729 21ST AVE
           BY DESIGN WHOLE BUILDING                                                                                                      LEMOORE, CA 93245

2. 3564    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03389                 ISLAND UNIFIED SCHOOL DISTRICT          7729 21ST AVE
           BY DESIGN WHOLE BUILDING                                                                                                      LEMOORE, CA 93245

2. 3565    AGRICULTURAL CALCULATED                   Not Stated      CCOTH_00022                 ISRAEL MARTINEZ                         526 NORRINGHAM DR.
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                             BRENTWOOD, CA 94513
           PROGRAM

2. 3566    GENERAL OFF-BILL AND ON-                   1/7/2020       CCOTH_02166                 ITO FARMS INC                           804 ESTATES DR. STE 202
           BILLFINANCING LOAN AGREEMENT                                                                                                  APTOS, CA 95003

2. 3567    GENERAL OFF-BILL AND ON-                  8/25/2019       CCOTH_02156                 IVAN GOERTZEN                           P.O. BOX 578
           BILLFINANCING LOAN AGREEMENT                                                                                                  IVAN GOERTZEN
                                                                                                                                         MCFARLAND, CA 93250

2. 3568    GENERAL OFF-BILL AND ON-                  11/24/2019      CCOTH_01443                 J & D WILSON & SONS DAIRY               4444 SOUTH K STREET
           BILLFINANCING LOAN AGREEMENT                                                                                                  TULARE, CA 93274

2. 3569    GENERAL OFF-BILL AND ON-                   8/9/2021       CCOTH_02386                 J INGRAM & B BRAUNS - 3160 SANTA        10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          RITA RD STE B4                          SANTA FE SPRINGS, CA 90670

2. 3570    GENERAL OFF-BILL AND ON-                  3/14/2021       CCOTH_02529                 J L & B STEVENSON - 5200 MOWRY AVE 10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                                                             SANTA FE SPRINGS, CA 90670



                                                                      Page 374 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                  Page 375
                                                                                of 649
Pacific Gas and Electric Company                                                                                                    Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 3571    GENERAL OFF-BILL AND ON-                  2/28/2021       CCOTH_02531                 J L & B STEVENSON - 5200 MOWRY AVE 10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                                                             SANTA FE SPRINGS, CA 90670

2. 3572    CONSULTING AND ENERGY                     4/26/2019       CCNRD_02895                 J MARCHINI FARMS                    12000 E. LE GRAND RD
           MANAGEMENT SERVICES                                                                                                       LE GRAND, CA 95333

2. 3573    GENERAL OFF-BILL AND ON-                  7/16/2021       CCOTH_03176                 J P FOOD INC - 1218 W HILLSDALE BLVD 1218 W HILLSDALE BLVD.
           BILLFINANCING LOAN AGREEMENT                                                                                               SAN MATEO, CA 94402

2. 3574    GENERAL OFF-BILL AND ON-                  9/25/2019       CCOTH_02296                 J TROOST DAIRY, L.P.                24662 ROAD 9
           BILLFINANCING LOAN AGREEMENT                                                                                              CHOWCHILLA, CA 93610

2. 3575    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00298                 J&E RESTAURANT SUPPLY -             430 E. 19TH STREET
           DEEMED UPSTREAM / MIDSTREAM -                                                         BAKERSFIELD                         BAKERSFIELD, CA 93305
           POINT-OF-SALE FOOD

2. 3576    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00299                 J&E RESTAURANT SUPPLY -             430 E. 19TH STREET
           DEEMED UPSTREAM / MIDSTREAM -                                                         BAKERSFIELD                         BAKERSFIELD, CA 93305
           POINT-OF-SALE FOOD

2. 3577    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00300                 J&E RESTAURANT SUPPLY -             430 E. 19TH STREET
           DEEMED UPSTREAM / MIDSTREAM -                                                         BAKERSFIELD                         BAKERSFIELD, CA 93305
           POINT-OF-SALE FOOD

2. 3578    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00301                 J&E RESTAURANT SUPPLY - FRESNO      224 VAN NESS AVE
           DEEMED UPSTREAM / MIDSTREAM -                                                                                             FRESNO, CA 93721
           POINT-OF-SALE FOOD

2. 3579    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00302                 J&E RESTAURANT SUPPLY - FRESNO      224 VAN NESS AVE
           DEEMED UPSTREAM / MIDSTREAM -                                                                                             FRESNO, CA 93721
           POINT-OF-SALE FOOD

2. 3580    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00303                 J&E RESTAURANT SUPPLY - FRESNO      224 VAN NESS AVE
           DEEMED UPSTREAM / MIDSTREAM -                                                                                             FRESNO, CA 93721
           POINT-OF-SALE FOOD

2. 3581    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00304                 J&E RESTAURANT SUPPLY - FRESNO      224 VAN NESS AVE
           DEEMED UPSTREAM / MIDSTREAM -                                                                                             FRESNO, CA 93721
           POINT-OF-SALE FOOD



                                                                      Page 375 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                 Page 376
                                                                                of 649
Pacific Gas and Electric Company                                                                                                     Case Number:       19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 3582    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00792                 JACK SEXTON                          48105 WARM SPRINGS BLVD.
                                                                                                                                      FREMONT 94539

2. 3583    GENERAL OFF-BILL AND ON-                  4/30/2022       CCOTH_02520                 JACK'S TIRE & OIL MANAGEMENT CO      10610 HUMBOLT STREET
           BILLFINANCING LOAN AGREEMENT                                                          INC - 2830 S CHERR                   LOS ALAMITOS, CA 90720

2. 3584    GENERAL OFF-BILL AND ON-                  10/20/2021      CCOTH_03156                 JACKSON FAMILY WINES INC & SUBS      540 HOWARD ST., 3RD FLOOR
           BILLFINANCING LOAN AGREEMENT                                                                                               SAN FRANCISCO, CA 94105

2. 3585    COMMERCIAL CALCULATED                     Not Stated      CCOTH_00128                 JACKSON RANCHERIA CASINO RESORT PO BOX 1090
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                     JACKSON, CA 95642
           PROGRAM

2. 3586    WATER AGREEMENT                           Not Stated      CCCRSOT_000                 JACKSON, CITY OF                     CITY OF JACKSON
                                                                         95                                                           33 BROADWAY
                                                                                                                                      JACKSON, CA

2. 3587    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01108                 JAIME SEVILLA                        115 12TH AVE
                                                                                                                                      SAN FRANCISCO 94118

2. 3588    GENERAL OFF-BILL AND ON-                   6/9/2020       CCOTH_02061                 JALOS FOOD ENTERPRISES INC           27520 AVENUE HOPKINS #F
           BILLFINANCING LOAN AGREEMENT                                                                                               VALENCIA, CA 91355

2. 3589    GENERAL OFF-BILL AND ON-                   4/7/2023       CCOTH_02835                 JALOS FOOD ENTERPRISES INC - 1482    1350 W WRIGHTWOOD AVE
           BILLFINANCING LOAN AGREEMENT                                                          S BROADWAY - SA                      CHICAGO, IL 60614

2. 3590    REAL PROPERTY LEASE - CHICO               10/31/2023      CCCRSLS_001                 JAMES E OBANNON                      JAMES E OBANNON
           HYDRO WAREHOUSE                                               00                                                           1751 HOOKER OAK AVE
                                                                                                                                      CHICO, CA 95926

2. 3591    GENERAL OFF-BILL AND ON-                  8/15/2023       CCOTH_01316                 JAMES J. STEVINSON CORPORATION -     PO BOX 177
           BILLFINANCING LOAN AGREEMENT                                                          25079 RIVER RD                       ALAMO, CA 94507

2. 3592    GENERAL OFF-BILL AND ON-                  5/27/2022       CCOTH_02607                 JAMES J. STEVINSON CORPORATION -     620 HEDBURG WAY STE 17
           BILLFINANCING LOAN AGREEMENT                                                          2ND AVE                              OAKDALE, CA 95361

2. 3593    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00924                 JAMES KNAPP                          263 N CHORRO
                                                                                                                                      SAN LUIS OBISPO 93405



                                                                      Page 376 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 377
                                                                                of 649
Pacific Gas and Electric Company                                                                                                    Case Number:       19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                 Address
                                                    or Remaining
                                                        Term


2. 3594    GENERAL OFF-BILL AND ON-                  6/28/2020       CCOTH_03002                 JAMES MC KOANE ENTERPRISES INC -    12820 EARHART AVE
           BILLFINANCING LOAN AGREEMENT                                                          2910 E NEES AVE                     AUBURN, CA 95602

2. 3595    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00727                 JAMES MCCARTHY                      6401 PONY EXPRESS TRAIL
                                                                                                                                     POLLOCK PINES 95726

2. 3596    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00628                 JAMES MOODY                         930 PEARWOOD CT
           ADVANCED HOME UPGRADE                                                                                                     VACAVILLE, CA 95687
           (CUSTOM/CALCULATED)

2. 3597    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00541                 JAMES PERRY                         6328 N LODI AVE
           ADVANCED HOME UPGRADE                                                                                                     FRESNO, CA 93722
           (CUSTOM/CALCULATED)

2. 3598    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00503                 JAMES SMITH                         2608 WOODY CREEK CT
           ADVANCED HOME UPGRADE                                                                                                     CAMERON PARK, CA 95682
           (CUSTOM/CALCULATED)

2. 3599    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00722                 JAMES TAYLOR                        6540 AUSTIN RD
                                                                                                                                     STOCKTON 95215

2. 3600    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00729                 JAMIE KOPF                          633 BAIR ISLAND ROAD
                                                                                                                                     REDWOOD CITY 94063

2. 3601    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00702                 JANELLE GOULDING                    703 B ST
                                                                                                                                     MARYSVILLE 95901

2. 3602    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00873                 JANELLE GOULDING                    3374 E SHIELDS AVE
                                                                                                                                     FRESNO 93726

2. 3603    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00886                 JANELLE GOULDING                    31 E CHANNEL ST STE 408
                                                                                                                                     STOCKTON 95202

2. 3604    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00937                 JANELLE GOULDING                    2550 MARIPOSA MALL
                                                                                                                                     FRESNO 93721

2. 3605    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00951                 JANELLE GOULDING                    2440 MAIN ST
                                                                                                                                     RED BLUFF 96080



                                                                      Page 377 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35               Page 378
                                                                                of 649
Pacific Gas and Electric Company                                                                                                    Case Number:        19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 3606    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01049                 JANELLE GOULDING                    1515 CLAY ST
                                                                                                                                     OAKLAND 94612

2. 3607    GENERAL OFF-BILL AND ON-                  8/19/2022       CCOTH_02628                 JANESCO ENTERPRISES INC - 1488 S    8959 TYLER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          MAIN ST - WILLITS                   MENTOR, OH 44060

2. 3608    GENERAL OFF-BILL AND ON-                  9/29/2022       CCOTH_02630                 JANESCO ENTERPRISES INC - 2642      8959 TYLER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          SANTA ROSA AVE                      MENTOR, OH 44060

2. 3609    GENERAL OFF-BILL AND ON-                  2/10/2021       CCOTH_02632                 JANESCO ENTERPRISES INC - 6990      8959 TYLER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          CHESTNUT ST                         MENTOR, OH 44060

2. 3610    GENERAL OFF-BILL AND ON-                  10/8/2020       CCOTH_02631                 JANESCO ENTERPRISES INC - 8390      8959 TYLER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          ARROYO CIR                          MENTOR, OH 44060

2. 3611    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00805                 JASON GUNDRUM                       455 E TRIMBLE RD
                                                                                                                                     SAN JOSE 95131

2. 3612    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00501                 JASON MCCARTHY AND KATHRYN          409 HOWARD AVE
           ADVANCED HOME UPGRADE                                                                 MORRIS                              BURLINGAME, CA 94010
           (CUSTOM/CALCULATED)

2. 3613    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00866                 JASON SCHLUTT                       350 W TRIMBLE RD
                                                                                                                                     SAN JOSE 95131

2. 3614    GENERAL OFF-BILL AND ON-                  4/21/2019       CCOTH_02491                 JASON WALLOCK PARLIAMENT            2108 MANASSAS COURT
           BILLFINANCING LOAN AGREEMENT                                                          PROPERTIES INC - 842 N DE           SAN JOSE, CA 95116

2. 3615    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00606                 JASON WECHTER                       1315 32ND AVE
           ADVANCED HOME UPGRADE                                                                                                     SAN FRANCISCO, CA 94122
           (CUSTOM/CALCULATED)

2. 3616    GENERAL OFF-BILL AND ON-                  10/4/2018       CCOTH_01613                 JASWANT KAHLON DBA U SAVE LIQUOR 328 GREENWOOD PLACE
           BILLFINANCING LOAN AGREEMENT                                                                                           BONITA, CA 91902

2. 3617    GENERAL OFF-BILL AND ON-                  8/14/2022       CCOTH_01284                 JAZZ GROUP INC - 2150 W YOSEMITE    5151 PENTECOST DRIVE
           BILLFINANCING LOAN AGREEMENT                                                          AVE                                 SUITE B
                                                                                                                                     MODESTO, CA 95356



                                                                      Page 378 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 379
                                                                                of 649
Pacific Gas and Electric Company                                                                                                   Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 3618    GENERAL OFF-BILL AND ON-                  8/15/2023       CCOTH_01193                 JC HAMBURGERS INC - 715 CAPITOL    2491 ALLUVIAL AVENUE #480
           BILLFINANCING LOAN AGREEMENT                                                          EXPRESSWAY AUTO MA                 CLOVIS, CA 93611

2. 3619    SELF-GENERATION INCENTIVE                 Not Stated      CCOTH_03515                 JEAN FORDIS                        280 LOS ALTOS COURT
           PROGRAM                                                                                                                   LOS ALTOS, CA 94022

2. 3620    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00611                 JEANNE SPARKS                      2242 FALLEN LEAF DR
           ADVANCED HOME UPGRADE                                                                                                    SANTA MARIA, CA 93455
           (CUSTOM/CALCULATED)

2. 3621    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00970                 JED BICKEL                         2241 PRICE STREET
                                                                                                                                    PISMO BEACH 93449

2. 3622    GENERAL OFF-BILL AND ON-                  9/23/2020       CCOTH_01410                 JEEVAN ENTERPRISES INC             360 TESCONI CIR
           BILLFINANCING LOAN AGREEMENT                                                                                             SANTA ROSA, CA 95401

2. 3623    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00737                 JEFF FINAZZO                       6111 BOLLINGER CANYON RD
                                                                                                                                    SAN RAMON 94583

2. 3624    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00834                 JEFF FINAZZO                       4000 EXECUTIVE PKWY
                                                                                                                                    SAN RAMON 94583

2. 3625    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00927                 JEFF FINAZZO                       2613 CAMINO RAMON
                                                                                                                                    SAN RAMON 94583

2. 3626    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00928                 JEFF FINAZZO                       2613 CAMINO RAMON
                                                                                                                                    SAN RAMON 94583

2. 3627    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00932                 JEFF FINAZZO                       2600 CAMINO RAMON
                                                                                                                                    SAN RAMON 94583

2. 3628    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00938                 JEFF FINAZZO                       2527 CAMINO RAMON
                                                                                                                                    SAN RAMON 94583

2. 3629    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00952                 JEFF FINAZZO                       2420 CAMINO RAMON
                                                                                                                                    SAN RAMON 94583

2. 3630    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00953                 JEFF FINAZZO                       2409 CAMINO RAMON
                                                                                                                                    SAN RAMON 94583

                                                                      Page 379 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 380
                                                                                of 649
Pacific Gas and Electric Company                                                                                                   Case Number:       19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                 Address
                                                    or Remaining
                                                        Term


2. 3631    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01091                 JEFF FINAZZO                       12667 ALCOSTA BLVD
                                                                                                                                    SAN RAMON 94583

2. 3632    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00987                 JEFF KREMSDORF                     2001 MCALLISTER STREET
                                                                                                                                    SAN FRANCISCO 94118

2. 3633    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00515                 JEFF YUN-NIKOLAC                   7512 LEEDS AVE
           ADVANCED HOME UPGRADE                                                                                                    CUPERTINO, CA 95014
           (CUSTOM/CALCULATED)

2. 3634    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00511                 JEFFORY KIDD                       6549 OUTLOOK DR
           ADVANCED HOME UPGRADE                                                                                                    CITRUS HEIGHTS, CA 95621
           (CUSTOM/CALCULATED)

2. 3635    GENERAL OFF-BILL AND ON-                  6/13/2020       CCOTH_02419                 JEFFREY A MORRIS GROUP - 2550      877 CEDAR STREET, SUITE 240
           BILLFINANCING LOAN AGREEMENT                                                          SAND HILL RD                       SANTA CRUZ, CA 95060

2. 3636    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00850                 JEFFREY HOLTON                     3820 CYPRESS DR
                                                                                                                                    PETALUMA 94954

2. 3637    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00836                 JEFFREY MAR                        3 HERITAGE VILLAGE LANE
                                                                                                                                    CAMPBELL 95008

2. 3638    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01010                 JEFFREY MAR                        1929 CRISANTO AVENUE
                                                                                                                                    MOUNTAIN VIEW 94040

2. 3639    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00656                 JENICA BIXLER                      880 MABURY RD.
                                                                                                                                    SAN JOSE 95133

2. 3640    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00587                 JENNIFER ABRAHAMS                  1645 ROSE LN
           ADVANCED HOME UPGRADE                                                                                                    PLACERVILLE, CA 95667
           (CUSTOM/CALCULATED)

2. 3641    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00751                 JENNIFER NATO                      5701 OUTLETS AT TEJON
                                                                                                                                    PARKWAY
                                                                                                                                    ARVIN 93203

2. 3642    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00728                 JERE VAN PUFFELEN                  6383 LAS POSITAS RD.
                                                                                                                                    LIVERMORE 94551


                                                                      Page 380 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                  Page 381
                                                                                of 649
Pacific Gas and Electric Company                                                                                                      Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                   Address
                                                    or Remaining
                                                        Term


2. 3643    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01030                 JEREMY EALAND                         1630 E HERNDON AVE
                                                                                                                                       FRESNO 93720

2. 3644    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00980                 JEREMY MATSUO                         210 BURMA ROAD
                                                                                                                                       OAKLAND 94607

2. 3645    GENERAL OFF-BILL AND ON-                  5/24/2023       CCOTH_02383                 JEROME'S CARMEL VALLEY MARKET - 2 2 CHAMBERS LANE
           BILLFINANCING LOAN AGREEMENT                                                          CHAMBERS LN                       **USPS OVERNIGHT DELIVERY**
                                                                                                                                   CARMEL VALLEY, CA 93924

2. 3646    GENERAL OFF-BILL AND ON-                   8/6/2023       CCOTH_02688                 JERRY LAWTON - 825 LINCOLN WAY        17766 PENN VALLEY DR.
           BILLFINANCING LOAN AGREEMENT                                                                                                PENN VALLEY, CA 95946

2. 3647    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00870                 JERRY MEEK                            350 DNA WAY
                                                                                                                                       SOUTH SAN FRANCISCO 94080

2. 3648    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00666                 JESSICA CALDERON                      8105 NORTH LAKE DRIVE
                                                                                                                                       DUBLIN 94568

2. 3649    GENERAL OFF-BILL AND ON-                  10/21/2022      CCOTH_03040                 JESSUP CELLARS HOLDING COMPANY        4225 SOLANO AVE #693
           BILLFINANCING LOAN AGREEMENT                                                          LLC                                   NAPA, CA 94558

2. 3650    GENERAL OFF-BILL AND ON-                  9/27/2021       CCOTH_03229                 JETHI,REKHA - 1800 MOUNT DIABLO ST    1111, W. EL CAMINO REAL
           BILLFINANCING LOAN AGREEMENT                                                                                                STE 135
                                                                                                                                       SUNNYVALE, CA 94087

2. 3651    GENERAL OFF-BILL AND ON-                  11/23/2018      CCOTH_01615                 JHAJ,RUPINDER                         328 GREENWOOD PL
           BILLFINANCING LOAN AGREEMENT                                                                                                BONITA, CA 91902

2. 3652    GENERAL OFF-BILL AND ON-                  3/29/2020       CCOTH_02463                 JHAJ,RUPINDER - 4700 COFFEE RD        511 S HARBOR BLVD #C
           BILLFINANCING LOAN AGREEMENT                                                                                                LA HABRA, CA 90631

2. 3653    GENERAL OFF-BILL AND ON-                  10/22/2018      CCOTH_02782                 JI-EUN HSU & THOMAS HSU               20395 PACIFICA DRIVE, # 104
           BILLFINANCING LOAN AGREEMENT                                                                                                CUPERTINO, CA 95014

2. 3654    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00803                 JIM JENNER                            4580 W ST HWY 12
                                                                                                                                       LODI 95242




                                                                      Page 381 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 382
                                                                                of 649
Pacific Gas and Electric Company                                                                                                        Case Number:        19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                     Address
                                                    or Remaining
                                                        Term


2. 3655    GENERAL OFF-BILL AND ON-                  10/24/2023      CCOTH_02547                 JIVAN HOSPITALITY INC - 1340 N STATE    1430 NORTH STATE ST
           BILLFINANCING LOAN AGREEMENT                                                          ST - UKIAH                              UKIAH, CA 95482

2. 3656    GENERAL OFF-BILL AND ON-                   5/3/2023       CCOTH_02857                 JIVAN HOSPITALITY INC - 1340 N STATE    2450 GIOVANNI DR
           BILLFINANCING LOAN AGREEMENT                                                          ST- UKIAH                               PLACERVILLE, CA 95667

2. 3657    GENERAL OFF-BILL AND ON-                  4/19/2020       CCOTH_02754                 JLS RESTAURANT MANAGEMENT               P.O. BOX 23803
           BILLFINANCING LOAN AGREEMENT                                                          GROUP, INC. - 1547 MERID                SAN JOSE, CA 95153

2. 3658    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00581                 JOANN NEWCOMB                           5635 GRISBORNE AVE
           ADVANCED HOME UPGRADE                                                                                                         OAKLAND, CA 94611
           (CUSTOM/CALCULATED)

2. 3659    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00522                 JOANNE ALLEN                            7801 CRYSTAL BLVD
           ADVANCED HOME UPGRADE                                                                                                         EL DORADO, CA 95623
           (CUSTOM/CALCULATED)

2. 3660    SELF-GENERATION INCENTIVE                 Not Stated      CCOTH_03530                 JODI GARLAND                            36004 GOOSEBERRY LANE
           PROGRAM                                                                                                                        PRATHER, CA 93651

2. 3661    SERVICE AGREEMENT                         Not Stated      CCCRSOT_000                 JOE COVER & SONS                        JOE COVER & SONS INC
                                                                         96                                                              19290 CHEROKEE RD
                                                                                                                                         TUOLUMNE, CA 95379

2. 3662    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01069                 JOE KOSTELNIK                           1400 PARK AVE
                                                                                                                                         EMERYVILLE 94608

2. 3663    GENERAL OFF-BILL AND ON-                  12/28/2019      CCOTH_01850                 JOHAUL,DALJEET SINGH                    PO BOX 168688
           BILLFINANCING LOAN AGREEMENT                                                                                                  IRVING, TX 75016

2. 3664    GENERAL OFF-BILL AND ON-                  2/17/2019       CCOTH_01777                 JOHL PETROLEUM INC                      253 POLARIS AVENUE
           BILLFINANCING LOAN AGREEMENT                                                                                                  DANIEL DALY, SR. ENERGY
                                                                                                                                         MANAGER
                                                                                                                                         MOUNTAIN VIEW, CA 94043

2. 3665    REAL PROPERTY LEASE - MERCED              5/31/2019       CCCRSLS_000                 JOHN AND WILMA SOUZA                    JOHN AND WILMA SOUZA
           OFFICE & CSO                                                  46                                                              WEAVERVILLE, CA




                                                                      Page 382 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                  Page 383
                                                                                of 649
Pacific Gas and Electric Company                                                                                                    Case Number:        19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                 Address
                                                    or Remaining
                                                        Term


2. 3666    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00529                 JOHN BOYER                          77 HILLSIDE DR
           ADVANCED HOME UPGRADE                                                                                                     FAIRFAX, CA 94930
           (CUSTOM/CALCULATED)

2. 3667    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00491                 JOHN COWEE                          509 RAMONA AVE
           ADVANCED HOME UPGRADE                                                                                                     ALBANY, CA 94706
           (CUSTOM/CALCULATED)

2. 3668    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00804                 JOHN CREMIN                         455 WEST EATON AVENUE
                                                                                                                                     TRACY 95376

2. 3669    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00942                 JOHN CREMIN                         2505 W HAMMER LN
                                                                                                                                     STOCKTON 95209

2. 3670    AGRICULTURAL CALCULATED                   Not Stated      CCOTH_00030                 JOHN DE GROOT & SONS INC.           6105 W LINCOLN AVE
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                         FRESNO, CA 93706
           PROGRAM

2. 3671    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01050                 JOHN EDWARDS                        1512 STEWART ROAD
                                                                                                                                     YUBA 95993

2. 3672    GENERAL OFF-BILL AND ON-                  7/29/2019       CCOTH_01829                 JOHN EDWARDS INC                    358 E. FOOTHILL BLVD. SUITE 200
           BILLFINANCING LOAN AGREEMENT                                                                                              SAN DIMAS, CA 91773

2. 3673    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00552                 JOHN GRIFFIN                        515 STOCKMAN LN
           ADVANCED HOME UPGRADE                                                                                                     LINCOLN, CA 95648
           (CUSTOM/CALCULATED)

2. 3674    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00678                 JOHN HILD                           77 SANTA BARBARA ROAD
                                                                                                                                     PLEASANT HILL 94523

2. 3675    GENERAL OFF-BILL AND ON-                  1/22/2022       CCOTH_02815                 JOHN L STEVENSON - 39179 FARWELL    10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          DR                                  SANTA FE SPRINGS, CA 90670

2. 3676    GENERAL OFF-BILL AND ON-                  11/20/2019      CCOTH_01609                 JOHN LAYOUS & JOE LANE              1046 CALLE RECODO, SUITE D
           BILLFINANCING LOAN AGREEMENT                                                                                              SAN CLEMENTE, CA 92673

2. 3677    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00553                 JOHN PETRO                          1305 MCKENZIE AVE
           ADVANCED HOME UPGRADE                                                                                                     LOS ALTOS, CA 94024
           (CUSTOM/CALCULATED)

                                                                      Page 383 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35               Page 384
                                                                                of 649
Pacific Gas and Electric Company                                                                                              Case Number:       19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                            Address
                                                    or Remaining
                                                        Term


2. 3678    REAL PROPERTY LEASE - SACRAMENTO          12/31/2020      CCCRSLS_000                 JOHN S FOGGY                  JOHN S FOGGY
           TECHNOLOGY SERVICE CENTER                                     62                                                    6556 LONETREE BLVD STE 200
                                                                                                                               ROCKLIN, CA 95765

2. 3679    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00851                 JOHN SEDGWICK                 3801 SAN PABLO AVE
                                                                                                                               EMERYVILLE 94608

2. 3680    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00902                 JOHN STEWART                  300 HARTLE COURT
                                                                                                                               NAPA 94559

2. 3681    GENERAL OFF-BILL AND ON-                  6/12/2019       CCOTH_02032                 JOHN T CASEY JR               PO BOX 1756
           BILLFINANCING LOAN AGREEMENT                                                                                        GRASS VALLEY, CA 95945

2. 3682    SELF-GENERATION INCENTIVE                 Not Stated      CCOTH_03517                 JOHN TIPPIT                   9671 OHLONE WAY
           PROGRAM                                                                                                              GILROY, CA 95020

2. 3683    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01002                 JOHN WONG                     1998 BROADWAY
                                                                                                                               SAN FRANCISCO 94109

2. 3684    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00914                 JOHNNY CHAVEZ                 275 S. HILLVIEW DRIVE
                                                                                                                               MILPITAS 95035

2. 3685    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00765                 JOLI MATESSO                  5260 N PALM AVENUE
                                                                                                                               FRESNO 93704

2. 3686    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00537                 JONABETH AND DAVID STOBE      3243 N KNOLL AVE
           ADVANCED HOME UPGRADE                                                                                               FRESNO, CA 93722
           (CUSTOM/CALCULATED)

2. 3687    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01085                 JONATHAN MURILLO              1322 E. SHAW AVE. SUITE 120
                                                                                                                               FRESNO 93710

2. 3688    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00823                 JONATHAN OKINA                41101 ALBRAE ST
                                                                                                                               FREMONT 94538

2. 3689    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00725                 JONATHAN SALISBURY            6500 SOQUEL DR
                                                                                                                               APTOS 95003




                                                                      Page 384 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35             Page 385
                                                                                of 649
Pacific Gas and Electric Company                                                                                                   Case Number:         19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 3690    GENERAL OFF-BILL AND ON-                  4/30/2021       CCOTH_01313                 JONES,WILLIAM R - HWY 140 & VAN    29978 RD 56
           BILLFINANCING LOAN AGREEMENT                                                          CLIEF RD SW CNR                    VISALIA, CA 93291

2. 3691    REAL PROPERTY LEASE - ANTIOCH CSO         12/31/2021      CCCRSLS_000                 JOSEPH AND GAYLE HENSLER           JOSEPH AND GAYLE HENSLER,
                                                                         01                                                         HENSLER FAMILY TRUST,
                                                                                                                                    4760 ILLINOIS AVE
                                                                                                                                    FAIR OAKS, CA 95628

2. 3692    ENERGY UPGRADE CALIFORNIA HOME            Not Stated      CCOTH_00636                 JOSEPH MARTEL                      2082 EMPIRE MINE CIR
           UPGRADE (DEEMED/PRESCRIPTIVE)                                                                                            RANCHO CORDOVA, CA 95670

2. 3693    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00887                 JOSHUA CAMDEN                      3101 MAGLIOCCO DRIVE
                                                                                                                                    SAN JOSE 95128

2. 3694    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00892                 JOSHUA JENKINS                     3061 ZANKER RD.
                                                                                                                                    SAN JOSE 95134

2. 3695    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03341                 JOULE CAPITAL LLC                  2 DEPOT PLAZA
           BY DESIGN WHOLE BUILDING                                                                                                 BEDFORD HILLS, NY 10507

2. 3696    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03342                 JOULE CAPITAL LLC                  2 DEPOT PLAZA
           BY DESIGN WHOLE BUILDING                                                                                                 BEDFORD HILLS, NY 10507

2. 3697    COMMERCIAL CALCULATED                     Not Stated      CCOTH_00180                 JP MORGAN CHASE BANK, N.A.         301 PLAINFIELD RD. SUITE 310
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                        SYRACUSE, NY 13212
           PROGRAM

2. 3698    COMMERCIAL CALCULATED                     Not Stated      CCOTH_00181                 JP MORGAN CHASE BANK, N.A.         301 PLAINFIELD RD. SUITE 310
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                        SYRACUSE, NY 13212
           PROGRAM

2. 3699    COMMERCIAL CALCULATED                     Not Stated      CCOTH_00182                 JP MORGAN CHASE BANK, N.A.         301 PLAINFIELD RD. SUITE 310
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                        SYRACUSE, NY 13212
           PROGRAM

2. 3700    COMMERCIAL CALCULATED                     Not Stated      CCOTH_00183                 JP MORGAN CHASE BANK, N.A.         301 PLAINFIELD RD. SUITE 310
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                        SYRACUSE, NY 13212
           PROGRAM




                                                                      Page 385 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 386
                                                                                of 649
Pacific Gas and Electric Company                                                                                                      Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                   Address
                                                    or Remaining
                                                        Term


2. 3701    COMMERCIAL CALCULATED                     Not Stated      CCOTH_00184                 JP MORGAN CHASE BANK, N.A.            301 PLAINFIELD RD. SUITE 310
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                           SYRACUSE, NY 13212
           PROGRAM

2. 3702    COMMERCIAL CALCULATED                     Not Stated      CCOTH_00185                 JP MORGAN CHASE BANK, N.A.            301 PLAINFIELD RD. SUITE 310
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                           SYRACUSE, NY 13212
           PROGRAM

2. 3703    COMMERCIAL CALCULATED                     Not Stated      CCOTH_00186                 JP MORGAN CHASE BANK, N.A.            301 PLAINFIELD RD. SUITE 310
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                           SYRACUSE, NY 13212
           PROGRAM

2. 3704    COMMERCIAL CALCULATED                     Not Stated      CCOTH_00187                 JP MORGAN CHASE BANK, N.A.            301 PLAINFIELD RD. SUITE 310
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                           SYRACUSE, NY 13212
           PROGRAM

2. 3705    COMMERCIAL CALCULATED                     Not Stated      CCOTH_00188                 JP MORGAN CHASE BANK, N.A.            301 PLAINFIELD RD. SUITE 310
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                           SYRACUSE, NY 13212
           PROGRAM

2. 3706    COMMERCIAL CALCULATED                     Not Stated      CCOTH_00189                 JP MORGAN CHASE BANK, N.A.            301 PLAINFIELD RD. SUITE 310
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                           SYRACUSE, NY 13212
           PROGRAM

2. 3707    GENERAL OFF-BILL AND ON-                  3/22/2021       CCOTH_01236                 JUAN DE LA TORRE - 634 WILLIAMS RD    3479 NW YEON AVE
           BILLFINANCING LOAN AGREEMENT                                                                                                PORTLAND, OR 97210

2. 3708    GENERAL OFF-BILL AND ON-                  4/22/2021       CCOTH_02832                 JUAN DELATORRE - 911 MCLAUGHLIN       3479 NW YEON AVE
           BILLFINANCING LOAN AGREEMENT                                                          AVE                                   PORTLAND, OR 97210

2. 3709    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00612                 JUAN MUY                              4767 F ST
           ADVANCED HOME UPGRADE                                                                                                       SHERIDAN, CA 95681
           (CUSTOM/CALCULATED)

2. 3710    GENERAL OFF-BILL AND ON-                  4/17/2021       CCOTH_02848                 JUAN R DE LA TORRE - 480 S 10TH ST    3479 NW YEON AVE
           BILLFINANCING LOAN AGREEMENT                                                                                                PORTLAND, OR 97210

2. 3711    GENERAL OFF-BILL AND ON-                  9/30/2023       CCOTH_03030                 JUAN RAMON - 15840 MONTEREY ST        3479 NW YEON AVE
           BILLFINANCING LOAN AGREEMENT                                                                                                PORTLAND, OR 97210



                                                                      Page 386 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                 Page 387
                                                                                of 649
Pacific Gas and Electric Company                                                                                                   Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 3712    SELF-GENERATION INCENTIVE                 Not Stated      CCOTH_03516                 JUDY RADOUSKY                      16561 ROLANDO AVE
           PROGRAM                                                                                                                   SAN LEANDRO, CA 94578

2. 3713    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01120                 JUSTIN HELM                        10 BERTIE MINOR LN
                                                                                                                                    SAN FRANCISCO 94115

2. 3714    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00760                 JUSTIN LOVELL                      550 N. CANAL STREET
                                                                                                                                    SOUTH SAN FRANCISCO 94080

2. 3715    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00878                 JUSTIN LOVELL                      329 MILLER AVE
                                                                                                                                    SOUTH SAN FRANCISCO 94080

2. 3716    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00964                 JUSTIN PINCHES                     23410 AIRPORT ROAD
                                                                                                                                    COVELO 95428

2. 3717    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00961                 JUSTIN WELCH                       235 BERRY ST. #403
                                                                                                                                    SAN FRANCISCO 94158

2. 3718    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00947                 JYOTI RAO                          245 MARKET ST
                                                                                                                                    SAN FRANCISCO 94105

2. 3719    GENERAL OFF-BILL AND ON-                  3/19/2019       CCOTH_02678                 K & M ENTERPRISE - 80 SAKATA LN    877 CEDAR ST. SUITE 240
           BILLFINANCING LOAN AGREEMENT                                                                                             SANTA CRUZ, CA 95060

2. 3720    GENERAL OFF-BILL AND ON-                  3/16/2019       CCOTH_01754                 K FULLER & R RASMUSSEN             7677 OAKPORT ST, STE #525
           BILLFINANCING LOAN AGREEMENT                                                                                             OAKLAND, CA 94621

2. 3721    GENERAL OFF-BILL AND ON-                  6/30/2019       CCOTH_01533                 KADAM INC - 3629 E 18TH ST         14439 CATALINA ST
           BILLFINANCING LOAN AGREEMENT                                                                                             SAN LEANDRO, CA 94577

2. 3722    GENERAL OFF-BILL AND ON-                   2/8/2020       CCOTH_02708                 KAHLON,JASKARAN SINGH - 1581 W     1111 W. EL CAMINO REAL
           BILLFINANCING LOAN AGREEMENT                                                          CAMPBELL AVE STE Q                 SUITE 135
                                                                                                                                    SUNNYVALE, CA 94087

2. 3723    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03335                 KAISER PERMANENTE                  1450 MARIA LANE, SUITE 205
           BY DESIGN SYSTEMS                                                                                                        WALNUT CREEK, CA 94596

2. 3724    SELF-GENERATION INCENTIVE                 Not Stated      CCOTH_03521                 KAITLIN WILLS                      739 MEADOWLARK STREET
           PROGRAM                                                                                                                   LIVERMORE, CA 94551

                                                                      Page 387 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 388
                                                                                of 649
Pacific Gas and Electric Company                                                                                                     Case Number:        19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 3725    GENERAL OFF-BILL AND ON-                  6/24/2021       CCOTH_02890                 KAMAL RANDHAWA - 1581 FITZGERALD     PO BOX 572
           BILLFINANCING LOAN AGREEMENT                                                          DR                                   BLUE SPRINGS, MO 64013

2. 3726    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00594                 KAREN STRIPLING                      5744 2ND ST
           ADVANCED HOME UPGRADE                                                                                                      RIO LINDA, CA 95673
           (CUSTOM/CALCULATED)

2. 3727    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00984                 KARI AYCOCK                          2033 N MAIN ST, WALNUT CREEK
                                                                                                                                      WALNUT CREEK 94596

2. 3728    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00973                 KARL OKULOVE                         2211 N 1ST ST
                                                                                                                                      SAN JOSE 95131

2. 3729    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00775                 KARL STEINBERG                       510 G STREET
                                                                                                                                      ANTIOCH 94509

2. 3730    GENERAL OFF-BILL AND ON-                   9/7/2023       CCOTH_01222                 KARTHIKEYA DEVIREDDY MD INC - 311    6644 N. HIGHLAND
           BILLFINANCING LOAN AGREEMENT                                                          W I ST                               CLOVIS, CA 93619

2. 3731    COMMERCIAL CALCULATED                     Not Stated      CCOTH_00177                 KASHIWA FUDOSAN AMERICA INC          400 OYSTER POINT BLVD, SUITE
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                          117
           PROGRAM                                                                                                                    SOUTH SAN FRANCISCO, CA 94108

2. 3732    COMMERCIAL CALCULATED                     Not Stated      CCOTH_00178                 KASHIWA FUDOSAN AMERICA INC          400 OYSTER POINT BLVD.
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                          SOUTH SAN FRANCISCO, CA 94080
           PROGRAM

2. 3733    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00585                 KATHLEEN HENRICHS                    1237 MCDONALD DR
           ADVANCED HOME UPGRADE                                                                                                      PINOLE, CA 94564
           (CUSTOM/CALCULATED)

2. 3734    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00630                 KATHRYN CASTILLO                     1554 ALABAMA AVE
           ADVANCED HOME UPGRADE                                                                                                      WEST SACRAMENTO, CA 95691
           (CUSTOM/CALCULATED)

2. 3735    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00659                 KATIE CHANG                          855 LENZEN AVENUE
                                                                                                                                      SAN JOSE 95126

2. 3736    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00717                 KATIE CHANG                          6677 CAMDEN AVENUE
                                                                                                                                      SAN JOSE 95120

                                                                      Page 388 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 389
                                                                                of 649
Pacific Gas and Electric Company                                                                                                 Case Number:       19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                               Address
                                                    or Remaining
                                                        Term


2. 3737    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00756                 KATIE CHANG                      555 DANA AVENUE
                                                                                                                                  SAN JOSE 95126

2. 3738    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00915                 KATIE CHANG                      275 N. 24TH ST.
                                                                                                                                  SAN JOSE 95116

2. 3739    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00988                 KATIE CHANG                      2001 COTTLE AVENUE
                                                                                                                                  SAN JOSE 95125

2. 3740    GENERAL OFF-BILL AND ON-                  11/15/2022      CCOTH_03012                 KAUR,BALJIT - 400 UNION AVE      10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                                                           SANTA FE SPRINGS, CA 90670

2. 3741    GENERAL OFF-BILL AND ON-                  3/29/2018       CCOTH_01566                 KAUR,SUKHWINDER                  1390 RIDGEWOOD DR., STE. 10
           BILLFINANCING LOAN AGREEMENT                                                                                           CHICO, CA 95973

2. 3742    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00538                 KAYLA ROBINSON                   825 EAST VASSAR AVE
           ADVANCED HOME UPGRADE                                                                                                  FRESNO, CA 93704
           (CUSTOM/CALCULATED)

2. 3743    GENERAL OFF-BILL AND ON-                  9/23/2020       CCOTH_01429                 KCM COMMERCIAL REAL ESTATE       12820 EARHART AVE.
           BILLFINANCING LOAN AGREEMENT                                                          MANAGEMENT - 4995 GOLDE          AUBURN, CA 95602

2. 3744    PROFESSIONAL SERVICES;                    12/31/2019      CCOTH_03826                 KEADJIAN ASSOCIATES LLC          1777 OAKLAND BLVD., SUITE 110
           COMMUNICATIONS, STAKEHOLDER                                                                                            WALNUT CREEK, CA 94596
           OUTREACH

2. 3745    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00492                 KEITH DUNBAR                     8507 SCOTSWOOD WAY
           ADVANCED HOME UPGRADE                                                                                                  ANTELOPE, CA 95843
           (CUSTOM/CALCULATED)

2. 3746    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00958                 KEITH JURCAZAK                   23 MERCY STREET
                                                                                                                                  MOUNTAIN VIEW 94041

2. 3747    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00769                 KELLY CHANG                      520 SOUTH EL CAMINO REAL
                                                                                                                                  SAN MATEO 94402

2. 3748    GENERAL OFF-BILL AND ON-                  8/14/2023       CCOTH_01231                 KELLY DICKER - 755 6TH ST        10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                                                           SANTA FE SPRINGS, CA 90670



                                                                      Page 389 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 390
                                                                                of 649
Pacific Gas and Electric Company                                                                                                     Case Number:       19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 3749    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00736                 KELLY HATTLEY                        611 GATEWAY BLVD
                                                                                                                                      SOUTH SAN FRANCISCO 94080

2. 3750    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00950                 KELLY HATTLEY                        2440 WEST EL CAMINO REAL
                                                                                                                                      MOUNTAIN VIEW 94040

2. 3751    SELF-GENERATION INCENTIVE                 Not Stated      CCOTH_03566                 KEN STERN                            1420 TRINITY CT.
           PROGRAM                                                                                                                     HOLLISTER, CA 95023

2. 3752    GENERAL OFF-BILL AND ON-                  9/16/2020       CCOTH_02229                 KENAI CORP                           685 COCHRAN STREET, SUITE 200
           BILLFINANCING LOAN AGREEMENT                                                                                               SIMI VALLEY, CA 93065

2. 3753    SELF-GENERATION INCENTIVE                 Not Stated      CCOTH_03513                 KENT KUHLMANN                        1027 DEZERAI CT
           PROGRAM                                                                                                                     NAPA, CA 94558

2. 3754    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03387                 KERMAN UNIFIED SCHOOL DISTRICT       151 S 1ST ST
           BY DESIGN WHOLE BUILDING                                                                                                   KERMAN, CA 93630

2. 3755    GENERAL OFF-BILL AND ON-                  12/3/2019       CCOTH_01621                 KERN AUTO GROUP INC                  2044 E. MUSCOT AVE
           BILLFINANCING LOAN AGREEMENT                                                                                               FRESNO, CA 93725

2. 3756    CALIFORNIA COMMUNITY COLLEGES -           Not Stated      CCOTH_00085                 KERN COMMUNITY COLLEGE DISTRICT      2100 CHESTER AVENUE
           SAVINGS BY DESIGN SYSTEMS                                                                                                  BAKERSFIELD, CA 93301

2. 3757    GARBAGE AGREEMENT                         Not Stated      CCCRSOT_000                 KERN COUNTY WASTE MANAGEMENT         KERN COUNTY WASTE
                                                                         97                                                           MANAGEMENT
                                                                                                                                      2700 "M" STREET #500
                                                                                                                                      BAKERSFIELD, CA

2. 3758    PROPERTY MANAGEMENT PORTAL                12/31/2019      CCOTH_03822                 KERN USA LLC                         3940 GANTZ ROAD
           SERVICES                                                                                                                   STE A
                                                                                                                                      GROVE CITY, OH 43123

2. 3759    GENERAL OFF-BILL AND ON-                   2/4/2020       CCOTH_02557                 KERNPAREIL INC - 26529 KIMBERLINA    9530 HAGEMAN RD B #196
           BILLFINANCING LOAN AGREEMENT                                                          RD                                   BAKERSFIELD, CA 93312

2. 3760    GENERAL OFF-BILL AND ON-                   4/3/2019       CCOTH_02799                 KEVIN & J SOLUTIONS INC DBA          2695 N. FOWLER AVENUE, #106
           BILLFINANCING LOAN AGREEMENT                                                          HOWARDS MINI MART                    SHANNON MCFARLAND, GENERAL
                                                                                                                                      MANAGER.
                                                                                                                                      FRESNO, CA 93727

                                                                      Page 390 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 391
                                                                                of 649
Pacific Gas and Electric Company                                                                                                    Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                 Address
                                                    or Remaining
                                                        Term


2. 3761    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00642                 KEVIN BUMEN                         975 AIRPORT DRIVE
                                                                                                                                     SAN LUIS OBISPO 93401

2. 3762    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00899                 KEVIN MULCAHY                       301 KING STREET
                                                                                                                                     SAN FRANCISCO 94158

2. 3763    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00743                 KEVIN O'HAIR                        5928 STONERIDGE MALL ROAD
                                                                                                                                     PLEASENTON 94588

2. 3764    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00744                 KEVIN O'HAIR                        5928 STONERIDGE MALL ROAD
                                                                                                                                     PLEASENTON 94588

2. 3765    SELF-GENERATION INCENTIVE                 Not Stated      CCOTH_03508                 KEVIN ROSSI                         11 ROWE RANCH WAY
           PROGRAM                                                                                                                    NOVATO, CA 94949

2. 3766    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00832                 KEVIN WAUGH                         400 GRAND AVENUE
                                                                                                                                     OROVILLE 95965

2. 3767    GENERAL OFF-BILL AND ON-                   6/7/2019       CCOTH_02941                 KEW CORPORATION - 681 ORANGE DR     413 WILLOW BROOK WAY
           BILLFINANCING LOAN AGREEMENT                                                                                              RIO VISTA, CA 94571

2. 3768    GENERAL OFF-BILL AND ON-                  12/2/2022       CCOTH_01370                 KGO TELEVISION, INC. - 900 FRONT    900 FRONT ST.
           BILLFINANCING LOAN AGREEMENT                                                          ST - SAN FRANCISC                   SAN FRANCISCO, CA 94111

2. 3769    GENERAL OFF-BILL AND ON-                  12/10/2019      CCOTH_01741                 KGS DHOOT ASSO, INC                 9245 LAGUNA SPRINGS RD #200
           BILLFINANCING LOAN AGREEMENT                                                                                              ELK GROVE, CA 95758

2. 3770    SINGLE-FAMILY AFFORDABLE SOLAR            Not Stated      CCOTH_03586                 KHANUM,RAFIA                        9723 DIEGO CT
           HOMES (SASH)                                                                                                               STOCKTON, CA 95212

2. 3771    GENERAL OFF-BILL AND ON-                  8/25/2020       CCOTH_01898                 KILROY REALTY LP                    637 LINDARO ST., SUITE 201
           BILLFINANCING LOAN AGREEMENT                                                                                              **UPS OVERNIGHT -
                                                                                                                                     1ZW088X30143951741**
                                                                                                                                     SAN RAFAEL, CA 94901

2. 3772    GENERAL OFF-BILL AND ON-                  12/20/2018      CCOTH_02305                 KILROY REALTY LP (4400 BOHANNON)    201 S ANDERSON ST.
           BILLFINANCING LOAN AGREEMENT                                                                                              LOS ANGELES, CA 90033




                                                                      Page 391 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                 Page 392
                                                                                of 649
Pacific Gas and Electric Company                                                                                                    Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                 Address
                                                    or Remaining
                                                        Term


2. 3773    REAL PROPERTY LEASE - QUINCY CSO          7/31/2019       CCCRSLS_000                 KIM O DALES                         KIM O DALES
                                                                         57                                                          3522 45TH AVE NE
                                                                                                                                     SEATTLE, WA 98105

2. 3774    GENERAL OFF-BILL AND ON-                  10/10/2018      CCOTH_02786                 KIM, JASON M. DBA 76 GAS STATION    27363 VIA INDUSTRIA
           BILLFINANCING LOAN AGREEMENT                                                                                              CHRISTINA HENRICKSEN
                                                                                                                                     TEMECULA, CA 92563

2. 3775    GENERAL OFF-BILL AND ON-                  9/15/2022       CCOTH_02576                 KINDERWOOD CHILDRENS CENTER -       P.O. BOX 23803
           BILLFINANCING LOAN AGREEMENT                                                          5560 ENTRADA CEDROS                 SAN JOSE, CA 95123

2. 3776    GENERAL OFF-BILL AND ON-                   1/9/2022       CCOTH_02849                 KING CITY UNION ELEMENTARY          104 S. VANDERHURST AVE
           BILLFINANCING LOAN AGREEMENT                                                          SCHOOL DISTRICT                     KING CITY, CA 93930

2. 3777    GENERAL OFF-BILL AND ON-                   8/2/2025       CCOTH_02851                 KING CITY UNION ELEMENTARY          104 S VANDERHURST AVE
           BILLFINANCING LOAN AGREEMENT                                                          SCHOOL DISTRICT                     KING CITY, CA 93930

2. 3778    GENERAL OFF-BILL AND ON-                  11/15/2026      CCOTH_02852                 KING CITY UNION ELEMENTARY          104 S. VANDERHURST AVE
           BILLFINANCING LOAN AGREEMENT                                                          SCHOOL DISTRICT                     KING CITY, CA 93930

2. 3779    GENERAL OFF-BILL AND ON-                  8/20/2022       CCOTH_02850                 KING CITY UNION ELEMENTARY          104 S VANDERHURST AVE
           BILLFINANCING LOAN AGREEMENT                                                          SCHOOL DISTRICT - 502 K             KING CITY, CA 93930

2. 3780    GENERAL OFF-BILL AND ON-                  11/27/2022      CCOTH_01870                 KINGS CANYON USD (CITRUS MIDDLE     675 WEST MANNING AVENUE
           BILLFINANCING LOAN AGREEMENT                                                          SCHOOL)                             REEDLEY, CA

2. 3781    GENERAL OFF-BILL AND ON-                  10/27/2022      CCOTH_02950                 KINGS CANYON USD (DUNLAP            675 WEST MANNING AVENUE
           BILLFINANCING LOAN AGREEMENT                                                          ELEMENTARY)                         REEDLEY, CA

2. 3782    GENERAL OFF-BILL AND ON-                  12/27/2021      CCOTH_02946                 KINGS CANYON USD (KC KIDS SCHOOL) 675 WEST MANNING AVENUE
           BILLFINANCING LOAN AGREEMENT                                                                                            REEDLEY, CA

2. 3783    GENERAL OFF-BILL AND ON-                  9/27/2022       CCOTH_02947                 KINGS CANYON USD (ORANGE COVE       675 WEST MANNING AVENUE
           BILLFINANCING LOAN AGREEMENT                                                          HIGH SCHOOL)                        REEDLEY, CA

2. 3784    GENERAL OFF-BILL AND ON-                  10/27/2020      CCOTH_02948                 KINGS CANYON USD (REEDLEY HIGH      675 WEST MANNING AVENUE
           BILLFINANCING LOAN AGREEMENT                                                          SCHOOL)                             REEDLEY, CA




                                                                      Page 392 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 393
                                                                                of 649
Pacific Gas and Electric Company                                                                                                     Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 3785    GENERAL OFF-BILL AND ON-                  11/27/2022      CCOTH_02949                 KINGS CANYON USD (SILAS BARTSCH      675 WEST MANNING AVENUE
           BILLFINANCING LOAN AGREEMENT                                                          ELEMENTARY)                          REEDLEY, CA

2. 3786    GENERAL OFF-BILL AND ON-                  6/28/2021       CCOTH_02970                 KINGS PLAZA DEV CORP - 1601 41ST     804 ESTATES DR STE 202
           BILLFINANCING LOAN AGREEMENT                                                          AVE STE 202                          APTOS, CA 95003

2. 3787    OPERATION AND MAINTENANCE OF              9/27/2023       CCNRD_02843                 KINGS RIVER CONSERVATION DISTRICT 4886 EAST JENSEN AVE
           CUSTOMER-OWNED FACILITIES                                                                                               FRESNO, CA 93725

2. 3788    GENERAL OFF-BILL AND ON-                   8/5/2020       CCOTH_02647                 KINGS RIVER PACKING INC - 21083 E    21083 E TRIMMER SPRINGS RD.
           BILLFINANCING LOAN AGREEMENT                                                          TRIMMER SPRINGS                      SANGER, CA 93657

2. 3789    GENERAL OFF-BILL AND ON-                  4/15/2021       CCOTH_01311                 KINGS RIVER PACKING LP - 15749 E     21083 E TRIMMER SPRINGS RD
           BILLFINANCING LOAN AGREEMENT                                                          KINGS CANYON RD                      SANGER, CA 93657

2. 3790    GENERAL OFF-BILL AND ON-                  12/19/2018      CCOTH_01944                 KINGS RIVER WATER ASSOC - 4888 E     4688 W JENNIFER AVE., STE #107
           BILLFINANCING LOAN AGREEMENT                                                          JENSEN AVE                           FRESNO, CA 93722

2. 3791    GENERAL OFF-BILL AND ON-                  3/17/2020       CCOTH_01804                 KINGS VILLAGE INC - 222 MOUNT        230 MT HERMON RD #200
           BILLFINANCING LOAN AGREEMENT                                                          HERMON RD                            SCOTTS VALLEY, CA 95066

2. 3792    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00533                 KIRAN KUMAR KAMREDDY                 35663 CABRILLO DR
           ADVANCED HOME UPGRADE                                                                                                      FREMONT, CA 94536
           (CUSTOM/CALCULATED)

2. 3793    GENERAL OFF-BILL AND ON-                  8/29/2021       CCOTH_01628                 KLAIRS - 711 MAIN ST                 1641 PRINCETON AVE #6
           BILLFINANCING LOAN AGREEMENT                                                                                               MODESTO, CA 95350

2. 3794    GENERAL OFF-BILL AND ON-                   5/6/2019       CCOTH_01560                 KLK YOUNG MEAT MARKET INC            747 ENTERPRISE CT.
           BILLFINANCING LOAN AGREEMENT                                                                                               CHARLES KERR, BRANCH
                                                                                                                                      MANAGER
                                                                                                                                      LIVERMORE, CA 94550

2. 3795    GENERAL OFF-BILL AND ON-                   3/6/2022       CCOTH_01686                 KLK YOUNG MEAT MARKET INC            P.O. BOX 122
           BILLFINANCING LOAN AGREEMENT                                                                                               LOCKEFORD, CA 95237

2. 3796    GENERAL OFF-BILL AND ON-                  11/27/2018      CCOTH_02925                 KMS CONVENIENCE MARTS                400 E LINCOLN ROAD, UNIT A
           BILLFINANCING LOAN AGREEMENT                                                                                               VALLEJO, CA 94590



                                                                      Page 393 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                  Page 394
                                                                                of 649
Pacific Gas and Electric Company                                                                                                   Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 3797    REAL PROPERTY LEASE - MODESTO             12/31/2019      CCCRSLS_000                 KNK INVESTMENTS LP                 KNK INVESTMENTS LP
           GAS OPS OFFICE & YARD                                         48                                                         FRESNO, CA

2. 3798    GENERAL OFF-BILL AND ON-                  4/24/2021       CCOTH_01952                 KOCAL PROPERTIES                   135 MAIN AVE
           BILLFINANCING LOAN AGREEMENT                                                                                             SACRAMENTO, CA 95838

2. 3799    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00758                 KOMENDI KOSASIH                    555 4TH ST
                                                                                                                                    SAN FRANCISCO 94107

2. 3800    GENERAL OFF-BILL AND ON-                  10/25/2022      CCOTH_01198                 KOOLHAAS,TOM - 29770 E HWY 4       13425 MOLINA ST.
           BILLFINANCING LOAN AGREEMENT                                                                                             LA GRANGE, CA 95361

2. 3801    REAL PROPERTY LEASE - OAKLAND             7/31/2020       CCCRSLS_000                 KRE 1330 BROADWAY VENTURE LLC      KRE 1330 BROADWAY VENTURE
           GOV. RELATIONS OFFICE                                         54                                                         LLC
                                                                                                                                    9 W 57TH ST STE 4200
                                                                                                                                    NEW YORK, NY 10019

2. 3802    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00640                 KRUTE SINGA                        BETTY ANNE GARDENS - 945
                                                                                                                                    LUNDY AVE.
                                                                                                                                    SAN JOSE 95133

2. 3803    GENERAL OFF-BILL AND ON-                   1/6/2024       CCOTH_01220                 KUKJE INC - 2350 JUNIPERO SERRA    10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          BLVD - DALY CITY                   SANTA FE SPRINGS, CA 90670

2. 3804    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00632                 KURT SCHRADER                      2849 JANET DR.
           ADVANCED HOME UPGRADE                                                                                                    WEST SACRAMENTO, CA 95691
           (CUSTOM/CALCULATED)

2. 3805    TRAINING SUPPORT                          12/31/2018      CCOTH_03736                 KW ENGINEERING                     287 17TH STREET, SUITE 300
                                                                                                                                    OAKLAND, CA 94612

2. 3806    GENERAL OFF-BILL AND ON-                  10/8/2020       CCOTH_02418                 KWON,DANIEL - 804 N BROADWAY       511 S HARBOR BLVD, #C
           BILLFINANCING LOAN AGREEMENT                                                                                             LA HABRA, CA 90631

2. 3807    GENERAL OFF-BILL AND ON-                  12/23/2018      CCOTH_02960                 KYSAR INC DBA EARTH SONG MARKET    135 ARGALL WAY # 1
           BILLFINANCING LOAN AGREEMENT                                                                                             NEVADA, CA 95959

2. 3808    GENERAL OFF-BILL AND ON-                  10/31/2020      CCOTH_02249                 L & S ENTERPRISES INC              121 E GRAND AVE.
           BILLFINANCING LOAN AGREEMENT                                                                                             WINTERS, CA 95694


                                                                      Page 394 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                 Page 395
                                                                                of 649
Pacific Gas and Electric Company                                                                                                     Case Number:        19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 3809    GENERAL OFF-BILL AND ON-                  11/26/2021      CCOTH_01140                 LA FIESTA SUPERMARKET - 1900 S EL    6644 N. HIGHLAND
           BILLFINANCING LOAN AGREEMENT                                                          DORADO ST                            CLOVIS, CA 93619

2. 3810    GENERAL OFF-BILL AND ON-                   5/2/2021       CCOTH_01917                 LA GALLERIA HOMEOWNERS               900 BUSH ST
           BILLFINANCING LOAN AGREEMENT                                                          ASSOCIATION - 900 BUSH ST            SAN FRANCISCO, CA 94109

2. 3811    GENERAL OFF-BILL AND ON-                  1/11/2020       CCOTH_02452                 LA JOLLA & COLLINS PRPTY MNGMNT      1725 RUTAN DRIVE
           BILLFINANCING LOAN AGREEMENT                                                          JOINT VENTURE                        LIVERMORE, CA 94551

2. 3812    GENERAL OFF-BILL AND ON-                  4/29/2021       CCOTH_02454                 LA JOLLA & COLLINS PRPTY MNGMNT      1725 RUTAN DRIVE
           BILLFINANCING LOAN AGREEMENT                                                          JOINT VENTURE - 14                   LIVERMORE, CA 94551

2. 3813    GENERAL OFF-BILL AND ON-                  6/12/2019       CCOTH_02451                 LA JOLLA & COLLINS PRPTY MNGMNT      1725 RUTAN DRIVE
           BILLFINANCING LOAN AGREEMENT                                                          JOINT VENTURE - 20                   LIVERMORE, CA 94551

2. 3814    GENERAL OFF-BILL AND ON-                  6/11/2022       CCOTH_02448                 LA JOLLA & COLLINS PRPTY MNGMNT      1725 RUTAN DRIVE
           BILLFINANCING LOAN AGREEMENT                                                          JOINT VENTURE - 4                    LIVERMORE, CA 94551

2. 3815    GENERAL OFF-BILL AND ON-                  12/11/2020      CCOTH_02488                 LA JOLLA & COLLINS PRPTY MNGMNT      1725 RUTAN DRIVE
           BILLFINANCING LOAN AGREEMENT                                                          JOINT VENTURE - 4                    LIVERMORE, CA 94551

2. 3816    GENERAL OFF-BILL AND ON-                  4/29/2020       CCOTH_02440                 LA JOLLA & COLLINS PRPTY MNGMNT      1725 RUTAN DRIVE
           BILLFINANCING LOAN AGREEMENT                                                          JOINT VENTURE - 40                   LIVERMORE, CA 94551

2. 3817    GENERAL OFF-BILL AND ON-                  4/19/2021       CCOTH_02453                 LA JOLLA & COLLINS PRPTY MNGMNT      1725 RUTAN DRIVE
           BILLFINANCING LOAN AGREEMENT                                                          JOINT VENTURE - 48                   LIVERMORE, CA 94551

2. 3818    GENERAL OFF-BILL AND ON-                  8/19/2021       CCOTH_02455                 LA JOLLA & COLLINS PRPTY MNGMNT      1725 RUTAN DRIVE
           BILLFINANCING LOAN AGREEMENT                                                          JOINT VENTURE - 56                   LIVERMORE, CA 94551

2. 3819    GENERAL OFF-BILL AND ON-                   3/3/2021       CCOTH_02441                 LA JOLLA & COLLINS PRPTY MNGMNT      1725 RUTAN DRIVE
           BILLFINANCING LOAN AGREEMENT                                                          JOINT VENTURE - 60                   LIVERMORE, CA 94551

2. 3820    GENERAL OFF-BILL AND ON-                  7/16/2019       CCOTH_02449                 LA JOLLA & COLLINS PRPTY MNGMNT      1725 RUTAN DRIVE
           BILLFINANCING LOAN AGREEMENT                                                          JOINT VENTURE - 60                   LIVERMORE, CA 94551

2. 3821    GENERAL OFF-BILL AND ON-                  2/16/2021       CCOTH_02443                 LA JOLLA & COLLINS PRPTY MNGMNT      1725 RUTAN DRIVE
           BILLFINANCING LOAN AGREEMENT                                                          JOINT VENTURE - 66                   LIVERMORE, CA 94551



                                                                      Page 395 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 396
                                                                                of 649
Pacific Gas and Electric Company                                                                                                  Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 3822    GENERAL OFF-BILL AND ON-                   5/7/2021       CCOTH_02900                 LA PRECIOSA FAMILY SUPERMARKET    10 HARRIS COURT, BLDG C, SUITE
           BILLFINANCING LOAN AGREEMENT                                                          L.P.-1220 BROADWAY                2
                                                                                                                                   MONTEREY, CA 93940

2. 3823    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01001                 LADAN ESFAHANI                    1 DAVIS DRIVE
                                                                                                                                   BELMONT 94402

2. 3824    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01115                 LADAN ESFAHANI                    111 ANZA BLVD
                                                                                                                                   BURLINGAME 94010

2. 3825    CONSULTING AND ENERGY                      2/5/2019       CCNRD_02889                 LAGORIO PROPERTIES, LP            777 N. PERSHING AVE
           MANAGEMENT SERVICES                                                                                                     STOCKTON, CA 95203

2. 3826    INDUSTRIAL CALCULATED INCENTIVES -        Not Stated      CCOTH_03295                 LAGUNA COUNTY SANITATION          620 W FOSTER RD
           CUSTOMIZED INCENTIVE PROGRAM                                                          DISTRICT                          SANTA MARIA, CA 93455

2. 3827    REAL PROPERTY LEASE - SANTA ROSA          9/14/2019       CCCRSLS_001                 LAIER & KANTOCK                   LAIER & KANTOCK
           GC LICENSE YARD (TEMP)                                        12                                                        1080 AIRPORT BLVD
                                                                                                                                   SANTA ROSA, CA

2. 3828    REAL PROPERTY LEASE - SANTA ROSA          9/14/2019       CCCRSLS_000                 LAIER & KANTOCK                   LAIER & KANTOCK
           GC YARD                                                       78                                                        1080 AIRPORT BLVD
                                                                                                                                   SANTA ROSA, CA

2. 3829    WATER AGREEMENT                           Not Stated      CCCRSOT_000                 LAKE ALPINE WATER COMPANY         LAKE ALPINE WATER CO
                                                                         99                                                        BEAR VALLEY, CA

2. 3830    WATER/SEWER AGREEMENT                     Not Stated      CCCRSOT_001                 LAKE COUNTY SPECIAL DISTRICT      LAKE COUNTY SPECIAL
                                                                         00                                                        DISTRICTS ATTN GEYSERS
                                                                                                                                   PIPELINE
                                                                                                                                   230 N MAIN ST
                                                                                                                                   LAKEPORT, CA

2. 3831    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03417                 LAKE ELEMENTARY UNIFIED SCHOOL    4672 COUNTY RD N
           BY DESIGN WHOLE BUILDING                                                              DISTRICT                          ORLAND, CA 95963

2. 3832    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03418                 LAKE ELEMENTARY UNIFIED SCHOOL    4672 COUNTY RD N.
           BY DESIGN WHOLE BUILDING                                                              DISTRICT                          ORLAND, CA




                                                                      Page 396 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                 Page 397
                                                                                of 649
Pacific Gas and Electric Company                                                                                                  Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 3833    GENERAL OFF-BILL AND ON-                  5/20/2022       CCOTH_02225                 LAKEHILLS COVENANT CHURCH         3330 SWETZER RD
           BILLFINANCING LOAN AGREEMENT                                                                                            LOOMIS, CA 95650

2. 3834    SERVICE AGREEMENT                         Not Stated      CCCRSOT_001                 LAKEPORT DISPOSAL                 LAKEPORT DISPOSAL CO INC
                                                                         02                                                        LAKEPORT, CA

2. 3835    WATER/SEWER AGREEMENT                     Not Stated      CCCRSOT_001                 LAKEPORT, CITY OF                 CITY OF LAKEPORT
                                                                         01                                                        225 PARK ST
                                                                                                                                   LAKEPORT, CA 95453

2. 3836    GENERAL OFF-BILL AND ON-                  12/20/2022      CCOTH_02057                 LAKERIDGE ATHLETIC CLUB INC       6350 SAN PABLO DAM RD
           BILLFINANCING LOAN AGREEMENT                                                                                            EL SOBRANTE, CA 94803

2. 3837    GENERAL OFF-BILL AND ON-                  4/26/2020       CCOTH_01947                 LAKHBIR NAGRA - 4897 E KINGS      4897 E KINGS CANYON ROAD
           BILLFINANCING LOAN AGREEMENT                                                          CANYON RD                         FRESNO, CA 93727

2. 3838    GENERAL OFF-BILL AND ON-                  4/11/2019       CCOTH_01336                 LAKHBIR NAGRA/ DBA JL GAS FOOD    328 GREENWOOD PLACE
           BILLFINANCING LOAN AGREEMENT                                                                                            BONITA, CA 91902

2. 3839    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03359                 LANCE KASHIAN                     265 E. RIVER PARK CIR SUITE 150
           BY DESIGN WHOLE BUILDING                                                                                                FRESNO, CA 93721

2. 3840    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03358                 LANCE-KASHIAN & CO.               265 E. RIVER PARK CIR SUITE 150
           BY DESIGN WHOLE BUILDING                                                                                                FRESNO, CA 93720

2. 3841    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03370                 LANCE-KASHIAN & CO.               265 E. RIVER PARK CIRCLE, STE
           BY DESIGN WHOLE BUILDING                                                                                                150
                                                                                                                                   FRESNO, CA 93720

2. 3842    GENERAL OFF-BILL AND ON-                  5/26/2019       CCOTH_01966                 LAND AND SEA RESTAURANTS LLC-     369 EMBARCADERO ST.
           BILLFINANCING LOAN AGREEMENT                                                          EPIC                              SAN FRANCISCO, CA 94103

2. 3843    GENERAL OFF-BILL AND ON-                  5/22/2019       CCOTH_01967                 LAND AND SEA RESTAURANTS LLC-     399 EMBARCADERRO ST.
           BILLFINANCING LOAN AGREEMENT                                                          WATER BAR                         SAN FRANCISCO, CA 94103

2. 3844    SMARTAC                                   Not Stated      CCOTH_03615                 LANGAN,PAMELA                     3120 LIVE OAK BLVD UNIT 6
                                                                                                                                   YUBA CITY, CA 95991




                                                                      Page 397 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                 Page 398
                                                                                of 649
Pacific Gas and Electric Company                                                                                                     Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                   Address
                                                    or Remaining
                                                        Term


2. 3845    GENERAL OFF-BILL AND ON-                  10/2/2023       CCOTH_01303                 LAN-GIN INC - 1213 S MAIN ST - SALINAS PO BOX 572
           BILLFINANCING LOAN AGREEMENT                                                                                                 BLUE SPRINGS, MO 64013

2. 3846    GENERAL OFF-BILL AND ON-                   2/9/2020       CCOTH_02672                 LANSING LLC - 8749 E LANSING AVE     7905 KANSAS AVE
           BILLFINANCING LOAN AGREEMENT                                                                                               HANFORD, CA 93230

2. 3847    CONSULTING AND ENERGY                     6/29/2020       CCNRD_02879                 LANSING, LLC / WREDEN RANCH          8749 LANSING AVE
           MANAGEMENT SERVICES                                                                                                        HANFORD, CA 93230

2. 3848    GENERAL OFF-BILL AND ON-                  5/15/2019       CCOTH_01752                 LANZA,SONDRA                         6120 LINCOLN BLVD
           BILLFINANCING LOAN AGREEMENT                                                                                               STE G
                                                                                                                                      OROVILLE, CA 95966

2. 3849    GENERAL OFF-BILL AND ON-                  11/7/2020       CCOTH_02544                 LARK CREEK PROPERTIES, LLC - 1329    PO BOX 9440
           BILLFINANCING LOAN AGREEMENT                                                          W PACHECO                            FRESNO, CA 93792

2. 3850    GENERAL OFF-BILL AND ON-                   8/4/2019       CCOTH_01589                 LARRY A SHEHADEY FARMS LTD           253 FULTON STREET
           BILLFINANCING LOAN AGREEMENT                                                                                               FRESNO, CA 93721

2. 3851    GENERAL OFF-BILL AND ON-                   4/4/2022       CCOTH_01586                 LARRY A SHEHADEY FARMS LTD LP -      253 FULTON STREET
           BILLFINANCING LOAN AGREEMENT                                                          24387 W WHITESBRID                   FRESNO, CA 93721

2. 3852    GENERAL OFF-BILL AND ON-                   1/4/2020       CCOTH_01587                 LARRY A SHEHADEY FARMS LTD LP -      253 FULTON STREET
           BILLFINANCING LOAN AGREEMENT                                                          24387 W WHITESBRID                   FRESNO, CA 93721

2. 3853    GENERAL OFF-BILL AND ON-                   6/4/2021       CCOTH_01588                 LARRY A SHEHADEY FARMS LTD LP -      253 FULTON STREET
           BILLFINANCING LOAN AGREEMENT                                                          24500 W MCKINLEY A                   FRESNO, CA 93721

2. 3854    CONSULTING AND ENERGY                     7/14/2020       CCNRD_02880                 LARRY SHEHAYDEY FARMS                PO BOX 1231
           MANAGEMENT SERVICES                                                                                                        FRESNO, CA 93715

2. 3855    GENERAL OFF-BILL AND ON-                  12/13/2021      CCOTH_02469                 LARRY THOMAS DBA M B GARAGE          4021 BERESFORD STREET
           BILLFINANCING LOAN AGREEMENT                                                                                               SAN MATEO, CA 94403

2. 3856    INDUSTRIAL CALCULATED INCENTIVES -        Not Stated      CCOTH_03293                 LAS GALLINAS VALLEY SANITARY         300 SMITH RANCH ROAD
           CUSTOMIZED INCENTIVE PROGRAM                                                          DISTRICT                             SAN RAFAEL, CA 94903

2. 3857    GENERAL OFF-BILL AND ON-                   1/4/2019       CCOTH_01377                 LAS LOMAS MARKET & GAS               3633 NORWOOD AVE
           BILLFINANCING LOAN AGREEMENT                                                                                               SAN JOSE, CA 95148

                                                                      Page 398 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                 Page 399
                                                                                of 649
Pacific Gas and Electric Company                                                                                                     Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 3858    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03398                 LAS LOMITAS ELEMENTARY SCHOOL        1011 ALTSCHUL AVE
           BY DESIGN WHOLE BUILDING                                                              DISTRICT                             MENLO PARK, CA 94025

2. 3859    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03399                 LAS LOMITAS ELEMENTARY SCHOOL        1011 ALTSCHUL AVE
           BY DESIGN WHOLE BUILDING                                                              DISTRICT                             MENLO PARK, CA 94025

2. 3860    GENERAL OFF-BILL AND ON-                  4/17/2019       CCOTH_02043                 LAS PALMAS AUTO CENTER, LLC -        590 W. LOCUST AVE.
           BILLFINANCING LOAN AGREEMENT                                                          CHOWCHILLA                           FRESNO, CA 93650

2. 3861    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03425                 LAUNCHPAD DEVELOPMENT COMPANY        350 TWIN DOLPHIN DR. SUITE 109
           BY DESIGN WHOLE BUILDING                                                                                                   REDWOOD CITY, CA 94509

2. 3862    GENERAL OFF-BILL AND ON-                  8/14/2020       CCOTH_02747                 LAUREL LANE PROPERTIES LLC - 1122    1122 LAUREL LANE
           BILLFINANCING LOAN AGREEMENT                                                          LAUREL LN                            SAN LUIS OBISPO, CA 93401

2. 3863    SUBCONTRACT TO DEVELOP A                  8/31/2019       CCNRD_02868                 LAWRENCE BERKELEY NATIONAL           ONE CYCLOTRON ROAD
           PLANNING TOOL THAT WILL ENABLE                                                        LABORATORY                           BERKELEY, CA 94720
           HIGH PENETRATION OF DISTRIBUTED
           ENERGY SOURCES

2. 3864    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03364                 LAWRENCE NYE ANDERSEN                7491 N REMINGTON STE 101
           BY DESIGN WHOLE BUILDING                                                              ASSOCIATES                           FRESNO, CA 93711

2. 3865    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03365                 LAWRENCE NYE ANDERSEN                7491 N REMINGTON STE 101
           BY DESIGN WHOLE BUILDING                                                              ASSOCIATES                           FRESNO, CA 93711

2. 3866    REAL PROPERTY LEASE - FRESNO EAST         5/31/2021       CCCRSLS_000                 LAWRENCE SCOTT SKINNER               LAWRENCE SCOTT SKINNER,
           SHAW AVENUE OFFICE                                            30                                                           STACEY SKINNER HANSON,
                                                                                                                                      1269 W I ST
                                                                                                                                      LOS BANOS, CA 93620

2. 3867    GENERAL OFF-BILL AND ON-                   1/5/2020       CCOTH_02357                 LE,HUONG - 290 KEYES ST              1111 W. EL CAMINO REAL, STE 135
           BILLFINANCING LOAN AGREEMENT                                                                                               SUNNYVALE, CA 94087

2. 3868    GENERAL OFF-BILL AND ON-                  9/30/2019       CCOTH_01483                 LEBEAU NOB HILL MARKET               1263 LEAVENWORTH ST
           BILLFINANCING LOAN AGREEMENT                                                                                               SAN FRANCISCO, CA 94109

2. 3869    UNIVERSITY OF                             Not Stated      CCOTH_03665                 LEDDY MAYTUM STACY ARCHITECTS        677 HARRISON ST.
           CALIFORNIA/CALIFORNIA STATE                                                                                                SAN FRANCISCO, CA 94110
           UNIVERSITY - SBD WHOLE BUILDING

                                                                      Page 399 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                  Page 400
                                                                                of 649
Pacific Gas and Electric Company                                                                                                    Case Number:       19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                 Address
                                                    or Remaining
                                                        Term


2. 3870    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00909                 LELAND PARNAGIAN                    2880 E SHEPHERD AVE
                                                                                                                                     FRESNO 93725

2. 3871    WATER/SEWER AGREEMENT                     Not Stated      CCCRSOT_001                 LEMOORE, CITY OF                    CITY OF LEMOORE
                                                                         03                                                          119 FOX ST
                                                                                                                                     LEMOORE, CA 93245

2. 3872    GENERAL OFF-BILL AND ON-                  7/10/2023       CCOTH_02833                 LENNEMANN,DANA D - 2591 MITCHELL    1226 SOUTH GOLDEN STATE BLVD
           BILLFINANCING LOAN AGREEMENT                                                          CT STE 105                          MADREA, CA 93637

2. 3873    COMMERCIAL HVAC - DEEMED                  Not Stated      CCOTH_00421                 LENNOX INDUSTRIES                   2140 LAKE PARK BLVD
           UPSTREAM / MIDSTREAM -                                                                                                    RICHARDSON, TX 75080
           COMMERCIAL HVAC UPSTREAM

2. 3874    COMMERCIAL HVAC - DEEMED                  Not Stated      CCOTH_00422                 LENNOX INDUSTRIES                   2140 LAKE PARK BLVD
           UPSTREAM / MIDSTREAM -                                                                                                    RICHARDSON, TX 75080
           COMMERCIAL HVAC UPSTREAM

2. 3875    COMMERCIAL HVAC - DEEMED                  Not Stated      CCOTH_00423                 LENNOX INDUSTRIES                   2140 LAKE PARK BLVD
           UPSTREAM / MIDSTREAM -                                                                                                    RICHARDSON, TX 75080
           COMMERCIAL HVAC UPSTREAM

2. 3876    COMMERCIAL HVAC - DEEMED                  Not Stated      CCOTH_00424                 LENNOX INDUSTRIES                   2140 LAKE PARK BLVD
           UPSTREAM / MIDSTREAM -                                                                                                    RICHARDSON, TX 75080
           COMMERCIAL HVAC UPSTREAM

2. 3877    COMMERCIAL HVAC - DEEMED                  Not Stated      CCOTH_00425                 LENNOX INDUSTRIES                   2140 LAKE PARK BLVD
           UPSTREAM / MIDSTREAM -                                                                                                    RICHARDSON, TX 75080
           COMMERCIAL HVAC UPSTREAM

2. 3878    REAL PROPERTY LEASE -                     1/31/2019       CCCRSLS_000                 LEO GONZALES                        LEO GONZALES
           RENEWABLES/GENERATION PROJECT                                 11                                                          CARUTHERS, CA
           OFFICE

2. 3879    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00708                 LEONARD DRUKER                      700 COLLEGE AVE
                                                                                                                                     KENTFIELD 94904

2. 3880    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01020                 LEONARD DRUKER                      1800 IGNACIO BLVD
                                                                                                                                     NOVATO 94949



                                                                      Page 400 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35               Page 401
                                                                                of 649
Pacific Gas and Electric Company                                                                                                    Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 3881    AGRICULTURAL CALCULATED                   Not Stated      CCOTH_00037                 LEPRINO                             351 N. BELLE HAVEN DR
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                         LEMOORE, CA 93245
           PROGRAM

2. 3882    AGRICULTURAL CALCULATED                   Not Stated      CCOTH_00038                 LEPRINO FOODS CO. INC.              351 N. BELLE HAVEN DR.
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                         LEMOORE, CA 93245
           PROGRAM

2. 3883    GENERAL OFF-BILL AND ON-                  11/11/2020      CCOTH_03103                 LERDO INVESTMENTS,LLC - 1160 E      9530 HAGEMAN RD B #196
           BILLFINANCING LOAN AGREEMENT                                                          LERDO HWY                           BAKERSFIELD, CA 93312

2. 3884    GENERAL OFF-BILL AND ON-                  7/25/2019       CCOTH_02266                 LEXUS OF OAKLAND                    1725 RUTAN DRIVE
           BILLFINANCING LOAN AGREEMENT                                                                                              LIVERMORE, CA 94551

2. 3885    GENERAL OFF-BILL AND ON-                  10/6/2018       CCOTH_01891                 LIBERTY MOTORS                      12122 DRY CREEK RD. SUITE 103
           BILLFINANCING LOAN AGREEMENT                                                                                              AUBURN, CA 95602

2. 3886    GENERAL OFF-BILL AND ON-                   9/2/2020       CCOTH_02490                 LIFE CATHEDRAL CHURCH OF GOD INC    1429 N. MAPLE AVE
           BILLFINANCING LOAN AGREEMENT                                                                                              FRESNO, CA 93703

2. 3887    GENERAL OFF-BILL AND ON-                  3/13/2020       CCOTH_02429                 LIFE CHIROPRACTIC COLLEGE WEST -    10011 S PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          25001 INDUSTRIAL                    SANTA FE SPRINGS, CA 90670

2. 3888    SELF-GENERATION INCENTIVE                 Not Stated      CCOTH_03485                 LIFE TECHNOLOGIES                   5781 BAN ALLEN WY
           PROGRAM                                                                                                                    CARLSBAD, CA 92008

2. 3889    SELF-GENERATION INCENTIVE                 Not Stated      CCOTH_03486                 LIFE TECHNOLOGIES                   5781 BAN ALLEN WY
           PROGRAM                                                                                                                    CARLSBAD, CA 92008

2. 3890    GENERAL OFF-BILL AND ON-                  8/13/2019       CCOTH_02081                 LIN ENGINEERING, INC. - 16245       1161 RINGWOOD CT, #70
           BILLFINANCING LOAN AGREEMENT                                                          VINEYARD BLVD                       SAN JOSE, CA 95131

2. 3891    GENERAL OFF-BILL AND ON-                  9/18/2019       CCOTH_01389                 LINCOLN HILLS COMMUNITY CHURCH      820 BRIDGESTON DRIVE
           BILLFINANCING LOAN AGREEMENT                                                                                              LINCOLN, CA 95648

2. 3892    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00981                 LINDA FILO                          2101 PULGAS AVE
                                                                                                                                     EAST PALO ALTO 94303




                                                                      Page 401 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 402
                                                                                of 649
Pacific Gas and Electric Company                                                                                                     Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 3893    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00818                 LINDA FIRESTINE                      4250 W SHAW AVE
                                                                                                                                      FRESNO 93722

2. 3894    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00929                 LINDA GULLEY                         26135 CARMEL RANCHO BLVD
                                                                                                                                      CARMEL 93923

2. 3895    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00826                 LINDA PRATT                          405 S. AIRPORT BLVD.
                                                                                                                                      S. SAN FRANCISCO 94080

2. 3896    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00490                 LINDA SCHOWALTER                     644 SAND HOOK ISLE
           ADVANCED HOME UPGRADE                                                                                                      ALAMEDA, CA 94501
           (CUSTOM/CALCULATED)

2. 3897    WATER/HYDRANT AGREEMENT                   Not Stated      CCCRSOT_001                 LINDEN COUNTY WATER DISTRICT         LINDEN COUNTY WATER DISTRICT
                                                                         04                                                           LINDEN, CA

2. 3898    GENERAL OFF-BILL AND ON-                   7/3/2020       CCOTH_02655                 LION CAPITOL INVESTMENTS LLC -       877 CEDAR STREET, SUITE 240
           BILLFINANCING LOAN AGREEMENT                                                          1031 E CAPITOL EXPY                  **UPS OVERNIGHT DELIVERY**
                                                                                                                                      SANTA CRUZ, CA 95060

2. 3899    GENERAL OFF-BILL AND ON-                  1/10/2021       CCOTH_02612                 LION FOODS LLC - 2217 QUIMBY RD      4915 GENTIAN COURT
           BILLFINANCING LOAN AGREEMENT                                                                                               SAN JOSE, CA 95111

2. 3900    GENERAL OFF-BILL AND ON-                  11/9/2019       CCOTH_03123                 LION FOODS LLC - 2217 QUIMBY RD      2425 S BASCOM AVE
           BILLFINANCING LOAN AGREEMENT                                                                                               SAN JOSE, CA 95035

2. 3901    GENERAL OFF-BILL AND ON-                  7/27/2020       CCOTH_01265                 LION MARKET STORY LLC                PO BOX 2061
           BILLFINANCING LOAN AGREEMENT                                                                                               SAN JOSE, CA 95109

2. 3902    GENERAL OFF-BILL AND ON-                  9/13/2021       CCOTH_02713                 LION SARATOGA LLC - 471 SARATOGA     PO BOX 2061
           BILLFINANCING LOAN AGREEMENT                                                          AVE                                  SAN JOSE, CA 95109

2. 3903    GENERAL OFF-BILL AND ON-                   7/5/2021       CCOTH_02714                 LION SUPERMARKET INC - 1710 TULLY    PO BOX 2061
           BILLFINANCING LOAN AGREEMENT                                                          RD                                   SAN JOSE, CA 95109

2. 3904    GENERAL OFF-BILL AND ON-                  11/3/2021       CCOTH_02589                 LION SUPERMARKET INC - 1838 N        877 CEDAR STREET, SUITE 240
           BILLFINANCING LOAN AGREEMENT                                                          MILPITAS BLVD                        **UPS OVERNIGHT DELIVERY**
                                                                                                                                      SANTA CRUZ, CA 95060



                                                                      Page 402 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 403
                                                                                of 649
Pacific Gas and Electric Company                                                                                                      Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                   Address
                                                    or Remaining
                                                        Term


2. 3905    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03430                 LIONAKIS                              1919 - NINETEENTH ST.
           BY DESIGN WHOLE BUILDING                                                                                                    SACRAMENTO, CA 95811

2. 3906    GENERAL OFF-BILL AND ON-                  10/20/2019      CCOTH_01348                 LIRA,JAMES J                          609 HWY K
           BILLFINANCING LOAN AGREEMENT                                                                                                RIO VISTA, CA 94571

2. 3907    2018 TRAINING DEV AND MAINTENANCE         1/31/2019       CCOTH_03693                 LISA MCLAIN ID                        25206 MILES AVENUE
                                                                                                                                       LAKE FOREST, CA 92630

2. 3908    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00869                 LISA PROSCH                           350 ELLIS STREET
                                                                                                                                       MOUNTAIN VIEW 94043

2. 3909    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00668                 LISA SPEARMAN                         80 FRANCISCO STREET, SAN
                                                                                                                                       FRANCISCO, CA
                                                                                                                                       SAN FRANCISCO 94111

2. 3910    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00755                 LISA SPEARMAN                         55 FRANCISCO STREET
                                                                                                                                       SAN FRANCISCO 94133

2. 3911    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03403                 LIST ENGINEERING                      9699 BLUE LARKSPUR LN
           BY DESIGN WHOLE BUILDING                                                                                                    MONTEREY, CA 93940

2. 3912    GENERAL OFF-BILL AND ON-                  7/10/2020       CCOTH_02627                 LITTLEFIELD,BETTY H - 2165 CENTRAL    120 MAIN AVE STE.1A
           BILLFINANCING LOAN AGREEMENT                                                          AVE # 71                              SACRAMENTO, CA 95838

2. 3913    GENERAL OFF-BILL AND ON-                  12/22/2018      CCOTH_02124                 LITTON HILL ASSOCIATION #I CO-        130 E. MAIN ST
           BILLFINANCING LOAN AGREEMENT                                                          TENANCY                               GRASS VALLEY, CA 95945

2. 3914    WATER AGREEMENT                           Not Stated      CCCRSOT_001                 LIVE OAK, CITY OF                     CITY OF LIVE OAK
                                                                         05                                                            9955 LIVE OAK BLVD
                                                                                                                                       LIVE OAK, CA 95953

2. 3915    GARBAGE AGREEMENT                         Not Stated      CCCRSOT_001                 LIVERMORE SANITATION                  LIVERMORE SANITATION
                                                                         08                                                            7000 NATIONAL DR
                                                                                                                                       LIVERMORE, CA 94550

2. 3916    SEWER AGREEMENT                           Not Stated      CCCRSOT_001                 LIVERMORE, CITY OF                    CITY OF LIVERMORE
                                                                         06                                                            1052 SO LIVERMORE AVE
                                                                                                                                       LIVERMORE, CA


                                                                      Page 403 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 404
                                                                                of 649
Pacific Gas and Electric Company                                                                                                     Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 3917    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01014                 LIZ SULLIVAN                         1855 GATEWAY BLVD
                                                                                                                                      CONCORD 94520

2. 3918    GENERAL OFF-BILL AND ON-                  10/8/2018       CCOTH_03095                 LLOYD A WISE CORP - 641 ORANGE DR    413 WILLOW BROOK WAY
           BILLFINANCING LOAN AGREEMENT                                                                                               RIO VISTA, CA 94571

2. 3919    GENERAL OFF-BILL AND ON-                  11/29/2018      CCOTH_03019                 LLOYD A WISE MOTORS INC - 651        413 WILLOW BROOK WAY
           BILLFINANCING LOAN AGREEMENT                                                          ORANGE DR                            RIO VISTA, CA 94571

2. 3920    GENERAL OFF-BILL AND ON-                  1/25/2019       CCOTH_02940                 LLOYD A WISE MOTORS INC DBA          413 WILLOW BROOK WAY
           BILLFINANCING LOAN AGREEMENT                                                          NISSAN OF VACAVILLE                  RIO VISTA, CA 94571

2. 3921    GENERAL OFF-BILL AND ON-                  11/26/2018      CCOTH_01431                 LOCUS TECHNOLOGIES INC - 299         877 CEDAR STREET, SUITE 240
           BILLFINANCING LOAN AGREEMENT                                                          FAIRCHILD DR                         SANTA CRUZ, CA 95060

2. 3922    CONSULTING AND ENERGY                     11/6/2020       CCNRD_02885                 LODI FARMING INC                     11292 N. ALPINE RD
           MANAGEMENT SERVICES                                                                                                        STOCKTON, CA 95212

2. 3923    GENERAL OFF-BILL AND ON-                  9/23/2021       CCOTH_02123                 LODI UNIFIED SCHOOL DISTRICT         18002 COWAN #200
           BILLFINANCING LOAN AGREEMENT                                                                                               ATTN: MATT ST. PIERRE - SALES
                                                                                                                                      ENGINEER
                                                                                                                                      IRVINE, CA 92614

2. 3924    GENERAL OFF-BILL AND ON-                  9/23/2020       CCOTH_02661                 LODI UNIFIED SCHOOL DISTRICT         18002 COWAN #200
           BILLFINANCING LOAN AGREEMENT                                                                                               MATT ST. PIERRE, SALES
                                                                                                                                      ENGINEER
                                                                                                                                      IRVINE, CA 92614

2. 3925    GENERAL OFF-BILL AND ON-                  6/23/2022       CCOTH_02662                 LODI UNIFIED SCHOOL DISTRICT         18002 COWAN #200
           BILLFINANCING LOAN AGREEMENT                                                                                               MATT ST. PIERRE, SALES
                                                                                                                                      ENGINEER
                                                                                                                                      IRVINE, CA 92614

2. 3926    GENERAL OFF-BILL AND ON-                  8/23/2022       CCOTH_02663                 LODI UNIFIED SCHOOL DISTRICT         18002 COWAN #200
           BILLFINANCING LOAN AGREEMENT                                                                                               MATT ST. PIERRE / SALES
                                                                                                                                      ENGINEER
                                                                                                                                      IRVINE, CA 92614




                                                                      Page 404 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                  Page 405
                                                                                of 649
Pacific Gas and Electric Company                                                                                                    Case Number:       19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 3927    GENERAL OFF-BILL AND ON-                  5/23/2021       CCOTH_02954                 LODI UNIFIED SCHOOL DISTRICT        18002 COWAN #200
           BILLFINANCING LOAN AGREEMENT                                                                                              ATTN: MATT ST. PIERRE - SALES
                                                                                                                                     ENGINEER
                                                                                                                                     IRVINE, CA 92614

2. 3928    GENERAL OFF-BILL AND ON-                  8/23/2022       CCOTH_02978                 LODI UNIFIED SCHOOL DISTRICT        18002 COWAN #200
           BILLFINANCING LOAN AGREEMENT                                                                                              ATTN: MATT ST. PIERRE - SALES
                                                                                                                                     ENGINEER
                                                                                                                                     IRVINE, CA 92614

2. 3929    ELECTRIC/WATER/SEWER/GARBAGE              Not Stated      CCCRSOT_001                 LODI, CITY OF                       CITY OF LODI
           AGREEMENT                                                     09                                                          LODI, CA

2. 3930    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00518                 LOIS A HALL                         520 MORGAN LN
           ADVANCED HOME UPGRADE                                                                                                     DIXON, CA 95620
           (CUSTOM/CALCULATED)

2. 3931    WATER AGREEMENT                           Not Stated      CCCRSOT_001                 LOMPOC, CITY OF                     CITY OF LOMPOC
                                                                         10                                                          100 CIVIC CENTER PLZ
                                                                                                                                     LOMPOC, CA 93438

2. 3932    GENERAL OFF-BILL AND ON-                  12/31/2018      CCOTH_01856                 LONG VALLEY LUMBER INC - 44321      PO BOX 87
           BILLFINANCING LOAN AGREEMENT                                                          HWY 101 N                           LAYTONVILLE, CA 95454

2. 3933    GENERAL OFF-BILL AND ON-                  11/14/2019      CCOTH_02020                 LONG VALLEY MARKET INC              PO BOX 3
           BILLFINANCING LOAN AGREEMENT                                                                                              LAYTONVILLE, CA 95454

2. 3934    GENERAL OFF-BILL AND ON-                  11/8/2023       CCOTH_02526                 LOOMIS UNION SCHOOL DISTRICT -      3330 SWETZER ROAD
           BILLFINANCING LOAN AGREEMENT                                                          3296 HUMPHREY RD                    LOOMIS, CA 95650

2. 3935    GENERAL OFF-BILL AND ON-                  9/22/2027       CCOTH_03215                 LOOMIS UNION SCHOOL DISTRICT -      3330 SWETZER RD
           BILLFINANCING LOAN AGREEMENT                                                          3296 HUMPHREY RD                    LOOMIS, CA 95650

2. 3936    GENERAL OFF-BILL AND ON-                   5/8/2027       CCOTH_02522                 LOOMIS UNION SCHOOL DISTRICT -      3330 SWETZER ROAD
           BILLFINANCING LOAN AGREEMENT                                                          3505 TAYLOR RD                      LOOMIS, CA 95650

2. 3937    GENERAL OFF-BILL AND ON-                   2/4/2022       CCOTH_02562                 LOOMIS UNION SCHOOL DISTRICT -      3330 SWETZER ROAD
           BILLFINANCING LOAN AGREEMENT                                                          3505 TAYLOR RD                      LOOMIS, CA 95650




                                                                      Page 405 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 406
                                                                                of 649
Pacific Gas and Electric Company                                                                                                     Case Number:        19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 3938    GENERAL OFF-BILL AND ON-                  12/28/2021      CCOTH_02528                 LOOMIS UNION SCHOOL DISTRICT -       3330 SWETZER RD.
           BILLFINANCING LOAN AGREEMENT                                                          7050 FRANKLIN SCHOO                  LOOMIS, CA 95650

2. 3939    GENERAL OFF-BILL AND ON-                  7/27/2026       CCOTH_02506                 LOOMIS UNION SCHOOL DISTRICT -       3334 SWETZER RD.
           BILLFINANCING LOAN AGREEMENT                                                          8650 HORSESHOE BAR                   LOOMIS, CA 95650

2. 3940    GENERAL OFF-BILL AND ON-                   2/8/2025       CCOTH_02932                 LOOMIS UNION SCHOOL DISTRICT -       3330 SWETZER ROAD
           BILLFINANCING LOAN AGREEMENT                                                          7050 FRANKLIN SCHOOL                 LOOMIS, CA 95650

2. 3941    GENERAL OFF-BILL AND ON-                  10/28/2024      CCOTH_03221                 LOOMIS UNION SCHOOL DISTRICT -       3334 SWETZER RD
           BILLFINANCING LOAN AGREEMENT                                                          7050 FRANKLIN SCHOOL                 LOOMIS, CA 95650

2. 3942    GENERAL OFF-BILL AND ON-                  5/16/2026       CCOTH_02523                 LOOMIS UNION SCHOOL DISTRICT-7050    3330 SWETZER ROAD
           BILLFINANCING LOAN AGREEMENT                                                          FRANKLIN SCHOOL                      LOOMIS, CA 95650

2. 3943    SMARTAC                                   Not Stated      CCOTH_03603                 LOPEZ,AIME                           15201 AVON ST
                                                                                                                                      LATHROP, CA 95330

2. 3944    SMARTAC                                   Not Stated      CCOTH_03613                 LOPEZ,CHRISTINA                      106 SILVEY ACRES DR
                                                                                                                                      VACAVILLE, CA 95688

2. 3945    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00631                 LORENA SAGADIN                       3105 MERRIT ISLAND CT
           ADVANCED HOME UPGRADE                                                                                                      WEST SACRAMENTO, CA 95691
           (CUSTOM/CALCULATED)

2. 3946    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00525                 LORRAINE KRUEGER                     1569 LAKEHILLS DR
           ADVANCED HOME UPGRADE                                                                                                      EL DORADO HILLS, CA 95762
           (CUSTOM/CALCULATED)

2. 3947    WATER/SEWER/GARBAGE AGREEMENT             Not Stated      CCCRSOT_001                 LOS BANOS, CITY OF                   CITY OF LOS BANOS
                                                                         11                                                           520 J STREET
                                                                                                                                      LOS BANOS, CA 93635

2. 3948    GENERAL OFF-BILL AND ON-                  1/17/2020       CCOTH_02150                 LOS GATOS TOMATO PRODUCTS - SW       253 FULTON ST.
           BILLFINANCING LOAN AGREEMENT                                                          SW 17 20 17                          FRESNO, CA 93721

2. 3949    CALIFORNIA COMMUNITY COLLEGES -           Not Stated      CCOTH_00073                 LOS MEDANOS P39 Y2/Y4 LIGHTING       2700 E LELAND RD
           CUSTOMIZED RETROFIT                                                                   RETROFIT                             PITTSBURG, CA



                                                                      Page 406 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35               Page 407
                                                                                of 649
Pacific Gas and Electric Company                                                                                                   Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                 Address
                                                    or Remaining
                                                        Term


2. 3950    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03391                 LOS MOLINOS USD                    7851 HIGHWAY 99E
           BY DESIGN WHOLE BUILDING                                                                                                 LOS MOLINOS, CA 96055

2. 3951    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03392                 LOS MOLINOS USD                    7851 HIGHWAY 99EATTN:
           BY DESIGN WHOLE BUILDING                                                                                                 CHARLES WARD
                                                                                                                                    LOS MOLINOS, CA 96055

2. 3952    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03393                 LOS MOLINOS USD                    7851 HIGHWAY 99E
           BY DESIGN WHOLE BUILDING                                                                                                 LOS MOLINOS, CA 96055

2. 3953    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03394                 LOS MOLINOS USD                    7851 HIGHWAY 99EATTN:
           BY DESIGN WHOLE BUILDING                                                                                                 CHARLES WARD
                                                                                                                                    LOS MOLINOS, CA 96055

2. 3954    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03395                 LOS MOLINOS USD - LOS MOLINOS      25330 MAGNOLIA STREET
           BY DESIGN WHOLE BUILDING                                                              HIGH SCHOOL BLDG A                 LOS MOLINOS, CA

2. 3955    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03478                 LOS MOLINOS USD - VINA             7TH & D STREET
           BY DESIGN WHOLE BUILDING                                                              ELEMENTARY SCHOOL BLDG A           VINA, CA

2. 3956    GENERAL OFF-BILL AND ON-                  9/16/2020       CCOTH_02578                 LOTTS INC - 600 PACIFIC AVE        804 ESTATES DR. STE. 202
           BILLFINANCING LOAN AGREEMENT                                                                                             APTOS, CA 95003

2. 3957    REAL PROPERTY LEASE - NORTH               7/31/2022       CCCRSLS_000                 LOUIS J PETERSON                   LOUIS J PETERSON
           VALLEY HEADQUARTERS                                           17                                                         362 YERBA BUENA AVE
                                                                                                                                    LOS ALTOS, CA 94022

2. 3958    GENERAL OFF-BILL AND ON-                  12/23/2019      CCOTH_02200                 LOVE AUTOMOTIVE GROUP INC          2044 E. MUSCAT AVE.
           BILLFINANCING LOAN AGREEMENT                                                                                             FRESNO, CA 93725

2. 3959    CALIFORNIA COMMUNITY COLLEGES -           Not Stated      CCOTH_00100                 LPA INC                            60 S. MARKET ST.
           SAVINGS BY DESIGN WHOLE BUILDING                                                                                         SAN JOSE, CA 95113

2. 3960    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03385                 LPA INC                            5161 CALIFORNIA AVE., STE. 100
           BY DESIGN WHOLE BUILDING                                                                                                 IRVINE, CA 92617

2. 3961    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03461                 LPA INC                            60 S MARKET STREET
           BY DESIGN WHOLE BUILDING                                                                                                 SAN JOSE, CA 94062



                                                                      Page 407 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                  Page 408
                                                                                of 649
Pacific Gas and Electric Company                                                                                                     Case Number:        19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 3962    CALIFORNIA COMMUNITY COLLEGES -           Not Stated      CCOTH_00095                 LPA INC.                             2700 E LELAND RD
           SAVINGS BY DESIGN WHOLE BUILDING                                                                                           PITTSBURG, CA

2. 3963    CALIFORNIA COMMUNITY COLLEGES -           Not Stated      CCOTH_00101                 LPA INC.                             60 S. MARKET STREET, SUITE 150
           SAVINGS BY DESIGN WHOLE BUILDING                                                                                           SAN JOSE, CA 95113

2. 3964    CALIFORNIA COMMUNITY COLLEGES -           Not Stated      CCOTH_00102                 LPA, INC.                            60 S. MARKET STREET, SUITE 150
           SAVINGS BY DESIGN WHOLE BUILDING                                                                                           SAN JOSE, CA 95113

2. 3965    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03424                 LPA, INC.                            60 S. MARKET STEET SUITE 150
           BY DESIGN WHOLE BUILDING                                                                                                   REDWOOD CITY, CA 94062

2. 3966    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03460                 LPA, INC.                            60 S. MARKET ST., STE. 150
           BY DESIGN WHOLE BUILDING                                                                                                   SAN JOSE, CA 95113

2. 3967    GENERAL OFF-BILL AND ON-                  4/22/2022       CCOTH_02943                 LUCIA MAR UNIFIED SCHOOL DISTRICT    602 ORCHARD STREET
           BILLFINANCING LOAN AGREEMENT                                                                                               ARROYO GRANDE, CA 93420

2. 3968    GENERAL OFF-BILL AND ON-                   2/9/2019       CCOTH_01949                 LUCKY ZONE INC.                      27363 VIA INDUSTRIA
           BILLFINANCING LOAN AGREEMENT                                                                                               ERIC SMITH
                                                                                                                                      TEMECULA, CA 92590

2. 3969    REAL PROPERTY LEASE - SANGER CSO          6/30/2019       CCCRSLS_000                 LUJACH ENTERPRISES LLC               LUJACH ENTERPRISES LLC,
                                                                         77                                                           MICHAEL CONNOLLY,
                                                                                                                                      39111 PASEO PADRE #206
                                                                                                                                      FREMONT, CA 94538

2. 3970    AGRICULTURAL CALCULATED                   Not Stated      CCOTH_00046                 LUKE VANDERHAM                       10846 W. MT. WHITNEY
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                          RIVERDALE, CA 93656
           PROGRAM

2. 3971    AGRICULTURAL CALCULATED                   Not Stated      CCOTH_00047                 LUKE VANDERHAM                       10846 W. MT. WHITNEY
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                          RIVERDALE, CA 93656
           PROGRAM

2. 3972    GENERAL OFF-BILL AND ON-                  11/28/2019      CCOTH_03225                 LUNA,RAMON - 5302 MONTEREY HWY #     P.O. BOX 1153
           BILLFINANCING LOAN AGREEMENT                                                          A                                    SOULSBYVILLE, CA 95372

2. 3973    GENERAL OFF-BILL AND ON-                  4/25/2019       CCOTH_01394                 LUNARDIS SUPERMARKET INC             3480 ARDEN RD.
           BILLFINANCING LOAN AGREEMENT                                                                                               HAYWARD, CA 94545

                                                                      Page 408 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35               Page 409
                                                                                of 649
Pacific Gas and Electric Company                                                                                                    Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 3974    GENERAL OFF-BILL AND ON-                  7/24/2020       CCOTH_01514                 LUNARDIS SUPERMARKET INC            3480 ARDEN RD.
           BILLFINANCING LOAN AGREEMENT                                                                                              HAYWARD, CA 94545

2. 3975    GENERAL OFF-BILL AND ON-                  9/25/2022       CCOTH_01409                 LUNARDIS SUPERMARKET INC - 1825     432 N CANAL ST. UNIT #22
           BILLFINANCING LOAN AGREEMENT                                                          EL CAMINO REAL -                    SOUTH SAN FRANCISCO, CA 94080

2. 3976    GENERAL OFF-BILL AND ON-                  7/28/2021       CCOTH_01408                 LUNARDIS SUPERMARKET INC - 2801     432 N CANAL ST. UNIT #22
           BILLFINANCING LOAN AGREEMENT                                                          SAN BRUNO AVE W                     SOUTH SAN FRANCISCO, CA 94080

2. 3977    GENERAL OFF-BILL AND ON-                  11/8/2019       CCOTH_01962                 LUNARDIS SUPERMARKET INC - 4646     432 N CANAL ST. UNIT #22
           BILLFINANCING LOAN AGREEMENT                                                          MERIDIAN AVE                        SOUTH SAN FRANCISCO, CA 94080

2. 3978    GENERAL OFF-BILL AND ON-                  2/15/2024       CCOTH_01136                 LUNARDIS SUPERMARKET INC-1085       432 N CANAL ST. #22
           BILLFINANCING LOAN AGREEMENT                                                          ALAMEDA DE LAS PULGA                SOUTH SAN FRANCISCO, CA 94080

2. 3979    GENERAL OFF-BILL AND ON-                  10/12/2018      CCOTH_01718                 LUND EQUIPMENT, L.P.                12820 EARHART AVE
           BILLFINANCING LOAN AGREEMENT                                                                                              AUBURN, CA 95602

2. 3980    GENERAL OFF-BILL AND ON-                  11/23/2021      CCOTH_02968                 LUNDY INVESTMENTS LLC - 1885        10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          LUNDY AVE                           SANTA FE SPRINGS, CA 90670

2. 3981    GENERAL OFF-BILL AND ON-                  12/5/2021       CCOTH_01508                 LUSO-AMERICAN LIFE INSURANCE        10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          SOCIETY - 7080 DONLON               SANTA FE SPRINGS, CA 90670

2. 3982    GENERAL OFF-BILL AND ON-                  7/12/2019       CCOTH_02167                 LUTHER BURBANK MEMORIAL             50 MARK WEST SPRINGS ROAD
           BILLFINANCING LOAN AGREEMENT                                                          FOUNDATION                          SANTA ROSA, CA 95403

2. 3983    GENERAL OFF-BILL AND ON-                  4/22/2020       CCOTH_01366                 LY,HENRY                            PO BOX 2061
           BILLFINANCING LOAN AGREEMENT                                                                                              SAN JOSE, CA 95109

2. 3984    CSI (THERMAL)                             Not Stated      CCOTH_00481                 LYDIA BEAL                          30 JACKDAW CT.
                                                                                                                                      SACRAMENTO, CA 95834

2. 3985    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00623                 LYNN HARRISON                       243 CHAUNCY WAY
           ADVANCED HOME UPGRADE                                                                                                     VACAVILLE, CA 95688
           (CUSTOM/CALCULATED)

2. 3986    GENERAL OFF-BILL AND ON-                   9/4/2023       CCOTH_01230                 M & M SANITARY CO - 1208 GREEN      10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          ISLAND RD                           SANTA FE SPRINGS, CA 90670

                                                                      Page 409 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 410
                                                                                of 649
Pacific Gas and Electric Company                                                                                                     Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 3987    GENERAL OFF-BILL AND ON-                  12/13/2020      CCOTH_02128                 M D LEMUS INC - 2353 MCKEE RD        877 CEDAR ST. SUITE 240
           BILLFINANCING LOAN AGREEMENT                                                                                               SANTA CRUZ, CA 95060

2. 3988    GENERAL OFF-BILL AND ON-                   8/8/2019       CCOTH_01666                 M HOFFMAN & D HOFFMAN                998 GRAVENSTEIN HWY S
           BILLFINANCING LOAN AGREEMENT                                                                                               SEBASTOPOL, CA 95472

2. 3989    GENERAL OFF-BILL AND ON-                  11/13/2021      CCOTH_03224                 M&B RESTAURANTS, INC - 1346          PO BOX 6886
           BILLFINANCING LOAN AGREEMENT                                                          SARATOGA AVE -SAN JOSE               STOCKTON, CA 95206

2. 3990    GENERAL OFF-BILL AND ON-                  6/30/2022       CCOTH_03207                 M&B RESTAURANTS, INC - 1690 TULLY    PO BOX 6886
           BILLFINANCING LOAN AGREEMENT                                                          RD # 164                             STOCKTON, CA 95206

2. 3991    GENERAL OFF-BILL AND ON-                   6/6/2023       CCOTH_03223                 M&B RESTAURANTS, INC - 2495          PO BOX 6886
           BILLFINANCING LOAN AGREEMENT                                                          LAFAYETTE ST                         STOCKTON, CA 95206

2. 3992    GENERAL OFF-BILL AND ON-                   6/6/2023       CCOTH_03214                 M&B RESTAURANTS, INC - 270           PO BOX 6886
           BILLFINANCING LOAN AGREEMENT                                                          SARATOGA AVE                         STOCKTON, CA 95206

2. 3993    GENERAL OFF-BILL AND ON-                   6/6/2023       CCOTH_03208                 M&B RESTAURANTS, INC - 2900          PO BOX 6886
           BILLFINANCING LOAN AGREEMENT                                                          BOWERS AVE                           STOCKTON, CA 95206

2. 3994    GENERAL OFF-BILL AND ON-                  8/13/2022       CCOTH_02921                 MACHADO,MANUEL JR - NE NE NW 6 11    17527 RD 21
           BILLFINANCING LOAN AGREEMENT                                                          17 - MADERA                          MADERA, CA 93637

2. 3995    GENERAL OFF-BILL AND ON-                  12/4/2019       CCOTH_02489                 MACHINERY EQUIPMENT CO INC - E/      P.O. BOX 1153
           BILLFINANCING LOAN AGREEMENT                                                          BAYSHORE N/VALLEY                    SOULSBYVILLE, CA 95372

2. 3996    COMMERCIAL HVAC - DEEMED                  Not Stated      CCOTH_00455                 MACROTRON SYSTEMS,INC.               44235 NOBEL DR.
           UPSTREAM / MIDSTREAM - HVAC QM                                                                                             FREMONT, CA 94538

2. 3997    CONSULTING AND ENERGY                     1/25/2019       CCNRD_02887                 MADDOX FARMS                         3899 W DAVIS AVE
           MANAGEMENT SERVICES                                                                                                        RIVERDALE, CA 93656

2. 3998    DISPOSAL/RECYCLING/WATER/SEWER            Not Stated      CCCRSOT_001                 MADERA, CITY OF                      CITY OF MADERA
           AGREEMENT                                                     12                                                           205 W FOURTH ST
                                                                                                                                      MADERA, CA 93637

2. 3999    GENERAL OFF-BILL AND ON-                  2/28/2022       CCOTH_02586                 MADRUGA IRON WORKS INC - 265         10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          GANDY DANCER DR                      SANTA FE SPRINGS, CA 90670

                                                                      Page 410 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                  Page 411
                                                                                of 649
Pacific Gas and Electric Company                                                                                                     Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 4000    GENERAL OFF-BILL AND ON-                  6/12/2021       CCOTH_02656                 MADRUGA IRON WORKS INC - 305         10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          GANDY DANCER DR                      SANTA FE SPRINGS, CA 90670

2. 4001    GENERAL OFF-BILL AND ON-                  12/25/2018      CCOTH_01385                 MAGNUSSEN'S AUBURN DODGE             17780 CROTHER HILLS ROAD
           BILLFINANCING LOAN AGREEMENT                                                          CHRYSLER JEEP NISSAN                 SUSAN REINECK, PRESIDENT
                                                                                                                                      MEADOW VISTA, CA 95722

2. 4002    GENERAL OFF-BILL AND ON-                  1/20/2019       CCOTH_02556                 MAGOOS PIZZA RESTAURANT INC          2695 N. FOWLER AVE, #106
           BILLFINANCING LOAN AGREEMENT                                                                                               FRESNO, CA 93727

2. 4003    GENERAL OFF-BILL AND ON-                  2/19/2019       CCOTH_02865                 MAHADEV INC DBA AMERICAS BEST        590 W LOCUST AVE STE 103
           BILLFINANCING LOAN AGREEMENT                                                          VALUE INN                            FRESNO, CA 93650

2. 4004    UNIVERSITY OF                             Not Stated      CCOTH_03657                 MAHLUM ARCHITECTS                    1231 NW HOYT, SUITE 102
           CALIFORNIA/CALIFORNIA STATE                                                                                                PORTLAND, OR 97209
           UNIVERSITY - SBD WHOLE BUILDING

2. 4005    COMMERCIAL CALCULATED                     Not Stated      CCOTH_00129                 MAIN PROJECT (JACKSON                16002 MI WUK DR
           INCENTIVES - CUSTOMIZED INCENTIVE                                                     RANCHERIA - 16002 MI WUK DR -        JACKSON, CA 95642
           PROGRAM                                                                               JACKSON)

2. 4006    GENERAL OFF-BILL AND ON-                  5/15/2021       CCOTH_03183                 MAIN STREET MARKET - 13301 S HWY     5151 PENTECOST DR STE B
           BILLFINANCING LOAN AGREEMENT                                                          33 #SHOP                             MODESTO, CA 95356

2. 4007    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03474                 MAIN STREET MIDDLE SCHOOL -          441 MAIN ST
           BY DESIGN WHOLE BUILDING                                                              SAVINGS BY DESIGN WHOLE BUILDING     SOLEDAD, CA

2. 4008    GENERAL OFF-BILL AND ON-                   2/7/2025       CCOTH_03178                 MALAGA COMMUNITY CENTER - 3582 S     515 S. FIGUEROA SUITE 500
           BILLFINANCING LOAN AGREEMENT                                                          WINERY AVE                           LOS ANGELES, CA 90071

2. 4009    GENERAL OFF-BILL AND ON-                  11/21/2018      CCOTH_01593                 MALEMA ENGINEERING                   PO BOX 1153
           BILLFINANCING LOAN AGREEMENT                                                          CORPORATION - 2329 ZANKER RD         SOULSBYVILLE, CA 95372

2. 4010    GENERAL OFF-BILL AND ON-                  12/15/2020      CCOTH_03138                 MALIBU BOATS WEST - 1 MALIBU CT -    1558 W. CHIA WAY
           BILLFINANCING LOAN AGREEMENT                                                          MERCED                               LOS ANGELES, CA 90041

2. 4011    GENERAL OFF-BILL AND ON-                   7/9/2020       CCOTH_01204                 MALTZMAN FAMILY TRUST C/O M D        9530 HAGEMAN RD. B #196
           BILLFINANCING LOAN AGREEMENT                                                          ATKINSON - 2621 OSWE                 BAKERSFIELD, CA 93312



                                                                      Page 411 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                  Page 412
                                                                                of 649
Pacific Gas and Electric Company                                                                                                       Case Number:       19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                    Address
                                                    or Remaining
                                                        Term


2. 4012    GENERAL OFF-BILL AND ON-                  11/19/2018      CCOTH_02785                 MANMOHAN DHILLON DBA: RANCHO           328 GREENWOOD PLACE
           BILLFINANCING LOAN AGREEMENT                                                          VALERO                                 ADRIANA ALDANA
                                                                                                                                        BONITA, CA 91902

2. 4013    WATER/RECYCLING AGREEMENT                 Not Stated      CCCRSOT_001                 MANTECA, CITY OF                       CITY OF MANTECA
                                                                         13                                                             1001 W CENTER ST
                                                                                                                                        MANTECA, CA 95337

2. 4014    AGRICULTURAL CALCULATED                   Not Stated      CCOTH_00052                 MANUEL & JOHN LEONARDO                 16963 S. CLOVIS AVE.
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                            SELMA, CA 93662
           PROGRAM

2. 4015    GENERAL OFF-BILL AND ON-                  5/28/2022       CCOTH_01842                 MANUEL & JOHN LEONARDO - NE SW         PO BOX 209
           BILLFINANCING LOAN AGREEMENT                                                          33-16-21                               LATON, CA 93242

2. 4016    GENERAL OFF-BILL AND ON-                  12/18/2023      CCOTH_01152                 MANUEL E VIEIRA INC - 10869 BELL DR    736 MARIPOSA RD
           BILLFINANCING LOAN AGREEMENT                                                                                                 BLDG F
                                                                                                                                        MODESTO, CA 95354

2. 4017    GENERAL OFF-BILL AND ON-                  11/26/2023      CCOTH_01287                 MANUEL E VIEIRA INC - 10871 W BELL     736 MARIPOSA RD BLDG F
           BILLFINANCING LOAN AGREEMENT                                                          DR                                     MODESTO, CA 95354

2. 4018    GENERAL OFF-BILL AND ON-                  4/12/2021       CCOTH_01558                 MAPLE DAIRY                            15857 BEAR MOUNTAIN BLVD.
           BILLFINANCING LOAN AGREEMENT                                                                                                 BAKERSFIELD, CA 93311

2. 4019    SERVICE AGREEMENT                         Not Stated      CCCRSOT_001                 MARBORG INDUSTRIES                     MARBORG INDUSTRIES
                                                                         14                                                             SANTA BARBARA, CA

2. 4020    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01098                 MARC MATHEWS                           1245 S. WINCHESTER BLVD
                                                                                                                                        SAN JOSE 95128

2. 4021    GENERAL OFF-BILL AND ON-                  11/17/2027      CCOTH_01556                 MARCOVICI MANAGEMENT GROUP             1700 S. EL CAMINO REAL STE.210
           BILLFINANCING LOAN AGREEMENT                                                          LLC - 60 CRESCENT DR #A                SAN MATEO, CA 94402

2. 4022    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00608                 MARGARET NATHE                         305 SUMMIT AVE
           ADVANCED HOME UPGRADE                                                                                                        SAN RAFAEL, CA 94901
           (CUSTOM/CALCULATED)

2. 4023    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00712                 MARIA CANCIAMILLA                      6860 SANTA TERESA BLVD
                                                                                                                                        SAN JOSE 95160

                                                                      Page 412 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                  Page 413
                                                                                of 649
Pacific Gas and Electric Company                                                                                                     Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 4024    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00949                 MARIBEL LOAIZA                       244 ROCK HARBOR LANE
                                                                                                                                      FOSTER CITY 94404

2. 4025    GENERAL OFF-BILL AND ON-                  8/22/2019       CCOTH_01145                 MARIETTI,LIDO - 1000 WATER ST        3479 NW YEON AVE
           BILLFINANCING LOAN AGREEMENT                                                                                               PORTLAND, OR 97210

2. 4026    GENERAL OFF-BILL AND ON-                  10/18/2020      CCOTH_03232                 MARIETTI,LIDO - 501 MISSION ST       3479 NW YEON AVE
           BILLFINANCING LOAN AGREEMENT                                                                                               PORTLAND, OR 97210

2. 4027    GENERAL OFF-BILL AND ON-                  4/16/2020       CCOTH_02394                 MARIN AIRPORTER - 1455 N HAMILTON    8 LOVELL AVENUE
           BILLFINANCING LOAN AGREEMENT                                                          PKWY                                 SAN RAFAEL, CA 94901

2. 4028    GENERAL OFF-BILL AND ON-                  2/19/2022       CCOTH_01635                 MARIN COMMUNITY COLLEGE DISTRICT 245 MARKET STREET MCN10D
           BILLFINANCING LOAN AGREEMENT                                                                                           SAN FRANCISCO, CA 94105

2. 4029    GENERAL OFF-BILL AND ON-                  11/8/2022       CCOTH_01854                 MARIN COMMUNITY COLLEGE DISTRICT 41353-B ALBRAE STREET
           BILLFINANCING LOAN AGREEMENT                                                                                           FREMONT, CA 94538

2. 4030    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03382                 MARIN GENERAL HOSPITAL               250 BON AIR RD.
           BY DESIGN WHOLE BUILDING                                                                                                   GRENNBRAE, CA 94904

2. 4031    WATER AGREEMENT                           Not Stated      CCCRSOT_001                 MARIN MUNICIPAL WATER DIST           MARIN MUNICIPAL WATER
                                                                         15                                                           DISTRICT
                                                                                                                                      220 NELLEN AVE
                                                                                                                                      CORTE MADERA, CA 94925

2. 4032    SERVICE AGREEMENT                         Not Stated      CCCRSOT_001                 MARIN SANITARY SERVICE               MARIN SANITARY SERVICE INC
                                                                         16                                                           SAN RAFAEL, CA

2. 4033    GENERAL OFF-BILL AND ON-                  8/26/2019       CCOTH_02858                 MARIN,CELESTE - 6247 GRAHAM HILL     12728 PARKYNS ST
           BILLFINANCING LOAN AGREEMENT                                                          RD                                   LOS ANGELES, CA 90049

2. 4034    GENERAL OFF-BILL AND ON-                  1/28/2021       CCOTH_02740                 MARINES MEMORIAL ASSOCIATION -       609 SUTTER ST 2M
           BILLFINANCING LOAN AGREEMENT                                                          609 SUTTER ST                        SAN FRANCISCO, CA 94102

2. 4035    GENERAL OFF-BILL AND ON-                   9/6/2023       CCOTH_01812                 MARINWOOD COMMUNITY SERVICES         775 MILLER CREEK RD
           BILLFINANCING LOAN AGREEMENT                                                          DISTRICT                             SAN RAFAEL, CA




                                                                      Page 413 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 414
                                                                                of 649
Pacific Gas and Electric Company                                                                                                  Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 4036    GENERAL OFF-BILL AND ON-                  4/12/2021       CCOTH_02278                 MARINWOOD COMMUNITY SERVICES      775 MILLER CREEK ROAD
           BILLFINANCING LOAN AGREEMENT                                                          DISTRICT                          SAN RAFAEL, CA 94903

2. 4037    WATER/SEWER/FIRE AGREEMENT                Not Stated      CCCRSOT_001                 MARIPOSA PUBLIC UTILITY DIST      MARIPOSA PUBLIC UTILITY DIST
                                                                         17                                                        MARIPOSA, CA

2. 4038    REAL PROPERTY LEASE - HUMBOLDT            3/31/2020       CCCRSLS_000                 MARK C JONES                      MARK C JONES
           BAY WAREHOUSE                                                 95                                                        1220 CASINO RD
                                                                                                                                   MEDFORD, OR 97501

2. 4039    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00549                 MARK CABRAL                       4874 BRIGHTON CT
           ADVANCED HOME UPGRADE                                                                                                   GRANITE BAY, CA 95746
           (CUSTOM/CALCULATED)

2. 4040    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00614                 MARK JOHNSON                      3349 SKY LN
           ADVANCED HOME UPGRADE                                                                                                   SHINGLE SPRINGS, CA 95682
           (CUSTOM/CALCULATED)

2. 4041    GENERAL OFF-BILL AND ON-                  8/14/2020       CCOTH_03004                 MARKSTEIN SALES COMPANY - 1645    2 HARRIS CT STE B-1
           BILLFINANCING LOAN AGREEMENT                                                          DRIVE IN WY                       MONTEREY, CA 93940

2. 4042    GENERAL OFF-BILL AND ON-                  11/15/2019      CCOTH_03037                 MARKSTEIN SALES COMPANY - NO      2 HARRIS CT STE B-1
           BILLFINANCING LOAN AGREEMENT                                                          INCENTIVE APP                     MONTEREY, CA 93940

2. 4043    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00999                 MARLENE CRAMER                    1 GRAND AVENUE - TECH PARK
                                                                                                                                   SAN LUIS OBISPO 93407

2. 4044    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01000                 MARLENE CRAMER                    1 GRAND AVENUE - H1 LOT
                                                                                                                                   SAN LUIS OBISPO 93407

2. 4045    GENERAL OFF-BILL AND ON-                  4/18/2021       CCOTH_02571                 MARTIN DURANTE RATTO'S BLOCK -    1725 RUTAN DRIVE
           BILLFINANCING LOAN AGREEMENT                                                          825 WASHINGTON ST F               LIVERMORE, CA 94551

2. 4046    SMARTAC                                   Not Stated      CCOTH_03609                 MARTINEZ,STEPHANIE                2066 W SONOMA AVE
                                                                                                                                   STOCKTON, CA 95204

2. 4047    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00536                 MARTY AND DANA KLEIN              2698 W DOVEWOOD AVE
           ADVANCED HOME UPGRADE                                                                                                   FRESNO, CA 93711
           (CUSTOM/CALCULATED)


                                                                      Page 414 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                 Page 415
                                                                                of 649
Pacific Gas and Electric Company                                                                                                     Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 4048    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00716                 MARTY ROBERTS                        680 ROBONSON RD.
                                                                                                                                      SEBASTOPOL 95472

2. 4049    GENERAL OFF-BILL AND ON-                  10/14/2019      CCOTH_02018                 MAR-VAL FOOD STORE NO 4 INC          856 SACRAMENTO ST
           BILLFINANCING LOAN AGREEMENT                                                                                               LODI, CA 95240

2. 4050    GENERAL OFF-BILL AND ON-                  9/10/2018       CCOTH_02964                 MAR-VAL FOOD STORE NO 4 INC          P.O. BOX 4005
           BILLFINANCING LOAN AGREEMENT                                                                                               NICE, CA 95464

2. 4051    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00504                 MARY STEWART                         3131 QUAD LN
           ADVANCED HOME UPGRADE                                                                                                      CAMERON PARK, CA 95682
           (CUSTOM/CALCULATED)

2. 4052    REAL PROPERTY LEASE - MARYSVILLE          7/31/2025       CCCRSLS_000                 MARYSVILLE GROUP LLC                 MARYSVILLE GROUP LLC
           CSO                                                           45                                                           2777 NORTHTOWNE LN OFC
                                                                                                                                      RENO, NV 89512

2. 4053    GENERAL OFF-BILL AND ON-                  4/29/2020       CCOTH_02366                 MASAO ASHIZAWA - 1698 POST ST        2222 LEAVENWORTH STREET #301
           BILLFINANCING LOAN AGREEMENT                                                                                               **EXPEDITE FOR OVERNIGHT
                                                                                                                                      DELIVERY**
                                                                                                                                      SAN FRANCISCO, CA 94133

2. 4054    REAL PROPERTY LEASE - COLUSA CSO          8/31/2019       CCCRSLS_000                 MASONIC HALL ASSOCIATES OF           MASONIC HALL ASSOCIATION OF
                                                                         22                      COLUSA                               COLUSA
                                                                                                                                      COLUSA, CA

2. 4055    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00893                 MASOUD HABIBZADAH                    30500 WHIPPLE RD
                                                                                                                                      UNION CITY 94587

2. 4056    GENERAL OFF-BILL AND ON-                  1/22/2020       CCOTH_02045                 MASS PETROLEUM, INC                  358 E. FOOTHILL BLVD. SUITE 200
           BILLFINANCING LOAN AGREEMENT                                                                                               BURKE EWERS
                                                                                                                                      SAN DIMAS, CA 91773

2. 4057    GENERAL OFF-BILL AND ON-                  12/6/2022       CCOTH_03064                 MASSOUDI,MOJTABA - 9701 BLUE         10 HARRIS CT STE C-2
           BILLFINANCING LOAN AGREEMENT                                                          LARKSPUR LN                          MONTEREY, CA 93940

2. 4058    GENERAL OFF-BILL AND ON-                  5/29/2023       CCOTH_02834                 MASTER PLASTICS INC - 820 EUBANKS    413 WILLOW BROOK WAY
           BILLFINANCING LOAN AGREEMENT                                                          DR                                   RIO VISTA, CA 94571




                                                                      Page 415 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                  Page 416
                                                                                of 649
Pacific Gas and Electric Company                                                                                                      Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                   Address
                                                    or Remaining
                                                        Term


2. 4059    GENERAL OFF-BILL AND ON-                  12/14/2021      CCOTH_01217                 MASTER PLASTICS INC - 830 EUBANKS     413 WILLOW BROOK WAY
           BILLFINANCING LOAN AGREEMENT                                                          DR # E                                RIO VISTA, CA 94571

2. 4060    GENERAL OFF-BILL AND ON-                  7/23/2020       CCOTH_02102                 MATHEW ENTERPRISE INC                 4100 STEVENS CREEK BLVD
           BILLFINANCING LOAN AGREEMENT                                                                                                SAN JOSE, CA 95129

2. 4061    GENERAL OFF-BILL AND ON-                  1/23/2020       CCOTH_02103                 MATHEW ENTERPRISES, INC               4100 STEVENS CREEK BLVD
           BILLFINANCING LOAN AGREEMENT                                                                                                SAN JOSE, CA 95129

2. 4062    GENERAL OFF-BILL AND ON-                  4/17/2021       CCOTH_01597                 MATT JANES - 12556 JOMANI DR STE A    685 COCHRAN STREET
           BILLFINANCING LOAN AGREEMENT                                                          PANEL M                               SUITE 200
                                                                                                                                       SIMI VALLEY, CA 93065

2. 4063    GENERAL OFF-BILL AND ON-                  2/10/2019       CCOTH_01822                 MATT JANES - 2523 MOHAWK ST           685 COCHRAN STREET
           BILLFINANCING LOAN AGREEMENT                                                                                                SUITE 200
                                                                                                                                       SIMI VALLEY, CA 93065

2. 4064    GENERAL OFF-BILL AND ON-                  2/17/2020       CCOTH_02516                 MATT MAZZEI MOTORS INC - 1175         10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          PARALLEL DR                           SANTA FE SPRINGS, CA 90670

2. 4065    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01034                 MATT OLSON                            16100 JACQUELINE COURT
                                                                                                                                       MORGAN HILL 95037

2. 4066    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01075                 MATTHEW FOURCROY                      1370 2ND ST
                                                                                                                                       LOS OSOS 93402

2. 4067    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00546                 MATTHEW PERRY                         5734 N 5TH ST
           ADVANCED HOME UPGRADE                                                                                                       FRESNO, CA 93710
           (CUSTOM/CALCULATED)

2. 4068    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00676                 MATTHEW SHERRILL                      785 BAYWOOD DRIVE
                                                                                                                                       PETALUMA 94954

2. 4069    GENERAL OFF-BILL AND ON-                  12/12/2018      CCOTH_01480                 MATTHEW ZAHERI INC                    25115 MISSION BLVD
           BILLFINANCING LOAN AGREEMENT                                                                                                HAYWARD, CA 94544

2. 4070    GENERAL OFF-BILL AND ON-                  10/12/2018      CCOTH_01673                 MATTHEW ZAHERI INC                    3566 STEVENS CREEK BLVD
           BILLFINANCING LOAN AGREEMENT                                                                                                SAN JOSE, CA 95117



                                                                      Page 416 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                  Page 417
                                                                                of 649
Pacific Gas and Electric Company                                                                                                      Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                   Address
                                                    or Remaining
                                                        Term


2. 4071    GENERAL OFF-BILL AND ON-                  2/15/2023       CCOTH_01151                 MATTHEW ZAHERI INC - 25115 MISSION    3479 NW YEON AVE
           BILLFINANCING LOAN AGREEMENT                                                          BLVD                                  PORTLAND, OR 97210

2. 4072    GENERAL OFF-BILL AND ON-                  5/13/2020       CCOTH_03160                 MATTHEW ZAHERI INC - 707              3479 NW YEON AVE
           BILLFINANCING LOAN AGREEMENT                                                          SERRAMONTE BLVD                       PORTLAND, OR 97210

2. 4073    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00582                 MATTHEW ZIMMERMAN                     218 29TH ST
           ADVANCED HOME UPGRADE                                                                                                       OAKLAND, CA 94611
           (CUSTOM/CALCULATED)

2. 4074    GENERAL OFF-BILL AND ON-                  6/23/2019       CCOTH_03100                 MAXIM BEST CORPORATION - 1930-        46566 FREMONT BLVD, SUITE 105
           BILLFINANCING LOAN AGREEMENT                                                          1940 ABORN RD                         FREMONT, CA 94538

2. 4075    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00512                 MAY VANG                              1846 CALIMYRNA AVE
           ADVANCED HOME UPGRADE                                                                                                       CLOVIS, CA 93611
           (CUSTOM/CALCULATED)

2. 4076    GENERAL OFF-BILL AND ON-                  12/9/2020       CCOTH_02635                 MAZDA OF VACAVILLE - 580 ORANGE       413 WILLOW BROOK WAY
           BILLFINANCING LOAN AGREEMENT                                                          DR                                    RIO VISTA, CA 95687

2. 4077    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03449                 MAZZETTI                              220 MONTGOMERY ST., SUITE 650
           BY DESIGN WHOLE BUILDING                                                                                                    SAN FRANCISCO, CA 94104

2. 4078    GENERAL OFF-BILL AND ON-                  3/28/2020       CCOTH_02053                 MBK ENTERPRISE LLC - 15171 LOS        3479 NW YEON AVE
           BILLFINANCING LOAN AGREEMENT                                                          GATOS BLVD - LOS GA                   PORTLAND, OR 97210

2. 4079    GENERAL OFF-BILL AND ON-                  12/18/2022      CCOTH_02487                 MBTECHNOLOGY - 188 S TEILMAN AVE      10610 HUMBOLT STREET
           BILLFINANCING LOAN AGREEMENT                                                                                                LOS ALAMITOS, CA 90720

2. 4080    GENERAL OFF-BILL AND ON-                  10/8/2024       CCOTH_02751                 MC SWAIN UNION ELEM SCHOOL DIST -     653 143RD AVE.
           BILLFINANCING LOAN AGREEMENT                                                          785 N SCOTT RD                        SAN LEANDRO, CA 94578

2. 4081    GENERAL OFF-BILL AND ON-                   8/8/2025       CCOTH_02752                 MC SWAIN UNION ELEM SCHOOL DIST -     653 143RD AVE.
           BILLFINANCING LOAN AGREEMENT                                                          926 SCOTT RD                          SAN LEANDRO, CA 94578

2. 4082    GENERAL OFF-BILL AND ON-                  12/28/2022      CCOTH_03158                 MCCORMICK BARSTOW LLP - 7647 N        27363 VIA INDUSTRIA
           BILLFINANCING LOAN AGREEMENT                                                          FRESNO ST                             TEMECULA, CA 92590




                                                                      Page 417 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 418
                                                                                of 649
Pacific Gas and Electric Company                                                                                                    Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 4083    QUARTERLY ELECTRIC EE TRANSFERS           7/17/1905       CCOTH_03708                 MCE                                 1125 TAMALPAIS AVE
                                                                                                                                     SAN RAFAEL, CA 94901

2. 4084    QUARTERLY GAS EE TRANSFERS                7/17/1905       CCOTH_03709                 MCE                                 1125 TAMALPAIS AVE
                                                                                                                                     SAN RAFAEL, CA 94901

2. 4085    GENERAL OFF-BILL AND ON-                  2/28/2028       CCOTH_03147                 MCFARLAND RECREATION & PARK         27611 LA PAZ RD, SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                          DISTRICT - 100 2ND ST               LAGUNA NIGUEL, CA 92677

2. 4086    GENERAL OFF-BILL AND ON-                   4/1/2026       CCOTH_03148                 MCFARLAND RECREATION & PARK         27611 LA PAZ RD
           BILLFINANCING LOAN AGREEMENT                                                          DISTRICT - MAST AVE &               LAGUNA NIGUEL, CA 92677

2. 4087    GENERAL OFF-BILL AND ON-                  3/26/2021       CCOTH_01305                 MCHOF INC - 265 RESERVATION RD      PO BOX 572
           BILLFINANCING LOAN AGREEMENT                                                                                              BLUE SPRINGS, MO 64013

2. 4088    GENERAL OFF-BILL AND ON-                  2/21/2023       CCOTH_01298                 MCKENNEY,TROY - 200 W SHAW AVE      7480 N. PALM AVE #101
           BILLFINANCING LOAN AGREEMENT                                                          BLDG B                              FRESNO, CA 93711

2. 4089    GENERAL OFF-BILL AND ON-                  9/30/2020       CCOTH_01982                 MCKESSON DRUG CO                    1902 CHANNEL DRIVE
           BILLFINANCING LOAN AGREEMENT                                                                                              WEST SACRAMENTO, CA 95691

2. 4090    GENERAL OFF-BILL AND ON-                  12/23/2019      CCOTH_01350                 MCKINLEYVILLE COMMUNITY             1656 SUTTER ROAD
           BILLFINANCING LOAN AGREEMENT                                                          SERVICES DISTRICT                   GREG P. ORSINI, GENERAL
                                                                                                                                     MANAGER
                                                                                                                                     MCKINLEYVILLE, CA 95519

2. 4091    GENERAL OFF-BILL AND ON-                   6/2/2020       CCOTH_02334                 MCPHERRIN,ALLEN                     6160 EAST BUTTE ROAD
           BILLFINANCING LOAN AGREEMENT                                                                                              LIVE OAK, CA 95953

2. 4092    GENERAL OFF-BILL AND ON-                   6/5/2020       CCOTH_02329                 MCREE,MICHAEL - SE NE 29 10 15      11812 AVE 18 1/2
           BILLFINANCING LOAN AGREEMENT                                                                                              CHOWCHILLA, CA 93610

2. 4093    GENERAL OFF-BILL AND ON-                   9/2/2021       CCOTH_02328                 MCREE,MICHAEL DBA MICHAEL MCREE     11812 AVE 18 1/2
           BILLFINANCING LOAN AGREEMENT                                                          FARMS                               CHOWCHILLA, CA 93610

2. 4094    GENERAL OFF-BILL AND ON-                   6/6/2023       CCOTH_02761                 MCSSM LLC - 2320 MARINSHIP WAY      12820 EARHART AVE
           BILLFINANCING LOAN AGREEMENT                                                                                              AUBURN, CA 95603




                                                                      Page 418 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 419
                                                                                of 649
Pacific Gas and Electric Company                                                                                                    Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                 Address
                                                    or Remaining
                                                        Term


2. 4095    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00637                 MDR-TMI LLC DBA 914MVA              2215R MARKET ST
                                                                                                 APARTMENTS                          SAN FRANCISCO, CA 941141612

2. 4096    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00674                 MEAGAN MOORE                        8001 REDWOOD BLVD
                                                                                                                                     NOVATO 94945

2. 4097    REAL PROPERTY LEASE - YUBA CITY           6/30/2020       CCCRSLS_001                 MECHANICAL & IRRIGATION SOL         MECHANICAL & IRRIGATION
           YARD AND WAREHOUSE                                            14                                                          SOLUTIONS
                                                                                                                                     MARYSVILLE, CA

2. 4098    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03362                 MECHANICAL DESIGN CONCEPTS INC.     1060 W. SIERRA AVENUE
           BY DESIGN WHOLE BUILDING                                                                                                  FRESNO, CA 93711

2. 4099    GENERAL OFF-BILL AND ON-                  11/22/2021      CCOTH_02331                 MECHANICS INSTITUTE - 57 POST ST    3404 BUSCH DR SW #E
           BILLFINANCING LOAN AGREEMENT                                                                                              GRANDVILLE, MI 49418

2. 4100    ENERGYCODEACE_MOTHERACE                   3/15/2019       CCOTH_03694                 MEDIAMACROS                         36 COURT SQ SUITE 300
                                                                                                                                     NEWNAN, GA 30263

2. 4101    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00895                 MELISSA CASAS                       3030 ORCHARD PARKWAY
                                                                                                                                     SAN JOSE 95134

2. 4102    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00896                 MELISSA CASAS                       3030 ORCHARD PARKWAY
                                                                                                                                     SAN JOSE 95134

2. 4103    GENERAL OFF-BILL AND ON-                  1/28/2020       CCOTH_01450                 MELROSE NAMEPLATE AND LABLES        PO BOX 41339
           BILLFINANCING LOAN AGREEMENT                                                          INC - 26575 CORPORATE               SANTA BARBARA, CA 93140

2. 4104    GENERAL OFF-BILL AND ON-                  2/14/2022       CCOTH_02600                 MEMON,SAIFULLAH DBA TAJ MAHAL       3479 NW YEON AVE
           BILLFINANCING LOAN AGREEMENT                                                          FRESH MARKET                        PORTLAND, OR 97210

2. 4105    SINGLE-FAMILY AFFORDABLE SOLAR            Not Stated      CCOTH_03580                 MENDEZ HERNANDEZ,FRANCISCO          FLORENCE PL
           HOMES (SASH)                                                                                                              SALINAS, CA 93905

2. 4106    REAL PROPERTY LEASE - FORT BRAGG          11/30/2023      CCCRSLS_000                 MENDO LAKE CREDIT UNION             MENDO LAKE CREDIT UNION
           CSO                                                           29                                                          115 E SMITH ST
                                                                                                                                     UKIAH, CA 95482




                                                                      Page 419 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 420
                                                                                of 649
Pacific Gas and Electric Company                                                                                                  Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                               Address
                                                    or Remaining
                                                        Term


2. 4107    SERVICE AGREEMENT                         Not Stated      CCCRSOT_001                 MENDO PACIFIC REUSE               MENDO PACIFIC REFUSE INC
                                                                         19                                                        SUISUN, CA

2. 4108    CALIFORNIA COMMUNITY COLLEGES -           Not Stated      CCOTH_00079                 MENDOCINO COLLEGE                 1000 HENSLEY CREEK ROAD
           CUSTOMIZED RETROFIT                                                                                                     UKIAH, CA 95482

2. 4109    COMMERCIAL CALCULATED                     Not Stated      CCOTH_00191                 MENDOCINO COLLEGE                 1000 HENSLEY CREEK RD
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                       UKIAH, AZ 95482
           PROGRAM

2. 4110    GENERAL OFF-BILL AND ON-                  11/14/2018      CCOTH_02667                 MENLO BUSINESS PARK, LLC          1530 O'BRIEN DRIVE
           BILLFINANCING LOAN AGREEMENT                                                                                            MENLO PARK, CA 94025

2. 4111    GENERAL OFF-BILL AND ON-                  10/18/2022      CCOTH_02436                 MENLO PARK PRESBYTERIAN           1725 RUTAN DRIVE
           BILLFINANCING LOAN AGREEMENT                                                          CHURCH - 950 SANTA CRUZ AV        LIVERMORE, CA 94551

2. 4112    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03401                 MENLO PARK SMALL HIGH SCHOOL SBD 150 JEFFERSON DRIVE
           BY DESIGN WHOLE BUILDING                                                                                               MENLO PARK, CA

2. 4113    WATER AGREEMENT                           Not Stated      CCCRSOT_001                 MENLO PARK, CITY OF               CITY OF MENLO PARK, ATTN
                                                                         20                                                        FINANCE DIVISION,
                                                                                                                                   701 LAUREL ST
                                                                                                                                   MENLO PARK, CA 94025

2. 4114    COMMERCIAL CALCULATED                     Not Stated      CCOTH_00131                 MERCED IRRIGATION DISTRICT        744 W. 20TH STREET
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                       MERCED, CA 95340
           PROGRAM

2. 4115    GENERAL OFF-BILL AND ON-                  5/26/2022       CCOTH_03041                 MERCED RIVER SCHOOL DISTRICT -    10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          4402 OAKDALE RD                   SANTA FE SPRINGS, CA 90670

2. 4116    WATER/SEWER AGREEMENT                     Not Stated      CCCRSOT_001                 MERCED, CITY OF                   CITY OF MERCED, FINANCE
                                                                         21                                                        OFFICE,
                                                                                                                                   678 WEST 18TH ST DEPT UB
                                                                                                                                   MERCED, CA 95340

2. 4117    GENERAL OFF-BILL AND ON-                  10/10/2019      CCOTH_01604                 MERCHANT MEN INC.                 1920 MODOC
           BILLFINANCING LOAN AGREEMENT                                                                                            MADERA, CA 93637




                                                                      Page 420 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35               Page 421
                                                                                of 649
Pacific Gas and Electric Company                                                                                       Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                     Address
                                                    or Remaining
                                                        Term


2. 4118    GENERAL OFF-BILL AND ON-                  11/9/2018       CCOTH_01519                 MERLE AVILA            1932 SEVILLE ST
           BILLFINANCING LOAN AGREEMENT                                                                                 ATTN: CHRIS STEELE, OWNER
                                                                                                                        SANTA ROSA, CA 95403

2. 4119    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01018                 MERLIE PEMBERTON       180 ROSE ORCHRAD PARKWAY
                                                                                                                        SAN JOSE 94019

2. 4120    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01104                 MERLIE PEMBERTON       120 ROSE ORCHARD PARKWAY
                                                                                                                        SAN JOSE 95134

2. 4121    GENERAL OFF-BILL AND ON-                  10/22/2018      CCOTH_02289                 METROPOLITAN CLUB      3055 JEFFERSON STREET SUITE 3
           BILLFINANCING LOAN AGREEMENT                                                                                 NAPA, CA 94558

2. 4122    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01101                 MICHAEL CANALL         1223 BRICKYARD COVE LANE
                                                                                                                        RICHMOND 94801

2. 4123    GENERAL OFF-BILL AND ON-                  9/27/2017       CCOTH_02082                 MICHAEL GERALDI        245 CONNECTICUT ST
           BILLFINANCING LOAN AGREEMENT                                                                                 SAN FRANCISCO, CA 94107

2. 4124    SELF-GENERATION INCENTIVE                 Not Stated      CCOTH_03504                 MICHAEL GREEN          265 CORTSEN ROAD
           PROGRAM                                                                                                       PLEASANT HILL, CA 94523

2. 4125    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00622                 MICHAEL H GIBNEY       518 TOPEKA LN
           ADVANCED HOME UPGRADE                                                                                        VACAVILLE, CA 95687
           (CUSTOM/CALCULATED)

2. 4126    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01076                 MICHAEL KENNEDY        1365 MCCANDLESS DRIVE
                                                                                                                        MILPITAS 95035

2. 4127    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01057                 MICHAEL KINRY          1501 GREENWICH STREET
                                                                                                                        SAN FRANCISCO 94123

2. 4128    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00657                 MICHAEL MCGUIRE        871 MARSH STREET
                                                                                                                        SAN LUIS OBISPO 93401

2. 4129    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01038                 MICHAEL MORRIS         1600 MISSION AVENUE
                                                                                                                        SAN RAFAEL 94901




                                                                      Page 421 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35      Page 422
                                                                                of 649
Pacific Gas and Electric Company                                                                                            Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                          Address
                                                    or Remaining
                                                        Term


2. 4130    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00494                 MICHAEL SILVERMAN           415 MONTEREY DR
           ADVANCED HOME UPGRADE                                                                                             APTOS, CA 95003
           (CUSTOM/CALCULATED)

2. 4131    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00639                 MICHAELE LAFORGE            BETWEEN 4TH AND 5TH STREET
                                                                                                                             ON MUCKELEMI
                                                                                                                             SAN JUAN BAUTISTA 95045

2. 4132    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00493                 MICHELLE BORDELON-CAMP      5123 PIONEER WAY
           ADVANCED HOME UPGRADE                                                                                             ANTIOCH, CA 94531
           (CUSTOM/CALCULATED)

2. 4133    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00680                 MICHELLE CHIBA              771 ALDER DR BLDG 21
                                                                                                                             MILPITAS 95035

2. 4134    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00693                 MICHELLE CHIBA              725 ALDER DR BLDG 20
                                                                                                                             MILPITAS 95035

2. 4135    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00752                 MICHELLE CHIBA              560 MCCARTHY BLVD
                                                                                                                             MILPITAS 95035

2. 4136    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00773                 MICHELLE CHIBA              510 N MCCARTHY BLVD BLDG 24
                                                                                                                             MILPITAS 95035

2. 4137    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00849                 MICHELLE CHIBA              3850 ZANKER RD BLDG 1
                                                                                                                             SAN JOSE 95134

2. 4138    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00855                 MICHELLE CHIBA              3750 ZANKER ROAD, BUILDING 8
                                                                                                                             SAN JOSE 95134

2. 4139    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00858                 MICHELLE CHIBA              3675 CISCO WAY BLDG 13
                                                                                                                             SAN JOSE 95134

2. 4140    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00864                 MICHELLE CHIBA              3550 CISCO WAY
                                                                                                                             SAN JOSE 95134

2. 4141    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00879                 MICHELLE CHIBA              325 E TASMAN DR BLDG 5
                                                                                                                             SAN JOSE 95134



                                                                      Page 422 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35           Page 423
                                                                                of 649
Pacific Gas and Electric Company                                                                                                    Case Number:        19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                 Address
                                                    or Remaining
                                                        Term


2. 4142    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00904                 MICHELLE CHIBA                      300 E TASMAN DR
                                                                                                                                     SAN JOSE 95134

2. 4143    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00916                 MICHELLE CHIBA                      275 E TASMAN DR
                                                                                                                                     SAN JOSE 95134

2. 4144    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01092                 MICHELLE CHIBA                      125 W TASMAN DR
                                                                                                                                     SAN JOSE 95134

2. 4145    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01128                 MICHELLE GLOVER                     10140 OLD OREGON TRAIL
                                                                                                                                     REDDING 96003

2. 4146    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00835                 MICHELLE LAJOM                      3 LAGOON DRIVE
                                                                                                                                     REDWOOD CITY 94065

2. 4147    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00998                 MICHELLE LAJOM                      1 LAGOON DRIVE
                                                                                                                                     REDWOOD CITY 94065

2. 4148    REAL PROPERTY LEASE - DCPP OFFICE         6/13/2021       CCCRSLS_000                 MICKAEL S KYLE                      MICHAEL S KYLE
           AND WAREHOUSE                                                 72                                                          4349 OLD SANTA FE RD
                                                                                                                                     SAN LUIS OBISPO, CA 93401

2. 4149    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03404                 MICROSOFT CORP                      1065 LA AVENIDA
           BY DESIGN WHOLE BUILDING                                                                                                  MOUNTAIN VIEW, CA 94043

2. 4150    GARBAGE AGREEMENT                         Not Stated      CCCRSOT_001                 MID VALLEY DISPOSAL                 MID VALLEY DISPOSAL INC
                                                                         24                                                          FRESNO, CA

2. 4151    GENERAL OFF-BILL AND ON-                  6/20/2021       CCOTH_02880                 MID-COASTSIDE SEWER AUTHORITY -     6644 N. HIGHLAND
           BILLFINANCING LOAN AGREEMENT                                                          CABRILLO HWY S/O K                  CLOVIS, CA 93619

2. 4152    WATER AGREEMENT                           Not Stated      CCCRSOT_001                 MID-PENINSULA WATER DIST            MID-PENINSULA WATER DISTRICT,
                                                                         22                                                          DEPT 33474,
                                                                                                                                     SAN FRANCISCO, CA

2. 4153    GARBAGE AGREEMENT                         Not Stated      CCCRSOT_001                 MIDSTATE SOLID WASTE & RECYCLING    MIDSTATE SOLID WASTE &
                                                                         23                                                          RECYCLING
                                                                                                                                     TEMPLETON, CA



                                                                      Page 423 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 424
                                                                                of 649
Pacific Gas and Electric Company                                                                                                      Case Number:       19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                   Address
                                                    or Remaining
                                                        Term


2. 4154    GENERAL OFF-BILL AND ON-                  9/10/2018       CCOTH_01879                 MIDTOWN FOOD STORES DBA GENE'S        PO BOX 320248
           BILLFINANCING LOAN AGREEMENT                                                          FINE FOOD                             KENT PENNING, FOUNDER
                                                                                                                                       LOS GATOS, CA 95032

2. 4155    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00880                 MIHIR DAVE                            324 E. SHAW AVE
                                                                                                                                       FRESNO 93710

2. 4156    GENERAL OFF-BILL AND ON-                  12/13/2018      CCOTH_01521                 MIKE HUDSON DISTRIBUTING INC -        2237 S. MCDOWELL EXTENSION
           BILLFINANCING LOAN AGREEMENT                                                          2237 S MCDOWELL BOU                   PETALUMA, CA 94955

2. 4157    WATER/SEWER AGREEMENT                     Not Stated      CCCRSOT_001                 MILLBRAE, CITY OF                     CITY OF MILLBRAE, UTILITY
                                                                         25                                                            BILLING,
                                                                                                                                       MILLBRAE, CA

2. 4158    WATER AGREEMENT                           Not Stated      CCCRSOT_001                 MILLVIEW COUNTY WATER DIST            MILLVIEW COUNTY WATER
                                                                         26                                                            DISTRICT
                                                                                                                                       3081 NO STATE ST
                                                                                                                                       UKIAH, CA 95482

2. 4159    GENERAL OFF-BILL AND ON-                   3/9/2022       CCOTH_01294                 MILPITAS BLVD VENTURES LLC - 691 S    11812 KEMPER ROAD
           BILLFINANCING LOAN AGREEMENT                                                          MILPITAS BLVD                         AUBURN, CA 95603

2. 4160    GENERAL OFF-BILL AND ON-                   1/2/2022       CCOTH_02558                 MILPITAS GREENS - 1698 N MILPITAS     10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          BLVD                                  SANTA FE SPRINGS, CA 90670

2. 4161    GENERAL OFF-BILL AND ON-                  7/31/2021       CCOTH_01448                 MINTON'S, A CALIFORNIA LIMITED        14355 INDUSTRY CIRCLE
           BILLFINANCING LOAN AGREEMENT                                                          PARTNERSHIP                           LA MIRADA, CA 90638

2. 4162    GENERAL OFF-BILL AND ON-                  11/6/2019       CCOTH_01825                 MINTURN ALMOND HULLER CO-OP -         PO BOX 760
           BILLFINANCING LOAN AGREEMENT                                                          9080 S MINTURN RD                     CHOWCHILLA, CA 93610

2. 4163    GENERAL OFF-BILL AND ON-                  9/14/2020       CCOTH_01826                 MINTURN ALMOND HULLER CO-OP -         PO BOX 760
           BILLFINANCING LOAN AGREEMENT                                                          9080 S MINTURN RD                     CHOWCHILLA, CA 93610

2. 4164    SERVICE AGREEMENT                         Not Stated      CCCRSOT_001                 MIRAMONTE SANITATION                  MIRAMONTE SANITATION
                                                                         27                                                            REEDLEY, CA

2. 4165    COMMERCIAL CALCULATED                     Not Stated      CCOTH_00135                 MISSION BELL MANUFACTURING            16100 JACQUELINE COURT
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                           MORGAN HILL, CA 95037
           PROGRAM

                                                                      Page 424 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 425
                                                                                of 649
Pacific Gas and Electric Company                                                                                                    Case Number:        19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                 Address
                                                    or Remaining
                                                        Term


2. 4166    INDUSTRIAL CALCULATED INCENTIVES -        Not Stated      CCOTH_03294                 MISSION LINEN SUPPLY                PO BOX 1299
           CUSTOMIZED INCENTIVE PROGRAM                                                                                              SANTA BARBARA, CA 93103

2. 4167    GENERAL OFF-BILL AND ON-                  8/22/2019       CCOTH_01642                 MISSION RANCHES CO LLC              117 N. 1ST ST.
           BILLFINANCING LOAN AGREEMENT                                                                                              LAWRENCE HINKLE
                                                                                                                                     KING CITY, CA 93930

2. 4168    GENERAL OFF-BILL AND ON-                  11/13/2020      CCOTH_01598                 MISSION STATION INC                 27611 LA PAZ RD, SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                                                              LAGUNA NIGUEL, CA 92677

2. 4169    COMPLIANCE IMPROVEMENT, REACH             12/31/2018      CCOTH_03691                 MISTI BRUCERI ASSOCIATES            143 VISTA VIEW DR.
           CODES, AND BUILDING ADVOCACY                                                                                              VACAVILLE, CA 95688
           SUBPROGRAMS SUPPORT

2. 4170    SELF-GENERATION INCENTIVE                 Not Stated      CCOTH_03518                 MITCHELL GELBARD                    3178 TEIGLAND ROAD
           PROGRAM                                                                                                                    LAFAYETTE, CA 94549

2. 4171    GENERAL OFF-BILL AND ON-                  3/23/2020       CCOTH_02739                 MKD INVESTMENTS LP - 2162           2210 NORTHPOINT PKWY
           BILLFINANCING LOAN AGREEMENT                                                          NORTHPOINT PKWY                     SANTA ROSA, CA 95407

2. 4172    GENERAL OFF-BILL AND ON-                  9/14/2020       CCOTH_02717                 MOBILE MINI INC - 44580 OLD WARM    10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          SPRINGS BLVD                        SANTA FE SPRINGS, CA 90670

2. 4173    ELECTRIC AGREEMENT                        Not Stated      CCCRSOT_001                 MODESTO IRRIGATION DIST - MID       MODESTO IRRIGATION DISTRICT
                                                                         29                                                          1231 ELEVENTH ST
                                                                                                                                     MODESTO, CA 95354

2. 4174    GENERAL OFF-BILL AND ON-                   2/3/2019       CCOTH_01810                 MODESTO PETROLEUM                   10424 FAIR OAKS BLVD. SUITE B
           BILLFINANCING LOAN AGREEMENT                                                                                              FAIR OAKS, CA 95628

2. 4175    WATER/SEWER AGREEMENT                     Not Stated      CCCRSOT_001                 MODESTO, CITY OF                    CITY OF MODESTO, ATTN
                                                                         28                                                          CASHIERING DIV,
                                                                                                                                     MODESTO, CA

2. 4176    REAL PROPERTY LEASE - CLOVIS              5/31/2021       CCCRSLS_000                 MOFFETT 259 LLC                     MOFFETT 259 LLC
           OFFICE                                                        21                                                          1432 OLD BAYSHORE HWY
                                                                                                                                     SAN JOSE, CA 95112

2. 4177    GENERAL OFF-BILL AND ON-                  4/12/2023       CCOTH_01229                 MOHAMED,ABDULLA - 527 E CHARTER     6644 N HIGHLAND
           BILLFINANCING LOAN AGREEMENT                                                          WAY                                 CLOVIS, CA 93619

                                                                      Page 425 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                  Page 426
                                                                                of 649
Pacific Gas and Electric Company                                                                                                   Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 4178    GENERAL OFF-BILL AND ON-                  10/7/2021       CCOTH_02983                 MOHAMMADKHAN,MOJTABA DBA           658 COMMERCE DR., STE B
           BILLFINANCING LOAN AGREEMENT                                                          STOCKTON PAPER & JANITORI          ROSEVILLE, CA 95678

2. 4179    GENERAL OFF-BILL AND ON-                  2/28/2021       CCOTH_02131                 MOHAR INC                          112 COMMERCIAL CT. #24
           BILLFINANCING LOAN AGREEMENT                                                                                             SANTA ROSA, CA 95407

2. 4180    GENERAL OFF-BILL AND ON-                   9/8/2020       CCOTH_02162                 MOHAR INC - 550 GRAVENSTEIN HWY    550 GRAVESTEIN HWY N
           BILLFINANCING LOAN AGREEMENT                                                          N - SEBASTOPOL                     SEBASTOPOL, CA 95472

2. 4181    REAL PROPERTY LEASE - KHOSRO              12/31/2025      CCCRSLS_001                 MOJAN CLEANERS (CUSTOMER #:        245 MARKET STREET
           HAGHIGHI JAVID ("MOJAN CLEANERS")                             22                      754362)                            SAN FRANCISCO, CA 94105

2. 4182    GENERAL OFF-BILL AND ON-                  2/26/2021       CCOTH_01393                 MOLSBERRY MARKETS INC              522 LARKFIELD CENTER
           BILLFINANCING LOAN AGREEMENT                                                                                             SANTA ROSA, CA 95403

2. 4183    GENERAL OFF-BILL AND ON-                   9/6/2019       CCOTH_02831                 MONGKOL AND SONS ENTERPRISES       877 CEDAR ST, SUITE 240
           BILLFINANCING LOAN AGREEMENT                                                          INC - 107 MINNIS CIR               SANTA CRUZ, CA 95060

2. 4184    SERVICE AGREEMENT                         Not Stated      CCCRSOT_001                 MONTEREY CITY DISPOSAL             MONTEREY CITY DISPOSAL
                                                                         30                                                         SERVICE INC
                                                                                                                                    MONTEREY, CA

2. 4185    CALIFORNIA COMMUNITY COLLEGES -           Not Stated      CCOTH_00069                 MONTEREY PENINSULA COLLEGE         980 FREMONT ST.
           CUSTOMIZED RETROFIT                                                                                                      MONTEREY, CA 93940

2. 4186    WATER AGREEMENT                           Not Stated      CCCRSOT_001                 MONTEREY REGIONAL WATER            MONTEREY REGIONAL WATER,
                                                                         31                                                         POLLUTION CONTROL AGENCY, %
                                                                                                                                    MANAGER
                                                                                                                                    MONTEREY, CA

2. 4187    GENERAL OFF-BILL AND ON-                  11/25/2020      CCOTH_01430                 MONTEREY REGIONAL WATER            877 CEDAR STREET, SUITE 240
           BILLFINANCING LOAN AGREEMENT                                                          POLLUTION CONTROL AGENCY           SANTA CRUZ, CA 95060

2. 4188    GENERAL OFF-BILL AND ON-                  3/19/2022       CCOTH_02428                 MONTEREY REGIONAL WATER            804 ESTATES DR STE 202
           BILLFINANCING LOAN AGREEMENT                                                          POLLUTION CONTROL AGENCY           APTOS, CA 95003

2. 4189    GENERAL OFF-BILL AND ON-                  1/31/2023       CCOTH_02374                 MONTEREY ROAD PARTNERS - 1887      P.O. BOX 1153
           BILLFINANCING LOAN AGREEMENT                                                          MONTEREY HWY # A                   SOULSBYVILLE, CA 95372



                                                                      Page 426 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 427
                                                                                of 649
Pacific Gas and Electric Company                                                                                                    Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                 Address
                                                    or Remaining
                                                        Term


2. 4190    GENERAL OFF-BILL AND ON-                  2/20/2020       CCOTH_01901                 MONTEREY ROAD PARTNERS - 1887       877 CEDAR STREET SUITE 240
           BILLFINANCING LOAN AGREEMENT                                                          MONTEREY HWY # C                    SANTA CRUZ, CA 95060

2. 4191    GENERAL OFF-BILL AND ON-                   7/6/2022       CCOTH_02829                 MONTEREY TRANSFER & STORAGE         2 HARRIS CT STE B2
           BILLFINANCING LOAN AGREEMENT                                                          INC - 414 W MARKET ST               MONTEREY, CA 93940

2. 4192    GENERAL OFF-BILL AND ON-                  10/15/2021      CCOTH_01460                 MONUMENT CORPORATION - 2300         10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          MONUMENT BLVD                       SANTA FE SPRINGS, CA 90670

2. 4193    GENERAL OFF-BILL AND ON-                   3/7/2022       CCOTH_01964                 MOONLIGHT COLD STORAGE INC -        17719 E HUNTSMAN AVE.
           BILLFINANCING LOAN AGREEMENT                                                          10425 KINGS RIVER RD                REEDLEY, CA 93654

2. 4194    GENERAL OFF-BILL AND ON-                   9/7/2021       CCOTH_01965                 MOONLIGHT COLD STORAGE INC - 1500 17719 E HUNTSMAN AVE.
           BILLFINANCING LOAN AGREEMENT                                                          W MANNING                         REEDLEY, CA 93654

2. 4195    GENERAL OFF-BILL AND ON-                  12/2/2019       CCOTH_01963                 MOONLIGHT PACKING CORPORATION -     17719 E HUNTSMAN AVE.
           BILLFINANCING LOAN AGREEMENT                                                          17719 E HUNTSMAN                    REEDLEY, CA 93654

2. 4196    WATER/SEWER AGREEMENT                     Not Stated      CCCRSOT_001                 MORGAN HILL, CITY OF                CITY OF MORGAN HILL, UTILITY
                                                                         32                                                          BILLING DIVISION,
                                                                                                                                     495 ALKIRE AVE
                                                                                                                                     MORGAN HILL, CA

2. 4197    GENERAL OFF-BILL AND ON-                  6/23/2019       CCOTH_01477                 MOSTAFA HEIDARI DBA MIGHTY MART     486 ACADEMY AVE #A1
           BILLFINANCING LOAN AGREEMENT                                                                                              SANGER, CA 93657

2. 4198    GENERAL OFF-BILL AND ON-                  10/14/2019      CCOTH_02002                 MOTHER LODE UNIFIED SCHOOL          9245 LAGUNA SPRINGS RD #200
           BILLFINANCING LOAN AGREEMENT                                                          DISTRICT                            DAN DALY, CO-FOUNDER
                                                                                                                                     ELK GROVE, CA 95758

2. 4199    GENERAL OFF-BILL AND ON-                   6/4/2020       CCOTH_01574                 MOUNTAIN VALLEY CENTER LLC - 107    877 CEDAR STREET, SUITE 240
           BILLFINANCING LOAN AGREEMENT                                                          BARDIN RD                           SANTA CRUZ, CA 95060

2. 4200    GENERAL OFF-BILL AND ON-                  10/18/2020      CCOTH_01736                 MOUNTAIN VALLEY CENTER LLC - 630    877 CEDAR ST, STE 240
           BILLFINANCING LOAN AGREEMENT                                                          WILLIAMS RD                         SANTA CRUZ, CA 95060

2. 4201    GENERAL OFF-BILL AND ON-                   1/4/2020       CCOTH_01575                 MOUNTAIN VALLEY CENTER LLC - 630    877 CEDAR STREET, SUITE 240
           BILLFINANCING LOAN AGREEMENT                                                          WILLIAMS RD BLD                     SANTA CRUZ, CA 95060



                                                                      Page 427 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                 Page 428
                                                                                of 649
Pacific Gas and Electric Company                                                                                                  Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                               Address
                                                    or Remaining
                                                        Term


2. 4202    GENERAL OFF-BILL AND ON-                  6/10/2022       CCOTH_01847                 MOUNTAIN VALLEY EXPRESS           7083 COMMERCE CIRCLE, SUITE A
           BILLFINANCING LOAN AGREEMENT                                                          COMPANY INC                       PLEASANTON, CA 94566

2. 4203    GENERAL OFF-BILL AND ON-                  2/28/2022       CCOTH_02420                 MOUNTAIN VIEW COMMUNITY CHURCH    3600 N. FOWLER AVE
           BILLFINANCING LOAN AGREEMENT                                                          INC - 3604 N FOWLER               FRESNO, CA 93727

2. 4204    WATER AGREEMENT                           Not Stated      CCCRSOT_001                 MOUNTAIN VIEW, CITY OF            CITY OF MOUNTAIN VIEW
                                                                         33                                                        500 CASTRO ST
                                                                                                                                   MOUNTAIN VIEW, CA

2. 4205    GENERAL OFF-BILL AND ON-                  10/3/2022       CCOTH_01224                 MOYLANS BREWING CO LTD - 15       2 HARRIS CT STE B-1
           BILLFINANCING LOAN AGREEMENT                                                          ROWLAND WAY                       MONTEREY, CA 93940

2. 4206    GENERAL OFF-BILL AND ON-                  4/30/2022       CCOTH_02539                 MR SPACE SELF STORAGE - 2944 W    2972 SWAIN ROAD
           BILLFINANCING LOAN AGREEMENT                                                          SWAIN RD                          STOCKTON, CA 95219

2. 4207    REAL PROPERTY LEASE - OROVILLE            10/31/2019      CCCRSLS_000                 MRB ASSOCIATES                    MRB ASSOCIATES
           CSO                                                           56                                                        1550 MYERS ST #A
                                                                                                                                   OROVILLE, CA 95965

2. 4208    PRIMARY LIGHTING - DEEMED                 Not Stated      CCOTH_03309                 MSM INC.                          1101 FRANCISCO BLVD. EAST
           UPSTREAM / MIDSTREAM - LED                                                                                              SAN RAFAEL, CA 94901
           REPLACEMENT

2. 4209    PRIMARY LIGHTING - DEEMED                 Not Stated      CCOTH_03310                 MSM INC.                          1101 FRANCISCO BLVD. EAST
           UPSTREAM / MIDSTREAM - LED                                                                                              SAN RAFAEL, CA 94901
           REPLACEMENT

2. 4210    PRIMARY LIGHTING - DEEMED                 Not Stated      CCOTH_03311                 MSM INC.                          1101 FRANCISCO BLVD. EAST
           UPSTREAM / MIDSTREAM - LED                                                                                              SAN RAFAEL, CA 94901
           REPLACEMENT

2. 4211    PRIMARY LIGHTING - DEEMED                 Not Stated      CCOTH_03312                 MSM INC.                          1101 FRANCISCO BLVD. EAST
           UPSTREAM / MIDSTREAM - LED                                                                                              SAN RAFAEL, CA 94901
           REPLACEMENT

2. 4212    PRIMARY LIGHTING - DEEMED                 Not Stated      CCOTH_03313                 MSM INC.                          1101 FRANCISCO BLVD. EAST
           UPSTREAM / MIDSTREAM - LED                                                                                              SAN RAFAEL, CA 94901
           REPLACEMENT



                                                                      Page 428 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 429
                                                                                of 649
Pacific Gas and Electric Company                                                                                                     Case Number:        19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 4213    PRIMARY LIGHTING - DEEMED                 Not Stated      CCOTH_03314                 MSM INC.                             1101 FRANCISCO BLVD. EAST
           UPSTREAM / MIDSTREAM - LED                                                                                                 SAN RAFAEL, CA 94901
           REPLACEMENT

2. 4214    PRIMARY LIGHTING - DEEMED                 Not Stated      CCOTH_03315                 MSM INC.                             1101 FRANCISCO BLVD. EAST
           UPSTREAM / MIDSTREAM - LED                                                                                                 SAN RAFAEL, CA 94901
           REPLACEMENT

2. 4215    PRIMARY LIGHTING - DEEMED                 Not Stated      CCOTH_03316                 MSM INC.                             1101 FRANCISCO BLVD. EAST
           UPSTREAM / MIDSTREAM - LED                                                                                                 SAN RAFAEL, CA 94901
           REPLACEMENT

2. 4216    PRIMARY LIGHTING - DEEMED                 Not Stated      CCOTH_03317                 MSM INC.                             1101 FRANCISCO BLVD. EAST
           UPSTREAM / MIDSTREAM - LED                                                                                                 SAN RAFAEL, CA 94901
           REPLACEMENT

2. 4217    REAL PROPERTY LEASE - GUERNEVILLE         4/30/2019       CCCRSLS_000                 MT JACKSON BLDG ASSOC                MT JACKSON BLDG ASSOC
           CSO                                                           34                                                           GUERNEVILLE, CA

2. 4218    GENERAL OFF-BILL AND ON-                  3/11/2019       CCOTH_01401                 MUBAREZ,NAGI                         PO BOX 41339
           BILLFINANCING LOAN AGREEMENT                                                                                               SANTA BARBARA, CA 93140

2. 4219    GENERAL OFF-BILL AND ON-                  9/23/2018       CCOTH_01684                 MUBAREZ,NAGI - 5300 BROADWAY         P.O. BOX 41339
           BILLFINANCING LOAN AGREEMENT                                                                                               SANTA BARBARA, CA 93140

2. 4220    GENERAL OFF-BILL AND ON-                  10/28/2021      CCOTH_03044                 MURPHYS MARKETS INC - 2471           785 BAYSIDE RD
           BILLFINANCING LOAN AGREEMENT                                                          WESTWOOD CRT CTR                     ARCATA, CA 95521

2. 4221    GENERAL OFF-BILL AND ON-                  2/15/2023       CCOTH_03045                 MURPHYS MARKETS INC - 4020           785 BAYSIDE ROAD
           BILLFINANCING LOAN AGREEMENT                                                          WALNUT DR                            ARCATA, CA 95521

2. 4222    GENERAL OFF-BILL AND ON-                  1/22/2024       CCOTH_03043                 MURPHYS MARKETS INC - MAIN & VIEW    785 BAYSIDE RD
           BILLFINANCING LOAN AGREEMENT                                                          STS                                  ARCATA, CA 95521

2. 4223    GENERAL OFF-BILL AND ON-                  9/12/2019       CCOTH_01435                 MUSSETTER DISTRIBUTING INC           12820 EARHART AVENUE
           BILLFINANCING LOAN AGREEMENT                                                                                               AUBURN, CA 95604

2. 4224    INDUSTRIAL CALCULATED INCENTIVES -        Not Stated      CCOTH_03276                 MY ONE WATER                         5 HARRIS COURT, BLDG D
           CUSTOMIZED INCENTIVE PROGRAM                                                                                               MONTEREY, CA 93940


                                                                      Page 429 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                 Page 430
                                                                                of 649
Pacific Gas and Electric Company                                                                                                  Case Number:       19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 4225    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00408                 MYERS RESTAURANT SUPPLY INC.       1599 CLEVELAND AVENUE
           DEEMED UPSTREAM / MIDSTREAM -                                                                                            SANTA ROSA, CA 95401
           POINT-OF-SALE FOOD

2. 4226    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00409                 MYERS RESTAURANT SUPPLY INC.       1599 CLEVELAND AVENUE
           DEEMED UPSTREAM / MIDSTREAM -                                                                                            SANTA ROSA, CA 95401
           POINT-OF-SALE FOOD

2. 4227    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00410                 MYERS RESTAURANT SUPPLY INC.       1599 CLEVELAND AVENUE
           DEEMED UPSTREAM / MIDSTREAM -                                                                                            SANTA ROSA, CA 95401
           POINT-OF-SALE FOOD

2. 4228    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00411                 MYERS RESTAURANT SUPPLY INC.       1599 CLEVELAND AVENUE
           DEEMED UPSTREAM / MIDSTREAM -                                                                                            SANTA ROSA, CA 95401
           POINT-OF-SALE FOOD

2. 4229    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00412                 MYERS RESTAURANT SUPPLY INC.       1599 CLEVELAND AVENUE
           DEEMED UPSTREAM / MIDSTREAM -                                                                                            SANTA ROSA, CA 95401
           POINT-OF-SALE FOOD

2. 4230    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00413                 MYERS RESTAURANT SUPPLY INC.       1599 CLEVELAND AVENUE
           DEEMED UPSTREAM / MIDSTREAM -                                                                                            SANTA ROSA, CA 95401
           POINT-OF-SALE FOOD

2. 4231    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00816                 MYRAN GIST                         425 ORANGE ST.
                                                                                                                                    OAKLAND 94610

2. 4232    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00633                 MYRNA MASSIE                       3455 JEFFERSON BLVD
           ADVANCED HOME UPGRADE                                                                                                    WEST SACRAMENTO, CA 95691
           (CUSTOM/CALCULATED)

2. 4233    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01094                 MYRNA SANTOS                       1255 TREAT BLVD., SUITE 210
                                                                                                                                    WALNUT CREEK 94597

2. 4234    GENERAL OFF-BILL AND ON-                  3/17/2019       CCOTH_02660                 MYUNGKI JUN                        321 D STREET
           BILLFINANCING LOAN AGREEMENT                                                                                             MARYSVILLE, CA 95901

2. 4235    GENERAL OFF-BILL AND ON-                  7/14/2020       CCOTH_01187                 N GILLIS & D DEWEY - 21000 REDWOOD 1265 S CABERNET CIR
           BILLFINANCING LOAN AGREEMENT                                                          RD                                 ANAHEIM, CA 92804



                                                                      Page 430 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                 Page 431
                                                                                of 649
Pacific Gas and Electric Company                                                                                                 Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                              Address
                                                    or Remaining
                                                        Term


2. 4236    REAL PROPERTY LEASE - FORMER              12/21/2025      CCCRSLS_001                 N/A                              NOT AVAILABLE
           VALLEJO CSO (ESSENTIALLY ACCESS                               13
           EASEMENT)

2. 4237    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00602                 NADINE FORD                      9149 DUPONT WAY
           ADVANCED HOME UPGRADE                                                                                                  SACRAMENTO, CA 95826
           (CUSTOM/CALCULATED)

2. 4238    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00986                 NAJA HUNTER                      200 CARDINAL WAY
                                                                                                                                  REDWOOD CITY 94063

2. 4239    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01083                 NANCY HUMPHREY                   1333 PARK AVENUE
                                                                                                                                  EMERYVILLE 94608

2. 4240    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00650                 NANCY PFEIFFER                   901 BOYNTON AVENUE
                                                                                                                                  SAN JOSE 95117

2. 4241    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00768                 NANCY PFEIFFER                   5210 LEIGH AVENUE
                                                                                                                                  SAN JOSE 95124

2. 4242    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00794                 NANCY PFEIFFER                   4805 WESTMONT AVENUE
                                                                                                                                  CAMPBELL 95008

2. 4243    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00853                 NANCY PFEIFFER                   3800 BLACKFORD AVENUE
                                                                                                                                  SAN JOSE 95117

2. 4244    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00881                 NANCY PFEIFFER                   3235 UNION AVENUE
                                                                                                                                  SAN JOSE 95124

2. 4245    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01042                 NANCY PFEIFFER                   1570 BRANHAM LANE
                                                                                                                                  SAN JOSE 95118

2. 4246    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01100                 NANCY PFEIFFER                   1224 DEL MAR AVENUE
                                                                                                                                  SAN JOSE 95128

2. 4247    DEBRIS BOX                                Not Stated      CCCRSOT_001                 NAPA COUNTY RECYCLING & WASTE    NAPA COUNTY RECYCLING &
                                                                         35                                                       WASTE, SERVICES LLC,
                                                                                                                                  NAPA, CA



                                                                      Page 431 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35             Page 432
                                                                                of 649
Pacific Gas and Electric Company                                                                                                     Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 4248    GARBAGE AGREEMENT                         Not Stated      CCCRSOT_001                 NAPA RECYCLING & WASTE               NAPA RECYLCING & WASTE
                                                                         36                                                           SERVICES LLC, NRWS -
                                                                                                                                      COLLECTIONS,
                                                                                                                                      LOS ANGELES, CA

2. 4249    CALIFORNIA COMMUNITY COLLEGES -           Not Stated      CCOTH_00070                 NAPA VALLEY COLLEGE                  2227 NAPA VALLEY HIGHWAY
           CUSTOMIZED RETROFIT                                                                                                        NAPA, CA 94038

2. 4250    GENERAL OFF-BILL AND ON-                   2/7/2024       CCOTH_02813                 NAPA VALLEY COUNTRY CLUB - 3385      10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          HAGEN RD                             SANTA FE SRINGS, CA 90670

2. 4251    WATER AGREEMENT                           Not Stated      CCCRSOT_001                 NAPA, CITY OF                        CITY OF NAPA
                                                                         34                                                           NAPA, CA

2. 4252    GENERAL OFF-BILL AND ON-                  5/30/2018       CCOTH_01402                 NASPAT INC                           3633 NORWOOD AVENUE
           BILLFINANCING LOAN AGREEMENT                                                                                               SAN JOSE, CA 95148

2. 4253    RETAIL PRODUCTS PLATFORM                  Not Stated      CCOTH_03320                 NATIONWIDE MARKETING GROUP           110 OAKWOOD S 200
           (DEEMED)                                                                                                                   WINSTON-SALEM, NC 27103

2. 4254    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03447                 NATUREBRIDGE                         28 GEARY ST
           BY DESIGN WHOLE BUILDING                                                                                                   SAN FRANCISCO, CA 94108

2. 4255    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03448                 NATUREBRIDGE                         28 GEARY ST
           BY DESIGN WHOLE BUILDING                                                                                                   SAN FRANCISCO, CA 94108

2. 4256    GENERAL OFF-BILL AND ON-                  10/11/2021      CCOTH_02726                 NAVE SELF STORAGE - 1537 S NOVATO    1533 SO. NOVATO BLVD.
           BILLFINANCING LOAN AGREEMENT                                                          BLVD                                 NOVATO, CA 94947

2. 4257    REAL PROPERTY LEASE - SAN RAMON           7/31/2025       CCCRSLS_000                 NEARON SUNSET LLC                    NEARON SUNSET LLC, %
           OFFICE                                                        74                                                           ORCHARD COMMERCIAL INC
                                                                                                                                      101 YGNACIO VALLEY RD STE 450
                                                                                                                                      WALNUT CREEK, CA 94596

2. 4258    GENERAL OFF-BILL AND ON-                  11/2/2018       CCOTH_01614                 NELSON PROPERTIES INC.               2044 E MUSCAT AVE
           BILLFINANCING LOAN AGREEMENT                                                                                               FRESNO, CA 93725

2. 4259    GENERAL OFF-BILL AND ON-                  9/15/2018       CCOTH_03102                 NEODORA LLC - 1545 BERGER DR         877 CEDAR STREET, SUITE 240
           BILLFINANCING LOAN AGREEMENT                                                                                               SANTA CRUZ, CA 95060


                                                                      Page 432 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                 Page 433
                                                                                of 649
Pacific Gas and Electric Company                                                                                                       Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                 Address
                                                     or Remaining
                                                         Term


2. 4260    GENERAL OFF-BILL AND ON-                    8/8/2021         CCOTH_02613                 NEROLY SPORTS CLUB INVESTORS        PO BOX 202
           BILLFINANCING LOAN AGREEMENT                                                             L.P. - 1510 NEROLY RD               LAKE STEVENS, WA 98258

2. 4261    NEST SEASONAL SAVINGS                       8/31/2018        CCOTH_03785                 NEST LABS INC.                      3400 HILLVIEW AVENUE
           THERMOSTAT OPTIMIZATION                                                                                                      PALO ALTO, CA 94304
           ASSESSMENT

2. 4262    COMMERCIAL CALCULATED                      Not Stated        CCOTH_00205                 NETWORK APPLIANCE INC.              495 E. JAVA DR.
           INCENTIVES - RETRO COMMISSIONING                                                                                             SUNNYVALE, CA 94089
           (RCX)

2. 4263    SERVICE AGREEMENT                          Not Stated        CCCRSOT_001                 NEVADA IRRIGATION DIST (ROLLINS)    NEVADA IRRIGATION DISTRICT,
                                                                            37                                                          COMBIE NORTH, ATTN
                                                                                                                                        ACCOUNTING ADMINISTRATOR
                                                                                                                                        1036 W MAIN ST
                                                                                                                                        GRASS VALLEY, CA 95945

2. 4264    PG&E PRODUCTS & SERVICES                    9/27/2023        CCNRD_02856                 NEVADA IRRIGATION DISTRICT          28311 SECRET TOWN RD
           AGREEMENT, PERMITTING CUSTOMER                                                                                               COLFAX, CA 95713
           TO ENTER INTO CONTRACTS WITH
           PG&E FOR VARIOUS CUSTOMER-
           OWNED FACILITY SERVICES

2. 4265    ATT-CCU4518                             2/16/2026, unless    CCNRD_00914                 NEW CINGULAR WIRELESS PCS, LLC      ATTN: PROPERTY MANAGEMENT
                                                   terminated earlier                                                                   4420 ROSEWOOD DRIVE
                                                                                                                                        PLEASANTON, CA 94588

2. 4266    ATT-CN0696                              2/16/2026, unless    CCNRD_00916                 NEW CINGULAR WIRELESS PCS, LLC      ATTN: PROPERTY MANAGEMENT
                                                   terminated earlier                                                                   4420 ROSEWOOD DRIVE
                                                                                                                                        PLEASANTON, CA 94588

2. 4267    ATT-CN1277                              2/16/2026, unless    CCNRD_00935                 NEW CINGULAR WIRELESS PCS, LLC      ATTN: PROPERTY MANAGEMENT
                                                   terminated earlier                                                                   4420 ROSEWOOD DRIVE
                                                                                                                                        PLEASANTON, CA 94588

2. 4268    ATT-CN1353                              2/16/2026, unless    CCNRD_00931                 NEW CINGULAR WIRELESS PCS, LLC      ATTN: PROPERTY MANAGEMENT
                                                   terminated earlier                                                                   4420 ROSEWOOD DRIVE
                                                                                                                                        PLEASANTON, CA 94588




                                                                         Page 433 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 434
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                               Address
                                                     or Remaining
                                                         Term


2. 4269    ATT-CNU0217                             2/16/2026, unless    CCNRD_00922                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
                                                   terminated earlier                                                                 4420 ROSEWOOD DRIVE
                                                                                                                                      PLEASANTON, CA 94588

2. 4270    ATT-CNU0324                             2/16/2026, unless    CCNRD_00915                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
                                                   terminated earlier                                                                 4420 ROSEWOOD DRIVE
                                                                                                                                      PLEASANTON, CA 94588

2. 4271    ATT-CNU0550                             2/16/2026, unless    CCNRD_00933                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
                                                   terminated earlier                                                                 4420 ROSEWOOD DRIVE
                                                                                                                                      PLEASANTON, CA 94588

2. 4272    ATT-CNU0746                             2/16/2026, unless    CCNRD_00926                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
                                                   terminated earlier                                                                 4420 ROSEWOOD DRIVE
                                                                                                                                      PLEASANTON, CA 94588

2. 4273    ATT-CNU0746E                            2/16/2026, unless    CCNRD_00932                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
                                                   terminated earlier                                                                 4420 ROSEWOOD DRIVE
                                                                                                                                      PLEASANTON, CA 94588

2. 4274    ATT-CNU1226                             2/16/2026, unless    CCNRD_00924                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
                                                   terminated earlier                                                                 4420 ROSEWOOD DRIVE
                                                                                                                                      PLEASANTON, CA 94588

2. 4275    ATT-CNU1693                             2/16/2026, unless    CCNRD_00930                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
                                                   terminated earlier                                                                 4420 ROSEWOOD DRIVE
                                                                                                                                      PLEASANTON, CA 94588

2. 4276    ATT-CNU2037                             2/16/2026, unless    CCNRD_00925                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
                                                   terminated earlier                                                                 4420 ROSEWOOD DRIVE
                                                                                                                                      PLEASANTON, CA 94588

2. 4277    ATT-CNU2066                             2/16/2026, unless    CCNRD_00927                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
                                                   terminated earlier                                                                 4420 ROSEWOOD DRIVE
                                                                                                                                      PLEASANTON, CA 94588

2. 4278    ATT-CNU2080                             2/16/2026, unless    CCNRD_00928                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
                                                   terminated earlier                                                                 4420 ROSEWOOD DRIVE
                                                                                                                                      PLEASANTON, CA 94588



                                                                         Page 434 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 435
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                               Address
                                                     or Remaining
                                                         Term


2. 4279    ATT-CNU2107                             2/16/2026, unless    CCNRD_00936                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
                                                   terminated earlier                                                                 4420 ROSEWOOD DRIVE
                                                                                                                                      PLEASANTON, CA 94588

2. 4280    ATT-CNU2112                             2/16/2026, unless    CCNRD_00937                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
                                                   terminated earlier                                                                 4420 ROSEWOOD DRIVE
                                                                                                                                      PLEASANTON, CA 94588

2. 4281    ATT-CNU2120                             2/16/2026, unless    CCNRD_00934                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
                                                   terminated earlier                                                                 4420 ROSEWOOD DRIVE
                                                                                                                                      PLEASANTON, CA 94588

2. 4282    ATT-CNU3229                             2/16/2026, unless    CCNRD_00920                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
                                                   terminated earlier                                                                 4420 ROSEWOOD DRIVE
                                                                                                                                      PLEASANTON, CA 94588

2. 4283    ATT-CNU3790                             2/16/2026, unless    CCNRD_00923                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
                                                   terminated earlier                                                                 4420 ROSEWOOD DRIVE
                                                                                                                                      PLEASANTON, CA 94588

2. 4284    ATT-CNU4507                             2/16/2026, unless    CCNRD_00917                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
                                                   terminated earlier                                                                 4420 ROSEWOOD DRIVE
                                                                                                                                      PLEASANTON, CA 94588

2. 4285    ATT-CNU4569                             2/16/2026, unless    CCNRD_00929                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
                                                   terminated earlier                                                                 4420 ROSEWOOD DRIVE
                                                                                                                                      PLEASANTON, CA 94588

2. 4286    ATT-CNU4597                             2/16/2026, unless    CCNRD_00913                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
                                                   terminated earlier                                                                 4420 ROSEWOOD DRIVE
                                                                                                                                      PLEASANTON, CA 94588

2. 4287    ATT-CNU4619                             2/16/2026, unless    CCNRD_00918                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
                                                   terminated earlier                                                                 4420 ROSEWOOD DRIVE
                                                                                                                                      PLEASANTON, CA 94588

2. 4288    ATT-CNU4709                             2/16/2026, unless    CCNRD_00919                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
                                                   terminated earlier                                                                 4420 ROSEWOOD DRIVE
                                                                                                                                      PLEASANTON, CA 94588



                                                                         Page 435 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 436
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                               Address
                                                     or Remaining
                                                         Term


2. 4289    ATT-CNU4716                             2/16/2026, unless    CCNRD_00921                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
                                                   terminated earlier                                                                 4420 ROSEWOOD DRIVE
                                                                                                                                      PLEASANTON, CA 94588

2. 4290    ATT-CNU5479                             2/16/2026, unless    CCNRD_00938                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
                                                   terminated earlier                                                                 4420 ROSEWOOD DRIVE
                                                                                                                                      PLEASANTON, CA 94588

2. 4291    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00639                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4292    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00640                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4293    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00641                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4294    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00642                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005




                                                                         Page 436 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 437
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                               Address
                                                     or Remaining
                                                         Term


2. 4295    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00643                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4296    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00644                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4297    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00645                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4298    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00646                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4299    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00647                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005




                                                                         Page 437 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 438
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                               Address
                                                     or Remaining
                                                         Term


2. 4300    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00648                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4301    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00649                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4302    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00650                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4303    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00651                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4304    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00652                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005




                                                                         Page 438 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 439
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                               Address
                                                     or Remaining
                                                         Term


2. 4305    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00653                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4306    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00654                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4307    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00655                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4308    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00656                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4309    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00657                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005




                                                                         Page 439 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 440
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                               Address
                                                     or Remaining
                                                         Term


2. 4310    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00658                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4311    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00659                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4312    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00660                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4313    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00661                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4314    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00662                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005




                                                                         Page 440 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 441
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                               Address
                                                     or Remaining
                                                         Term


2. 4315    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00663                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4316    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00664                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4317    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00665                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4318    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00666                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4319    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00667                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005




                                                                         Page 441 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 442
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                               Address
                                                     or Remaining
                                                         Term


2. 4320    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00668                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4321    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00669                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4322    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00670                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4323    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00671                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4324    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00672                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005




                                                                         Page 442 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 443
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                               Address
                                                     or Remaining
                                                         Term


2. 4325    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00673                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4326    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00674                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4327    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00675                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4328    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00676                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4329    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00677                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005




                                                                         Page 443 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 444
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                               Address
                                                     or Remaining
                                                         Term


2. 4330    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00678                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4331    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00679                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4332    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00680                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4333    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00681                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4334    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00682                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005




                                                                         Page 444 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 445
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                               Address
                                                     or Remaining
                                                         Term


2. 4335    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00683                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4336    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00684                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4337    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00685                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4338    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00686                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4339    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00687                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005




                                                                         Page 445 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 446
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                               Address
                                                     or Remaining
                                                         Term


2. 4340    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00688                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4341    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00689                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4342    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00690                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4343    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00691                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4344    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00692                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005




                                                                         Page 446 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 447
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                               Address
                                                     or Remaining
                                                         Term


2. 4345    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00693                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4346    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00694                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4347    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00695                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4348    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00696                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4349    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00697                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005




                                                                         Page 447 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 448
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                               Address
                                                     or Remaining
                                                         Term


2. 4350    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00698                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4351    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00699                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4352    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00700                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4353    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00701                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4354    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00702                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005




                                                                         Page 448 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 449
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                               Address
                                                     or Remaining
                                                         Term


2. 4355    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00703                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4356    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00704                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4357    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00705                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4358    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00706                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4359    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00707                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005




                                                                         Page 449 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 450
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                               Address
                                                     or Remaining
                                                         Term


2. 4360    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00708                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4361    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00709                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4362    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00710                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4363    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00711                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4364    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00712                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005




                                                                         Page 450 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 451
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                               Address
                                                     or Remaining
                                                         Term


2. 4365    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00713                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4366    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00714                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4367    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00715                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4368    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00716                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4369    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00717                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005




                                                                         Page 451 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 452
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                               Address
                                                     or Remaining
                                                         Term


2. 4370    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00718                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4371    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00719                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4372    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00720                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4373    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00721                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4374    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00722                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005




                                                                         Page 452 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 453
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                               Address
                                                     or Remaining
                                                         Term


2. 4375    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00723                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4376    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00724                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4377    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00725                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4378    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00726                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4379    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00727                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005




                                                                         Page 453 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 454
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                               Address
                                                     or Remaining
                                                         Term


2. 4380    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00728                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4381    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00729                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4382    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00730                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4383    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00731                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4384    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00732                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005




                                                                         Page 454 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 455
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                     Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                               Address
                                                     or Remaining
                                                         Term


2. 4385    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00733                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4386    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00734                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4387    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00735                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4388    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00736                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4389    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00737                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005




                                                                         Page 455 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 456
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                     Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                               Address
                                                     or Remaining
                                                         Term


2. 4390    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00738                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4391    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00739                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4392    LICENSE FOR INDIVIDUAL SITE             2/16/2025, unless    CCNRD_00740                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           LOCATION UNDER AMENDED AND              terminated earlier                                                                 4420 ROSEWOOD DRIVE
           RESTATED MASTER LICENSE                                                                                                    PLEASANTON, CA 94588
           AGREEMENT FOR ANTENNA
           ATTACHMENT WITH NEW CINGULAR
           WIRELESS PCS, LLC, DATED FEB. 17,
           2005

2. 4393    MASTER AGREEMENT FOR ISSUANCE               2/16/2005        CCNRD_00021                 NEW CINGULAR WIRELESS PCS, LLC    ATTN: PROPERTY MANAGEMENT
           OF LICENSES TO                                                                                                             4420 ROSEWOOD DRIVE
           TELECOMMUNICATIONS CUSTOMER                                                                                                PLEASANTON, CA 94588
           FOR ATTACHMENT OF ANTENNAS AND
           RELATED EQUIPMENT

2. 4394    GENERAL OFF-BILL AND ON-                    6/30/2022        CCOTH_01619                 NEW EARTH PROPERTY LLC            2360 S ORANGE AVE
           BILLFINANCING LOAN AGREEMENT                                                                                               FRESNO, CA 93725

2. 4395    GENERAL OFF-BILL AND ON-                    9/23/2019        CCOTH_01569                 NEW RAJA ENTERPRISES DBA 76       10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                             UNOCAL                            SANTA FE SPRINGS, CA 90670

2. 4396    GARBAGE/WATER/SEWER AGREEMENT              Not Stated        CCCRSOT_001                 NEWMAN, CITY OF                   CITY OF NEWMAN
                                                                            38                                                        938 FRESNO ST
                                                                                                                                      NEWMAN, CA 95360

2. 4397    GENERAL OFF-BILL AND ON-                   10/16/2019        CCOTH_01835                 NEWMAN,BILL                       480 NEPONSET ST., BLDG 2
           BILLFINANCING LOAN AGREEMENT                                                                                               CANTON, MA 102021

                                                                         Page 456 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 457
                                                                                   of 649
Pacific Gas and Electric Company                                                                                               Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date        Contract ID    Co-Debtor Name                         Address
                                                     or Remaining
                                                         Term


2. 4398    LICENSE FOR INDIVIDUAL SITE             12/12/2029, unless    CCNRD_01269                 NEWPATH NETWORKS, LLC      CROWN CASTLE USA, ATTN:
           LOCATION UNDER MASTER LICENSE            terminated earlier                                                          LEGAL, REAL ESTATE DEPT.
           AGREEMENT FOR ELECTRIC                                                                                               2000 CORPORATE DRIVE
           DISTRIBUTION POLE ATTACHMENTS                                                                                        CANONSBURG, PA 15317
           WITH NEWPATH NETWORKS, LLC.
           DATED DECEMBER 13, 2009

2. 4399    LICENSE FOR INDIVIDUAL SITE             12/12/2029, unless    CCNRD_01270                 NEWPATH NETWORKS, LLC      CROWN CASTLE USA, ATTN:
           LOCATION UNDER MASTER LICENSE            terminated earlier                                                          LEGAL, REAL ESTATE DEPT.
           AGREEMENT FOR ELECTRIC                                                                                               2000 CORPORATE DRIVE
           DISTRIBUTION POLE ATTACHMENTS                                                                                        CANONSBURG, PA 15317
           WITH NEWPATH NETWORKS, LLC.
           DATED DECEMBER 13, 2009

2. 4400    LICENSE FOR INDIVIDUAL SITE             12/12/2029, unless    CCNRD_01271                 NEWPATH NETWORKS, LLC      CROWN CASTLE USA, ATTN:
           LOCATION UNDER MASTER LICENSE            terminated earlier                                                          LEGAL, REAL ESTATE DEPT.
           AGREEMENT FOR ELECTRIC                                                                                               2000 CORPORATE DRIVE
           DISTRIBUTION POLE ATTACHMENTS                                                                                        CANONSBURG, PA 15317
           WITH NEWPATH NETWORKS, LLC.
           DATED DECEMBER 13, 2009

2. 4401    LICENSE FOR INDIVIDUAL SITE             12/12/2029, unless    CCNRD_01272                 NEWPATH NETWORKS, LLC      CROWN CASTLE USA, ATTN:
           LOCATION UNDER MASTER LICENSE            terminated earlier                                                          LEGAL, REAL ESTATE DEPT.
           AGREEMENT FOR ELECTRIC                                                                                               2000 CORPORATE DRIVE
           DISTRIBUTION POLE ATTACHMENTS                                                                                        CANONSBURG, PA 15317
           WITH NEWPATH NETWORKS, LLC.
           DATED DECEMBER 13, 2009

2. 4402    LICENSE FOR INDIVIDUAL SITE             12/12/2029, unless    CCNRD_01279                 NEWPATH NETWORKS, LLC      CROWN CASTLE USA, ATTN:
           LOCATION UNDER MASTER LICENSE            terminated earlier                                                          LEGAL, REAL ESTATE DEPT.
           AGREEMENT FOR ELECTRIC                                                                                               2000 CORPORATE DRIVE
           DISTRIBUTION POLE ATTACHMENTS                                                                                        CANONSBURG, PA 15317
           WITH NEWPATH NETWORKS, LLC.
           DATED DECEMBER 13, 2009

2. 4403    LICENSE FOR INDIVIDUAL SITE             7/23/2028, unless     CCNRD_01273                 NEWPATH NETWORKS, LLC      CROWN CASTLE USA, ATTN:
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                           LEGAL, REAL ESTATE DEPT.
           AGREEMENT FOR STREET LIGHT                                                                                           2000 CORPORATE DRIVE
           ATTACHMENTS WITH NEWPATH                                                                                             CANONSBURG, PA 15317
           NETWORKS, LLC, DATED JULY 24, 2008




                                                                          Page 457 of 7354 to Schedule G
                                  Case: 19-30088     Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35          Page 458
                                                                                    of 649
Pacific Gas and Electric Company                                                                                              Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                         Address
                                                     or Remaining
                                                         Term


2. 4404    LICENSE FOR INDIVIDUAL SITE             7/23/2028, unless    CCNRD_01274                 NEWPATH NETWORKS, LLC      CROWN CASTLE USA, ATTN:
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                          LEGAL, REAL ESTATE DEPT.
           AGREEMENT FOR STREET LIGHT                                                                                          2000 CORPORATE DRIVE
           ATTACHMENTS WITH NEWPATH                                                                                            CANONSBURG, PA 15317
           NETWORKS, LLC, DATED JULY 24, 2008

2. 4405    LICENSE FOR INDIVIDUAL SITE             7/23/2028, unless    CCNRD_01275                 NEWPATH NETWORKS, LLC      CROWN CASTLE USA, ATTN:
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                          LEGAL, REAL ESTATE DEPT.
           AGREEMENT FOR STREET LIGHT                                                                                          2000 CORPORATE DRIVE
           ATTACHMENTS WITH NEWPATH                                                                                            CANONSBURG, PA 15317
           NETWORKS, LLC, DATED JULY 24, 2008

2. 4406    LICENSE FOR INDIVIDUAL SITE             7/23/2028, unless    CCNRD_01276                 NEWPATH NETWORKS, LLC      CROWN CASTLE USA, ATTN:
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                          LEGAL, REAL ESTATE DEPT.
           AGREEMENT FOR STREET LIGHT                                                                                          2000 CORPORATE DRIVE
           ATTACHMENTS WITH NEWPATH                                                                                            CANONSBURG, PA 15317
           NETWORKS, LLC, DATED JULY 24, 2008

2. 4407    LICENSE FOR INDIVIDUAL SITE             7/23/2028, unless    CCNRD_01277                 NEWPATH NETWORKS, LLC      CROWN CASTLE USA, ATTN:
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                          LEGAL, REAL ESTATE DEPT.
           AGREEMENT FOR STREET LIGHT                                                                                          2000 CORPORATE DRIVE
           ATTACHMENTS WITH NEWPATH                                                                                            CANONSBURG, PA 15317
           NETWORKS, LLC, DATED JULY 24, 2008

2. 4408    LICENSE FOR INDIVIDUAL SITE             7/23/2028, unless    CCNRD_01278                 NEWPATH NETWORKS, LLC      CROWN CASTLE USA, ATTN:
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                          LEGAL, REAL ESTATE DEPT.
           AGREEMENT FOR STREET LIGHT                                                                                          2000 CORPORATE DRIVE
           ATTACHMENTS WITH NEWPATH                                                                                            CANONSBURG, PA 15317
           NETWORKS, LLC, DATED JULY 24, 2008

2. 4409    LICENSE FOR INDIVIDUAL SITE             7/23/2028, unless    CCNRD_01280                 NEWPATH NETWORKS, LLC      CROWN CASTLE USA, ATTN:
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                          LEGAL, REAL ESTATE DEPT.
           AGREEMENT FOR STREET LIGHT                                                                                          2000 CORPORATE DRIVE
           ATTACHMENTS WITH NEWPATH                                                                                            CANONSBURG, PA 15317
           NETWORKS, LLC, DATED JULY 24, 2008

2. 4410    LICENSE FOR INDIVIDUAL SITE             7/23/2028, unless    CCNRD_01281                 NEWPATH NETWORKS, LLC      CROWN CASTLE USA, ATTN:
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                          LEGAL, REAL ESTATE DEPT.
           AGREEMENT FOR STREET LIGHT                                                                                          2000 CORPORATE DRIVE
           ATTACHMENTS WITH NEWPATH                                                                                            CANONSBURG, PA 15317
           NETWORKS, LLC, DATED JULY 24, 2008



                                                                         Page 458 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35          Page 459
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                    Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                              Address
                                                     or Remaining
                                                         Term


2. 4411    LICENSE FOR INDIVIDUAL SITE             7/23/2028, unless    CCNRD_01282                 NEWPATH NETWORKS, LLC            CROWN CASTLE USA, ATTN:
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                                LEGAL, REAL ESTATE DEPT.
           AGREEMENT FOR STREET LIGHT                                                                                                2000 CORPORATE DRIVE
           ATTACHMENTS WITH NEWPATH                                                                                                  CANONSBURG, PA 15317
           NETWORKS, LLC, DATED JULY 24, 2008

2. 4412    MASTER AGREEMENT FOR ISSUANCE              12/12/2029        CCNRD_01267                 NEWPATH NETWORKS, LLC            CROWN CASTLE USA, ATTN:
           OF LICENSES TO                                                                                                            LEGAL, REAL ESTATE DEPT.
           TELECOMMUNICATIONS CUSTOMER                                                                                               2000 CORPORATE DRIVE
           FOR ATTACHMENTS OF ANTENNAS AND                                                                                           CANONSBURG, PA 15317
           RELATED EQUIPMENT

2. 4413    MASTER AGREEMENT FOR ISSUANCE               7/23/2028        CCNRD_01268                 NEWPATH NETWORKS, LLC            CROWN CASTLE USA, ATTN:
           OF LICENSES TO                                                                                                            LEGAL, REAL ESTATE DEPT.
           TELECOMMUNICATIONS CUSTOMER                                                                                               2000 CORPORATE DRIVE
           FOR ATTACHMENTS OF ANTENNAS AND                                                                                           CANONSBURG, PA 15317
           RELATED EQUIPMENT

2. 4414    INDUSTRIAL CALCULATED INCENTIVES -         Not Stated        CCOTH_03290                 NEXANT                           101 SECOND ST., STE. 1000
           CUSTOMIZED INCENTIVE PROGRAM                                                                                              SAN FRANCISCO, CA 94105

2. 4415    INDUSTRIAL CALCULATED INCENTIVES -         Not Stated        CCOTH_03291                 NEXANT                           101 SECOND ST., STE. 1000
           CUSTOMIZED INCENTIVE PROGRAM                                                                                              SAN FRANCISCO, CA 94105

2. 4416    LICENSE FOR INDIVIDUAL SITE UNDER       3/29/2031, unless    CCNRD_01285                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           ELECTRIC DISTRIBUTION POLE                                                                                                2000 CORPORATE DRIVE
           ATTACHMENTS WITH NEXTG                                                                                                    CANONSBURG, PA 15317
           NETWORKS OF CALIFORNIA, INC.
           DATED MARCH 30, 2011

2. 4417    LICENSE FOR INDIVIDUAL SITE UNDER       3/29/2031, unless    CCNRD_01286                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           ELECTRIC DISTRIBUTION POLE                                                                                                2000 CORPORATE DRIVE
           ATTACHMENTS WITH NEXTG                                                                                                    CANONSBURG, PA 15317
           NETWORKS OF CALIFORNIA, INC.
           DATED MARCH 30, 2011




                                                                         Page 459 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 460
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                    Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                              Address
                                                     or Remaining
                                                         Term


2. 4418    LICENSE FOR INDIVIDUAL SITE UNDER       3/29/2031, unless    CCNRD_01287                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           ELECTRIC DISTRIBUTION POLE                                                                                                2000 CORPORATE DRIVE
           ATTACHMENTS WITH NEXTG                                                                                                    CANONSBURG, PA 15317
           NETWORKS OF CALIFORNIA, INC.
           DATED MARCH 30, 2011

2. 4419    LICENSE FOR INDIVIDUAL SITE UNDER       3/29/2031, unless    CCNRD_01288                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           ELECTRIC DISTRIBUTION POLE                                                                                                2000 CORPORATE DRIVE
           ATTACHMENTS WITH NEXTG                                                                                                    CANONSBURG, PA 15317
           NETWORKS OF CALIFORNIA, INC.
           DATED MARCH 30, 2011

2. 4420    LICENSE FOR INDIVIDUAL SITE UNDER       3/29/2031, unless    CCNRD_01289                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           ELECTRIC DISTRIBUTION POLE                                                                                                2000 CORPORATE DRIVE
           ATTACHMENTS WITH NEXTG                                                                                                    CANONSBURG, PA 15317
           NETWORKS OF CALIFORNIA, INC.
           DATED MARCH 30, 2011

2. 4421    LICENSE FOR INDIVIDUAL SITE UNDER       3/29/2031, unless    CCNRD_01290                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           ELECTRIC DISTRIBUTION POLE                                                                                                2000 CORPORATE DRIVE
           ATTACHMENTS WITH NEXTG                                                                                                    CANONSBURG, PA 15317
           NETWORKS OF CALIFORNIA, INC.
           DATED MARCH 30, 2011

2. 4422    LICENSE FOR INDIVIDUAL SITE UNDER       3/29/2031, unless    CCNRD_01291                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           ELECTRIC DISTRIBUTION POLE                                                                                                2000 CORPORATE DRIVE
           ATTACHMENTS WITH NEXTG                                                                                                    CANONSBURG, PA 15317
           NETWORKS OF CALIFORNIA, INC.
           DATED MARCH 30, 2011

2. 4423    LICENSE FOR INDIVIDUAL SITE UNDER       3/29/2031, unless    CCNRD_01292                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           ELECTRIC DISTRIBUTION POLE                                                                                                2000 CORPORATE DRIVE
           ATTACHMENTS WITH NEXTG                                                                                                    CANONSBURG, PA 15317
           NETWORKS OF CALIFORNIA, INC.
           DATED MARCH 30, 2011



                                                                         Page 460 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 461
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                    Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                              Address
                                                     or Remaining
                                                         Term


2. 4424    LICENSE FOR INDIVIDUAL SITE UNDER       3/29/2031, unless    CCNRD_01294                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           ELECTRIC DISTRIBUTION POLE                                                                                                2000 CORPORATE DRIVE
           ATTACHMENTS WITH NEXTG                                                                                                    CANONSBURG, PA 15317
           NETWORKS OF CALIFORNIA, INC.
           DATED MARCH 30, 2011

2. 4425    LICENSE FOR INDIVIDUAL SITE UNDER       3/29/2031, unless    CCNRD_01295                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           ELECTRIC DISTRIBUTION POLE                                                                                                2000 CORPORATE DRIVE
           ATTACHMENTS WITH NEXTG                                                                                                    CANONSBURG, PA 15317
           NETWORKS OF CALIFORNIA, INC.
           DATED MARCH 30, 2011

2. 4426    LICENSE FOR INDIVIDUAL SITE UNDER       3/29/2031, unless    CCNRD_01296                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           ELECTRIC DISTRIBUTION POLE                                                                                                2000 CORPORATE DRIVE
           ATTACHMENTS WITH NEXTG                                                                                                    CANONSBURG, PA 15317
           NETWORKS OF CALIFORNIA, INC.
           DATED MARCH 30, 2011

2. 4427    LICENSE FOR INDIVIDUAL SITE UNDER       3/29/2031, unless    CCNRD_01297                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           ELECTRIC DISTRIBUTION POLE                                                                                                2000 CORPORATE DRIVE
           ATTACHMENTS WITH NEXTG                                                                                                    CANONSBURG, PA 15317
           NETWORKS OF CALIFORNIA, INC.
           DATED MARCH 30, 2011

2. 4428    LICENSE FOR INDIVIDUAL SITE UNDER       3/29/2031, unless    CCNRD_01420                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           ELECTRIC DISTRIBUTION POLE                                                                                                2000 CORPORATE DRIVE
           ATTACHMENTS WITH NEXTG                                                                                                    CANONSBURG, PA 15317
           NETWORKS OF CALIFORNIA, INC.
           DATED MARCH 30, 2011

2. 4429    LICENSE FOR INDIVIDUAL SITE UNDER       3/29/2031, unless    CCNRD_01421                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           ELECTRIC DISTRIBUTION POLE                                                                                                2000 CORPORATE DRIVE
           ATTACHMENTS WITH NEXTG                                                                                                    CANONSBURG, PA 15317
           NETWORKS OF CALIFORNIA, INC.
           DATED MARCH 30, 2011



                                                                         Page 461 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 462
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                    Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                              Address
                                                     or Remaining
                                                         Term


2. 4430    LICENSE FOR INDIVIDUAL SITE UNDER       3/29/2031, unless    CCNRD_01422                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           ELECTRIC DISTRIBUTION POLE                                                                                                2000 CORPORATE DRIVE
           ATTACHMENTS WITH NEXTG                                                                                                    CANONSBURG, PA 15317
           NETWORKS OF CALIFORNIA, INC.
           DATED MARCH 30, 2011

2. 4431    LICENSE FOR INDIVIDUAL SITE UNDER       3/29/2031, unless    CCNRD_01426                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           ELECTRIC DISTRIBUTION POLE                                                                                                2000 CORPORATE DRIVE
           ATTACHMENTS WITH NEXTG                                                                                                    CANONSBURG, PA 15317
           NETWORKS OF CALIFORNIA, INC.
           DATED MARCH 30, 2011

2. 4432    LICENSE FOR INDIVIDUAL SITE UNDER       3/29/2031, unless    CCNRD_01427                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           ELECTRIC DISTRIBUTION POLE                                                                                                2000 CORPORATE DRIVE
           ATTACHMENTS WITH NEXTG                                                                                                    CANONSBURG, PA 15317
           NETWORKS OF CALIFORNIA, INC.
           DATED MARCH 30, 2011

2. 4433    LICENSE FOR INDIVIDUAL SITE UNDER       3/29/2031, unless    CCNRD_01428                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           ELECTRIC DISTRIBUTION POLE                                                                                                2000 CORPORATE DRIVE
           ATTACHMENTS WITH NEXTG                                                                                                    CANONSBURG, PA 15317
           NETWORKS OF CALIFORNIA, INC.
           DATED MARCH 30, 2011

2. 4434    LICENSE FOR INDIVIDUAL SITE UNDER       3/29/2031, unless    CCNRD_01429                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           ELECTRIC DISTRIBUTION POLE                                                                                                2000 CORPORATE DRIVE
           ATTACHMENTS WITH NEXTG                                                                                                    CANONSBURG, PA 15317
           NETWORKS OF CALIFORNIA, INC.
           DATED MARCH 30, 2011

2. 4435    LICENSE FOR INDIVIDUAL SITE UNDER       3/29/2031, unless    CCNRD_01430                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           ELECTRIC DISTRIBUTION POLE                                                                                                2000 CORPORATE DRIVE
           ATTACHMENTS WITH NEXTG                                                                                                    CANONSBURG, PA 15317
           NETWORKS OF CALIFORNIA, INC.
           DATED MARCH 30, 2011



                                                                         Page 462 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 463
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                    Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                              Address
                                                     or Remaining
                                                         Term


2. 4436    LICENSE FOR INDIVIDUAL SITE UNDER       3/29/2031, unless    CCNRD_01431                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           ELECTRIC DISTRIBUTION POLE                                                                                                2000 CORPORATE DRIVE
           ATTACHMENTS WITH NEXTG                                                                                                    CANONSBURG, PA 15317
           NETWORKS OF CALIFORNIA, INC.
           DATED MARCH 30, 2011

2. 4437    LICENSE FOR INDIVIDUAL SITE UNDER       3/29/2031, unless    CCNRD_01432                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           ELECTRIC DISTRIBUTION POLE                                                                                                2000 CORPORATE DRIVE
           ATTACHMENTS WITH NEXTG                                                                                                    CANONSBURG, PA 15317
           NETWORKS OF CALIFORNIA, INC.
           DATED MARCH 30, 2011

2. 4438    LICENSE FOR INDIVIDUAL SITE UNDER       3/29/2031, unless    CCNRD_01433                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           ELECTRIC DISTRIBUTION POLE                                                                                                2000 CORPORATE DRIVE
           ATTACHMENTS WITH NEXTG                                                                                                    CANONSBURG, PA 15317
           NETWORKS OF CALIFORNIA, INC.
           DATED MARCH 30, 2011

2. 4439    LICENSE FOR INDIVIDUAL SITE UNDER       3/29/2031, unless    CCNRD_01434                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           ELECTRIC DISTRIBUTION POLE                                                                                                2000 CORPORATE DRIVE
           ATTACHMENTS WITH NEXTG                                                                                                    CANONSBURG, PA 15317
           NETWORKS OF CALIFORNIA, INC.
           DATED MARCH 30, 2011

2. 4440    LICENSE FOR INDIVIDUAL SITE UNDER       3/29/2031, unless    CCNRD_01435                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           ELECTRIC DISTRIBUTION POLE                                                                                                2000 CORPORATE DRIVE
           ATTACHMENTS WITH NEXTG                                                                                                    CANONSBURG, PA 15317
           NETWORKS OF CALIFORNIA, INC.
           DATED MARCH 30, 2011

2. 4441    LICENSE FOR INDIVIDUAL SITE UNDER       3/29/2031, unless    CCNRD_01436                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           ELECTRIC DISTRIBUTION POLE                                                                                                2000 CORPORATE DRIVE
           ATTACHMENTS WITH NEXTG                                                                                                    CANONSBURG, PA 15317
           NETWORKS OF CALIFORNIA, INC.
           DATED MARCH 30, 2011



                                                                         Page 463 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 464
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                    Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                              Address
                                                     or Remaining
                                                         Term


2. 4442    LICENSE FOR INDIVIDUAL SITE UNDER       3/29/2031, unless    CCNRD_01437                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           ELECTRIC DISTRIBUTION POLE                                                                                                2000 CORPORATE DRIVE
           ATTACHMENTS WITH NEXTG                                                                                                    CANONSBURG, PA 15317
           NETWORKS OF CALIFORNIA, INC.
           DATED MARCH 30, 2011

2. 4443    LICENSE FOR INDIVIDUAL SITE UNDER       3/29/2031, unless    CCNRD_01438                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           ELECTRIC DISTRIBUTION POLE                                                                                                2000 CORPORATE DRIVE
           ATTACHMENTS WITH NEXTG                                                                                                    CANONSBURG, PA 15317
           NETWORKS OF CALIFORNIA, INC.
           DATED MARCH 30, 2011

2. 4444    LICENSE FOR INDIVIDUAL SITE UNDER       3/29/2031, unless    CCNRD_01439                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           ELECTRIC DISTRIBUTION POLE                                                                                                2000 CORPORATE DRIVE
           ATTACHMENTS WITH NEXTG                                                                                                    CANONSBURG, PA 15317
           NETWORKS OF CALIFORNIA, INC.
           DATED MARCH 30, 2011

2. 4445    LICENSE FOR INDIVIDUAL SITE UNDER       3/29/2031, unless    CCNRD_01440                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           ELECTRIC DISTRIBUTION POLE                                                                                                2000 CORPORATE DRIVE
           ATTACHMENTS WITH NEXTG                                                                                                    CANONSBURG, PA 15317
           NETWORKS OF CALIFORNIA, INC.
           DATED MARCH 30, 2011

2. 4446    LICENSE FOR INDIVIDUAL SITE UNDER       3/29/2031, unless    CCNRD_01441                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           ELECTRIC DISTRIBUTION POLE                                                                                                2000 CORPORATE DRIVE
           ATTACHMENTS WITH NEXTG                                                                                                    CANONSBURG, PA 15317
           NETWORKS OF CALIFORNIA, INC.
           DATED MARCH 30, 2011

2. 4447    LICENSE FOR INDIVIDUAL SITE UNDER       3/29/2031, unless    CCNRD_01442                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           ELECTRIC DISTRIBUTION POLE                                                                                                2000 CORPORATE DRIVE
           ATTACHMENTS WITH NEXTG                                                                                                    CANONSBURG, PA 15317
           NETWORKS OF CALIFORNIA, INC.
           DATED MARCH 30, 2011



                                                                         Page 464 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 465
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                    Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                              Address
                                                     or Remaining
                                                         Term


2. 4448    LICENSE FOR INDIVIDUAL SITE UNDER       3/29/2031, unless    CCNRD_01443                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           ELECTRIC DISTRIBUTION POLE                                                                                                2000 CORPORATE DRIVE
           ATTACHMENTS WITH NEXTG                                                                                                    CANONSBURG, PA 15317
           NETWORKS OF CALIFORNIA, INC.
           DATED MARCH 30, 2011

2. 4449    LICENSE FOR INDIVIDUAL SITE UNDER       3/29/2031, unless    CCNRD_01444                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           ELECTRIC DISTRIBUTION POLE                                                                                                2000 CORPORATE DRIVE
           ATTACHMENTS WITH NEXTG                                                                                                    CANONSBURG, PA 15317
           NETWORKS OF CALIFORNIA, INC.
           DATED MARCH 30, 2011

2. 4450    LICENSE FOR INDIVIDUAL SITE UNDER       3/29/2031, unless    CCNRD_01445                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           ELECTRIC DISTRIBUTION POLE                                                                                                2000 CORPORATE DRIVE
           ATTACHMENTS WITH NEXTG                                                                                                    CANONSBURG, PA 15317
           NETWORKS OF CALIFORNIA, INC.
           DATED MARCH 30, 2011

2. 4451    LICENSE FOR INDIVIDUAL SITE UNDER       3/29/2031, unless    CCNRD_01446                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           ELECTRIC DISTRIBUTION POLE                                                                                                2000 CORPORATE DRIVE
           ATTACHMENTS WITH NEXTG                                                                                                    CANONSBURG, PA 15317
           NETWORKS OF CALIFORNIA, INC.
           DATED MARCH 30, 2011

2. 4452    LICENSE FOR INDIVIDUAL SITE UNDER       3/29/2031, unless    CCNRD_01447                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           ELECTRIC DISTRIBUTION POLE                                                                                                2000 CORPORATE DRIVE
           ATTACHMENTS WITH NEXTG                                                                                                    CANONSBURG, PA 15317
           NETWORKS OF CALIFORNIA, INC.
           DATED MARCH 30, 2011

2. 4453    LICENSE FOR INDIVIDUAL SITE UNDER       3/29/2031, unless    CCNRD_01448                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           ELECTRIC DISTRIBUTION POLE                                                                                                2000 CORPORATE DRIVE
           ATTACHMENTS WITH NEXTG                                                                                                    CANONSBURG, PA 15317
           NETWORKS OF CALIFORNIA, INC.
           DATED MARCH 30, 2011



                                                                         Page 465 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 466
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                    Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                              Address
                                                     or Remaining
                                                         Term


2. 4454    LICENSE FOR INDIVIDUAL SITE UNDER       3/29/2031, unless    CCNRD_01449                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           ELECTRIC DISTRIBUTION POLE                                                                                                2000 CORPORATE DRIVE
           ATTACHMENTS WITH NEXTG                                                                                                    CANONSBURG, PA 15317
           NETWORKS OF CALIFORNIA, INC.
           DATED MARCH 30, 2011

2. 4455    LICENSE FOR INDIVIDUAL SITE UNDER       3/29/2031, unless    CCNRD_01451                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           ELECTRIC DISTRIBUTION POLE                                                                                                2000 CORPORATE DRIVE
           ATTACHMENTS WITH NEXTG                                                                                                    CANONSBURG, PA 15317
           NETWORKS OF CALIFORNIA, INC.
           DATED MARCH 30, 2011

2. 4456    LICENSE FOR INDIVIDUAL SITE UNDER       3/29/2031, unless    CCNRD_01453                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           ELECTRIC DISTRIBUTION POLE                                                                                                2000 CORPORATE DRIVE
           ATTACHMENTS WITH NEXTG                                                                                                    CANONSBURG, PA 15317
           NETWORKS OF CALIFORNIA, INC.
           DATED MARCH 30, 2011

2. 4457    LICENSE FOR INDIVIDUAL SITE UNDER       3/29/2031, unless    CCNRD_01454                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           ELECTRIC DISTRIBUTION POLE                                                                                                2000 CORPORATE DRIVE
           ATTACHMENTS WITH NEXTG                                                                                                    CANONSBURG, PA 15317
           NETWORKS OF CALIFORNIA, INC.
           DATED MARCH 30, 2011

2. 4458    LICENSE FOR INDIVIDUAL SITE UNDER       3/29/2031, unless    CCNRD_01455                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           ELECTRIC DISTRIBUTION POLE                                                                                                2000 CORPORATE DRIVE
           ATTACHMENTS WITH NEXTG                                                                                                    CANONSBURG, PA 15317
           NETWORKS OF CALIFORNIA, INC.
           DATED MARCH 30, 2011

2. 4459    LICENSE FOR INDIVIDUAL SITE UNDER       3/29/2031, unless    CCNRD_01456                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           ELECTRIC DISTRIBUTION POLE                                                                                                2000 CORPORATE DRIVE
           ATTACHMENTS WITH NEXTG                                                                                                    CANONSBURG, PA 15317
           NETWORKS OF CALIFORNIA, INC.
           DATED MARCH 30, 2011



                                                                         Page 466 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 467
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                    Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                              Address
                                                     or Remaining
                                                         Term


2. 4460    LICENSE FOR INDIVIDUAL SITE UNDER       3/29/2031, unless    CCNRD_01471                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           ELECTRIC DISTRIBUTION POLE                                                                                                2000 CORPORATE DRIVE
           ATTACHMENTS WITH NEXTG                                                                                                    CANONSBURG, PA 15317
           NETWORKS OF CALIFORNIA, INC.
           DATED MARCH 30, 2011

2. 4461    LICENSE FOR INDIVIDUAL SITE UNDER       3/29/2031, unless    CCNRD_01473                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           ELECTRIC DISTRIBUTION POLE                                                                                                2000 CORPORATE DRIVE
           ATTACHMENTS WITH NEXTG                                                                                                    CANONSBURG, PA 15317
           NETWORKS OF CALIFORNIA, INC.
           DATED MARCH 30, 2011

2. 4462    LICENSE FOR INDIVIDUAL SITE UNDER       3/29/2031, unless    CCNRD_01510                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           ELECTRIC DISTRIBUTION POLE                                                                                                2000 CORPORATE DRIVE
           ATTACHMENTS WITH NEXTG                                                                                                    CANONSBURG, PA 15317
           NETWORKS OF CALIFORNIA, INC.
           DATED MARCH 30, 2011

2. 4463    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01293                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4464    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01298                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4465    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01299                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011




                                                                         Page 467 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 468
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                    Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                              Address
                                                    or Remaining
                                                        Term


2. 4466    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01300                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4467    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01301                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4468    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01302                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4469    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01303                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4470    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01304                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4471    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01305                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4472    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01306                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011



                                                                         Page 468 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 469
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                    Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                              Address
                                                    or Remaining
                                                        Term


2. 4473    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01307                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4474    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01308                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4475    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01309                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4476    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01310                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4477    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01311                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4478    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01312                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4479    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01313                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011



                                                                         Page 469 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 470
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                    Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                              Address
                                                    or Remaining
                                                        Term


2. 4480    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01314                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4481    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01315                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4482    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01316                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4483    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01317                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4484    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01318                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4485    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01319                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4486    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01320                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011



                                                                         Page 470 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 471
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                    Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                              Address
                                                    or Remaining
                                                        Term


2. 4487    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01321                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4488    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01322                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4489    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01323                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4490    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01324                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4491    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01325                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4492    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01326                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4493    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01327                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011



                                                                         Page 471 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 472
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                    Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                              Address
                                                    or Remaining
                                                        Term


2. 4494    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01328                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4495    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01329                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4496    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01330                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4497    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01331                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4498    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01332                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4499    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01333                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4500    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01334                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011



                                                                         Page 472 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 473
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                    Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                              Address
                                                    or Remaining
                                                        Term


2. 4501    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01335                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4502    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01336                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4503    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01337                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4504    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01338                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4505    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01339                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4506    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01340                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4507    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01341                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011



                                                                         Page 473 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 474
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                    Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                              Address
                                                    or Remaining
                                                        Term


2. 4508    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01342                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4509    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01343                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4510    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01344                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4511    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01345                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4512    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01346                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4513    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01347                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4514    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01348                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011



                                                                         Page 474 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 475
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                    Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                              Address
                                                    or Remaining
                                                        Term


2. 4515    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01349                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4516    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01350                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4517    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01351                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4518    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01352                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4519    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01353                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4520    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01354                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4521    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01355                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011



                                                                         Page 475 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 476
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                    Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                              Address
                                                    or Remaining
                                                        Term


2. 4522    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01356                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4523    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01357                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4524    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01358                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4525    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01359                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4526    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01360                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4527    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01361                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4528    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01362                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011



                                                                         Page 476 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 477
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                    Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                              Address
                                                    or Remaining
                                                        Term


2. 4529    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01363                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4530    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01364                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4531    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01365                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4532    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01366                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4533    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01367                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4534    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01368                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4535    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01369                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011



                                                                         Page 477 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 478
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                    Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                              Address
                                                    or Remaining
                                                        Term


2. 4536    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01370                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4537    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01371                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4538    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01372                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4539    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01373                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4540    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01374                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4541    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01375                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4542    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01376                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011



                                                                         Page 478 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 479
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                    Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                              Address
                                                    or Remaining
                                                        Term


2. 4543    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01377                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4544    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01378                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4545    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01379                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4546    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01380                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4547    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01381                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4548    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01382                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4549    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01383                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011



                                                                         Page 479 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 480
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                    Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                              Address
                                                    or Remaining
                                                        Term


2. 4550    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01384                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4551    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01385                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4552    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01386                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4553    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01387                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4554    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01388                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4555    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01389                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4556    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01390                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011



                                                                         Page 480 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 481
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                    Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                              Address
                                                    or Remaining
                                                        Term


2. 4557    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01391                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4558    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01392                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4559    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01393                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4560    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01394                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4561    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01395                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4562    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01396                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4563    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01397                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011



                                                                         Page 481 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 482
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                    Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                              Address
                                                    or Remaining
                                                        Term


2. 4564    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01398                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4565    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01399                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4566    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01400                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4567    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01401                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4568    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01402                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4569    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01403                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4570    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01404                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011



                                                                         Page 482 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 483
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                    Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                              Address
                                                    or Remaining
                                                        Term


2. 4571    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01405                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4572    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01406                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4573    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01407                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4574    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01408                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4575    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01409                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4576    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01410                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4577    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01411                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011



                                                                         Page 483 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 484
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                    Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                              Address
                                                    or Remaining
                                                        Term


2. 4578    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01412                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4579    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01413                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4580    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01414                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4581    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01415                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4582    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01416                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4583    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01417                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4584    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01418                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011



                                                                         Page 484 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 485
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                    Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                              Address
                                                    or Remaining
                                                        Term


2. 4585    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01419                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4586    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01423                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4587    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01424                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4588    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01425                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4589    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01450                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4590    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01452                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4591    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01457                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011



                                                                         Page 485 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 486
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                    Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                              Address
                                                    or Remaining
                                                        Term


2. 4592    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01458                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4593    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01459                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4594    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01460                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4595    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01461                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4596    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01462                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4597    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01463                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4598    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01464                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011



                                                                         Page 486 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 487
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                    Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                              Address
                                                    or Remaining
                                                        Term


2. 4599    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01465                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4600    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01466                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4601    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01467                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4602    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01468                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4603    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01469                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4604    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01470                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4605    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01472                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011



                                                                         Page 487 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 488
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                    Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                              Address
                                                    or Remaining
                                                        Term


2. 4606    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01474                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4607    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01475                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4608    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01476                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4609    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01477                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4610    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01478                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4611    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01479                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4612    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01480                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011



                                                                         Page 488 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 489
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                    Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                              Address
                                                    or Remaining
                                                        Term


2. 4613    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01481                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4614    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01482                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4615    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01483                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4616    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01484                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4617    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01485                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4618    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01486                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4619    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01487                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011



                                                                         Page 489 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 490
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                    Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                              Address
                                                    or Remaining
                                                        Term


2. 4620    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01488                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4621    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01489                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4622    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01490                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4623    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01491                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4624    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01492                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4625    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01493                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4626    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01494                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011



                                                                         Page 490 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 491
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                    Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                              Address
                                                    or Remaining
                                                        Term


2. 4627    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01495                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4628    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01496                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4629    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01497                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4630    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01498                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4631    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01499                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4632    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01500                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4633    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01501                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011



                                                                         Page 491 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 492
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                    Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                              Address
                                                    or Remaining
                                                        Term


2. 4634    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01502                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4635    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01503                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4636    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01504                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4637    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01505                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4638    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01506                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4639    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01507                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4640    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01508                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011



                                                                         Page 492 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 493
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                    Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                              Address
                                                    or Remaining
                                                        Term


2. 4641    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01509                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4642    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01511                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4643    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01512                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4644    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01513                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4645    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01514                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4646    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01515                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4647    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01516                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011



                                                                         Page 493 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 494
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                    Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                              Address
                                                    or Remaining
                                                        Term


2. 4648    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01517                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4649    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01518                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4650    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01519                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4651    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01520                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4652    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01521                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4653    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01522                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011

2. 4654    LICENSE FOR INDIVIDUAL SITE UNDER       3/2/2028, unless     CCNRD_01523                 NEXTG NETWORKS OF CALIFORNIA,    CROWN CASTLE USA, ATTN:
           MASTER LICENSE AGREEMENT FOR            terminated earlier                               INC.                             LEGAL, REAL ESTATE DEPT.
           STREET LIGHT ATTACHMENTS WITH                                                                                             2000 CORPORATE DRIVE
           NEXTG NETWORKS OF CALIFORNIA,                                                                                             CANONSBURG, PA 15317
           INC. DATED MARCH 30, 2011



                                                                         Page 494 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 495
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                     Case Number:       19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 4655    MASTER AGREEMENT FOR ISSUANCE             3/29/2031       CCNRD_01283                 NEXTG NETWORKS OF CALIFORNIA,        CROWN CASTLE USA, ATTN:
           OF LICENSES TO                                                                        INC.                                 LEGAL, REAL ESTATE DEPT.
           TELECOMMUNICATIONS CUSTOMER                                                                                                2000 CORPORATE DRIVE
           FOR ATTACHMENTS OF ANTENNAS AND                                                                                            CANONSBURG, PA 15317
           RELATED EQUIPMENT

2. 4656    MASTER AGREEMENT FOR ISSUANCE              3/2/2031       CCNRD_01284                 NEXTG NETWORKS OF CALIFORNIA,        CROWN CASTLE USA, ATTN:
           OF LICENSES TO                                                                        INC.                                 LEGAL, REAL ESTATE DEPT.
           TELECOMMUNICATIONS CUSTOMER                                                                                                2000 CORPORATE DRIVE
           FOR ATTACHMENTS OF ANTENNAS AND                                                                                            CANONSBURG, PA 15317
           RELATED EQUIPMENT

2. 4657    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03402                 NEXUS ENGINEERING                    1400 LONE PALM AVE, SUITE A
           BY DESIGN WHOLE BUILDING                                                                                                   MODESTO, CA 95351

2. 4658    GENERAL OFF-BILL AND ON-                  5/16/2023       CCOTH_01175                 NGUYEN DEVELOPMENT LLC - 1500 E      1111, W. EL CAMINO REAL
           BILLFINANCING LOAN AGREEMENT                                                          14TH ST HSE MTR                      STE 135
                                                                                                                                      SUNNYVALE, CA 94087

2. 4659    GENERAL OFF-BILL AND ON-                  7/30/2021       CCOTH_03070                 NGUYEN DEVELOPMENT LLC - 6219        1111 W. EL CAMINO REAL STE. 135
           BILLFINANCING LOAN AGREEMENT                                                          JARVIS AVE                           SUNNYVALE, CA 94087

2. 4660    GENERAL OFF-BILL AND ON-                  2/15/2023       CCOTH_02545                 NGUYEN,LO - 1607 MARINE WORLD        10011 PIONEED BLVD
           BILLFINANCING LOAN AGREEMENT                                                          PKWY - VALLEJO                       SANTA FE SPRINGS, CA 90670

2. 4661    GENERAL OFF-BILL AND ON-                  11/14/2020      CCOTH_02434                 NI,DIANA - 2951 HIGH ST - OAKLAND    10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                                                               SANTA FE SPRINGS, CA 90670

2. 4662    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00649                 NIA STOCKBRIDGE                      901 HAROLD ST,
                                                                                                                                      KINGSBURG 93631

2. 4663    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00663                 NIA STOCKBRIDGE                      840 PARK MEADOWS AVE., #100
                                                                                                                                      BAKERSFIELD 93308

2. 4664    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00664                 NIA STOCKBRIDGE                      819 E HAMMER LN
                                                                                                                                      STOCKTON 95210

2. 4665    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00683                 NIA STOCKBRIDGE                      75 HARVEST PARK COURT
                                                                                                                                      CHICO 95926



                                                                      Page 495 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                  Page 496
                                                                                of 649
Pacific Gas and Electric Company                                                                                     Case Number:       19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                   Address
                                                    or Remaining
                                                        Term


2. 4666    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00691                 NIA STOCKBRIDGE      732 CLOVIS AVE.
                                                                                                                      CLOVIS 93611

2. 4667    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00694                 NIA STOCKBRIDGE      720 W. 15TH STREET
                                                                                                                      MERCED 95340

2. 4668    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00701                 NIA STOCKBRIDGE      7047 NORTH WEST AVENUE
                                                                                                                      FRESNO 93711

2. 4669    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00711                 NIA STOCKBRIDGE      68 N. DEWITT
                                                                                                                      CLOVIS 93612

2. 4670    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00724                 NIA STOCKBRIDGE      6507 DANNY DR.
                                                                                                                      STOCKTON 95210

2. 4671    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00795                 NIA STOCKBRIDGE      4801 FRUITVALE AVE.
                                                                                                                      BAKERSFIELD 93308

2. 4672    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00813                 NIA STOCKBRIDGE      4401 FRUITVALE AVE
                                                                                                                      BAKERSFIELD 93308

2. 4673    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00830                 NIA STOCKBRIDGE      4015 SCENIC RIVER LANE
                                                                                                                      BAKERSFIELD 93308

2. 4674    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00867                 NIA STOCKBRIDGE      350 N UNION RD
                                                                                                                      MANTECA 95337

2. 4675    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00905                 NIA STOCKBRIDGE      300 BREE LANE
                                                                                                                      WATSONVILLE 95076

2. 4676    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00956                 NIA STOCKBRIDGE      2400 SHADY WILLOW LANE
                                                                                                                      BRENTWOOD 94513

2. 4677    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00976                 NIA STOCKBRIDGE      2162 HARTFORD DRIVE
                                                                                                                      CHICO 95928

2. 4678    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01004                 NIA STOCKBRIDGE      1985 SAN LUIS STREET
                                                                                                                      LOS BANOS 93635



                                                                      Page 496 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35    Page 497
                                                                                of 649
Pacific Gas and Electric Company                                                                                                   Case Number:        19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 4679    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01007                 NIA STOCKBRIDGE                    195 N. COVENTRY AVE.
                                                                                                                                    CLOVIS 93611

2. 4680    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01011                 NIA STOCKBRIDGE                    190 N. COVENTRY AVE.
                                                                                                                                    CLOVIS 93611

2. 4681    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01037                 NIA STOCKBRIDGE                    1600 TRAVION COURT
                                                                                                                                    FAIRFIELD 94533

2. 4682    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01089                 NIA STOCKBRIDGE                    1300 MINNEWAWA
                                                                                                                                    CLOVIS 93612

2. 4683    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01106                 NIA STOCKBRIDGE                    1195 E. HANFORD-ARMONA RD.
                                                                                                                                    LEMOORE 93245

2. 4684    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01121                 NIA STOCKBRIDGE                    107 E SIERRA AVE
                                                                                                                                    FRESNO 93710

2. 4685    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01124                 NIA STOCKBRIDGE                    1040 RED HAWK LANE
                                                                                                                                    AUBURN 95603

2. 4686    GENERAL OFF-BILL AND ON-                  12/13/2022      CCOTH_02994                 NICHOLAS PARKS AUTO GROUP INC -    10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          1066 MARINA BLVD                   SANTA FE SPRINGS, CA 90670

2. 4687    GENERAL OFF-BILL AND ON-                  12/21/2020      CCOTH_01381                 NICK BARBIERI TRUCKING LLC         112 COMMERCIAL CT
           BILLFINANCING LOAN AGREEMENT                                                                                             SUITE# 124
                                                                                                                                    SANTA ROSA, CA 95407

2. 4688    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00652                 NICK BOYCE                         900 GREENLEY ROAD
                                                                                                                                    SONORA 95370

2. 4689    SELF-GENERATION INCENTIVE                 Not Stated      CCOTH_03500                 NICK NOLAN                         1890 MULBERRY LANE
           PROGRAM                                                                                                                   PASO ROBLES, CA 93446

2. 4690    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00695                 NICOLE CAIN                        718 OLD SAN FRANCISCO RD.
                                                                                                                                    SUNNYVALE 94086

2. 4691    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01122                 NICOLE LEWANDOWSKI                 10701 IDAHO AVE
                                                                                                                                    HANFORD 93230

                                                                      Page 497 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35               Page 498
                                                                                of 649
Pacific Gas and Electric Company                                                                                                       Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                     Address
                                                    or Remaining
                                                        Term


2. 4692    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00414                 NIECO CORPORATION                      7950 CAMERON DRIVE
           DEEMED UPSTREAM / MIDSTREAM -                                                                                                WINDSOR, CA 95492
           POINT-OF-SALE FOOD

2. 4693    GENERAL OFF-BILL AND ON-                  2/13/2019       CCOTH_01453                 NIEMANNS AUTO TOUCH INC - 126          12122 DRY CREEK RD. #103
           BILLFINANCING LOAN AGREEMENT                                                          FORNI RD                               AUBURN, CA 95602

2. 4694    GENERAL OFF-BILL AND ON-                  3/14/2020       CCOTH_01551                 NILES PLAZA LTD - 6221 NILES ST -      9530 HAGEMAN RD. B#196
           BILLFINANCING LOAN AGREEMENT                                                          BAKERSFIELD                            BAKERSFIELD, CA 93312

2. 4695    GENERAL OFF-BILL AND ON-                   8/7/2019       CCOTH_01461                 NIRMAL JEET KHROUD DBA: S&K MINI       328 GREENWOOD PLACE
           BILLFINANCING LOAN AGREEMENT                                                          MART                                   BONITA, CA 91902

2. 4696    GENERAL OFF-BILL AND ON-                  4/29/2019       CCOTH_02287                 NIRMAL S GILL DBA ARCO GAS & FOOD      328 GREENWOOD PLACE
           BILLFINANCING LOAN AGREEMENT                                                                                                 BONITA, CA 91902

2. 4697    REAL PROPERTY LEASE - HOLLISTER           8/31/2025       CCCRSLS_000                 NMD PROPERTIES LLC                     NMD PROPERTIES LLC
           CSO                                                           35                                                             655 SKYWAY RD STE 130
                                                                                                                                        SAN CARLOS, CA 94070

2. 4698    GENERAL OFF-BILL AND ON-                   8/9/2022       CCOTH_02553                 NMHCS - 105 JOHN WILSON WAY            1411 N HIGHLAND AVE.
           BILLFINANCING LOAN AGREEMENT                                                                                                 UNIT 203
                                                                                                                                        LOS ANGELES, CA 90028

2. 4699    GENERAL OFF-BILL AND ON-                  8/16/2020       CCOTH_01507                 NMSBPCSLDHB LLC - 3555 DEER PARK       PO BOX 2460
           BILLFINANCING LOAN AGREEMENT                                                          DR                                     SARATOGA, CA 95070

2. 4700    REAL PROPERTY LEASE - FRESNO RMC          5/31/2021       CCCRSLS_000                 NMSBPCSLDHB PARTNERSHIP                NMSBPCSLDHB PARTNERSHIP
                                                                         33                                                             SARATOGA, CA

2. 4701    GENERAL OFF-BILL AND ON-                  1/16/2020       CCOTH_02445                 NOB HILL FOODS INC - 1250 GRANT RD     500 W CAPITAL AVE
           BILLFINANCING LOAN AGREEMENT                                                          # 14A                                  WEST SACRAMENTO, CA 95605

2. 4702    GENERAL OFF-BILL AND ON-                  7/16/2020       CCOTH_02446                 NOB HILL FOODS INC - 1320 S MAIN ST    500 W CAPITAL AVE
           BILLFINANCING LOAN AGREEMENT                                                                                                 WEST SACRAMENTO, CA 95605

2. 4703    GENERAL OFF-BILL AND ON-                   1/9/2021       CCOTH_02670                 NOB HILL FOODS INC - 1602 W            500 W CAPITAL AVE
           BILLFINANCING LOAN AGREEMENT                                                          CAMPBELL AVE                           WEST SACRAMENTO, CA 95605



                                                                      Page 498 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                      Page 499
                                                                                of 649
Pacific Gas and Electric Company                                                                                                       Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                    Address
                                                    or Remaining
                                                        Term


2. 4704    GENERAL OFF-BILL AND ON-                  3/12/2020       CCOTH_02450                 NOB HILL FOODS INC - 1700 AIRLINE      500 W CAPITAL AVE
           BILLFINANCING LOAN AGREEMENT                                                          HWY                                    WEST SACRAMENTO, CA 95605

2. 4705    GENERAL OFF-BILL AND ON-                  5/31/2019       CCOTH_02147                 NOB HILL FOODS INC - 1912 MAIN ST      1031 RIVERVIEW DRIVE
           BILLFINANCING LOAN AGREEMENT                                                                                                 PHOENIX, AZ 85034

2. 4706    GENERAL OFF-BILL AND ON-                  9/30/2019       CCOTH_02212                 NOB HILL FOODS INC - 222 MOUNT         1031 RIVERVIEW DRIVE
           BILLFINANCING LOAN AGREEMENT                                                          HERMON RD                              PHOENIX, AZ 85034

2. 4707    GENERAL OFF-BILL AND ON-                   9/9/2020       CCOTH_02789                 NOB HILL FOODS INC - 270 REDWOOD       500 W CAPITAL AVE
           BILLFINANCING LOAN AGREEMENT                                                          SHORES PKWY                            WEST SACRAMENTO, CA 95605

2. 4708    GENERAL OFF-BILL AND ON-                   7/9/2020       CCOTH_02777                 NOB HILL FOODS INC - 520 CENTER AVE 500 W CAPITAL AVE
           BILLFINANCING LOAN AGREEMENT                                                                                              WEST SACRAMENTO, CA 95605

2. 4709    GENERAL OFF-BILL AND ON-                  10/16/2019      CCOTH_02447                 NOB HILL FOODS INC - 6061 SNELL AVE    500 W CAPITAL AVE
           BILLFINANCING LOAN AGREEMENT                                                                                                 WEST SACRAMENTO, CA 95605

2. 4710    GENERAL OFF-BILL AND ON-                   5/9/2020       CCOTH_02791                 NOB HILL FOODS INC - 611 TRANCAS ST 500 W CAPITAL AVE
           BILLFINANCING LOAN AGREEMENT                                                                                              WEST SACRAMENTO, CA 95605

2. 4711    GENERAL OFF-BILL AND ON-                  10/9/2020       CCOTH_02442                 NOB HILL FOODS INC - 777 1ST ST        500 W CAPITAL AVE
           BILLFINANCING LOAN AGREEMENT                                                                                                 WEST SACRAMENTO, CA 95605

2. 4712    GENERAL OFF-BILL AND ON-                  12/24/2019      CCOTH_02146                 NOB HILL FOODS INC - 809 BAY AVE       1031 RIVERVIEW DRIVE
           BILLFINANCING LOAN AGREEMENT                                                                                                 PHOENIX, AZ 95034

2. 4713    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00597                 NOREEN BERSON                          6329 OAKRIDGE WAY
           ADVANCED HOME UPGRADE                                                                                                        SACRAMENTO, CA 95831
           (CUSTOM/CALCULATED)

2. 4714    MASTER SERVICES AGREEMENT                 12/31/2021      CCNRD_02826                 NORESCO                                NORESCO
           PROVIDING THAT PG&E MAY ENTER                                                                                                1 RESEARCH DR, STE 400C
           INTO CONTRACT WORK                                                                                                           WESTBOROUGH, MA 1581
           AUTHORIZATIONS WITH THIS VENDOR
           FOR VARIOUS ENERGY EFFICIENCY
           SERVICES




                                                                      Page 499 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                    Page 500
                                                                                of 649
Pacific Gas and Electric Company                                                                                                   Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 4715    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00634                 NORMAN CATALAN                     701 APRICOT AVE
           ADVANCED HOME UPGRADE                                                                                                    WINTERS, CA 95694
           (CUSTOM/CALCULATED)

2. 4716    COMMERCIAL HVAC - DEEMED                  Not Stated      CCOTH_00417                 NORMAN S. WRIGHT                   99A SOUTH HILL RD.
           UPSTREAM / MIDSTREAM -                                                                                                   BRISBANE, CA 94005
           COMMERCIAL HVAC UPSTREAM

2. 4717    COMMERCIAL HVAC - DEEMED                  Not Stated      CCOTH_00418                 NORMAN S. WRIGHT                   99A SOUTH HILL RD.
           UPSTREAM / MIDSTREAM -                                                                                                   BRISBANE, CA 94005
           COMMERCIAL HVAC UPSTREAM

2. 4718    COMMERCIAL HVAC - DEEMED                  Not Stated      CCOTH_00419                 NORMAN S. WRIGHT                   99A SOUTH HILL RD.
           UPSTREAM / MIDSTREAM -                                                                                                   BRISBANE, CA 94005
           COMMERCIAL HVAC UPSTREAM

2. 4719    COMMERCIAL HVAC - DEEMED                  Not Stated      CCOTH_00420                 NORMAN S. WRIGHT                   99A SOUTH HILL RD.
           UPSTREAM / MIDSTREAM -                                                                                                   BRISBANE, CA 94005
           COMMERCIAL HVAC UPSTREAM

2. 4720    GENERAL OFF-BILL AND ON-                  10/3/2019       CCOTH_02530                 NORMANDINS CHRYSLER - 900          877 CEDAR ST, STE 240
           BILLFINANCING LOAN AGREEMENT                                                          CAPITOL EXPRESSWAY AUTO            SANTA CRUZ, CA 95060

2. 4721    WATER AGREEMENT                           Not Stated      CCCRSOT_001                 NORTH COAST COUNTY WATER DIST      NORTH COAST COUNTY WATER
                                                                         39                                                         DISTRICT
                                                                                                                                    PACIFICA, CA

2. 4722    GENERAL OFF-BILL AND ON-                  12/16/2021      CCOTH_01522                 NORTH FORD PROPERTIES LLC - SAN    1046 CALLE RECODO, STE D
           BILLFINANCING LOAN AGREEMENT                                                          LEANDRO                            SAN CLEMENTE, CA 92673

2. 4723    GENERAL OFF-BILL AND ON-                  6/24/2019       CCOTH_01458                 NORTH LINCOLN COMMERCE CENTER      12820 EARHART AVE
           BILLFINANCING LOAN AGREEMENT                                                          OWNERS' ASSOCIATION                AUBURN, CA 95602

2. 4724    WATER AGREEMENT                           Not Stated      CCCRSOT_001                 NORTH MARIN WATER DISTRICT         NORTH MARIN WATER DISTRICT
                                                                         40                                                         999 RUSH CREEK PL
                                                                                                                                    NOVATO, CA 94945

2. 4725    GENERAL OFF-BILL AND ON-                  11/27/2018      CCOTH_02659                 NORTH STATE FOODS                  PO BOX 491914
           BILLFINANCING LOAN AGREEMENT                                                                                             REDDING, CA 96049



                                                                      Page 500 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35               Page 501
                                                                                of 649
Pacific Gas and Electric Company                                                                                                  Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 4726    GENERAL OFF-BILL AND ON-                   3/6/2020       CCOTH_01608                 NORTH STATE GROCERY INC           PO BOX 439
           BILLFINANCING LOAN AGREEMENT                                                                                            RICHARD E. MORGAN - PRESIDENT
                                                                                                                                   COTTONWOOD, CA 96022

2. 4727    GENERAL OFF-BILL AND ON-                  2/10/2019       CCOTH_01827                 NORTH STATE GROCERY INC           PO BOX 491914
           BILLFINANCING LOAN AGREEMENT                                                                                            REDDING, CA 96049

2. 4728    OPERATION AND MAINTENANCE OF              12/31/2019      CCNRD_02845                 NORTHERN CALIFORNIA POWER         651 COMMERCE DR.
           CUSTOMER-OWNED FACILITIES                                                             AGENCY                            ROSEVILLE, CA 95678

2. 4729    OPERATION AND MAINTENANCE OF              12/31/2019      CCNRD_02846                 NORTHERN CALIFORNIA POWER         651 COMMERCE DR.
           CUSTOMER-OWNED FACILITIES (ON                                                         AGENCY                            ROSEVILLE, CA 95678
           DEMAND EMERGENCY SERVICES)

2. 4730    GENERAL OFF-BILL AND ON-                  10/28/2021      CCOTH_02924                 NORTHPORT LOOP LLC - 45500        10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          NORTHPORT LOOP W                  SANTA FE SPRINGS, CA 90670

2. 4731    GENERAL OFF-BILL AND ON-                  1/11/2022       CCOTH_02792                 NORTHPORT LOOP LLC - 45535        10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          NORTHPORT LOOP E                  SANTA FE SPRINGS, CA 90670

2. 4732    GENERAL OFF-BILL AND ON-                  4/19/2020       CCOTH_02930                 NORTHPORT LOOP LLC - 45545        10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          NORTHPORT LOOP E                  SANTA FE SPRINGS, CA 90670

2. 4733    GENERAL OFF-BILL AND ON-                  10/24/2018      CCOTH_01681                 NORTHWEST BAPTIST CHURCH          2044 E. MUSCAT AVE.
           BILLFINANCING LOAN AGREEMENT                                                                                            FRESNO, CA 93725

2. 4734    WATER PUMP RESEARCH                       12/31/2019      CCOTH_03791                 NORTHWEST ENERGY EFFICIENCY       421 SW SIXTH AVE STE 600
                                                                                                 ALLIANCE (NEEA)                   PORTLAND, OR 97204

2. 4735    GENERAL OFF-BILL AND ON-                  10/16/2019      CCOTH_02021                 NOVA SCOTIA FIN GRP               124 S HALCYON RD, SUITE C
           BILLFINANCING LOAN AGREEMENT                                                                                            ARROYO GRANDE, CA 93420

2. 4736    GENERAL OFF-BILL AND ON-                   8/9/2021       CCOTH_01993                 NOVATO AUTO CENTER INC - 105      135 MAIN AVE
           BILLFINANCING LOAN AGREEMENT                                                          VINTAGE WAY                       SACRAMENTO, CA 95838

2. 4737    GARBAGE AGREEMENT                         Not Stated      CCCRSOT_001                 NOVATO DISPOSAL SERVICE           NOVATO DISPOSAL SERVICE INC
                                                                         41                                                        SANTA ROSA, CA




                                                                      Page 501 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                 Page 502
                                                                                of 649
Pacific Gas and Electric Company                                                                                                     Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 4738    GENERAL OFF-BILL AND ON-                  10/6/2019       CCOTH_01334                 NOVATO FOODS INC DBA HARVEST         300 WEST 15TH ST, SUITE 307
           BILLFINANCING LOAN AGREEMENT                                                          MARKET                               VANCOUVER, WA 98660

2. 4739    SEWER AGREEMENT                           Not Stated      CCCRSOT_001                 NOVATO SANITARY DISTRICT             NOVATO SANITARY DISTRICT
                                                                         42                                                           500 DAVIDSON ST
                                                                                                                                      NOVATO, CA 94945

2. 4740    GENERAL OFF-BILL AND ON-                  3/20/2022       CCOTH_01978                 NOVATO TOYOTA - 115 VINTAGE WAY -    135 MAIN AVE
           BILLFINANCING LOAN AGREEMENT                                                          NOVATO                               SACRAMENTO, CA 95838

2. 4741    GENERAL OFF-BILL AND ON-                  7/13/2020       CCOTH_02470                 NSG TECHNOLOGY INC - 1705            2326A WALSH AVE
           BILLFINANCING LOAN AGREEMENT                                                          JUNCTION CT STE 200                  SANTA CLARA, CA 95051

2. 4742    GENERAL OFF-BILL AND ON-                  2/26/2021       CCOTH_02996                 NSKB INVESTMENTS, INC - 3327 W       1226 SOUTH GOLDEN STATE BLVD
           BILLFINANCING LOAN AGREEMENT                                                          ASHLAN AVE                           MADERA, CA 93637

2. 4743    HAN VALIDATED DEVICE WEBSITE AND          12/31/2019      CCOTH_00011                 NTS TECHNICAL SYSTEMS                NTS ADVANCED TECHNOLOGY
           TESTING SERVICE MAINTENANCE                                                                                                1536 E. VALENCIA DRIVE
                                                                                                                                      FULLERTON, CA 92831

2. 4744    GENERAL OFF-BILL AND ON-                  10/7/2019       CCOTH_02034                 NU WEST TEXTILE GROUP, LLC           2531 NINTH STREET
           BILLFINANCING LOAN AGREEMENT                                                                                               DAHLIA MOODIC
                                                                                                                                      BERKELEY, CA 94710

2. 4745    GENERAL OFF-BILL AND ON-                  12/11/2018      CCOTH_02000                 NUGGET MARKET INC                    168 COURT STREET
           BILLFINANCING LOAN AGREEMENT                                                                                               WOODLAND, CA 95695

2. 4746    GENERAL OFF-BILL AND ON-                  7/21/2019       CCOTH_02027                 NUGGET MARKET INC                    168 COURT STREET
           BILLFINANCING LOAN AGREEMENT                                                                                               WOODLAND, CA 95695

2. 4747    GENERAL OFF-BILL AND ON-                  1/22/2021       CCOTH_02038                 NUGGET MARKET INC                    168 COURT ST
           BILLFINANCING LOAN AGREEMENT                                                                                               WOODLAND, CA 95695

2. 4748    GENERAL OFF-BILL AND ON-                  6/16/2021       CCOTH_02209                 NUGGET MARKET INC                    168 COURT STREET
           BILLFINANCING LOAN AGREEMENT                                                                                               WOODLAND, CA 95695

2. 4749    GENERAL OFF-BILL AND ON-                  12/23/2021      CCOTH_02080                 NUGGET MARKET INC - 13751 ARNOLD     168 COURT STREET
           BILLFINANCING LOAN AGREEMENT                                                          DR -                                 WOODLAND, CA 95695



                                                                      Page 502 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 503
                                                                                of 649
Pacific Gas and Electric Company                                                                                                     Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 4750    GENERAL OFF-BILL AND ON-                  7/30/2021       CCOTH_02214                 NUGGET MARKET INC - 1414 COVELL      168 COURT ST
           BILLFINANCING LOAN AGREEMENT                                                          BLVD                                 WOODLAND, CA 95695

2. 4751    GENERAL OFF-BILL AND ON-                  4/16/2020       CCOTH_02028                 NUGGET MARKET INC - 2000 TOWN        168 COURT ST
           BILLFINANCING LOAN AGREEMENT                                                          CENTER PLAZA                         WOODLAND, CA 95695

2. 4752    GENERAL OFF-BILL AND ON-                  8/30/2021       CCOTH_02037                 NUGGET MARKET INC - 4500 POST ST     168 COURT ST.
           BILLFINANCING LOAN AGREEMENT                                                                                               WOODLAND, CA 95695

2. 4753    GENERAL OFF-BILL AND ON-                  4/26/2021       CCOTH_02986                 NUGGET MARKET INC - 500 W NAPA ST    168 COURT STREET
           BILLFINANCING LOAN AGREEMENT                                                          STE 550                              WOODLAND, CA 95695

2. 4754    GENERAL OFF-BILL AND ON-                  7/26/2021       CCOTH_02011                 NUGGET MARKET INC - 5603 PARADISE    168 COURT STREET
           BILLFINANCING LOAN AGREEMENT                                                          DR                                   WOODLAND, CA 95695

2. 4755    GENERAL OFF-BILL AND ON-                  10/9/2019       CCOTH_03031                 NUNO IRON MANUFACTURNG INC - 315     877 CEDAR STREET
           BILLFINANCING LOAN AGREEMENT                                                          BITTERWATER RD                       SUITE 240
                                                                                                                                      SANTA CRUZ, CA 95060

2. 4756    ADVANCED LIGHTING CONTROL                 Not Stated      CCOTH_00018                 NVENT                                2501 BAY ROAD
           SYSTEM (ALCS) TOOL TRIAL - DEEMED                                                                                          REDWOOD CITY, CA 94063
           DOWNSTREAM

2. 4757    LLC AGREEMENT FOR NATURAL GAS             Not Stated      CCNRD_02875                 NY SEARCH ROBOTICS                   75 2ND AVENUE
           PIPELINE INSPECTION                                                                                                        SUITE 510
                                                                                                                                      NEEDHAM, MA 2494

2. 4758    WATER AGREEMENT                           Not Stated      CCCRSOT_001                 OAKDALE IRRIGATION DISTRICT          OAKDALE IRRIGATION DISTRICT
                                                                         44                                                           1205 E F ST
                                                                                                                                      OAKDALE, CA 95361

2. 4759    WATER/SEWER AGREEMENT                     Not Stated      CCCRSOT_001                 OAKDALE, CITY OF                     CITY OF OAKDALE, PUBLIC
                                                                         43                                                           WORKS DEPARTMENT,
                                                                                                                                      280 N THIRD AVE
                                                                                                                                      OAKDALE, CA 95361

2. 4760    GENERAL OFF-BILL AND ON-                  3/15/2019       CCOTH_02942                 OAKLAND COLISEUM (STADIUM)           DEPT. CH 16515
           BILLFINANCING LOAN AGREEMENT                                                                                               PALATINE, IL




                                                                      Page 503 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                  Page 504
                                                                                of 649
Pacific Gas and Electric Company                                                                                                   Case Number:       19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 4761    GENERAL OFF-BILL AND ON-                  12/13/2022      CCOTH_02387                 OAKLAND HILLS TENNIS CLUB          10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                                                             SANTA FE SPRINGS, CA 90670

2. 4762    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03455                 OAKLAND T12 LLC                    235 MONTGOMERY STREET 16TH
           BY DESIGN WHOLE BUILDING                                                                                                 FLOOR
                                                                                                                                    SAN FRANCISCO, CA 94104

2. 4763    GENERAL OFF-BILL AND ON-                  10/29/2023      CCOTH_01590                 OAKLAND UNIFIED SCHOOL DISTRICT    215 FOURIER AVENUE
           BILLFINANCING LOAN AGREEMENT                                                                                             FREMONT, CA 94539

2. 4764    GENERAL OFF-BILL AND ON-                   8/8/2021       CCOTH_02107                 OAKLAND UNIFIED SCHOOL DISTRICT    44244 FREMONT BLVD
           BILLFINANCING LOAN AGREEMENT                                                                                             FREMONT, CA 94538

2. 4765    GENERAL OFF-BILL AND ON-                  6/14/2023       CCOTH_02192                 OAKLAND UNIFIED SCHOOL DISTRICT    215 FOURIER AVENUE
           BILLFINANCING LOAN AGREEMENT                                                                                             FREMONT, CA 94539

2. 4766    GENERAL OFF-BILL AND ON-                  1/29/2024       CCOTH_02193                 OAKLAND UNIFIED SCHOOL DISTRICT    215 FOURIER AVENUE
           BILLFINANCING LOAN AGREEMENT                                                                                             FREMONT, CA 94539

2. 4767    GENERAL OFF-BILL AND ON-                  2/12/2019       CCOTH_02956                 OAKLAND UNIFIED SCHOOL DISTRICT    2051 COMMERCE AVE.
           BILLFINANCING LOAN AGREEMENT                                                                                             CONCORD, CA 94520

2. 4768    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03406                 OAKLAND UNIFIED SCHOOL DISTRICT    955 HIGH STREET
           BY DESIGN WHOLE BUILDING                                                                                                 OAKLAND, CA 94601

2. 4769    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03408                 OAKLAND UNIFIED SCHOOL DISTRICT    955 HIGH STREET TADASHI
           BY DESIGN WHOLE BUILDING                                                                                                 NAKADEGAWA, DIRE
                                                                                                                                    OAKLAND, CA 94601

2. 4770    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03412                 OAKLAND UNIFIED SCHOOL DISTRICT    955 HIGH ST
           BY DESIGN WHOLE BUILDING                                                                                                 OAKLAND, CA 94601

2. 4771    SERVICE AGREEMENT                         Not Stated      CCCRSOT_001                 OAKLAND, CITY OF                   CITY OF OAKLAND
                                                                         45                                                         PASADENA, CA

2. 4772    GENERAL OFF-BILL AND ON-                  11/14/2018      CCOTH_01620                 O'BRIEN DRIVE PORTFOLIO, LLC       1530 O'BRIEN DRIVE
           BILLFINANCING LOAN AGREEMENT                                                                                             MENLO PARK, CA 94025




                                                                      Page 504 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                 Page 505
                                                                                of 649
Pacific Gas and Electric Company                                                                                                      Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                   Address
                                                    or Remaining
                                                        Term


2. 4773    MASTER SERVICES AGREEMENT                 12/31/2021      CCNRD_02831                 OC MCDONALD                           O.C. MCDONALD CO, INC.
           PROVIDING THAT PG&E MAY ENTER                                                                                               1150 W SAN CARLOS ST
           INTO CONTRACT WORK                                                                                                          SAN JOSE, CA 95126
           AUTHORIZATIONS WITH THIS VENDOR
           FOR VARIOUS ENERGY EFFICIENCY
           SERVICES

2. 4774    GENERAL OFF-BILL AND ON-                  8/30/2022       CCOTH_02127                 OCEANVIEW VILLAGE HOMEOWNERS          8300 OCEANVIEW TERRACE SUITE
           BILLFINANCING LOAN AGREEMENT                                                          ASSOCIATION                           #104
                                                                                                                                       SAN FRANCISCO, CA 94132

2. 4775    CALIFORNIA COMMUNITY COLLEGES -           Not Stated      CCOTH_00090                 OHLONE COMMUNITY COLLEGE              43600 MISSION BLVD
           SAVINGS BY DESIGN WHOLE BUILDING                                                      DISTRICT                              FREMONT, CA 94560

2. 4776    WATER AGREEMENT                           Not Stated      CCCRSOT_001                 OILDALE MUTUAL WATER                  OILDALE MUTUAL WATER CO
                                                                         46                                                            2836 MCCRAY
                                                                                                                                       BAKERSFIELD, CA 93308

2. 4777    AGRICULTURAL CALCULATED                   Not Stated      CCOTH_00031                 OLAM WEST COAST, INC.                 205 E. RIVER PARK CIR., SUITE 310
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                           FRESNO, CA 93720
           PROGRAM

2. 4778    GENERAL OFF-BILL AND ON-                  1/28/2021       CCOTH_02361                 OLD CASTLE GLASS INC - 6850           27363 VIA INDUSTRIA
           BILLFINANCING LOAN AGREEMENT                                                          STEVENSON BLVD # A                    TEMECULA, CA 92590

2. 4779    GENERAL OFF-BILL AND ON-                  7/27/2020       CCOTH_01528                 OLIVEHURST PUBLIC UTILITY DISTRICT    P.O. BOX 670
           BILLFINANCING LOAN AGREEMENT                                                                                                OLIVEHURST, CA 95961

2. 4780    INDUSTRIAL CALCULATED INCENTIVES -        Not Stated      CCOTH_03266                 OLIVER DE SILVA INC.                  11555 DUBLIN BLVD
           CUSTOMIZED INCENTIVE PROGRAM                                                                                                DUBLIN, CA 94568

2. 4781    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00995                 OLIVER WONG                           1 SHORELINE COURT
                                                                                                                                       RICHMOND 94804

2. 4782    GENERAL OFF-BILL AND ON-                  2/28/2021       CCOTH_01990                 OMNI CUBED INC                        PO BOX 1206
           BILLFINANCING LOAN AGREEMENT                                                                                                PLACERVILLE, CA 95667

2. 4783    GENERAL OFF-BILL AND ON-                  10/11/2022      CCOTH_02367                 OMNI FAMILY HEALTH - 6555 CENTRAL     9530 HAGEMAN RD. B #196
           BILLFINANCING LOAN AGREEMENT                                                          VALLEY HWY                            BAKERSFIELD, CA 93312



                                                                      Page 505 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 506
                                                                                of 649
Pacific Gas and Electric Company                                                                                                      Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                   Address
                                                    or Remaining
                                                        Term


2. 4784    GENERAL OFF-BILL AND ON-                  4/27/2020       CCOTH_01542                 ONKAAR INC                            317 4TH ST.
           BILLFINANCING LOAN AGREEMENT                                                                                                MARYSVILLE, CA 95901

2. 4785    COMMERCIAL HVAC - DEEMED                  Not Stated      CCOTH_00457                 ONTARIO REFRIGERATION                 635 S. MOUNTAIN AVE
           UPSTREAM / MIDSTREAM - HVAC QM                                                                                              ONTARIO, CA 91762

2. 4786    COMMERCIAL HVAC - DEEMED                  Not Stated      CCOTH_00458                 ONTARIO REFRIGERATION                 635 S. MOUNTAIN AVE
           UPSTREAM / MIDSTREAM - HVAC QM                                                                                              ONTARIO, CA 91762

2. 4787    COMMERCIAL HVAC - DEEMED                  Not Stated      CCOTH_00459                 ONTARIO REFRIGERATION                 635 S. MOUNTAIN AVE
           UPSTREAM / MIDSTREAM - HVAC QM                                                                                              ONTARIO, CA 91762

2. 4788    COMMERCIAL HVAC - DEEMED                  Not Stated      CCOTH_00460                 ONTARIO REFRIGERATION                 635 S. MOUNTAIN AVE
           UPSTREAM / MIDSTREAM - HVAC QM                                                                                              ONTARIO, CA 91762

2. 4789    COMMERCIAL HVAC - DEEMED                  Not Stated      CCOTH_00461                 ONTARIO REFRIGERATION                 635 S. MOUNTAIN AVE
           UPSTREAM / MIDSTREAM - HVAC QM                                                                                              ONTARIO, CA 91762

2. 4790    COMMERCIAL HVAC - DEEMED                  Not Stated      CCOTH_00462                 ONTARIO REFRIGERATION                 635 S. MOUNTAIN AVE
           UPSTREAM / MIDSTREAM - HVAC QM                                                                                              ONTARIO, CA 91762

2. 4791    COMMERCIAL HVAC - DEEMED                  Not Stated      CCOTH_00463                 ONTRAC                                3830 CYPRESS SRIVE
           UPSTREAM / MIDSTREAM - HVAC QM                                                                                              PETALUMA, CA 94954

2. 4792    REAL PROPERTY LEASE - REGULATORY          6/30/2019       CCCRSLS_000                 OPERA PLAZA LP                        OPERA PLAZA LP
           RELATIONS OFFICE                                              68                                                            601 VAN NESS AVE STE 2058
                                                                                                                                       SAN FRANCISCO, CA 94102

2. 4793    COMMERCIAL CALCULATED                     Not Stated      CCOTH_00137                 OPTERRA ENERGY SERVICES               136 LONGWATER DR. SUITE 103
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                           NORWELL, MA 2061
           PROGRAM

2. 4794    GENERAL OFF-BILL AND ON-                  12/5/2022       CCOTH_02692                 OPTIMUM DESIGN INC - 1075             2 HARRIS CT. STE B-1
           BILLFINANCING LOAN AGREEMENT                                                          SERPENTINE LN STE B                   MONTEREY, CA 93940

2. 4795    GENERAL OFF-BILL AND ON-                  2/28/2019       CCOTH_03161                 OPUS I LLC - 6047 N PALM AVE # 103    4688 W JENNIFER, STE 107
           BILLFINANCING LOAN AGREEMENT                                                                                                FRESNO, CA 93722




                                                                      Page 506 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 507
                                                                                of 649
Pacific Gas and Electric Company                                                                                                    Case Number:        19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 4796    AGREEMENT                                 10/31/2019      CCOTH_03823                 ORACLE AMERICA INC                  P.O. BOX 44471
                                                                                                                                     SAN FRANCISCO, CA 94144

2. 4797    GENERAL OFF-BILL AND ON-                  12/10/2019      CCOTH_01647                 ORCHARD GARDEN, INC                 838 FRANCISCO BLVD W
           BILLFINANCING LOAN AGREEMENT                                                                                              MARC LARBY - LIGHT EXPRESS
                                                                                                                                     REPRESENTATIVE
                                                                                                                                     SAN RAFAEL, CA 94901

2. 4798    GENERAL OFF-BILL AND ON-                  11/12/2019      CCOTH_02657                 ORGANIC GIRL LLC - 900 WORK ST      5505 GREEN HOLLOW LN
           BILLFINANCING LOAN AGREEMENT                                                                                              YORBA LINDA, CA 92887

2. 4799    GENERAL OFF-BILL AND ON-                  6/12/2020       CCOTH_02658                 ORGANIC GIRL LLC - 900 WORK ST      5505 GREEN HOLLOW LN
           BILLFINANCING LOAN AGREEMENT                                                                                              YORBA LINDA, CA 92887

2. 4800    GENERAL OFF-BILL AND ON-                  3/28/2022       CCOTH_01144                 ORINDA COUNTRY CLUB - 315 CAMINO    14439 CATALINA ST
           BILLFINANCING LOAN AGREEMENT                                                          SOBRANTE                            SAN LEANDRO, CA 94577

2. 4801    GENERAL OFF-BILL AND ON-                  1/10/2028       CCOTH_02753                 ORLAND UNIFIED SCHOOL DISTRICT -    903 SOUTH ST.
           BILLFINANCING LOAN AGREEMENT                                                          1212 MARIN ST                       ORLAND, CA 95963

2. 4802    WATER/SEWER AGREEMENT                     Not Stated      CCCRSOT_001                 ORLAND, CITY OF                     CITY OF ORLAND
                                                                         47                                                          815 4TH ST
                                                                                                                                     ORLAND, CA 95963

2. 4803    GENERAL OFF-BILL AND ON-                  7/28/2019       CCOTH_01900                 ORLANDO,SAM B                       P.O. BOX 1234
           BILLFINANCING LOAN AGREEMENT                                                                                              LODI, CA 95241

2. 4804    GENERAL OFF-BILL AND ON-                  10/10/2022      CCOTH_02435                 ORLANDO,SAM B - 18754 E HWY 26      PO BOX 1500
           BILLFINANCING LOAN AGREEMENT                                                                                              LINDEN, CA 95236

2. 4805    COMMERCIAL CALCULATED                     Not Stated      CCOTH_00105                 ORO LOMA SANITARY DISTRICT          2655 GRANT AVE
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                         SAN LORENZO, CA 94580
           PROGRAM

2. 4806    SEWER AGREEMENT                           Not Stated      CCCRSOT_001                 OROVILLE, CITY OF                   CITY OF OROVILLE, FINANCE
                                                                         48                                                          DEPT,
                                                                                                                                     1735 MONTGOMERY ST
                                                                                                                                     OROVILLE, CA 95965




                                                                      Page 507 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 508
                                                                                of 649
Pacific Gas and Electric Company                                                                                                      Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                   Address
                                                    or Remaining
                                                        Term


2. 4807    GENERAL OFF-BILL AND ON-                  12/30/2021      CCOTH_02186                 ORSA CORP - 2699 UNION AVE UNIT 10    12820 EARHART AVE.
           BILLFINANCING LOAN AGREEMENT                                                                                                AUBURN, CA 95602

2. 4808    GENERAL OFF-BILL AND ON-                  10/8/2018       CCOTH_01367                 ORTEGA,DAVID                          6120 LINCOLN BLVD. SUITE G
           BILLFINANCING LOAN AGREEMENT                                                                                                OROVILLE, CA 95966

2. 4809    MASTER SERVICES AGREEMENT                 12/31/2021      CCNRD_02832                 OSRAM (LIGHTING ONLY)                 OSRAM SYLVANIA INC
           PROVIDING THAT PG&E MAY ENTER                                                                                               200 BALLARDVALE ST
           INTO CONTRACT WORK                                                                                                          WILMINGTON, MA 1887
           AUTHORIZATIONS WITH THIS VENDOR
           FOR VARIOUS ENERGY EFFICIENCY
           SERVICES

2. 4810    MASTER SERVICES AGREEMENT                 12/31/2021      CCNRD_02807                 OSRAM SYLVANIA, INC.                  OSRAM LIGHTING SOLUTIONS
           PROVIDING THAT PG&E MAY ENTER                                                                                               2455 MERCANTILE DR, STE 150
           INTO CONTRACT WORK                                                                                                          RANCHO CORDOVA, CA 95742
           AUTHORIZATIONS WITH THIS VENDOR
           FOR VARIOUS ENERGY EFFICIENCY
           SERVICES

2. 4811    GENERAL OFF-BILL AND ON-                  11/26/2021      CCOTH_01200                 OUR LADY OF GUADALUPE CHURCH -        1550 N FRESNO ST
           BILLFINANCING LOAN AGREEMENT                                                          607 E CALIFORNIA AV                   FRESNO, CA 93703

2. 4812    GENERAL OFF-BILL AND ON-                  10/21/2021      CCOTH_01202                 OUR LADY OF GUADALUPE CHURCH -        1550 S FRESNO ST
           BILLFINANCING LOAN AGREEMENT                                                          651 E 11TH ST                         FRESNO, CA 93703

2. 4813    GENERAL OFF-BILL AND ON-                   1/4/2023       CCOTH_02642                 OUR LADY OF PERPETUAL HELP            1550 N. FRESNO ST.
           BILLFINANCING LOAN AGREEMENT                                                          CHURCH                                FRESNO, CA 93703

2. 4814    GENERAL OFF-BILL AND ON-                  6/20/2019       CCOTH_01623                 OUR LADY OF PERPETUAL HELP            1390 RIDGEWOOD DR. SUITE 10
           BILLFINANCING LOAN AGREEMENT                                                          CHURCH - 333 8TH ST                   CHICO, CA 95973

2. 4815    GENERAL OFF-BILL AND ON-                  12/28/2022      CCOTH_02644                 OUR LADY OF PERPETUAL HELP            1550 N. FRESNO ST
           BILLFINANCING LOAN AGREEMENT                                                          SCHOOL - BAKERSFIELD                  FRESNO, CA 93706

2. 4816    GENERAL OFF-BILL AND ON-                  5/13/2020       CCOTH_01704                 OVERHEAD DOOR CO                      6120 LINCOLN BLVD #G
           BILLFINANCING LOAN AGREEMENT                                                                                                OROVILLE, CA 95966

2. 4817    GENERAL OFF-BILL AND ON-                  5/24/2020       CCOTH_01432                 OW BUILDING LLC - 100 PIONEER ST      877 CEDAR STREET, SUITE 240
           BILLFINANCING LOAN AGREEMENT                                                                                                SANTA CRUZ, CA 95060

                                                                      Page 508 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                 Page 509
                                                                                of 649
Pacific Gas and Electric Company                                                                                                   Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                 Address
                                                    or Remaining
                                                        Term


2. 4818    GENERAL OFF-BILL AND ON-                  10/22/2020      CCOTH_01160                 OW FAMILY - GILROY TOWN PLAZA      804 ESTATES DR STE 202
           BILLFINANCING LOAN AGREEMENT                                                          LLC - 1ST & WAYLAND                APTOS, CA 95003

2. 4819    GENERAL OFF-BILL AND ON-                  4/14/2019       CCOTH_01261                 OW FAMILY MISSION CNTR - 2331      877 CEDAR STREET, SUITE 240
           BILLFINANCING LOAN AGREEMENT                                                          MISSION ST                         SANTA CRUZ, CA 95060

2. 4820    GENERAL OFF-BILL AND ON-                  6/13/2023       CCOTH_02637                 OW FAMILY-TECH DR - 165            804 ESTATES DR. STE 202
           BILLFINANCING LOAN AGREEMENT                                                          TECHNOLOGY DR                      APTOS, CA 95003

2. 4821    UNIVERSITY OF                             Not Stated      CCOTH_03653                 P2S INC.                           5000 EAST SPRING ST. 8TH FLOOR
           CALIFORNIA/CALIFORNIA STATE                                                                                              LONG BEACH, CA 90815
           UNIVERSITY - SBD WHOLE BUILDING

2. 4822    UNIVERSITY OF                             Not Stated      CCOTH_03654                 P2S INC.                           5000 EAST SPRING STREET 8TH
           CALIFORNIA/CALIFORNIA STATE                                                                                              FLOOR
           UNIVERSITY - SBD WHOLE BUILDING                                                                                          LONG BEACH, CA 90815

2. 4823    GENERAL OFF-BILL AND ON-                  1/16/2023       CCOTH_02360                 PA BET INCORPORATED - 629          629 INDUSTRIAL ROAD
           BILLFINANCING LOAN AGREEMENT                                                          INDUSTRIAL RD                      SAN CARLOS, CA 94070

2. 4824    REAL PROPERTY LEASE - DAVIS               8/31/2020       CCCRSLS_000                 PAC WEST OFFICE EQUITIES LP        PAC WEST OFFICE EQUITIES LP
           BUSINESS OFFICE & CSO                                         25                                                         555 CAPITOL MALL STE 900
                                                                                                                                    SACRAMENTO, CA 95814

2. 4825    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00233                 PACE SUPPLY ROHNERT PARK           6000 STATE FARM DRIVE, SUITE
           DEEMED UPSTREAM / MIDSTREAM -                                                                                            200
           COMMERCIAL WATER                                                                                                         ROHNERT PARK, CA 94928

2. 4826    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00234                 PACE SUPPLY ROHNERT PARK           6000 STATE FARM DRIVE, SUITE
           DEEMED UPSTREAM / MIDSTREAM -                                                                                            200
           COMMERCIAL WATER                                                                                                         ROHNERT PARK, CA 94928

2. 4827    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00235                 PACE SUPPLY ROHNERT PARK           6000 STATE FARM DRIVE, SUITE
           DEEMED UPSTREAM / MIDSTREAM -                                                                                            200
           COMMERCIAL WATER                                                                                                         ROHNERT PARK, CA 94928

2. 4828    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00236                 PACE SUPPLY ROHNERT PARK           6000 STATE FARM DRIVE, SUITE
           DEEMED UPSTREAM / MIDSTREAM -                                                                                            200
           COMMERCIAL WATER                                                                                                         ROHNERT PARK, CA 94928



                                                                      Page 509 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                  Page 510
                                                                                of 649
Pacific Gas and Electric Company                                                                                              Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                            Address
                                                    or Remaining
                                                        Term


2. 4829    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00237                 PACE SUPPLY ROHNERT PARK      6000 STATE FARM DRIVE, SUITE
           DEEMED UPSTREAM / MIDSTREAM -                                                                                       200
           COMMERCIAL WATER                                                                                                    ROHNERT PARK, CA 94928

2. 4830    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00238                 PACE SUPPLY ROHNERT PARK      6000 STATE FARM DRIVE, SUITE
           DEEMED UPSTREAM / MIDSTREAM -                                                                                       200
           COMMERCIAL WATER                                                                                                    ROHNERT PARK, CA 94928

2. 4831    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00239                 PACE SUPPLY ROHNERT PARK      6000 STATE FARM DRIVE, SUITE
           DEEMED UPSTREAM / MIDSTREAM -                                                                                       200
           COMMERCIAL WATER                                                                                                    ROHNERT PARK, CA 94928

2. 4832    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00240                 PACE SUPPLY ROHNERT PARK      6000 STATE FARM DRIVE, SUITE
           DEEMED UPSTREAM / MIDSTREAM -                                                                                       200
           COMMERCIAL WATER                                                                                                    ROHNERT PARK, CA 94928

2. 4833    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00241                 PACE SUPPLY ROHNERT PARK      6000 STATE FARM DRIVE, SUITE
           DEEMED UPSTREAM / MIDSTREAM -                                                                                       200
           COMMERCIAL WATER                                                                                                    ROHNERT PARK, CA 94928

2. 4834    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00242                 PACE SUPPLY ROHNERT PARK      6000 STATE FARM DRIVE, SUITE
           DEEMED UPSTREAM / MIDSTREAM -                                                                                       200
           COMMERCIAL WATER                                                                                                    ROHNERT PARK, CA 94928

2. 4835    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00243                 PACE SUPPLY ROHNERT PARK      6000 STATE FARM DRIVE, SUITE
           DEEMED UPSTREAM / MIDSTREAM -                                                                                       200
           COMMERCIAL WATER                                                                                                    ROHNERT PARK, CA 94928

2. 4836    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00244                 PACE SUPPLY ROHNERT PARK      6000 STATE FARM DRIVE, SUITE
           DEEMED UPSTREAM / MIDSTREAM -                                                                                       200
           COMMERCIAL WATER                                                                                                    ROHNERT PARK, CA 94928

2. 4837    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00245                 PACE SUPPLY ROHNERT PARK      6000 STATE FARM DRIVE, SUITE
           DEEMED UPSTREAM / MIDSTREAM -                                                                                       200
           COMMERCIAL WATER                                                                                                    ROHNERT PARK, CA 94928

2. 4838    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00246                 PACE SUPPLY ROHNERT PARK      6000 STATE FARM DRIVE, SUITE
           DEEMED UPSTREAM / MIDSTREAM -                                                                                       200
           COMMERCIAL WATER                                                                                                    ROHNERT PARK, CA 94928



                                                                      Page 510 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35             Page 511
                                                                                of 649
Pacific Gas and Electric Company                                                                                              Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                            Address
                                                    or Remaining
                                                        Term


2. 4839    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00247                 PACE SUPPLY ROHNERT PARK      6000 STATE FARM DRIVE, SUITE
           DEEMED UPSTREAM / MIDSTREAM -                                                                                       200
           COMMERCIAL WATER                                                                                                    ROHNERT PARK, CA 94928

2. 4840    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00248                 PACE SUPPLY ROHNERT PARK      6000 STATE FARM DRIVE, SUITE
           DEEMED UPSTREAM / MIDSTREAM -                                                                                       200
           COMMERCIAL WATER                                                                                                    ROHNERT PARK, CA 94928

2. 4841    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00249                 PACE SUPPLY ROHNERT PARK      6000 STATE FARM DRIVE, SUITE
           DEEMED UPSTREAM / MIDSTREAM -                                                                                       200
           COMMERCIAL WATER                                                                                                    ROHNERT PARK, CA 94928

2. 4842    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00250                 PACE SUPPLY ROHNERT PARK      6000 STATE FARM DRIVE, SUITE
           DEEMED UPSTREAM / MIDSTREAM -                                                                                       200
           COMMERCIAL WATER                                                                                                    ROHNERT PARK, CA 94928

2. 4843    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00251                 PACE SUPPLY ROHNERT PARK      6000 STATE FARM DRIVE, SUITE
           DEEMED UPSTREAM / MIDSTREAM -                                                                                       200
           COMMERCIAL WATER                                                                                                    ROHNERT PARK, CA 94928

2. 4844    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00252                 PACE SUPPLY ROHNERT PARK      6000 STATE FARM DRIVE, SUITE
           DEEMED UPSTREAM / MIDSTREAM -                                                                                       200
           COMMERCIAL WATER                                                                                                    ROHNERT PARK, CA 94928

2. 4845    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00253                 PACE SUPPLY ROHNERT PARK      6000 STATE FARM DRIVE, SUITE
           DEEMED UPSTREAM / MIDSTREAM -                                                                                       200
           COMMERCIAL WATER                                                                                                    ROHNERT PARK, CA 94928

2. 4846    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00254                 PACE SUPPLY ROHNERT PARK      6000 STATE FARM DRIVE, SUITE
           DEEMED UPSTREAM / MIDSTREAM -                                                                                       200
           COMMERCIAL WATER                                                                                                    ROHNERT PARK, CA 94928

2. 4847    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00255                 PACE SUPPLY ROHNERT PARK      6000 STATE FARM DRIVE, SUITE
           DEEMED UPSTREAM / MIDSTREAM -                                                                                       200
           COMMERCIAL WATER                                                                                                    ROHNERT PARK, CA 94928

2. 4848    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00256                 PACE SUPPLY ROHNERT PARK      6000 STATE FARM DRIVE, SUITE
           DEEMED UPSTREAM / MIDSTREAM -                                                                                       200
           COMMERCIAL WATER                                                                                                    ROHNERT PARK, CA 94928



                                                                      Page 511 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35             Page 512
                                                                                of 649
Pacific Gas and Electric Company                                                                                              Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                            Address
                                                    or Remaining
                                                        Term


2. 4849    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00257                 PACE SUPPLY ROHNERT PARK      6000 STATE FARM DRIVE, SUITE
           DEEMED UPSTREAM / MIDSTREAM -                                                                                       200
           COMMERCIAL WATER                                                                                                    ROHNERT PARK, CA 94928

2. 4850    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00258                 PACE SUPPLY ROHNERT PARK      6000 STATE FARM DRIVE, SUITE
           DEEMED UPSTREAM / MIDSTREAM -                                                                                       200
           COMMERCIAL WATER                                                                                                    ROHNERT PARK, CA 94928

2. 4851    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00259                 PACE SUPPLY ROHNERT PARK      6000 STATE FARM DRIVE, SUITE
           DEEMED UPSTREAM / MIDSTREAM -                                                                                       200
           COMMERCIAL WATER                                                                                                    ROHNERT PARK, CA 94928

2. 4852    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00260                 PACE SUPPLY ROHNERT PARK      6000 STATE FARM DRIVE, SUITE
           DEEMED UPSTREAM / MIDSTREAM -                                                                                       200
           COMMERCIAL WATER                                                                                                    ROHNERT PARK, CA 94928

2. 4853    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00261                 PACE SUPPLY ROHNERT PARK      6000 STATE FARM DRIVE, SUITE
           DEEMED UPSTREAM / MIDSTREAM -                                                                                       200
           COMMERCIAL WATER                                                                                                    ROHNERT PARK, CA 94928

2. 4854    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00262                 PACE SUPPLY ROHNERT PARK      6000 STATE FARM DRIVE, SUITE
           DEEMED UPSTREAM / MIDSTREAM -                                                                                       200
           COMMERCIAL WATER                                                                                                    ROHNERT PARK, CA 94928

2. 4855    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00263                 PACE SUPPLY ROHNERT PARK      6000 STATE FARM DRIVE, SUITE
           DEEMED UPSTREAM / MIDSTREAM -                                                                                       200
           COMMERCIAL WATER                                                                                                    ROHNERT PARK, CA 94928

2. 4856    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00264                 PACE SUPPLY ROHNERT PARK      6000 STATE FARM DRIVE, SUITE
           DEEMED UPSTREAM / MIDSTREAM -                                                                                       200
           COMMERCIAL WATER                                                                                                    ROHNERT PARK, CA 94928

2. 4857    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00265                 PACE SUPPLY ROHNERT PARK      6000 STATE FARM DRIVE, SUITE
           DEEMED UPSTREAM / MIDSTREAM -                                                                                       200
           COMMERCIAL WATER                                                                                                    ROHNERT PARK, CA 94928

2. 4858    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00266                 PACE SUPPLY ROHNERT PARK      6000 STATE FARM DRIVE, SUITE
           DEEMED UPSTREAM / MIDSTREAM -                                                                                       200
           COMMERCIAL WATER                                                                                                    ROHNERT PARK, CA 94928



                                                                      Page 512 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35             Page 513
                                                                                of 649
Pacific Gas and Electric Company                                                                                                     Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 4859    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00267                 PACE SUPPLY ROHNERT PARK             6000 STATE FARM DRIVE, SUITE
           DEEMED UPSTREAM / MIDSTREAM -                                                                                              200
           COMMERCIAL WATER                                                                                                           ROHNERT PARK, CA 94928

2. 4860    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00268                 PACE SUPPLY ROHNERT PARK             6000 STATE FARM DRIVE, SUITE
           DEEMED UPSTREAM / MIDSTREAM -                                                                                              200
           COMMERCIAL WATER                                                                                                           ROHNERT PARK, CA 94928

2. 4861    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00269                 PACE SUPPLY ROHNERT PARK             6000 STATE FARM DRIVE, SUITE
           DEEMED UPSTREAM / MIDSTREAM -                                                                                              200
           COMMERCIAL WATER                                                                                                           ROHNERT PARK, CA 94928

2. 4862    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00270                 PACE SUPPLY ROHNERT PARK             6000 STATE FARM DRIVE, SUITE
           DEEMED UPSTREAM / MIDSTREAM -                                                                                              200
           COMMERCIAL WATER                                                                                                           ROHNERT PARK, CA 94928

2. 4863    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00271                 PACE SUPPLY ROHNERT PARK             6000 STATE FARM DRIVE, SUITE
           DEEMED UPSTREAM / MIDSTREAM -                                                                                              200
           COMMERCIAL WATER                                                                                                           ROHNERT PARK, CA 94928

2. 4864    GENERAL OFF-BILL AND ON-                   9/3/2019       CCOTH_02439                 PACIFIC AG RENTALS LLC - 4 HARRIS    877 CEDAR ST. SUITE 240
           BILLFINANCING LOAN AGREEMENT                                                          RD                                   SANTA CRUZ, CA 95060

2. 4865    INDUSTRIAL CALCULATED INCENTIVES -        Not Stated      CCOTH_03287                 PACIFIC ETHANOL HOLDING CO LLC       400 CAPITAL MALL SUITE 2060
           CUSTOMIZED INCENTIVE PROGRAM                                                                                               SACRAMENTO, CA 95814

2. 4866    INDUSTRIAL CALCULATED INCENTIVES -        Not Stated      CCOTH_03289                 PACIFIC ETHANOL HOLDING CO LLC       400 CAPITAL MALL SUITE 2060
           CUSTOMIZED INCENTIVE PROGRAM                                                                                               SACRAMENTO, CA 95814

2. 4867    INDUSTRIAL CALCULATED INCENTIVES -        Not Stated      CCOTH_03273                 PACIFIC ETHANOL MADERA               31470 AVENUE 12
           CUSTOMIZED INCENTIVE PROGRAM                                                                                               MADERA, CA 93638

2. 4868    INDUSTRIAL CALCULATED INCENTIVES -        Not Stated      CCOTH_03275                 PACIFIC ETHANOL MADERA               31470 AVENUE 12
           CUSTOMIZED INCENTIVE PROGRAM                                                                                               MADERA, CA 93638

2. 4869    INDUSTRIAL CALCULATED INCENTIVES -        Not Stated      CCOTH_03286                 PACIFIC ETHANOL MADERA               400 CAPITOL MALL WAY SUITE
           CUSTOMIZED INCENTIVE PROGRAM                                                                                               2060
                                                                                                                                      SACRAMENTO, CA 95814




                                                                      Page 513 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                 Page 514
                                                                                of 649
Pacific Gas and Electric Company                                                                                                    Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                 Address
                                                    or Remaining
                                                        Term


2. 4870    INDUSTRIAL CALCULATED INCENTIVES -        Not Stated      CCOTH_03288                 PACIFIC ETHANOL MADERA              400 CAPITOL MALL WAY SUITE
           CUSTOMIZED INCENTIVE PROGRAM                                                                                              2060
                                                                                                                                     SACRAMENTO, CA 95814

2. 4871    ADVANCED LIGHTING CONTROL                 Not Stated      CCOTH_00019                 PACIFIC GAS & ELECTRIC              MAIL CODE 5G, PO BOX 770000
           SYSTEM (ALCS) TOOL TRIAL - DEEMED                                                                                         SAN FRANCISCO, CA 94177
           DOWNSTREAM

2. 4872    COMMERCIAL CALCULATED                     Not Stated      CCOTH_00112                 PACIFIC GAS & ELECTRIC              1850 GATEWAY BLVD
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                         CONCORD, CA 94520
           PROGRAM

2. 4873    COMMERCIAL CALCULATED                     Not Stated      CCOTH_00119                 PACIFIC GAS & ELECTRIC CO           425 BECK AVE
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                         FAIRFIELD, CA 94533
           PROGRAM

2. 4874    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03329                 PACIFIC GAS AND ELECTRIC COMPANY    77 BEALE ST, RM 2B17A
           BY DESIGN SYSTEMS                                                                                                         SAN FRANCISCO, CA 94105

2. 4875    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03330                 PACIFIC GAS AND ELECTRIC COMPANY    245 MARKET ST
           BY DESIGN SYSTEMS                                                                                                         SAN FRANCISCO, CA 94105

2. 4876    GENERAL OFF-BILL AND ON-                  8/30/2020       CCOTH_03001                 PACIFIC HOME DECOR INC - 1915       1523 21ST ST AVE.
           BILLFINANCING LOAN AGREEMENT                                                          NATIONAL AVE                        SAN FRANCISCO, CA 94122

2. 4877    GENERAL OFF-BILL AND ON-                   8/8/2019       CCOTH_01983                 PACIFIC MDF PRODUCTS INC            12122 DRY CREEK ROAD SUITE 103
           BILLFINANCING LOAN AGREEMENT                                                                                              AUBURN, CA 95602

2. 4878    GENERAL OFF-BILL AND ON-                  2/22/2021       CCOTH_01326                 PACIFIC OAK PROPERTIES - 301        1558 W. CHIA WAY
           BILLFINANCING LOAN AGREEMENT                                                          VINEYARD TOWN CTR                   LOS ANGELES, CA 90041

2. 4879    GENERAL OFF-BILL AND ON-                  8/29/2021       CCOTH_02580                 PACIFIC OAK PROPERTIES - 301        1411 N HIGHLAND AVENUE, UNIT
           BILLFINANCING LOAN AGREEMENT                                                          VINEYARD TOWN CTR                   203
                                                                                                                                     LOS ANGELES, CA 90028

2. 4880    GENERAL OFF-BILL AND ON-                  10/29/2021      CCOTH_02593                 PACIFIC OAK PROPERTIES - 411        1411 N. HIGHLAND AVE. UNIT 203
           BILLFINANCING LOAN AGREEMENT                                                          VINEYARD TOWN CTR                   LOS ANGELES, CA 90028

2. 4881    GENERAL OFF-BILL AND ON-                  11/2/2020       CCOTH_01327                 PACIFIC OAK PROPERTIES - 411        1558 W. CHIA WAY
           BILLFINANCING LOAN AGREEMENT                                                          VINEYARD TOWN CTR - M               LOS ANGELES, CA 90041

                                                                      Page 514 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                  Page 515
                                                                                of 649
Pacific Gas and Electric Company                                                                                                      Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                   Address
                                                    or Remaining
                                                        Term


2. 4882    REAL PROPERTY LEASE - PACIFIC             12/31/2020      CCCRSLS_001                 PACIFIC SERVICE CREDIT UNION          PACIFIC SERVICE CREDIT UNION,
           SERVICE CREDIT UNION                                          17                      (CUSTOMER #: 124541)                  REAL ESTATE DEPT,
                                                                                                                                       2850 SHADELANDS DR
                                                                                                                                       WALNUT CREEK, CA 94596

2. 4883    REAL PROPERTY LEASE - CONCORD                MTM          CCCRSLS_001                 PACIFIC STATES AVIATION, INC.         PACIFIC STATES AVIATION INC
           BUCHANAN FIELD AIRPORT HANGAR #1                              01                                                            51 JOHN GLENN DR
                                                                                                                                       CONCORD, CA 94520

2. 4884    GENERAL OFF-BILL AND ON-                  8/19/2021       CCOTH_02515                 PACIFIC STATES AVIATION, INC. - 51    142 N MILPITAS BLVD. STE 125
           BILLFINANCING LOAN AGREEMENT                                                          JOHN GLENN DR                         MILPITAS, CA 95035

2. 4885    GENERAL OFF-BILL AND ON-                  8/29/2022       CCOTH_01266                 PACIFIC STATES AVIATION, INC. - 81    142 N. MILPITAS BLVD. #125
           BILLFINANCING LOAN AGREEMENT                                                          JOHN GLENN DR                         MILPITAS, CA 95035

2. 4886    GENERAL OFF-BILL AND ON-                   8/8/2019       CCOTH_01505                 PACIFIC TECHNOLOGY SPECTRUM LLC       12820 EARHART AVE
           BILLFINANCING LOAN AGREEMENT                                                                                                AUBURN, CA 95602

2. 4887    GENERAL OFF-BILL AND ON-                  5/14/2021       CCOTH_01155                 PACIFICA INVESTMENTS INC - 2090       10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          WARM SPRINGS CT                       SANTA FE SPRINGS, CA 90670

2. 4888    GENERAL OFF-BILL AND ON-                  4/12/2022       CCOTH_02371                 PACIFICA INVESTMENTS INC - 2090       10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          WARM SPRINGS CT                       SANTA FE SPRINGS, CA 90670

2. 4889    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00580                 PADRAIC C SHAFER                      6340 ROANOKE RD
           ADVANCED HOME UPGRADE                                                                                                       OAKLAND, CA 94618
           (CUSTOM/CALCULATED)

2. 4890    UNIVERSITY OF                             Not Stated      CCOTH_03663                 PAE CONSULTING ENGINEERS              48 GOLDEN GATE AVENUE
           CALIFORNIA/CALIFORNIA STATE                                                                                                 SAN FRANCISCO, CA 94102
           UNIVERSITY - SBD WHOLE BUILDING

2. 4891    UNIVERSITY OF                             Not Stated      CCOTH_03645                 PAGE SOUTHERLAND PAGE, INC.           400 WEST CESAR CHAVEZ
           CALIFORNIA/CALIFORNIA STATE                                                                                                 STREET, SUITE 500
           UNIVERSITY - SBD WHOLE BUILDING                                                                                             AUSTIN, TX 78701

2. 4892    GENERAL OFF-BILL AND ON-                  4/18/2020       CCOTH_02158                 PALLA ROSA FARMING CO                 9530 HAGEMAN ROAD B #196
           BILLFINANCING LOAN AGREEMENT                                                                                                BAKERSFIELD, CA 93312




                                                                      Page 515 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                    Page 516
                                                                                of 649
Pacific Gas and Electric Company                                                                                                     Case Number:        19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 4893    GENERAL OFF-BILL AND ON-                   5/9/2023       CCOTH_02641                 PALO ALTO EGG & SERVICE              6644 N HIGHLAND
           BILLFINANCING LOAN AGREEMENT                                                          COMPANY - 6691 CLARK AVE             CLOVIS, CA 93619

2. 4894    GENERAL OFF-BILL AND ON-                  10/11/2023      CCOTH_02899                 PALO ALTO MEDICAL FOUNDATION -       1725 RUTAN DR
           BILLFINANCING LOAN AGREEMENT                                                          582 S SUNNYVALE AVE                  LIVERMORE, CA 94551

2. 4895    REAL PROPERTY LEASE - RED BLUFF              MTM          CCCRSLS_001                 PAMELA J CASH                        PAMELA J CASH
           HYDRO PROJECT OFFICE                                          08                                                           12664 WILLIAMSON
                                                                                                                                      REDDING, CA 96003

2. 4896    GENERAL OFF-BILL AND ON-                  12/18/2021      CCOTH_02582                 PANA DELLA VITA II - 8029 N CEDAR    10 HARRIS CT BLDG C - STE 2
           BILLFINANCING LOAN AGREEMENT                                                          AVE                                  MONTEREY, CA 93040

2. 4897    COMMERCIAL CALCULATED                     Not Stated      CCOTH_00143                 PANDA RESTAURANT GROUP, INC.         1683 WALNUT GROVE AVE
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                          ROSEMEAD, CA 91770
           PROGRAM

2. 4898    AGRICULTURAL CALCULATED                   Not Stated      CCOTH_00061                 PAPPAS PRODUCE - RCX PROJECT         1431 S LYON AVE S/W CORNER -
           INCENTIVES - RETRO COMMISSIONING                                                                                           COLD STORAGE
           (RCX)                                                                                                                      MENDOTA, CA

2. 4899    CONTRACT TO RAISE AND MODIFY              5/31/2019       CCNRD_00002                 PAR ELECTRICAL CONTRACTORS INC.      4770 N. BELLEVIEW AVENUE
           STEEL ELECTRIC TRANSMISSION                                                                                                SUITE 300
           TOWERS AND RECONDUCTOR EXISTING                                                                                            KANSAS CITY, MO 64116
           TRANSMISSION LINES AT VARIOUS
           LOCATIONS WITHIN THE PG&E SERVICE
           TERRITORY

2. 4900    GENERAL OFF-BILL AND ON-                  2/10/2022       CCOTH_02067                 PARADISE CINEMAS INC                 1390 RIDGEWOOD DR., STE 10
           BILLFINANCING LOAN AGREEMENT                                                                                               CHICO, CA 95973

2. 4901    WATER/HYDRANT AGREEMENT                   Not Stated      CCCRSOT_001                 PARADISE IRRIGATION DISTRICT         PARADISE IRRIGATION DIST
                                                                         50                                                           6332 CLARK RD
                                                                                                                                      PARADISE, CA 95969

2. 4902    GENERAL OFF-BILL AND ON-                   1/9/2023       CCOTH_01206                 PARAGON INDUSTRIES INC - 139         1411 N HIGHLAND AVENUE, UNIT
           BILLFINANCING LOAN AGREEMENT                                                          MARCO WAY                            203
                                                                                                                                      LOS ANGELES, CA 90028




                                                                      Page 516 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                  Page 517
                                                                                of 649
Pacific Gas and Electric Company                                                                                                    Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 4903    GENERAL OFF-BILL AND ON-                  12/28/2022      CCOTH_01179                 PARAGON INDUSTRIES INC - 2291       1411 N HIGHLAND AVE, UNIT #203
           BILLFINANCING LOAN AGREEMENT                                                          JUNCTION AVE                        LOS ANGELES, CA 90028

2. 4904    GENERAL OFF-BILL AND ON-                  12/28/2022      CCOTH_01174                 PARAGON INDUSTRIES INC - 2301       685 COCHRAN STREET, SUITE 200
           BILLFINANCING LOAN AGREEMENT                                                          JUNCTION AVE # ME2                  SIMI VALLEY, CA 93065

2. 4905    GENERAL OFF-BILL AND ON-                  2/28/2021       CCOTH_01173                 PARAGON INDUSTRIES INC - 2538       1411 N HIGHLAND AVE, SUITE #203
           BILLFINANCING LOAN AGREEMENT                                                          WEST LN STE 4                       LOS ANGELES, CA 90028

2. 4906    GENERAL OFF-BILL AND ON-                  11/8/2021       CCOTH_01205                 PARAGON INDUSTRIES INC - 27695      685 COCHRAN STREET, SUITE 200
           BILLFINANCING LOAN AGREEMENT                                                          MISSION BLVD                        SIMI VALLEY, CA 93065

2. 4907    GENERAL OFF-BILL AND ON-                  12/23/2021      CCOTH_02616                 PARAGON INDUSTRIES INC - 4055       1411 N HIGHLAND AVENUE, UNIT
           BILLFINANCING LOAN AGREEMENT                                                          GRASS VALLEY HWY                    203
                                                                                                                                     LOS ANGELES, CA 90028

2. 4908    GENERAL OFF-BILL AND ON-                  11/19/2021      CCOTH_01208                 PARAGON INDUSTRIES INC - 4301       1411 N HIGHLAND AVE, SUITE #203
           BILLFINANCING LOAN AGREEMENT                                                          ASHE RD                             LOS ANGELES, CA 90028

2. 4909    GENERAL OFF-BILL AND ON-                  12/12/2018      CCOTH_02235                 PARAGON VINEYARD DBA ORCUTT         4915 ORCUTT ROAD
           BILLFINANCING LOAN AGREEMENT                                                          ROAD CELLARS                        SAN LUIS OBISPO, CA 93401

2. 4910    GENERAL OFF-BILL AND ON-                  3/11/2022       CCOTH_02944                 PARDI TRUST - 1100 CALLOWAY DR      9530 HAGEMAN RD. B#196
           BILLFINANCING LOAN AGREEMENT                                                          MM1                                 BAKERSFIELD, CA 93312

2. 4911    GENERAL OFF-BILL AND ON-                  12/28/2021      CCOTH_01705                 PARK PLAZA FINE FOODS INC           111 CAMBON DR
           BILLFINANCING LOAN AGREEMENT                                                                                              SAN FRANCISCO, CA 94132

2. 4912    ASSOCIATION DUES                          Not Stated      CCCRSOT_001                 PARK SHADELANDS ASSOCIATION         PARK SHADELANDS ASSOCIATION
                                                                         51                                                          250 LAFAYETTE CIRCLE STE 100
                                                                                                                                     LAFAYETTE, CA 94549

2. 4913    GENERAL OFF-BILL AND ON-                  10/7/2019       CCOTH_02356                 PARK,CHANG - 2695 PINOLE VALLEY RD 10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                                                             SANTA FE SPRINGS, CA 90670

2. 4914    GENERAL OFF-BILL AND ON-                   1/4/2020       CCOTH_02301                 PARKER,JAMES                        12122 DRY CREEK RD, STE 103
           BILLFINANCING LOAN AGREEMENT                                                                                              AUBURN, CA 95602




                                                                      Page 517 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 518
                                                                                of 649
Pacific Gas and Electric Company                                                                                                     Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                   Address
                                                    or Remaining
                                                        Term


2. 4915    GENERAL OFF-BILL AND ON-                  5/16/2019       CCOTH_02723                 PARKSIDE GLEN APARTMENTS,LP - 800    P.O. BOX 1153
           BILLFINANCING LOAN AGREEMENT                                                          HILLSDALE AVE                        SOULSBYVILLE, CA 95372

2. 4916    GENERAL OFF-BILL AND ON-                  6/25/2020       CCOTH_02745                 PARKTOWN PLAZA PAK LLC - 1350 S      1265 S. CABERNET CIRCLE
           BILLFINANCING LOAN AGREEMENT                                                          PARK VICTORIA DR                     ANAHEIM, CA 92804

2. 4917    GENERAL OFF-BILL AND ON-                  10/12/2019      CCOTH_02496                 PARLIAMENT PROPERTIES INC - 860-     2108 MANASSAS COURT
           BILLFINANCING LOAN AGREEMENT                                                          872 N DELAWARE ST                    SAN JOSE, CA 95116

2. 4918    WATER/SEWER AGREEMENT                     Not Stated      CCCRSOT_001                 PARLIER, CITY OF                     CITY OF PARLIER
                                                                         52                                                           1100 E PARLIER AVE
                                                                                                                                      PARLIER, CA 93648

2. 4919    GENERAL OFF-BILL AND ON-                   2/6/2019       CCOTH_02674                 PARMJIT SINGH GOSAL                  6120 LINCOLN BLVD, STE G
           BILLFINANCING LOAN AGREEMENT                                                                                               CORY BIRKHOLZ
                                                                                                                                      OROVILLE, CA 95966

2. 4920    GENERAL OFF-BILL AND ON-                  7/31/2023       CCOTH_02597                 PARVINI,CYRUS - 820 E EL CAMINO      1111, W. EL CAMINO REAL
           BILLFINANCING LOAN AGREEMENT                                                          REAL                                 STE 135
                                                                                                                                      SUNNYVALE, CA 94087

2. 4921    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01015                 PAT CARR                             1850 BROADWAY STREET
                                                                                                                                      VALLEJO 94590

2. 4922    GENERAL OFF-BILL AND ON-                  11/25/2018      CCOTH_01869                 PATEL, DAVID DBA MOTEL 6 CENTRAL     328 GREENWOOD PL.
           BILLFINANCING LOAN AGREEMENT                                                                                               ADRIANA ALDANA - MANAGER
                                                                                                                                      BONITA, CA 91902

2. 4923    GENERAL OFF-BILL AND ON-                   5/8/2023       CCOTH_02869                 PATEL,NARESH - 555 S ORCHARD AVE     2450 GIOVANNI DR.
           BILLFINANCING LOAN AGREEMENT                                                                                               PLACERVILLE, CA 95667

2. 4924    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00959                 PATRICK CAHILL                       2390 BASS LAKE ROAD
                                                                                                                                      RESCUE 95672

2. 4925    GENERAL OFF-BILL AND ON-                  10/10/2023      CCOTH_02690                 PATTERSON AND TEDFORD                7700 MORRO ROAD SUITE A
           BILLFINANCING LOAN AGREEMENT                                                          PEDIATRICS, A CA MED CORP            ATASCADERO, CA 93422

2. 4926    GENERAL OFF-BILL AND ON-                  6/15/2020       CCOTH_02922                 PATTERSON DENTAL SUPPLY INC -        2430 AMERICA AVE
           BILLFINANCING LOAN AGREEMENT                                                          5087 COMMERCIAL CIR                  HAYWARD, CA 94545


                                                                      Page 518 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                    Page 519
                                                                                of 649
Pacific Gas and Electric Company                                                                                                     Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 4927    GENERAL OFF-BILL AND ON-                  10/26/2022      CCOTH_01276                 PATTERSON REALTY - 444 HIGUERA ST    444 HIGUERA STREET
           BILLFINANCING LOAN AGREEMENT                                                          STE 300A                             SAN LUIS OBISPO, CA 93401

2. 4928    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00531                 PAUL KARR                            751 GOLDCOAST DR
           ADVANCED HOME UPGRADE                                                                                                      FAIRFIELD, CA 94533
           (CUSTOM/CALCULATED)

2. 4929    SELF-GENERATION INCENTIVE                 Not Stated      CCOTH_03512                 PAUL LAM                             1915 41ST AVE
           PROGRAM                                                                                                                     OAKLAND , CA 94601

2. 4930    SELF-GENERATION INCENTIVE                 Not Stated      CCOTH_03527                 PAUL SIMONS                          36331 HALEY ST
           PROGRAM                                                                                                                     NEWARK, CA 94560

2. 4931    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00975                 PAUL WENDALL                         2188 DEL FRANCO ST
                                                                                                                                      SAN JOSE 95131

2. 4932    COMMERCIAL CALCULATED                     Not Stated      CCOTH_00202                 PAYPAL INC.                          2211 N 1ST ST
           INCENTIVES - RETRO COMMISSIONING                                                                                           SAN JOSE, CA 95131
           (RCX)

2. 4933    GENERAL OFF-BILL AND ON-                  10/15/2020      CCOTH_01821                 PC MECHANICAL, INC. - 2803           2803 INDUSTRIAL PKWY
           BILLFINANCING LOAN AGREEMENT                                                          INDUSTRIAL PKWY                      SANTA MARIA, CA 93455

2. 4934    GENERAL OFF-BILL AND ON-                  6/19/2023       CCOTH_02995                 PEACE LUTHERAN CHURCH - 828 W        17766 PENN VALLEY DR
           BILLFINANCING LOAN AGREEMENT                                                          MAIN ST                              PENN VALLEY, CA 95646

2. 4935    GENERAL OFF-BILL AND ON-                  8/30/2022       CCOTH_01299                 PEARSON REALTY - 7480 N PALM AVE     7480 N PALM AVE STE 101A
           BILLFINANCING LOAN AGREEMENT                                                          STE 101A                             FRESNO, CA 93711

2. 4936    GENERAL OFF-BILL AND ON-                   9/2/2020       CCOTH_03236                 PEBBLE BEACH CO - 2136 SUNSET DR     877 CEDAR STREET, SUITE 240
           BILLFINANCING LOAN AGREEMENT                                                                                               SANTA CRUZ, CA 95060

2. 4937    GENERAL OFF-BILL AND ON-                  10/20/2022      CCOTH_01823                 PELLEGRINI RANCHES INC - 4055 W      P.O. BOX 1951
           BILLFINANCING LOAN AGREEMENT                                                          OLIVET RD                            SANTA ROSA, CA 95402

2. 4938    GENERAL OFF-BILL AND ON-                  8/29/2022       CCOTH_03063                 PENG,CHI-SANTE TERRY - 1850 MOUNT    1111, W. EL CAMINO REAL, STE 135
           BILLFINANCING LOAN AGREEMENT                                                          DIABLO ST                            SUNNYVALE, CA 94087




                                                                      Page 519 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 520
                                                                                of 649
Pacific Gas and Electric Company                                                                                                   Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 4939    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03433                 PENINSULA CUSTOME HOMES            1401 OLD COUNTY RD
           BY DESIGN WHOLE BUILDING                                                                                                 SAN CARLOS, CA 94070

2. 4940    GENERAL OFF-BILL AND ON-                  1/28/2024       CCOTH_02755                 PENINSULA GOLF & COUNTRY CLUB -    10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          701 MADERA DR                      SANTA FE SPRINGS, CA 90670

2. 4941    INDUSTRIAL CALCULATED INCENTIVES -        Not Stated      CCOTH_03284                 PENTAIR THERMAL MGMT               2501 BAY RD
           CUSTOMIZED INCENTIVE PROGRAM                                                                                             REDWOOD CITY, CA 94063

2. 4942    GENERAL OFF-BILL AND ON-                  9/25/2020       CCOTH_02518                 PENTECOSTAL GOSPEL                 10011 PIONEER BLVD.
           BILLFINANCING LOAN AGREEMENT                                                          INTERNATIONAL CENTRE - 25354 CY    SANTA FE SPRINGS, CA 90670

2. 4943    GENERAL OFF-BILL AND ON-                   3/7/2019       CCOTH_02056                 PEOPLES CHURCH OF FRESNO           7172 N. CEDAR AVE
           BILLFINANCING LOAN AGREEMENT                                                          CALIFORNIA                         FRESNO, CA 93720

2. 4944    CALIFORNIA COMMUNITY COLLEGES -           Not Stated      CCOTH_00071                 PERALTA COMMUNITY COLLEGE          333 EAST 8TH ST.
           CUSTOMIZED RETROFIT                                                                   DISTRICT                           OAKLAND, CA 94606

2. 4945    CALIFORNIA COMMUNITY COLLEGES -           Not Stated      CCOTH_00072                 PERALTA COMMUNITY COLLEGE          333 EAST 8TH ST.
           CUSTOMIZED RETROFIT                                                                   DISTRICT                           OAKLAND, CA 94606

2. 4946    CALIFORNIA COMMUNITY COLLEGES -           Not Stated      CCOTH_00094                 PERALTA COMMUNITY COLLEGE          333 E 8TH ST
           SAVINGS BY DESIGN WHOLE BUILDING                                                      DISTRICT                           OAKLAND, CA 94606

2. 4947    SINGLE-FAMILY AFFORDABLE SOLAR            Not Stated      CCOTH_03578                 PEREZ MENDOZA,JOSE                 540 TEMA ST
           HOMES (SASH)                                                                                                              SAN MIGUEL, CA 93451

2. 4948    SERVICE AGREEMENT                         Not Stated      CCCRSOT_001                 PETALUMA REFUSE & RECYLCING        PETALUMA REFUSE & RECYCLING
                                                                         53                                                         INC
                                                                                                                                    SUISUN, CA

2. 4949    WATER AGREEMENT                           Not Stated      CCCRSOT_001                 PETALUMA, CITY OF                  CITY OF PETALUMA, WATER
                                                                         54                                                         RESOURCES,
                                                                                                                                    11 ENGLISH ST
                                                                                                                                    PETALUMA, CA

2. 4950    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01040                 PETE RADOVICH                      1584 164TH AVE
                                                                                                                                    SAN LEANDRO 94578



                                                                      Page 520 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 521
                                                                                of 649
Pacific Gas and Electric Company                                                                                                Case Number:       19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                              Address
                                                    or Remaining
                                                        Term


2. 4951    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00577                 PETER & NANCY RUTSCH            43 CAMPOLINDO CT.
           ADVANCED HOME UPGRADE                                                                                                 MORAGA, CA 94556
           (CUSTOM/CALCULATED)

2. 4952    CONSULTING AND ENERGY                      9/6/2019       CCNRD_02902                 PETER A. RIETKERK               2844 OTTAWA AVE
           MANAGEMENT SERVICES                                                                                                   CORCORAN, CA 93212

2. 4953    KICKING CARBON OUT OF BUILDINGS -         12/4/2018       CCOTH_03765                 PETER RUMSEY                    220 MONTGOMERY ST., #321
           HEAT PUMP DESIGN FOR                                                                                                  SAN FRANCISCO, CA 94104
           DECARBONIZED BUILDINGS

2. 4954    KICKING CARBON OUT OF BUILDINGS -         9/13/2018       CCOTH_03762                 PETER RUMSY                     220 MONTGOMERY ST., #321
           HOW HEAT PUMPS WILL LEAD THE                                                                                          SAN FRANCISCO, CA 94104
           DECARBONIZATION REVOLUTION

2. 4955    GENERAL OFF-BILL AND ON-                  4/29/2019       CCOTH_01657                 PETROMART RETAIL GROUP          PO BOX 406
           BILLFINANCING LOAN AGREEMENT                                                                                          ALAMO, CA 94507

2. 4956    GENERAL OFF-BILL AND ON-                  4/28/2019       CCOTH_01659                 PETROMART RETAIL GROUP          PO BOX 406
           BILLFINANCING LOAN AGREEMENT                                                                                          ALAMO, CA 94507

2. 4957    GENERAL OFF-BILL AND ON-                  2/15/2019       CCOTH_01414                 PETROMART RETAIL GROUP INC      C/O LENDERS COMMERCIAL
           BILLFINANCING LOAN AGREEMENT                                                                                          FINANCE
                                                                                                                                 PO BOX 406
                                                                                                                                 ALAMO, CA 94507

2. 4958    GENERAL OFF-BILL AND ON-                  1/21/2019       CCOTH_01490                 PETROMART RETAIL GROUP INC      4470 YANKEE HILL ROAD, SUITE
           BILLFINANCING LOAN AGREEMENT                                                                                          120
                                                                                                                                 ROCKLIN, CA 95677

2. 4959    GENERAL OFF-BILL AND ON-                   5/7/2019       CCOTH_01651                 PETROMART RETAIL GROUP INC      P.O. BOX 406
           BILLFINANCING LOAN AGREEMENT                                                                                          ALAMO, CA 94507

2. 4960    GENERAL OFF-BILL AND ON-                   9/9/2019       CCOTH_01652                 PETROMART RETAIL GROUP INC      PO BOX 406
           BILLFINANCING LOAN AGREEMENT                                                                                          ALAMO, CA 94507

2. 4961    GENERAL OFF-BILL AND ON-                  10/11/2018      CCOTH_01653                 PETROMART RETAIL GROUP INC      C/O LENDERS COMMERCIAL
           BILLFINANCING LOAN AGREEMENT                                                                                          FINANCE LLC.
                                                                                                                                 PO BOX 406
                                                                                                                                 ALAMO, CA 94507

                                                                      Page 521 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35               Page 522
                                                                                of 649
Pacific Gas and Electric Company                                                                                                      Case Number:       19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                   Address
                                                    or Remaining
                                                        Term


2. 4962    GENERAL OFF-BILL AND ON-                  11/3/2018       CCOTH_01658                 PETROMART RETAIL GROUP INC            PO BOX 406
           BILLFINANCING LOAN AGREEMENT                                                                                                ALAMO, CA 94507

2. 4963    REAL PROPERTY LEASE - FRESNO              5/31/2021       CCCRSLS_000                 PGE STARPOINT LLC                     PGE STARPOINT LLC
           DIVISION OFFICE COMPLEX & CSO                                 32                                                            450 N ROXBURY DR STE 1050
                                                                                                                                       BEVERLY HILLS, CA 90210

2. 4964    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00662                 PHILLIP KOBERNICK                     8477 ENTERPRISE WAY
                                                                                                                                       OAKLAND 94621

2. 4965    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00709                 PHILLIP KOBERNICK                     7001 OAKPORT STREET STE A
                                                                                                                                       OAKLAND 94621

2. 4966    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00772                 PHILLIP KOBERNICK                     5151 GLEASON DRIVE
                                                                                                                                       DUBLIN 94568

2. 4967    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00954                 PHILLIP KOBERNICK                     24085 AMADOR STREET
                                                                                                                                       HAYWARD 94544

2. 4968    INDUSTRIAL CALCULATED INCENTIVES -        Not Stated      CCOTH_03285                 PHILLIPS 66 COMPANY - RODEO           1380 SAN PABLO AVE.
           CUSTOMIZED INCENTIVE PROGRAM                                                          REFINERY                              RODEO, CA 94572

2. 4969    GENERAL OFF-BILL AND ON-                  10/2/2020       CCOTH_01669                 PHOTO USA - 46595 LANDING PKWY # A    46560 FREMONT BLVD, #105
           BILLFINANCING LOAN AGREEMENT                                                                                                FREMONT, CA 94538

2. 4970    GENERAL OFF-BILL AND ON-                   6/7/2019       CCOTH_01756                 PHYSICIAN'S PLAZA OWNER'S ASSN        1187 N WILLOW AVE SUITE 103
           BILLFINANCING LOAN AGREEMENT                                                                                                PMB #40
                                                                                                                                       SHANNON MACFARLAND,
                                                                                                                                       MANAGER
                                                                                                                                       CLOVIS, CA 93611

2. 4971    GENERAL OFF-BILL AND ON-                   6/6/2022       CCOTH_02814                 PIAZZA TRADING & COMPANY, LTD. -      10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          371 BEL MARIN KEY                     SANTA FE SPRINGS, CA 90670

2. 4972    GENERAL OFF-BILL AND ON-                  12/30/2021      CCOTH_01601                 PIEDMONT GROCERY CO                   4038 PIEDMONT AVE
           BILLFINANCING LOAN AGREEMENT                                                                                                OAKLAND, CA 94611

2. 4973    WATER AGREEMENT                           Not Stated      CCCRSOT_001                 PINE GROVE COMMUNITY SERVICES         PINE GROVE COMMUNITY SVCS
                                                                         55                      DIST                                  DISTRICT
                                                                                                                                       PINE GROVE, CA

                                                                      Page 522 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 523
                                                                                of 649
Pacific Gas and Electric Company                                                                                                     Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 4974    METER TESTING AND REPAIR SERVICES          3/1/2020       CCNRD_02844                 PINNACLE COMPLIANCE SERVICES,        882 VICEROY WAY
                                                                                                 INC.                                 SAN JOSE, CA 95133

2. 4975    GENERAL OFF-BILL AND ON-                  3/18/2019       CCOTH_01751                 PINNACLE RESTAURANTS LP              P.O. BOX 641041
           BILLFINANCING LOAN AGREEMENT                                                                                               SAN FRANCISCO, CA 94164

2. 4976    GENERAL OFF-BILL AND ON-                  1/31/2021       CCOTH_01737                 PIONEER PAINT CO - 4620 EASTON DR    685 COCHRAN STREET, SUITE 200
           BILLFINANCING LOAN AGREEMENT                                                                                               SIMI VALLEY, CA 93065

2. 4977    WATER/SEWER AGREEMENT                     Not Stated      CCCRSOT_001                 PISMO BEACH, CITY OF                 CITY OF PISMO BEACH
                                                                         56                                                           760 MATTIE RD
                                                                                                                                      PISMO BEACH, CA

2. 4978    GENERAL OFF-BILL AND ON-                  12/19/2022      CCOTH_01165                 PISMO MEDICAL CAMPUS LLC - 901       147 W. ROUTE 66 #706
           BILLFINANCING LOAN AGREEMENT                                                          OAK PARK BLVD                        GLENDORA, CA 91740

2. 4979    GENERAL OFF-BILL AND ON-                  3/27/2022       CCOTH_02492                 PISMO MEDICAL CAMPUS LLC - 901       147 W ROUTE 66 #706
           BILLFINANCING LOAN AGREEMENT                                                          OAK PARK BLVD                        GLENDORA, CA 91740

2. 4980    GENERAL OFF-BILL AND ON-                  9/19/2020       CCOTH_01527                 PLACER CORPORATE CENTER 10           135 MAIN AVE
           BILLFINANCING LOAN AGREEMENT                                                          CONDOMINIUMS ASSOC                   SACRAMENTO, CA 95838

2. 4981    PG&E PRODUCTS & SERVICES                  4/17/2023       CCNRD_02857                 PLACER COUNTY WATER AGENCY           144 FERGUSON RD.
           AGREEMENT, PERMITTING CUSTOMER                                                                                             AUBURN, CA 95603
           TO ENTER INTO CONTRACTS WITH
           PG&E FOR VARIOUS CUSTOMER-
           OWNED FACILITY SERVICES

2. 4982    WATER AGREEMENT                           Not Stated      CCCRSOT_001                 PLACER COUNTY WATER AGENCY           PLACER COUNTY WATER AGENCY
                                                                         58                                                           AUBURN, CA

2. 4983    GENERAL OFF-BILL AND ON-                  9/11/2021       CCOTH_02806                 PLACER UNION HIGH SCHOOL             12820 EARHART AVE
           BILLFINANCING LOAN AGREEMENT                                                          DISTRICT - 13121 BILL FRA            AUBURN, CA 95602

2. 4984    SEWER AGREEMENT                           Not Stated      CCCRSOT_001                 PLACER, COUNTY OF                    PLACER COUNTY, DEPT OF
                                                                         57                                                           FACILITY SERVICES,
                                                                                                                                      11476 C AVE
                                                                                                                                      AUBURN, CA 95603




                                                                      Page 523 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 524
                                                                                of 649
Pacific Gas and Electric Company                                                                                                    Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                 Address
                                                    or Remaining
                                                        Term


2. 4985    WATER/SEWER AGREEMENT                     Not Stated      CCCRSOT_001                 PLACERVILLE, CITY OF                CITY OF PLACERVILLE
                                                                         59                                                          3101 CENTER ST
                                                                                                                                     PLACERVILLE, CA 95667

2. 4986    GENERAL OFF-BILL AND ON-                  2/28/2019       CCOTH_02177                 PLASTIKON INDUSTRIES INC            688 SANDOVAL WAY
           BILLFINANCING LOAN AGREEMENT                                                                                              **UPS OVERNIGHT DELIVERY**
                                                                                                                                     HAYWARD, CA 94544

2. 4987    GENERAL OFF-BILL AND ON-                  5/13/2020       CCOTH_01156                 PLASTIKON INDUSTRIES INC - 30559    688 SANDOVAL WAY
           BILLFINANCING LOAN AGREEMENT                                                          SAN ANTONIO ST                      HAYWARD, CA 94544

2. 4988    GENERAL OFF-BILL AND ON-                  10/13/2021      CCOTH_01248                 PLEASANT HILL PLAZA ASSOCIATES -    1800 WILLOW PASS CT
           BILLFINANCING LOAN AGREEMENT                                                          1932 CONTRA COSTA                   CONCORD, CA 94520

2. 4989    GENERAL OFF-BILL AND ON-                  5/15/2023       CCOTH_02872                 PLEASANTON SCHOOLS, LLC, THE-7110 10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          KOLL CENTER PKWY                  SANTA FE SPRINGS, CA 90670

2. 4990    GENERAL OFF-BILL AND ON-                  10/9/2020       CCOTH_02609                 PMS INC - 4261 BUSINESS DR          11812 KEMPER ROAD
           BILLFINANCING LOAN AGREEMENT                                                                                              AUBURN, CA 95603

2. 4991    GENERAL OFF-BILL AND ON-                   2/9/2020       CCOTH_02610                 PMS INC - 4337 PRODUCT DR           11812 KEMPER ROAD
           BILLFINANCING LOAN AGREEMENT                                                                                              AUBURN, CA 95603

2. 4992    GENERAL OFF-BILL AND ON-                  5/15/2019       CCOTH_02015                 PODESTO'S INC                       106 LINCOLN CTR.
           BILLFINANCING LOAN AGREEMENT                                                                                              STOCKTON, CA 95207

2. 4993    CLEVELAND ELEMENTARY SCHOOL               12/31/2018      CCOTH_03725                 POINT ENERGY                        5201 HARDBORD DR.
           SERVICES                                                                                                                  OAKLAND, CA 94618

2. 4994    GENERAL OFF-BILL AND ON-                  3/16/2019       CCOTH_01503                 POINT RICHMOND R&D ASSOCIATES       14355 INDUSTRY CIRCLE
           BILLFINANCING LOAN AGREEMENT                                                                                              LA MIRADA, CA 90638

2. 4995    GENERAL OFF-BILL AND ON-                  4/21/2019       CCOTH_01996                 PONDEROSA PROFESSIONAL CENTER       1390 RIDGEWOOD DR, STE 10
           BILLFINANCING LOAN AGREEMENT                                                          LLC                                 CHICO, CA 95973

2. 4996    SEWER AGREEMENT                           Not Stated      CCCRSOT_001                 POSO CANAL COMPANY                  POSO CANAL COMPANY
                                                                         60                                                          LOS BANOS, CA




                                                                      Page 524 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                 Page 525
                                                                                of 649
Pacific Gas and Electric Company                                                                                                      Case Number:       19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                   Address
                                                    or Remaining
                                                        Term


2. 4997    GENERAL OFF-BILL AND ON-                  3/26/2019       CCOTH_01421                 POTRERO COURT HOA DBA 2225 23RD       2225 23RD STREET
           BILLFINANCING LOAN AGREEMENT                                                          ST HOA                                SAN FRANCISCO, CA 94107

2. 4998    CONSULTING AND ENERGY                      4/1/2020       CCNRD_02903                 POWWOW ENERGY, INC.                   55 E. THIRD AVE
           MANAGEMENT SERVICES                                                                                                         SAN MATEO, CA 94401

2. 4999    GENERAL OFF-BILL AND ON-                  2/12/2019       CCOTH_01992                 P-R FARMS - 17710 ROAD 24 - MADERA    2917 EAST SHEPHERD AVE.
           BILLFINANCING LOAN AGREEMENT                                                                                                CLOVIS, CA 93619

2. 5000    GENERAL OFF-BILL AND ON-                  11/17/2019      CCOTH_01397                 PRE PLASTICS INC - 12600 LOCKSLEY     PO BOX 2056
           BILLFINANCING LOAN AGREEMENT                                                          LN - AUBURN                           ASTON, PA 19014

2. 5001    GENERAL OFF-BILL AND ON-                  11/21/2019      CCOTH_02093                 PRECISE AUTO INC                      24 CARRIAGE CT.
           BILLFINANCING LOAN AGREEMENT                                                                                                ALAMO, CA 94507

2. 5002    GENERAL OFF-BILL AND ON-                   9/8/2021       CCOTH_02501                 PRECISION SWISS PRODUCTS INC -        1911 TAROB CT
           BILLFINANCING LOAN AGREEMENT                                                          1911 TAROB CT                         MILPITAS, CA 95035

2. 5003    GENERAL OFF-BILL AND ON-                  7/16/2021       CCOTH_02033                 PREMIER CRANE & TRANSPORTATION,       685 COCHRAN STREET, SUITE 200
           BILLFINANCING LOAN AGREEMENT                                                          INC - 2905 WEAR ST                    SIMI VALLEY, CA 93065

2. 5004    GENERAL OFF-BILL AND ON-                  5/30/2020       CCOTH_02322                 PREMIER EQUIPMENT RENTALS INC         685 COCHRAN STREET, STE 200
           BILLFINANCING LOAN AGREEMENT                                                                                                SIMI VALLEY, CA 93065

2. 5005    GENERAL OFF-BILL AND ON-                   9/7/2021       CCOTH_02151                 PREMIER EQUIPMENT RENTALS INC -       685 COCHRAN ST, STE 200
           BILLFINANCING LOAN AGREEMENT                                                          3217 PATTON WAY                       SIMI VALLEY, CA 93065

2. 5006    GENERAL OFF-BILL AND ON-                  3/22/2023       CCOTH_01258                 PRENTISS PROPERTIES - 1000            12820 EARHART AVE
           BILLFINANCING LOAN AGREEMENT                                                          THORNDALE DR                          AUBURN, CA 95602

2. 5007    GENERAL OFF-BILL AND ON-                  2/17/2022       CCOTH_03007                 PRESTON J O'DELL DESIGN LLC - 1795    PO BOX 3667
           BILLFINANCING LOAN AGREEMENT                                                          SMITH LN                              EUREKA, CA 95502

2. 5008    SERVICE AGREEMENT                         Not Stated      CCCRSOT_001                 PRICE DISPOSAL                        PRICE DISPOSAL
                                                                         61                                                            8665 S UNION AVE
                                                                                                                                       BAKERSFIELD, CA 93307




                                                                      Page 525 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                 Page 526
                                                                                of 649
Pacific Gas and Electric Company                                                                                                     Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 5009    IMPLEMENTATION OF SALESFORCE              3/31/2019       CCNRD_02909                 PRICEWATERHOUSECOOPERS LLP           300 MADISON AVENUE
           CONTRACT LIFECYCLE MANAGEMENT                                                                                              NEW YORK, NY 10017
           TOOL

2. 5010    COMMERCIAL CALCULATED                     Not Stated      CCOTH_00139                 PRINCIPAL LIFE INSURANCE             555 12TH ST
           INCENTIVES - CUSTOMIZED INCENTIVE                                                     COMPANY - OAKLAND - WINDOW FILM -    OAKLAND, CA
           PROGRAM                                                                               555 CITY CENTER - 2016-11-14

2. 5011    GENERAL OFF-BILL AND ON-                   1/6/2020       CCOTH_01765                 PRO FORM LABRATORIES CORP            6120 LINCOLN BLVD SUITE G
           BILLFINANCING LOAN AGREEMENT                                                                                               OROVILLE, CA 95966

2. 5012    GENERAL OFF-BILL AND ON-                  11/30/2020      CCOTH_02459                 PROBUILD COMPANY LLC - 1230          PO BOX 910757
           BILLFINANCING LOAN AGREEMENT                                                          THOMPSON AVE                         SAN DIEGO, CA 92191

2. 5013    GENERAL OFF-BILL AND ON-                  11/30/2021      CCOTH_02456                 PROBUILD COMPANY LLC - 1250          PO BOX 910757
           BILLFINANCING LOAN AGREEMENT                                                          ABBOTT ST                            SAN DIEGO, CA 92191

2. 5014    GENERAL OFF-BILL AND ON-                  6/24/2022       CCOTH_02457                 PROBUILD COMPANY LLC - 235 RIVER     PO BOX 910757
           BILLFINANCING LOAN AGREEMENT                                                          ST                                   SAN DIEGO, CA 92191

2. 5015    GENERAL OFF-BILL AND ON-                  10/31/2019      CCOTH_01449                 PROCESS ENGINEERS INC - 26569        PO BOX 41339
           BILLFINANCING LOAN AGREEMENT                                                          CORPORATE AVE                        SANTA BARBARA, CA 93140

2. 5016    AGRICULTURAL CALCULATED                   Not Stated      CCOTH_00029                 PRODUCERS DAIRY FOODS INC.           250 E. BELMONT AVE.
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                          FRESNO, CA 93701
           PROGRAM

2. 5017    GENERAL OFF-BILL AND ON-                   8/7/2023       CCOTH_02736                 PROGRESSIVE COLLISION REPAIR -       PO BOX 23803
           BILLFINANCING LOAN AGREEMENT                                                          566 EMORY ST                         SAN JOSE, CA 95153

2. 5018    GENERAL OFF-BILL AND ON-                   8/9/2020       CCOTH_02735                 PROGRESSIVE COLLISION REPAIR -       PO BOX 23803
           BILLFINANCING LOAN AGREEMENT                                                          790 CHESTNUT ST                      SAN JOSE, CA 95153

2. 5019    REAL PROPERTY LEASE - BRISBANE            5/31/2019       CCCRSLS_000                 PROLOGIS LP                          PROLOGIS LP, DCT VALLEY DRIVE
           RECORDS RETENTION WAREHOUSE                                   97                                                           CA LP,
           (LEASE)                                                                                                                    1800 WAZEE ST STE 500
                                                                                                                                      DENVER, CO 80202




                                                                      Page 526 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                  Page 527
                                                                                of 649
Pacific Gas and Electric Company                                                                                                      Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                   Address
                                                    or Remaining
                                                        Term


2. 5020    REAL PROPERTY LEASE -                     11/30/2025      CCCRSLS_000                 PROMONTORY SAN LUIS OBISPO            PROMONTORY SAN LUIS OBISPO
           PROMONTORY BLDG OFFICE AND CSO                                71                                                            LP
                                                                                                                                       750 PISMO ST
                                                                                                                                       SAN LUIS OBISPO, CA 93401

2. 5021    EXTERNAL IT SUPPORT OF THE                12/31/2019      CCOTH_00007                 PROPULSION LABS, LLC                  PROPULSION LABS LLC
           ENERGY DATA REQUEST PROGRAM                                                                                                 101 E PARK BLVD STE 805
           (EDRP) PORTAL                                                                                                               PLANO, TX 75074

2. 5022    GENERAL OFF-BILL AND ON-                  4/29/2022       CCOTH_02538                 PTR REALESTATE LIMITED LIABLITY       1265 S CABERNET CIR
           BILLFINANCING LOAN AGREEMENT                                                          CO,LLC - 2400 N PA                    ANAHEIM, CA 92804

2. 5023    AGRICULTURAL CALCULATED                   Not Stated      CCOTH_00021                 PURPLE FROST, INC.                    2024 QUAIL HOLLOW RD
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                           BEN LOMOND, CA 95005
           PROGRAM

2. 5024    GENERAL OFF-BILL AND ON-                  11/26/2018      CCOTH_02675                 PUTNAM MOTORS INC                     PO BOX 15756
           BILLFINANCING LOAN AGREEMENT                                                                                                FRANK VIGIL
                                                                                                                                       SANTA FE, NM 87592

2. 5025    REAL PROPERTY LEASE - 8651                5/31/2021       CCCRSLS_000                 PW FUND B LP                          PW FUND B LP
           MORRISON CREEK FOR GAS M&C                                    67                                                            555 CAPITOL MALL STE 900
                                                                                                                                       SACRAMENTO, CA 95814

2. 5026    REAL PROPERTY LEASE - GAS M&C              1/6/2020       CCCRSLS_000                 PW FUND B LP                          PW FUND B LP
           WAREHOUSE                                                     66                                                            555 CAPITOL MALL STE 900
                                                                                                                                       SACRAMENTO, CA 95814

2. 5027    GENERAL OFF-BILL AND ON-                  11/18/2020      CCOTH_02888                 QARU,SALIM - 1009 TERRA NOVA BLVD     PO BOX 1153
           BILLFINANCING LOAN AGREEMENT                                                                                                SOULSBYVILLE, CA 95372

2. 5028    GENERAL OFF-BILL AND ON-                  4/18/2021       CCOTH_02885                 QARU,SALIM - 230 REINA DEL MAR AVE    P.O. BOX 1153
           BILLFINANCING LOAN AGREEMENT                                                                                                SOULSBYVILLE, CA 95372

2. 5029    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00616                 QIAN PIETILA                          1222 SUSAN WAY
           ADVANCED HOME UPGRADE                                                                                                       SUNNYVALE, CA 94087
           (CUSTOM/CALCULATED)

2. 5030    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00876                 QIAOSHENG XUE                         33208 WESTERN AVE
                                                                                                                                       UNION CITY 94587

                                                                      Page 527 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 528
                                                                                of 649
Pacific Gas and Electric Company                                                                                                     Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date       Contract ID    Co-Debtor Name                                 Address
                                                    or Remaining
                                                        Term


2. 5031    GENERAL OFF-BILL AND ON-                   1/29/2020        CCOTH_01557                 QUAIL PARK @ EDH PHASE 1           12820 EARHART AVENUE
           BILLFINANCING LOAN AGREEMENT                                                                                               BRENT ESTES
                                                                                                                                      AUBURN, CA 95602

2. 5032    GENERAL OFF-BILL AND ON-                   4/19/2019        CCOTH_03136                 QUANTUM CLEAN LLC - 1712           10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                            RINGWOOD AVE                       SANTA FE SPRINGS, CA 90670

2. 5033    GENERAL OFF-BILL AND ON-                    6/2/2020        CCOTH_03137                 QUANTUM CLEAN LLC - 44010          1011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                            FREMONT BLVD                       SANTA FE SPRINGS, CA 90670

2. 5034    GENERAL OFF-BILL AND ON-                   9/30/2019        CCOTH_03135                 QUANTUM CLEAN LLC - 44050          10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                            FREMONT BLVD                       SANTA FE SPRINGS, CA 90670

2. 5035    2019 SCOPE OF WORK                         12/31/2019       CCOTH_03721                 QUANTUM ENERGY SERVICES (QUEST)    13303 BROADWAY STE 302
                                                                                                                                      OAKLAND, CA 94612

2. 5036    LICENSE AGREEMENT FOR ACCESS TO            4/20/2018*       CCNRD_02876                 QUANTUM SPATIAL INC.               1033 MLK STREET NORTH
           LIDAR DATABASES                           Automatically                                                                    SUITE 200
                                                   renews until one                                                                   ST. PETERSBURG, FL 33716
                                                   party requests to
                                                       terminate

2. 5037    GENERAL OFF-BILL AND ON-                   8/31/2020        CCOTH_02248                 QUARRY LANE SCHOOL INC - 1187      1725 RUTAN DRIVE
           BILLFINANCING LOAN AGREEMENT                                                            QUARRY LN                          LIVERMORE, CA 94552

2. 5038    GENERAL OFF-BILL AND ON-                   6/30/2019        CCOTH_02247                 QUARRY LANE SCHOOL INC - 6363      1725 RUTAN DRIVE
           BILLFINANCING LOAN AGREEMENT                                                            TASSAJARA RD                       LIVERMORE, CA 94551

2. 5039    INDUSTRIAL CALCULATED INCENTIVES -         Not Stated       CCOTH_03277                 QUEST                              1330 BROADWAY, SUITE 302
           CUSTOMIZED INCENTIVE PROGRAM                                                                                               OAKLAND, CA 94612

2. 5040    INDUSTRIAL CALCULATED INCENTIVES -         Not Stated       CCOTH_03278                 QUEST                              1330 BROADWAY, SUITE 302
           CUSTOMIZED INCENTIVE PROGRAM                                                                                               OAKLAND, CA 94612

2. 5041    WATER/SEWER AGREEMENT                      Not Stated       CCCRSOT_001                 QUINCY COMMUNITY SERVICE DEPT      QUINCY COMMUNITY SERVICE
                                                                           62                                                         DISTRICT
                                                                                                                                      900 SPANISH CREEK RD
                                                                                                                                      QUINCY, CA 95971




                                                                        Page 528 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907           Filed: 03/14/19 Entered: 03/14/19 23:07:35                  Page 529
                                                                                  of 649
Pacific Gas and Electric Company                                                                                                Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                              Address
                                                    or Remaining
                                                        Term


2. 5042    GENERAL OFF-BILL AND ON-                  2/12/2021       CCOTH_02051                 R N P INC DBA R N MARKET        10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                                                          SANTA FE SPRINGS, CA 90670

2. 5043    GENERAL OFF-BILL AND ON-                  7/31/2021       CCOTH_02561                 R& B WHOLESALE INC - 25425      10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          INDUSTRIAL BLVD                 SANTA FE SPRINGS, CA 90670

2. 5044    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00232                 R. F. MACDONALD COMPANY         1549 CUMMINS DR.
           DEEMED UPSTREAM / MIDSTREAM -                                                                                         MODESTO, CA 95356
           COMMERCIAL WATER

2. 5045    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03367                 R. L. DAVIDSON                  7600 N. INDGRAM STE. 232
           BY DESIGN WHOLE BUILDING                                                                                              FRESNO, CA 93711

2. 5046    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03377                 R. L. DAVIDSON INC.             7600 N. INGRAM AVE. #232
           BY DESIGN WHOLE BUILDING                                                                                              FRESNO, CA 93711

2. 5047    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00225                 R.F. MACDONALD CO               25920 EDEN LANDING ROAD
           DEEMED UPSTREAM / MIDSTREAM -                                                                                         HAYWARD, CA 94545
           COMMERCIAL WATER

2. 5048    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00226                 R.F. MACDONALD CO               25920 EDEN LANDING ROAD
           DEEMED UPSTREAM / MIDSTREAM -                                                                                         HAYWARD, CA 94545
           COMMERCIAL WATER

2. 5049    COMMERCIAL DEEMED INCENTIVES -            Not Stated      CCOTH_00227                 R.F. MACDONALD CO               25920 EDEN LANDING ROAD
           DEEMED UPSTREAM / MIDSTREAM -                                                                                         HAYWARD, CA 94545
           COMMERCIAL WATER

2. 5050    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03376                 R.L. DAVIDSON                   7600 N. INGRAM
           BY DESIGN WHOLE BUILDING                                                                                              FRESNO, CA 93711

2. 5051    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03373                 R.L. DAVIDSON, INC.             7600 N. INGRAM # 232
           BY DESIGN WHOLE BUILDING                                                                                              FRESNO, CA 93711

2. 5052    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01082                 RAAKESH PATEL                   1340 NORTH STATE STREET
                                                                                                                                 UKIAH 95482

2. 5053    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00738                 RACHEL DI FRANCO                6100 COMMERCE DR.
                                                                                                                                 FREMONT 94555


                                                                      Page 529 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35               Page 530
                                                                                of 649
Pacific Gas and Electric Company                                                                                      Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                    Address
                                                    or Remaining
                                                        Term


2. 5054    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00754                 RACHEL DI FRANCO      55 HACKAMORE LN
                                                                                                                       FREMONT 94539

2. 5055    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00786                 RACHEL DI FRANCO      5001 DEEP CREEK RD
                                                                                                                       FREMONT 94555

2. 5056    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00797                 RACHEL DI FRANCO      47300 FERNALD ST.
                                                                                                                       FREMONT 94539

2. 5057    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00798                 RACHEL DI FRANCO      47200 LAKEVIEW BLVD
                                                                                                                       FREMONT 94539

2. 5058    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00815                 RACHEL DI FRANCO      43600 S GRIMMER BLVD
                                                                                                                       FREMONT 94539

2. 5059    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00817                 RACHEL DI FRANCO      42551 OSGOOD RD.
                                                                                                                       FREMONT 94539

2. 5060    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00820                 RACHEL DI FRANCO      41885 BLACOW RD.
                                                                                                                       FREMONT 94538

2. 5061    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00821                 RACHEL DI FRANCO      41403 MISSION BLVD
                                                                                                                       FREMONT 94539

2. 5062    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00825                 RACHEL DI FRANCO      40700 CHAPEL WAY
                                                                                                                       FREMONT 94538

2. 5063    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00827                 RACHEL DI FRANCO      40500 PASEO PADRE PKWY
                                                                                                                       FREMONT 94538

2. 5064    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00828                 RACHEL DI FRANCO      40204 PASEO PADRE PKWY
                                                                                                                       FREMONT 94538

2. 5065    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00833                 RACHEL DI FRANCO      40086 PASEO PADRE PKWY
                                                                                                                       FREMONT 94538

2. 5066    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00839                 RACHEL DI FRANCO      39800 PASEO PADRE PKWY
                                                                                                                       FREMONT 94538



                                                                      Page 530 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35     Page 531
                                                                                of 649
Pacific Gas and Electric Company                                                                                               Case Number:         19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                             Address
                                                    or Remaining
                                                        Term


2. 5067    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00840                 RACHEL DI FRANCO               39770 PASEO PADRE PKWY
                                                                                                                                FREMONT 94538

2. 5068    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00841                 RACHEL DI FRANCO               39609 STEVENSON PL, FREMONT,
                                                                                                                                CA, 94539, USA
                                                                                                                                FREMONT 94538

2. 5069    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00842                 RACHEL DI FRANCO               39550 LIBERTY ST
                                                                                                                                FREMONT 94538

2. 5070    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00846                 RACHEL DI FRANCO               39100 LIBERTY ST.
                                                                                                                                FREMONT 94538

2. 5071    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00854                 RACHEL DI FRANCO               37592 NILES BLVD.
                                                                                                                                FREMONT 94536

2. 5072    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00863                 RACHEL DI FRANCO               35659 FREMONT BLVD
                                                                                                                                FREMONT 94536

2. 5073    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00872                 RACHEL DI FRANCO               3377 ALDER AVE.
                                                                                                                                FREMONT 94536

2. 5074    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00877                 RACHEL DI FRANCO               3300 CAPITOL AVE.
                                                                                                                                FREMONT 94538

2. 5075    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00990                 RACHEL DI FRANCO               2000 STEVENSON BLVD
                                                                                                                                FREMONT 94538

2. 5076    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01133                 RACHEL DI FRANCO               1000 PINE STREET
                                                                                                                                FREMONT 94539

2. 5077    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03428                 RAINFORTH GRAU ARCHITECTS      2407 J ST STE 202
           BY DESIGN WHOLE BUILDING                                                                                             SACRAMENTO, CA 95816

2. 5078    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03431                 RAINFORTH GRAU ARCHITECTS      2407 J STREET SUITE 300
           BY DESIGN WHOLE BUILDING                                                                                             SACRAMENTO, CA 95816

2. 5079    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03432                 RAINFORTH GRAU ARCHITECTS      2407 J STREET, SUITE 300
           BY DESIGN WHOLE BUILDING                                                                                             SACRAMENTO, CA 95816

                                                                      Page 531 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 532
                                                                                of 649
Pacific Gas and Electric Company                                                                                                       Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                    Address
                                                    or Remaining
                                                        Term


2. 5080    GENERAL OFF-BILL AND ON-                  10/11/2020      CCOTH_02466                 RALEY'S INC - 1280 W LATHROP RD -      500 W CAPITAL AVE
           BILLFINANCING LOAN AGREEMENT                                                          MANTECA                                WEST SACRAMENTO, CA 95605

2. 5081    GENERAL OFF-BILL AND ON-                  1/10/2020       CCOTH_03017                 RALEY'S INC - 13386 LINCOLN WAY        500 W CAPITAL AVE
           BILLFINANCING LOAN AGREEMENT                                                                                                 WEST SACRAMENTO, CA 95605

2. 5082    GENERAL OFF-BILL AND ON-                  11/10/2019      CCOTH_02790                 RALEY'S INC - 157 N MCDOWELL BLVD -    500 W CAPITAL AVE
           BILLFINANCING LOAN AGREEMENT                                                          PETALUMA                               WEST SACRAMENTO, CA 95605

2. 5083    GENERAL OFF-BILL AND ON-                  4/10/2020       CCOTH_02645                 RALEY'S INC - 1601 W CAPITOL AVE       500 W CAPITAL AVE
           BILLFINANCING LOAN AGREEMENT                                                                                                 WEST SACRAMENTO, CA 95605

2. 5084    GENERAL OFF-BILL AND ON-                   7/3/2020       CCOTH_03166                 RALEY'S INC - 211 W EAST AVE           1031 E RIVERVIEW DR.
           BILLFINANCING LOAN AGREEMENT                                                                                                 PHOENIX, AZ 85034

2. 5085    GENERAL OFF-BILL AND ON-                  4/11/2020       CCOTH_02669                 RALEY'S INC - 217 SOSCOL AVE - NAPA    500 W CAPITAL AVE
           BILLFINANCING LOAN AGREEMENT                                                                                                 WEST SACRAMENTO, CA 95605

2. 5086    GENERAL OFF-BILL AND ON-                  12/10/2020      CCOTH_02391                 RALEY'S INC - 2325 SPENCER AVE -       500 W CAPITAL AVE
           BILLFINANCING LOAN AGREEMENT                                                          OROVILLE                               WEST SACRAMENTO, CA 95605

2. 5087    GENERAL OFF-BILL AND ON-                  6/10/2020       CCOTH_01929                 RALEY'S INC - 2400 SAND CREEK RD -     500 W CAPITAL AVE
           BILLFINANCING LOAN AGREEMENT                                                          BRENTWOOD                              WEST SACRAMENTO, CA 95605

2. 5088    GENERAL OFF-BILL AND ON-                  10/10/2020      CCOTH_02664                 RALEY'S INC - 2550 S TRACY BLVD        500 W CAPITAL AVE
           BILLFINANCING LOAN AGREEMENT                                                                                                 WEST SACRAMENTO, CA 95605

2. 5089    GENERAL OFF-BILL AND ON-                  9/14/2019       CCOTH_01688                 RALEY'S INC - 3007 TRAVIS BLVD -       1031 EAST RIVERVIEW DRIVE
           BILLFINANCING LOAN AGREEMENT                                                          FAIRFIELD                              PHOENIX, AZ 85034

2. 5090    GENERAL OFF-BILL AND ON-                  9/30/2019       CCOTH_01697                 RALEY'S INC - 3061 ALAMO DR -          1031 EAST RIVERVIEW DRIVE
           BILLFINANCING LOAN AGREEMENT                                                          VACAVILLE                              PHOENIX, AZ 85034

2. 5091    GENERAL OFF-BILL AND ON-                  5/17/2019       CCOTH_01687                 RALEY'S INC - 3330 N TEXAS ST -        1031 RIVERVIEW DRIVE
           BILLFINANCING LOAN AGREEMENT                                                          FAIRFIELD                              PHOENIX, AZ 85034

2. 5092    GENERAL OFF-BILL AND ON-                  3/10/2020       CCOTH_02934                 RALEY'S INC - 353 W MAIN ST            500 W CAPITAL AVE
           BILLFINANCING LOAN AGREEMENT                                                                                                 WEST SACRAMENTO, CA 95605



                                                                      Page 532 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                     Page 533
                                                                                of 649
Pacific Gas and Electric Company                                                                                                      Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                    Address
                                                    or Remaining
                                                        Term


2. 5093    GENERAL OFF-BILL AND ON-                  4/19/2021       CCOTH_02579                 RALEY'S INC - 3550 G ST - MERCED      1031 EAST RIVERVIEW DRIVE
           BILLFINANCING LOAN AGREEMENT                                                                                                PHOENIX, AZ 85034

2. 5094    GENERAL OFF-BILL AND ON-                  12/11/2019      CCOTH_01240                 RALEY'S INC - 39 LINCOLN BLVD         500 W CAPITAL AVE
           BILLFINANCING LOAN AGREEMENT                                                                                                WEST SACRAMENTO, CA 95605

2. 5095    GENERAL OFF-BILL AND ON-                  2/12/2020       CCOTH_02572                 RALEY'S INC - 3950 PARK DR - EL       500 W CAPITAL AVE
           BILLFINANCING LOAN AGREEMENT                                                          DORADO HILLS                          WEST SACRAMENTO, CA 95605

2. 5096    GENERAL OFF-BILL AND ON-                  10/10/2019      CCOTH_02936                 RALEY'S INC - 4255 MORADA LN -        500 W CAPITAL AVE
           BILLFINANCING LOAN AGREEMENT                                                          STOCKTON                              WEST SACRAMENTO, CA 95605

2. 5097    GENERAL OFF-BILL AND ON-                  5/10/2020       CCOTH_02665                 RALEY'S INC - 451 VINEYARD TOWN       500 W CAPITAL AVE
           BILLFINANCING LOAN AGREEMENT                                                          CTR                                   WEST SACRAMENTO, CA 95605

2. 5098    GENERAL OFF-BILL AND ON-                  7/10/2020       CCOTH_02668                 RALEY'S INC - 5420 SUNOL BLVD         500 W CAPITAL AVE
           BILLFINANCING LOAN AGREEMENT                                                                                                WEST SACRAMENTO, CA 95605

2. 5099    GENERAL OFF-BILL AND ON-                  4/15/2020       CCOTH_01239                 RALEY'S INC - 6119 HORSESHOE BAR      1031 E RIVERVIEW DR.
           BILLFINANCING LOAN AGREEMENT                                                          RD                                    PHOENIX, AZ 85034

2. 5100    GENERAL OFF-BILL AND ON-                  8/10/2020       CCOTH_02477                 RALEY'S INC - 6847 DOUGLAS BLVD -     500 W CAPITAL AVE
           BILLFINANCING LOAN AGREEMENT                                                          GRANITE BAY                           WEST SACRAMENTO, CA 95605

2. 5101    GENERAL OFF-BILL AND ON-                  12/10/2019      CCOTH_02577                 RALEY'S INC - 692 FREEMAN LN -        500 W CAPITAL AVE
           BILLFINANCING LOAN AGREEMENT                                                          GRASS VALLEY                          WEST SACRAMENTO, CA 95605

2. 5102    GENERAL OFF-BILL AND ON-                  8/10/2020       CCOTH_02393                 RALEY'S INC - 725 S MAIN ST           500 W CAPITAL AVE
           BILLFINANCING LOAN AGREEMENT                                                                                                WEST SACRAMENTO, CA 95605

2. 5103    SELF-GENERATION INCENTIVE                 Not Stated      CCOTH_03510                 RAMA RANGANATH                        1 BERKE CT
           PROGRAM                                                                                                                      TIBURON, CA 94920

2. 5104    SMARTAC                                   Not Stated      CCOTH_03597                 RAMIREZ CASILLA,RODOLFO               1415 VENTURA AVE
                                                                                                                                       CORCORAN, CA 93212

2. 5105    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00745                 RAMON KHU                             5900 OPTICAL COURT
                                                                                                                                       SAN JOSE 95138



                                                                      Page 533 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                     Page 534
                                                                                of 649
Pacific Gas and Electric Company                                                                                                      Case Number:       19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                   Address
                                                    or Remaining
                                                        Term


2. 5106    GENERAL OFF-BILL AND ON-                   5/9/2019       CCOTH_01510                 RAMOS OIL CO. INC                     PO BOX 406
           BILLFINANCING LOAN AGREEMENT                                                                                                ALAMO, CA 94507

2. 5107    GENERAL OFF-BILL AND ON-                  6/17/2019       CCOTH_01511                 RAMOS OIL CO., INC                    PO BOX 406
           BILLFINANCING LOAN AGREEMENT                                                                                                ALAMO, CA 94507

2. 5108    GENERAL OFF-BILL AND ON-                  2/10/2019       CCOTH_01881                 RAMOS OIL CO., INC                    PO BOX 406
           BILLFINANCING LOAN AGREEMENT                                                                                                ALAMO, CA 94507

2. 5109    GENERAL OFF-BILL AND ON-                  7/11/2019       CCOTH_01887                 RAMOS OIL CO., INC.                   PO BOX 406,
           BILLFINANCING LOAN AGREEMENT                                                                                                ALAMO, CA 94507

2. 5110    GENERAL OFF-BILL AND ON-                  11/10/2018      CCOTH_02927                 RAMOS OIL CO., INC.                   PO BOX 406
           BILLFINANCING LOAN AGREEMENT                                                                                                ALAMO, CA 94507

2. 5111    SINGLE-FAMILY AFFORDABLE SOLAR            Not Stated      CCOTH_03570                 RAMOS,JOSE                            150 2ND ST
           HOMES (SASH)                                                                                                                 RICHMOND, CA 94801

2. 5112    GENERAL OFF-BILL AND ON-                   2/5/2021       CCOTH_01340                 RAPS HAYWARD LLC                      2532 CASTRO VALLEY BLVD
           BILLFINANCING LOAN AGREEMENT                                                                                                CASTRO VALLEY, CA 94546

2. 5113    GENERAL OFF-BILL AND ON-                  10/13/2018      CCOTH_02139                 RAPS HAYWARD LLC DBA VAGABOND         2532 CASTRO VALLEY BLVD.
           BILLFINANCING LOAN AGREEMENT                                                          INN                                   CASTRO VALLEY, CA 94546

2. 5114    GENERAL OFF-BILL AND ON-                  12/31/2023      CCOTH_01232                 RASHID,BASEL - 1148 MARTIN LUTHER     736 MARIPOSA RD BLDG F
           BILLFINANCING LOAN AGREEMENT                                                          KING ST                               MODESTO, CA 95354

2. 5115    GENERAL OFF-BILL AND ON-                  8/25/2021       CCOTH_02596                 RAT PETROLEM INC - 17005 CONDIT RD    1111, W.EL CAMINO REAL,
           BILLFINANCING LOAN AGREEMENT                                                                                                STE 135
                                                                                                                                       SUNNYVALE, CA 94087

2. 5116    GENERAL OFF-BILL AND ON-                  8/10/2019       CCOTH_01839                 RATRA ENTERPRISES                     358 E. FOOTHILL BLVD, SUITE 300
           BILLFINANCING LOAN AGREEMENT                                                                                                SAN DIMAS, CA 91773

2. 5117    GENERAL OFF-BILL AND ON-                  8/28/2021       CCOTH_03179                 RAVEN,CODY - 4109 E CONEJO AVE        7405 E. ELKHORN AVE.
           BILLFINANCING LOAN AGREEMENT                                                                                                SELMA, CA 93662

2. 5118    GENERAL OFF-BILL AND ON-                   5/2/2019       CCOTH_02116                 RAVINDER RAI DBA I-5 OASIS VALERO     3633 NORWOOD AVENUE
           BILLFINANCING LOAN AGREEMENT                                                                                                SAN JOSE, CA 95148

                                                                      Page 534 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 535
                                                                                of 649
Pacific Gas and Electric Company                                                                                                      Case Number:        19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                   Address
                                                    or Remaining
                                                        Term


2. 5119    CALIFORNIA COMMUNITY COLLEGES -           Not Stated      CCOTH_00091                 RAY PYLE                              500 COURT STREET
           SAVINGS BY DESIGN WHOLE BUILDING                                                                                            MARTINEZ, CA 94553

2. 5120    CALIFORNIA COMMUNITY COLLEGES -           Not Stated      CCOTH_00092                 RAY PYLE                              500 COURT STREET
           SAVINGS BY DESIGN WHOLE BUILDING                                                                                            MARTINEZ, CA 94553

2. 5121    GENERAL OFF-BILL AND ON-                  2/12/2020       CCOTH_02052                 RAYMOND CHUN DBA R-N MARKET-          10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          PARLIER                               SANTA FE SPRINGS, CA 90670

2. 5122    GENERAL OFF-BILL AND ON-                  3/23/2023       CCOTH_02554                 RAYMOND VINEYARD & CELLAR             6644 N HIGHLAND
           BILLFINANCING LOAN AGREEMENT                                                          INCORPORATED - 849 ZINFA              CLOVIS, CA 93619

2. 5123    GENERAL OFF-BILL AND ON-                  9/30/2020       CCOTH_01246                 RB HOSPITALITY INC - 6680 REGIONAL    27363 VIA INDUSTRIA
           BILLFINANCING LOAN AGREEMENT                                                          ST                                    TEMECULA, CA 92590

2. 5124    REAL PROPERTY LEASE - FAIRFIELD           12/31/2023      CCCRSLS_000                 REALTY INCOME CORPORATION             REALTY INCOME CORPORATION,
           COMPUTER CENTER (FFIOC)                                       28                                                            REALTY INCOME PROPERTIES 15
                                                                                                                                       LLC,
                                                                                                                                       SAN DIEGO, CA

2. 5125    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00510                 REBECCA SAXTON                        20 EL CERRITO DR
           ADVANCED HOME UPGRADE                                                                                                       CHICO, CA 95973
           (CUSTOM/CALCULATED)

2. 5126    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01126                 REBECCA SCHENCK                       101 AND 96 SHEEHY CRT (NEW
                                                                                                                                       CONSTRUCTION)
                                                                                                                                       NAPA 94559

2. 5127    GENERAL OFF-BILL AND ON-                   1/7/2026       CCOTH_02845                 RECLAMATION DISTRICT 501 - HWY 84     3554 STATE HWY 84
           BILLFINANCING LOAN AGREEMENT                                                          E/S WALNUT GROVE                      WALNUT GROVE, CA 95690

2. 5128    INDUSTRIAL CALCULATED INCENTIVES -        Not Stated      CCOTH_03301                 RECOLOGY                              1 TOWN SQUARE PLACE SUITE 200
           CUSTOMIZED INCENTIVE PROGRAM                                                                                                VACAVILLE, CA 95688

2. 5129    DEBRIS BOX                                Not Stated      CCCRSOT_001                 RECOLOGY AUBURN PLACER                RECOLOGY AUBURN PLACER
                                                                         63                                                            AUBURN, CA

2. 5130    GARBAGE/COMPOST/RECYCLING                 Not Stated      CCCRSOT_001                 RECOLOGY GOLDEN GATE                  RECOLOGY GOLDEN GATE
           AGREEMENT                                                     67                                                            250 EXECUTIVE PARK BLVD STE 21
                                                                                                                                       SAN FRANCISCO, CA

                                                                      Page 535 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                 Page 536
                                                                                of 649
Pacific Gas and Electric Company                                                                                                 Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                              Address
                                                    or Remaining
                                                        Term


2. 5131    RECYCLING AGREEMENT                       Not Stated      CCCRSOT_001                 RECOLOGY GOLDEN GATE             RECOLOGY GOLDEN GATE,
                                                                         66                                                       DEBRIS SERVICE,
                                                                                                                                  SAN FRANCISCO, CA

2. 5132    WOOD/FUELS/FREIGHT AGREEMENT              Not Stated      CCCRSOT_001                 RECOLOGY GROVER ENVIRONMENTAL    RECOLOGY GROVER
                                                                         64                                                       ENVIRONMENTAL PROD
                                                                                                                                  235 N FIRST ST
                                                                                                                                  DIXON, CA 95620

2. 5133    GARBAGE AGREEMENT                         Not Stated      CCCRSOT_001                 RECOLOGY HUMBOLDT COUNTY         RECOLOGY HUMBOLDT COUNTY
                                                                         68                                                       949 W HAWTHORNE ST
                                                                                                                                  EUREKA, CA 95501

2. 5134    GARBAGE AGREEMENT                         Not Stated      CCCRSOT_001                 RECOLOGY MARIPOSA                RECOLOGY MARIPOSA
                                                                         69                                                       235 N FIRST ST
                                                                                                                                  DIXON, CA 95620

2. 5135    DEBRIS BOX                                Not Stated      CCCRSOT_001                 RECOLOGY SAN MATEO COUNTY        RECOLOGY SAN MATEO COUNTY
                                                                         70                                                       225 SHOREWAY RD
                                                                                                                                  SAN CARLOS, CA 94070

2. 5136    RECYCLING AGREEMENT                       Not Stated      CCCRSOT_001                 RECOLOGY SONOMA MARIN            RECOLOGY SONOMA MARIN,
                                                                         71                                                       RECOLOGY SANTA ROSA,
                                                                                                                                  SANTA ROSA, CA

2. 5137    GARBAGE/RECYCLING AGREEMENT               Not Stated      CCCRSOT_001                 RECOLOGY SOUTH BAY               RECOLOGY SOUTH BAY, DBA
                                                                         72                                                       RECOLOGY SILICON VALLEY,
                                                                                                                                  650 MARTIN AVE
                                                                                                                                  SANTA CLARA, CA 95050

2. 5138    SERVICE AGREEMENT                         Not Stated      CCCRSOT_001                 RECOLOGY SOUTH VALLEY            RECOLOGY SOUTH VALLEY
                                                                         73                                                       1351 PACHECO PASS HWY
                                                                                                                                  GILROY, CA

2. 5139    DEBRIS BOX                                Not Stated      CCCRSOT_001                 RECOLOGY SUNSET SCAVENGER CO     SUNSET SCAVENGER COMPANY,
                                                                         74                                                       DBA RECOLOGY SUNSET
                                                                                                                                  SCAVENGER,
                                                                                                                                  250 EXECUTIVE PARK BLVD STE
                                                                                                                                  2100
                                                                                                                                  SAN FRANCISCO, CA



                                                                      Page 536 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 537
                                                                                of 649
Pacific Gas and Electric Company                                                                                               Case Number:       19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                             Address
                                                    or Remaining
                                                        Term


2. 5140    SERVICE AGREEMENT                         Not Stated      CCCRSOT_001                 RECOLOGY VACAVILLE SOLANO      RECOLOGY VACAVILLE SOLANO
                                                                         75                                                     1 TOWN SQUARE PL
                                                                                                                                VACAVILLE, CA 95688

2. 5141    DEBRIS BOX                                Not Stated      CCCRSOT_001                 RECOLOGY VALLEJO               RECOLOGY VALLEJO
                                                                         76                                                     2021 BROADWAY
                                                                                                                                VALLEJO, CA 94589

2. 5142    SERVICE AGREEMENT                         Not Stated      CCCRSOT_001                 RECOLOGY YUBA-SUTTER           RECOLOGY YUBA SUTTER,
                                                                         77                                                     DEBRIS BOX SERVICE,
                                                                                                                                3001 N LEVEE RD
                                                                                                                                MARYSVILLE, CA 95901

2. 5143    DEBRIS BOX                                Not Stated      CCCRSOT_001                 RECOLOGY-BUTTE COLUSA          RECOLOGY BUTTE COLUSA
                                                                         65                                                     COUNTIES, COUNTY INC
                                                                                                                                2720 S 5TH AVE
                                                                                                                                OROVILLE, CA 95965

2. 5144    MASTER SERVICES AGREEMENT                 7/26/2023       CCNRD_02798                 RED & WHITE FLEET              45 PIER 45
           PERMITTING CUSTOMER TO ENTER                                                                                         SHED C
           INTO ENERGY EFFICIENCY CONTRACTS                                                                                     SAN FRANCISCO, CA 94133
           (WORK ORDERS) WITH PG&E

2. 5145    WATER/SEWER AGREEMENT                     Not Stated      CCCRSOT_001                 RED BLUFF, CITY OF             CITY OF RED BLUFF
                                                                         78                                                     555 WASHINGTON ST
                                                                                                                                RED BLUFF, CA 96080

2. 5146    AGRICULTURAL CALCULATED                   Not Stated      CCOTH_00062                 RED DIAMOND COOLING, INC       2102 SINTON ROAD
           INCENTIVES - RETRO COMMISSIONING                                                                                     SANTA MARIA, CA 93458
           (RCX)

2. 5147    WATER/SEWER/GARBAGE/FIRE/ELECTRI          Not Stated      CCCRSOT_001                 REDDING, CITY OF               CITY OF REDDING
           C AGREEMENT                                                   79                                                     REDDING, CA

2. 5148    SERVICE AGREEMENT                         Not Stated      CCCRSOT_001                 REDROCK ENVIRONMENTAL          CAGLIA ENVIRONMENTAL LLC,
                                                                         80                                                     DBA RED ROCK ENVIRONMENTAL
                                                                                                                                GROUP,
                                                                                                                                CHOWCHILLA, CA




                                                                      Page 537 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 538
                                                                                of 649
Pacific Gas and Electric Company                                                                                                   Case Number:        19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 5149    WATER AGREEMENT                           Not Stated      CCCRSOT_001                 REDWOOD CITY, CITY OF              CITY OF REDWOOD CITY
                                                                         81                                                         DEPT 1201
                                                                                                                                    LOS ANGELES, CA

2. 5150    GENERAL OFF-BILL AND ON-                  11/20/2019      CCOTH_02798                 REDWOOD COAST ENERGY AUTHORITY 633 3RD STREET
           BILLFINANCING LOAN AGREEMENT                                                                                         MATHEW MARSHALL, EXECUTIVE
                                                                                                                                DIRECTOR
                                                                                                                                EUREKA, CA 95501

2. 5151    GENERAL OFF-BILL AND ON-                  12/7/2028       CCOTH_02862                 REDWOOD COAST MONTESSORI - 1611    3375 CINDY LANE
           BILLFINANCING LOAN AGREEMENT                                                          PENINSULA DR                       EUREKA, CA 95501

2. 5152    GENERAL OFF-BILL AND ON-                  4/11/2023       CCOTH_02566                 REDWOOD DAY SCHOOL - 3245          6644 N. HIGHLAND
           BILLFINANCING LOAN AGREEMENT                                                          SHEFFIELD AVE - OAKLAND            CLOVIS, CA 93619

2. 5153    GENERAL OFF-BILL AND ON-                  2/19/2021       CCOTH_02883                 REDWOOD VLY CALPELLA FIRE          PO BOX 385
           BILLFINANCING LOAN AGREEMENT                                                          DISTRICT - 8481 EAST RD            REDWOOD VALLEY, CA 95470

2. 5154    UNIVERSITY OF                             Not Stated      CCOTH_03632                 REGENTS OF THE UNIVERSITY OF       ONE SHIELDS AVE
           CALIFORNIA/CALIFORNIA STATE                                                           CALIFORNIA                         DAVIS, CA 95616
           UNIVERSITY - CUSTOMIZED RETROFIT

2. 5155    UNIVERSITY OF                             Not Stated      CCOTH_03635                 REGENTS OF THE UNIVERSITY OF       1111 FRANKLIN STREET, ROOM
           CALIFORNIA/CALIFORNIA STATE                                                           CALIFORNIA                         6207 ATTN CHA
           UNIVERSITY - CUSTOMIZED RETROFIT                                                                                         OAKLAND, CA 94607

2. 5156    UNIVERSITY OF                             Not Stated      CCOTH_03636                 REGENTS OF THE UNIVERSITY OF       1111 FRANKLIN STREET, ROOM
           CALIFORNIA/CALIFORNIA STATE                                                           CALIFORNIA                         6207 ATTN CHA
           UNIVERSITY - CUSTOMIZED RETROFIT                                                                                         OAKLAND, CA 94607

2. 5157    UNIVERSITY OF                             Not Stated      CCOTH_03643                 REGENTS OF THE UNIVERSITY OF       1111 FRANKLIN ST, RM 6207
           CALIFORNIA/CALIFORNIA STATE                                                           CALIFORNIA                         OAKLAND, CA 94607
           UNIVERSITY - MBCX

2. 5158    2018 AFFILIATE MEMBERSHIP -               12/31/2018      CCOTH_03800                 REGENTS OF THE UNIVERSITY OF       633 PENA DRIVE
            CALIFORNIA LIGHTING TECHNOLOGY                                                       CALIFORNIAUNIVERSITY OF            DAVIS, CA 95618
           CENTER                                                                                CALIFORNIA, DAVIS




                                                                      Page 538 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                 Page 539
                                                                                of 649
Pacific Gas and Electric Company                                                                                                   Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                 Address
                                                    or Remaining
                                                        Term


2. 5159    2018 AFFILIATE MEMBERSHIP -               12/31/2018      CCOTH_03801                 REGENTS OF THE UNIVERSITY OF       ONE SHIELDS AVENUE
            CENTER FOR WATER ENERGY                                                              CALIFORNIAUNIVERSITY OF            DAVIS, CA 95616
           EFFICIENCY                                                                            CALIFORNIA, DAVIS

2. 5160    2018 AFFILIATE MEMBERSHIP -               12/31/2018      CCOTH_03799                 REGENTS OF THE UNIVERSITY OF       ONE SHIELDS AVENUE
            WESTERN COOLING EFFICIENCY                                                           CALIFORNIAUNIVERSITY OF            DAVIS, CA 95616
           CENTER                                                                                CALIFORNIA, DAVIS

2. 5161    GENERAL OFF-BILL AND ON-                   4/7/2021       CCOTH_01281                 REGIONAL ARTISANS ASSOCIATION -    1855 41ST AVE STE J10
           BILLFINANCING LOAN AGREEMENT                                                          1855 41ST AVE STE                  CAPITOLA, CA 95010

2. 5162    GENERAL OFF-BILL AND ON-                  4/18/2021       CCOTH_03235                 RELIANCE INDIAN GROCERY INC -      1111 W EL CAMINO REAL STE.135
           BILLFINANCING LOAN AGREEMENT                                                          46121 WARM SPRINGS B               SUNNYVALE, CA 94087

2. 5163    SMARTAC                                   Not Stated      CCOTH_03595                 REMMICK,RAY E                      21385 DAWNRIDGE DR N
                                                                                                                                    COLFAX, CA 95713

2. 5164    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00965                 RENAUD DES ROSIERS                 2330 NORTHPOINT PKWY
                                                                                                                                    SANTA ROSA 95407

2. 5165    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00496                 RENE J TAILLAC                     5243 WESTRIDGE AVE
           ADVANCED HOME UPGRADE                                                                                                    AUBURN, CA 95602
           (CUSTOM/CALCULATED)

2. 5166    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00782                 RENEE BETTENCOURT                  500 W. MIDDLEFIELD ROAD
                                                                                                                                    MOUNTAIN VIEW 94043

2. 5167    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01019                 RENEE SHELTON                      1800 LACASSIE AVENUE
                                                                                                                                    WALNUT CREEK 94596

2. 5168    RECYCLING AGREEMENT                       Not Stated      CCCRSOT_001                 REPUBLIC SERVICES                  DELTA CONTAINER CORP, ALLIED
                                                                         83                                                         WASTE SERVICES 208,
                                                                                                                                    1145 W CHARTER WAY
                                                                                                                                    STOCKTON, CA 95206

2. 5169    RECYCLING AGREEMENT                       Not Stated      CCCRSOT_001                 REPUBLIC SERVICES                  REPUBLIC SERVICES INC
                                                                         89                                                         18500 N ALLIED WAY
                                                                                                                                    PHOENIX, AZ 85054




                                                                      Page 539 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                  Page 540
                                                                                of 649
Pacific Gas and Electric Company                                                                                                  Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 5170    RECYCLING AGREEMENT                       Not Stated      CCCRSOT_001                 REPUBLIC SERVICES/ALLIED WASTE    ALLIED WASTE OF NORTH
                                                                         85                                                        AMERICA LLC, ALLIED WASTE OF
                                                                                                                                   ALAMEDA COUNTY,
                                                                                                                                   PHOENIX, AZ

2. 5171    RECYCLING AGREEMENT                       Not Stated      CCCRSOT_001                 REPUBLIC SERVICES/ALLIED WASTE    ALLIED WASTE SVCS OF NO
                                                                         88                      SERVICES                          AMERICA LLC, REPUBLIC
                                                                                                                                   SERVICES OF SALINAS,
                                                                                                                                   18500 N ALLIED WAY
                                                                                                                                   PHOENIX, AZ 85054

2. 5172    SERVICE AGREEMENT                         Not Stated      CCCRSOT_001                 REPUBLIC SERVICES/ALLIED WASTE    ALLIED WASTE SERVICES
                                                                         82                      SERVICES                          441 N BUCHANAN CIRCLE
                                                                                                                                   PACHECO, CA

2. 5173    SERVICE AGREEMENT                         Not Stated      CCCRSOT_001                 REPUBLIC SERVICES/ALLIED WASTE    ALLIED WASTE SERVICES OF NA
                                                                         84                      SERVICES                          LLC, DBA ALLIED WASTE
                                                                                                                                   SERVICES OF FRESNO,
                                                                                                                                   5501 N GOLDEN STATE BLVD.
                                                                                                                                   FRESNO, CA 93722

2. 5174    RECYCLING AGREEMENT                       Not Stated      CCCRSOT_001                 REPUBLIC SERVICES/RICHMOND        RICHMOND SANITARY SERVICE
                                                                         86                      SANITARY SERVICE                  3260 BLUME DR
                                                                                                                                   RICHMOND, CA 94806

2. 5175    SERVICE AGREEMENT                         Not Stated      CCCRSOT_001                 REPUBLIC SERVICES/SOLANO          SOLANO GARBAGE CO #846
                                                                         87                      GARBAGE CO #846                   PHOENIX, AZ

2. 5176    2019 NEW BUSINESS PROJECT                 3/31/2020       CCOTH_03817                 RESEARCH DATA ANALYSIS, INC.      RESEARCH DATA ANALYSIS, ATTN
           SATISFACTION SURVEY                                                                                                     ACCOUNTS RECEIVABLE,
                                                                                                                                   450 ENTERPRISE CT
                                                                                                                                   BLOOMFIELD HILLS, MI 48302

2. 5177    2019 PLANNED INTERRUPTION SURVEY          3/31/2020       CCOTH_03818                 RESEARCH DATA ANALYSIS, INC.      RESEARCH DATA ANALYSIS, ATTN
           (PIS)                                                                                                                   ACCOUNTS RECEIVABLE,
                                                                                                                                   450 ENTERPRISE CT
                                                                                                                                   BLOOMFIELD HILLS, MI 48302

2. 5178    TOU TRANSITION PHASE 1 MEO AND            9/15/2019       CCOTH_03814                 RESEARCH INTO ACTION              RESEARCH INTO ACTION INC
           EXPERIENCE TRACKER                                                                                                      3934 NE M LUTHER KING JR
                                                                                                                                   BLVD#203
                                                                                                                                   PORTLAND, OR
                                                                      Page 540 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                 Page 541
                                                                                of 649
Pacific Gas and Electric Company                                                                                                      Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                    Address
                                                    or Remaining
                                                        Term


2. 5179    DEFAULT TIME OF USE PILOT PROCESS         3/31/2019       CCOTH_00001                 RESEARCH INTO ACTION INC              3934 NE M LUTHER KING JR BLVD
           EVALUATION                                                                                                                  #203
                                                                                                                                       PORTLAND, OREGON

2. 5180    SERVICES AGREEMENT                        12/31/2018      CCOTH_03737                 RESOURCE REFOCUS                      1065 MIDDLE AVE
                                                                                                                                       MENLO PARK, CA 94025

2. 5181    SERVICES AGREEMENT                        1/31/2020       CCOTH_03749                 RESOURCE REFOCUS                      1065 MIDDLE AVE
                                                                                                                                       MENLO PARK, CA 94025

2. 5182    SERVICES AGREEMENT                        1/31/2020       CCOTH_03750                 RESOURCE REFOCUS                      1065 MIDDLE AVE
                                                                                                                                       MENLO PARK, CA 94025

2. 5183    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00497                 REX TOWNSEND                          11503 MOUNT VERNON WAY
           ADVANCED HOME UPGRADE                                                                                                       AUBURN, CA 95603
           (CUSTOM/CALCULATED)

2. 5184    RHA TECH CONTRACT FOR ESA                 12/31/2019      CCOTH_03827                 RHA                                   590 WEST LOCUST AVE, SUITE 103
                                                                                                                                       FRESNO, CA 93650

2. 5185    GENERAL OFF-BILL AND ON-                  12/16/2022      CCOTH_02398                 RI BERKELEY, LLC - 901 GILMAN ST      PO BOX 41339
           BILLFINANCING LOAN AGREEMENT                                                                                                SANTA BARBARA, CA 93140

2. 5186    GENERAL OFF-BILL AND ON-                  2/13/2020       CCOTH_01693                 RIBEIRO CALIFORNIA LLC                12820 EARHART AVE.
           BILLFINANCING LOAN AGREEMENT                                                                                                BRENT ESTES
                                                                                                                                       AUBURN, CA 95820

2. 5187    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00859                 RICARDO SAMANIEGO                     3655 NORTH FIRST
                                                                                                                                       SAN JOSE 95134

2. 5188    REAL PROPERTY LEASE - OLIVEHURST          8/31/2022       CCCRSLS_001                 RICE AIRPORT OPERATIONS LLC           RICE AIRPORT OPERATIONS LLC
           T-LINE PROJECT MANAGEMENT                                     06                                                            4509 SKY WAY DR
           OFFICE/YARD                                                                                                                 OLIVEHURST, CA 95961

2. 5189    REAL PROPERTY LEASE - CASSEL              2/28/2022       CCCRSLS_000                 RICHARD F HATHAWAY JR.                RICHARD F HATHAWAY JR
           HYDRO WAREHOUSE                                               99                                                            19599 HWY 89
                                                                                                                                       HAT CREEK, CA 96040

2. 5190    2019 RHA ESA IMPLEMENTATION               12/31/2019      CCOTH_00014                 RICHARD HEATH & ASSOCIATES INC        590 WEST LOCUST AVE SUITE 103
                                                                                                                                       FRESNO, CA 93650

                                                                      Page 541 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                     Page 542
                                                                                of 649
Pacific Gas and Electric Company                                                                                                   Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 5191    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00555                 RICHARD YOUNG AIR CONDITIONING     25 WEST G STREET
           ADVANCED HOME UPGRADE                                                                                                    LOS BANOS, CA 93635
           (CUSTOM/CALCULATED)

2. 5192    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00556                 RICHARD YOUNG AIR CONDITIONING     25 WEST G STREET
           ADVANCED HOME UPGRADE                                                                                                    LOS BANOS, CA 93635
           (CUSTOM/CALCULATED)

2. 5193    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00557                 RICHARD YOUNG AIR CONDITIONING     25 WEST G STREET
           ADVANCED HOME UPGRADE                                                                                                    LOS BANOS, CA 93635
           (CUSTOM/CALCULATED)

2. 5194    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00558                 RICHARD YOUNG AIR CONDITIONING     25 WEST G STREET
           ADVANCED HOME UPGRADE                                                                                                    LOS BANOS, CA 93635
           (CUSTOM/CALCULATED)

2. 5195    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00559                 RICHARD YOUNG AIR CONDITIONING     25 WEST G STREET
           ADVANCED HOME UPGRADE                                                                                                    LOS BANOS, CA 93635
           (CUSTOM/CALCULATED)

2. 5196    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00560                 RICHARD YOUNG AIR CONDITIONING     25 WEST G STREET
           ADVANCED HOME UPGRADE                                                                                                    LOS BANOS, CA 93635
           (CUSTOM/CALCULATED)

2. 5197    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00561                 RICHARD YOUNG AIR CONDITIONING     25 WEST G STREET
           ADVANCED HOME UPGRADE                                                                                                    LOS BANOS, CA 93635
           (CUSTOM/CALCULATED)

2. 5198    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00609                 RICHELLE DICKINSON                 1230 GREENWOOD AVE
           ADVANCED HOME UPGRADE                                                                                                    SANGER, CA 93657
           (CUSTOM/CALCULATED)

2. 5199    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00977                 RICK SANDERS                       2139 WASHINGTON AVENUE
                                                                                                                                    OROVILLE 95966

2. 5200    GENERAL OFF-BILL AND ON-                  2/21/2023       CCOTH_02411                 RIDGE GOLF COURSE LLC & WESTERN    P.O.BOX 5871
           BILLFINANCING LOAN AGREEMENT                                                          CARE CONSTRUCTION                  13170 LINCOLN WAY
                                                                                                                                    AUBURN, CA 95603




                                                                      Page 542 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 543
                                                                                of 649
Pacific Gas and Electric Company                                                                                                    Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 5201    GENERAL OFF-BILL AND ON-                  1/31/2021       CCOTH_02431                 RIDGE GOLF COURSE LLC & WESTERN     13170 LINCOLN WAY
           BILLFINANCING LOAN AGREEMENT                                                          CARE CONSTRUCTION                   **EXPEDITE LOAN CHECK**
                                                                                                                                     AUBURN, CA 95603

2. 5202    SEWER AGREEMENT                           Not Stated      CCCRSOT_001                 RIDGECREST, CITY OF                 CITY OF RIDGECREST
                                                                         90                                                          100 W CALIFORNIA AVE
                                                                                                                                     RIDGECREST, CA 93555

2. 5203    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01117                 RIGO HURTADO                        1101 VAN NESS AVE
                                                                                                                                     SAN FRANCISCO 94109

2. 5204    GENERAL OFF-BILL AND ON-                  5/11/2023       CCOTH_01244                 RING,KEVIN - 11501 DUBLIN BLVD      15671 STANTON RD
           BILLFINANCING LOAN AGREEMENT                                                                                              GRASS VALLEY, CA 95949

2. 5205    GARBAGE AGREEMENT                         Not Stated      CCCRSOT_001                 RIO VISTA SANITATION SERVICE        RIO VISTA SANITATION SERVICE
                                                                         92                                                          INC MT DIABLO RESOURCE
                                                                                                                                     RECOVERY,
                                                                                                                                     CONCORD, CA

2. 5206    WATER AGREEMENT                           Not Stated      CCCRSOT_001                 RIO VISTA, CITY OF                  CITY OF RIO VISTA
                                                                         91                                                          RIO VISTA, CA

2. 5207    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00579                 RIPON DELEON                        3817 COOLIDGE AVE.
           ADVANCED HOME UPGRADE                                                                                                     OAKLAND, CA 94602
           (CUSTOM/CALCULATED)

2. 5208    RISING SUN CENTER FOR OPPORTUNITY         3/31/2020       CCOTH_03811                 RISING SUN CENTER FOR               1116 36TH STREET
                                                                                                 OPPORTUNITY                         OAKLAND, CA 94608

2. 5209    GENERAL OFF-BILL AND ON-                  6/29/2019       CCOTH_02031                 RIVER CITY BASEBALL ASSOCIATION     PO BOX 418442
           BILLFINANCING LOAN AGREEMENT                                                                                              SACRAMENTO, CA 95841

2. 5210    COMMERCIAL CALCULATED                     Not Stated      CCOTH_00192                 RIVER CITY STADIUM MANAGEMENT,      400 BALLPARK DRIVE
           INCENTIVES - CUSTOMIZED INCENTIVE                                                     LLC                                 WEST SACRAMENTO, CA 95691
           PROGRAM

2. 5211    CSI (THERMAL)                             Not Stated      CCOTH_00472                 RIVIERA FAMILY APARTMENTS, LP       2220 OXFORD STREET
                                                                                                                                      BERKELEY, CA 94704




                                                                      Page 543 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 544
                                                                                of 649
Pacific Gas and Electric Company                                                                                                    Case Number:        19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 5212    GENERAL OFF-BILL AND ON-                  1/27/2020       CCOTH_01559                 RIZWAN, MUHAMMED                    328 GREENWOOD PLACE
           BILLFINANCING LOAN AGREEMENT                                                                                              ADRIANA ALDANA - MANAGER
                                                                                                                                     BONITA, CA 91902

2. 5213    GENERAL OFF-BILL AND ON-                  4/29/2020       CCOTH_02202                 RIZZO,MARCO                         480 NEPONSET ST. BLDG. 2
           BILLFINANCING LOAN AGREEMENT                                                                                              CANTON, MA 2021

2. 5214    GENERAL OFF-BILL AND ON-                  10/2/2022       CCOTH_02738                 RJE LLC - 25 ENTERPRISE CT          4637 S. EAST AVE
           BILLFINANCING LOAN AGREEMENT                                                                                              FRESNO, CA 93725

2. 5215    GENERAL OFF-BILL AND ON-                  3/25/2023       CCOTH_01307                 ROBARTS,ROBERT - 6735 N 1ST ST      3289 W. SUSSEX WAY
           BILLFINANCING LOAN AGREEMENT                                                                                              FRESNO, CA 93722

2. 5216    GENERAL OFF-BILL AND ON-                  9/28/2022       CCOTH_02024                 ROBB ROSS FOODS INC                 1616 LASSEN WAY
           BILLFINANCING LOAN AGREEMENT                                                                                              BURLINGAME, CA 94010

2. 5217    GENERAL OFF-BILL AND ON-                   4/8/2022       CCOTH_02615                 ROBERT CRAIG WINERY LP - 2475       6644 N. HIGHLAND
           BILLFINANCING LOAN AGREEMENT                                                          SUMMIT LAKE DR                      CLOVIS, CA 93619

2. 5218    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01097                 ROBERT CURTIS                       1250 E. ARQUES AVE.
                                                                                                                                     SUNNYVALE 94085

2. 5219    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00596                 ROBERT HARRISON                     5395 PARAGON ST
           ADVANCED HOME UPGRADE                                                                                                     ROCKLIN, CA 95677
           (CUSTOM/CALCULATED)

2. 5220    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00831                 ROBERT HERBST                       400 SMITH RANCH ROAD
                                                                                                                                     SAN RAFAEL 94903

2. 5221    GENERAL OFF-BILL AND ON-                  6/23/2020       CCOTH_02559                 ROBERT J ALANDT & SONS - 4692 N     1558 WEST CHIA WAY
           BILLFINANCING LOAN AGREEMENT                                                          BRAWLEY AVE                         LOS ANGELES, CA 90041

2. 5222    GENERAL OFF-BILL AND ON-                   6/8/2019       CCOTH_02878                 ROBERT J ALANDT & SONS - 4692 N     4692 N BRAWLEY AVE
           BILLFINANCING LOAN AGREEMENT                                                          BRAWLEY AVE                         FRESNO, CA 93722

2. 5223    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01058                 ROBERT LEE                          1500 BRUNSWIG LANE
                                                                                                                                     EMERYVILLE 94608




                                                                      Page 544 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 545
                                                                                of 649
Pacific Gas and Electric Company                                                                                    Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                  Address
                                                    or Remaining
                                                        Term


2. 5224    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00672                 ROBERT MILLER       800 FREEMAN LANE, APT 201
                                                                                                                     GRASS VALLEY 95949

2. 5225    SELF-GENERATION INCENTIVE                 Not Stated      CCOTH_03498                 ROBERT MOTTS        510 ESTANCIA CT
           PROGRAM                                                                                                    SAN RAMON, CA 94583

2. 5226    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00653                 ROBERT ORLANDO      895 BARRETT AVE
                                                                                                                     MORGAN HILL 95037

2. 5227    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00658                 ROBERT ORLANDO      85 TILTON AVE
                                                                                                                     MORGAN HILL 95037

2. 5228    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00806                 ROBERT ORLANDO      455 E. MAIN AVE
                                                                                                                     MORGAN HILL 95037

2. 5229    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00829                 ROBERT ORLANDO      401 BURNETT AVE
                                                                                                                     MORGAN HILL 95037

2. 5230    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00865                 ROBERT ORLANDO      353 W. MAIN AVE
                                                                                                                     MORGAN HILL 95037

2. 5231    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00919                 ROBERT ORLANDO      2700 FOUNTAIN OAKS DR.
                                                                                                                     MORGAN HILL 95037

2. 5232    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01052                 ROBERT ORLANDO      1505 E MAIN AVE, MORGAN HILL,
                                                                                                                     CA 95037
                                                                                                                     MORGAN HILL 95037

2. 5233    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01065                 ROBERT ORLANDO      1425 E DUNNE AVE
                                                                                                                     MORGAN HILL 95037

2. 5234    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01067                 ROBERT ORLANDO      141 AVENIDA ESPANA
                                                                                                                     SAN JOSE 95139

2. 5235    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01070                 ROBERT ORLANDO      1400 LA CROSSE DR
                                                                                                                     MORGAN HILL 95037

2. 5236    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01074                 ROBERT ORLANDO      13745 LLAGAS AVE
                                                                                                                     SAN MARTIN 95046

                                                                      Page 545 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35   Page 546
                                                                                of 649
Pacific Gas and Electric Company                                                                                                    Case Number:       19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                 Address
                                                    or Remaining
                                                        Term


2. 5237    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01103                 ROBERT ORLANDO                      121 AVENIDA GRANDE SAN JOSE,
                                                                                                                                     CA 95139
                                                                                                                                     SAN JOSE 95139

2. 5238    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00661                 ROBERT POPE                         847 GIBRALTAR DR.
                                                                                                                                     MILPITAS 95002

2. 5239    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00590                 ROBERT STEVENS                      17105 DEMARTINI RD
           ADVANCED HOME UPGRADE                                                                                                     PLYMOUTH, CA 95669
           (CUSTOM/CALCULATED)

2. 5240    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00771                 ROBERT THOMPSON                     51 JOHN GLENN DRIVE
                                                                                                                                     CONCORD 94520

2. 5241    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00601                 ROBERTA ABBOTT                      5351 BRADFORD DRIVE
           ADVANCED HOME UPGRADE                                                                                                     SACRAMENTO, CA 95820
           (CUSTOM/CALCULATED)

2. 5242    SELF-GENERATION INCENTIVE                 Not Stated      CCOTH_03563                 ROBERTA HANSEN                      52 LAWNVIEW COURT
           PROGRAM                                                                                                                    PITTSBURG, CA 94565

2. 5243    GENERAL OFF-BILL AND ON-                   4/2/2020       CCOTH_01660                 ROBMOR INVESTMENTS                  940 CALLE NEGOCIO STE. 200
           BILLFINANCING LOAN AGREEMENT                                                                                              ROBERT LATTANZIO, PRESIDENT
                                                                                                                                     SAN CLEMENTE, CA 92673

2. 5244    GENERAL OFF-BILL AND ON-                  12/2/2018       CCOTH_01661                 ROBMOR INVESTMENTS                  940 CALLE NEGOCIO STE. 200
           BILLFINANCING LOAN AGREEMENT                                                                                              ROBERT LATTANZIO, PRESIDENT
                                                                                                                                     SAN CLEMENTE, CA 92673

2. 5245    GENERAL OFF-BILL AND ON-                  6/28/2022       CCOTH_02634                 ROCHA,FRANK - 23125 LONE TREE RD    PO BOX 177
           BILLFINANCING LOAN AGREEMENT                                                                                              ALAMO, CA 94507

2. 5246    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00610                 ROCHELLE ALVA                       1515 3RD ST
           ADVANCED HOME UPGRADE                                                                                                     SANGER, CA 93657
           (CUSTOM/CALCULATED)

2. 5247    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00994                 ROCHELLE LOPEZ                      1 TOWER PLACE
                                                                                                                                     SOUTH SAN FRANCISCO, 94080




                                                                      Page 546 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35               Page 547
                                                                                of 649
Pacific Gas and Electric Company                                                                                                       Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                    Address
                                                    or Remaining
                                                        Term


2. 5248    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03427                 ROCKLIN UNIFIED SCHOOL DISTRICT        2615 SIERRA MEADOWS DRIVE
           BY DESIGN WHOLE BUILDING                                                                                                     ROCKLIN, CA 95677

2. 5249    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01078                 ROCKY BUOY                             1355 KANSAS AVE
                                                                                                                                        SAN LUIS OBISPO 93405

2. 5250    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01123                 ROCKY BUOY                             1055 MONTEREY ST.
                                                                                                                                        SAN LUIS OBISPO 93401

2. 5251    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00811                 ROD COLLINGS                           4432 ROSEWOOD DRIVE
                                                                                                                                        PLEASANTON 94588

2. 5252    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00679                 ROHITH SAR                             77 BEALE STREET
                                                                                                                                        SANFRANSISCO 9447

2. 5253    REAL PROPERTY LEASE - 4111 BROAD          2/29/2020       CCCRSLS_001                 ROLAND BALL REVOCABLE TRUST            ROLAND BALL REVOCABLE
           STREET                                                        10                                                             TRUST, C/O ALAN MCVAY,
                                                                                                                                        SAN LUIS OBISPO, CA

2. 5254    GENERAL OFF-BILL AND ON-                  1/11/2024       CCOTH_03198                 ROLLING HILLS CLUB INC - 351 SAN       10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          ANDREAS DR                             SANTA FE SPRINGS, CA 90670

2. 5255    GENERAL OFF-BILL AND ON-                  4/26/2022       CCOTH_02721                 ROMAN CATHOLIC DIOCES OF               1550 N FRESNO STREET
           BILLFINANCING LOAN AGREEMENT                                                          FRESNO - 1572 E BARSTOW                FRESNO, CA 93703

2. 5256    GENERAL OFF-BILL AND ON-                   6/8/2023       CCOTH_01310                 ROMAN CATHOLIC DIOCES OF               PO BOX 11158
           BILLFINANCING LOAN AGREEMENT                                                          FRESNO - 1572 E BARSTOW A              FRESNO, CA 93771

2. 5257    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01118                 RONALD LANGE                           1101 GREEN ST.
                                                                                                                                        SAN FRANCISCO 94109

2. 5258    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00718                 RONNIE ROSEN                           665 SHELTER CREEK LN
                                                                                                                                        SAN BRUNO 94066

2. 5259    GENERAL OFF-BILL AND ON-                  11/22/2022      CCOTH_02288                 ROPLAST INDUSTRIES INC - 3155 S 5TH    3155 S. 5TH AVE
           BILLFINANCING LOAN AGREEMENT                                                          AVE                                    OROVILLE, CA 95965

2. 5260    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00673                 ROSA MASON                             800 BELLE AVE
                                                                                                                                        SAN RAFAEL 94901

                                                                      Page 547 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                 Page 548
                                                                                of 649
Pacific Gas and Electric Company                                                                                               Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                             Address
                                                    or Remaining
                                                        Term


2. 5261    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00684                 ROSA MASON                     75 HAPPY LN
                                                                                                                                SAN RAFAEL 94901

2. 5262    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00788                 ROSA MASON                     498 POINT SAN PEDRO RD
                                                                                                                                SAN RAFAEL 94901

2. 5263    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00883                 ROSA MASON                     320 NOVA ALBION
                                                                                                                                SAN RAFAEL 94901

2. 5264    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00911                 ROSA MASON                     280 WOODLAND AVE
                                                                                                                                SAN RAFAEL 94901

2. 5265    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00933                 ROSA MASON                     25 W CASTLEWOOD DR
                                                                                                                                SAN RAFAEL 94901

2. 5266    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01053                 ROSA MASON                     150 3RD ST
                                                                                                                                SAN RAFAEL 94901

2. 5267    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01093                 ROSA MASON                     125 BAHIA WAY
                                                                                                                                SAN RAFAEL 94901

2. 5268    REAL PROPERTY LEASE - ROCKLIN             6/30/2024       CCCRSLS_000                 ROSEVILLE PARKWAY 20, LLC      ROSEVILLE PARKWAY 20 LLC
           REGIONAL OFFICE                                               60                                                     555 UNIVERSITY AVE STE 200
                                                                                                                                SACRAMENTO, CA 95825

2. 5269    ELECTRIC/WATER/SEWER AGREEMENT            Not Stated      CCCRSOT_001                 ROSEVILLE, CITY OF             CITY OF ROSEVILLE
                                                                         93                                                     311 VERNON ST
                                                                                                                                ROSEVILLE, CA

2. 5270    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00576                 ROSS MATTHEW                   364 CARRERA DR
           ADVANCED HOME UPGRADE                                                                                                MILL VALLEY, CA 94941
           (CUSTOM/CALCULATED)

2. 5271    GENERAL OFF-BILL AND ON-                   5/4/2021       CCOTH_02882                 ROUNDHILL COUNTRY CLUB         877 CEDAR STREET, SUITE 240
           BILLFINANCING LOAN AGREEMENT                                                          CORPORATION                    SANTA CRUZ, CA 95060

2. 5272    REAL PROPERTY LEASE - TURLOCK CSO         6/30/2019       CCCRSLS_000                 ROY GULLO PROPERTIES           ROY GULLO PROPERTIES
                                                                         89                                                     13615 COLONY AVE
                                                                                                                                SAN MARTIN, CA 95046


                                                                      Page 548 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 549
                                                                                of 649
Pacific Gas and Electric Company                                                                                                     Case Number:        19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 5273    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00540                 RUBEN NIEVES                         635 E FLORADORA AVE
           ADVANCED HOME UPGRADE                                                                                                      FRESNO, CA 93728
           (CUSTOM/CALCULATED)

2. 5274    UNIVERSITY OF                             Not Stated      CCOTH_03661                 RUDOLPH AND SLETTEN, INC.            1600 SEAPORT BLVD. SUITE 350
           CALIFORNIA/CALIFORNIA STATE                                                                                                REDWOOD CITY, CA 94063
           UNIVERSITY - SBD WHOLE BUILDING

2. 5275    GENERAL OFF-BILL AND ON-                   9/7/2019       CCOTH_02104                 RUDY LEMUS - 1935 TULLY RD - SAN     2491 ALLUVIAL AVENUE #480
           BILLFINANCING LOAN AGREEMENT                                                          JOSE                                 CLOVIS, CA 93611

2. 5276    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01088                 RUDY NEGRETE                         1303 E HERNDON AVE
                                                                                                                                      FRESNO 93720

2. 5277    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00544                 RUDY RIOS                            1859 S HOMSY AVE
           ADVANCED HOME UPGRADE                                                                                                      FRESNO, CA 93727
           (CUSTOM/CALCULATED)

2. 5278    GENERAL OFF-BILL AND ON-                  1/31/2022       CCOTH_01970                 RUTTER ARMY INC                      685 COCHRAN STREET, SUITE 200
           BILLFINANCING LOAN AGREEMENT                                                                                               SIMI VALLEY, CA 93065

2. 5279    GENERAL OFF-BILL AND ON-                  1/23/2019       CCOTH_01735                 RV & RS CORP/ DBA MERIDIAN VALERO    358 E. FOOTHILL BLVD. SUITE 200
           BILLFINANCING LOAN AGREEMENT                                                                                               SAN DIAMS, CA 91773

2. 5280    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00670                 RYAN ALLIK                           801 FRANKLIN ST.
                                                                                                                                      OAKLAND 94607

2. 5281    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01008                 RYAN KELLEY                          19500 LEARNING WAY
                                                                                                                                      COTTONWOOD 96022

2. 5282    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00598                 RYAN NAVARRE                         3625 LAS PASAS WAY
           ADVANCED HOME UPGRADE                                                                                                      SACRAMENTO, CA 95864
           (CUSTOM/CALCULATED)

2. 5283    GENERAL OFF-BILL AND ON-                  9/26/2020       CCOTH_03055                 RYAN PASTORIAL CENTER - 1530 N       1530 N. FRESNO ST.
           BILLFINANCING LOAN AGREEMENT                                                          FRESNO ST                            FRESNO, CA 93703

2. 5284    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00910                 RYAN SPICER                          28801 HIGHWAY 58
                                                                                                                                      BAKERSFIELD 93314


                                                                      Page 549 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 550
                                                                                of 649
Pacific Gas and Electric Company                                                                                                        Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                     Address
                                                    or Remaining
                                                        Term


2. 5285    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01110                 RYAN SPICER                             1150 E NORTH AVE
                                                                                                                                         FRESNO 93725

2. 5286    GENERAL OFF-BILL AND ON-                  9/18/2022       CCOTH_03111                 S & L MEAT - 2 BELLARMINE CT - CHICO    1355 EATON RD, SUITE C
           BILLFINANCING LOAN AGREEMENT                                                                                                  CHICO, CA 95973

2. 5287    GENERAL OFF-BILL AND ON-                  11/9/2020       CCOTH_02794                 S & N ASSOC INC - 13225 HIGHWAY 9       10 HARRIS COURT, BLDG C, SUITE
           BILLFINANCING LOAN AGREEMENT                                                                                                  2
                                                                                                                                         MONTEREY, CA 93940

2. 5288    GENERAL OFF-BILL AND ON-                  9/26/2021       CCOTH_01251                 S & R ASSOCIATES - 2021 MAIN ST STE     1800 WILLOW PASS CT
           BILLFINANCING LOAN AGREEMENT                                                          A - OAKLEY                              CONCORD, CA 94520

2. 5289    GENERAL OFF-BILL AND ON-                  6/21/2019       CCOTH_02089                 S P D MARKET INC                        735 ZION ST
           BILLFINANCING LOAN AGREEMENT                                                                                                  NEVADA CITY, CA 95959

2. 5290    GENERAL OFF-BILL AND ON-                  8/19/2019       CCOTH_01331                 S P D MARKET INC - 129 MCKNIGHT         129 WEST MCKNIGHT WAY
           BILLFINANCING LOAN AGREEMENT                                                          WAY                                     DAVID L PAINTER, VP
                                                                                                                                         GRASS VALLEY, CA 95949

2. 5291    GENERAL OFF-BILL AND ON-                  2/22/2020       CCOTH_03197                 S P D MARKET INC - 129 W MCKNIGHT       12122 DRY CREEK RD
           BILLFINANCING LOAN AGREEMENT                                                          WAY (ELEC)                              AUBURN, CA 95602

2. 5292    GENERAL OFF-BILL AND ON-                  4/10/2019       CCOTH_02955                 S&N ASSOCIATES, INC DBA JOHNNIES        1749 ENTERPRISE BLVD.
           BILLFINANCING LOAN AGREEMENT                                                          MARKET                                  JENNIFER WEDDLE (OUTSIDE
                                                                                                                                         SALES ASSOC)
                                                                                                                                         WEST SACRAMENTO, CA 95691

2. 5293    GENERAL OFF-BILL AND ON-                   2/4/2021       CCOTH_01706                 SAADEH HATTAR                           20405 FARRELL DRIVE
           BILLFINANCING LOAN AGREEMENT                                                                                                  PENN VALLEY, CA 95946

2. 5294    GENERAL OFF-BILL AND ON-                  5/14/2020       CCOTH_01426                 SACRAMENTO DUNNIGAN INC - 4040          4470 YANKEE HILL, STE 120
           BILLFINANCING LOAN AGREEMENT                                                          COUNTY RD 89 - DUN                      ROCKLIN, CA 95677

2. 5295    ELECTRIC AGREEMENT                        Not Stated      CCCRSOT_001                 SACRAMENTO MUNICIPAL UTILITY            SACRAMENTO MUNICIPAL UTILITY
                                                                         94                      DIST - SMUD                             DIST
                                                                                                                                         6301 S ST
                                                                                                                                         SACRAMENTO, CA




                                                                      Page 550 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                  Page 551
                                                                                of 649
Pacific Gas and Electric Company                                                                                                   Case Number:        19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                 Address
                                                    or Remaining
                                                        Term


2. 5296    REIMBURSEMENT AGREEMENT FOR               5/31/2020       CCOTH_03796                 SACRAMENTO MUNICIPAL UTILITY       6100 FOLSOM BLVD. MA-1
           ETCC FACILITATION                                                                     DISTRICT                           SACRAMENTO, CA 95819

2. 5297    WATER AGREEMENT                           Not Stated      CCCRSOT_001                 SACRAMENTO, CITY OF                CITY OF SACRAMENTO
                                                                         95                                                         SACRAMENTO, CA

2. 5298    GENERAL OFF-BILL AND ON-                  9/15/2022       CCOTH_02887                 SAFE HARBOR PARTNERS LLC - 303     6644 N. HIGHLAND
           BILLFINANCING LOAN AGREEMENT                                                          GATEWAY                            CLOVIS, CA 93619

2. 5299    GENERAL OFF-BILL AND ON-                  9/16/2019       CCOTH_01746                 SAGEPOINTE LLC                     9530 HAGEMAN RD. B#196
           BILLFINANCING LOAN AGREEMENT                                                                                             BAKERSFIELD, CA 93312

2. 5300    GENERAL OFF-BILL AND ON-                  11/11/2018      CCOTH_01985                 SAHOTA,AMRIK                       P.O. BOX 406
           BILLFINANCING LOAN AGREEMENT                                                                                             ALAMO, CA 94507

2. 5301    GENERAL OFF-BILL AND ON-                  4/25/2021       CCOTH_02059                 SAINT KATHARINE DREXEL PARISH A    11361 PROSPECT DR.
           BILLFINANCING LOAN AGREEMENT                                                          CORP SOLE                          JACKSON, CA 95642

2. 5302    GENERAL OFF-BILL AND ON-                   9/6/2018       CCOTH_01916                 SAINT MARKS LUTHERAN CHURCH INC    885 EMARCADERO DR.
           BILLFINANCING LOAN AGREEMENT                                                                                             WEST SACRAMENTO DR, CA 95605

2. 5303    GENERAL OFF-BILL AND ON-                  1/18/2022       CCOTH_03144                 SAKATA SEED AMERICA INC - 105      804 ESTATES DR., STE 202
           BILLFINANCING LOAN AGREEMENT                                                          BORONDA RD                         APTOS, CA 95003

2. 5304    GENERAL OFF-BILL AND ON-                  11/12/2018      CCOTH_02108                 SALEEM PATEL DBA ANITAS 76 GAS     328 GREENWOOD PLACE
           BILLFINANCING LOAN AGREEMENT                                                          STATION                            ADRIANA ALDANA
                                                                                                                                    BONITA, CA 91902

2. 5305    GENERAL OFF-BILL AND ON-                  11/9/2018       CCOTH_01968                 SALEH SAEED OBADI DBA S & A        328 GREENWOOD PL.
           BILLFINANCING LOAN AGREEMENT                                                          MARKET                             BONITA, CA 91902

2. 5306    GENERAL OFF-BILL AND ON-                  12/25/2019      CCOTH_01634                 SALEH,SALAH S                      328 GREENWOOD PL.
           BILLFINANCING LOAN AGREEMENT                                                                                             ADRIANA ALDANA - MANAGER
                                                                                                                                    BONITA, CA 91902

2. 5307    REAL PROPERTY LEASE - 310 SALEM           8/31/2019       CCCRSLS_000                 SALEM VENTURE LLC                  SALEM VENTURE LLC, C/O
           STREET - VEG MGNT.                                            12                                                         BARBARA BLUE PROPERTY
                                                                                                                                    MANAGER, ORACLE PROPERTIES
                                                                                                                                    DEVELOPMENT INC
                                                                                                                                    CARMICHAEL, CA

                                                                      Page 551 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                  Page 552
                                                                                of 649
Pacific Gas and Electric Company                                                                                                      Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                   Address
                                                    or Remaining
                                                        Term


2. 5308    REAL PROPERTY LEASE - 310 SALEM           8/31/2019       CCCRSLS_000                 SALEM VENTURE LLC                     SALEM VENTURE LLC, C/O
           STREET PARKING (4 PARKING SPACES)                             13                                                            BARBARA BLUE PROPERTY
                                                                                                                                       MANAGER, ORACLE PROPERTIES
                                                                                                                                       DEVELOPMENT INC
                                                                                                                                       CARMICHAEL, CA

2. 5309    REAL PROPERTY LEASE - 344 SALEM           8/31/2019       CCCRSLS_000                 SALEM VENTURE LLC                     SALEM VENTURE LLC, C/O
           STREET, SUITE 1                                               15                                                            BARBARA BLUE PROPERTY
                                                                                                                                       MANAGER, ORACLE PROPERTIES
                                                                                                                                       DEVELOPMENT INC
                                                                                                                                       CARMICHAEL, CA

2. 5310    REAL PROPERTY LEASE - CHICO CSO           8/31/2019       CCCRSLS_000                 SALEM VENTURE LLC                     SALEM VENTURE LLC, C/O
                                                                         16                                                            BARBARA BLUE PROPERTY
                                                                                                                                       MANAGER, ORACLE PROPERTIES
                                                                                                                                       DEVELOPMENT INC
                                                                                                                                       CARMICHAEL, CA

2. 5311    REAL PROPERTY LEASE - CHICO               8/31/2019       CCCRSLS_000                 SALEM VENTURE LLC                     SALEM VENTURE LLC, C/O
           EXPANSION SPACE                                               14                                                            BARBARA BLUE PROPERTY
                                                                                                                                       MANAGER, ORACLE PROPERTIES
                                                                                                                                       DEVELOPMENT INC
                                                                                                                                       CARMICHAEL, CA

2. 5312    GENERAL OFF-BILL AND ON-                  12/17/2021      CCOTH_02291                 SALINAS VALLEY COMMUNITY CHURCH       368 SAN JUAN GRADE RD
           BILLFINANCING LOAN AGREEMENT                                                                                                SALINAS, CA 93906

2. 5313    FIRE SERVICE                              Not Stated      CCCRSOT_001                 SALINAS, CITY OF                      CITY OF SALINAS, % FINANCE
                                                                         98                                                            DIRECTOR,
                                                                                                                                       CITY HALL
                                                                                                                                       SALINAS, CA 93901

2. 5314    GENERAL OFF-BILL AND ON-                   3/2/2020       CCOTH_02148                 SAM LINDER MONTEREY, LLC - 1711       877 CEDAR STREET, SUITE 240
           BILLFINANCING LOAN AGREEMENT                                                          DEL MONTE BLVD                        SANTA CRUZ, CA 95060

2. 5315    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01033                 SAMUEL SUGI                           1610 28TH ST
                                                                                                                                       BAKERSFIELD 93301

2. 5316    GENERAL OFF-BILL AND ON-                  1/23/2024       CCOTH_01782                 SAN BENITO HOSPITAL DISTRICT - 911    100 MONTGOMERY ST., SUITE #100
           BILLFINANCING LOAN AGREEMENT                                                          SUNSET DR                             SAN FRANCISCO, CA 94104



                                                                      Page 552 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                 Page 553
                                                                                of 649
Pacific Gas and Electric Company                                                                                                    Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                 Address
                                                    or Remaining
                                                        Term


2. 5317    WATER AGREEMENT                           Not Stated      CCCRSOT_001                 SAN BRUNO, CITY OF                  CITY OF SAN BRUNO, BUS TAX
                                                                         99                                                          DIV,
                                                                                                                                     570 LINDEN AVENUE
                                                                                                                                     SAN BRUNO, CA 94066

2. 5318    GENERAL OFF-BILL AND ON-                  2/28/2020       CCOTH_01349                 SAN CARLOS SCHOOL                   10 HARRIS COURT
           BILLFINANCING LOAN AGREEMENT                                                                                              BLDG C, SUITE 2
                                                                                                                                     MONTEREY, CA 93940

2. 5319    SEWER AGREEMENT                           Not Stated      CCCRSOT_002                 SAN CARLOS, CITY OF                 CITY OF SAN CARLOS, PUBLIC
                                                                         00                                                          WORKS DEPT, ENGINEERING
                                                                                                                                     DIVSION
                                                                                                                                     600 ELM ST
                                                                                                                                     SAN CARLOS, CA 94070

2. 5320    COFUNDING AGREEMENT - CAEECC              3/30/2018       CCOTH_03776                 SAN DIEGO GAS AND ELECTRIC          8335 CENTURY PARK CT
           FACILITATION                                                                                                              CP 12H
                                                                                                                                     SAN DIEGO, CA 92123

2. 5321    SEEC - 2019 SCOPE OF WORK FOR BPC         12/31/2019      CCOTH_03713                 SAN DIEGO GAS AND ELECTRIC          8335 CENTURY PARK CT CP12C
           (CO-FUND)                                                                                                                 SAN DIEGO, CA 92123

2. 5322    SEEC - 2019 SCOPE OF WORK FOR LGC         12/31/2019      CCOTH_03714                 SAN DIEGO GAS AND ELECTRIC          8335 CENTURY PARK CT CP12C
           (CO-FUND)                                                                                                                 SAN DIEGO, CA 92123

2. 5323    GENERAL OFF-BILL AND ON-                  4/23/2019       CCOTH_01671                 SAN FRANCISCO BALLET ASSOCIATION 870 MARKET STREET, SUITE 628
           BILLFINANCING LOAN AGREEMENT                                                                                           SAN FRANCISCO, CA 94102

2. 5324    GENERAL OFF-BILL AND ON-                  12/23/2018      CCOTH_01523                 SAN FRANCISCO BALLET                455 FRANKLIN ST
           BILLFINANCING LOAN AGREEMENT                                                          ASSOCIATION - 455 FRANKLIN ST       SAN FRANCISCO, CA 94102

2. 5325    GENERAL OFF-BILL AND ON-                  4/26/2020       CCOTH_02620                 SAN FRANCISCO SOCIETY               2450 GIOVANNI DR.
           BILLFINANCING LOAN AGREEMENT                                                          PREVENTION CRUELTY TO ANIMAL        PLACERVILLE, CA 95667

2. 5326    GENERAL OFF-BILL AND ON-                  8/24/2021       CCOTH_01757                 SAN FRANCISCO SPICE CO              P.O. BOX 2205
           BILLFINANCING LOAN AGREEMENT                                                                                              WOODLAND, CA 95776

2. 5327    GENERAL OFF-BILL AND ON-                  10/6/2020       CCOTH_02335                 SAN JOAQUIN COMMUNITY HOSPITAL -    3810 ETHYL ST
           BILLFINANCING LOAN AGREEMENT                                                          1524 28TH ST LOT 9                  **UPS OVERNIGHT DELIVERY**
                                                                                                                                     BAKERSFIELD, CA 93308

                                                                      Page 553 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                  Page 554
                                                                                of 649
Pacific Gas and Electric Company                                                                                                        Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                     Address
                                                    or Remaining
                                                        Term


2. 5328    ANNUAL FEES                               Not Stated      CCCRSOT_002                 SAN JOAQUIN COUNTY VECTOR &             SAN JOAQUIN COUNTY MOSQUITO
                                                                         04                      DISEASE CONTROL DISTRICT                AND, VECTOR CONTROL
                                                                                                                                         DISTRICT,
                                                                                                                                         7759 S AIRPORT WAY
                                                                                                                                         STOCKTON, CA 95206

2. 5329    SERVICE AGREEMENT                         Not Stated      CCCRSOT_002                 SAN JOAQUIN COUNTY. SHERIFF             SAN JOAQUIN COUNTY SHERIFFS
                                                                         03                      (STEVE MORGAN)                          OFC, ALARM REDUCTION
                                                                                                                                         PROGRAM,
                                                                                                                                         7000 MICHAEL N CANLIS BLVD
                                                                                                                                         FRENCH CAMP, CA 95231

2. 5330    CALIFORNIA COMMUNITY COLLEGES -           Not Stated      CCOTH_00078                 SAN JOAQUIN DELTA COLLEGE               5151 PACIFIC AVE
           CUSTOMIZED RETROFIT                                                                                                           STOCKTON, CA 95207

2. 5331    GENERAL OFF-BILL AND ON-                  10/10/2018      CCOTH_02673                 SAN JOAQUIN FIRE PROTECTION             2695 N. FOWLER AVE. STE 106
           BILLFINANCING LOAN AGREEMENT                                                                                                  SHANNON MACFARLAND,
                                                                                                                                         MANAGER
                                                                                                                                         FRESNO, CA 93727

2. 5332    GENERAL OFF-BILL AND ON-                  11/15/2022      CCOTH_02652                 SAN JOAQUIN MEMORIAL HIGH               1550 N. FRESNO ST
           BILLFINANCING LOAN AGREEMENT                                                          SCHOOL - 1406 N FRESNO S                FRESNO, CA 93703

2. 5333    VALLEY INNOVATIVE ENERGY WATCH            12/31/2020      CCOTH_03699                 SAN JOAQUIN VALLEY (VIEW)               4747 N. FRESNO ST.
           (VIEW) (2700042491)                                                                                                           SUITE 140
                                                                                                                                         FRESNO, CA 93726

2. 5334    GENERAL OFF-BILL AND ON-                  2/25/2023       CCOTH_03204                 SAN JOSE FIRST ST LLC - 675 N 1ST ST    100 PINE STREET, SUITE 1000
           BILLFINANCING LOAN AGREEMENT                                                                                                  SAN FRANCISCO, CA 94111

2. 5335    UNIVERSITY OF                             Not Stated      CCOTH_03638                 SAN JOSE STATE UNIVERSITY               1 WASHINGTON SQUARE
           CALIFORNIA/CALIFORNIA STATE                                                                                                   SAN JOSE, CA 95192
           UNIVERSITY - CUSTOMIZED RETROFIT

2. 5336    UNIVERSITY OF                             Not Stated      CCOTH_03669                 SAN JOSE STATE UNIVERSITY               1 WASHINGTON SQUARE
           CALIFORNIA/CALIFORNIA STATE                                                                                                   SAN JOSE, CA 95192
           UNIVERSITY - SBD WHOLE BUILDING

2. 5337    WATER AGREEMENT                           Not Stated      CCCRSOT_002                 SAN JOSE WATER CO                       SAN JOSE WATER COMPANY
                                                                         06                                                              110 W TAYLOR ST
                                                                                                                                         SAN JOSE, CA 95110

                                                                      Page 554 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                  Page 555
                                                                                of 649
Pacific Gas and Electric Company                                                                                                  Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 5338    SEWER AGREEMENT                           Not Stated      CCCRSOT_002                 SAN JOSE, CITY OF                 CITY OF SAN JOSE
                                                                         05                                                        200 E SANTA CLARA ST
                                                                                                                                   SAN JOSE, CA 95113

2. 5339    RECYCLING AGREEMENT                       Not Stated      CCCRSOT_002                 SAN LUIS GARBAGE                  SAN LUIS GARBAGE CO
                                                                         07                                                        4388 OLD SANTA FE RD
                                                                                                                                   SAN LUIS OBISPO, CA 93401

2. 5340    WATER/SEWER/ALARM PERMIT                  Not Stated      CCCRSOT_002                 SAN LUIS OBISPO, CITY OF          CITY OF SAN LUIS OBISPO,
                                                                         08                                                        WATER & SEWER,
                                                                                                                                   SAN LUIS OBISPO, CA

2. 5341    CALIFORNIA COMMUNITY COLLEGES -           Not Stated      CCOTH_00075                 SAN MATEO COMMUNITY COLLEGE       3401 CSM DRIVE
           CUSTOMIZED RETROFIT                                                                   DISTRICT                          SAN MATEO, CA 94402

2. 5342    CALIFORNIA COMMUNITY COLLEGES -           Not Stated      CCOTH_00103                 SAN MATEO COMMUNITY COLLEGE       3401 CSM DRIVE
           SAVINGS BY DESIGN WHOLE BUILDING                                                      DISTRICT                          SAN MATEO, CA 94402

2. 5343    COMMERCIAL CALCULATED                     Not Stated      CCOTH_00203                 SAN MATEO HIGH SCHOOL DISTRICT    506 NORTH DELAWARE ST
           INCENTIVES - RETRO COMMISSIONING                                                                                        SAN MATEO, CA 94401
           (RCX)

2. 5344    SEWER AGREEMENT                           Not Stated      CCCRSOT_002                 SAN RAFAEL SANITATION             SAN RAFAEL SANITATION
                                                                         09                                                        DISTRICT
                                                                                                                                   SAN RAFAEL, CA

2. 5345    GENERAL OFF-BILL AND ON-                  8/28/2025       CCOTH_02500                 SAN RAMON VALLEY USD - 10550      3280 CROW CANYON ROAD
           BILLFINANCING LOAN AGREEMENT                                                          ALBION RD #B                      SAN RAMON, CA 94583

2. 5346    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00629                 SANDRA BROWN                      19375 SHAKE RIDGE RD
           ADVANCED HOME UPGRADE                                                                                                   VOLCANO, CA 95689
           (CUSTOM/CALCULATED)

2. 5347    GENERAL OFF-BILL AND ON-                  4/11/2022       CCOTH_03107                 SANGER BOATS INC - 3316 E         4637 S EAST AVE
           BILLFINANCING LOAN AGREEMENT                                                          ANNADALE AVE                      FRESNO, CA 93725

2. 5348    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03471                 SANGER UNIFIED SCHOOL DISTRICT    1905 SEVENTH STREET
           BY DESIGN WHOLE BUILDING                                                                                                SANGER, CA 93657




                                                                      Page 555 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                 Page 556
                                                                                of 649
Pacific Gas and Electric Company                                                                                                    Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 5349    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03472                 SANGER UNIFIED SCHOOL DISTRICT      1905 SEVENTH STREET
           BY DESIGN WHOLE BUILDING                                                                                                  SANGER, CA 93657

2. 5350    GENERAL OFF-BILL AND ON-                  1/29/2020       CCOTH_01977                 SANGHA,SUKHJIT                      328 GREEWOOD PL
           BILLFINANCING LOAN AGREEMENT                                                                                              ADRIANA ALDANA - MANAGER
                                                                                                                                     BONITA, CA 91902

2. 5351    GENERAL OFF-BILL AND ON-                  9/26/2023       CCOTH_03112                 SANGHERA,BALWINDER - 1211           1111 W. EL CAMINO REAL STE. 135
           BILLFINANCING LOAN AGREEMENT                                                          WILDWOOD AVE                        SUNNYVALE, CA 94087

2. 5352    WATER AGREEMENT                           Not Stated      CCCRSOT_002                 SANTA CLARA VALLEY WATER DIST       SANTA CLARA VALLEY WATER
                                                                         10                                                          DISTRICT, ATTN ACCOUNTS
                                                                                                                                     PAYABLE,
                                                                                                                                     5750 ALMADEN EXPWAY
                                                                                                                                     SAN JOSE, CA

2. 5353    GENERAL OFF-BILL AND ON-                  10/7/2020       CCOTH_02839                 SANTA CRUZ BIBLE CHURCH - 440       877 CEDAR STREET
           BILLFINANCING LOAN AGREEMENT                                                          FREDERICK ST                        SUITE 240
                                                                                                                                     SANTA CRUZ, CA 95060

2. 5354    GENERAL OFF-BILL AND ON-                  5/22/2019       CCOTH_03051                 SANTA CRUZ FREEHOLDERS - 2460       804 ESTATES DR STE 202
           BILLFINANCING LOAN AGREEMENT                                                          17TH AVE                            APTOS, CA 95003

2. 5355    GENERAL OFF-BILL AND ON-                  2/19/2019       CCOTH_02117                 SANTA CRUZ METROPOLITAN TRANSIT     895 MITEN ROAD
           BILLFINANCING LOAN AGREEMENT                                                          DISTRICT                            BURLINGAME, CA 94010

2. 5356    GENERAL OFF-BILL AND ON-                  1/21/2021       CCOTH_02157                 SANTA CRUZ METROPOLITAN TRANSIT     471 AIRPORT BLVD.
           BILLFINANCING LOAN AGREEMENT                                                          DISTRICT                            WATSONVILLE, CA 95076

2. 5357    WATER/SEWER AGREEMENT                     Not Stated      CCCRSOT_002                 SANTA CRUZ MUNICIPAL UTILITIES      CITY OF SANTA CRUZ, SANTA
                                                                         12                                                          CRUZ MUNICIPAL UTILITIES,
                                                                                                                                     SANTA CRUZ, CA

2. 5358    GENERAL OFF-BILL AND ON-                  4/15/2023       CCOTH_01675                 SANTA CRUZ PORT DISTRICT            840 ESTATES DRIVE, STE.202
           BILLFINANCING LOAN AGREEMENT                                                                                              APTOS, CA 95003

2. 5359    WATER AGREEMENT                           Not Stated      CCCRSOT_002                 SANTA CRUZ, CITY OF                 CITY OF SANTA CRUZ, FINANCE
                                                                         11                                                          DEPARTMENT,
                                                                                                                                     877 CEDAR ST STE 100
                                                                                                                                     SANTA CRUZ, CA 95060

                                                                      Page 556 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 557
                                                                                of 649
Pacific Gas and Electric Company                                                                                                    Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                 Address
                                                    or Remaining
                                                        Term


2. 5360    GENERAL OFF-BILL AND ON-                   6/8/2019       CCOTH_01731                 SANTA MARIA BROADWAY PLAZA LLC      PO BOX 1167
           BILLFINANCING LOAN AGREEMENT                                                                                              SAN LUIS OBISPO, CA 93406

2. 5361    GENERAL OFF-BILL AND ON-                  10/8/2019       CCOTH_01732                 SANTA MARIA BROADWAY PLAZA LLC -    PO BOX 1167
           BILLFINANCING LOAN AGREEMENT                                                          1318 S BROADWAY S                   SAN LUIS OBISPO, CA 93406

2. 5362    INDUSTRIAL CALCULATED INCENTIVES -        Not Stated      CCOTH_03296                 SANTA MARIA PACIFIC, LLC            P.O. BOX 7202
           CUSTOMIZED INCENTIVE PROGRAM                                                                                              SANTA MARIA, CA 93456

2. 5363    GENERAL OFF-BILL AND ON-                   7/4/2023       CCOTH_01861                 SANTA MARIA PUBLIC AIRPORT          3217 TERMINAL DR
           BILLFINANCING LOAN AGREEMENT                                                          DISTRICT                            SANTA MARIA, CA 93455

2. 5364    GENERAL OFF-BILL AND ON-                   6/4/2019       CCOTH_02797                 SANTA MARIA PUBLIC AIRPORT          3217 TERMINAL DRIVE
           BILLFINANCING LOAN AGREEMENT                                                          DISTRICT                            SANTA MARIA, CA 93455

2. 5365    ALARM PERMIT                              Not Stated      CCCRSOT_002                 SANTA MARIA, CITY OF                PMAM CORPORATION
                                                                         14                                                          5430 LBJ FREEWAY STE 370
                                                                                                                                     DALLAS, TX 75014

2. 5366    WATER/SEWER AGREEMENT                     Not Stated      CCCRSOT_002                 SANTA MARIA, CITY OF                CITY OF SANTA MARIA
                                                                         13                                                          110 E COOK ST
                                                                                                                                     SANTA MARIA, CA 93454

2. 5367    GENERAL OFF-BILL AND ON-                  5/30/2020       CCOTH_01748                 SANTA ROSA ASSOCIATES - 862         921 OAK PARK BLVD STE 204
           BILLFINANCING LOAN AGREEMENT                                                          MEINECKE AVE # B                    PISMO BEACH, CA 93449

2. 5368    GENERAL OFF-BILL AND ON-                  3/29/2020       CCOTH_02497                 SANTA ROSA ASSOCIATES - 862         921 OAK PARK BLVD, STE 204
           BILLFINANCING LOAN AGREEMENT                                                          MEINECKE AVE # C                    PISMO BEACH, CA 93449

2. 5369    GENERAL OFF-BILL AND ON-                  9/29/2020       CCOTH_01517                 SANTA ROSA ASSOCIATES - 862         921 OAK PARK BLVD STE 204
           BILLFINANCING LOAN AGREEMENT                                                          MEINECKE AVE # E                    PISMO BEACH, CA 93449

2. 5370    GENERAL OFF-BILL AND ON-                  7/31/2020       CCOTH_01506                 SANTA ROSA ASSOCIATES - 862         921 OAK PARK BLVD, STE 204
           BILLFINANCING LOAN AGREEMENT                                                          MEINECKE AVE # F                    PISMO BEACH, CA 93449

2. 5371    CALIFORNIA COMMUNITY COLLEGES -           Not Stated      CCOTH_00076                 SANTA ROSA JUNIOR COLLEGE           1501 MENDOCINO AVE
           CUSTOMIZED RETROFIT                                                                                                       SANTA ROSA, CA 95401




                                                                      Page 557 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 558
                                                                                of 649
Pacific Gas and Electric Company                                                                                                    Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                 Address
                                                    or Remaining
                                                        Term


2. 5372    CALIFORNIA COMMUNITY COLLEGES -           Not Stated      CCOTH_00077                 SANTA ROSA JUNIOR COLLEGE           1501 MENDOCINO AVE
           CUSTOMIZED RETROFIT                                                                                                       SANTA ROSA, CA 5401

2. 5373    CALIFORNIA COMMUNITY COLLEGES -           Not Stated      CCOTH_00104                 SANTA ROSA JUNIOR COLLEGE           1501 MENDOCINO AVE
           SAVINGS BY DESIGN WHOLE BUILDING                                                                                          SANTA ROSA, CA 95401

2. 5374    COMMERCIAL CALCULATED                     Not Stated      CCOTH_00204                 SANTA ROSA JUNIOR COLLEGE           1501 MENDOCINO AVE
           INCENTIVES - RETRO COMMISSIONING                                                                                          SANTA ROSA, CA 95401
           (RCX)

2. 5375    CALIFORNIA COMMUNITY COLLEGES -           Not Stated      CCOTH_00080                 SANTA ROSA JUNIOR COLLEGE - PSTC    5743 SKYLANE BLVD
           CUSTOMIZED RETROFIT                                                                   LIGHTING                            WINDSOR, CA

2. 5376    COMMERCIAL CALCULATED                     Not Stated      CCOTH_00176                 SANTA ROSA MEMORIAL HOSPITAL        1185 MONTGOMERY DR.
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                         SANTA ROSA, CA 95405
           PROGRAM

2. 5377    WATER/SEWER/FIRE AGREEMENT                Not Stated      CCCRSOT_002                 SANTA ROSA, CITY OF                 CITY OF SANTA ROSA
                                                                         15                                                          SANTA ROSA, CA

2. 5378    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00824                 SARA NEFF                           4100 BOHANNON DRIVE
                                                                                                                                     MENLO PARK 94025

2. 5379    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00593                 SARA THEISS                         4613 WILDWOOD CT
           ADVANCED HOME UPGRADE                                                                                                     RICHMOND, CA 94803
           (CUSTOM/CALCULATED)

2. 5380    SMARTAC                                   Not Stated      CCOTH_03610                 SARABIA,ELIZABETH                   1812 DECARLI ST
                                                                                                                                     STOCKTON, CA 95206

2. 5381    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00547                 SARAH GREEN                         4401 SLODUSTY RD
           ADVANCED HOME UPGRADE                                                                                                     GARDEN VALLEY, CA 95633
           (CUSTOM/CALCULATED)

2. 5382    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01084                 SARAH MOORE                         1326 ALLSTON WAY
                                                                                                                                     BERKELEY 94702

2. 5383    GENERAL OFF-BILL AND ON-                  1/22/2024       CCOTH_03079                 SARATOGA COUNTRY CLUB - 21990       10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          PROSPECT RD                         SANTA FE SPRINGS, CA 90670


                                                                      Page 558 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 559
                                                                                of 649
Pacific Gas and Electric Company                                                                                                    Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 5384    GENERAL OFF-BILL AND ON-                  7/30/2020       CCOTH_01995                 SARKIS,SAMER                        PO BOX 8867
           BILLFINANCING LOAN AGREEMENT                                                                                              STOCKTON, CA 95208

2. 5385    GENERAL OFF-BILL AND ON-                  10/2/2021       CCOTH_02807                 SAROYAN LUMBER INC - 1243 N         1411 N HIGHLAND AVENUE, UNIT
           BILLFINANCING LOAN AGREEMENT                                                          BACKER AVE                          203
                                                                                                                                     LOS ANGELES, CA 90028

2. 5386    REAL PROPERTY LEASE - BERKELEY            6/30/2019       CCCRSLS_000                 SASHA SHAMSZAD                      SASHA SHAMSZAD, C/O THE
           CSO                                                           09                                                          SHAMSZAD GROUP,
                                                                                                                                     1600 SHATTUCK AVE STE 106
                                                                                                                                     BERKELEY, CA 94709

2. 5387    WORKFORCE EDUCATION AND                   12/31/2019      CCOTH_03738                 SATURN RESOURCE MANAGEMENT          805 N LAST CHANCE GULCH
           TRAINING PROGRAM                                                                                                          HELENA, MT 59601

2. 5388    AGRICULTURAL CALCULATED                   Not Stated      CCOTH_00048                 SAVACA AND FLRISH - PHASE#1 LED     26889 ENCINAL RD
           INCENTIVES - CUSTOMIZED INCENTIVE                                                     LIGHTING FOR CANNABIS               SALINAS, CA
           PROGRAM                                                                               GREENHOUSE

2. 5389    GENERAL OFF-BILL AND ON-                   1/8/2019       CCOTH_01374                 SAVE MART SUPERMARKETS              6000 FELDWOOD ROAD
           BILLFINANCING LOAN AGREEMENT                                                                                              COLLEGE PARK, GA

2. 5390    GENERAL OFF-BILL AND ON-                  11/8/2018       CCOTH_01618                 SAVE MART SUPERMARKETS              6000 FELDWOOD ROAD
           BILLFINANCING LOAN AGREEMENT                                                                                              COLLEGE PARK, GA

2. 5391    GENERAL OFF-BILL AND ON-                  1/11/2019       CCOTH_01689                 SAVE MART SUPERMARKETS              1031 EAST RIVERVIEW DRIVE
           BILLFINANCING LOAN AGREEMENT                                                                                              PHOENIX, AZ 85034

2. 5392    GENERAL OFF-BILL AND ON-                  11/21/2018      CCOTH_01672                 SAYEH PETROLEUM INC                 27611 LA PAZ SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                                                              LAGUNA NIGUEL, CA 92677

2. 5393    GENERAL OFF-BILL AND ON-                  4/30/2021       CCOTH_02264                 SAYEH PETROLEUM INC - 2690 UNION    27611 LA PAZ RD, SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                          AVE                                 LAGUNA NIGUEL, CA 92677

2. 5394    GENERAL OFF-BILL AND ON-                  11/10/2019      CCOTH_01903                 SAYEH PETROLEUM INC.                27992 CAMINO CAPRISTRANO, #A
           BILLFINANCING LOAN AGREEMENT                                                                                              JOHN MILLER, CTO
                                                                                                                                     LAGUNA NIGUEL, CA 92677

2. 5395    GENERAL OFF-BILL AND ON-                  7/17/2022       CCOTH_01315                 SAYEIA PETROLEUM INC - 1200 LA      27611 LA PAZ RD., SUITE A2
           BILLFINANCING LOAN AGREEMENT                                                          PLAYA ST                            LAGUNA NIGUEL, CA 92677

                                                                      Page 559 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 560
                                                                                of 649
Pacific Gas and Electric Company                                                                                                     Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 5396    GENERAL OFF-BILL AND ON-                  8/15/2020       CCOTH_02176                 S-CAR-GO RACING INC                  637 LINDARO ST, SUITE 201
           BILLFINANCING LOAN AGREEMENT                                                                                               SAN RAFAEL, CA 94901

2. 5397    SINGLE-FAMILY AFFORDABLE SOLAR            Not Stated      CCOTH_03574                 SCHELLER,JENNIFER                    760 22ND ST
           HOMES (SASH)                                                                                                                RICHMOND, CA 94801

2. 5398    MASTER SERVICES AGREEMENT                 12/31/2021      CCNRD_02827                 SCHNEIDER ELECTRIC                   SCHNEIDER ELECTRIC
           PROVIDING THAT PG&E MAY ENTER                                                                                              P.O. BOX 510
           INTO CONTRACT WORK                                                                                                         SONOITA, AZ 85637
           AUTHORIZATIONS WITH THIS VENDOR
           FOR VARIOUS ENERGY EFFICIENCY
           SERVICES

2. 5399    SMARTAC                                   Not Stated      CCOTH_03599                 SCHOONMAKER,KRISTY                   6075 N 9TH ST
                                                                                                                                      FRESNO, CA 93710

2. 5400    LICENSE AND PROFESSIONAL SERVICES         12/31/2019      CCOTH_03752                 SCHOOX                               3112 WINDSOR RD., #A108
                                                                                                                                      AUSTIN, TX 78703

2. 5401    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00700                 SCOTT FIEBER                         705 SOUTH UNION AVENUE
                                                                                                                                      BAKERSFIELD 93307

2. 5402    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00644                 SCOTT LEE                            919 PALM STREET
                                                                                                                                      SAN LUIS OBISPO 93401

2. 5403    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00848                 SCOTT LOPATIN                        38 N ALMADEN BLVD UNIT 1423
                                                                                                                                      SAN JOSE 95110

2. 5404    DEPARTMENT OF CORRECTIONS AND             Not Stated      CCOTH_00483                 SCOTT MEINZEN                        25821 INDUSTRIAL BLVD SUITE 300
           REHABILITATION - CUSTOMIZED                                                                                                HAYWARD, CA 94545
           RETROFIT

2. 5405    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00871                 SCOTT SMITH                          3412 METRO DRIVE
                                                                                                                                      STOCKTON 95215

2. 5406    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01012                 SCOTT SMITH                          1902 CHANNEL DRIVE
                                                                                                                                      WEST SACRAMENTO 95691

2. 5407    GENERAL OFF-BILL AND ON-                  9/29/2022       CCOTH_02437                 SCOTT VALLEY SWIM & TENNIS CLUB -    10011 PIONEER BLVD.
           BILLFINANCING LOAN AGREEMENT                                                          50 UNDERHILL RD                      SANTA FE SPRINGS, CA 90670

                                                                      Page 560 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35               Page 561
                                                                                of 649
Pacific Gas and Electric Company                                                                                                   Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 5408    WATER AGREEMENT                           Not Stated      CCCRSOT_002                 SCOTTS VALLEY WATER DISTRICT       SCOTTS VALLEY WATER DISTRICT
                                                                         19                                                         2 CIVIC CENTER DR
                                                                                                                                    SCOTTS VALLEY, CA 95066

2. 5409    GENERAL OFF-BILL AND ON-                  10/7/2018       CCOTH_01858                 SEACLIFF INN MOTEL                 804 ESTATES DR. SUITE 202
           BILLFINANCING LOAN AGREEMENT                                                                                             APTOS, CA 95003

2. 5410    CONSULTING AND ENERGY                     2/28/2019       CCNRD_02892                 SEAHOLTZ BUSINESSES                4965 N. CRYSTAL AVE
           MANAGEMENT SERVICES                                                                                                      FRESNO, CA 93705

2. 5411    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00599                 SEAN P ABERCROMBIE                 4517 ARGONAUT WAY
           ADVANCED HOME UPGRADE                                                                                                    SACRAMENTO, CA 95864
           (CUSTOM/CALCULATED)

2. 5412    GENERAL OFF-BILL AND ON-                   3/5/2019       CCOTH_01734                 SEASCAPE RESORT - 1 SEASCAPE       804 ESTATES DRIVE SUITE 202
           BILLFINANCING LOAN AGREEMENT                                                          RESORT DR                          APTOS, CA 95003

2. 5413    GENERAL OFF-BILL AND ON-                   4/7/2022       CCOTH_01365                 SEASCAPE SWIM & RACQUET CLUB       877 CEDAR STREET, SUITE 240
           BILLFINANCING LOAN AGREEMENT                                                          PARTNERS                           SANTA CRUZ, CA 95060

2. 5414    GENERAL OFF-BILL AND ON-                  9/13/2019       CCOTH_01416                 SECOND STAR HOLDINGS LLC           1 CENTERPOINTE DR. STE. 400
           BILLFINANCING LOAN AGREEMENT                                                                                             LA PALMA, CA 90623

2. 5415    GENERAL OFF-BILL AND ON-                  10/13/2019      CCOTH_01417                 SECOND STAR HOLDINGS LLC           1 CENTERPOINTE DRIVE STE 400
           BILLFINANCING LOAN AGREEMENT                                                                                             LA PALMA, CA 90623

2. 5416    GENERAL OFF-BILL AND ON-                  10/13/2019      CCOTH_01418                 SECOND STAR HOLDINGS LLC           1 CENTERPOINTE DRIVE STE. 400
           BILLFINANCING LOAN AGREEMENT                                                                                             LA PALMA, CA 90623

2. 5417    GENERAL OFF-BILL AND ON-                  10/14/2019      CCOTH_02311                 SECOND STAR HOLDINGS LLC           1 CENTERPOINTE DR STE 400
           BILLFINANCING LOAN AGREEMENT                                                                                             LA PALMA, CA 90623

2. 5418    GENERAL OFF-BILL AND ON-                  6/29/2019       CCOTH_02312                 SECOND STAR HOLDINGS LLC           1 CENTERPOINTE DR. STE 400
           BILLFINANCING LOAN AGREEMENT                                                                                             LA PALMA, CA 90623

2. 5419    GENERAL OFF-BILL AND ON-                  11/27/2019      CCOTH_01572                 SECOND STAR HOLDINGS LLC - 1000    1 CENTERPOINTE DR. STE. 400
           BILLFINANCING LOAN AGREEMENT                                                          FARMERS LN                         LA PALMA, CA 90623




                                                                      Page 561 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                 Page 562
                                                                                of 649
Pacific Gas and Electric Company                                                                                                     Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 5420    GENERAL OFF-BILL AND ON-                   3/7/2023       CCOTH_01750                 SECOND STAR HOLDINGS LLC - 1000      PO BOX 366
           BILLFINANCING LOAN AGREEMENT                                                          FARMERS LN                           REDWOOD VALLEY, CA 95740

2. 5421    GENERAL OFF-BILL AND ON-                   2/7/2020       CCOTH_01573                 SECOND STAR HOLDINGS LLC - 2245      1 CENTERPOINTE DR. STE. 400
           BILLFINANCING LOAN AGREEMENT                                                          SANTA ROSA AVE                       LA PALMA, CA 90623

2. 5422    GENERAL OFF-BILL AND ON-                  11/27/2019      CCOTH_01563                 SECOND STAR HOLDINGS LLC - 3640      1 CENTERPOINTE DR. STE 400
           BILLFINANCING LOAN AGREEMENT                                                          INDUSTRIAL DR                        LA PALMA, CA 90623

2. 5423    GENERAL OFF-BILL AND ON-                  1/19/2022       CCOTH_02065                 SECOND STAR HOLDINGS LLC - 3640      PO BOX 366
           BILLFINANCING LOAN AGREEMENT                                                          INDUSTRIAL DR                        REDWOOD VALLEY, CA 95470

2. 5424    GENERAL OFF-BILL AND ON-                  11/27/2019      CCOTH_01570                 SECOND STAR HOLDINGS LLC - 495       1 CENTERPOINTE DR. STE 400
           BILLFINANCING LOAN AGREEMENT                                                          STONY POINT RD                       LA PALMA, CA 90623

2. 5425    GENERAL OFF-BILL AND ON-                  11/18/2020      CCOTH_02064                 SECOND STAR HOLDINGS LLC - 495       PO BOX 366
           BILLFINANCING LOAN AGREEMENT                                                          STONY POINT RD                       REDWOOD VALLEY, CA 95470

2. 5426    GENERAL OFF-BILL AND ON-                  11/27/2019      CCOTH_01571                 SECOND STAR HOLDINGS LLC - 6460      1 CENTERPOINTE DR. STE. 400
           BILLFINANCING LOAN AGREEMENT                                                          REDWOOD DR                           LA PALMA, CA 90623

2. 5427    GENERAL OFF-BILL AND ON-                  4/17/2021       CCOTH_02063                 SECOND STAR HOLDINGS LLC - 6460      PO BOX 366
           BILLFINANCING LOAN AGREEMENT                                                          REDWOOD DR                           **UPS OVERNIGHT DELIVERY**
                                                                                                                                      REDWOOD VALLEY, CA 95470

2. 5428    GENERAL OFF-BILL AND ON-                   8/7/2021       CCOTH_01249                 SEENO ENTERPRISES LLC - 1369         1800 WILLOW PASS CT
           BILLFINANCING LOAN AGREEMENT                                                          BUCHANAN RD                          CONCORD, CA 94520

2. 5429    GENERAL OFF-BILL AND ON-                   6/4/2019       CCOTH_02169                 SEG HELM LLC                         12820 EARHART
           BILLFINANCING LOAN AGREEMENT                                                                                               AUBURN, CA 95677

2. 5430    GENERAL OFF-BILL AND ON-                  12/21/2021      CCOTH_02598                 SELF-SERVE PETROLEUM, INC. - 3139    1111, W.EL CAMINO REAL,
           BILLFINANCING LOAN AGREEMENT                                                          JEFFERSON AVE                        STE 135
                                                                                                                                      SUNNYVALE, CA 94087

2. 5431    CSI                                       Not Stated      CCOTH_00471                 SEQUOIA PACIFIC SOLAR I LLC          3055 CLEARVIEW WAY
                                                                                                                                       SAN MATEO, CA 94402




                                                                      Page 562 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                 Page 563
                                                                                of 649
Pacific Gas and Electric Company                                                                                                     Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 5432    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03423                 SEQUOIA UNION HIGH SCHOOL            480 JAMES AVENUE
           BY DESIGN WHOLE BUILDING                                                              DISTRICT                             REDWOOD CITY, CA 94062

2. 5433    GENERAL OFF-BILL AND ON-                  3/28/2022       CCOTH_02498                 SEVEN OAKS COUNTRY CLUB - 2200       877 CEDAR ST. STE 240
           BILLFINANCING LOAN AGREEMENT                                                          GRAND LAKES AVE                      SANTA CRUZ, CA 95060

2. 5434    INDUSTRIAL CALCULATED INCENTIVES -        Not Stated      CCOTH_03269                 SEWER AUTHORITY MID-COASTSIDE        1000 N.CABRILLO HWY
           CUSTOMIZED INCENTIVE PROGRAM                                                                                               HALF MOON BAY, CA 94019

2. 5435    GENERAL OFF-BILL AND ON-                  11/18/2020      CCOTH_01924                 SFCJ INC - 4315 SIERRA COLLEGE BLVD 2280 GRASS VALLEY HWY #302
           BILLFINANCING LOAN AGREEMENT                                                                                              AUBURN, CA 95603

2. 5436    GENERAL OFF-BILL AND ON-                  1/29/2020       CCOTH_02349                 SFCJ INC - 4315 SIERRA COLLEGE BLVD 877 CEDAR ST. STE 240
           BILLFINANCING LOAN AGREEMENT                                                                                              SANTA CRUZ, CA 95060

2. 5437    GENERAL OFF-BILL AND ON-                  3/18/2021       CCOTH_02014                 SFCJ INC - 6741 STANFORD RANCH RD    2280 GRASS VALLEY HWY #302
           BILLFINANCING LOAN AGREEMENT                                                                                               AUBURN, CA 95603

2. 5438    WATER AGREEMENT                           Not Stated      CCCRSOT_002                 SFPUC - SAN FRAN WATER DEPT          SFPUC - WATER DEPT
                                                                         02                                                           SAN FRANCISCO, CA

2. 5439    GENERAL OFF-BILL AND ON-                  11/18/2019      CCOTH_01722                 SHAKER SQUARE CENTER LLC - 612 E     877 CEDAR ST, STE 240
           BILLFINANCING LOAN AGREEMENT                                                          BORONDA RD                           SANTA CRUZ, CA 95060

2. 5440    GENERAL OFF-BILL AND ON-                  12/4/2020       CCOTH_01721                 SHAKER SQUARE CENTER LLC - 684 E     877 CEDAR STREET, SUITE 240
           BILLFINANCING LOAN AGREEMENT                                                          BORONDA RD                           SANTA CRUZ, CA 95060

2. 5441    GENERAL OFF-BILL AND ON-                   9/4/2020       CCOTH_03067                 SHAMROCK SEED COMPANY - 3            PO BOX 2482
           BILLFINANCING LOAN AGREEMENT                                                          HARRIS PL                            KING CITY, CA 93930

2. 5442    GENERAL OFF-BILL AND ON-                  10/30/2020      CCOTH_02220                 SHANKLE REAL ESTATE                  804 ESTATES DR. SUITE 202
           BILLFINANCING LOAN AGREEMENT                                                          INCORPORATED                         APTOS, CA 95003

2. 5443    GENERAL OFF-BILL AND ON-                  11/14/2019      CCOTH_01434                 SHANKS,DALLAS DBA DALLAS SHANKS      27363 VIA INDUSTRIA
           BILLFINANCING LOAN AGREEMENT                                                          CHEVRON                              CHRIS KIRCHWEHM
                                                                                                                                      TEMECULA, CA 92590




                                                                      Page 563 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 564
                                                                                of 649
Pacific Gas and Electric Company                                                                                                   Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                 Address
                                                    or Remaining
                                                        Term


2. 5444    AGRICULTURAL CALCULATED                   Not Stated      CCOTH_00043                 SHANNON ENTERPRISES                75 MAIN STREET
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                        NORTH TONAWANDA, NY 14120
           PROGRAM

2. 5445    CALIFORNIA COMMUNITY COLLEGES -           Not Stated      CCOTH_00074                 SHASTA-TEHAMA-TRINITY JCCD         PO BOX 679
           CUSTOMIZED RETROFIT                                                                                                      REDDING, CA 96073

2. 5446    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00991                 SHAUN VIGIL                        2000 CADENASSO DRIVE
                                                                                                                                    FAIRFIELD 94533

2. 5447    GENERAL OFF-BILL AND ON-                  6/28/2020       CCOTH_01724                 SHAW REAL ESTATE INC - 1577 N      877 CEDAR STREET, SUITE 240
           BILLFINANCING LOAN AGREEMENT                                                          SANBORN RD                         SANTA CRUZ, CA 95060

2. 5448    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00985                 SHEIKH NAYEEM                      200 MARITIME ACADEMY DR
                                                                                                                                    VALLEJO 94590

2. 5449    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00978                 SHEILA COLLIER                     2134 MARTIN LUTHER KING JR
                                                                                                                                    WAY
                                                                                                                                    BERKELEY 94704

2. 5450    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00554                 SHELLEY MURVEIT                    1560 JULIE LANE
           ADVANCED HOME UPGRADE                                                                                                    LOS ALTOS, CA 94024
           (CUSTOM/CALCULATED)

2. 5451    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00603                 SHELLY COLEMAN                     1141 W CAMINITO MIO
           ADVANCED HOME UPGRADE                                                                                                    SAHUARITA, AZ 85629
           (CUSTOM/CALCULATED)

2. 5452    VOICE ASSISTANCE STUDY ET                 12/31/2018      CCOTH_03783                 SHELTON GROUP                      111 EAST JACKSON AVENUE
           PROJECT (EXPENSES)                                                                                                       STE 201
                                                                                                                                    KNOXVILLE, TN 37915

2. 5453    VOICE ASSISTANCE STUDY ET                 12/31/2018      CCOTH_03782                 SHELTON GROUP                      111 EAST JACKSON AVENUE
           PROJECT (LABOR)                                                                                                          STE 201
                                                                                                                                    KNOXVILLE, TN 37915

2. 5454    GENERAL OFF-BILL AND ON-                   8/2/2020       CCOTH_02748                 SHEPHERD RANCH MARKETPLACE         27363 VIA INDUSTRIA
           BILLFINANCING LOAN AGREEMENT                                                          LLC - 8871 N CHESTNUT A            TEMECULA, CA 92590




                                                                      Page 564 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                  Page 565
                                                                                of 649
Pacific Gas and Electric Company                                                                                                      Case Number:        19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                   Address
                                                    or Remaining
                                                        Term


2. 5455    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00884                 SHERRY HITE                           320 LEE STREET
                                                                                                                                       OAKLAND 94610

2. 5456    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00714                 SHERRY TAI                            6835 VIA DEL ORO
                                                                                                                                       SAN JOSE 95119

2. 5457    GENERAL OFF-BILL AND ON-                  4/14/2020       CCOTH_01518                 SHIMMICK CONSTRUCTION CO - 8201       10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          EDGEWATER DR                          SANTA FE SPRINGS, CA 90670

2. 5458    GENERAL OFF-BILL AND ON-                   7/8/2023       CCOTH_02567                 SHIN INTERNATIONAL INC - 655 ELLIS    2450 GIOVANNI DR
           BILLFINANCING LOAN AGREEMENT                                                          ST                                    PLACERVILLE, CA 95667

2. 5459    GENERAL OFF-BILL AND ON-                  9/21/2020       CCOTH_02352                 SHINGLE SPRINGS TRIBAL GAMING         1 RED HAWK PARKWAY
           BILLFINANCING LOAN AGREEMENT                                                          AUTHORITY - 1 RED H                   PLACERVILLE, CA 95667

2. 5460    GENERAL OFF-BILL AND ON-                   4/2/2019       CCOTH_02720                 SHINGLE SPRINGS TRIBAL GAMING         1 RED HAWK PARKWAY
           BILLFINANCING LOAN AGREEMENT                                                          AUTHORITY - 1 RED HA                  PLACERVILLE, CA 95667

2. 5461    GENERAL OFF-BILL AND ON-                  10/24/2021      CCOTH_02007                 SHINGLETOWN STORE INC - 31268         PO BOX 90
           BILLFINANCING LOAN AGREEMENT                                                          HWY 44 - SHINGLETON                   SHINGLETOWN, CA 96088

2. 5462    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01022                 SHIRLEY PERREIRA                      17547 COMCONEX RD
                                                                                                                                       MANTECA 95336

2. 5463    COMMERCIAL CALCULATED                     Not Stated      CCOTH_00138                 SIC-LAKESIDE DRIVE JV, LLC            300 LAKESIDE DRIVE, SUITE 1975
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                           OAKLAND, CA 94612
           PROGRAM

2. 5464    GENERAL OFF-BILL AND ON-                  4/16/2019       CCOTH_01446                 SIDHU,PRITAM                          1920 WESTRIDGE DRIVE
           BILLFINANCING LOAN AGREEMENT                                                                                                IRVING, TX 75038

2. 5465    GENERAL OFF-BILL AND ON-                   9/2/2021       CCOTH_03157                 SIEN TAING - 630 FAIRFAX RD           511 S. HARBOR BLVD., #C
           BILLFINANCING LOAN AGREEMENT                                                                                                LA HABRA, CA 90631

2. 5466    GENERAL OFF-BILL AND ON-                  12/7/2021       CCOTH_03035                 SIERRA AUTO BODY OF NEVADA            PO BOX 1376
           BILLFINANCING LOAN AGREEMENT                                                          COUNTY INC - 654 MALTMA               PENN VALLEY, CA 95946

2. 5467    2019 LGP SCOPE OF WORK                    12/31/2019      CCOTH_03716                 SIERRA BUSINESS COUNCIL               10098 DONNER PASS RD
                                                                                                                                       TRUCKEE, CA 96161

                                                                      Page 565 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                  Page 566
                                                                                of 649
Pacific Gas and Electric Company                                                                                                       Case Number:        19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                    Address
                                                    or Remaining
                                                        Term


2. 5468    MIGRATED TO 2700176431 FROM               6/30/2019       CCOTH_03705                 SIERRA BUSINESS COUNCIL                10098 DONNER PASS ROAD
           2501329381                                                                                                                   TRUCKEE, CA 96161

2. 5469    CALIFORNIA COMMUNITY COLLEGES -           Not Stated      CCOTH_00081                 SIERRA COMMUNITY COLLEGE               5000 ROCKLIN ROAD
           DEEMED DOWNSTREAM                                                                     DISTRICT FINANCE CORP                  ROCKLIN, CA 95677

2. 5470    AGRICULTURAL CALCULATED                   Not Stated      CCOTH_00023                 SIERRA NEVADA BREWERY                  1075 E. 20TH ST.
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                            CHICO, CA 95928
           PROGRAM

2. 5471    GENERAL OFF-BILL AND ON-                   9/7/2021       CCOTH_01792                 SIERRA NEVADA CHEESE COMPANY           6505 COUNTY RD 39
           BILLFINANCING LOAN AGREEMENT                                                                                                 WILLOWS, CA 95988

2. 5472    HVAC                                      Not Stated      CCCRSOT_002                 SIERRA PACIFIC PROPERTIES              SIERRA PACIFIC PROPERTIES INC
                                                                         16                                                             1800 WILLOW PASS CT
                                                                                                                                        CONCORD, CA 94520

2. 5473    REAL PROPERTY LEASE - CONCORD             2/29/2024       CCCRSLS_000                 SIERRA PACIFIC PROPERTIES INC          SIERRA PACIFIC PROPERTIES INC
           RMC                                                           23                                                             1800 WILLOW PASS CT
                                                                                                                                        CONCORD, CA 94520

2. 5474    GENERAL OFF-BILL AND ON-                  8/23/2021       CCOTH_02536                 SIERRA PACIFIC PROPERTIES INC - 262    1800 WILLOW PASS CT.
           BILLFINANCING LOAN AGREEMENT                                                          RESERVATION RD                         CONCORD, CA 94520

2. 5475    GENERAL OFF-BILL AND ON-                   5/9/2021       CCOTH_02336                 SIERRA PACIFIC PROPERTIES INC -        1800 WILLOW PASS CT
           BILLFINANCING LOAN AGREEMENT                                                          4652 CENTURY BLVD                      CONCORD, CA 94520

2. 5476    GENERAL OFF-BILL AND ON-                   6/9/2021       CCOTH_01253                 SIERRA PACIFIC PROPERTIES INC - 660    1800 WILLOW PASS CT
           BILLFINANCING LOAN AGREEMENT                                                          BAILEY RD # B                          CONCORD, CA 94520

2. 5477    GENERAL OFF-BILL AND ON-                   8/8/2021       CCOTH_01256                 SIERRA PACIFIC PROPERTIES INC- 288     1800 WILLOW PASS CT.
           BILLFINANCING LOAN AGREEMENT                                                          ATLANTIC AVE #A                        CONCORD, CA 94520

2. 5478    GENERAL OFF-BILL AND ON-                   9/6/2021       CCOTH_01739                 SIERRA PROPERTY MANAGEMENT -           12820 EARHART AVE.
           BILLFINANCING LOAN AGREEMENT                                                          386 ELM AVE                            AUBURN, CA 95602

2. 5479    GENERAL OFF-BILL AND ON-                   1/8/2019       CCOTH_01991                 SIERRA SUNRISE C/O SIERRA PROP         12820 EARHART AVE
           BILLFINANCING LOAN AGREEMENT                                                          MGMT                                   BRENT ESTES - DIRECTOR
                                                                                                                                        AUBURN, CA 95604


                                                                      Page 566 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                  Page 567
                                                                                of 649
Pacific Gas and Electric Company                                                                                                      Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                   Address
                                                    or Remaining
                                                        Term


2. 5480    COMMERCIAL HVAC - DEEMED                  Not Stated      CCOTH_00452                 SIGLER                                P.O. BOX 920
           UPSTREAM / MIDSTREAM -                                                                                                      TOLLESON, AZ 85353
           COMMERCIAL HVAC UPSTREAM

2. 5481    REAL PROPERTY LEASE - OAKLAND             Not Stated      CCCRSLS_001                 SIGNATURE FLIGHT SUPPORT              13485 VETERANS WAY, SUITE 600
           AIRPORT HANGAR 8A                                             05                      (LANDMARK)                            ORLANDO, FL

2. 5482    GENERAL OFF-BILL AND ON-                  5/15/2020       CCOTH_02475                 SIKAND,JASMINDER S - 800 SAN PABLO    10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          AVE                                   SANTA FE SPRINGS, CA 90670

2. 5483    GENERAL OFF-BILL AND ON-                  1/21/2021       CCOTH_02138                 SIKH CENTER GURDWARA - 3550           14439 CATALINA STREET
           BILLFINANCING LOAN AGREEMENT                                                          HILLCREST RD                          SAN LANDRO, CA 94577

2. 5484    ELECTRONIC SIGNATURE PRE-PAID             Evergreen       CCNRD_00007                 SILANAS TECHNOLOGY, ESIGNLIVE BY      3535 LOMITA BLVD
           SUBSCRIPTION, RENEWED                                                                 VASCO                                 SUITE B
           AUTOMATICALLY ANNUALLY                                                                                                      TORRANCE, CA 90505

2. 5485    INDUSTRIAL CALCULATED INCENTIVES -        Not Stated      CCOTH_03279                 SILICON VALLEY CLEAN WATER            1400 RADIO ROAD
           CUSTOMIZED INCENTIVE PROGRAM                                                                                                REDWOOD CITY, CA 94065

2. 5486    INDUSTRIAL CALCULATED INCENTIVES -        Not Stated      CCOTH_03280                 SILICON VALLEY CLEAN WATER            1400 RADIO ROAD
           CUSTOMIZED INCENTIVE PROGRAM                                                                                                REDWOOD CITY, CA 94065

2. 5487    INDUSTRIAL CALCULATED INCENTIVES -        Not Stated      CCOTH_03282                 SILICON VALLEY CLEAN WATER            1400 RADIO ROAD
           CUSTOMIZED INCENTIVE PROGRAM                                                                                                REDWOOD CITY, CA 94065

2. 5488    INDUSTRIAL CALCULATED INCENTIVES -        Not Stated      CCOTH_03283                 SILICON VALLEY CLEAN WATER            1400 RADIO ROAD
           CUSTOMIZED INCENTIVE PROGRAM                                                                                                REDWOOD CITY, CA 94065

2. 5489    INDUSTRIAL CALCULATED INCENTIVES -        Not Stated      CCOTH_03281                 SILICONVALLEY CLEAN WATER             1400 RADIO ROAD
           CUSTOMIZED INCENTIVE PROGRAM                                                                                                REDWOOD CITY, CA 94065

2. 5490    GENERAL OFF-BILL AND ON-                   4/2/2020       CCOTH_02749                 SILL PROPERTIES - 1801 CHESTER AVE    9530 HAGEMAN RD. B #196
           BILLFINANCING LOAN AGREEMENT                                                                                                BAKERSFIELD, CA 93312

2. 5491    GENERAL OFF-BILL AND ON-                  3/10/2020       CCOTH_01415                 SILVER CREEK COUNTRY CLUB             5460 COUNTRY CLUB PARKWAY
           BILLFINANCING LOAN AGREEMENT
                                                                                                                                       SAN JOSE, CA 95138



                                                                      Page 567 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 568
                                                                                of 649
Pacific Gas and Electric Company                                                                                                      Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                   Address
                                                    or Remaining
                                                        Term


2. 5492    CONSULTING AND ENERGY                     6/20/2019       CCNRD_02898                 SIMONIAN FRUIT CO                     PO BOX 340
           MANAGEMENT SERVICES                                                                                                         FOWLER, CA 93625

2. 5493    GENERAL OFF-BILL AND ON-                  1/20/2022       CCOTH_01717                 SIMONIAN FRUIT CO A CALIF CORP        10637 N. LOCAMOOR DRIVE
           BILLFINANCING LOAN AGREEMENT                                                                                                FRESNO, CA 93730

2. 5494    GENERAL OFF-BILL AND ON-                  9/23/2018       CCOTH_01442                 SIMPLY FOOD INC                       1798 N. 10TH AVE.
           BILLFINANCING LOAN AGREEMENT                                                                                                HANFORD, CA 93230

2. 5495    GENERAL OFF-BILL AND ON-                   8/6/2020       CCOTH_02358                 SIMS METAL USA CORP - 600 S 4TH ST    6120 LINCOLN BLVD. SUITE G
           BILLFINANCING LOAN AGREEMENT                                                                                                OROVILLE, CA 95966

2. 5496    GENERAL OFF-BILL AND ON-                  12/12/2019      CCOTH_01767                 SINGH,CHARANJIV                       317 4TH STREET
           BILLFINANCING LOAN AGREEMENT                                                                                                MIKE HOWARD - V.P.
                                                                                                                                       MARYSVILLE, CA 95901

2. 5497    GENERAL OFF-BILL AND ON-                  1/24/2022       CCOTH_02389                 SINGH,KAMALJIT - 4594 E BELMONT AVE 511 S HARBOR BLVD #C
           BILLFINANCING LOAN AGREEMENT                                                                                              LA HABRA, CA 90631

2. 5498    SMARTAC                                   Not Stated      CCOTH_03592                 SINGH,RAVINDER PAL                    10501 SUNSET RANCH DR TRACT
                                                                                                                                       6104-7
                                                                                                                                       BAKERSFIELD, CA 93311

2. 5499    SINGLE-FAMILY AFFORDABLE SOLAR            Not Stated      CCOTH_03587                 SINGH,VARINDER                        3045 PENELOPE DR
           HOMES (SASH)                                                                                                                 STOCKTON, CA 95212

2. 5500    GENERAL OFF-BILL AND ON-                  10/9/2021       CCOTH_02280                 SKANDIA FUNLAND INC                   5301 REDWOOD DR
           BILLFINANCING LOAN AGREEMENT                                                                                                ROHNERT PARK, CA 94928

2. 5501    GENERAL OFF-BILL AND ON-                   1/6/2022       CCOTH_02370                 SKYWEST AIRLINES INC - 5574 E         PO BOX 1078
           BILLFINANCING LOAN AGREEMENT                                                          AIRCORP WAY                           CLOVIS, CA

2. 5502    GENERAL OFF-BILL AND ON-                  12/18/2021      CCOTH_03222                 SLAKEY BROTHERS INC - 1480 NICORA     10 HARRIS COURT, BLDG C, SUITE
           BILLFINANCING LOAN AGREEMENT                                                          AVE                                   2
                                                                                                                                       MONTEREY, CA 93940

2. 5503    GENERAL OFF-BILL AND ON-                  8/28/2020       CCOTH_01475                 SLAKEY BROTHERS INC - 2608            877 CEDAR STREET, SUITE 240
           BILLFINANCING LOAN AGREEMENT                                                          CHANTICLEER AVE                       SANTA CRUZ, CA 95060



                                                                      Page 568 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 569
                                                                                of 649
Pacific Gas and Electric Company                                                                                                        Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 5504    GENERAL OFF-BILL AND ON-                   4/11/2021         CCOTH_01476                 SLAKEY BROTHERS INC - 329 ORANGE     877 CEDAR STREET, SUITE 240
           BILLFINANCING LOAN AGREEMENT                                                             AVE                                  SANTA CRUZ, CA 95060

2. 5505    GENERAL OFF-BILL AND ON-                   12/31/2019        CCOTH_01474                 SLAKEY BROTHERS INC - 601 WORK ST    601 WORK ST
           BILLFINANCING LOAN AGREEMENT                                                                                                  SALINAS, CA 93901

2. 5506    SECC 2018-2019 MEMBERSHIP                  6/30/2019         CCOTH_03813                 SMART ENERGY CONSUMER                SMART ENERGY CONSUMER
                                                                                                    COLLABORATIVE (SECC)                 COLLABORATIVE
                                                                                                                                         260 PEACHTREE ST NW STE 1202
                                                                                                                                         ATLANTA, GA 30303

2. 5507    LICENSE FOR INDIVIDUAL SITE             4/3/2022, unless     CCNRD_00741                 SMART SMR OF CALIFORNIA, INC.        SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                                    6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                                       MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                                         OVERLAND PARK, KS
           ATTACHMENT WITH SMART SMR OF
           CALIFORNIA, INC. , DATED APRIL 4,

2. 5508    LICENSE FOR INDIVIDUAL SITE             4/3/2022, unless     CCNRD_00742                 SMART SMR OF CALIFORNIA, INC.        SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                                    6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                                       MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                                         OVERLAND PARK, KS
           ATTACHMENT WITH SMART SMR OF
           CALIFORNIA, INC. , DATED APRIL 4,

2. 5509    LICENSE FOR INDIVIDUAL SITE             4/3/2022, unless     CCNRD_00743                 SMART SMR OF CALIFORNIA, INC.        SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                                    6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                                       MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                                         OVERLAND PARK, KS
           ATTACHMENT WITH SMART SMR OF
           CALIFORNIA, INC. , DATED APRIL 4,

2. 5510    MASTER AGREEMENT FOR ISSUANCE               4/3/2022         CCNRD_00013                 SMART SMR OF CALIFORNIA, INC.        SPRINT PROPERTY SERVICES
           OF LICENSES TO                                                                                                                6391 SPRINT PARKWAY
           TELECOMMUNICATIONS CUSTOMER                                                                                                   MAIL STOP KSOPHT0101-Z2650
           FOR ATTACHMENT OF ANTENNAS AND                                                                                                OVERLAND PARK, KS
           RELATED EQUIPMENT

2. 5511    CONTRACT WORK AUTHORIZATION TO             2/28/2019         CCNRD_02800                 SMART WATT                           SMARTWATT ENERGY, INC.
           PROVIDE ENERGY EFFICIENCY AUDIT                                                                                               3 ROSELL DRIVE
           SERVICES                                                                                                                      BALLSTON LAKE, NY 12019


                                                                         Page 569 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35                  Page 570
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                   Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 5512    MASTER SERVICES AGREEMENT                 12/31/2021      CCNRD_02808                 SMARTWATT ENERGY INC               SMARTWATT ENERGY INC
           PROVIDING THAT PG&E MAY ENTER                                                                                            3 ROSELL DR
           INTO CONTRACT WORK                                                                                                       BALLSTON LAKE, NY 12019
           AUTHORIZATIONS WITH THIS VENDOR
           FOR VARIOUS ENERGY EFFICIENCY
           SERVICES

2. 5513    SMARTAC                                   Not Stated      CCOTH_03606                 SMITH,DIANA                        2150 ORCHARD LN
                                                                                                                                    MERCED, CA 95340

2. 5514    GENERAL OFF-BILL AND ON-                  10/25/2022      CCOTH_01943                 SMITH,STEPHANIE - 534 SHASTA ST    877 CEDAR STREET, SUITE 240
           BILLFINANCING LOAN AGREEMENT                                                                                             SANTA CRUZ, CA 95060

2. 5515    COMMERCIAL CALCULATED                     Not Stated      CCOTH_00134                 SMITHFIELD                         605 HIGHWAY 169 N STE 1200
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                        MINNEAPOLIS, MN 55441
           PROGRAM

2. 5516    COMMERCIAL CALCULATED                     Not Stated      CCOTH_00169                 SMITHFIELD FOODS-SAN JOSE          1660 OLD BAYSHORE HWY
           INCENTIVES - CUSTOMIZED INCENTIVE                                                     (MOHAWK)                           SAN JOSE, CA 95112
           PROGRAM

2. 5517    GENERAL OFF-BILL AND ON-                  6/15/2021       CCOTH_01640                 SMUCKER NATURAL FOODS INC          6120 LINCOLN BLVD., SUITE G
           BILLFINANCING LOAN AGREEMENT                                                                                             OROVILLE, CA 95966

2. 5518    GENERAL OFF-BILL AND ON-                  5/26/2020       CCOTH_02803                 SNOWDEN,RICHARD - 120 CORPORATE    360 TESCONI CIR
           BILLFINANCING LOAN AGREEMENT                                                          PL                                 SANTA ROSA, CA 95401

2. 5519    PACIFIC ENERGY CENTER (PEC) IN SAN        12/31/2019      CCOTH_03751                 SODEXOMAGIC                        9801 WASHINGTONIAN BLVD
           FRANCISCO AND THE ENERGY                                                                                                 GAITHERSBURG, MD 20878
           TRAINING CENTER (ETC) IN STOCKTON

2. 5520    CALIFORNIA COMMUNITY COLLEGES -           Not Stated      CCOTH_00089                 SOLANO COMMUNITY COLLEGE           4000 SUISUN VALLEY ROAD
           SAVINGS BY DESIGN WHOLE BUILDING                                                                                         FAIRFIELD, CA 94534

2. 5521    CALIFORNIA COMMUNITY COLLEGES -           Not Stated      CCOTH_00097                 SOLANO COMMUNITY COLLEGE           1200 R ST., STE. 100
           SAVINGS BY DESIGN WHOLE BUILDING                                                                                         SACRAMENTO, CA 95811




                                                                      Page 570 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 571
                                                                                of 649
Pacific Gas and Electric Company                                                                                                   Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 5522    REAL PROPERTY LEASE - NUT TREE             1/1/2020       CCCRSLS_000                 SOLANO COUNTY                      SOLANO COUNTY, NUT TREE
           AIRPORT ADMIN. BUILDING                                       90                                                         AIRPORT,
                                                                                                                                    301 COUNTY AIRPORT RD STE 205
                                                                                                                                    VACAVILLE, CA 95688

2. 5523    GENERAL OFF-BILL AND ON-                  12/14/2021      CCOTH_01228                 SOLE SUPREMACY - 5904 NEWPARK      10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          MALL                               SANTA FE SPRINGS, CA 90670

2. 5524    GENERAL OFF-BILL AND ON-                   8/8/2019       CCOTH_01576                 SOLEDAD SHOPPING CENTER LP - 2100 877 CEDAR ST. STE 240
           BILLFINANCING LOAN AGREEMENT                                                          H DELAROSA SR ST                  SANTA CRUZ, CA 95060

2. 5525    SERVICE AGREEMENT                         Not Stated      CCCRSOT_002                 SOLID WASTE OF WILLITS             SOLID WASTE OF WILLITS INC
                                                                         20                                                         MENDOCINO SOLID WASTES,
                                                                                                                                    WILLITS, CA

2. 5526    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00730                 SONIA SHARMA                       6200 STONERIDGE MALL ROAD
                                                                                                                                    PLEASANTON 94588

2. 5527    INDUSTRIAL CALCULATED INCENTIVES -        Not Stated      CCOTH_03270                 SONOCO PROTECTIVE SOLUTIONS INC    ONE NORTH SECOND STREET
           CUSTOMIZED INCENTIVE PROGRAM                                                                                             HARTSVILLE, SC 29550

2. 5528    REAL PROPERTY LEASE - SONOMA CSO          9/30/2019       CCCRSLS_000                 SONOMA VALLEY CENTER LLC           SONOMA VALLEY CENTER LLC,
                                                                         82                                                         C/O MCDANIEL AND ASSOCIATES,
                                                                                                                                    ANTIOCH, CA

2. 5529    CUSTOMER AGREEMENT FOR EE                 8/31/2019       CCOTH_03794                 SONORA BUILDING COMPLEX            1413 GREENFIELD AVENUE #203
           EMERGING TECHNOLOGIES PROJECT                                                                                            LOS ANGELES, CA 90025

2. 5530    GENERAL OFF-BILL AND ON-                  2/19/2020       CCOTH_02493                 SOOTER,KEN - 14280 MONO WAY        PO BOX 1153
           BILLFINANCING LOAN AGREEMENT                                                                                             SOULSBYVILLE, CA 95372

2. 5531    MASTER AGREEMENT FOR ISSUANCE             3/14/2027       CCNRD_00020                 SOUND OF HOPE                      ATTN: CEO
           OF LICENSES TO                                                                                                           333 KEARNY ST. FLOOR 5
           TELECOMMUNICATIONS CUSTOMER                                                                                              SAN FRANCISCO
           FOR ATTACHMENT OF ANTENNAS AND                                                                                           CA 94108
           RELATED EQUIPMENT

2. 5532    GENERAL OFF-BILL AND ON-                  4/29/2019       CCOTH_02241                 SOUTH BAY SOLUTIONS INC            1725 RUTAN DRIVE
           BILLFINANCING LOAN AGREEMENT                                                                                             LIVERMORE, CA 94551



                                                                      Page 571 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 572
                                                                                of 649
Pacific Gas and Electric Company                                                                                                    Case Number:         19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                 Address
                                                    or Remaining
                                                        Term


2. 5533    GENERAL OFF-BILL AND ON-                  1/19/2021       CCOTH_03016                 SOUTH BAY SOLUTIONS INC - 37399     1725 RUTAN DRIVE
           BILLFINANCING LOAN AGREEMENT                                                          CENTRALMONT PL                      LIVERMORE, CA 94551

2. 5534    GENERAL OFF-BILL AND ON-                   8/2/2020       CCOTH_03077                 SOUTH CORNER DAIRY - SW SE 17 17    8517 AVENUE 360
           BILLFINANCING LOAN AGREEMENT                                                          24                                  VISALIA, CA 93291

2. 5535    GENERAL OFF-BILL AND ON-                   2/7/2023       CCOTH_02369                 SOUTH COUNTY PROPERTY               PO BOX 2061
           BILLFINANCING LOAN AGREEMENT                                                          MANAGEMENT CORP                     SAN JOSE, CA 95109

2. 5536    SERVICE AGREEMENT                         Not Stated      CCCRSOT_002                 SOUTH COUNTY SANITARY               SOUTH COUNTY SANITARY
                                                                         21                                                          SERVICE
                                                                                                                                     4388 OLD SANTA FE ROAD
                                                                                                                                     SAN LUIS OBISPO, CA 93401

2. 5537    WATER AGREEMENT                           Not Stated      CCCRSOT_002                 SOUTH FEATHER WATER & POWER         SOUTH FEATHER WATER &
                                                                         23                                                          POWER, SOUTH FEATHER POWER
                                                                                                                                     PROJECT,
                                                                                                                                     2310 ORO QUINCY HWY
                                                                                                                                     OROVILLE, CA 95966

2. 5538    RENT AGREEMENT                            Not Stated      CCCRSOT_002                 SOUTH NATOMAS TRANSP MGMT           SOUTH NATOMAS TMA
                                                                         22                      ASSOC (TMA)                         2595 CAPITOL OAKS DR #275
                                                                                                                                     SACRAMENTO, CA 95833

2. 5539    DEBRIS BOX                                Not Stated      CCCRSOT_002                 SOUTH SAN FRANCISCO SCAVENGER       SOUTH SAN FRANCISCO
                                                                         24                                                          SCAVENGER CO, INC
                                                                                                                                     500 E JAMIE CT
                                                                                                                                     SOUTH SAN FRANCISCO, CA

2. 5540    REAL PROPERTY LEASE - SAN RAFAEL          8/31/2025       CCCRSLS_000                 SOUTH VALLEY APARTMENTS LLC         SOUTH VALLEY APARTMENTS LLC,
           CSO                                                           73                                                          DBA RAFAEL TOWN CENTER,
                                                                                                                                     300 N GREENE ST STE 1000
                                                                                                                                     GREENSBORO, NC 27401

2. 5541    GENERAL OFF-BILL AND ON-                   6/4/2019       CCOTH_01745                 SOUTH YUBA CLUB INC                 10973 ROUGH AND READY
           BILLFINANCING LOAN AGREEMENT                                                                                              HIGHWAY
                                                                                                                                     GRASS VALLEY, CA 95945

2. 5542    GENERAL OFF-BILL AND ON-                  8/31/2021       CCOTH_01565                 SOUTH YUBA CLUB INC - 130 W         12122 DRY CREEK ROAD, SUITE
           BILLFINANCING LOAN AGREEMENT                                                          BERRYHILL DR - GRASS V              103
                                                                                                                                     AUBURN, CA 95602

                                                                      Page 572 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 573
                                                                                of 649
Pacific Gas and Electric Company                                                                                                        Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date        Contract ID    Co-Debtor Name                                 Address
                                                     or Remaining
                                                         Term


2. 5543    ELECTRIC AGREEMENT                          Not Stated        CCCRSOT_002                 SOUTHERN CALIFORNIA EDISON          SOUTHERN CALIFORNIA EDISON
                                                                             25                                                          CO
                                                                                                                                         ROSEMEAD, CA

2. 5544    ENERGIZE SCHOOLS                         May execute a co-    CCOTH_03757                 SOUTHERN CALIFORNIA EDISON          PO BOX 700
                                                   fund agreement by                                                                     ROSEMEAD, CA 91770
                                                    next week just for
                                                      January 1-29
                                                       followed by
                                                     another for Feb -
                                                        Dec. 2019

2. 5545    ENERGY ATLAS - OPERATIONS AND               12/31/2019        CCOTH_03719                 SOUTHERN CALIFORNIA EDISON          1515 WALNUT GROVE AVE
           MAINTENANCE (CO-FUND)                                                                                                         ROSEMEAD, CA 91770

2. 5546    PEAK STUDENT ENERGY ACTIONS                 Not Stated        CCOTH_03756                 SOUTHERN CALIFORNIA EDISON          PO BOX 700
                                                                                                                                         ROSEMEAD, CA 91770

2. 5547    REIMBURSEMENT AGREEMENT FOR                 5/31/2020         CCOTH_03797                 SOUTHERN CALIFORNIA EDISON          2244 WALNUT GROVE BLVD
           ETCC FACILITATION                                                                                                             ROSEMEAD, CA 91770

2. 5548    SEEC - 2019 SCOPE OF WORK FOR ILG           12/31/2019        CCOTH_03712                 SOUTHERN CALIFORNIA EDISON          1515 WALNUT GROVE AVE
           (CO-FUND)                                                                                                                     ROSEMEAD, CA 91770

2. 5549    WORKFORCE EDUCATION AND                     1/30/2019         CCOTH_03726                 SOUTHERN CALIFORNIA EDISON          PO BOX 700
           TRAINING PROGRAM                                                                                                              ROSEMEAD, CA 91770

2. 5550    WORKFORCE EDUCATION AND                     2/10/2019         CCOTH_03728                 SOUTHERN CALIFORNIA EDISON          PO BOX 700
           TRAINING PROGRAM                                                                                                              ROSEMEAD, CA 91770

2. 5551    CO-FUNDING AGREEMENT FOR                    Not Stated        CCOTH_00005                 SOUTHERN CALIFORNIA EDISON (SCE)    1515 WALNUT GROVE
           EXTERIOR LIGHTING STANDARD                                                                                                    4TH FLOOR
           PRACTICE BASELINE AND WORKPAPER                                                                                               ROSEMEAD, CA 91770
           SUPPORT STUDY

2. 5552    OPT IN PILOT LOAD IMPACTS                   12/31/2019        CCOTH_00002                 SOUTHERN CALIFORNIA EDISON (SCE)    1515 WALNUT GROVE
           EVALUATION (NEXANT)                                                                                                           4TH FLOOR
                                                                                                                                         ROSEMEAD, CA 91770




                                                                          Page 573 of 7354 to Schedule G
                                  Case: 19-30088     Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35               Page 574
                                                                                    of 649
Pacific Gas and Electric Company                                                                                                       Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                                 Address
                                                    or Remaining
                                                        Term


2. 5553    OPT IN PILOT SURVEY (RESEARCH INTO         12/31/2019        CCOTH_00003                 SOUTHERN CALIFORNIA EDISON (SCE)    1516 WALNUT GROVE
           ACTION)                                                                                                                      4TH FLOOR
                                                                                                                                        ROSEMEAD, CA 91770

2. 5554    2018 CAEECC RAAB                           1/31/2021         CCOTH_03777                 SOUTHERN CALIFORNIA EDISON CO       1515 WALNUT GROVE AVE
                                                                                                                                        ROSEMEAD, CA 91770

2. 5555    GAS AGREEMENT                              Not Stated        CCCRSOT_002                 SOUTHERN CALIFORNIA GAS             SOUTHERN CALIFORNIA GAS
                                                                            26                                                          COMPANY, THE GAS COMPANY,
                                                                                                                                        MONTEREY PARK, CA

2. 5556    CADMUS CONTRACT FOR TRACK 2                3/31/2018         CCOTH_03775                 SOUTHERN CALIFORNIA GAS CO          ML 711D
           WORKING GROUP                                                                                                                PO BOX 2007
                                                                                                                                        MONTEREY PARK, CA 91754

2. 5557    3C-REN AGREEMENT (CO-FUND)                 7/17/1905         CCOTH_03710                 SOUTHERN CALIFORNIA GAS CO.         555 W. FIFTH ST, GT20B4
                                                                                                                                        LOS ANGELES, CA 90013

2. 5558    2017-2018 ESA IMPACT EVALUATION            12/31/2019        CCOTH_00013                 SOUTHERN CALIFORNIA GAS COMPANY SOCALGAS ACCTS PAYABLE, ML
           STUDY                                                                                                                    GT15B9, PO BOX 30777
                                                                                                                                    LA, CA

2. 5559    LICENSE FOR INDIVIDUAL SITE             8/7/2032, unless     CCNRD_01525                 SOUTHERN CALIFORNIA GAS COMPANY ATTN: ADVANCED METER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                               PROJECT MANAGER, NETWORK
           AGREEMENT FOR STREET LIGHT                                                                                               TECHNOLOGY
           ATTACHMENTS WITH SOUTHERN                                                                                                555 W. 5TH STREET
           CALIFORNIA GAS COMPANY DATED                                                                                             GTO3B4
           AUGUST 8, 2012                                                                                                           LOS ANGELES, CA 90013

2. 5560    LICENSE FOR INDIVIDUAL SITE             8/7/2032, unless     CCNRD_01526                 SOUTHERN CALIFORNIA GAS COMPANY ATTN: ADVANCED METER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                               PROJECT MANAGER, NETWORK
           AGREEMENT FOR STREET LIGHT                                                                                               TECHNOLOGY
           ATTACHMENTS WITH SOUTHERN                                                                                                555 W. 5TH STREET
           CALIFORNIA GAS COMPANY DATED                                                                                             GTO3B4
           AUGUST 8, 2012                                                                                                           LOS ANGELES, CA 90013

2. 5561    LICENSE FOR INDIVIDUAL SITE             8/7/2032, unless     CCNRD_01527                 SOUTHERN CALIFORNIA GAS COMPANY ATTN: ADVANCED METER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                               PROJECT MANAGER, NETWORK
           AGREEMENT FOR STREET LIGHT                                                                                               TECHNOLOGY
           ATTACHMENTS WITH SOUTHERN                                                                                                555 W. 5TH STREET
           CALIFORNIA GAS COMPANY DATED                                                                                             GTO3B4
           AUGUST 8, 2012                                                                                                           LOS ANGELES, CA 90013
                                                                         Page 574 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 575
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                  Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                             Address
                                                    or Remaining
                                                        Term


2. 5562    LICENSE FOR INDIVIDUAL SITE             8/7/2032, unless     CCNRD_01528                 SOUTHERN CALIFORNIA GAS COMPANY ATTN: ADVANCED METER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                               PROJECT MANAGER, NETWORK
           AGREEMENT FOR STREET LIGHT                                                                                               TECHNOLOGY
           ATTACHMENTS WITH SOUTHERN                                                                                                555 W. 5TH STREET
           CALIFORNIA GAS COMPANY DATED                                                                                             GTO3B4
           AUGUST 8, 2012                                                                                                           LOS ANGELES, CA 90013

2. 5563    LICENSE FOR INDIVIDUAL SITE             8/7/2032, unless     CCNRD_01529                 SOUTHERN CALIFORNIA GAS COMPANY ATTN: ADVANCED METER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                               PROJECT MANAGER, NETWORK
           AGREEMENT FOR STREET LIGHT                                                                                               TECHNOLOGY
           ATTACHMENTS WITH SOUTHERN                                                                                                555 W. 5TH STREET
           CALIFORNIA GAS COMPANY DATED                                                                                             GTO3B4
           AUGUST 8, 2012                                                                                                           LOS ANGELES, CA 90013

2. 5564    LICENSE FOR INDIVIDUAL SITE             8/7/2032, unless     CCNRD_01530                 SOUTHERN CALIFORNIA GAS COMPANY ATTN: ADVANCED METER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                               PROJECT MANAGER, NETWORK
           AGREEMENT FOR STREET LIGHT                                                                                               TECHNOLOGY
           ATTACHMENTS WITH SOUTHERN                                                                                                555 W. 5TH STREET
           CALIFORNIA GAS COMPANY DATED                                                                                             GTO3B4
           AUGUST 8, 2012                                                                                                           LOS ANGELES, CA 90013

2. 5565    LICENSE FOR INDIVIDUAL SITE             8/7/2032, unless     CCNRD_01531                 SOUTHERN CALIFORNIA GAS COMPANY ATTN: ADVANCED METER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                               PROJECT MANAGER, NETWORK
           AGREEMENT FOR STREET LIGHT                                                                                               TECHNOLOGY
           ATTACHMENTS WITH SOUTHERN                                                                                                555 W. 5TH STREET
           CALIFORNIA GAS COMPANY DATED                                                                                             GTO3B4
           AUGUST 8, 2012                                                                                                           LOS ANGELES, CA 90013

2. 5566    LICENSE FOR INDIVIDUAL SITE             8/7/2032, unless     CCNRD_01532                 SOUTHERN CALIFORNIA GAS COMPANY ATTN: ADVANCED METER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                               PROJECT MANAGER, NETWORK
           AGREEMENT FOR STREET LIGHT                                                                                               TECHNOLOGY
           ATTACHMENTS WITH SOUTHERN                                                                                                555 W. 5TH STREET
           CALIFORNIA GAS COMPANY DATED                                                                                             GTO3B4
           AUGUST 8, 2012                                                                                                           LOS ANGELES, CA 90013

2. 5567    LICENSE FOR INDIVIDUAL SITE             8/7/2032, unless     CCNRD_01533                 SOUTHERN CALIFORNIA GAS COMPANY ATTN: ADVANCED METER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                               PROJECT MANAGER, NETWORK
           AGREEMENT FOR STREET LIGHT                                                                                               TECHNOLOGY
           ATTACHMENTS WITH SOUTHERN                                                                                                555 W. 5TH STREET
           CALIFORNIA GAS COMPANY DATED                                                                                             GTO3B4
           AUGUST 8, 2012                                                                                                           LOS ANGELES, CA 90013



                                                                         Page 575 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35            Page 576
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                  Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                             Address
                                                    or Remaining
                                                        Term


2. 5568    LICENSE FOR INDIVIDUAL SITE             8/7/2032, unless     CCNRD_01534                 SOUTHERN CALIFORNIA GAS COMPANY ATTN: ADVANCED METER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                               PROJECT MANAGER, NETWORK
           AGREEMENT FOR STREET LIGHT                                                                                               TECHNOLOGY
           ATTACHMENTS WITH SOUTHERN                                                                                                555 W. 5TH STREET
           CALIFORNIA GAS COMPANY DATED                                                                                             GTO3B4
           AUGUST 8, 2012                                                                                                           LOS ANGELES, CA 90013

2. 5569    LICENSE FOR INDIVIDUAL SITE             8/7/2032, unless     CCNRD_01535                 SOUTHERN CALIFORNIA GAS COMPANY ATTN: ADVANCED METER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                               PROJECT MANAGER, NETWORK
           AGREEMENT FOR STREET LIGHT                                                                                               TECHNOLOGY
           ATTACHMENTS WITH SOUTHERN                                                                                                555 W. 5TH STREET
           CALIFORNIA GAS COMPANY DATED                                                                                             GTO3B4
           AUGUST 8, 2012                                                                                                           LOS ANGELES, CA 90013

2. 5570    LICENSE FOR INDIVIDUAL SITE             8/7/2032, unless     CCNRD_01536                 SOUTHERN CALIFORNIA GAS COMPANY ATTN: ADVANCED METER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                               PROJECT MANAGER, NETWORK
           AGREEMENT FOR STREET LIGHT                                                                                               TECHNOLOGY
           ATTACHMENTS WITH SOUTHERN                                                                                                555 W. 5TH STREET
           CALIFORNIA GAS COMPANY DATED                                                                                             GTO3B4
           AUGUST 8, 2012                                                                                                           LOS ANGELES, CA 90013

2. 5571    LICENSE FOR INDIVIDUAL SITE             8/7/2032, unless     CCNRD_01537                 SOUTHERN CALIFORNIA GAS COMPANY ATTN: ADVANCED METER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                               PROJECT MANAGER, NETWORK
           AGREEMENT FOR STREET LIGHT                                                                                               TECHNOLOGY
           ATTACHMENTS WITH SOUTHERN                                                                                                555 W. 5TH STREET
           CALIFORNIA GAS COMPANY DATED                                                                                             GTO3B4
           AUGUST 8, 2012                                                                                                           LOS ANGELES, CA 90013

2. 5572    LICENSE FOR INDIVIDUAL SITE             8/7/2032, unless     CCNRD_01538                 SOUTHERN CALIFORNIA GAS COMPANY ATTN: ADVANCED METER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                               PROJECT MANAGER, NETWORK
           AGREEMENT FOR STREET LIGHT                                                                                               TECHNOLOGY
           ATTACHMENTS WITH SOUTHERN                                                                                                555 W. 5TH STREET
           CALIFORNIA GAS COMPANY DATED                                                                                             GTO3B4
           AUGUST 8, 2012                                                                                                           LOS ANGELES, CA 90013

2. 5573    LICENSE FOR INDIVIDUAL SITE             8/7/2032, unless     CCNRD_01539                 SOUTHERN CALIFORNIA GAS COMPANY ATTN: ADVANCED METER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                               PROJECT MANAGER, NETWORK
           AGREEMENT FOR STREET LIGHT                                                                                               TECHNOLOGY
           ATTACHMENTS WITH SOUTHERN                                                                                                555 W. 5TH STREET
           CALIFORNIA GAS COMPANY DATED                                                                                             GTO3B4
           AUGUST 8, 2012                                                                                                           LOS ANGELES, CA 90013



                                                                         Page 576 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35            Page 577
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                  Case Number:   19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                             Address
                                                    or Remaining
                                                        Term


2. 5574    LICENSE FOR INDIVIDUAL SITE             8/7/2032, unless     CCNRD_01540                 SOUTHERN CALIFORNIA GAS COMPANY ATTN: ADVANCED METER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                               PROJECT MANAGER, NETWORK
           AGREEMENT FOR STREET LIGHT                                                                                               TECHNOLOGY
           ATTACHMENTS WITH SOUTHERN                                                                                                555 W. 5TH STREET
           CALIFORNIA GAS COMPANY DATED                                                                                             GTO3B4
           AUGUST 8, 2012                                                                                                           LOS ANGELES, CA 90013

2. 5575    LICENSE FOR INDIVIDUAL SITE             8/7/2032, unless     CCNRD_01541                 SOUTHERN CALIFORNIA GAS COMPANY ATTN: ADVANCED METER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                               PROJECT MANAGER, NETWORK
           AGREEMENT FOR STREET LIGHT                                                                                               TECHNOLOGY
           ATTACHMENTS WITH SOUTHERN                                                                                                555 W. 5TH STREET
           CALIFORNIA GAS COMPANY DATED                                                                                             GTO3B4
           AUGUST 8, 2012                                                                                                           LOS ANGELES, CA 90013

2. 5576    LICENSE FOR INDIVIDUAL SITE             8/7/2032, unless     CCNRD_01542                 SOUTHERN CALIFORNIA GAS COMPANY ATTN: ADVANCED METER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                               PROJECT MANAGER, NETWORK
           AGREEMENT FOR STREET LIGHT                                                                                               TECHNOLOGY
           ATTACHMENTS WITH SOUTHERN                                                                                                555 W. 5TH STREET
           CALIFORNIA GAS COMPANY DATED                                                                                             GTO3B4
           AUGUST 8, 2012                                                                                                           LOS ANGELES, CA 90013

2. 5577    LICENSE FOR INDIVIDUAL SITE             8/7/2032, unless     CCNRD_01543                 SOUTHERN CALIFORNIA GAS COMPANY ATTN: ADVANCED METER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                               PROJECT MANAGER, NETWORK
           AGREEMENT FOR STREET LIGHT                                                                                               TECHNOLOGY
           ATTACHMENTS WITH SOUTHERN                                                                                                555 W. 5TH STREET
           CALIFORNIA GAS COMPANY DATED                                                                                             GTO3B4
           AUGUST 8, 2012                                                                                                           LOS ANGELES, CA 90013

2. 5578    LICENSE FOR INDIVIDUAL SITE             8/7/2032, unless     CCNRD_01544                 SOUTHERN CALIFORNIA GAS COMPANY ATTN: ADVANCED METER
           LOCATION UNDER MASTER LICENSE           terminated earlier                                                               PROJECT MANAGER, NETWORK
           AGREEMENT FOR STREET LIGHT                                                                                               TECHNOLOGY
           ATTACHMENTS WITH SOUTHERN                                                                                                555 W. 5TH STREET
           CALIFORNIA GAS COMPANY DATED                                                                                             GTO3B4
           AUGUST 8, 2012                                                                                                           LOS ANGELES, CA 90013

2. 5579    MASTER AGREEMENT FOR ISSUANCE              8/11/2032         CCNRD_01524                 SOUTHERN CALIFORNIA GAS COMPANY ATTN: ADVANCED METER
           OF LICENSES TO                                                                                                           PROJECT MANAGER, NETWORK
           TELECOMMUNICATIONS CUSTOMER                                                                                              TECHNOLOGY
           FOR ATTACHMENTS OF ANTENNAS AND                                                                                          555 W. 5TH STREET
           RELATED EQUIPMENT                                                                                                        GTO3B4
                                                                                                                                    LOS ANGELES, CA 90013



                                                                         Page 577 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35            Page 578
                                                                                   of 649
Pacific Gas and Electric Company                                                                                            Case Number:         19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                          Address
                                                    or Remaining
                                                        Term


2. 5580    MASTER SERVICES AGREEMENT                 12/31/2021      CCNRD_02829                 SOUTHLAND/ENVISE            ENVISE
           PROVIDING THAT PG&E MAY ENTER                                                                                     7390 LINCOLN WAY
           INTO CONTRACT WORK                                                                                                GARDEN GROVE, CA 92841
           AUTHORIZATIONS WITH THIS VENDOR
           FOR VARIOUS ENERGY EFFICIENCY
           SERVICES

2. 5581    COMMERCIAL HVAC - DEEMED                  Not Stated      CCOTH_00415                 SPECIALTY A/C PRODUCTS      5250 EAST 2ND ST
           UPSTREAM / MIDSTREAM -                                                                                            BENICIA, CA 94510
           COMMERCIAL HVAC UPSTREAM

2. 5582    COMMERCIAL HVAC - DEEMED                  Not Stated      CCOTH_00416                 SPECIALTY A/C PRODUCTS      5250 EAST 2ND ST
           UPSTREAM / MIDSTREAM -                                                                                            BENICIA, CA 94510
           COMMERCIAL HVAC UPSTREAM

2. 5583    COMMERCIAL HVAC - DEEMED                  Not Stated      CCOTH_00427                 SPECIALTY A/C PRODUCTS      310 SOQUEL WAY
           UPSTREAM / MIDSTREAM -                                                                                            SUNNYVALE, CA 94018
           COMMERCIAL HVAC UPSTREAM

2. 5584    COMMERCIAL HVAC - DEEMED                  Not Stated      CCOTH_00428                 SPECIALTY A/C PRODUCTS      310 SOQUEL WAY
           UPSTREAM / MIDSTREAM -                                                                                            SUNNYVALE, CA 94018
           COMMERCIAL HVAC UPSTREAM

2. 5585    COMMERCIAL HVAC - DEEMED                  Not Stated      CCOTH_00429                 SPECIALTY A/C PRODUCTS      310 SOQUEL WAY
           UPSTREAM / MIDSTREAM -                                                                                            SUNNYVALE, CA 94018
           COMMERCIAL HVAC UPSTREAM

2. 5586    COMMERCIAL HVAC - DEEMED                  Not Stated      CCOTH_00430                 SPECIALTY A/C PRODUCTS      310 SOQUEL WAY
           UPSTREAM / MIDSTREAM -                                                                                            SUNNYVALE, CA 94018
           COMMERCIAL HVAC UPSTREAM

2. 5587    COMMERCIAL HVAC - DEEMED                  Not Stated      CCOTH_00431                 SPECIALTY A/C PRODUCTS      310 SOQUEL WAY
           UPSTREAM / MIDSTREAM -                                                                                            SUNNYVALE, CA 94085
           COMMERCIAL HVAC UPSTREAM

2. 5588    COMMERCIAL HVAC - DEEMED                  Not Stated      CCOTH_00432                 SPECIALTY A/C PRODUCTS      310 SOQUEL WAY
           UPSTREAM / MIDSTREAM -                                                                                            SUNNYVALE, CA 94085
           COMMERCIAL HVAC UPSTREAM




                                                                      Page 578 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35           Page 579
                                                                                of 649
Pacific Gas and Electric Company                                                                                            Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                          Address
                                                    or Remaining
                                                        Term


2. 5589    COMMERCIAL HVAC - DEEMED                  Not Stated      CCOTH_00433                 SPECIALTY A/C PRODUCTS      310 SOQUEL WAY
           UPSTREAM / MIDSTREAM -                                                                                            SUNNYVALE, CA 94085
           COMMERCIAL HVAC UPSTREAM

2. 5590    COMMERCIAL HVAC - DEEMED                  Not Stated      CCOTH_00434                 SPECIALTY A/C PRODUCTS      310 SOQUEL WAY
           UPSTREAM / MIDSTREAM -                                                                                            SUNNYVALE, CA 94085
           COMMERCIAL HVAC UPSTREAM

2. 5591    COMMERCIAL HVAC - DEEMED                  Not Stated      CCOTH_00435                 SPECIALTY A/C PRODUCTS      310 SOQUEL WAY
           UPSTREAM / MIDSTREAM -                                                                                            SUNNYVALE, CA 94085
           COMMERCIAL HVAC UPSTREAM

2. 5592    COMMERCIAL HVAC - DEEMED                  Not Stated      CCOTH_00436                 SPECIALTY A/C PRODUCTS      310 SOQUEL WAY
           UPSTREAM / MIDSTREAM -                                                                                            SUNNYVALE, CA 94085
           COMMERCIAL HVAC UPSTREAM

2. 5593    COMMERCIAL HVAC - DEEMED                  Not Stated      CCOTH_00437                 SPECIALTY A/C PRODUCTS      310 SOQUEL WAY
           UPSTREAM / MIDSTREAM -                                                                                            SUNNYVALE, CA 94085
           COMMERCIAL HVAC UPSTREAM

2. 5594    COMMERCIAL HVAC - DEEMED                  Not Stated      CCOTH_00438                 SPECIALTY A/C PRODUCTS      310 SOQUEL WAY
           UPSTREAM / MIDSTREAM -                                                                                            SUNNYVALE, CA 94085
           COMMERCIAL HVAC UPSTREAM

2. 5595    COMMERCIAL HVAC - DEEMED                  Not Stated      CCOTH_00439                 SPECIALTY A/C PRODUCTS      310 SOQUEL WAY
           UPSTREAM / MIDSTREAM -                                                                                            SUNNYVALE, CA 94085
           COMMERCIAL HVAC UPSTREAM

2. 5596    COMMERCIAL HVAC - DEEMED                  Not Stated      CCOTH_00440                 SPECIALTY A/C PRODUCTS      310 SOQUEL WAY
           UPSTREAM / MIDSTREAM -                                                                                            SUNNYVALE, CA 94085
           COMMERCIAL HVAC UPSTREAM

2. 5597    COMMERCIAL HVAC - DEEMED                  Not Stated      CCOTH_00441                 SPECIALTY A/C PRODUCTS      310 SOQUEL WAY
           UPSTREAM / MIDSTREAM -                                                                                            SUNNYVALE, CA 94085
           COMMERCIAL HVAC UPSTREAM

2. 5598    COMMERCIAL HVAC - DEEMED                  Not Stated      CCOTH_00442                 SPECIALTY A/C PRODUCTS      310 SOQUEL WAY
           UPSTREAM / MIDSTREAM -                                                                                            SUNNYVALE, CA 94085
           COMMERCIAL HVAC UPSTREAM



                                                                      Page 579 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35           Page 580
                                                                                of 649
Pacific Gas and Electric Company                                                                                            Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                          Address
                                                    or Remaining
                                                        Term


2. 5599    COMMERCIAL HVAC - DEEMED                  Not Stated      CCOTH_00443                 SPECIALTY A/C PRODUCTS      310 SOQUEL WAY
           UPSTREAM / MIDSTREAM -                                                                                            SUNNYVALE, CA 94018
           COMMERCIAL HVAC UPSTREAM

2. 5600    COMMERCIAL HVAC - DEEMED                  Not Stated      CCOTH_00444                 SPECIALTY A/C PRODUCTS      310 SOQUEL WAY
           UPSTREAM / MIDSTREAM -                                                                                            SUNNYVALE, CA 94018
           COMMERCIAL HVAC UPSTREAM

2. 5601    COMMERCIAL HVAC - DEEMED                  Not Stated      CCOTH_00445                 SPECIALTY A/C PRODUCTS      310 SOQUEL WAY
           UPSTREAM / MIDSTREAM -                                                                                            SUNNYVALE, CA 94018
           COMMERCIAL HVAC UPSTREAM

2. 5602    COMMERCIAL HVAC - DEEMED                  Not Stated      CCOTH_00446                 SPECIALTY A/C PRODUCTS      310 SOQUEL WAY
           UPSTREAM / MIDSTREAM -                                                                                            SUNNYVALE, CA 94085
           COMMERCIAL HVAC UPSTREAM

2. 5603    COMMERCIAL HVAC - DEEMED                  Not Stated      CCOTH_00447                 SPECIALTY A/C PRODUCTS      310 SOQUEL WAY
           UPSTREAM / MIDSTREAM -                                                                                            SUNNYVALE, CA 94018
           COMMERCIAL HVAC UPSTREAM

2. 5604    COMMERCIAL HVAC - DEEMED                  Not Stated      CCOTH_00448                 SPECIALTY A/C PRODUCTS      310 SOQUEL WAY
           UPSTREAM / MIDSTREAM -                                                                                            SUNNYVALE, CA 94018
           COMMERCIAL HVAC UPSTREAM

2. 5605    COMMERCIAL HVAC - DEEMED                  Not Stated      CCOTH_00449                 SPECIALTY A/C PRODUCTS      310 SOQUEL WAY
           UPSTREAM / MIDSTREAM -                                                                                            SUNNYVALE, CA 94018
           COMMERCIAL HVAC UPSTREAM

2. 5606    COMMERCIAL HVAC - DEEMED                  Not Stated      CCOTH_00450                 SPECIALTY A/C PRODUCTS      310 SOQUEL WAY
           UPSTREAM / MIDSTREAM -                                                                                            SUNNYVALE, CA 94018
           COMMERCIAL HVAC UPSTREAM

2. 5607    COMMERCIAL HVAC - DEEMED                  Not Stated      CCOTH_00451                 SPECIALTY A/C PRODUCTS      310 SOQUEL WAY
           UPSTREAM / MIDSTREAM -                                                                                            SUNNYVALE, CA 94018
           COMMERCIAL HVAC UPSTREAM

2. 5608    PG&E ENERGY MANAGER CUSTOMER              1/14/2019       CCNRD_02908                 SPECIALTY GRANULES LLC      PO BOX 400
           SERVICES AGREEMENT                                                                                                IONE, CA 95640




                                                                      Page 580 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35           Page 581
                                                                                of 649
Pacific Gas and Electric Company                                                                                                      Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                   Address
                                                    or Remaining
                                                        Term


2. 5609    REAL PROPERTY LEASE - VACAVILLE           12/31/2019      CCCRSLS_000                 SPECTRUM PROPERTIES INC               SPECTRUM PROPERTIES INC
           CSO                                                           91                                                            411 DAVIS ST STE 102
                                                                                                                                       VACAVILLE, CA 95688

2. 5610    GENERAL OFF-BILL AND ON-                  4/29/2019       CCOTH_01149                 SPEEDS OIL TOOL SVC INC - 1573 E      511 S HARBOR BLVD., #C
           BILLFINANCING LOAN AGREEMENT                                                          BETTERAVIA RD                         LA HABRA, CA 90631

2. 5611    GENERAL OFF-BILL AND ON-                  1/31/2022       CCOTH_03233                 SPENCER JR,ERNEST A - 1300 E SHAW     590 W LOCUST AVE, STE 103
           BILLFINANCING LOAN AGREEMENT                                                          AVE                                   FRESNO, CA 93650

2. 5612    COMMERCIAL CALCULATED                     Not Stated      CCOTH_00145                 SPF CHINA BASIN HOLDING, LLC          185 BERRY STREET, STE 140
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                           SAN FRANCISCO, CA 94107
           PROGRAM

2. 5613    COMMERCIAL CALCULATED                     Not Stated      CCOTH_00150                 SPF CHINA BASIN HOLDING, LLC          185 BERRY STREET, STE 140
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                           SAN FRANCISCO, CA 94107
           PROGRAM

2. 5614    GENERAL OFF-BILL AND ON-                  12/13/2020      CCOTH_02118                 SPI PROPERTY MANAGEMENT CORP          3055 JEFFERSON, SUITE 3
           BILLFINANCING LOAN AGREEMENT                                                                                                NAPA, CA 94558

2. 5615    GENERAL OFF-BILL AND ON-                   1/6/2020       CCOTH_01603                 SPIKE N RAIL                          2044 E MUSCAT AVE
           BILLFINANCING LOAN AGREEMENT                                                                                                COOPER WALLACE - GENERAL
                                                                                                                                       MANAGER
                                                                                                                                       FRESNO, CA 93725

2. 5616    GENERAL OFF-BILL AND ON-                  6/27/2022       CCOTH_01211                 SPIRIT WORKS DISTILLERY LLC - 6790    4637 S. EAST AVE
           BILLFINANCING LOAN AGREEMENT                                                          MCKINLEY ST STE                       FRESNO, CA 93725

2. 5617    GENERAL OFF-BILL AND ON-                  5/26/2021       CCOTH_03133                 SPORT CLUB HILLS MANAGEMENT -         10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          2400 MANZANITA DR -                   SANTA FE SPRINGS, CA 90670

2. 5618    GENERAL OFF-BILL AND ON-                  11/29/2022      CCOTH_01679                 SPRECKELS UNION SCHOOL DISTRICT       101 PARKSHORE DR. STE. 100
           BILLFINANCING LOAN AGREEMENT                                                                                                FOLSOM, CA 95630

2. 5619    GENERAL OFF-BILL AND ON-                  5/29/2024       CCOTH_01680                 SPRECKELS UNION SCHOOL DISTRICT       101 PARKSHORE DR. STE. 100
           BILLFINANCING LOAN AGREEMENT                                                                                                FOLSOM, CA 95360

2. 5620    GENERAL OFF-BILL AND ON-                  1/13/2023       CCOTH_01702                 SPRECKELS UNION SCHOOL DISTRICT       101 PARKSHORE DR. STE. 100
           BILLFINANCING LOAN AGREEMENT                                                                                                FOLSOM, CA 95630

                                                                      Page 581 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                 Page 582
                                                                                of 649
Pacific Gas and Electric Company                                                                                              Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                         Address
                                                    or Remaining
                                                        Term


2. 5621    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00750                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5622    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00751                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5623    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00752                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5624    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00753                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5625    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00754                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5626    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00755                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996



                                                                         Page 582 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35          Page 583
                                                                                   of 649
Pacific Gas and Electric Company                                                                                              Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                         Address
                                                    or Remaining
                                                        Term


2. 5627    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00756                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5628    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00757                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5629    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00758                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5630    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00759                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5631    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00760                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5632    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00761                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996



                                                                         Page 583 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35          Page 584
                                                                                   of 649
Pacific Gas and Electric Company                                                                                              Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                         Address
                                                    or Remaining
                                                        Term


2. 5633    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00762                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5634    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00763                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5635    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00764                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5636    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00765                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5637    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00766                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5638    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00767                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996



                                                                         Page 584 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35          Page 585
                                                                                   of 649
Pacific Gas and Electric Company                                                                                              Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                         Address
                                                    or Remaining
                                                        Term


2. 5639    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00768                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5640    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00769                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5641    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00770                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5642    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00771                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5643    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00772                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5644    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00773                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996



                                                                         Page 585 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35          Page 586
                                                                                   of 649
Pacific Gas and Electric Company                                                                                              Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                         Address
                                                    or Remaining
                                                        Term


2. 5645    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00774                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5646    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00775                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5647    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00776                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5648    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00777                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5649    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00778                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5650    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00779                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996



                                                                         Page 586 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35          Page 587
                                                                                   of 649
Pacific Gas and Electric Company                                                                                              Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                         Address
                                                    or Remaining
                                                        Term


2. 5651    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00780                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5652    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00781                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5653    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00782                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5654    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00783                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5655    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00784                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5656    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00785                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996



                                                                         Page 587 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35          Page 588
                                                                                   of 649
Pacific Gas and Electric Company                                                                                              Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                         Address
                                                    or Remaining
                                                        Term


2. 5657    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00786                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5658    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00787                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5659    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00788                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5660    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00789                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5661    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00790                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5662    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00791                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996



                                                                         Page 588 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35          Page 589
                                                                                   of 649
Pacific Gas and Electric Company                                                                                              Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                         Address
                                                    or Remaining
                                                        Term


2. 5663    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00792                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5664    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00793                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5665    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00794                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5666    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00795                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5667    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00796                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5668    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00797                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996



                                                                         Page 589 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35          Page 590
                                                                                   of 649
Pacific Gas and Electric Company                                                                                              Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                         Address
                                                    or Remaining
                                                        Term


2. 5669    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00798                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5670    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00799                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5671    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00800                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5672    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00801                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5673    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00802                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5674    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00803                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996



                                                                         Page 590 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35          Page 591
                                                                                   of 649
Pacific Gas and Electric Company                                                                                              Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                         Address
                                                    or Remaining
                                                        Term


2. 5675    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00804                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5676    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00805                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5677    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00806                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5678    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00807                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5679    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00808                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5680    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00809                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996



                                                                         Page 591 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35          Page 592
                                                                                   of 649
Pacific Gas and Electric Company                                                                                              Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                         Address
                                                    or Remaining
                                                        Term


2. 5681    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00810                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5682    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00811                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5683    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00812                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5684    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00813                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5685    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00814                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5686    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00815                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996



                                                                         Page 592 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35          Page 593
                                                                                   of 649
Pacific Gas and Electric Company                                                                                              Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                         Address
                                                    or Remaining
                                                        Term


2. 5687    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00816                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5688    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00817                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5689    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00818                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5690    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00819                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5691    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00820                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5692    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00821                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996



                                                                         Page 593 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35          Page 594
                                                                                   of 649
Pacific Gas and Electric Company                                                                                              Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                         Address
                                                    or Remaining
                                                        Term


2. 5693    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00822                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5694    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00823                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5695    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00824                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5696    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00825                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5697    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00826                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5698    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00827                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996



                                                                         Page 594 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35          Page 595
                                                                                   of 649
Pacific Gas and Electric Company                                                                                              Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                         Address
                                                    or Remaining
                                                        Term


2. 5699    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00828                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5700    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00829                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5701    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00830                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5702    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00831                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5703    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00832                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5704    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00833                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996



                                                                         Page 595 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35          Page 596
                                                                                   of 649
Pacific Gas and Electric Company                                                                                              Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                         Address
                                                    or Remaining
                                                        Term


2. 5705    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00834                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5706    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00835                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5707    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00836                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5708    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00837                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5709    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00838                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5710    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00839                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996



                                                                         Page 596 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35          Page 597
                                                                                   of 649
Pacific Gas and Electric Company                                                                                              Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                         Address
                                                    or Remaining
                                                        Term


2. 5711    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00840                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5712    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00841                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5713    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00842                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5714    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00843                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5715    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00844                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5716    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00845                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996



                                                                         Page 597 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35          Page 598
                                                                                   of 649
Pacific Gas and Electric Company                                                                                              Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                         Address
                                                    or Remaining
                                                        Term


2. 5717    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00846                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5718    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00847                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5719    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00848                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5720    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00849                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5721    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00850                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5722    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00851                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996



                                                                         Page 598 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35          Page 599
                                                                                   of 649
Pacific Gas and Electric Company                                                                                              Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                         Address
                                                    or Remaining
                                                        Term


2. 5723    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00852                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5724    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00853                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5725    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00854                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5726    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00855                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5727    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00856                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5728    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00857                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996



                                                                         Page 599 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35          Page 600
                                                                                   of 649
Pacific Gas and Electric Company                                                                                              Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                         Address
                                                    or Remaining
                                                        Term


2. 5729    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00858                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5730    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00859                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5731    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00860                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5732    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00861                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5733    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00862                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5734    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00863                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996



                                                                         Page 600 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35          Page 601
                                                                                   of 649
Pacific Gas and Electric Company                                                                                              Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                         Address
                                                    or Remaining
                                                        Term


2. 5735    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00864                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5736    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00865                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5737    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00866                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5738    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00867                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5739    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00868                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5740    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00869                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996



                                                                         Page 601 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35          Page 602
                                                                                   of 649
Pacific Gas and Electric Company                                                                                              Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                         Address
                                                    or Remaining
                                                        Term


2. 5741    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00870                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5742    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00871                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5743    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00872                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5744    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00873                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5745    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00874                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5746    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00875                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996



                                                                         Page 602 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35          Page 603
                                                                                   of 649
Pacific Gas and Electric Company                                                                                              Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                         Address
                                                    or Remaining
                                                        Term


2. 5747    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00876                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5748    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00877                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5749    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00878                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5750    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00879                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5751    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00880                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5752    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00881                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996



                                                                         Page 603 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35          Page 604
                                                                                   of 649
Pacific Gas and Electric Company                                                                                              Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                         Address
                                                    or Remaining
                                                        Term


2. 5753    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00882                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5754    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00883                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5755    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00884                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5756    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00885                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5757    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00886                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5758    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00887                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996



                                                                         Page 604 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35          Page 605
                                                                                   of 649
Pacific Gas and Electric Company                                                                                              Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                         Address
                                                    or Remaining
                                                        Term


2. 5759    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00888                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5760    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00889                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5761    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00890                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5762    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00891                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5763    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00892                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5764    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00893                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996



                                                                         Page 605 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35          Page 606
                                                                                   of 649
Pacific Gas and Electric Company                                                                                              Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                         Address
                                                    or Remaining
                                                        Term


2. 5765    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00894                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5766    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00895                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5767    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00896                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5768    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00897                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5769    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00898                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996

2. 5770    LICENSE FOR INDIVIDUAL SITE             9/5/2021, unless     CCNRD_00899                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED SEPTEMBER 6, 1996



                                                                         Page 606 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35          Page 607
                                                                                   of 649
Pacific Gas and Electric Company                                                                                              Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date        Contract ID    Co-Debtor Name                         Address
                                                    or Remaining
                                                        Term


2. 5771    LICENSE FOR INDIVIDUAL SITE             6/5/2027, unless     CCNRD_00744                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED JUNE 6, 2007

2. 5772    LICENSE FOR INDIVIDUAL SITE             6/5/2027, unless     CCNRD_00745                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED JUNE 6, 2007

2. 5773    LICENSE FOR INDIVIDUAL SITE             6/5/2027, unless     CCNRD_00746                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED JUNE 6, 2007

2. 5774    LICENSE FOR INDIVIDUAL SITE             6/5/2027, unless     CCNRD_00747                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED JUNE 6, 2007

2. 5775    LICENSE FOR INDIVIDUAL SITE             6/5/2027, unless     CCNRD_00748                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED JUNE 6, 2007

2. 5776    LICENSE FOR INDIVIDUAL SITE             6/5/2027, unless     CCNRD_00749                 SPRINT SPECTRUM, L.P.      SPRINT PROPERTY SERVICES
           LOCATION UNDER AMENDED AND              terminated earlier                                                          6391 SPRINT PARKWAY
           RESTATED MASTER LICENSE                                                                                             MAIL STOP KSOPHT0101-Z2650
           AGREEMENT FOR ANTENNA                                                                                               OVERLAND PARK, KS
           ATTACHMENT WITH SPRINT SPECTRUM,
           L.P. , DATED JUNE 6, 2007



                                                                         Page 607 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35          Page 608
                                                                                   of 649
Pacific Gas and Electric Company                                                                                                      Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                   Address
                                                    or Remaining
                                                        Term


2. 5777    MASTER AGREEMENT FOR ISSUANCE              6/5/2027       CCNRD_00014                 SPRINT SPECTRUM, L.P.                 SPRINT PROPERTY SERVICES
           OF LICENSES TO                                                                                                              6391 SPRINT PARKWAY
           TELECOMMUNICATIONS CUSTOMER                                                                                                 MAIL STOP KSOPHT0101-Z2650
           FOR ATTACHMENT OF ANTENNAS AND                                                                                              OVERLAND PARK, KS
           RELATED EQUIPMENT

2. 5778    MASTER AGREEMENT FOR ISSUANCE              9/5/2021       CCNRD_00015                 SPRINT SPECTRUM, L.P.                 SPRINT PROPERTY SERVICES
           OF LICENSES TO                                                                                                              6391 SPRINT PARKWAY
           TELECOMMUNICATIONS CUSTOMER                                                                                                 MAIL STOP KSOPHT0101-Z2650
           FOR ATTACHMENT OF ANTENNAS AND                                                                                              OVERLAND PARK, KS
           RELATED EQUIPMENT

2. 5779    GENERAL OFF-BILL AND ON-                  3/26/2021       CCOTH_02895                 SRR PARTNERS - 2021 OMEGA RD          10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                                                                SANTA FE SPRINGS, CA 90670

2. 5780    GENERAL OFF-BILL AND ON-                  3/14/2021       CCOTH_02886                 SRV SR LLC - 2355 SAN RAMON VALLEY    10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          BLVD                                  SANTA FE SPRINGS, CA 90670

2. 5781    GENERAL OFF-BILL AND ON-                  2/26/2023       CCOTH_02359                 ST ANTHONYS CATHOLIC CHURCH -         1550 N FRESNO ST.
           BILLFINANCING LOAN AGREEMENT                                                          1018 N FRANKWOOD AVE                  FRESNO, CA 93703

2. 5782    GENERAL OFF-BILL AND ON-                  4/12/2021       CCOTH_02354                 ST ANTHONYS CATHOLIC CHURCH -         1550 N. FRESNO ST
           BILLFINANCING LOAN AGREEMENT                                                          1060 F ST                             FRESNO, CA 93703

2. 5783    GENERAL OFF-BILL AND ON-                  6/17/2021       CCOTH_01798                 ST ANTHONYS SCHOOL - FRESNO           1550 N. FRESNO ST.
           BILLFINANCING LOAN AGREEMENT                                                                                                FRESNO, CA 93703

2. 5784    GENERAL OFF-BILL AND ON-                  6/20/2021       CCOTH_03169                 ST GEORGE GREEK ORTHODOX              1226 S. GOLDEN ST DR.
           BILLFINANCING LOAN AGREEMENT                                                          CHURCH - 2219 N ORCHARD S             MADERA, CA 93637

2. 5785    GENERAL OFF-BILL AND ON-                  9/13/2021       CCOTH_01482                 ST JOACHIMS CATHOLIC CHURCH -         27363 VIA INDUSTRIA
           BILLFINANCING LOAN AGREEMENT                                                          21250 HESPERIAN BLVD                  TEMECULA, CA 92590

2. 5786    GENERAL OFF-BILL AND ON-                  2/15/2023       CCOTH_01291                 ST JOACHIMS CHURCH - 400 W 4TH ST     1550 S. FRESNO ST.
           BILLFINANCING LOAN AGREEMENT                                                                                                FRESNO, CA 93703

2. 5787    GENERAL OFF-BILL AND ON-                  10/6/2020       CCOTH_01296                 ST JOHN'S CATHEDRAL - 2820            PO BOX 4287
           BILLFINANCING LOAN AGREEMENT                                                          MARIPOSA ST                           FRESNO, CA 93744




                                                                      Page 608 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                 Page 609
                                                                                of 649
Pacific Gas and Electric Company                                                                                                      Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                   Address
                                                    or Remaining
                                                        Term


2. 5788    GENERAL OFF-BILL AND ON-                  1/27/2022       CCOTH_03054                 ST JOHN'S CATHEDRAL - 2820            1550 N FRESNO ST
           BILLFINANCING LOAN AGREEMENT                                                          MARIPOSA ST                           FRESNO, CA 93703

2. 5789    GENERAL OFF-BILL AND ON-                  1/30/2019       CCOTH_01677                 ST JOHNS LUTHERAN CHURCH              1187 N WILLOW AVE., #103, PMB
           BILLFINANCING LOAN AGREEMENT                                                                                                #40
                                                                                                                                       CLOVIS, CA 93611

2. 5790    GENERAL OFF-BILL AND ON-                  8/27/2022       CCOTH_01289                 ST LA SALLE SCHOOL - 404 E MANNING    1550 N FRESNO ST.
           BILLFINANCING LOAN AGREEMENT                                                          AVE                                   FRESNO, CA 93703

2. 5791    GENERAL OFF-BILL AND ON-                  11/28/2021      CCOTH_01946                 ST LA SALLE SCHOOL - 404 E MANNING    PO BOX 11158
           BILLFINANCING LOAN AGREEMENT                                                          AVE                                   FRESNO, CA 93771

2. 5792    GENERAL OFF-BILL AND ON-                  4/18/2023       CCOTH_02836                 ST PATRICK'S CATHOLIC CHURCH -        567 S 6TH
           BILLFINANCING LOAN AGREEMENT                                                          14930 W F ST- KERMAN                  KERMAN, CA 93630

2. 5793    GENERAL OFF-BILL AND ON-                  6/29/2023       CCOTH_02837                 ST PATRICK'S CATHOLIC CHURCH -        567 S. 6TH STREET
           BILLFINANCING LOAN AGREEMENT                                                          15437 W KEARNEY BLVD                  KERMAN, CA 93630

2. 5794    GENERAL OFF-BILL AND ON-                  11/24/2020      CCOTH_01459                 ST TIMOTHYS EPISCOPAL CHURCH          28312 INDUSTRIAL BLVD.
           BILLFINANCING LOAN AGREEMENT                                                                                                HAYWARD, CA 94545

2. 5795    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00671                 STACEY DOUGHERTY                      801 FOX LN.
                                                                                                                                       SAN JOSE 95131

2. 5796    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00550                 STACEY JANOFF                         135 ARLINGTON AVE
           ADVANCED HOME UPGRADE                                                                                                       KENSINGTON, CA 94707
           (CUSTOM/CALCULATED)

2. 5797    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00922                 STACY BARRAQUE                        2700 AMBER TRAIL
                                                                                                                                       POLLOCK PINES 95726

2. 5798    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01013                 STACY LEDOU                           18751 RAILROAD AVE
                                                                                                                                       SONOMA 95476

2. 5799    AGRICULTURAL CALCULATED                   Not Stated      CCOTH_00060                 STAMOULES PRODUCE                     904 S LYON
           INCENTIVES - RETRO COMMISSIONING                                                                                            MENDOTA, CA 93640
           (RCX)



                                                                      Page 609 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 610
                                                                                of 649
Pacific Gas and Electric Company                                                                                                   Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 5800    CONSULTING AND ENERGY                     12/13/2018      CCNRD_02886                 STAMOULES PRODUCE                  904 S. LYON AVE
           MANAGEMENT SERVICES                                                                                                      MENDOTA, CA 93640

2. 5801    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01036                 STAN NAKASO                        16020 EMPIRE GRADE
                                                                                                                                    SANTA CRUZ 95060

2. 5802    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01116                 STAN NAKASO                        1111 LOCKHEED MARTIN WAY
                                                                                                                                    SUNNVYALE 94086

2. 5803    GENERAL OFF-BILL AND ON-                   9/3/2019       CCOTH_01469                 STANFORD BUSINESS                  12820 EARHART AVE
           BILLFINANCING LOAN AGREEMENT                                                                                             AUBURN, CA 95602

2. 5804    COMMERCIAL CALCULATED                     Not Stated      CCOTH_00179                 STANFORD UNIVERSITY                327 BONAIR SIDING
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                        STANFORD, CA 94305
           PROGRAM

2. 5805    INDUSTRIAL CALCULATED INCENTIVES -        Not Stated      CCOTH_03297                 STANFORD UNIVERSITY                327 BONAIR SIDING
           CUSTOMIZED INCENTIVE PROGRAM                                                                                             STANFORD, CA 94305

2. 5806    NON-DISCLOSURE AGREEMENT                 3/24/2023 (if    CCOTH_00012                 STANFORD UNIVERSITY                FRANK WOLAK, ENCINA HALL
                                                     applicable)                                                                    E419, 616 SERRA ST.
                                                                                                                                    STANFORD, CA 94305

2. 5807    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01099                 STANLEY HARBOUR                    1242 E. CHAMPLAIN DR.
                                                                                                                                    FRESNO 93720

2. 5808    CONTRACT DESIGN & ESTIMATING              9/28/2020       CCNRD_00005                 STANTEC CONSULTING SERVICES INC    2410 CAMINO RAMON
           MASTER SERVICE AGREEMENT                                                                                                 SUITE 325
           (“CONTRACT”) TO SUPPORT PG&E IN ITS                                                                                      BISHOP RANCH 6
           PERFORMANCE OF THE OPERATIONS                                                                                            SAN RAMON, CA
           AND MAINTENANCE OF ITS ELECTRIC
           DISTRIBUTION FACILITIES

2. 5809    GENERAL OFF-BILL AND ON-                  12/2/2019       CCOTH_01599                 STAR BY THE BAY, INC.              360 KIELY BLVD. #270
           BILLFINANCING LOAN AGREEMENT                                                                                             SAN JOSE, CA 95129

2. 5810    GENERAL OFF-BILL AND ON-                  12/2/2020       CCOTH_01610                 STAR BY THE BAY, INC.              360 KIELY BLVD. #270
           BILLFINANCING LOAN AGREEMENT                                                                                             SAN JOSE, CA 95129




                                                                      Page 610 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 611
                                                                                of 649
Pacific Gas and Electric Company                                                                                                     Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 5811    GENERAL OFF-BILL AND ON-                   5/2/2023       CCOTH_01267                 STAR FRESNO PROPERTIES LLC - 6420    12820 EARHART AVE
           BILLFINANCING LOAN AGREEMENT                                                          N BLACKSTONE AVE                     AUBURN, CA 95602

2. 5812    CALIFORNIA COMMUNITY COLLEGES -           Not Stated      CCOTH_00063                 STATE CENTER COMMUNITY COLLEGE       1525 E WELDON AVENUE
           CUSTOMIZED RETROFIT                                                                   DISTRICT                             FRESNO, CA 93704

2. 5813    SST AUDIT OF ENERGY EFFICIENCY            2/28/2019       CCNRD_02789                 STATE OF CALIFORNIA                  OFFICE OF SUSTAINABILITY
           MEASURES                                                                                                                   DEPT OF GENERAL SERVICES
                                                                                                                                      707 THIRD ST., 4TH FLOOR, MAIL
                                                                                                                                      STOP 509
                                                                                                                                      WEST SACRAMENTO, CA 95605

2. 5814    COMMERCIAL CALCULATED                     Not Stated      CCOTH_00144                 STATE OF CALIFORNIA - JUDICIAL       2860 GATEWAY OAKS DRIVE,
           INCENTIVES - CUSTOMIZED INCENTIVE                                                     COUNCIL OF CA                        SUITE 400
           PROGRAM                                                                                                                    SACRAMENTO, CA 95833

2. 5815    COMMERCIAL CALCULATED                     Not Stated      CCOTH_00198                 STATE OF CALIFORNIA - JUDICIAL       2860 GATEWAY OAKS DRIVE,
           INCENTIVES - RETRO COMMISSIONING                                                      COUNCIL OF CA                        SUITE 400
           (RCX)                                                                                                                      SACRAMENTO, CA 95833

2. 5816    COMMERCIAL CALCULATED                     Not Stated      CCOTH_00200                 STATE OF CALIFORNIA - JUDICIAL       2860 GATEWAY OAKS DRIVE,
           INCENTIVES - RETRO COMMISSIONING                                                      COUNCIL OF CA                        SUITE 400
           (RCX)                                                                                                                      SACRAMENTO, CA 95833

2. 5817    COMMERCIAL CALCULATED                     Not Stated      CCOTH_00199                 STATE OF CALIFORNIA - JUDICIAL       2860 GATEWAY OAKS DRIVE,
           INCENTIVES - RETRO COMMISSIONING                                                      COUNCIL OF CALIFORN                  SUITE 400
           (RCX)                                                                                                                      SACRAMENTO, CA 95833

2. 5818    REAL PROPERTY LEASE - OAKLAND CSO         11/30/2025      CCCRSLS_000                 STATE OF CALIFORNIA DEPARTMENT       STATE OF CALIFORNIA
                                                                         55                                                           DEPARTMENT OF, GENERAL
                                                                                                                                      SERVICES,
                                                                                                                                      WEST SACRAMENTO, CA

2. 5819    ELEVATOR PERMIT                           Not Stated      CCCRSOT_002                 STATE OF CALIFORNIA DEPARTMENT       ACCOUNTING OFFICE
                                                                         27                      OF INDUSTRIAL RELATIONS              OCCUPATIONAL SAFE, HEALTH
                                                                                                                                      DEPARTMENT OF INDUSTRIAL,
                                                                                                                                      RELATIONS
                                                                                                                                      SAN FRANCISCO, CA

2. 5820    STATE OF CALIFORNIA - CUSTOMIZED          Not Stated      CCOTH_03623                 STATE OF CALIFORNIA DEPT OF          707 W THIRD ST
           RETROFIT                                                                              GENERAL SERVICES                     WEST SACRAMENTO, CA 95605

                                                                      Page 611 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 612
                                                                                of 649
Pacific Gas and Electric Company                                                                                                    Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                 Address
                                                    or Remaining
                                                        Term


2. 5821    MASTER SERVICES AGREEMENT                 1/17/2021       CCNRD_02790                 STATE OF CALIFORNIA, DEPT OF        OFFICE OF SUSTAINABILITY
           PERMITTING CUSTOMER TO ENTER                                                          GENERAL SVCS, OFFICE OF             DEPT OF GENERAL SERVICES
           INTO ENERGY EFFICIENCY CONTRACTS                                                      SUSTAINABILITY                      707 THIRD ST., 4TH FLOOR, MAIL
           (WORK ORDERS) WITH PG&E                                                                                                   STOP 509
                                                                                                                                     WEST SACRAMENTO, CA 95605

2. 5822    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00843                 STEFFANIE ONG                       3950 BRICKWAY BLVD
                                                                                                                                     SANTA ROSA 95403

2. 5823    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00862                 STEFFANIE ONG                       3576 UNOCAL PLACE
                                                                                                                                     SANTA ROSA 95403

2. 5824    GENERAL OFF-BILL AND ON-                  8/13/2019       CCOTH_02120                 STELLARTECH RESEARCH CORP           27363 VIA INDUSTRIA
           BILLFINANCING LOAN AGREEMENT                                                                                              TEMECULA, CA 92590

2. 5825    SELF-GENERATION INCENTIVE                 Not Stated      CCOTH_03495                 STEM, INC.                          100 ROLLINS RD
           PROGRAM                                                                                                                    MILLBRAE, CA 94030

2. 5826    SELF-GENERATION INCENTIVE                 Not Stated      CCOTH_03496                 STEM, INC.                          100 ROLLINS ROAD
           PROGRAM                                                                                                                    MILLBRAE, CA 94030

2. 5827    SELF-GENERATION INCENTIVE                 Not Stated      CCOTH_03497                 STEM, INC.                          100 ROLLINS ROAD
           PROGRAM                                                                                                                    MILLBRAE, CA 94030

2. 5828    REAL PROPERTY LEASE - SANTA ROSA          10/31/2019      CCCRSLS_000                 STEMKEN PARK                        STEMKEN PARK
           BLDG. MAINT. SHOP                                             80                                                          SAN RAFAEL, CA

2. 5829    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00960                 STEPHANY ZAPATA                     235 BERRY STREET
                                                                                                                                     SAN FRANCISCO 94158

2. 5830    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00963                 STEPHEN BOYER                       23500 CRISTO REY DRIVE
                                                                                                                                     CUPERTINO 95014

2. 5831    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00499                 STEPHEN SIMS                        555 VISTAMONT AVE
           ADVANCED HOME UPGRADE                                                                                                     BERKELEY, CA 94708
           (CUSTOM/CALCULATED)

2. 5832    GENERAL OFF-BILL AND ON-                  10/16/2019      CCOTH_02974                 STERIGENICS INTERNATIONAL - 2319    9100 SOUTH HILLS BLVD., SUITE
           BILLFINANCING LOAN AGREEMENT                                                          LINCOLN AVE                         300
                                                                                                                                     BROADVIEW HEIGHTS, OH 44147

                                                                      Page 612 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                 Page 613
                                                                                of 649
Pacific Gas and Electric Company                                                                                                      Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                   Address
                                                    or Remaining
                                                        Term


2. 5833    GENERAL OFF-BILL AND ON-                  1/24/2021       CCOTH_02187                 STERLING AVIONICS, INC. - 145 JOHN    7042 - B COMMERCE CIRCLE
           BILLFINANCING LOAN AGREEMENT                                                          GLENN DR                              PLEASANTON, CA 94588

2. 5834    GENERAL OFF-BILL AND ON-                  4/30/2019       CCOTH_01584                 STERLING POINTE OWNERS                12820 EARHART AVE.
           BILLFINANCING LOAN AGREEMENT                                                          ASSOCIATION                           BRENT ESTES
                                                                                                                                       AUBURN, CA 95602

2. 5835    HEAT PUMPS                                12/10/2018      CCOTH_03766                 STEVE EASLEY                          9000 CROW CANYON RD., STE.
                                                                                                                                       #364
                                                                                                                                       DANVILLE, CA 94506

2. 5836    HEAT PUMPS ON-DEMAND                      3/31/2019       CCOTH_03769                 STEVE EASLEY                          9000 CROW CANYON RD., STE.
                                                                                                                                       #364
                                                                                                                                       DANVILLE, CA 94506

2. 5837    REAL PROPERTY LEASE - WASCO CSO           12/31/2019      CCCRSLS_000                 STEVEN F POTTER                       STEVEN F POTTER, AND DIANNE P
                                                                         92                                                            POTTER,
                                                                                                                                       911 OLEANDER CT
                                                                                                                                       WASCO, CA 93280

2. 5838    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00625                 STEVEN GREENBERG                      4100 ORCHARD CANYON LN
           ADVANCED HOME UPGRADE                                                                                                       VACAVILLE, CA 95688
           (CUSTOM/CALCULATED)

2. 5839    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00799                 STEVEN LLOYD                          4671 E EDGAR AVE
                                                                                                                                       FRESNO 93725

2. 5840    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00802                 STEVEN LLOYD                          4586 E. COMMERCE AVE
                                                                                                                                       FRESNO 93725

2. 5841    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00685                 STEVEN SUND                           750 UNIVERSITY AVE STE 270
                                                                                                                                       LOS GATOS 95032

2. 5842    GENERAL OFF-BILL AND ON-                   6/6/2023       CCOTH_01309                 STEVENS CREEK TOYOTA ALC - 380        804 ESTATES DR STE 202
           BILLFINANCING LOAN AGREEMENT                                                          KIELY BLVD                            APTOS, CA 95003

2. 5843    GENERAL OFF-BILL AND ON-                  2/13/2023       CCOTH_02504                 STEVENS CREEK TOYOTA ALC - 4202       877 CEDAR STREET, SUITE 240
           BILLFINANCING LOAN AGREEMENT                                                          STEVENS CREEK BLVD                    SANTA CRUZ, CA 95060




                                                                      Page 613 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                  Page 614
                                                                                of 649
Pacific Gas and Electric Company                                                                                                  Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                               Address
                                                    or Remaining
                                                        Term


2. 5844    GENERAL OFF-BILL AND ON-                  11/6/2021       CCOTH_02569                 STEVENS CREEK VOLKSWAGEN INC -    877 CEDAR STREET, SUITE 240
           BILLFINANCING LOAN AGREEMENT                                                          4490 STEVENS CREEK                SANTA CRUZ, CA 95060

2. 5845    GENERAL OFF-BILL AND ON-                   2/6/2019       CCOTH_02137                 STINSON STATIONERS                1187 N WILLOW AVE., STE #103,
           BILLFINANCING LOAN AGREEMENT                                                                                            PMB #40
                                                                                                                                   SHANNON MACFARLAND, MNGR
                                                                                                                                   CLOVIS, CA 93611

2. 5846    GENERAL OFF-BILL AND ON-                  3/26/2019       CCOTH_01405                 STOCKTON ACE HARDWARE INC         3201 W BEN HOLT DR STE 150
           BILLFINANCING LOAN AGREEMENT                                                                                            STOCKTON, CA 95219

2. 5847    GENERAL OFF-BILL AND ON-                  12/8/2018       CCOTH_02125                 STOCKTON BAPTIST                  27571 DEPUTY CIRCLE
           BILLFINANCING LOAN AGREEMENT                                                          CHURCH/STOCKTON BAPTIST SCHOOL    LAGUNA HILLS, CA 92653

2. 5848    REAL PROPERTY LEASE - STOCKTON            12/31/2023      CCCRSLS_000                 STOCKTON CITY CENTER 16 LLC       STOCKTON CITY CENTER 16 LLC,
           CSO                                                           83                                                        ATLAS PROPERTIES INC
                                                                                                                                   2800 W MARCH LN STE 360
                                                                                                                                   STOCKTON, CA 95219

2. 5849    GENERAL OFF-BILL AND ON-                  11/14/2019      CCOTH_02271                 STOCKTON COLD STORAGE LLC         1320 W WEBER ST.
           BILLFINANCING LOAN AGREEMENT                                                                                            STOCKTON, CA 95203

2. 5850    GENERAL OFF-BILL AND ON-                  10/10/2021      CCOTH_02250                 STOCKTON INDOOR SPORTS COMPLEX 700 N COLORADO BLVD
           BILLFINANCING LOAN AGREEMENT                                                          LLC - 3251 N AD ART            SUITE 773
                                                                                                                                DENVER, CO 80206

2. 5851    GENERAL OFF-BILL AND ON-                  3/18/2019       CCOTH_02666                 STOCKTON SAILING CLUB             27363 VIA INDUSTRIA
           BILLFINANCING LOAN AGREEMENT                                                                                            TEMECULA, CA 92590

2. 5852    SERVICE AGREEMENT                         Not Stated      CCCRSOT_002                 STOCKTON SCAVENGERS               USA WASTE OF CALIFORNIA,
                                                                         31                                                        STOCKTON SCAVENGERS
                                                                                                                                   ASSOCIATION,
                                                                                                                                   LOS ANGELES, CA

2. 5853    GENERAL OFF-BILL AND ON-                  8/13/2019       CCOTH_02206                 STOCKTON STEEL FAB                10605 SW ALLEN BLVD
           BILLFINANCING LOAN AGREEMENT                                                                                            BEAVERTON, OR 97005




                                                                      Page 614 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 615
                                                                                of 649
Pacific Gas and Electric Company                                                                                                          Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date         Contract ID    Co-Debtor Name                                  Address
                                                     or Remaining
                                                         Term


2. 5854    STORM DRAIN AGREEMENT                       Not Stated         CCCRSOT_002                 STOCKTON, CITY OF                    CITY OF STOCKTON, CITY OF
                                                                              29                                                           STOCKTON/UTILITIES,
                                                                                                                                           425 N EL DORADO ST
                                                                                                                                           STOCKTON, CA 95202

2. 5855    REAL PROPERTY LEASE - WEST                  12/31/2026         CCCRSLS_000                 STONERIDGE WESTBRIDGE SHOPPING       STONERIDGE WESTBRIDGE
           SACRAMENTO CSO (NEW)                                               93                      CENTER LLC (C/O POTTER - TAYLOR &    SHOPPING, CENTER LLC, C/O TRI
                                                                                                      CO)                                  PROPERTY MANAGEMENT
                                                                                                                                           340 PALLADIO PKWY STE 521
                                                                                                                                           FOLSOM, CA 95630

2. 5856    GENERAL OFF-BILL AND ON-                     5/2/2024          CCOTH_02377                 STONY CREEK JOINT UNIFIED SCHOOL     27611 LA PAZ RD. STE A2
           BILLFINANCING LOAN AGREEMENT                                                               DISTRICT - RD 309                    LAGUNA NIGEL, CA 92677

2. 5857    GENERAL OFF-BILL AND ON-                     11/2/2026         CCOTH_02611                 STONY CREEK JOINT USD- ELK CREEK     27611 LA PAZ RD. STE A2
           BILLFINANCING LOAN AGREEMENT                                                               HS                                   LAGUNA NIGUEL, CA 92677

2. 5858    IRRIGATION/WATER AGREEMENT                  Not Stated         CCCRSOT_002                 STONY POINT WEST LP                  STONY POINT WEST LP
                                                                              17                                                           110 STONY POINT RD #150
                                                                                                                                           SANTA ROSA, CA 95401

2. 5859    ENERGIZE COLLEGES ACADEMIC                Oct. 2019 (note:     CCOTH_03759                 STRATEGIC ENERGY INNOVATIONS         899 NORTHDATE DR., SUITE 410
           INFUSION                                  work will stop in                                                                     SAN RAFAEL, CA 94903
                                                      June, but the
                                                    expiration date of
                                                   Oct. is to recognize
                                                   the lengthy invoice
                                                         process)

2. 5860    ENERGIZE COLLEGES WORKFORCE                   Oct-19           CCOTH_03758                 STRATEGIC ENERGY INNOVATIONS         899 NORTHDATE DR., SUITE 410
                                                                                                                                           SAN RAFAEL, CA 94903

2. 5861    WORKFORCE EDUCATION AND                     12/31/2018         CCOTH_03741                 STRATEGIC ENERGY INNOVATIONS         899 NORTHDATE DR., SUITE 410
           TRAINING PROGRAM                                                                                                                SAN RAFAEL, CA 94903

2. 5862    WORKFORCE EDUCATION AND                     12/31/2018         CCOTH_03742                 STRATEGIC ENERGY INNOVATIONS         899 NORTHDATE DR., SUITE 410
           TRAINING PROGRAM                                                                                                                SAN RAFAEL, CA 94903

2. 5863    CONSULTING AND ENERGY                        8/17/2020         CCNRD_02881                 STRATFORD RANCH                      PO BOX 146
           MANAGEMENT SERVICES                                                                                                             STRATFORD, CA 93266


                                                                           Page 615 of 7354 to Schedule G
                                  Case: 19-30088     Doc# 907             Filed: 03/14/19 Entered: 03/14/19 23:07:35               Page 616
                                                                                     of 649
Pacific Gas and Electric Company                                                                                                       Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                    Address
                                                    or Remaining
                                                        Term


2. 5864    GENERAL OFF-BILL AND ON-                  9/18/2019       CCOTH_01388                 STRAUCH & COMPANY INC                  301 NATOMA ST, SUITE 202
           BILLFINANCING LOAN AGREEMENT                                                                                                 FOLSOM, CA 95630

2. 5865    REAL PROPERTY LEASE - DEL MAR             6/30/2019       CCCRSLS_000                 STT INVESTMENTS LLC                    STT INVESTMENTS LLC, TAMI
           MAINTENANCE OFFICE (LOOMIS)                                   42                                                             SMULL,
                                                                                                                                        3930 A SIERRA COLLEGE BLVD
                                                                                                                                        LOOMIS, CA 95650

2. 5866    SELF-GENERATION INCENTIVE                 Not Stated      CCOTH_03532                 STUART SIEGEL                          2 BELLE AVENUE
           PROGRAM                                                                                                                       SAN RAFAEL, CA 94901

2. 5867    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01062                 STUART SMITH                           1452 BUSH ST
                                                                                                                                        SAN FRANCISCO 94109

2. 5868    GENERAL OFF-BILL AND ON-                  3/29/2020       CCOTH_03059                 STURDY OIL - 721 VERTIN AVE # B        804 ESTATES DRIVE - SUITE 202
           BILLFINANCING LOAN AGREEMENT                                                                                                 APTOS, CA 95003

2. 5869    SERVICE AGREEMENT                         Not Stated      CCCRSOT_002                 SUBURBAN PROPANE                       SUBURBAN PROPANE LP
                                                                         32                                                             2874 S CHERRY AVE
                                                                                                                                        FRESNO, CA

2. 5870    GENERAL OFF-BILL AND ON-                  9/14/2019       CCOTH_01191                 SUE LA & SAI LA - 33390 TRANSIT AVE    1265 S CABERNET CIR
           BILLFINANCING LOAN AGREEMENT                                                                                                 ANAHEIM, CA 92804

2. 5871    GENERAL OFF-BILL AND ON-                   8/3/2021       CCOTH_02796                 SUMAVISION SFO LLC DBA COYOTE          877 CEDAR STREET, SUITE 240
           BILLFINANCING LOAN AGREEMENT                                                          CREEK GOLF CLUB                        SANTA CRUZ, CA 95060

2. 5872    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00809                 SUMERA AWAN                            4502 GEORGETOWN PLACE
                                                                                                                                        STOCKTON 95207

2. 5873    GENERAL OFF-BILL AND ON-                   2/8/2022       CCOTH_02750                 SUN ENTERPRISES - 4010 BUSINESS        10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          CENTER DR                              SANTA FE SPRINGS, CA 90670

2. 5874    GENERAL OFF-BILL AND ON-                  8/17/2019       CCOTH_01800                 SUN STREET CENTER INC - 8 SUN ST       10 HARRIS COURT, SUITE C-2
           BILLFINANCING LOAN AGREEMENT                                                                                                 MONTEREY, CA 93940

2. 5875    GENERAL OFF-BILL AND ON-                  6/21/2021       CCOTH_02284                 SUNCAST PROFESSIONAL CENTER            12820 EARHART AVE
           BILLFINANCING LOAN AGREEMENT                                                          OWNERS ASSOCIATION INC                 AUBURN, CA 95602



                                                                      Page 616 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                    Page 617
                                                                                of 649
Pacific Gas and Electric Company                                                                                                    Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                 Address
                                                    or Remaining
                                                        Term


2. 5876    GENERAL OFF-BILL AND ON-                  4/29/2021       CCOTH_02908                 SUNDOWNER OF CALIF - 505 HILLTOP    17766 PENN VALLEY DR
           BILLFINANCING LOAN AGREEMENT                                                          DR                                  PENN VALLEY, CA 95946

2. 5877    GENERAL OFF-BILL AND ON-                  10/3/2019       CCOTH_02136                 SUNNY TRUCK AND RV WASH CORP        27571 DEPUTY CIR
           BILLFINANCING LOAN AGREEMENT                                                                                              DONNIE MARTIN
                                                                                                                                     LAGUNA HILLS, CA 92653

2. 5878    SELF-GENERATION INCENTIVE                 Not Stated      CCOTH_03491                 SUNRUN INC                          PO BOX 8333
           PROGRAM                                                                                                                   PASADENA, CA 91109

2. 5879    SELF-GENERATION INCENTIVE                 Not Stated      CCOTH_03501                 SUNRUN INC                          PO BOX 8333
           PROGRAM                                                                                                                   PASADENA, CA 91109

2. 5880    SELF-GENERATION INCENTIVE                 Not Stated      CCOTH_03519                 SUNRUN INC                          PO BOX 8333
           PROGRAM                                                                                                                   PASADENA, CA 91109

2. 5881    SELF-GENERATION INCENTIVE                 Not Stated      CCOTH_03526                 SUNRUN INC                          PO BOX 8333
           PROGRAM                                                                                                                   PASADENA, CA 91109

2. 5882    SELF-GENERATION INCENTIVE                 Not Stated      CCOTH_03531                 SUNRUN INC                          PO BOX 8333
           PROGRAM                                                                                                                   PASADENA, CA 91109

2. 5883    SELF-GENERATION INCENTIVE                 Not Stated      CCOTH_03534                 SUNRUN INC                          PO BOX 8333
           PROGRAM                                                                                                                   PASADENA, CA 91109

2. 5884    SELF-GENERATION INCENTIVE                 Not Stated      CCOTH_03535                 SUNRUN INC                          PO BOX 8333
           PROGRAM                                                                                                                   PASADENA, CA 91109

2. 5885    SELF-GENERATION INCENTIVE                 Not Stated      CCOTH_03536                 SUNRUN INC                          PO BOX 8333
           PROGRAM                                                                                                                   PASADENA, CA 91109

2. 5886    SELF-GENERATION INCENTIVE                 Not Stated      CCOTH_03537                 SUNRUN INC                          PO BOX 8333
           PROGRAM                                                                                                                   PASADENA, CA 91109

2. 5887    SELF-GENERATION INCENTIVE                 Not Stated      CCOTH_03538                 SUNRUN INC                          PO BOX 516549
           PROGRAM                                                                                                                   LOS ANGELES, CA 90051

2. 5888    SELF-GENERATION INCENTIVE                 Not Stated      CCOTH_03539                 SUNRUN INC                          PO BOX 516549
           PROGRAM                                                                                                                   LOS ANGELES, CA

                                                                      Page 617 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35               Page 618
                                                                                of 649
Pacific Gas and Electric Company                                                                                    Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                  Address
                                                    or Remaining
                                                        Term


2. 5889    SELF-GENERATION INCENTIVE                 Not Stated      CCOTH_03541                 SUNRUN INC          PO BOX 8333
           PROGRAM                                                                                                   PASADENA, CA 91109

2. 5890    SELF-GENERATION INCENTIVE                 Not Stated      CCOTH_03543                 SUNRUN INC          PO BOX 8333
           PROGRAM                                                                                                   PASADENA, CA 91109

2. 5891    SELF-GENERATION INCENTIVE                 Not Stated      CCOTH_03544                 SUNRUN INC          PO BOX 516549
           PROGRAM                                                                                                   LOS ANGELES, CA 90051

2. 5892    SELF-GENERATION INCENTIVE                 Not Stated      CCOTH_03550                 SUNRUN INC          PO BOX 516549
           PROGRAM                                                                                                   LOS ANGELES, CA

2. 5893    SELF-GENERATION INCENTIVE                 Not Stated      CCOTH_03553                 SUNRUN INC          PO BOX 516549
           PROGRAM                                                                                                   LOS ANGELES, CA

2. 5894    SELF-GENERATION INCENTIVE                 Not Stated      CCOTH_03564                 SUNRUN INC          PO BOX 516549
           PROGRAM                                                                                                   LOS ANGELES, CA 90051

2. 5895    SELF-GENERATION INCENTIVE                 Not Stated      CCOTH_03567                 SUNRUN INC          PO BOX 516549
           PROGRAM                                                                                                   LOS ANGELES, CA

2. 5896    SELF-GENERATION INCENTIVE                 Not Stated      CCOTH_03545                 SUNRUN INC.         PO BOX 516549
           PROGRAM                                                                                                   LOS ANGELES, CA

2. 5897    SELF-GENERATION INCENTIVE                 Not Stated      CCOTH_03546                 SUNRUN INC.         PO BOX 516549
           PROGRAM                                                                                                   LOS ANGELES, CA

2. 5898    SELF-GENERATION INCENTIVE                 Not Stated      CCOTH_03547                 SUNRUN INC.         PO BOX 516549
           PROGRAM                                                                                                   LOS ANGELES, CA

2. 5899    SELF-GENERATION INCENTIVE                 Not Stated      CCOTH_03548                 SUNRUN INC.         PO BOX 516549
           PROGRAM                                                                                                   LOS ANGELES, CA

2. 5900    SELF-GENERATION INCENTIVE                 Not Stated      CCOTH_03551                 SUNRUN INC.         PO BOX 516549
           PROGRAM                                                                                                   LOS ANGELES, CA

2. 5901    SELF-GENERATION INCENTIVE                 Not Stated      CCOTH_03552                 SUNRUN INC.         PO BOX 516549
           PROGRAM                                                                                                   LOS ANGELES, CA 90051



                                                                      Page 618 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35   Page 619
                                                                                of 649
Pacific Gas and Electric Company                                                                                                   Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 5902    SELF-GENERATION INCENTIVE                 Not Stated      CCOTH_03554                 SUNRUN INC.                         PO BOX 516549
           PROGRAM                                                                                                                   LOS ANGELES, CA

2. 5903    SELF-GENERATION INCENTIVE                 Not Stated      CCOTH_03555                 SUNRUN INC.                         PO BOX 516549
           PROGRAM                                                                                                                   LOS ANGELES, CA

2. 5904    SELF-GENERATION INCENTIVE                 Not Stated      CCOTH_03556                 SUNRUN INC.                         PO BOX 516549
           PROGRAM                                                                                                                   LOS ANGELES, CA

2. 5905    SELF-GENERATION INCENTIVE                 Not Stated      CCOTH_03557                 SUNRUN INC.                         PO BOX 516549
           PROGRAM                                                                                                                   LOS ANGELES, CA 90051

2. 5906    SELF-GENERATION INCENTIVE                 Not Stated      CCOTH_03558                 SUNRUN INC.                         PO BOX 516549
           PROGRAM                                                                                                                   LOS ANGELES, CA 90051

2. 5907    SELF-GENERATION INCENTIVE                 Not Stated      CCOTH_03559                 SUNRUN INC.                         PO BOX 516549
           PROGRAM                                                                                                                   LOS ANGELES, CA 90051

2. 5908    SELF-GENERATION INCENTIVE                 Not Stated      CCOTH_03560                 SUNRUN INC.                         PO BOX 516549
           PROGRAM                                                                                                                   LOS ANGELES, CA

2. 5909    SELF-GENERATION INCENTIVE                 Not Stated      CCOTH_03561                 SUNRUN INC.                         PO BOX 516549
           PROGRAM                                                                                                                   LOS ANGELES, CA

2. 5910    SELF-GENERATION INCENTIVE                 Not Stated      CCOTH_03562                 SUNRUN INC.                         PO BOX 516549
           PROGRAM                                                                                                                   LOS ANGELES, CA

2. 5911    SELF-GENERATION INCENTIVE                 Not Stated      CCOTH_03565                 SUNRUN INC.                         PO BOX 516549
           PROGRAM                                                                                                                   LOS ANGELES, CA

2. 5912    SELF-GENERATION INCENTIVE                 Not Stated      CCOTH_03568                 SUNRUN INC.                         PO BOX 516549
           PROGRAM                                                                                                                   LOS ANGELES, CA

2. 5913    GENERAL OFF-BILL AND ON-                   1/6/2020       CCOTH_01411                 SUNSET 65 BUSINESS PARK, LLC - 1104- 3053 FREEPORT BVD STE 265
           BILLFINANCING LOAN AGREEMENT                                                          1110 TINKER RD                       SACRAMENTO, CA 95818

2. 5914    SERVICE AGREEMENT                         Not Stated      CCCRSOT_002                 SUNSET BUILDING COMPANY             SUNSET BUILDING COMPANY LLC
                                                                         34                                                          SAN RAMON, CA



                                                                      Page 619 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 620
                                                                                of 649
Pacific Gas and Electric Company                                                                                                      Case Number:    19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                   Address
                                                    or Remaining
                                                        Term


2. 5915    REAL PROPERTY LEASE - BR1Y - GAS &        6/26/2023       CCCRSLS_000                 SUNSET BUILDING COMPANY LLC           SUNSET BUILDING COMPANY LLC
           ELECTRIC OPERATIONS                                           75                                                            SAN RAMON, CA

2. 5916    REAL PROPERTY LEASE - BR1Z - GAS          5/31/2022       CCCRSLS_000                 SUNSET BUILDING COMPANY LLC           SUNSET BUILDING COMPANY LLC
           OPERATIONS                                                    76                                                            SAN RAMON, CA

2. 5917    GENERAL OFF-BILL AND ON-                   7/8/2021       CCOTH_02119                 SUNSHINE RAISIN CORPORATION           253 FULTON ST.
           BILLFINANCING LOAN AGREEMENT                                                                                                FRESNO, CA 93721

2. 5918    GENERAL OFF-BILL AND ON-                  10/8/2020       CCOTH_02130                 SUNSHINE RAISIN CORPORATION           253 FULTON ST.
           BILLFINANCING LOAN AGREEMENT                                                                                                FRESNO, CA 93721

2. 5919    GENERAL OFF-BILL AND ON-                  8/30/2021       CCOTH_02259                 SUNSHINE RAISIN CORPORATION -         253 FULTON
           BILLFINANCING LOAN AGREEMENT                                                          8250 S TEMPERANCE AV                  FRESNO, CA 93721

2. 5920    GENERAL OFF-BILL AND ON-                  8/31/2021       CCOTH_03076                 SUPER MICRO COMPUTER INC - 1781       2328A WALSH AVE
           BILLFINANCING LOAN AGREEMENT                                                          FOX DR - SAN JOSE                     SANTA CLARA, CA 95051

2. 5921    GENERAL OFF-BILL AND ON-                  12/24/2019      CCOTH_03074                 SUPER MICRO COMPUTER INC - 1797       2328A WALSH AVE
           BILLFINANCING LOAN AGREEMENT                                                          FOX DR - SAN JOSE                     SANTA CLARA, CA 95051

2. 5922    GENERAL OFF-BILL AND ON-                  8/23/2020       CCOTH_02594                 SUPER MICRO COMPUTER INC - 821        874 HOLLENBACK AVE
           BILLFINANCING LOAN AGREEMENT                                                          FOX LN HME                            SUNNYVALE, CA 94087

2. 5923    GENERAL OFF-BILL AND ON-                  1/31/2020       CCOTH_03075                 SUPER MICRO COMPUTER INC - 880        2328A WALSH AVE
           BILLFINANCING LOAN AGREEMENT                                                          FOX LN - SAN JOSE                     SANTA CLARA, CA 95051

2. 5924    INDUSTRIAL CALCULATED INCENTIVES -        Not Stated      CCOTH_03271                 SUPER STORE INDUSTRIES                16888 MCKINLEY AVE
           CUSTOMIZED INCENTIVE PROGRAM                                                                                                LATHROP, CA 95330

2. 5925    GENERAL OFF-BILL AND ON-                  8/17/2021       CCOTH_02847                 SUPER TAQUERIA REST INC - 1095 S      3479 NW YEON AVE
           BILLFINANCING LOAN AGREEMENT                                                          WHITE RD                              PORTLAND, OR 97210

2. 5926    GENERAL OFF-BILL AND ON-                  11/29/2021      CCOTH_02846                 SUPER TAQUERIA REST INC - 2438        3479 NW YEON AVE
           BILLFINANCING LOAN AGREEMENT                                                          ALMADEN RD                            PORTLAND, OR 97210

2. 5927    GENERAL OFF-BILL AND ON-                   3/2/2021       CCOTH_02877                 SUPER TAQUERIA REST INC - 702 MAIN    3479 NW YEON AVE
           BILLFINANCING LOAN AGREEMENT                                                          ST                                    PORTLAND, OR 97210



                                                                      Page 620 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 621
                                                                                of 649
Pacific Gas and Electric Company                                                                                                     Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 5928    GENERAL OFF-BILL AND ON-                  9/30/2023       CCOTH_02951                 SUPER TAQUERIA RESTAURANTS LLC -     3479 NW YEON AVE
           BILLFINANCING LOAN AGREEMENT                                                          6951 MONTEREY RD                     PORTLAND, OR 97210

2. 5929    GENERAL OFF-BILL AND ON-                  5/26/2019       CCOTH_02040                 SUPERB HOSPITALITY LLC               10610 HUMBOLT ST.
           BILLFINANCING LOAN AGREEMENT                                                                                               LOS ALAMITOS, CA 90720

2. 5930    PRINTING SERVICES FOR LOCAL               Evergreen       CCOTH_03824                 SUPERIOR PRINTING INC                9440 NORWALK BLVD
           CUSTOMER SERVICE OFFICES                                                                                                   SANTA FE SPRINGS, CA 90670

2. 5931    GENERAL OFF-BILL AND ON-                  12/2/2018       CCOTH_02184                 SURAMA HOSPITALITY LLC - 2419        27363 VIA INDUSTRIA
           BILLFINANCING LOAN AGREEMENT                                                          CASTRO VALLEY BLVD                   TEMECULA, CA 92590

2. 5932    GENERAL OFF-BILL AND ON-                  7/22/2021       CCOTH_01359                 SURF SUPER MARKET, INC               PO BOX 147
           BILLFINANCING LOAN AGREEMENT                                                                                               GUALALA, CA 95445

2. 5933    GENERAL OFF-BILL AND ON-                  12/5/2023       CCOTH_02898                 SURF SUPER MARKET, INC. - 39250 S    PO BOX 147
           BILLFINANCING LOAN AGREEMENT                                                          HIGHWAY 1                            GUALALA, CA 95445

2. 5934    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03340                 SURF THRU INC.                       2701 BRIGHTON PARK DR.
           BY DESIGN WHOLE BUILDING                                                                                                   BAKERSFIELD, CA 93311

2. 5935    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00523                 SUSAN COLLINS                        3600 GOLD COUNTRY DR
           ADVANCED HOME UPGRADE                                                                                                      EL DORADO, CA 95623
           (CUSTOM/CALCULATED)

2. 5936    2019 LGP SCOPE OF WORK                    12/31/2019      CCOTH_03715                 SUSTAINABLE NAPA COUNTY              1556 1ST ST STE 102
                                                                                                                                      NAPA, CA 94559

2. 5937    COMMERCIAL CALCULATED                     Not Stated      CCOTH_00194                 SUTTER WEST BAY HOSPITALS DBA        1200 VAN NESS AVE
           INCENTIVES - CUSTOMIZED NEW                                                           CPMC                                 SAN FRANCISCO, CA 94109
           CONSTRUCTION

2. 5938    GENERAL OFF-BILL AND ON-                  3/22/2023       CCOTH_03101                 SUTTON PLACE - 358 DUNSMUIR TER      1725 RUTAN DRIVE
           BILLFINANCING LOAN AGREEMENT                                                                                               LIVERMORE, CA 94551

2. 5939    CSI (THERMAL)                             Not Stated      CCOTH_00480                 SUZANNE MORGAN                       2 FERN AVE
                                                                                                                                       BELVEDERE, CA 94920




                                                                      Page 621 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                  Page 622
                                                                                of 649
Pacific Gas and Electric Company                                                                                                     Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                   Address
                                                    or Remaining
                                                        Term


2. 5940    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03419                 SWIFT LEE OFFICE                     543A SOUTH RAYMOND AVE
           BY DESIGN WHOLE BUILDING                                                                                                   PASADENA, CA 91105

2. 5941    COMMERCIAL CALCULATED                     Not Stated      CCOTH_00111                 SWIFT REAL ESTATE PARTNERS           1655 GRANT ST SUITE #100
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                          CONCORD, CA 94520
           PROGRAM

2. 5942    GENERAL OFF-BILL AND ON-                  11/27/2020      CCOTH_02318                 SYERS PROPERTIES I LP                120 VILLAGE SQ #100
           BILLFINANCING LOAN AGREEMENT                                                                                               ORINDA, CA 94563

2. 5943    COMMERCIAL CALCULATED                     Not Stated      CCOTH_00123                 SYNNEX CORPORATION                   44201 NOBEL DRIVE
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                          FREMONT, CA 94538
           PROGRAM

2. 5944    GENERAL OFF-BILL AND ON-                  4/24/2021       CCOTH_02621                 T AND T ENTERPRISES LP - 1900 N      360 MESA ROAD
           BILLFINANCING LOAN AGREEMENT                                                          DAVIS RD                             SALINAS, CA 93907

2. 5945    REAL PROPERTY LEASE - CHICO TEMP          11/30/2019      CCCRSLS_000                 T W DUFOUR & ASSOCIATES              T W DUFOUR & ASSOCIATES
           OFFICE (HYDRO AND REBUILD TEAMS)                              19                                                           1350 E LASSEN AVE #1
                                                                                                                                      CHICO, CA 95973

2. 5946    REAL PROPERTY LEASE - NORTH               7/31/2022       CCCRSLS_000                 T W DUFOUR & ASSOCIATES              T W DUFOUR & ASSOCIATES
           VALLEY HDQRTS PARKING (10 PARKING                             18                                                           1350 E LASSEN AVE #1
           SPACES)                                                                                                                    CHICO, CA 95973

2. 5947    GENERAL OFF-BILL AND ON-                  1/30/2024       CCOTH_02324                 T&C LOUTERS DAIRY                    921 W SANDY MUSH ROAD
           BILLFINANCING LOAN AGREEMENT                                                                                               MERCED, CA 95341

2. 5948    GENERAL OFF-BILL AND ON-                  3/10/2021       CCOTH_01170                 T&V INVESTMENTS & DEVELOMENTS        1111, W.EL CAMINO REAL, STE 135
           BILLFINANCING LOAN AGREEMENT                                                          LLC-1619 E HAMMER LN                 SUNNYVALE, CA 94087

2. 5949    GENERAL OFF-BILL AND ON-                  5/10/2021       CCOTH_03219                 T1 AUTO GROUP CORPORATION - 2944     1265 S CABERNET CIRCLE
           BILLFINANCING LOAN AGREEMENT                                                          GROVE WAY                            ANAHEIM, CA 92804

2. 5950    GENERAL OFF-BILL AND ON-                  8/29/2021       CCOTH_02711                 T3 AUTO GROUP CORPORATION - 2130     1265 S CABERNET CIR
           BILLFINANCING LOAN AGREEMENT                                                          90TH AVE                             ANAHEIM, CA 92804

2. 5951    SEWER/REFUSE AGREEMENT                    Not Stated      CCCRSOT_002                 TAFT, CITY OF                        CITY OF TAFT
                                                                         33                                                           209 E KERN ST
                                                                                                                                      TAFT, CA 93268

                                                                      Page 622 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                    Page 623
                                                                                of 649
Pacific Gas and Electric Company                                                                                                     Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                   Address
                                                    or Remaining
                                                        Term


2. 5952    GENERAL OFF-BILL AND ON-                   9/4/2023       CCOTH_02618                 TAIGA FOREST PRODUCTS INC - 4385     24 BLUE SKY COURT
           BILLFINANCING LOAN AGREEMENT                                                          PACIFIC ST                           SACRAMENTO, CA 95828

2. 5953    COMMERCIAL CALCULATED                     Not Stated      CCOTH_00196                 TAIWAN SEMICONDUCTOR                 2581 JUNCTION AVE
           INCENTIVES - CUSTOMIZED NEW                                                           MANUFACTURING CO.                    SAN JOSE, CA 95134
           CONSTRUCTION

2. 5954    GENERAL OFF-BILL AND ON-                   6/7/2021       CCOTH_02587                 TALAS ENGINEERING INC - 20902        PO BOX 23803
           BILLFINANCING LOAN AGREEMENT                                                          CABOT BLVD                           SAN JOSE, CA 95153

2. 5955    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00907                 TALIA SMITH                          2922 TRANSWORLD DR.
                                                                                                                                      STOCKTON 95206

2. 5956    MASTER SERVICES AGREEMENT                 12/31/2019      CCNRD_02834                 TANGENT                              TANGENT ENERGY SOLUTIONS INC
           PROVIDING THAT PG&E MAY ENTER                                                                                              206 GALE LANE STE C
           INTO CONTRACT WORK                                                                                                         KENNETT SQUARE, PA 19348
           AUTHORIZATIONS WITH THIS VENDOR
           FOR VARIOUS ENERGY EFFICIENCY
           SERVICES

2. 5957    SALES AND FULFILLMENT SUPPORT             7/31/2019       CCNRD_02905                 TANGENT ENERGY SOLUTIONS, INC.       205 GALE LANE
           FOR THE TANGENT AMP PLATFORM                                                                                               STE C
                                                                                                                                      KENNETT SQUARE, PA 19349

2. 5958    TANGENT AMP PLATFORM                      7/31/2019       CCNRD_02904                 TANGENT ENERGY SOLUTIONS, INC.       204 GALE LANE
                                                                                                                                      STE C
                                                                                                                                      KENNETT SQUARE, PA 19348

2. 5959    GENERAL OFF-BILL AND ON-                  12/13/2021      CCOTH_01207                 TARPS & TIE-DOWNS, INC - 24959       10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          HUNTWOOD AVE                         SANTA FE SPRINGS, CA 90670

2. 5960    GENERAL OFF-BILL AND ON-                  9/23/2021       CCOTH_02438                 TARPS & TIE-DOWNS, INC - 24967       10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          HUNTWOOD AVE                         SANTA FE SPRINGS, CA 90670

2. 5961    GENERAL OFF-BILL AND ON-                  10/19/2023      CCOTH_02629                 TARPS & TIE-DOWNS, INC - 3191 E      10011 PIONEER BLVD
           BILLFINANCING LOAN AGREEMENT                                                          CENTRAL AVE                          SANTA FE SPRINGS, CA 90670

2. 5962    GENERAL OFF-BILL AND ON-                  10/20/2020      CCOTH_02525                 TARPS & TIE-DOWNS, INC - 945 E       10011 PIONEER BLVD.
           BILLFINANCING LOAN AGREEMENT                                                          LINDSAY                              SANTA FE SPRINGS, CA 90670



                                                                      Page 623 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                    Page 624
                                                                                of 649
Pacific Gas and Electric Company                                                                                                     Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 5963    LECTURE SUPPORT                           3/31/2019       CCOTH_03743                 TAYLOR ENGINEERING                   1080 MARINA VILLAGE PARKWAY
                                                                                                                                      #501
                                                                                                                                      ALAMEDA, CA 94501

2. 5964    COMMERCIAL CALCULATED                     Not Stated      CCOTH_00151                 TBD                                  888 HOWARD STREET
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                          SAN FRANCISCO, CA 94103
           PROGRAM

2. 5965    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00749                 TED TERRASAS                         580 PACIFIC STREET
                                                                                                                                      MONTEREY 93940

2. 5966    GENERAL OFF-BILL AND ON-                   8/6/2023       CCOTH_01971                 TEJON RANCH CO - EAST PYLON          6468 W. LAVAL RD.
           BILLFINANCING LOAN AGREEMENT                                                                                               LEBEC, CA 93243

2. 5967    GENERAL OFF-BILL AND ON-                   8/6/2023       CCOTH_02087                 TEJON RANCH CO - WEST PYLON          6468 W. LAVAL RD.
           BILLFINANCING LOAN AGREEMENT                                                                                               LEBEC, CA 93243

2. 5968    MASTER LICENSE AGREEMENT FOR              12/13/2031      CCNRD_01674                 TEL-ONE                              286 12TH STREET
           OPTICAL FIBER USE                                                                                                          SAN FRANCISCO, CA 94103

2. 5969    GENERAL OFF-BILL AND ON-                   7/7/2019       CCOTH_03104                 TEMPLE BETH AM - 26790               2108 MANASSAS COURT
           BILLFINANCING LOAN AGREEMENT                                                          ARASTRADERO RD                       SAN JOSE, CA 95116

2. 5970    GENERAL OFF-BILL AND ON-                  11/7/2018       CCOTH_01360                 TEMPLE BETH AMI SANTA ROSA           382 TESCONI CT.
           BILLFINANCING LOAN AGREEMENT                                                          JEWISH                               SANTA ROSA, CA 95401

2. 5971    GENERAL OFF-BILL AND ON-                   9/2/2021       CCOTH_02256                 TEMPLE BETH ISRAEL - 6622 N MAROA    6622 N. MAROA AVE
           BILLFINANCING LOAN AGREEMENT                                                          AVE                                  **UPS OVERNIGHT DELIVERY**
                                                                                                                                      FRESNO, CA 93704

2. 5972    WATER AGREEMENT                           Not Stated      CCCRSOT_002                 TEMPLETON COMMUNITY SVCS DIST        TEMPLETON COMMUNITY SVCS
                                                                         35                                                           DISTRICT
                                                                                                                                      420 CROCKER ST
                                                                                                                                      TEMPLETON, CA 93465

2. 5973    GENERAL OFF-BILL AND ON-                  4/21/2019       CCOTH_03210                 TENCATE ADVANCE COMPOSITES INC - 4637 S. EAST AVE
           BILLFINANCING LOAN AGREEMENT                                                          2450 CORDELIA RD                 FRESNO, CA 93725

2. 5974    GENERAL OFF-BILL AND ON-                  9/24/2019       CCOTH_03213                 TENCATE ADVANCED COMPOSITES          4637 S. EAST AVE
           BILLFINANCING LOAN AGREEMENT                                                          USA, INC                             FRESNO, CA 93725

                                                                      Page 624 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 625
                                                                                of 649
Pacific Gas and Electric Company                                                                                                    Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date       Contract ID    Co-Debtor Name                                Address
                                                    or Remaining
                                                        Term


2. 5975    GENERAL OFF-BILL AND ON-                   9/30/2019        CCOTH_03212                 TENCATE ADVANCED COMPOSITES       4637 S. EAST AVE
           BILLFINANCING LOAN AGREEMENT                                                            USA, INC -18255 SUTTER            FRESNO, CA 93725

2. 5976    GENERAL OFF-BILL AND ON-                    6/4/2019        CCOTH_02071                 TERA INVESTMENT INC.              P.O. BOX 510
           BILLFINANCING LOAN AGREEMENT                                                                                              MARYSVILLE, CA 95901

2. 5977    ELECTRIC VEHICLE CHARGE NETWORK            Not Stated       CCOTH_00665                 TERESA LONGCHAMP                  815 E MIDDLEFIELD ROAD
                                                                                                                                     MOUNTAIN VIEW 94043

2. 5978    CONSULTING AND ENERGY                       8/2/2019        CCNRD_02901                 TERRANOVA RANCH, INC.             PO BOX 130
           MANAGEMENT SERVICES                                                                                                       HELM, CA 93627

2. 5979    ELECTRIC VEHICLE CHARGE NETWORK            Not Stated       CCOTH_00912                 TERRY REECE                       2800 BUENA VISTA DRIVE
                                                                                                                                     PASO ROBLES 93446

2. 5980    ELECTRIC VEHICLE CHARGE NETWORK            Not Stated       CCOTH_01134                 TERRY REECE                       #1 HIGHWAY ONE
                                                                                                                                     SAN LUIS OBISPO 93403

2. 5981    LICENSE AGREEMENT FOR SMART               12/14/2018*       CCNRD_02874                 TESCO                             925 CANAL STREET
           POLE SOCKET DESIGN DEVELOPED              Automatically                                                                   BRISTOL, PA 19007
           FOR A SMARTMETER TO PLUG INTO A         renews until one
           SMARTPOLE                               party requests to
                                                       terminate

2. 5982    GENERAL OFF-BILL AND ON-                   8/10/2020        CCOTH_01154                 TESEI PETROLEUM INC - 1040 S      1226 SOUTH GOLDEN ST. DR.
           BILLFINANCING LOAN AGREEMENT                                                            GATEWAY DR                        MADERA, CA 93637

2. 5983    GENERAL OFF-BILL AND ON-                    9/3/2021        CCOTH_01153                 TESEI PETROLEUM INC - 1350 S      1226 SOUTH GOLDEN ST. DR.
           BILLFINANCING LOAN AGREEMENT                                                            GATEWAY DR                        MADERA, CA 93637

2. 5984    SELF-GENERATION INCENTIVE                  Not Stated       CCOTH_03484                 TESLA MOTORS                      3500 DEER CREEK RD
           PROGRAM                                                                                                                    PALO ALTO, CA 94304

2. 5985    ELECTRIC VEHICLE CHARGE NETWORK            Not Stated       CCOTH_00713                 TEST TEST                         684 PANORAMA DRIVE
                                                                                                                                     SAN FRANCISCO 94131

2. 5986    GENERAL OFF-BILL AND ON-                   2/19/2019        CCOTH_01387                 THE 24 HOUR CLUB INC              382 TESCONI COURT
           BILLFINANCING LOAN AGREEMENT                                                                                              SANTA ROSA, CA 95401



                                                                        Page 625 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907           Filed: 03/14/19 Entered: 03/14/19 23:07:35                 Page 626
                                                                                  of 649
Pacific Gas and Electric Company                                                                                                      Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                   Address
                                                    or Remaining
                                                        Term


2. 5987    GENERAL OFF-BILL AND ON-                   3/7/2022       CCOTH_02412                 THE BAKERSFIELD CALIFORNIAN - 1707    9530 HAGEMAN RD. B #196
           BILLFINANCING LOAN AGREEMENT                                                          EYE ST                                BAKERSFIELD, CA 93312

2. 5988    GENERAL OFF-BILL AND ON-                   1/6/2022       CCOTH_02568                 THE BAKERSFIELD CALIFORNIAN - 1707    9530 HAGEMAN RD. B #196
           BILLFINANCING LOAN AGREEMENT                                                          EYE ST - BAKER                        BAKERSFIELD, CA 93312

2. 5989    GENERAL OFF-BILL AND ON-                  9/12/2018       CCOTH_02072                 THE BAKERSFIELD CALIFORNIAN - 3700    9530 HAGEMAN ROAD B #196
           BILLFINANCING LOAN AGREEMENT                                                          PEGASUS DR                            BAKERSFIELD, CA 93312

2. 5990    GENERAL OFF-BILL AND ON-                  10/27/2019      CCOTH_01811                 THE BERRY MAN, INC                    480 NEPONSET BLDG 2
           BILLFINANCING LOAN AGREEMENT                                                                                                CANTON, MA 2021

2. 5991    AGRICULTURAL CALCULATED                   Not Stated      CCOTH_00025                 THE BIZNESS                           7950 REDWOOD DR. STE. 4
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                           COTATI, CA 94931
           PROGRAM

2. 5992    GENERAL OFF-BILL AND ON-                  7/26/2021       CCOTH_01768                 THE BRIDGE EVANGELICAL FREE           253 FULTON STREET
           BILLFINANCING LOAN AGREEMENT                                                          CHURCH                                FRESNO, CA 93721

2. 5993    GENERAL OFF-BILL AND ON-                  3/29/2021       CCOTH_02481                 THE BROWNIE BAKER - 4657 W            2360 S. ORANGE AVE.
           BILLFINANCING LOAN AGREEMENT                                                          JENNIFER AVE                          FRESNO, CA 93725

2. 5994    GENERAL OFF-BILL AND ON-                  7/21/2019       CCOTH_02273                 THE CABINET CO INC                    13943 GOLD COUNTRY DRIVE
           BILLFINANCING LOAN AGREEMENT                                                                                                PENN VALLEY, CA 95946

2. 5995    GENERAL OFF-BILL AND ON-                  10/7/2022       CCOTH_02867                 THE CAR STORE - 1271 S 1ST ST         P.O. BOX 23803
           BILLFINANCING LOAN AGREEMENT                                                                                                SAN JOSE, CA 95153

2. 5996    GENERAL OFF-BILL AND ON-                  10/4/2021       CCOTH_01437                 THE DRAMATEURS - 3535 SCHOOL ST -     3535 SCHOOL STREET
           BILLFINANCING LOAN AGREEMENT                                                          LAFAYETTE                             LAFAYETTE, CA 94549

2. 5997    GENERAL OFF-BILL AND ON-                   5/6/2019       CCOTH_01300                 THE GEWEKE COMPANY - 871 E            590 W. LOCUST AVE
           BILLFINANCING LOAN AGREEMENT                                                          ONSTOTT                               FRESNO, CA 93650

2. 5998    UNIVERSITY OF                             Not Stated      CCOTH_03637                 THE GLADSTONE INSTITUTE               1650 OWENS ST
           CALIFORNIA/CALIFORNIA STATE                                                                                                 SAN FRANCISCO, CA 94158
           UNIVERSITY - CUSTOMIZED RETROFIT




                                                                      Page 626 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                  Page 627
                                                                                of 649
Pacific Gas and Electric Company                                                                                                  Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                               Address
                                                    or Remaining
                                                        Term


2. 5999    GENERAL OFF-BILL AND ON-                  2/23/2022       CCOTH_01937                 THE HARRY W HOFMANN               6750 FOLSOM BLVD. STE.224
           BILLFINANCING LOAN AGREEMENT                                                          TESTAMENTARY TRUST                SACRAMENTO, CA 95819

2. 6000    GENERAL OFF-BILL AND ON-                  2/23/2022       CCOTH_01581                 THE HARRY W HOFMANN               6750 FOLSOM BLVD.
           BILLFINANCING LOAN AGREEMENT                                                          TESTAMENTARY TRUST - 4111 CITR    STE 224
                                                                                                                                   SACRAMENTO, CA 95819

2. 6001    GENERAL OFF-BILL AND ON-                  2/23/2022       CCOTH_01938                 THE HOFMANN 1987 REVOCABLE        6750 FOLSOM BLVD.
           BILLFINANCING LOAN AGREEMENT                                                          TRUST - 4095 DEL MAR AV           STE 224
                                                                                                                                   SACRAMENTO, CA 95819

2. 6002    GENERAL OFF-BILL AND ON-                  2/23/2022       CCOTH_01629                 THE HOFMANN 1987 REVOCABLE        6750 FOLSOM BLVD.
           BILLFINANCING LOAN AGREEMENT                                                          TRUST - 4121 CITRUS AVE           STE 224
                                                                                                                                   SACRAMENTO, CA 95819

2. 6003    GENERAL OFF-BILL AND ON-                  3/31/2022       CCOTH_01630                 THE HOFMANN 1987 REVOCABLE        6750 FOLSOM BLVD, STE 224
           BILLFINANCING LOAN AGREEMENT                                                          TRUST - 4231 PACIFIC ST           SACRAMENTO, CA 95819

2. 6004    GENERAL OFF-BILL AND ON-                  3/31/2022       CCOTH_01554                 THE HOFMANN 1987 REVOCABLE        6750 FOLSOM BLVD. STE. 224
           BILLFINANCING LOAN AGREEMENT                                                          TRUST - 4320 ANTHONY CT           SACRAMENTO, CA 95819

2. 6005    GENERAL OFF-BILL AND ON-                   4/7/2022       CCOTH_01932                 THE HOFMANN 1987 REVOCABLE        6750 FOLSOM BLVD, SUITE 224
           BILLFINANCING LOAN AGREEMENT                                                          TRUST - 4321 ANTHONY CT           SACRAMENTO, CA 95819

2. 6006    RETAIL PRODUCTS PLATFORM                  Not Stated      CCOTH_03319                 THE HOME DEPOT                    2455 PACES FERRY RD SE,C10
           (DEEMED)                                                                                                                ATLANTA, GA 30339

2. 6007    SELF-GENERATION INCENTIVE                 Not Stated      CCOTH_03487                 THE HOME DEPOT                    2455 PACES FERRY RD. NW
           PROGRAM                                                                                                                  ATLANTA, GA 30339

2. 6008    SELF-GENERATION INCENTIVE                 Not Stated      CCOTH_03488                 THE HOME DEPOT                    2455 PACES FERRY RD. NW
           PROGRAM                                                                                                                  ATLANTA, GA 30339

2. 6009    SELF-GENERATION INCENTIVE                 Not Stated      CCOTH_03489                 THE HOME DEPOT                    2455 PACES FERRY RD. NW
           PROGRAM                                                                                                                  ATLANTA, GA 30339

2. 6010    SELF-GENERATION INCENTIVE                 Not Stated      CCOTH_03490                 THE HOME DEPOT                    2455 PACES FERRY RD. NW
           PROGRAM                                                                                                                  ATLANTA, GA 30339



                                                                      Page 627 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35               Page 628
                                                                                of 649
Pacific Gas and Electric Company                                                                                                    Case Number:       19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                  Address
                                                    or Remaining
                                                        Term


2. 6011    AGRICULTURAL CALCULATED                   Not Stated      CCOTH_00058                 THE MORNING STAR PACKING CO.        2211 OLD HWY 99
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                         WILLIAMS, CA 95987
           PROGRAM

2. 6012    ELECTRIC/WATER/SEWER/GAS                  Not Stated      CCCRSOT_002                 THE PROMONTORY                      PROMONTORY SAN LUIS OBISPO
           AGREEMENT                                                     37                                                          LP
                                                                                                                                     750 PISMO ST
                                                                                                                                     SAN LUIS OBISPO, CA 93401

2. 6013    GENERAL OFF-BILL AND ON-                  2/27/2021       CCOTH_02499                 THE RAYMOND FACTORIES INC - 6720    9530 HAGEMAN RD., B #196
           BILLFINANCING LOAN AGREEMENT                                                          DISTRICT BLVD #                     BAKERSFIELD, CA 93312

2. 6014    COMMERCIAL CALCULATED                     Not Stated      CCOTH_00136                 THE REALTY ASSOCIATES FUND X LP     142 BRISTOL STREET NORTH #100
           INCENTIVES - CUSTOMIZED INCENTIVE                                                                                         NEWPORT BEACH, CA 92660
           PROGRAM

2. 6015    2018 MEMBERSHIP - CENTER FOR THE          12/31/2018      CCOTH_03798                 THE REGENTS OF THE UNIV OF CA       2195 HEARST AVE
           BUILT ENVIRONMENT                                                                                                         RM 130 MC1103
                                                                                                                                     BERKELEY, CA

2. 6016    DATA CENTER AIR FLOW MANAGEMENT           12/31/2019      CCOTH_03780                 THE REGENTS OF THE UNIV OF CA       1 CYCLOTRON RD MS 90-1070
           ASSESSMENT ET PROJECT                                                                                                     BERKELEY, CA 94720

2. 6017    QPL FOR TIER 2 ADVANCED POWER             5/30/2019       CCOTH_03790                 THE REGENTS OF THE UNIVERSITY OF    UNIVERSITY OF CALIFORNIA,
           STRIPS                                                                                CALIFORNIAUNIVERSITY OF             IRVINE
                                                                                                 CALIFORNIA, IRVINE                  CALIT2
                                                                                                                                     IRVINE, CA 92697

2. 6018    SAVINGS BY DESIGN (SBD) - SAVINGS         Not Stated      CCOTH_03378                 THE RESIDENCE AT THE ROW LP         2917 E SHEPHERD AVE
           BY DESIGN WHOLE BUILDING                                                                                                  FRESNO, CA 93720

2. 6019    GENERAL OFF-BILL AND ON-                   4/5/2020       CCOTH_02742                 THE RODDE COMPANY DBA R/M           413 WILLOW BROOK WAY
           BILLFINANCING LOAN AGREEMENT                                                          VACAVILLE LTD, L.P.                 RIO VISTA, CA 94571

2. 6020    GENERAL OFF-BILL AND ON-                  6/24/2020       CCOTH_02737                 THE RODDE COMPANY DBA R/M           413 WILLOW BROOK WAY
           BILLFINANCING LOAN AGREEMENT                                                          VACAVILLE LTD., L.P.                RIO VISTA, CA 94571

2. 6021    GENERAL OFF-BILL AND ON-                   9/3/2022       CCOTH_02542                 THE SAI LA FAMILY LTD - 1000 E      1265 S CABERNET CIR
           BILLFINANCING LOAN AGREEMENT                                                          STANLEY BLVD                        ANAHEIM, CA 92804



                                                                      Page 628 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                   Page 629
                                                                                of 649
Pacific Gas and Electric Company                                                                                                    Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                 Address
                                                    or Remaining
                                                        Term


2. 6022    GENERAL OFF-BILL AND ON-                  5/24/2022       CCOTH_01936                 THE SHAW 1989 REVOCABLE TRUST -     6750 FOLSOM BLVD. STE. 224
           BILLFINANCING LOAN AGREEMENT                                                          4011 ALVIS CRT HOU                  SACRAMENTO, CA 95819

2. 6023    GENERAL OFF-BILL AND ON-                  2/23/2022       CCOTH_01580                 THE SHAW 1989 REVOCABLE TRUST -     6750 FOLSOM BLVD., STE 224
           BILLFINANCING LOAN AGREEMENT                                                          4021 ALVIS CRT                      SACRAMENTO, CA 95819

2. 6024    GENERAL OFF-BILL AND ON-                  2/23/2022       CCOTH_01935                 THE SHAW REVOCABLE TRUST C/O        6750 FOLSOM BLVD. STE. 224
           BILLFINANCING LOAN AGREEMENT                                                          CENTURY MANAGEMENT CO               SACRAMENTO, CA 95819

2. 6025    GENERAL OFF-BILL AND ON-                  7/19/2021       CCOTH_01591                 THE TRAILER CO                      685 COCHRAN STREET
           BILLFINANCING LOAN AGREEMENT                                                                                              SUITE 200, CA 93065

2. 6026    GENERAL OFF-BILL AND ON-                  1/21/2020       CCOTH_02188                 THE VILLAGES GOLF & COUNTRY CLUB    877 CEDAR STREET SUITE 240
           BILLFINANCING LOAN AGREEMENT                                                                                              SANTA CRUZ, CA 95060

2. 6027    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00509                 THEODORE KETAI                      1532 MANCHESTER RD
           ADVANCED HOME UPGRADE                                                                                                     CHICO, CA 95926
           (CUSTOM/CALCULATED)

2. 6028    GENERAL OFF-BILL AND ON-                  11/14/2021      CCOTH_02153                 THERMALSUN GLASS PRODUCTS INC       PO BOX 1951
           BILLFINANCING LOAN AGREEMENT                                                                                              SANTA ROSA, CA 95402

2. 6029    ADR-NRES                                  Not Stated      CCOTH_00016                 THG ENERGY SOLUTIONS LLC            DEPARTMENT 2727
                                                                                                                                     TULSA, OK 74182

2. 6030    GENERAL OFF-BILL AND ON-                  1/12/2021       CCOTH_01578                 THIELE TECHNOLOGIES INC - 1949 E    253 FULTON STREET
           BILLFINANCING LOAN AGREEMENT                                                          MANNING AVE                         FRESNO, CA 93721

2. 6031    GENERAL OFF-BILL AND ON-                  4/12/2021       CCOTH_01579                 THIELE TECHNOLOGIES INC - 1949 E    253 FULTON STREET
           BILLFINANCING LOAN AGREEMENT                                                          MANNING AVE                         FRESNO, CA 93721

2. 6032    GENERAL OFF-BILL AND ON-                  12/31/2020      CCOTH_02313                 THIRD STAR HOLDINGS LLC             1 CENTERPOINTE DR. STE 400
           BILLFINANCING LOAN AGREEMENT                                                                                              LA PALMA, CA 90623

2. 6033    GENERAL OFF-BILL AND ON-                  4/30/2020       CCOTH_02314                 THIRD STAR HOLDINGS LLC             1 CENTERPOINTE DR. STE. 400
           BILLFINANCING LOAN AGREEMENT                                                                                              LA PALMA, CA 90623

2. 6034    GENERAL OFF-BILL AND ON-                  12/31/2019      CCOTH_02319                 THIRD STAR HOLDINGS LLC             1 CENTERPOINTE DR. STE. 400
           BILLFINANCING LOAN AGREEMENT                                                                                              LA PALMA, CA 90623

                                                                      Page 629 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 630
                                                                                of 649
Pacific Gas and Electric Company                                                                                                    Case Number:       19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                 Address
                                                    or Remaining
                                                        Term


2. 6035    GENERAL OFF-BILL AND ON-                  12/31/2020      CCOTH_02321                 THIRD STAR HOLDINGS LLC             1 CENTERPOINTE DR. STE 400
           BILLFINANCING LOAN AGREEMENT                                                                                              LA PALMA, CA 90623

2. 6036    GENERAL OFF-BILL AND ON-                  8/16/2020       CCOTH_01352                 THIRD STAR HOLDINGS LLC - 1275 N    1 CENTERPOINTE DR. STE 400
           BILLFINANCING LOAN AGREEMENT                                                          STATE ST                            LA PLAMA, CA 90623

2. 6037    GENERAL OFF-BILL AND ON-                   1/7/2020       CCOTH_01561                 THIRD STAR HOLDINGS LLC - 1275 N    1 CENTERPOINTE DR. STE. 400
           BILLFINANCING LOAN AGREEMENT                                                          STATE ST                            LA PALMA, CA 90623

2. 6038    GENERAL OFF-BILL AND ON-                  12/23/2020      CCOTH_01260                 THIRD STAR HOLDINGS LLC - 15895     PO BOX 366
           BILLFINANCING LOAN AGREEMENT                                                          DAM ROAD                            REDWOOD VALLEY, CA 95470

2. 6039    GENERAL OFF-BILL AND ON-                   1/7/2020       CCOTH_01562                 THIRD STAR HOLDINGS LLC - 373       1 CENTERPOINTE DR. STE. 400
           BILLFINANCING LOAN AGREEMENT                                                          AVIATION BLVD                       LA PALMA, CA 90623

2. 6040    GENERAL OFF-BILL AND ON-                  2/26/2023       CCOTH_02170                 THIRD STAR HOLDINGS LLC - 373       PO BOX 366
           BILLFINANCING LOAN AGREEMENT                                                          AVIATION BLVD                       REDWOOD VALLEY, CA 95470

2. 6041    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00934                 THOMAS BROWN                        25 S 3RD STREET
                                                                                                                                     SAN JOSE 95113

2. 6042    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01009                 THOMAS CARR                         1945 BERKELEY WAY
                                                                                                                                     BERKELEY 94704

2. 6043    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00946                 THOMAS HANCOCK                      247 E. NEES AVENUE
                                                                                                                                     FRESNO 93720

2. 6044    ENERGY UPGRADE CALIFORNIA                 Not Stated      CCOTH_00624                 THOMAS LINSTER                      148 BANTRY DR
           ADVANCED HOME UPGRADE                                                                                                     VACAVILLE, CA 95688
           (CUSTOM/CALCULATED)

2. 6045    GENERAL OFF-BILL AND ON-                  10/17/2019      CCOTH_03108                 THOMAS PRODUCTS INC - 2140 W        590 W. LOCUST AVENUE, SUITE
           BILLFINANCING LOAN AGREEMENT                                                          INDUSTRIAL AVE                      103
                                                                                                                                     FRESNO, CA 93650

2. 6046    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00774                 THOMAS VALDRIZ                      510 LA GONDA WAY
                                                                                                                                     DANVILLE 94526




                                                                      Page 630 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                  Page 631
                                                                                of 649
Pacific Gas and Electric Company                                                                                                      Case Number:      19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                    Expiration Date     Contract ID    Co-Debtor Name                                   Address
                                                    or Remaining
                                                        Term


2. 6047    SINGLE-FAMILY AFFORDABLE SOLAR            Not Stated      CCOTH_03576                 THOMAS,WILLIAM                        1912 NEWPORT DR
           HOMES (SASH)                                                                                                                 PITTSBURG, CA 94565

2. 6048    SINGLE-FAMILY AFFORDABLE SOLAR            Not Stated      CCOTH_03588                 THOMPSON,LEE ANN                      334 ATHERTON AVE
           HOMES (SASH)                                                                                                                 PITTSBURG, CA 94565

2. 6049    REAL PROPERTY LEASE - LAKEPORT            8/31/2019       CCCRSLS_000                 THREE D TRUST OF 2003                 THREE D TRUST OF 2003
           CSO                                                           39                                                            SHOSHONE, ID

2. 6050    GENERAL OFF-BILL AND ON-                  11/29/2019      CCOTH_02812                 THRIFT VILLAGE INC - 1545 PARKMOOR    1725 RUTAN DRIVE
           BILLFINANCING LOAN AGREEMENT                                                          AVE                                   LIVERMORE, CA 94551

2. 6051    GENERAL OFF-BILL AND ON-                   8/8/2021       CCOTH_01353                 TIBURON FIRE PROTECTION DISTRICT - 637 LINDAARO ST, STE 201
           BILLFINANCING LOAN AGREEMENT                                                          1679 TIBURON BL                    SAN RAFAEL, CA 94901

2. 6052    GENERAL OFF-BILL AND ON-                  11/23/2022      CCOTH_01213                 TIM ALLEN EAST COUNTY GLASS - 441     10 HARRIS CT, STE C-2
           BILLFINANCING LOAN AGREEMENT                                                          E 10TH ST                             MONTEREY, CA 93940

2. 6053    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00885                 TIM HENDRIX                           3200 KEARNEY STREET
                                                                                                                                       FREMONT 94538

2. 6054    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00944                 TIM KIRSCH                            2500 GRANT ROAD
                                                                                                                                       MOUNTAIN VIEW 94040

2. 6055    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_00957                 TIM KIRSCH                            2400 GRANT RD
                                                                                                                                       MOUNTAIN VIEW 94040

2. 6056    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01023                 TIM O'KEEFE                           1751 TICE CREEK DRIVE
                                                                                                                                       WALNUT CREEK 94595

2. 6057    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01127                 TIM O'KEEFE                           1015 STANLEY DOLLAR DR
                                                                                                                                       WALNUT CREEK 94595

2. 6058    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01132                 TIM O'KEEFE                           1001 GOLDEN RAIN RD
                                                                                                                                       WALNUT CREK 94595

2. 6059    ELECTRIC VEHICLE CHARGE NETWORK           Not Stated      CCOTH_01079                 TIM PFORSICH                          13557 HEALDSBURG AVE
                                                                                                                                       HEALDSBURG 95448



                                                                      Page 631 of 7354 to Schedule G
                                  Case: 19-30088   Doc# 907          Filed: 03/14/19 Entered: 03/14/19 23:07:35                Page 632
                                                                                of 649
Pacific Gas and Electric Company                                                                                                      Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                                Address
                                                     or Remaining
                                                         Term


2. 6060    GENERAL OFF-BILL AND ON-                    2/28/2020        CCOTH_03066                 TIMESPACE MILPITAS DEVELOPMENT     PO BOX 2061
           BILLFINANCING LOAN AGREEMENT                                                             LLC                                SAN JOSE, CA 95109

2. 6061    GENERAL OFF-BILL AND ON-                    2/28/2021        CCOTH_02623                 TIMESPACE SARATOGA                 PO BOX 2061
           BILLFINANCING LOAN AGREEMENT                                                             DEVELOPMENT LLC                    SAN JOSE, CA 95109

2. 6062    GENERAL OFF-BILL AND ON-                    3/29/2019        CCOTH_03155                 TIMESPACE SARATOGA                 PO BOX 2061
           BILLFINANCING LOAN AGREEMENT                                                             DEVELOPMENT LLC - 12230 SARATOG    SAN JOSE, CA 95109

2. 6063    REAL PROPERTY LEASE - ROCKLIN GC            7/31/2019        CCCRSLS_000                 TIMOTHY R CROWLEY                  TIMOTHY R CROWLEY, DBA TRC
           WAREHOUSE AND YARD                                               59                                                         INDUSTRIAL CENTER LLC,
                                                                                                                                       2175 P F E ROAD #C
                                                                                                                                       ROSEVILLE, CA 95747

2. 6064    ELECTRIC VEHICLE CHARGE NETWORK            Not Stated        CCOTH_00791                 TINGYI XU                          48273 LAKEVIEW BLVD
                                                                                                                                       FREMONT 94538

2. 6065    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01546                 T-MOBILE WEST LLC                  T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                                  COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                              12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                                  BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6066    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01547                 T-MOBILE WEST LLC                  T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                                  COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                              12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                                  BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6067    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01548                 T-MOBILE WEST LLC                  T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                                  COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                              12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                                  BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009




                                                                         Page 632 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35              Page 633
                                                                                   of 649
Pacific Gas and Electric Company                                                                                          Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                     Address
                                                     or Remaining
                                                         Term


2. 6068    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01549                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6069    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01550                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6070    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01551                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6071    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01552                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6072    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01553                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6073    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01554                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009



                                                                         Page 633 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35      Page 634
                                                                                   of 649
Pacific Gas and Electric Company                                                                                          Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                     Address
                                                     or Remaining
                                                         Term


2. 6074    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01555                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6075    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01556                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6076    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01557                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6077    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01558                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6078    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01559                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6079    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01560                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009



                                                                         Page 634 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35      Page 635
                                                                                   of 649
Pacific Gas and Electric Company                                                                                          Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                     Address
                                                     or Remaining
                                                         Term


2. 6080    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01561                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6081    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01562                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6082    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01563                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6083    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01564                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6084    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01565                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6085    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01566                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009



                                                                         Page 635 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35      Page 636
                                                                                   of 649
Pacific Gas and Electric Company                                                                                          Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                     Address
                                                     or Remaining
                                                         Term


2. 6086    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01567                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6087    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01568                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6088    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01569                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6089    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01570                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6090    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01571                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6091    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01572                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009



                                                                         Page 636 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35      Page 637
                                                                                   of 649
Pacific Gas and Electric Company                                                                                          Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                     Address
                                                     or Remaining
                                                         Term


2. 6092    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01573                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6093    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01574                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6094    LICENSE FOR INDIVIDUAL SITE                11/18/2017        CCNRD_01575                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                                                                                           COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6095    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01576                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6096    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01577                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6097    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01578                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009



                                                                         Page 637 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35      Page 638
                                                                                   of 649
Pacific Gas and Electric Company                                                                                          Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                     Address
                                                     or Remaining
                                                         Term


2. 6098    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01579                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6099    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01580                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6100    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01581                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6101    LICENSE FOR INDIVIDUAL SITE                 3/18/2017        CCNRD_01582                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                                                                                           COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6102    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01583                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6103    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01584                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009



                                                                         Page 638 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35      Page 639
                                                                                   of 649
Pacific Gas and Electric Company                                                                                          Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                     Address
                                                     or Remaining
                                                         Term


2. 6104    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01585                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6105    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01586                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6106    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01587                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6107    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01588                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6108    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01589                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6109    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01590                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009



                                                                         Page 639 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35      Page 640
                                                                                   of 649
Pacific Gas and Electric Company                                                                                          Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                     Address
                                                     or Remaining
                                                         Term


2. 6110    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01591                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6111    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01592                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6112    LICENSE FOR INDIVIDUAL SITE                 3/18/2017        CCNRD_01593                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                                                                                           COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6113    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01594                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6114    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01595                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6115    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01596                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009



                                                                         Page 640 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35      Page 641
                                                                                   of 649
Pacific Gas and Electric Company                                                                                          Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                     Address
                                                     or Remaining
                                                         Term


2. 6116    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01597                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6117    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01598                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6118    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01599                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6119    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01600                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6120    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01601                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6121    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01602                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009



                                                                         Page 641 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35      Page 642
                                                                                   of 649
Pacific Gas and Electric Company                                                                                          Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                     Address
                                                     or Remaining
                                                         Term


2. 6122    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01603                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6123    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01604                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6124    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01605                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6125    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01606                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6126    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01607                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6127    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01608                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009



                                                                         Page 642 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35      Page 643
                                                                                   of 649
Pacific Gas and Electric Company                                                                                          Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                     Address
                                                     or Remaining
                                                         Term


2. 6128    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01609                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6129    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01610                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6130    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01611                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6131    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01612                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6132    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01613                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6133    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01614                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009



                                                                         Page 643 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35      Page 644
                                                                                   of 649
Pacific Gas and Electric Company                                                                                          Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                     Address
                                                     or Remaining
                                                         Term


2. 6134    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01615                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6135    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01616                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6136    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01617                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6137    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01618                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6138    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01619                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6139    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01620                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009



                                                                         Page 644 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35      Page 645
                                                                                   of 649
Pacific Gas and Electric Company                                                                                          Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                     Address
                                                     or Remaining
                                                         Term


2. 6140    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01621                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6141    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01622                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6142    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01623                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6143    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01624                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6144    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01625                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6145    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01626                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009



                                                                         Page 645 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35      Page 646
                                                                                   of 649
Pacific Gas and Electric Company                                                                                          Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                     Address
                                                     or Remaining
                                                         Term


2. 6146    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01627                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6147    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01628                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6148    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01629                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6149    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01630                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6150    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01631                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6151    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01632                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009



                                                                         Page 646 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35      Page 647
                                                                                   of 649
Pacific Gas and Electric Company                                                                                          Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                     Address
                                                     or Remaining
                                                         Term


2. 6152    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01633                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6153    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01634                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6154    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01635                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6155    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01636                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6156    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01637                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6157    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01638                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009



                                                                         Page 647 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35      Page 648
                                                                                   of 649
Pacific Gas and Electric Company                                                                                          Case Number:     19-30089 (DM)

Schedule G: Executory Contracts and Unexpired Leases
Nature of the Debtor's Interest                     Expiration Date       Contract ID    Co-Debtor Name                     Address
                                                     or Remaining
                                                         Term


2. 6158    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01639                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6159    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01640                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6160    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01641                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6161    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01642                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6162    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01643                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009

2. 6163    LICENSE FOR INDIVIDUAL SITE             7/13/2029, unless    CCNRD_01644                 T-MOBILE WEST LLC      T-MOBILE USA, INC., ATTN: LEASE
           LOCATION UNDER MASTER                   terminated earlier                                                      COMPLIANCE
           AGREEMENT FOR STREET LIGHT AND                                                                                  12920 SE 38TH ST.
           ELECTRIC DISTRIBUTION POLE                                                                                      BELLEVUE, WA 98006
           ATTACHMENTS WITH T-MOBILE WEST
           LLC, DATED JULY 14, 2009



                                                                         Page 648 of 7354 to Schedule G
                                  Case: 19-30088    Doc# 907            Filed: 03/14/19 Entered: 03/14/19 23:07:35      Page 649
                                                                                   of 649
